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                      CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                              STATE OF LOUISIANA

       NO.                                         SECTION                        DIVISION

                             CAROLYN BRINDELL, JOHN BRINDELL III,
                          CONNIE DU PAY, AND CHRISTOPHER BRINDELL,
                    Each Individually and on Behalf of Decedent JOHN BRINDELL JR.

                                                    VERSUS

                     CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC., et al


      FILED:
                                                                     DEPUTY CLERK

           PETITION FOR DAMAGES FOR WRONGFUL DEATH AND SURVIVAL ACTION

      TO THE HONORABLE CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS,
      STATE OF LOUISIANA. AND THE JUDGES THEREOF:

              The Petition of Carolyn Brindell, John Brindell III. Connie Dupay, and Christopher

      Brindell. the statutory heirs and wrongful death beneficiaries of Petitioner-Decedent John Brindell

      Jr.. through their attorneys, states:

      1.      Made Petitioners herein are:

              A.      CAROLYN BRINDELL, an adult resident citizen of the Slate of Louisiana. St.

              Tammany Parish, and the surviving spouse and statutory survivor of Decedent John

              Brindell, Jr. Mrs. Carolyn Brindell and Decedent John Brindell, Jr. were married al all

              times relevant to this petition, including his date of death.

               B.     JOHN BRINDELL, III, an adult resident citizen of the State of Louisiana. St.

              Tammany Parish, natural son and statutory survivor of Decedent John Brindell.

              C.      CONNIE DUPAY, an adult resident citizen of the State. of Louisiana. St. Tammany

              Parish, natural daughter and statutory survivor of Decedent John Brindell.
                                                                                                            EXHIBIT A
              D.      CHRISTOPHER BRINDELL, an adult resident citizen of the State of Louisiana.
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      2.       Made Defendants herein are:

           •   A.     PREMISES OWNER DEFENDANT:

                      1) PORT OF NEW ORLEANS, LLC.
                         A limited liability company domiciled in Louisiana, who is authorized to do
                         and doing business in Louisiana. and has a Registered Agent in Louisiana.
                         May be served through its registered agent for service of process:
                         Pamala Bishop
                         526 Andry Street
                         New Orleans, Louisiana 70117
                         This Defendant is being named for Premises Liability.

               B.     SUPPLIER/MO UFACTURER/SELLER/CONTRACTOR/DISTRIBUTOR
                      /PRODUCT DEFENDANTS

                      2) CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC.
                         A business corporation headquartered in Ohio. may be served via the Long. Arm
                         Statute al:
                         United Agent Group, Inc.
                         350 South Northwest Highway, #300
                         Park Ridge. Illinois 60068
                         This Defendant is being sued as a seller/supplier/manufacturer/product
                         defendant.
                      3) EAGLE, INC. ( f/k/a Eagle Asbestos & Packing Co., Inc. and Eagle Packing &
                         Equipment Co.). a Louisiana Corporation, domiciled in Orleans Parish. which
                         may be served through its registered agent for service of process: Susan B.
                         Kohn
                         1100 Poydra. Street. 30th Floor
                         New Orleans, Louisiana 70163
                         This Defendant is being sued as a seller/supplier/contractor/distributor
                         defendant.

                      4) EATON CORPORATION
                         A business corporation domiciled in the State of Ohio. who is authorized to do
                         and doing business in Louisiana, and has a Registered Agent in Louisiana:
                         CT Corporation System
                         3867 Plaza Tower Drive
                         Baton Rouge, Louisiana 70816
                         This Defendant is being sued as a seller/supplier/manufacturer/product
                         defendant.

                      5) GREAT DANE LLC (f/k/a Great Dane Limited Partnership)
                         A limited liability company domiciled in the State of Delaware. who is
                         authorized to do and doing business in Louisiana. and has a Registered Agent
                         in Louisiana:
                         Universal Registered Agents. Inc.
                          int I North Cittsr.w:tv          Suite 3
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                    Corporation Service Company
                    501 Louisiana Ave.
                    Baton Rouge, Louisiana 70802
                    This Defendant is being sued as a seller/supplier/manufacturer/product
                    defendant.

                7) KELSEY-HAVES COMPANY
                   A company domiciled in the State of Michigan, who has a Registered Agent
                   who may be served via the Long Arm Statute at:
                   CSC — Lawyers Incorporating Service Company
                   601 Abbott Road
                   East Lansing. Michigan 48823
                   This Defendant is being sued as a seller/supplier/manufacturer/product
                   defendant.

                8) LUFKIN INDUSTRIES, LLC
                   A limited liability company domiciled in the State of Texas. who is authorized
                   to do and doing business in Louisiana, and has a Registered Agent in Louisiana:
                   CT Corporation System
                   3867 Plaza Tower Drive
                   Baton Rouge, Louisiana 70816
                   This Defendant is being sued as a seller/supplier/manufacturer/product
                   defendant.

                9) MERITOR, INC., Individually and f/k/a Arvinmeritor, I nc., f/kia Meritor
                   Automotive, Inc.
                   A business corporation domiciled in the State ofNevada, who is authorized to
                   do and doing business in Louisiana, and has a Registered Agent in Louisiana:
                   CT Corporation System
                   3867 Plaza Tower Drive
                   Baton Rouge, Louisiana 70816
                   This Defendant is being sued as a seller/supplier/manufacturer/product
                   dc fendant.

                 in) PNEUMO-ABEX CORPORATION
                     A company domiciled in the State of New Jersey. who has a Registered Agent
                     who may be served via the Long Arm Statute at:
                     Corporation Service Company
                     251 Little Falk Dr.
                     Wilmington, DE 19808
                     This defendant is being sued as a seller/supplier/product/manufacturer
                     defendant.

                 I I) STRICK TRAILERS, LLC
                      A limited liability company domiciled in the State of Delaware. who is
                      authorized to do and doing business in Louisiana. and has a Registered Agent
                      in Louisiana:
                      CT Comoration System
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                          Orleans. Louisiana and may be served through its registered agent for service
                          in the State of Louisiana:
                          Robert I. Shepard
                          731 South Scott Street
                          New Orleans, Louisiana 70119
                          This Defendant is being sued as a seller/supplier/contractor/distributor
                          defendant.

                      13) UTILITY TRAILER MANUFACTURING COMPANY
                          A business corporation domiciled in the Slate of Cali fomia, who is authorized
                          to do and doing business in Louisiana. and has a Registered Agent in Louisiana:
                          Corporation Service Company
                          501 Louisiana Avenue
                          Baton Rouge. Louisiana 70802
                         This Defendant is being sued as a seller/supplier/manufacturer/product
                          defendant.

                      14) WILSON TRAILER COMPANY
                          A business corporation domiciled in the State of Iowa, who is authorized to do
                          and doing business in Louisiana, and has a Registered Agent in Louisiana:
                          Business Filings International, Inc.
                          3867 Plaza Tower Drive
                          Baton Rouge, Louisiana 70816
                          This Defendant is beim!, sued as a seller/supplier/manufacturer/product
                          defendant.

              C.      NSURANCE DEFENDANTS

                      15) FIRST STATE INSURANCE COMPANY,
                          As the Insurer of Eagle. Inc., f/k/a Eagle Asbestos (C Packing Co.. Inc.
                          Through the Louisiana Secretary of State
                          8585 Archives Avenue
                          Baton Rouge, LA 70809

                      16) UNITED STATES FIDELITY AND GUARANTY COMPANY.
                          As the 1 nsurer of Eagle, Inc., f/k/a Eagle Asbestos & Packing Co., Inc.
                          Through the Louisiana Secretary of State
                          8585 Archives Avenue
                          Baton Rouge, LA 70809

                                               BACKGROUND

       3.     Decedent John Brindell Jr. was diagnosed with malignant mesotheliorna on or about May

       15. 2019. which was caused by anda consequence of his exposure to asbestos as set forth herein.

       Asa direct and proximate result of the del ictual conduct of the defendants. Decedent John Brindell
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      Petitioners assert survival and wrongful death claims pursuant to Louisiana Civil Code articles

      2315.1 and 2315.2.

      4.      Orleans Parish is a proper venue based on the following:

              a.     Orleans Parish is a proper venue for this matter pursuant to La. Stat. Ann.

              §22: I 269B( I) because events, accident or injury occurred or in Orleans Parish. Orleans

              Parish is a proper venue for this matter pursuant to La. C. Civ. Proc. Art. 74 because

              Orleans Parish is where wrongful conduct occurred or where the damages were sustained.

              b.     Orleans Parish is a proper venue for this matter pursuant to Louisiana Code of Civil

              Procedure Article 42(2) because the Defendants Eagle. Inc.. and Taylor-Seidenbach Inc..

              are domestic corporations licensed to do business in this State and have designated as its

              primary business office and/or primary place of business in Louisiana' as Orleans Parish.

              Furthermore. Orleans Parish is a proper venue for this matter pursuant to Louisiana Code

              of Civil Procedure Article 73, because each of the Defendants listed in Paragraph 2(A)

              contributed to Mr. John Brindell, Jr.'s exposure to asbestos. diagnosis of mesothelionia.

              and subsequent death, and therefore, each is solidarity liable to Petitioners with each of its

              co-Defendants, and Defendants Eagle. Inc. and Taylor Seidenbach Inc:. have each

              designated their primary business office or primary place of business in Orleans Parish.

      5.      The damages sought by the Petitioners. exclusive of interest and costs. exceed the

      minimum jurisdictional limits of the court.

      6.      Petitioners specifically disclaim any cause of action or recovery for any injuries caused by

      any exposure to asbestos dust that occurred in, or on the grounds of, a federal enclave. Petitioners

      also disclaim any cause of action or recovery for any injuries resulting from any exposure to

      asbestos dust caused by any conduct. action. acts or omissions of any and all federal officers, or

      committed at the direction of an officer of the United States Government.
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       equipment, and/or friction products. including but not limited to brakes, This work exposed him

       to dangerously high levels of asbestos fibers. which escaped into the ambient air of the work place,

       resulting in Decedent John Brindell Jr. breathing those fibers.

       8.       In connection with Decedent John Brindell Jr.'s work at the Port of Orleans as a mechanic

       for Puerto Rico Marine Management from approximately 1970 through 1984, Decedent suffered

       exposure to asbestos and asbestos-containing products which were designed. manufactured. sold,

       supplied, used and/or maintained at and/or to the Port ofNew Orleans by Defendants.

       9.       Before kind during Decedent John Brindell Jr's exposure periods, each of the defendants

       designed. tested. evaluated, manufactured. packaged. furnished. stored, handled. transported.

       installed. used, supplied and/or sold asbestos-containing products for use at, including but not

       limited to the facility listed in Paragraph 7 above, from which ihe Decedent John Brindell Jr. was

       exposed to asbestos-containing products. friction materials, insulation, and other equipment that

       contained fibrous, incombustible. chemical-resistant mineral substances commonly called

       "asbestos".

       10.      When inhaled or otherwise ingested, asbestos causes irreparable and progressive lung

       damage that can manifest itself as asbestos-related pleural disease, asbestosis, mesoihelioma,

       pulmonary and bronehogenic carcinoma, gastrointestinal cancer, cardiac problems. other lung

       diseases, pneumoconiosis, and various other injuries.

       1 1.     Each of the defendants knew or should have known through industry and medical studies.

       ihe existence of which was unknown to Decedent John Brindell Jr. of the health hazards inherent

       in the asbestos-containing products they were selling and/or using. Instead of warning Decedent

       John Brindell Jr. and general public about these dangers. the defendants ignored or concealed such

       information. or condoned such concealment. in order to sell or use asbestos or asbestos-containing

       products to avoid litigation by those who were injured from asbestos inhalation.
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       as described above.

        13.      Because of the latency period between exposure to asbestos and the onset of cancer. and

       because of the concealment by some defendants of the causes and effects of exposure to asbestos,

       Decedent John Brindell Jr. did not know, nor could he have reasonably known. that his injuries

       were caused by his asbestos exposure until recently, which occurred less than one year prior to the

        filing of the instant Petition for Damages. Further, Petitioners have only recently discovered his

       injuries. not more than one year preceding the filing of this Original Petition for Damages.

        14.     In connection with his own work at the aforementioned job site(s). Decedent John Brindell

       Jr. inhaled great quantities of asbestos fibers as a result of his work experience, having neither

       knowledge or reason to believe that asbestos was dangerous. Further, Petitioners allege, as more

       specifically set out below, that Decedent suffered injuries proximately caused by his exposure to

       asbestos from asbestos-containing products designed, manufactured, distributed. utilized, and/or

       sold by Defendants. More specifically, on May 15. 2019. John Brindell, Jr. was diagnosed with

       malignant mesothelionia. a progressive, non-curable. and ultimately fatal cancer. On or about July

       9, 2019, John Brindell. Jr. passed away as a result of his mesoihelioma.

       15.      Decedent's death was due to or a consequence of his exposure to dust and fibers from

       asbestos and/or asbestos-containing materials, as a direct and proximate result of his exposure to

       asbestos products that were unreasonably dangerous per se. defective in composition or

       construction, defective in design. lacking suitable warnings or instructions concerning the hazards

       presented, as a result of negligent, willful and/orreckless misconduct, and as a result of intentional

       misconduct of certain of the Defendants. As a direct and proximate result of the del icival conduct

       of the Defendants, Petitioners have lost the love. affection, society. support. services of their

       Father/husband. and bring these claims each individually on their own behalf for any/all other

       damages due pursuant to Louisiana Civil Code Article 2315.2, and assert this wrongful death
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      Decedent with safe premises in order to protect life health, safety, and welfare of Decedent, and

      had the following responsibilities:

             A.      Inspection, approval, and supervision of these various premises for hazards and

             vices that may present a hazard to Decedent;

             B.      To see that proper safety rules were adopted, promulgated, and enforced concerning

             the use and handling of hazardous materials that may present harm to people on the

             premises;

             C.      To see that workers performed their duties pertaining to their work in a proper. safe

             and workmanlike manner so as not to present an unreasonable risk of harm to the workers,

             as well as Decedent;

                     To see that the Defendants and their employees used safe and sound principles and

             practices in their work involving the use and storage of hazardous materials;

             E.      To make health and hygiene decisions on any and all questions regarding the use

             of respiratory protection devices involving the use and storage of hazardous materials;

             F.      To keep abreast of state-of-the-art-knowledge, as it pertains to the dangers of

             asbestos inhalation. involving the use and storage of hazardous materials;

             G.      To provide adequate warnings. safety equipment. ventilation, and breathing

             apparatus. where such was unnecessary. in order to prevent Decedent from being harmed

             by exposure to asbestos in the environment in which he was required to be present;

             H.      To make certain that Decedent was provided sale environment, free from excess

             asbestos dust inhalation and operations free from excess asbestos dust; and

             1.      To comply with applicable state and federal regulations regulating exposure to

             asbestos, including but not limited to. those regulations regulating exposure to asbestos,

             including but not limited to. those regulations promulgated by the U.S. Depanment of
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      the dust laden atmosphere in which Decedent was required to enter. and work, which was

      damaging and dangerous to Decedent. and each knew or should have known of the dangers to

      Decedent's health posed by working in an atmosphere. polluted with asbestos dust without proper

      protection or warnings. Petitioners allege that these defendants knew or should have known that

      the lung cancer sustained by Decedent could have been avoided by the use of adequate ventilation,

      warnings, packaging and safety equipment.

      18.    On information and belief. Defendants negligently failed in the performance of their

      responsibilities and/or actual undertakings to provide Decedent with safe premises and operations

      in the following particulars:

             A.       Failing to properly ventilate the area in which Decedent were required to enter in

             connection with their/his work;

             B.      Failing to warn or provide proper safety appliances, including but not limited to

             respirators. air-fed hoods, etc. for Decedent's use;

             C.      Failure to institute safety procedures and plans for the adequate protection of

             Decedent;

             D.      Failing to warn Decedent oldie dangers posed by the polluted atmosphere in which

             he/they were required to work including. hut not limited to the risk of asbestosis. pleural

             disease, mesothelioma, lung cancer, other cancers. and the carcinogenic effect of the risk

             of lung cancer caused by asbestos exposure to persons with pre-existing smoking habits

              from the handling and use of asbestos;

             E.      Failing to enforce applicable safely rules after such rules were actually adopted:

             F.      Failing to keep abreast of the scientific and engineering knowledge regarding the

             dangers of, and protection against. the occupational exposure to asbestos;

             G.      Failing to properly supervise operations;
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               S. Department of Labor. pursuant to the Walsh/Healy Act and the Occupational Safety and

              Health Act; and

              J.      Failing to measure the levels of asbestos dust in the premises working environment.

       19.    The negligence of these defendants was a substantial factor and contributed in causing

       injuries and damages to Decedent and Petitioners.

                   NEGLIGENCE AND STRICT LIABILITY ALLEGATIONS AGAINST
                       MANUFACTURER/SELLER/SUPPLIER/CONTRACTOR/
                            DISTRIBUTOR/PRODUCT DEFENDANTS

       20_    The Defendants identified in Paragraph 28 above as manufacturers, sellers. contractors,

       distributors and/or suppliers of asbestos/asbestos-containing products were engaged in or

       materially participated in the business of manufacturing. or assisted in the manufacturing, or

       facilitating the manufacturing of asbestos products, or representing themselves as manufacturers

      of asbestos products, or are professional vendors of asbestos or asbestos-containing products, or

       as a contractor. which were expected to and did reach Decedent's job site(s) where he was exposed

       to them.

       21.    The products manufactured. distributed. supplied, sold and/or used by these defendants

       were defective, and unreasonably dangerous per se to Decedent who was an intended and

       foreseeable user and bystander (hat was exposed to these products. These defects include, without

       limitation. (he following:

              A.       the manufacture, sale. supply and use of products that are unreasonably dangerous.

              or unreasonably dangerous per se;

              B.      manufacture, sale, supply and use of products that possess inherent and known

              properties that make them unreasonably dangerous by presenting high potential for causing

              serious injury, such as respiratory disease. cancer. and other health problems to those who

              would be foresceably exposed to them in the Decedent's trade;
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             E.      Failure of defendants to inspect these products to assure sufficiency and adequacy

             of warnings and safety cautions:

             F.      failure to test or adequately test these products for defects or hazards that they could

             present to the intended or foreseeable users;

             G.      failure to truthfully report or adequately report the results of product testing, and

             medical studies associated with foreseeable hazards of these products by intended or

             foreseeable users;

             H.      failure to properly design these products where the nature of the product did not

             require use ofasbestos mineral or where alternate, equally suitable substances were readily

             available:

             1.      defects in the composition and construction of these products;

             J.      failure to recall these products manufactured. sold and supplied;

             K.      Failure to properly package these products so that they could be safely transported,

             handled, stored or disposed of:

             L.      over-warranting the safety of these products: and

             M.      arc liable to Decedent and Petitioners in strict liability for things in their guard,

             possession, custody or control, pursuant to article 2317 of the Louisiana Civil Code that

             have caused harm to Decedent and Petitioners.

      22.    The defective conditions of defendants' products and fault, as noted above. are a cause of

      Decedent and Petitioner's injuries and damages complained of herein.

      23.    Petitioners ako allege that each and every one of the foregoing defendants were also

      negligent in engaging in the substandard conduct enumerated above and that this negligence was

      also a proximate cause of Decedent and Petitioner's injuries and damages.

                  STRICT LIABILITY AND NEGLIGENCE ALLEGATIONS AGAINST
                                    PREMISES OWNER(S)
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       25.        The Premises defendant is liable to Decedent for the damages described in this Petition the

        following acts of negligence while Decedent was working within their respective work site(s):

                  A.     Failing to provide respiratory protection to the Decedent;

                  B.     Failing to provide safety equipment to Decedent;

                  C.     Failure to provide general ventilation in Decedent's work areas;

                  D.     Failing to provide local exhaust in Decedent's work areas;

                  E.     Failing to provide air free from airborne asbestos fibers in Decedent's work areas;

                  F.     Failing to provide Decedent with proper medical monitoring;

                  G.     Failing to educate Decedent of the hazards of asbestos;

                  H.     Failing to post warning or caution signs regarding the hazards ofasbestos;

                  1.     Failing to implement wet methods to control the level of airborne asbestos•fihers in

                  Decedent's work areas;

                  J.     Failing to implement the use of asbestos-free materials; and

                  K.     Inducing Decedent to work in areas polluted with respirable asbestos fibers.

       26.        As a direct result of the aforementioned acts, Decedent inhaled and otherwise ingested

       asbestos fibers from the asbestos and asbestos-containing products present within his work sites,

       and as a direct result. Decedent and Petitioners suffered the injuries and damages complained

       here in.

       27.        During the course of the Decedent's work. Decedent John Brindell Jr. was exposed to

       asbestos and/or asbestos containing products. which were in the care, control and custody of these

       defendants. Because of the extreme hazard it poses to humans, asbestos constitutes a defect or vice

       in the products to which Decedent was exposed, which defect or vice was a cause in fact of

       Decedent's injuries described herein. Accordingly. these defendants are strictly liable to Decedent

       and Petitioners in accordance with Louisiana Civil Code article 2315 and 2317.
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       29.    The premises owner defendant knew or should have known that asbestos posed a hazard

       to humans and that there were specific engineering and industrial hygiene controls that could help

       reduce the levels of airborne asbestos fibers, nonetheless failed or suppressed, through silence.

       neglect or inaction. the truth regarding asbestos to Decedent so as to obtain an unjust advantage

       for themselves over and at expense of Decedent or to cause loss or inconvenience to Decedent.

       This action or inaction by the defendants was a direct and proximate cause of the damages and

       injuries described herein.

                                         INSURANCE COVERAGE

       30.    Defendant FIRST STATE INSURANCE COMPANY, on information and belief, had in

       full force and effect a policy or policies of liability or excess insurance insuring Defendant

       Eagle, Inc., against the causes of action asserted herein and covering the premises, matters,

       persons, things. actions, inactions. and damages that arc the subject of this petition, and, as such.

       Defendant FIRST STATE INSURANCE is directly liable to Petitioners under the provisions of

       the Louisiana Revised Statutes, Title 22. Section 655 (now 22:1269).

       31.     Defendant UNITED STATES FIDELITY AND GUARANTY COMPANY ("USF&G).

       on infommtion and belief, had in full force kind effect a policy or policies of liability or excess

       insurance insuring Defendant Eagle, Inc.. against the causes of action asserted herein and

       covering the premises. matters. persons. things. actions. inactions. and damages that are the

       subject of this petition, and, as such. Defendant UNITED STATES FIDELITY AND

       GUARANTY COMPANY ("USF&G) is directly liable to Petitioners under the provisions of

       the Louisiana Revised Statutes. Title 22. Section 655 (now 22:1269).


                                                  DAMAGES

       32.    The conduct of Defendants. as alleged herein. was a direct, proximate and producing cause

       of the damages resulting from the development of Decedent John Brindell Jr's asbestos-related
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             B.      The physical impairment and disfigurement suffered by Decedent;

             C.      Reasonable and necessary medical expenses incurred by Decedent:

             D.      Funeral and burial expenses:

             E.      All past, present, and future lost earnings and loss of earning capacity;

             F.      Loss of consortium, love, affection. services. and society:

             G.      Loss of quality of life;

             H.      All damages caused by witnessing intimately the suffering of their husband and

             father .and

             1.      All forms of relief or categories of damages allowed by Louisiana law against

             parties the law allows such claims to be alleged against. with interest, from the date of

             injury until paid. plus costs of these proceedings.

             WHEREFORE, Petitioners demand judgment against the Defendants, and each of them.

      jointly, severally and/or in snlido for all damages. for their costs expended herein, for judicial

      interest from the date of judicial demand, and for such other and further relief. both at law and in

      equity, to which Petitioners may show themselves justly entitled.

                                                           Respectfully submitted,
                                                           THE CHEEK LAW FIRM LLC




                                                           LINDSEY A. CHEEK, Bar No. 34484
                                                           Bridget B. Truxillo, Bar No. 36982
                                                           Jeanne L. St. Romain. Bar No. 36035
                                                           650 Poydras Street. Suite 2310
                                                           New Orleans, LA 70130
                                                           Telephone: 504-3044333
                                                           Fax: 504-324-0629
                                                                     thcchceklawlirin.com
                                                                       thcchecklawfiriii.coni
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                                         SERVICE INSTRUCTIONS

       PLEASE SERVE THE FOLLOWING DEFENDANTS WITH PETITIONERS' ORIGINAL
       PETITION FOR DAMAGES:

       1.      CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC.
               May be served via the Louisiana Long Arm Statute:
               United Agent Group, Inc.
               350 South Northwest Highway, g300
               Park Ridge. IL 60068

       2.      EAGLE, INC.
               May be served through its registered agent for service of process:
               Susan B. Kohn
               1 100 Poydras Street. 30th Floor
               New Orleans, LA 70163

       3.      EATON CORPORATION
               May be served through its registered agent for service of process:
               CT Corporation System
               3867 Plaza Tower Drive
               Baton Rouge, LA 70816

       4.      GREAT DANE LLC (f/k/a Great Dane Limited Partnership)
               May be served through its registered agent for service of process:
               Universal Registered Agents. Inc.
               101 1 North Causeway Boulevard. Suite 3
               Mandeville. LA 70471

       5.      HONEYWELL INTERNATIONAL, INC. f/k/a Allied Signal Inc., Individually and
               as Successor in Interest to Allied Corporation as Successor in Interest to Bendix
               Corporation
               May be served through its registered agent for service of process:
               Corporation Service Company
               501 Louisiana Ave.
               Baton Rouge, LA 70802

       6.      KELSEY-HAVES COMPANY
               May be served via the Louisiana Long Amt Statute:
               CSC — Lawyers Incorporating Service Company
               601 Abbott Road
               East Lansing. Ml 48823

       7.      LUFKIN INDUSTRIES, LLC
               May be served through its registered agent for service of process:
               CT Corporation System
               3867 Plaza Tower Drive
               Baton Rouge. LA 70816
           Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 16 of 565
2019-09716                                                                                   FILED
  N                                                                                    2019 SEP 17 A 12:30
                                                                                               CIVIL
                                                                                           DISTRICT COURT
Section 8

      9.      PNEUMO-ABEX CORPORATION
               May be served via the Louisiana Long Arm Statute on its registered agent:
               Corporation Service Company
               251 Little Falls Dr.
               Wilmington. DE 19808

      10.     PORT OF NEW ORLEANS, LLC,
              May be served through its registered agent for service of process:
              Pamala Bishop
              526 Andry Street
              Ne►w Orleans. LA 70117
      11.     STR1CK TRAILERS, LLC
              May be served through its registered agent for service of process:
              CT Corporation System
              3867 Plaza Tower Drive
              Baton Rouge, LA 70816

      12.     TAYLOR-SEIDENBACH,
              May be served through its registered agent for service of process:
              Robert I. Shepard
              731 South Scott Street
              New Orleans. LA 70119

      13.     UTILITY TRAILER MANUFACTURING COMPANY
              May be served through its registered agent for service of process:
              Corporation Service Company
              501 Louisiana Avenue
              Baton Rouge, LA 70802

      14.     WILSON TRAILER COMPANY
              May be served through its registered agent for service of process:
              Business Filings International. Inc.
              3867 Plaza Tower Drive
              Baton Rouge, LA 70816

      15.     FIRST STATE INSURANCE COMPANY, As the Insurer of Eagle. Inc., flkia Eagle
              Asbestos & Packing Co.. Inc.
              Through the Louisiana Secretary of State:
              8585 Archives Avenue
              Baton Rouge, LA 70809

      16.     UNITED STATES FIDELITY AND GUARANTY COMPANY, As the Insurer of
              Eagle, Inc., f/k/a Eagle Asbestos & Packing Co.. Inc.
              Through the Louisiana Secretary of State:
              8585 Archives Avenue
              Baton Rouge, LA 70809
  Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 17 of 565




                                       EXHIBIT AA –
  Placeholder for Deposition of Dr. Staggs. As Dr. Staggs was deposed just a day ago, his deposition
transcript is not yet available. However, upon receipt of same, Defendants will supplement this exhibit
                                     with the deposition transcript.
              Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 18 of 565
                                                                                                       FILED
                                                                                               2020JAN27 PO4:44
                                                                                                     CIVIL
                                                                                                DISTRICT COURT



                          CIVILDISTRICT COURT FORTHE PARISHOFORLEANS
                                              STATE OFLOUISIANA

                   NO.2019419716                    SECTION:8                        DIVISION"N"
                                          CAROLYN BRINDELL,ET AL

                                                         VERSUS
                         CARLISLE INDUSTRIALBRAKE AND FRICTION,INC.,ET AL


          FILED:
                                                                             DEPUTY CLERK

                PLAINTIFF'S FIRSTSUPPLEMENTAL AND AMENDING PETITION FOR
                 DAMAGES WITHINCORPORATED MOff0N FOR LEAVE OFCOURT

                 NOW INTO COURT, through undersigned counsel, comes Plaintiffs CAROLYN

          BRINDELL, JOHN BRINDELL III, CONNIE DUPAY, and CHRISTOPHER BRINDELL, the

          statutory heirs and wrongful death beneficiaries of Decedent, JOHN BRINDELL, JR., who

          respectfully move the Court for leave to file this First Supplemental and Amending Petition to

          theirOriginalPetitionforDamagesinthe followingparticulars:
                                                           1.

                 Plaintiffs wish to supplement and amend the Original Petition for Damages to amend and

          add the following Defendants to this action:

                   17.    BOARD OF COMMISSIONERS FOR THE PORT OF NEW ORLEANS, a
                          company domiciled in the State of Louisiana, who is authorized to do and doing
                          business in Louisiana, with its principal place of business in Orleans Parish. This
                          defendant is being sued as a Premises Defendant.
                   18.    CRA TRAILERS INC., f/k/a Great Dane Trailers Inc., a foreign company
                          domiciled in the State of Delaware, who is authorized to do and doing business in
                          Louisiana. This defendant is being sued as a seller/supplier/manufacturer/product
                          Defendant.

                   19.    UNION CARBIDE CORPORATION, a foreign company domiciled in the State
                          of Delaware, transacting business in Louisiana with a principal business
                          establishmentinLouisianaat355Highway3142,Hahnville,Louisiana70057.This
                          defendant is being sued as a Supplier Defendant.
                                                           H.

                 Plaintiffs reiterate all matters contained in the Original Petition for Damages and allege the

          sameagainsttheseDefendants, includingtheprayeroftheiroriginalpetitionasthoughaet forthat

          lengthherein.




E-Filed
                                                                                                       EXHIBIT B
              Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 19 of 565
                                                                                                       FILED
                                                                                                2020JAN27 PO4:44
                                                                                                      CML
                                                                                                 DISTRICT COURT



                  WHEREFORE, Plaintiffs pray that the Original Petition for Damages be supplemented

          andamended intheaboveparticularsand,afterdueproceedingshad,therebejudgmententeredin

          favor of Plaintiffs in appropriate amounts to be determined by the fact finder, said judgments

          against all defendants jointly, severally and in solido, the amounts to bear legaI interest frotn the

          date of the judicial demand until paid, for all costs of these proceedings, and for all general and

          equitable relief.


                                                                    THE CHEEK LAW FIRM, LLC




                                                                    Lindsey A. Cheek LA Bar No.34484
                                                                    Jeanne L. St. Romain, LA Bar No. 36035
                                                                    650 Poydras Street, Suite 2310
                                                                    New Orleans, LA 70130
                                                                    Tel: (504) 304.4333
                                                                    Fax:(504)324-0629
                                                                    LCheek@thecheeklawfmn.com
                                                                    .IStRomain@thecheeklawfirnicorn

                                                                    AND

                                                                    SIMMONSHANLYCONROY
                                                                    Michael K. Hibey, IL Bar No. 6285982
                                                                    AdmittedPm Hac Vice
                                                                    1 Coun Street
                                                                    Alton, Illinois 62002
                                                                    Telephone:618-259-2222
                                                                    Fax:618-259-2251
                                                                    mhibey@simmonsfmn.com

                                                                    ATIORNEYS FOR PLAINTIFFS



                                           CERTIFICATE OF SERVICE

                  I do hereby certify that I have on this 27' day of January 2020, I served a copy of the

          foregoing pleading on counsel to all parties to this proceeding, by electronic tmnsmission,

          facsimile and/orUnited Statesmail,properlyaddressed, andfintclasspostageprepaid,




                                                                        Lindsey A. Cheek




E-Filed
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 20 of 565
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                                                                            2020JAN27 PO4:44
                                                                                  CIVIL
                                                                             DISTRICT COURT



                                        SERVICE INSTRUCTIONS

          PLAINTIFFS WILL SERVE THE DEFENDANTS NAMED IN THEIR ORIGINAL
          PETITION FORDAMAGESTHROUGHCOUNSEL OFRECORD PURSUANT TO LA.
          CC.P.ART,1313.

          PLEASE SERVE PLAINTIFFS' ORIGINAL PETITION AND PLAINTIFFS' FIRST
          SUPPLEMENTAL AND AMENDED PETITION FOR DAMAGES ON THE
          FOLLOWINGDEFENDANTS:

          L      BOARD OF COMMISSIONERS FOR THE PORT OF NEW ORLEANS
                 Through its Registered Agent for Service
                 Michelle W. Scelson
                 1350PorlofNew OrleansPlace
                 New Orleans, Louisiana 70130

          2.     CRA TRAILERS INC., f/k/a Great Dane Trailers Inc.
                 Through its Registered Agent for Service
                 Glen Darbyshire
                 BouhanFalligantLLP
                 One West Park Avenue
                 PO Box2139
                 Savannah, Georgia 31402

          3.     UNIONCARBIDE CORPORATION
                 Through itsRegisteredAgent forservice:
                 CF Corporation System
                 3867PlazaTowerDrive
                 Baton Rouge, Louisiana 70816




E-Filed
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                                                              EXHIBIT BB
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                                                                EXHIBIT C
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                                                                   EXHIBIT D
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                          Deposition of
                        J. Keith Poleto
                               Volume I

                      Date: February 19, 2020

  Case: CAROLYN BRINDELL, ET AL v. CARLISLE INDUSTRIAL
            BRAKE AND FRICTION, INC., ET AL

                           No. 2019-09716

              Court Reporter: Tara W. Wilson, CCR


                       Paszkiewicz Court Reporting
                           Phone: 618-307-9320
                          Toll-Free: 855-595-3577
                            Fax: 618-855-9513




                                                                    EXHIBIT E
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 31 of 565




                                                                  Page 1
                      CIVIL DISTRICT COURT
                        PARISH OF ORLEANS
                       STATE OF LOUISIANA




       CAROLYN BRINDELL, ET AL               NO. 2019-09716
                                             SECTION: 8
       VERSUS                                DIVISION "N"
       CARLISLE INDUSTRIAL BRAKE
       AND FRICTION, INC., ET AL


               Volume I of II of the videotaped deposition
       of J. KEITH POLETO, 114 Oak Court, Westwego,
       Louisiana 70094, taken at the Hampton Inn & Suites,
       5150 Mounes Street, Harahan, Louisiana 70123, on
       Wednesday, the 19th day of February 2020,
       commencing at 10:05 a.m. and concluding at 1:24
       p.m.
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                                                    J. Keith Poleto
                                                   February 19, 2020
                                                     Page 2                                                     Page 4
  1   APPEARANCES:                                             1   APPEARANCES, CTD:
  2                                                            2      PUGH, ACCARDO, HAAS & RADECKER
  3      SIMMONS HANLY CONROY                                         (BY: JOSEPH H. HART)
         (BY: MICHAEL K. HIBEY)                                3      1100 Poydras Street
  4      One Court Street
         Alton, Illinois 62002
                                                                      Suite 3300
  5      (ATTORNEYS FOR THE PLAINTIFFS)                        4      New Orleans, Louisiana 70163-1132
  6                                                                   (ATTORNEYS FOR UTILITY TRAILER MANUFACTURING
         CHRISTOVICH & KEARNEY, LLP                            5      COMPANY, DEFENDANT)
  7      (BY: ADREJIA B. SWAFFORD)                             6
         601 Poydras Street, Suite 2300                                SIMON, PERAGINE, SMITH & REDFEARN
  8      New Orleans, Louisiana 70130-6078                     7       (BY: DOUGLAS W. REDFEARN)
         (ATTORNEYS FOR FIRST STATE INSURANCE,                         1100 Poydras Street, 30th Floor
  9      DEFENDANT)                                            8       New Orleans, Louisiana 70163
 10
                                                                       (ATTORNEYS FOR EAGLE, INC., DEFENDANT)
         COURINGTON, KIEFER, SOMMERS, MARULLO,
 11      MATHERNE, LLC
                                                               9
         (BY: JAMIE M. ZANOVEC)                               10       STAINES & EPPLING
 12      616 Girod Street                                              (BY: ANTHONY J. STAINES)
         New Orleans, Louisiana 70130                         11       3500 North Causeway Boulevard, Suite 820
 13      (ATTORNEYS FOR LUFKIN INDUSTRIES, LLC,                        Metairie, Louisiana 70002
         DEFENDANT)                                           12       (ATTORNEYS FOR BOARD OF COMMISSIONERS FOR
 14                                                                    THE PORT OF NEW ORLEANS, DEFENDANT)
 15      DEUTSCH KERRIGAN                                     13
         (BY: JENNIFER E. ADAMS                               14   Also Present:
 16          AND BARBARA B. ORMSBY)
                                                                       Mark Ancalade, Videographer
         755 Magazine Street
 17      New Orleans, Louisiana 70130                         15
         (ATTORNEYS FOR ZF ACTIVE SAFETY US, INC.                  Reported by:
 18      (F/K/A KELSEY-HAYES COMPANY, AND WILSON              16      TARA W. WILSON
         TRAILER COMPANY, DEFENDANTS)                                 Certified Court Reporter
 19                                                           17
 20      FOLEY & MANSFIELD                                    18
         (BY: KAY BARNES BAXTER)                              19
 21      650 Poydras Street, Suite 2450                       20
         New Orleans, Louisiana 70130                         21
 22      (ATTORNEYS FOR STRICK TRAILERS, LLC,
                                                              22
         DEFENDANT)
 23                                                           23
 24                                                           24
 25                                                           25


                                                     Page 3                                                     Page 5
  1                                                            1              INDEX
      APPEARANCES, CTD:
  2                                                            2
        HAILEY, McNAMARA, HALL,
  3     LARMANN & PAPALE, LLP
                                                               3
        (BY: EDWARD J. LASSUS, JR.)                            4
  4     (VIA TELEPHONE)
        One Galleria Boulevard, Suite 1400                     5                              Page
  5     Metairie, Louisiana 70001
        (ATTORNEYS FOR TAYLOR-SEIDENBACH, INC.,                6   SUIT CAPTION............................ 1
  6     DEFENDANT)                                             7   APPEARANCES........................... 2-4
  7
        FRILOT|LLC                                             8   STIPULATION............................. 6
  8     (BY: ANGELA M. BOWLIN)
        1100 Poydras Street, Suite 3700                        9
  9     New Orleans, Louisiana 70163
        (ATTORNEYS FOR CARLISLE INDUSTRIAL BRAKE AND
                                                              10   EXAMINATION INDEX
 10     FRICTION, INC., DEFENDANT)                            11   BY MR. HIBEY....................... 9, 205
 11
        MG+M THE LAW FIRM                                     12   BY MS. BOWLIN.......................... 80
 12     (BY: VIKRAM S. BHATIA)
        One Canal Place                                       13   BY MR. HART........................... 162
 13     365 Canal Street, Suite 3000                          14
        New Orleans, Louisiana 70130
 14     (ATTORNEYS FOR EATON CORPORATION, DEFENDANT)          15
 15
        MG+M THE LAW FIRM                                     16   EXHIBIT INDEX
 16     (BY: AMANDA L. DETO)
        One Canal Place
                                                              17   EXHIBIT A (DRAWING)................... 126
 17     365 Canal Street, Suite 3000                          18   EXHIBIT B (WARNING LABELS)............ 160
        New Orleans, Louisiana 70130
 18     (ATTORNEYS FOR CRA TRAILERS, INC., F/K/A              19   EXHIBIT C (RECOMMENDED PROCEDURES FOR REDUCING
        GREAT DANE, DEFENDANT)
 19                                                           20   ASBESTOS DUST DURING BRAKE
 20     PUGH ACCARDO, LLC                                     21   SERVICING)............................ 161
        (BY: DAVID M. STEIN)
 21     1100 Poydras Street                                   22   EXHIBIT D (OCTOBER 1978 FRICTION MATERIALS WORK
        Suite 3300
 22     New Orleans, Louisiana 70163-1132                     23   PRACTICES GUIDE)...................... 161
        (ATTORNEYS FOR UNION CARBIDE, DEFENDANT)              24
 23
 24                                                           25
 25



                                                                                                 2 (Pages 2 to 5)
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                                            J. Keith Poleto
                                           February 19, 2020
                                                 Page 6                                                  Page 8
  1           STIPULATION                                    1            I need to put something on the record,
  2                                                          2   too. My name is David Stein representing --
  3        It is stipulated and agreed by and between        3      THE REPORTER:
  4   counsel for the parties hereto that the videotaped     4            Wait. Slow down just a little. Say it
  5   deposition of the aforementioned witness is hereby     5   a little louder for me.
  6   being taken under the Louisiana Code of Civil          6      MR. STEIN:
  7   Procedure, for all purposes, in accordance with the    7            Sure. David Stein representing Union
  8   law pursuant to notice.                                8   Carbide. And appearance here today is not waiving
  9        The formalities of sealing, certification,        9   any rights. We have not been properly served yet
 10   and filing are specifically waived. The witness       10   or answered the case.
 11   reserves the right to read and sign the deposition.   11      THE REPORTER:
 12        All objections, save those as to the form of     12            Thank you, sir.
 13   the question and the responsiveness of the answer,    13      MR. STAINES:
 14   are hereby reserved until such time as this           14            Are you going to go through a rough --
 15   deposition, or any part thereof, may be used or       15   ask everybody to --
 16   sought to be used in evidence.                        16      VIDEOGRAPHER:
 17                                                         17            No.
 18           * * * * * *                                   18      MR. STAINES:
 19                                                         19            No?
 20        TARA W. WILSON, Certified Court Reporter, in     20      VIDEOGRAPHER:
 21   and for the Parish of Orleans, State of Louisiana,    21            Counsel will be noted on stenographic
 22   officiated in administering the oath to the           22   record.
 23   witness.                                              23      MR. STAINES:
 24                                                         24            Okay. Tony Staines for the Board of
 25                                                         25   Commissioners, Port of New Orleans. I join in that


                                                 Page 7                                                  Page 9
  1         MS. BAXTER:                                      1   objection just now. We have also not appeared yet
  2            Before we get started, can we put on          2   in this case. Reserve all rights, therefore.
  3   the stenographic record?                               3      THE VIDEOGRAPHER:
  4            Plaintiff counsel, I am asking you if         4           This is the videotaped deposition of
  5   it's all right. We are reserving all objections        5   Mr. Jonathan K. Poleto. Today's date is February
  6   except as to form and responsiveness. Is that all      6   the 19th, 2020 at the time indicated on the video
  7   right?                                                 7   screen which is 10:05.
  8       MR. HIBEY:                                         8           This is the case of Carolyn Brindell,
  9            Sorry. What?                                  9   et al versus Carlisle Industrial Brakes and
 10       MS. BAXTER:                                       10   Friction, Inc., et al. Cause number is 2019-09716,
 11            I said, is it okay if we -- what we          11   Division N. This case is pending in the Civil
 12   normally do is we reserve all objections except as    12   District Court, Parish of Orleans, State of
 13   to form and responsiveness, and objection by one is   13   Louisiana. My name is Mark Ancalade, the
 14   good for all. Is that all right?                      14   videographer. Today's court reporter is Ms. Tara
 15       MR. HIBEY:                                        15   Wilson. We are with Paszkiewicz Court Reporting.
 16            Yes.                                         16   Today's deposition is being held in Harahan,
 17       MR. STAINES:                                      17   Louisiana. Counsel will be noted on the
 18            Put that on the record?                      18   stenographic record only, and I would ask that the
 19       MS. BAXTER:                                       19   court reporter please swear in the witness.
 20            Yes, please put that on the record.          20           J. KEITH POLETO,
 21       THE REPORTER:                                     21   after having first been duly sworn by the
 22            I'll put that on.                            22   above-mentioned Court Reporter, did testify as
 23       MS. BAXTER:                                       23   follows:
 24            Thank you.                                   24   EXAMINATION BY MR. HIBEY:
 25       MR. STEIN:                                        25      Q. Good morning.


                                                                                 3 (Pages 6 to 9)
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                                         J. Keith Poleto
                                        February 19, 2020
                                            Page 10                                                    Page 12
  1      A. Good morning.                                   1   responsibilities change over time?
  2      Q. Could you please state your name for            2      A. No, we pretty much had the same job all
  3   the record?                                           3   the time.
  4      A. Jonathan Keith Poleto.                          4      Q. What was your job there?
  5      Q. And that is P-O-L-E-T-O?                        5      A. We were maintenance for the 18 wheel
  6      A. Correct.                                        6   trailers for the company.
  7      Q. Where do you currently live?                    7      Q. All right. Now, Mr. Brindell, you said
  8      A. 114 Oak Court, Westwego, Louisiana.             8   he was already out there at Puerto Rico Marine when
  9      Q. And what is your date of birth?                 9   you started in October 1979, right?
 10      A. 2/25/58, next week.                            10      A. Correct.
 11      Q. All right. Well, happy birthday early.         11      Q. Do you know when Mr. Brindell stopped
 12      MS. BOWLIN:                                       12   working at Puerto Rico Marine?
 13          Mardi Gras day.                               13      A. Not exactly. I'd say six to eight
 14      THE WITNESS:                                      14   years after I started. Probably closer to eight
 15          It is.                                        15   years. I'm not sure.
 16   EXAMINATION BY MR. HIBEY:                            16      Q. Okay. Now, tell us a little bit about
 17      Q. Mr. Poleto, am I saying that correctly,        17   Puerto Rico Marine in general. What was that
 18   Poleto?                                              18   business?
 19      A. Poleto, Poleto. I answer to anything.          19      A. It was a -- sea containers and cargo
 20      Q. All right. Well, I will probably say           20   trailers that came off the rail or the highway,
 21   it wrong all day. I am going to ask you some         21   they came into our terminal. We did all
 22   questions about your work with Mr. Brindell, okay?   22   maintenance on them. They went onto a ship and
 23      A. Yes.                                           23   went directly to Puerto Rico. That's how the
 24      Q. And I'm going to try to get through it         24   people in Puerto Rico got their goods, food, and
 25   as quickly as I can. I understand you've given up    25   whatnot.


                                            Page 11                                                    Page 13
  1   some other things that you'd rather be doing today    1      Q. And you said "terminal," so where were
  2   to be here for us today and I appreciate that, so     2   you located, where did you do your work?
  3   let's get right to it.                                3      A. Inside the terminal, it was a big
  4           You knew Mr. Brindell, correct?               4   cement yard that would accommodate 3,000 trailers
  5      A. Yes, he was -- yeah.                            5   maybe. And we had a front shop and a rear shop and
  6      Q. And you knew him from childhood, you            6   a mechanic shop for the yard trucks. We had yard
  7   knew him from work, you knew him -- how did you       7   trucks. We had a shop next to us for that. Our
  8   know Mr. Brindell?                                    8   shop was a suspension shop for all the underneath
  9      A. I've been knowing him most of my life           9   of the trailer: The wheels, brakes, axles, landing
 10   mainly from work. He was my supervisor.              10   gear, lights. That was our responsibility.
 11      Q. Where did you work with Mr. Brindell?          11      Q. Okay.
 12      A. Puerto Rican Marine.                           12      A. The back shop did the structure to the
 13      Q. So I want to talk about that. When did         13   boxes themself.
 14   you first start working at Puerto Rico Marine?       14      Q. All right. So there is three different
 15      A. The end of 1979. October I think was           15   sort of mechanical shops --
 16   the month.                                           16      A. Correct.
 17      Q. Was Mr. Brindell already working there?        17      Q. -- out there?
 18      A. Yes.                                           18      A. Correct.
 19      Q. And when did you stop working for              19      Q. One you called the front shop, one you
 20   Puerto Rico Marine?                                  20   called the rear shop, the other was the yard shop;
 21      A. '90 -- 1996. I don't remember the              21   is that correct?
 22   month.                                               22      A. Handled all the yard equipment. It was
 23      Q. Okay. And when you worked at Puerto            23   mostly the motors and stuff like that, you know,
 24   Rico Marine from 1979 to 1996, did you have the      24   for the trucks and the forklifts.
 25   same job throughout or did your roles, duties, and   25      Q. Okay. And you were stationed and


                                                                             4 (Pages 10 to 13)
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                                          J. Keith Poleto
                                         February 19, 2020
                                             Page 14                                                    Page 16
  1   worked as a mechanic in the rear shop; is that         1      THE WITNESS:
  2   correct?                                               2           And then the last bay was my foreman,
  3      A. In what?                                         3   Raymond Cain; and Paul Kullem.
  4      Q. I am sorry. The front shop?                      4      MS. BOWLIN:
  5      A. I was in the front shop in charge of             5           Cullen?
  6   the suspensions and everything on the units.           6      THE WITNESS:
  7   That's what our shop was responsible for. It was a     7           Kullem. K-U-L-L something M, U-M, E-M.
  8   four-bay shop. You had four bays. Each bay had         8      MS. BOWLIN:
  9   two mechanics.                                         9           Thank you.
 10      Q. Okay. And was that the same shop that           10      THE WITNESS:
 11   Mr. Brindell was working at?                          11           I know them all. We were together
 12      A. Mr. Brindell was responsible for all            12   quite a few years.
 13   the shops, but he was mainly in our shop. Our shop    13   EXAMINATION BY MR. HIBEY:
 14   was like the hub.                                     14      Q. All right. And all of the mechanics
 15      Q. All right. And as a mechanic working            15   that you just mentioned were working in that same
 16   in the front shop on suspensions, what type of        16   shop?
 17   mechanical work did you perform?                      17      A. Correct.
 18      A. The brake jobs. We didn't do the                18      Q. And that's the shop that fell
 19   tires, we had separate people did tires. We did       19   underneath Mr. Brindell's?
 20   brake jobs, suspensions, springs, axles, brake        20      A. Directly under Mr. Brindell. He was in
 21   boosters, wiring, lights, and the landing gear, the   21   charge of all of them, but he mainly stayed in the
 22   dolly wheels that raise the front of the trailer.     22   front shop because that's where -- the head shop.
 23      Q. Okay. And you said that there were              23   We had the parts department there. It was next to
 24   four bays, two mechanics assigned to each bay?        24   the mechanic shop, all that, so forth.
 25      A. Two mechanics assigned to each bay,             25      Q. All right. So let's talk about brake


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  1   correct.                                               1   work, okay?
  2     Q. Can you tell us some of the other                 2      A. Uh-huh (affirmative response).
  3   mechanics that were in the shop at the same time as    3      Q. And I guess we will be very basic here
  4   you?                                                   4   and start at the beginning. Can you describe for
  5     A. The names?                                        5   us the types of brake jobs that you performed out
  6     Q. Yes.                                              6   at Puerto Rico Marine in '79, '80, '81, '82, '83,
  7     A. My partner was D.J. Lockhart.                     7   that time frame?
  8     MS. ADAMS:                                           8      A. Well, we would inspect all the units in
  9         Last name?                                       9   the yard and if they needed brakes, they would be
 10     THE WITNESS:                                        10   written up for brakes. And then you bring them
 11         Pardon me?                                      11   through the shop and you perform brake jobs.
 12     MS. ADAMS:                                          12   Sometimes you change the pads, the shoes, sometimes
 13         Last name?                                      13   the drums needed replacing, sometimes you had to
 14     THE WITNESS:                                        14   change -- I mean, we did everything.
 15         Lockhart, just like it sounds.                  15      Q. Okay. The brakes are on what?
 16   L-O-C-K-H-A-R-T, Lockhart.                            16      A. Each -- each axle is -- there is tandem
 17         The next bay over was Vic Hildebrand            17   axle on a trailer: A front axle, a rear axle.
 18   and Aubrey Mathis. And the next bay from that was     18   Each axle had two, four, six, eight brake shoes,
 19   Arthur Lirette and Kyle Curry.                        19   four per axle, four per each axle.
 20     MR. STAINES:                                        20      Q. Okay. What is an axle?
 21         What was the last name?                         21      A. The axle is what the wheels mount onto
 22     THE WITNESS:                                        22   that rolls down the road.
 23         Kyle Curry.                                     23      Q. All right. So the axle goes underneath
 24     MR. STAINES:                                        24   the trailer?
 25         Thank you.                                      25      A. Right.


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  1      Q. And --                                           1      A. We had Wilson, yes.
  2      A. You have the main unit and then you              2      DEFENSE COUNSEL:
  3   have the suspension bogie and you have the four        3           Object to form.
  4   springs that support the axle and then brake           4   EXAMINATION BY MR. HIBEY:
  5   boosters which make the brakes operate. And then       5      Q. And Lufkin?
  6   you had the brake liners and the cam that made them    6      A. Yes, Lufkin.
  7   operate and the brake drum and the hub and wheels.     7      Q. All right. So let's go back to a --
  8   Two wheels per side, so eight wheels on two axles.     8   walk me through a specific brake job that you
  9      Q. There would be, you said, eight brake            9   performed as a mechanic out at Puerto Rico, the
 10   shoes on one trailer?                                 10   steps that you went through to perform --
 11      A. Correct.                                        11      A. The units in the shop, you would have
 12      Q. Right? So what we are talking about is          12   to jack up both axles, put a jack stand, four jack
 13   four on each side?                                    13   stands to support every wheel. Then you would take
 14      A. Correct.                                        14   each wheel off with a master nut in the center, you
 15      Q. Two per drum; is that correct?                  15   take the oil bath cap off, take the master nut off.
 16      A. Two per hub, correct.                           16   The whole hub assembly with the brake drum and the
 17      Q. And how were those brake shoes held in          17   two wheels would pull off with a dolly, a special
 18   place?                                                18   dolly you took them off. Then once you had that
 19      A. Held in place? There was the anchor             19   off, there was the worn brake shoes and sometimes
 20   pin that hold them on the front side and the cam      20   worn or cracked drums. So then we would blow all
 21   was on the backside. And they had rollers that        21   that stuff off, blow all that out to get it to
 22   attached to the shoe itself that when the air         22   where we could inspect it and see what needed to be
 23   booster was applied from the truck pulling it, the    23   done.
 24   booster would push the cam, the cam would turn and    24      Q. Okay. What did you use to blow out?
 25   would push the roller pins out and make the brakes    25      A. All the dust so you can read the


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  1   touch the drum and stop the trailer.                   1    numbers and see what's going on.
  2      Q. Okay. Let me ask you a little bit                2       Q. So you are blowing out dust, but
  3   about some brands. Do you recall any brands' names     3    what -- was it an air hose, was it something else?
  4   for --                                                 4       A. The air hose.
  5      A. Twenty something years, but I can                5       DEFENSE COUNSEL:
  6   probably remember some.                                6           Objection.
  7      Q. All right. Well, let's start first               7       THE WITNESS:
  8   with brake shoes and brake linings. What brands of     8           The blow-off tip on the air hose.
  9   brakes did you guys use?                               9    EXAMINATION BY MR. HIBEY:
 10      A. Mostly Carlisle, some Abex.                     10       Q. And the air hose that you were using to
 11      Q. What about Bendix?                              11    blow out that dust, where did the dust go?
 12      A. We had some Bendix. Carlisle was the            12       A. On the ground, in the air, all over.
 13   most popular, most common.                            13       Q. Could you see it?
 14      Q. Let me ask you about the axles                  14       A. Yeah. It was a dust cloud. You could
 15   themselves. Do you know who manufactured the          15    blow it out your nose for a half hour afterwards.
 16   axles?                                                16       DEFENSE COUNSEL:
 17      A. Majority of the axles were Eaton, you           17           Object to the nonresponsive portion.
 18   had some Rockwells.                                   18    EXAMINATION BY MR. HIBEY:
 19      Q. And then lastly, these trailers                 19       Q. What was that dust coming from?
 20   themselves, do you know who manufactured the          20       A. The brake shoes, probably. Yeah, had
 21   trailers?                                             21    to be.
 22      A. Oh, there were so many different ones.          22       DEFENSE COUNSEL:
 23   Fruehauf, Strick, Great Dane, Utility. Give me a      23           Object to form.
 24   minute. There was probably 15, 18 different ones.     24    EXAMINATION BY MR. HIBEY:
 25      Q. All right. What about Wilson trailers?          25       Q. After you would blow out that dust, you


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  1   said that you could see and inspect the brakes?        1   on a new shoe, the pad of the new shoe, what were
  2      A. So the damage, that would be the damage          2   the conditions like?
  3   was sometimes you would have fine hairline cracks      3      DEFENSE COUNSEL:
  4   inside the brake drum. And if you had too many         4          Object to the form.
  5   cracks per inch, you had to replace the drums          5      THE WITNESS:
  6   before it split because then that trailer wasn't       6          Plenty more dust.
  7   safe for the road. You had to look at all that.        7   EXAMINATION BY MR. HIBEY:
  8      Q. Okay. What other -- take the next                8      Q. Could you see that dust?
  9   step, though. If the drum isn't the issue, what        9      DEFENSE COUNSEL:
 10   else would you need to do?                            10          Object to the form.
 11      A. Then you replace all what needed                11      THE WITNESS:
 12   replacing. You would unbolt the drum from the hub,    12          Oh, yeah. Big dust cloud.
 13   throw it out and get a new drum, put it on, blow      13   EXAMINATION BY MR. HIBEY:
 14   everything off real good, get it all nice and clean   14      Q. Okay. When you were performing brake
 15   before you reassemble everything.                     15   jobs in the shop, what were the other mechanics
 16      Q. Did you remove the two shoes?                   16   doing?
 17      A. Yeah, we remove all the shoes.                  17      DEFENSE COUNSEL:
 18      Q. And then what would you do to get               18          Object to the form.
 19   brakes back onto that?                                19      THE WITNESS:
 20      A. Blow it all off, wire brush it real             20          Most of them, a lot of times what they
 21   good with a wire brush and blow it all off again,     21   will do is you will have equipment sheet with all
 22   put the new shoes on and grease all the grease        22   the equipment that needed to go out and they would
 23   fittings.                                             23   have a rash (sic) that, okay, everybody bring in
 24      Q. The new shoes, what did they look like?         24   brake jobs, you know, this week. So for a whole
 25      A. Brand new shoes. Sometimes they -- the          25   week, everybody -- every bay would have a brake job


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  1   new shoes, if you had a new brake drum and new         1   in it, and then you would probably do -- with you
  2   shoes, sometimes to get it to mount back up and you    2   and a partner, you could probably do four a day if
  3   couldn't let them off enough to where they would --    3   you wasn't, you know, playing around.
  4   it would fit, you would have to grind bevels on the    4      Q. All right. And you mentioned that each
  5   corners of the shoes to get the brake drum to go       5   bay there was two mechanics assigned to, correct?
  6   back on.                                               6      A. Correct.
  7      Q. Okay. And when you are talking about             7      Q. So if you are working on doing a brake
  8   shoes, can you --                                      8   job, is your partner assisting you and also --
  9      A. The pads on the brake shoe.                      9      A. Oh, yeah, yeah, because it took two
 10      Q. Okay. So when you are talking about             10   people to do everything. A lot of times the pins
 11   bevelling or grinding, what are you grinding on?      11   that held the shoe in themself, you have to heat
 12      A. You bevel the edges because they were           12   them up to get them up. They freeze inside. Yeah,
 13   like this thick and they come around like this both   13   took two people to do all that.
 14   sides, and they were totally the same thickness all   14      Q. And you mentioned at times doing up to
 15   the way through. So with a brand new drum was         15   four brake jobs a day.
 16   thick. To get it back on, it would hit and it         16      A. If you really putting out, you can do,
 17   wouldn't let you go on, so you would bevel the        17   yeah, four a day.
 18   edges where they came to the end. You 45 degree       18      Q. And when you say four, is that four
 19   the edge with a grinder and then the drum would go    19   separate --
 20   right back on.                                        20      A. Four -- four units and doing complete
 21      Q. Okay. And just so we are clear, what            21   brake job, all four wheels, both axles, eight
 22   you are talking about bevelling or grinding on is     22   shoes.
 23   the pad itself, correct?                              23      Q. What were your typical work hours out
 24      A. Yes.                                            24   at Puerto Rico Marine?
 25      Q. When you performed that work, grinding          25      A. Normal work hours were 8 to 5, but you


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  1   didn't see that very often. It was mostly 6 to 5       1     DEFENSE COUNSEL:
  2   to keep up -- to keep up with the workload.            2          Object to the form.
  3      Q. Get in early?                                    3     DEFENSE COUNSEL:
  4      A. Pardon me?                                       4          Object to the form.
  5      Q. You were saying you have to get in               5     THE WITNESS:
  6   early like at 6 a.m.?                                  6          I am sorry.
  7      A. 6 a.m. to 5 p.m., yeah, ten-hour days.           7   EXAMINATION BY MR. HIBEY:
  8      Q. Is that Monday through Friday?                   8     Q. You described earlier the conditions
  9      A. Monday through Friday. Sometimes you             9   when using an air hose to remove an old brake shoe
 10   work -- well, we work the weekends mainly on the      10   being dusty, correct?
 11   ship. That's when they load and off-load the ship.    11     A. Correct.
 12   We had to be there for breakdowns.                    12     DEFENSE COUNSEL:
 13      Q. So if we took from when you started in          13          Object to the form.
 14   October of 1979 up through, let's say, a full         14   EXAMINATION BY MR. HIBEY:
 15   year's worth of time, could you give us an estimate   15     Q. Do you believe that Mr. Brindell was
 16   of how many brake jobs you would have performed in    16   exposed to that dust?
 17   one year's time?                                      17     DEFENSE COUNSEL:
 18      A. Just me?                                        18          Object to the form.
 19      Q. Yes.                                            19     THE WITNESS:
 20      A. Or me and my partner?                           20          Of course.
 21      Q. Yeah. You and your partner.                     21   EXAMINATION BY MR. HIBEY:
 22      DEFENSE COUNSEL:                                   22     Q. Why do you say that?
 23           Object to the form.                           23     DEFENSE COUNSEL:
 24      DEFENSE COUNSEL:                                   24          Object to form.
 25           Object to the form.                           25     THE WITNESS:


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  1      THE WITNESS:                                        1           Because that shop was all closed in.
  2          Multiply it out. Thousand.                      2   Had four walls -- I mean, they had walls all
  3   EXAMINATION BY MR. HIBEY:                              3   around, they had a roof that came down. Only thing
  4      Q. Can you describe for us what Mr.                 4   that opened was the garage doors and he was
  5   Brindell was doing while you were performing brake     5   constantly walking the floor and that dust was
  6   work?                                                  6   always in the air. Everybody in that shop got mega
  7      A. That was Sergeant Carter. He was                 7   exposed.
  8   behind your back watching you. He was supervisor,      8      DEFENSE COUNSEL:
  9   so he went through, constantly went through the        9           Object to the form.
 10   shop each day, make sure everybody was doing their,   10      DEFENSE COUNSEL:
 11   their work, getting their work out.                   11           Object to the nonresponsive portion.
 12      Q. Would -- would Mr. Brindell assist with         12   EXAMINATION BY MR. HIBEY:
 13   any of the brake work?                                13      Q. Mr. Poleto, I've got to ask you a few
 14      DEFENSE COUNSEL:                                   14   specific questions about some of the brands that
 15          Object to form.                                15   you've already mentioned, okay? So we have talked
 16      THE WITNESS:                                       16   generally about brake work and the type of brake
 17          Did he help?                                   17   jobs that you performed out at Puerto Rico Marine
 18   EXAMINATION BY MR. HIBEY:                             18   and you mentioned some specific brands. So I just
 19      Q. Yes.                                            19   wanted to run through those as quickly as I can and
 20      A. If we got in a bind maybe, but not too          20   then I'll be done, okay?
 21   often. He was mostly supervisor, just watching,       21      A. Uh-huh (affirmative response).
 22   make sure you were getting your work out.             22      Q. The first brake shoe that you mentioned
 23      Q. All right. And you described earlier            23   or brake that you mentioned was Carlisle brakes.
 24   conditions when you were removing old brake shoes     24      A. Carlisle. Yes, that was the most
 25   as being dusty, correct?                              25   popular one.


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  1      Q. What are Carlisle brakes?                        1   the axle. And it was two pieces of metal two
  2      A. Pardon me?                                       2   inches wide next to each other that came around
  3      Q. What are Carlisle brakes?                        3   like this, a flat piece of metal went over it and
  4      A. That's just the manufacturer who makes           4   the shoes were riveted to the metal, the pads,
  5   them.                                                  5   the --
  6      Q. How did you know that you were working           6      Q. And how thick were the pads?
  7   with Carlisle brakes?                                  7      A. -- the liner (indicating). Three
  8      A. It was stamped on the shoe or if they            8   quarters of an inch to an inch.
  9   came in a box, it was on the box.                      9      Q. Do you believe that those pads
 10      Q. And what did the shoe or the box say            10   contained asbestos?
 11   besides --                                            11      DEFENSE COUNSEL:
 12      A. Carlisle brake parts.                           12          Object to the form.
 13      Q. What were the size of the Carlisle              13      THE WITNESS:
 14   brakes?                                               14          I'm sure they did back in the day,
 15      A. I am sorry?                                     15   yeah.
 16      Q. What were the size of the Carlisle              16   EXAMINATION BY MR. HIBEY:
 17   brakes?                                               17      Q. Did you ever remove Carlisle brakes at
 18      A. Size?                                           18   Puerto Rico Marine?
 19      Q. Yeah.                                           19      DEFENSE COUNSEL:
 20      A. I don't know if they had a size. By             20          Object to the form.
 21   telling them what axle you had, they knew what        21      THE WITNESS:
 22   brakes went on it.                                    22          Yeah, we were taking them off the
 23      Q. Right. Can you give us an estimate for          23   Rockwell axles.
 24   how big of a brake --                                 24   EXAMINATION BY MR. HIBEY:
 25      A. How big a brake is?                             25      Q. Did you remove --


                                             Page 31                                                    Page 33
  1      Q. Yes.                                             1      A. I mean, the Eaton.
  2      A. Oh, it is wide as this book, eight               2      Q. -- Carlisle -- did you remove Carlisle
  3   inches, ten inches. And a radius about like this,      3   brakes using the same tools that you mentioned
  4   so from here to here radius because the drum itself    4   earlier?
  5   was this big (indicating).                             5      DEFENSE COUNSEL:
  6      Q. Well, that will make for a very --               6           Object to the form.
  7      A. Right, right.                                    7      THE WITNESS:
  8      Q. -- unclean record.                               8           All the brakes pretty much use the same
  9      A. It is not like a car. It's not like a            9   tools.
 10   car. I mean, it is big.                               10   EXAMINATION BY MR. HIBEY:
 11      Q. Bigger than a car?                              11      Q. And those tools included what?
 12      A. (Witness nodded head affirmatively.)            12      A. An impact -- air impact wrench.
 13   Four times bigger than a car.                         13   Half-inch air impact wrench, sockets.
 14      Q. And the Carlisle brake itself, was              14      Q. What else?
 15   there a metal component to it?                        15      A. A pin pusher, which is the big C-shaped
 16      DEFENSE COUNSEL:                                   16   clamp with a big threaded rod in the middle. And
 17           Object to form.                               17   if the pins wasn't frozen, you could put it on the
 18      THE WITNESS:                                       18   pin that secured the brake shoe to the axle and it
 19           Yeah. Want me to draw a picture?              19   would push it out. But a lot of times from being
 20   EXAMINATION BY MR. HIBEY:                             20   on the ships with the saltwater, they would freeze
 21      Q. Maybe.                                          21   up and you would have to heat them up real good
 22      A. You had a metal component went around           22   with a torch, get them red hot and then push them
 23   like this and there was a C on this end where it      23   out.
 24   rolled on the cam pins, and there was a round         24      Q. All right. Before you could use the
 25   circle on this end where the holding pin held it to   25   pin pusher, the torch sockets, air impact wrenches,


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  1    what would you have to do to access all of this?      1     Q. Could you see that dust?
  2       A. You blew everything off and took the            2     DEFENSE COUNSEL:
  3    snap pins out.                                        3          Object to the form.
  4      Q. And again, you blew it off with what?            4     THE WITNESS:
  5      DEFENSE COUNSEL:                                    5          Yes.
  6           Object to the form.                            6   EXAMINATION BY MR. HIBEY:
  7      THE WITNESS:                                        7     Q. Was Mr. Brindell there?
  8           Air.                                           8     DEFENSE COUNSEL:
  9    EXAMINATION BY MR. HIBEY:                             9          Object to the form.
 10      Q. When you used air to blow off the               10     THE WITNESS:
 11    Carlisle brakes, what were those conditions like?    11          He was always in and out the shop,
 12       A. Lot of dust.                                   12   yeah. I am sure he got into some of the dust.
 13      Q. Was Mr. Brindell there?                         13     DEFENSE COUNSEL:
 14      DEFENSE COUNSEL:                                   14          Object to the form, responsiveness of
 15           Object to the form.                           15   the answer.
 16      THE WITNESS:                                       16   EXAMINATION BY MR. HIBEY:
 17           He was always in and out the shop, yes.       17     Q. And earlier you talked about sometimes
 18    We were blowing them off with 120 pounds of          18   doing up to four full complete brake jobs in a day
 19    pressure if you need to know that. The air, that's   19   and mentioned perhaps doing up to a thousand brake
 20    what the air pressure was set at.                    20   jobs in a year. Do you remember saying that?
 21    EXAMINATION BY MR. HIBEY:                            21     DEFENSE COUNSEL:
 22      Q. Now, after using the air and removing           22          Object to form.
 23    the old brakes, did you install new Carlisle         23     THE WITNESS:
 24    brakes?                                              24          Uh-huh (affirmative response).
 25       A. Yes.                                           25   EXAMINATION BY MR. HIBEY:


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  1      Q. Did you install new Carlisle brakes in           1      Q. Okay. What I want to know is could you
  2   a similar manner as you described earlier when you     2   give us an estimate for the number of times you
  3   were talking about brakes in general?                  3   were in dusty conditions from blowing out Carlisle
  4      DEFENSE COUNSEL:                                    4   brakes?
  5           Object to the form.                            5      DEFENSE COUNSEL:
  6      THE WITNESS:                                        6          Object to form.
  7           Yes.                                           7      THE WITNESS:
  8   EXAMINATION BY MR. HIBEY:                              8          Me?
  9      Q. Did you have to do anything to the new           9   EXAMINATION BY MR. HIBEY:
 10   Carlisle brakes to get them prepared and ready to     10      Q. Yeah.
 11   be installed?                                         11      A. Almost constantly.
 12      A. Like I told you before, we had to bevel         12      Q. Just in terms of numbers of times,
 13   the edges, grind the edges down when we changed to    13   could you give us an estimate?
 14   put new drums. It was too tight a fit.                14      DEFENSE COUNSEL:
 15      Q. And when you beveled the edges or               15          Object to the form.
 16   grinded down on the Carlisle brakes, were you doing   16      THE WITNESS:
 17   that directly onto the padding material?              17          Ten times a day. That be fair?
 18      DEFENSE COUNSEL:                                   18   Because not only what I'm doing, what the guy next
 19           Object to the form.                           19   to me is doing and the guy next to that and the guy
 20      THE WITNESS:                                       20   next to that, so you was constantly in that dust.
 21           Right, yes.                                   21      DEFENSE COUNSEL:
 22   EXAMINATION BY MR. HIBEY:                             22          Object to the form, responsiveness of
 23      Q. And what were the conditions like when          23   the answer.
 24   that work was done?                                   24   EXAMINATION BY MR. HIBEY:
 25      A. Plenty dust.                                    25      Q. And we are talking specifically about


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  1   Carlisle brake dust, true?                             1      Q. Well, you said he would be in the shop
  2      A. That's the majority of what we used.             2   up to four hours.
  3      Q. What about --- could you estimate for            3      A. Right.
  4   us how often you were in those dusty conditions        4      Q. I guess just in terms of total number
  5   from grinding and bevelling directly on Carlisle       5   of times in a given year that Mr. Brindell would be
  6   brake pads?                                            6   in dusty conditions from Carlisle.
  7      DEFENSE COUNSEL:                                    7      DEFENSE COUNSEL:
  8          Object to the form.                             8          Object to the form.
  9      THE WITNESS:                                        9      THE WITNESS:
 10          Couple of times a day.                         10          If we did a thousand brake jobs, he
 11   EXAMINATION BY MR. HIBEY:                             11   would be -- well, he wasn't in there the whole
 12      Q. And again, with respect to Carlisle,            12   time, so say 4 or 500. How is that? Per year.
 13   could you estimate how many times in a larger         13      DEFENSE COUNSEL:
 14   period of time, say for example in a year, how many   14          Object to the speculative portion of
 15   times were you in dusty conditions from grinding      15   the answer.
 16   and bevelling on Carlisle brakes?                     16   EXAMINATION BY MR. HIBEY:
 17      DEFENSE COUNSEL:                                   17      Q. You mentioned Carlisle name being on
 18          Object to the form.                            18   the shoe or on a box, correct?
 19      THE WITNESS:                                       19      A. Yeah, it comes on a box. When they
 20          Talking about a whole year. Hard to            20   came in a box, sometimes they come in bulk, but you
 21   say. Five hundred times, is that fair if I said a     21   always knew because on the liner it is that digital
 22   thousand on brake jobs? Because we didn't grind       22   electronic markings in there. It was wrote in
 23   every one.                                            23   there.
 24      DEFENSE COUNSEL:                                   24      Q. Did you recall ever seeing any warnings
 25          Objection to the nonresponsive portion         25   from Carlisle about the hazards of asbestos?


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  1   of the answer.                                         1      A. No, not really.
  2   EXAMINATION BY MR. HIBEY:                              2      Q. And do you recall in that shop did --
  3       Q. Now, specifically when Mr. Brindell --          3   did you wear a mask when you were working on
  4   I understand you are doing these brake jobs you've     4   brakes?
  5   said, you know, up to four times a day, up to a        5      A. Well, they didn't supply a mask when I
  6   thousand in a year almost constantly in dust from      6   first started there because for the first say five
  7   it, but with respect to Mr. Brindell, could you        7   or six years I was there, we were working strictly
  8   give us an estimate for how often he would have        8   for -- directly for Puerto Rican government. Then
  9   been in dusty conditions from Carlisle brake work?     9   after about the fifth year, the union came in and
 10       DEFENSE COUNSEL:                                  10   took us and once we went union, they were a lot
 11           Objection to form.                            11   more conscious of safety and stuff, so then you got
 12       THE WITNESS:                                      12   masks and ear protection and all that once they
 13           Well, if we worked an 8-hour day, I           13   came in.
 14   would say he would be in the shop probably close to   14      Q. All right. Do you ever recall seeing
 15   four of those hours. He was constantly patrolling.    15   Mr. Brindell wearing a mask of any kind when he was
 16   EXAMINATION BY MR. HIBEY:                             16   in that shop?
 17       Q. And in terms of a number of times,             17      A. Nah.
 18   could you give us an estimate for the number of       18      Q. Okay. Let me ask you a little bit
 19   times you saw Mr. Brindell in dusty conditions from   19   about Abex brakes. You guys also worked with Abex
 20   Carlisle brake work?                                  20   brakes; is that correct?
 21       DEFENSE COUNSEL:                                  21      A. Yes, some were Abex.
 22           Object to the form.                           22      Q. And would you have done the same type
 23       THE WITNESS:                                      23   of work with Abex brakes?
 24           In a day?                                     24      A. Everything the same.
 25   EXAMINATION BY MR. HIBEY:                             25      DEFENSE COUNSEL:


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  1          Objection to form.                           1      A. Yes.
  2      THE WITNESS:                                     2      Q. -- when you were working on Abex
  3          All brake jobs, everything the same          3   brakes?
  4   way.                                                4      A. Yes, yes.
  5   EXAMINATION BY MR. HIBEY:                           5      DEFENSE COUNSEL:
  6      Q. And I will -- I will move along quickly       6          Objection.
  7   through this, but I wanted to ask you just a few    7   EXAMINATION BY MR. HIBEY:
  8   questions specific to Abex, okay? First of all,     8      Q. Could you give us an estimate for how
  9   how did you know a brake was an Abex brake?         9   many times Mr. Brindell was present when you were
 10      A. All the brake pads had some kind of          10   using an air hose to blow off Abex brakes out at
 11   stamping on them as to who made them. Might be a   11   Puerto Rico Marine?
 12   sticker, it might be engraved in the pad itself.   12      DEFENSE COUNSEL:
 13      Q. You talked about earlier how you             13          Objection.
 14   performed work using an air hose on the Carlisle   14      THE WITNESS:
 15   brakes. Did you also use an air hose on the Abex   15          That is a hard question to answer.
 16   breaks?                                            16   EXAMINATION BY MR. HIBEY:
 17      DEFENSE COUNSEL:                                17      Q. What were you --
 18          Objection.                                  18      A. In a year's time?
 19      THE WITNESS:                                    19      Q. Sure.
 20          I'm sorry?                                  20      A. What I told you before, 4 or 500. Use
 21   EXAMINATION BY MR. HIBEY:                          21   that for a reference. How is that? I know he used
 22      Q. Did you also use an air hose on the          22   to complain because we used to get his white shirt
 23   Abex brakes?                                       23   dirty.
 24      A. Yeah. We use an air hose on all brake        24      DEFENSE COUNSEL:
 25   jobs.                                              25          Object to the nonresponsive portions.


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  1      Q. Did it create the same conditions?            1   EXAMINATION BY MR. HIBEY:
  2      DEFENSE COUNSEL:                                 2     Q. All right. And then the same thing
  3          Object to form.                              3   with Carlisle brakes, you mentioned having to grind
  4      THE WITNESS:                                     4   and bevel on the pads. Did you have to do that on
  5          Sorry?                                       5   the Abex brakes as well?
  6   EXAMINATION BY MR. HIBEY:                           6     DEFENSE COUNSEL:
  7      Q. Created the same dusty conditions?            7         Objection to form.
  8      A. Yes.                                          8     THE WITNESS:
  9      DEFENSE COUNSEL:                                 9         Yes, if we used a new drum.
 10          Object to form.                             10   EXAMINATION BY MR. HIBEY:
 11   EXAMINATION BY MR. HIBEY:                          11     Q. And what were the conditions like when
 12      Q. Could you see the dust?                      12   you performed that work?
 13      A. Yes.                                         13     DEFENSE COUNSEL:
 14      DEFENSE COUNSEL:                                14         Objection.
 15          Object to form.                             15     THE WITNESS:
 16   EXAMINATION BY MR. HIBEY:                          16         Dusty.
 17      Q. Was Mr. Brindell present when you            17     DEFENSE COUNSEL:
 18   performed brake jobs on Abex brakes?               18         Objection.
 19      A. Like I said, he was in and out the shop      19   EXAMINATION BY MR. HIBEY:
 20   all the time, so I'm sure he was.                  20     Q. Could you see the dust?
 21      DEFENSE COUNSEL:                                21     A. Yes.
 22          Object to speculative portions.             22     Q. Did you see Mr. Brindell present while
 23   EXAMINATION BY MR. HIBEY:                          23   you were in those dusty conditions?
 24      Q. And did you see him in those dusty           24     A. At times, yes.
 25   conditions --                                      25     Q. How many times was he in dusty


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  1   conditions from your work grinding and beveling on     1     A. Correct.
  2   Abex brakes?                                           2     DEFENSE COUNSEL:
  3      DEFENSE COUNSEL:                                    3          Object to the form.
  4          Objection to form.                              4   EXAMINATION BY MR. HIBEY:
  5      THE WITNESS:                                        5     Q. And attached to an Eaton axle would be
  6          About the same as what I told you.              6   the brakes and the tires?
  7   EXAMINATION BY MR. HIBEY:                              7     DEFENSE COUNSEL:
  8      Q. Okay.                                            8          Object to the form.
  9      A. In a year. In a year.                            9     THE WITNESS:
 10      Q. You said 4 to 500 in a year for the             10          The brakes, the hub assembly, and the
 11   blowing with the air hose. Same thing for grinding    11   wheels.
 12   and beveling?                                         12   EXAMINATION BY MR. HIBEY:
 13      A. For the year, for Mr. Brindell, yes.            13     Q. Do you know whether any of the brakes
 14      DEFENSE COUNSEL:                                   14   on the Eaton axles were actually Eaton brakes?
 15          Objection to form.                             15     DEFENSE COUNSEL:
 16   EXAMINATION BY MR. HIBEY:                             16          Object to the form.
 17      Q. And then lastly, Bendix brakes, that's          17     THE WITNESS:
 18   another brand of brakes that you also used out        18          No, I couldn't say if they were or not.
 19   there?                                                19   Not a lot of markings on old brakes. All that gets
 20      A. Yeah. We used Bendix, also.                     20   worn off.
 21      Q. All right. You have told us a few               21   EXAMINATION BY MR. HIBEY:
 22   times that Carlisle was the most common brake; is     22     Q. What other work did you have to do on
 23   that correct?                                         23   the Eaton axles besides brake jobs?
 24      DEFENSE COUNSEL:                                   24     A. Change the boosters, the air boosters
 25          Objection to form, asked and answered.         25   that made the brakes work; bushings, change the


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  1      THE WITNESS:                                        1   bushings on the cams.
  2           Most common.                                   2     Q. How did you remove brake shoes from
  3   EXAMINATION BY MR. HIBEY:                              3   Eaton axles?
  4      Q. And what would be the second most                4     DEFENSE COUNSEL:
  5   common? Would it be the Abex?                          5          Object to the form.
  6      A. Probably.                                        6     THE WITNESS:
  7      DEFENSE COUNSEL:                                    7          How did I remove what?
  8           Object to form.                                8   EXAMINATION BY MR. HIBEY:
  9      THE WITNESS:                                        9     Q. The brake shoes from the Eaton axles.
 10           I would say that, yes.                        10     A. The same way we did all the other --
 11   EXAMINATION BY MR. HIBEY:                             11   everything was done the same way. Heat them up if
 12      Q. All right. Let's move over to Eaton             12   they frozen, use the pin-driving tool.
 13   axles, okay?                                          13     Q. Okay. The same description that you
 14      A. Uh-huh (affirmative response).                  14   gave for performing brake jobs in general, the same
 15      Q. You kind of described an axle earlier.          15   description that you gave for performing brake jobs
 16   How would you know that an axle was manufactured by   16   on say Carlisle brakes, it's the same process?
 17   Eaton?                                                17     A. Same every -- yeah.
 18      A. There was a football-shaped tag on              18     Q. Remove the brakes off --
 19   every axle right in the middle, told you who made     19     DEFENSE COUNSEL:
 20   them.                                                 20          Objection.
 21      Q. What would it say, specifically?                21     THE WITNESS:
 22      A. Either said Eaton or Rockwell.                  22          A brake job is a brake job no matter
 23      Q. And then the axle is the whole system           23   whose equipment you are using. They are all the
 24   that would be underneath or part of the suspension,   24   same.
 25   correct?                                              25   EXAMINATION BY MR. HIBEY:


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  1      Q. Same thing for the Rockwell axles?               1      Q. Is there anything different about doing
  2   There is no difference between --                      2   a brake job on a Fruehauf trailer?
  3      A. No difference. No difference.                    3      A. No.
  4      Q. Is there any distinguishable difference          4      DEFENSE COUNSEL:
  5   between an Eaton or Rockwell axle that you can tell    5           Objection to form.
  6   us about today?                                        6   EXAMINATION BY MR. HIBEY:
  7      A. Well, they each took a different shoe.           7      Q. You use the same tools, correct?
  8   One shoe would have a notch in the back. It was        8      DEFENSE COUNSEL:
  9   offset a little bit. The -- which one was it? The      9           Objection.
 10   Eaton axle had an offset. The Rockwell axle was       10      THE WITNESS:
 11   smooth on the shoe itself. It is something that       11           Same tools. Brake job is a brake job.
 12   you wouldn't notice because a lot of times you got    12   Yeah, they are all the same.
 13   the wrong shoe from the parts department, you go      13   EXAMINATION BY MR. HIBEY:
 14   put it on and then the drum won't go on because       14      Q. All right. I don't want to belabor the
 15   it's the wrong one. It was a half-inch difference     15   point, but you mentioned earlier using an air hose
 16   on the diameter. That was the only difference they    16   on brake jobs. You also used air hoses on Fruehauf
 17   had between the two.                                  17   trailers, correct?
 18      Q. Okay. Now, going specifically to some           18      DEFENSE COUNSEL:
 19   of the trailer manufacturers, you mentioned a         19           Object to form.
 20   Fruehauf trailer. Did you work on Fruehauf            20      THE WITNESS:
 21   trailers?                                             21           You have to, yeah.
 22      A. Yes.                                            22   EXAMINATION BY MR. HIBEY:
 23      Q. How did you know it was a Fruehauf              23      Q. And what were the conditions like?
 24   trailer?                                              24      DEFENSE COUNSEL:
 25      A. Big word right across the front. They           25           Object to form.


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  1   all had identification labels on them. Great Dane      1      THE WITNESS:
  2   had, you know, everybody had their own logo.           2           Dusty.
  3      Q. What work did you do on the Fruehauf             3   EXAMINATION BY MR. HIBEY:
  4   trailers?                                              4      Q. Could you see the dust?
  5      A. All suspension underneath with brakes,           5      A. Yes.
  6   brake jobs, landing gear, electrical wiring and        6      DEFENSE COUNSEL:
  7   lights, any welding the trailer, any cracks or         7           Object to form.
  8   anything.                                              8   EXAMINATION BY MR. HIBEY:
  9      Q. When you performed brake jobs on                 9      Q. Was Mr. Brindell present when that dust
 10   Fruehauf trailers, did you perform them               10   was being blown around?
 11   substantially in the same manner as you previously    11      DEFENSE COUNSEL:
 12   described?                                            12           Object to form.
 13      DEFENSE COUNSEL:                                   13      THE WITNESS:
 14           Objection to form.                            14           Yes.
 15   EXAMINATION BY MR. HIBEY:                             15   EXAMINATION BY MR. HIBEY:
 16      Q. I am sorry. When you performed brake            16      Q. Also with other brake jobs you talked
 17   jobs on Fruehauf trailers --                          17   about sometimes having to grind and bevel on brake
 18      A. Uh-huh (affirmative response).                  18   shoes for installation. Did you have to do that to
 19      Q. -- did you perform those brake jobs in          19   install brakes onto Fruehauf trailers?
 20   substantially the same manner as you previously       20      A. Sometimes, yes.
 21   described performing brake jobs?                      21      DEFENSE COUNSEL:
 22      A. Right, right, right. Yes, yes, yes.             22           Object to the form.
 23      DEFENSE COUNSEL:                                   23   EXAMINATION BY MR. HIBEY:
 24           Objection to form.                            24      Q. And what were the conditions like?
 25   EXAMINATION BY MR. HIBEY:                             25      A. Dusty.


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  1      DEFENSE COUNSEL:                                    1   your math would be over a thousand trailers through
  2           Object to form.                                2   that shop?
  3   EXAMINATION BY MR. HIBEY:                              3      A. Roughly close to a thousand, yes.
  4      Q. Was Mr. Brindell present there as well?          4      DEFENSE COUNSEL:
  5      DEFENSE COUNSEL:                                    5           Object to the form.
  6           Object to form.                                6      THE WITNESS:
  7      THE WITNESS:                                        7           Yeah, that's just in my bay. And you
  8           I'm sure he was passing through the            8   got three other bays, so I am not vouching for what
  9   shop when it was going on.                             9   those people had.
 10      DEFENSE COUNSEL:                                   10   EXAMINATION BY MR. HIBEY:
 11           Objection.                                    11      Q. Would it be your best estimate that
 12   EXAMINATION BY MR. HIBEY:                             12   over a thousand trailers came through the shop for
 13      Q. Could you tell us how many times                13   brake work during each year that you were at Puerto
 14   between say '79 and '85 on an annual basis you were   14   Rico Marine?
 15   in dusty conditions from performing brake jobs on     15      A. Good estimate.
 16   Fruehauf trailers, specifically?                      16      DEFENSE COUNSEL:
 17      DEFENSE COUNSEL:                                   17           Object to the form.
 18           Objection.                                    18   EXAMINATION BY MR. HIBEY:
 19      THE WITNESS:                                       19      Q. First five years of your time there?
 20           How many times?                               20      A. Yes.
 21   EXAMINATION BY MR. HIBEY:                             21      DEFENSE COUNSEL:
 22      Q. Sure. Just in a given year on Fruehauf          22           Object to the form.
 23   trailers.                                             23   EXAMINATION BY MR. HIBEY:
 24      DEFENSE COUNSEL:                                   24      Q. So then working off of that, Fruehauf
 25           Objection to form.                            25   trailers specifically, how many Fruehauf trailers


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  1      THE WITNESS:                                        1   did you perform brake jobs on say in a given year?
  2           In a given year, Fruehauf trailers,            2      DEFENSE COUNSEL:
  3   three hours a day.                                     3          Object to form.
  4   EXAMINATION BY MR. HIBEY:                              4      THE WITNESS:
  5      Q. Okay. Could you --                               5          I'll say 400. We will use a nice,
  6      A. It wasn't that many. It wasn't as many           6   round figure.
  7   Fruehauf trailers as some of the other things.         7   EXAMINATION BY MR. HIBEY:
  8      Q. Okay.                                            8      Q. When you performed brake jobs on
  9      A. There was just numerous different kinds          9   Fruehauf trailers out at Puerto Rico Marine, what
 10   of trailers.                                          10   were the conditions like?
 11      Q. Yeah. And we have mentioned a couple            11      DEFENSE COUNSEL:
 12   of different brands, so maybe I will approach it      12          Object to form.
 13   this way. Let's say from October '79 when you         13      THE WITNESS:
 14   started until October of 1980, so a full year --      14          Dusty.
 15      A. One year, okay.                                 15   EXAMINATION BY MR. HIBEY:
 16      Q. -- how many trailers came through your          16      Q. Was Mr. Brindell present?
 17   shop for brake work?                                  17      DEFENSE COUNSEL:
 18      A. That's mainly what they came in for.            18          Object to form.
 19      Q. All right.                                      19      THE WITNESS:
 20      A. How many? Four a day times a year. Do           20          A lot of times, yes.
 21   the math. Or you want me to guess?                    21   EXAMINATION BY MR. HIBEY:
 22      MR. HART:                                          22      Q. All right. Another brand of trailer
 23           No.                                           23   that you mentioned was a Strick trailer. Did you
 24   EXAMINATION BY MR. HIBEY:                             24   work on Strick trailers?
 25      Q. Obviously, don't want you to guess, but         25      DEFENSE COUNSEL:


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  1           Object to form.                               1      Q. Is that --
  2      THE WITNESS:                                       2      A. That was a year's time.
  3           Yes.                                          3      Q. Is that 400 in a year?
  4   EXAMINATION BY MR. HIBEY:                             4      DEFENSE COUNSEL:
  5      Q. What work did you perform on Strick             5           Object to form.
  6   trailers?                                             6      THE WITNESS:
  7      A. Probably the same brake jobs.                   7           Probably. If there was a thousand
  8      Q. How did you know a trailer was a Strick         8   units total, I will say about 400 were probably
  9   trailer?                                              9   Strick, 400 were probably Fruehauf.
 10      A. They all had the big sticker on the            10   EXAMINATION BY MR. HIBEY:
 11   side with the manufacturer.                          11      Q. And how often was Mr. Brindell in dusty
 12      Q. How did you perform brake jobs on              12   conditions from the brake work on Strick trailers?
 13   Strick trailers?                                     13      A. It would be the same estimate as what I
 14      A. The same as all the rest of them.              14   gave you for the Fruehauf one.
 15      Q. Is there anything different about it?          15      DEFENSE COUNSEL:
 16      A. Nope.                                          16           Object to form.
 17      Q. You used the same tools?                       17   EXAMINATION BY MR. HIBEY:
 18      A. Yes.                                           18      Q. Let me ask you about Utility trailers.
 19      Q. What were the conditions like when you         19   Did you guys also work on Utility trailers?
 20   used an air hose on a Strick trailer?                20      DEFENSE COUNSEL:
 21      DEFENSE COUNSEL:                                  21           Object to form.
 22           Object to form.                              22      THE WITNESS:
 23      THE WITNESS:                                      23           Yeah, at times.
 24           Plenty dust.                                 24   EXAMINATION BY MR. HIBEY:
 25   EXAMINATION BY MR. HIBEY:                            25      Q. How did you know they were Utility

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  1      Q. Where was the dust coming from?                 1   trailers?
  2      A. Blowing off the brakes and the brake            2      A. The big stamp on the side.
  3   drum.                                                 3      Q. What work, if any, did you perform on
  4      Q. Would you see the dust?                         4   Utility trailers?
  5      A. Yes.                                            5      A. Probably brake jobs, also.
  6      Q. What were the conditions like? Or let           6      Q. Were brake jobs on Utility trailers
  7   me ask it this way: Did you have to grind and         7   different than brake jobs on other trailers?
  8   bevel on brake pads for installation on Strick        8      DEFENSE COUNSEL:
  9   trailers?                                             9           Object to form.
 10      A. Sometimes, yes.                                10      THE WITNESS:
 11      DEFENSE COUNSEL:                                  11           No, they were all the same.
 12           Object to form.                              12   EXAMINATION BY MR. HIBEY:
 13   EXAMINATION BY MR. HIBEY:                            13      Q. When you performed brake jobs on
 14      Q. And what were those conditions like?           14   Utility trailers, what did you have to do?
 15      A. More dust.                                     15      A. Same thing I did with all the other
 16      Q. Could you see the dust?                        16   brake jobs. Use the same tools, take them off,
 17      A. Yes.                                           17   blow them off, clean it up, put new stuff on it.
 18      Q. Between 1979 and say 1985, how many            18      DEFENSE COUNSEL:
 19   times were you in dusty conditions from brake work   19           Object to the responsiveness.
 20   on Strick trailers?                                  20   EXAMINATION BY MR. HIBEY:
 21      DEFENSE COUNSEL:                                  21      Q. When you blew off the brake shoes from
 22           Object to form.                              22   the Utility trailers, could you see anything in
 23      THE WITNESS:                                      23   there?
 24           Four hundred.                                24      DEFENSE COUNSEL:
 25   EXAMINATION BY MR. HIBEY:                            25           Object to the form.


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  1      THE WITNESS:                                      1      THE WITNESS:
  2           See any -- the dust.                         2           Couple of hundred times, I'm sure.
  3   EXAMINATION BY MR. HIBEY:                            3   EXAMINATION BY MR. HIBEY:
  4      Q. When you installed new brake shoes on          4      Q. All right. You mentioned some --
  5   Utility trailers, did you ever have to manipulate    5   another brand of trailers, Great Dane trailers?
  6   those brake shoes?                                   6      A. Yes.
  7      DEFENSE COUNSEL:                                  7      Q. Do you recall performing work on Great
  8           Object to form.                              8   Dane trailers at Puerto Rico Marine?
  9      THE WITNESS:                                      9      A. Yes.
 10           Sometimes.                                  10      Q. What work did you perform on Great Dane
 11   EXAMINATION BY MR. HIBEY:                           11   trailers?
 12      Q. What would you have to do?                    12      A. The same as all the rest. Brake jobs.
 13      A. Grind a bevel on the edge of the shoe         13      DEFENSE COUNSEL:
 14   pad, liner. Some people say pad, some people say    14           Object to the nonresponsiveness.
 15   liner. Same thing.                                  15   EXAMINATION BY MR. HIBEY:
 16      Q. When you grinded and beveled on the           16      Q. How did you know a trailer was a Great
 17   pads and liners for installation on the Utility     17   Dane trailer?
 18   trailers, what were the conditions in the air?      18      A. Big sticker on the side of the unit.
 19      DEFENSE COUNSEL:                                 19      Q. And you said that the work you did on
 20           Object to form.                             20   Great Dane trailers was the same as all the rest,
 21      THE WITNESS:                                     21   brake jobs.
 22           Dusty.                                      22      DEFENSE COUNSEL:
 23   EXAMINATION BY MR. HIBEY:                           23           Object to form.
 24      Q. Could you see the dust?                       24   EXAMINATION BY MR. HIBEY:
 25      DEFENSE COUNSEL:                                 25      Q. Was there anything different about the


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  1          Object to form.                               1   brake jobs --
  2      THE WITNESS:                                      2      A. No.
  3          Yes.                                          3      Q. -- you performed on Great Dane
  4   EXAMINATION BY MR. HIBEY:                            4   trailers?
  5      Q. Was Mr. Brindell ever in those dusty           5      A. No. Was all the same.
  6   conditions --                                        6      DEFENSE COUNSEL:
  7      A. I'm sure he was.                               7           Object to form.
  8      Q. -- on Utility trailers?                        8   EXAMINATION BY MR. HIBEY:
  9      DEFENSE COUNSEL:                                  9      Q. Were the conditions substantially the
 10          Object to the form.                          10   same when you performed brake jobs on Great Dane
 11      THE WITNESS:                                     11   trailers?
 12          I'm sure he was.                             12      DEFENSE COUNSEL:
 13   EXAMINATION BY MR. HIBEY:                           13           Object to form.
 14      Q. And why are you sure he was?                  14      THE WITNESS:
 15      DEFENSE COUNSEL:                                 15           Same.
 16          Object to the form.                          16   EXAMINATION BY MR. HIBEY:
 17      THE WITNESS:                                     17      Q. You've told us with respect to all the
 18          Because he was always walking through        18   other trailers using -- that you used an air hose
 19   the shop.                                           19   to blow out the --
 20   EXAMINATION BY MR. HIBEY:                           20      A. Correct.
 21      Q. Could you give us an estimate for how         21      Q. -- brake dust.
 22   many times Mr. Brindell was in dusty conditions     22      DEFENSE COUNSEL:
 23   from your work on Utility trailers?                 23           Object to form.
 24      DEFENSE COUNSEL:                                 24   EXAMINATION BY MR. HIBEY:
 25          Object to form.                              25      Q. Did you also do than on Great Dane


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  1   trailers?                                           1      Q. And was Mr. Brindell present?
  2      A. Yes, we did it on every trailer.              2      DEFENSE COUNSEL:
  3      DEFENSE COUNSEL:                                 3          Object to form.
  4           Object to form.                             4      THE WITNESS:
  5   EXAMINATION BY MR. HIBEY:                           5          Yes, I'm sure.
  6      Q. Did that create any conditions in the         6   EXAMINATION BY MR. HIBEY:
  7   air?                                                7      Q. Could you tell us in a given year or in
  8      DEFENSE COUNSEL:                                 8   a particular year --
  9           Object to form.                             9      A. How many Great Danes?
 10      THE WITNESS:                                    10      Q. Yes. How many Great Dane trailers?
 11           Yes, the dust.                             11      A. If you're adding up all what I am
 12   EXAMINATION BY MR. HIBEY:                          12   telling you, it is going to go over a thousand when
 13      Q. Could you see it?                            13   I guess we did a thousand brake jobs a year.
 14      DEFENSE COUNSEL:                                14      DEFENSE COUNSEL:
 15           Object to form.                            15          Object to the nonresponsive portion.
 16      THE WITNESS:                                    16   EXAMINATION BY MR. HIBEY:
 17           Yes.                                       17      Q. All right. Well, you told us Fruehauf
 18   EXAMINATION BY MR. HIBEY:                          18   was about 400 in a year, Strick was about 400 in a
 19      Q. Was Mr. Brindell present in those dusty      19   year?
 20   conditions?                                        20      A. Right. And I gave you 200 on the other
 21      DEFENSE COUNSEL:                                21   one, so if I tell you 200 on this one, it is going
 22           Object to form.                            22   to go to 1200.
 23      THE WITNESS:                                    23      Q. Well, what would it be? What's your
 24           I'm sure he was.                           24   best estimate?
 25   EXAMINATION BY MR. HIBEY:                          25      A. Say a hundred.


                                          Page 67                                                    Page 69
  1      Q. You also talked about grinding and            1      DEFENSE COUNSEL:
  2   bevelling on other brake pads and liners?           2           Object to form.
  3      A. Periodically, yes.                            3      THE WITNESS:
  4      Q. On other trailers?                            4           We didn't have as many Great Danes as
  5      A. Periodically, you had to do it on all         5   we had everything else. There were less Great Dane
  6   of them.                                            6   trailers in the yard.
  7      Q. And so that would also cover --               7   EXAMINATION BY MR. HIBEY:
  8      A. Dust in the air.                              8      Q. Okay.
  9      Q. -- Great Dane trailers, correct?              9      A. Mostly Strick and Fruehauf was the most
 10      A. Right.                                       10   common. Utility.
 11      DEFENSE COUNSEL:                                11      Q. So is it your -- it is your testimony
 12           Object to form.                            12   that you performed brake jobs on about 100 Great
 13   EXAMINATION BY MR. HIBEY:                          13   Dane trailers in a year; is that right?
 14      Q. When you ground and beveled on brake         14      DEFENSE COUNSEL:
 15   pads and liners for installation onto Great Dane   15           Object to the form.
 16   trailers --                                        16      THE WITNESS:
 17      A. Yes.                                         17           Yeah, that would be fair.
 18      Q. -- what were the conditions like?            18           Bless you.
 19      DEFENSE COUNSEL:                                19      DEFENSE COUNSEL:
 20           Object to form.                            20           Thank you.
 21      THE WITNESS:                                    21   EXAMINATION BY MR. HIBEY:
 22           Dusty.                                     22      Q. And how often was Mr. Brindell present
 23   EXAMINATION BY MR. HIBEY:                          23   when you performed that work?
 24      Q. Could you see it?                            24      DEFENSE COUNSEL:
 25      A. Yes.                                         25           Object to form.


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  1      THE WITNESS:                                      1          Objection to form.
  2           Periodically.                                2      THE WITNESS:
  3   EXAMINATION BY MR. HIBEY:                            3          Yes, I'm sure.
  4      Q. Did you -- did you have any Wilson             4   EXAMINATION BY MR. HIBEY:
  5   trailers?                                            5      Q. Did you have to grind and bevel any of
  6      DEFENSE COUNSEL:                                  6   the --
  7           Objection.                                   7      A. At times.
  8      THE WITNESS:                                      8      Q. -- brake shoes that went onto the
  9           Yeah, we had some.                           9   Wilson trailers?
 10   EXAMINATION BY MR. HIBEY:                           10      DEFENSE COUNSEL:
 11      Q. Did you perform any work on Wilson            11          Object to the form.
 12   trailers at Puerto Rico Marine?                     12      THE WITNESS:
 13      DEFENSE COUNSEL:                                 13          At times.
 14           Objection to form.                          14   EXAMINATION BY MR. HIBEY:
 15      THE WITNESS:                                     15      Q. What were the conditions created by
 16           Yes.                                        16   that work, if any?
 17   EXAMINATION BY MR. HIBEY:                           17      DEFENSE COUNSEL:
 18      Q. Could you describe for us the brake           18          Object to form.
 19   work that you performed on Wilson trailers at       19      THE WITNESS:
 20   Puerto Rico Marine?                                 20          More dust.
 21      A. Yes, the same as all the rest.                21   EXAMINATION BY MR. HIBEY:
 22      Q. Anything different?                           22      Q. Could you see the dust?
 23      DEFENSE COUNSEL:                                 23      DEFENSE COUNSEL:
 24           Objection to form.                          24          Objection to form.
 25      THE WITNESS:                                     25      THE WITNESS:

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  1           No.                                          1          Yes.
  2   EXAMINATION BY MR. HIBEY:                            2   EXAMINATION BY MR. HIBEY:
  3      Q. Did you use the same tools to perform          3      Q. Was Mr. Brindell present when you were
  4   brake work on Wilson trailers?                       4   grinding and bevelling on brake jobs --
  5      A. Correct.                                       5      A. I'm sure he was.
  6      Q. Did you use an air hose?                       6      Q. -- for Wilson trailers?
  7      A. Pardon me?                                     7      DEFENSE COUNSEL:
  8      DEFENSE COUNSEL:                                  8          Object to the nonresponsive portion.
  9           Object to form.                              9   Object to the speculative portion.
 10   EXAMINATION BY MR. HIBEY:                           10      THE WITNESS:
 11      Q. Did you use an air hose?                      11          I'm sure he was.
 12      A. Oh, yeah. All the brake jobs done the         12   EXAMINATION BY MR. HIBEY:
 13   same way.                                           13      Q. Could you give us an estimate for how
 14      Q. When you used an air hose on the Wilson       14   many times Mr. Brindell was in dusty conditions
 15   trailers, what were you using the air hose to do?   15   from your brake work on Wilson trailers?
 16      A. Blow the dust from the brake drum and         16      DEFENSE COUNSEL:
 17   the brake shoes.                                    17          Objection to form.
 18      Q. Could you see that dust in the air?           18      THE WITNESS:
 19      DEFENSE COUNSEL:                                 19          What you want to know, how many times
 20           Objection to form.                          20   in a year?
 21      THE WITNESS:                                     21      DEFENSE COUNSEL:
 22           Yes.                                        22          Object to the nonresponsiveness.
 23   EXAMINATION BY MR. HIBEY:                           23   EXAMINATION BY MR. HIBEY:
 24      Q. Was Mr. Brindell present?                     24      Q. Well, two separate things going on.
 25      DEFENSE COUNSEL:                                 25   One is, you know, you are doing Wilson trailer


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  1   brake work. And I am not asking you specifically       1   EXAMINATION BY MR. HIBEY:
  2   for the number of times you did that, although it's    2      Q. Was there anything different about the
  3   a -- let me just -- how many times was Mr. Brindell    3   brake work that you had to perform on Lufkin
  4   present when you were doing the Wilson trailer and     4   trailers?
  5   brake work?                                            5      A. No.
  6      DEFENSE COUNSEL:                                    6      Q. You performed that work in
  7            Objection to form.                            7   substantially the same manner as you previously
  8      THE WITNESS:                                        8   testified when talking about brake jobs, correct?
  9            Oh, in a year?                                9      A. Yes.
 10   EXAMINATION BY MR. HIBEY:                             10      DEFENSE COUNSEL:
 11      Q. Sure.                                           11           Object to form.
 12      A. Hundred times. I mean, I'm just taking          12   EXAMINATION BY MR. HIBEY:
 13   numbers off the top of my head.                       13      Q. That included using an air hose,
 14      DEFENSE COUNSEL:                                   14   correct?
 15            Object to the nonresponsive portion.         15      DEFENSE COUNSEL:
 16   EXAMINATION BY MR. HIBEY:                             16           Object to form.
 17      Q. Well, I don't want --                           17      THE WITNESS:
 18      A. I didn't count every unit that went             18           Correct.
 19   through the shop.                                     19   EXAMINATION BY MR. HIBEY:
 20      Q. I know. And I know it's a difficult             20      Q. When you used an air hose on the Lufkin
 21   question. I'm just asking for your best estimate.     21   trailers for those brake jobs, what were the
 22      A. Best estimate.                                  22   conditions like?
 23      Q. Is what you have given us, correct?             23      DEFENSE COUNSEL:
 24      A. Right.                                          24           Object to form.
 25      DEFENSE COUNSEL:                                   25      THE WITNESS:

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  1           Objection to form.                             1          Dusty.
  2   EXAMINATION BY MR. HIBEY:                              2   EXAMINATION BY MR. HIBEY:
  3      Q. Last trailer I want to ask you about is          3      Q. Could you see the dust?
  4   a Lufkin trailer. Did you work on any Lufkin           4      A. Yes.
  5   trailers?                                              5      Q. Was Mr. Brindell present?
  6      A. Yes, we had Lufkin trailers.                     6      DEFENSE COUNSEL:
  7      Q. How did you know it was a Lufkin                 7          Object to form.
  8   trailer?                                               8      THE WITNESS:
  9      A. Big sticker on the side said "Lufkin."           9          Yes, at times.
 10      Q. What work, if any, did you perform on           10   EXAMINATION BY MR. HIBEY:
 11   those trailers?                                       11      Q. Previously, you testified multiple
 12      DEFENSE COUNSEL:                                   12   times now that at times you would have to grind and
 13           Object to form.                               13   bevel the pads and liners on brake shoes, correct?
 14      THE WITNESS:                                       14      A. Correct.
 15           Same thing. All the same.                     15      Q. Did you ever have to grind and bevel --
 16   EXAMINATION BY MR. HIBEY:                             16      A. I'm sure sometimes.
 17      Q. When you say same thing, all the same,          17      Q. -- on liners and brake pads that were
 18   are you referring to brake work?                      18   being installed onto Lufkin trailers?
 19      DEFENSE COUNSEL:                                   19      A. I'm sure at times we did.
 20           Object to form.                               20      DEFENSE COUNSEL:
 21      THE WITNESS:                                       21          Object to the form.
 22           Brake work. Same tools, brake jobs,           22   EXAMINATION BY MR. HIBEY:
 23   yes.                                                  23      Q. What were the conditions like when you
 24      DEFENSE COUNSEL:                                   24   performed that work?
 25           Object to nonresponsiveness.                  25      A. Dusty.


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  1      Q. Could you see the dust?                          1      A. No, he never had a mask on.
  2      A. Yes.                                             2      MR. HIBEY:
  3      Q. Was Mr. Brindell present?                        3            We kind of ran through things pretty
  4      A. At times.                                        4   quickly there, so I might have some questions to
  5      DEFENSE COUNSEL:                                    5   fill in some things later on, but for now I think
  6           Form.                                          6   that is all I have to ask you about. I'm going to
  7   EXAMINATION BY MR. HIBEY:                              7   let some other people ask you some questions, okay?
  8      Q. And now, how many times in a given year          8      THE WITNESS:
  9   was Mr. Brindell in dusty conditions from Lufkin       9            You finished?
 10   brake work?                                           10      MR. HIBEY:
 11      A. A hundred times, I think.                       11            For now, yes.
 12      Q. All right. Just a few questions and             12      THE WITNESS:
 13   then I'll be done.                                    13            Okay. I can go?
 14      A. Good.                                           14      MR. HART:
 15      Q. You mentioned earlier that you did not          15            Take five.
 16   see warnings about the hazards of asbestos on any     16      THE VIDEOGRAPHER:
 17   of the brakes, correct?                               17            We are now off the record at 11:01.
 18      A. Not back in those early days, early             18            (Brief recess.)
 19   years, no.                                            19      THE VIDEOGRAPHER:
 20      Q. But just so we are clear, I want to ask         20            We are now back on the record at 11:16.
 21   you about warnings about the hazards of asbestos in   21   EXAMINATION BY MS. BOWLIN:
 22   general and then a little bit more specifically.      22      Q. Good morning, sir.
 23   Do you recall seeing any warnings about the hazards   23      A. Good morning.
 24   of asbestos in say 1979, 1980, '81, '82, '83, that    24      Q. My name is an Angie Bowlin and I'm
 25   time frame?                                           25   going to be the next attorney to ask you some


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  1      A. No. We didn't learn about that until             1   questions this morning.
  2   later on.                                              2      A. Yes, ma'am.
  3      Q. All right. And do you recall seeing              3      Q. If you need to take a break before I'm
  4   any warnings on any of the trailers about the          4   finished with my questions, please let me know.
  5   hazards of asbestos?                                   5      A. Okay.
  6      A. No.                                              6      Q. I would also like to ask you to try to
  7      DEFENSE COUNSEL:                                    7   let me finish the whole question before you provide
  8           Object to form.                                8   your answer because the court reporter is taking
  9   EXAMINATION BY MR. HIBEY:                              9   down everything that I am saying and then
 10      Q. Or on any of the axles about the                10   everything that you say, so it's really for her
 11   hazards of asbestos?                                  11   benefit so that we try not to talk over each other
 12      A. No.                                             12   because it is hard for her to do both people
 13      DEFENSE COUNSEL:                                   13   speaking at one time.
 14           Object to form.                               14      A. Might do it -- might do it on purpose.
 15   EXAMINATION BY MR. HIBEY:                             15      Q. Well, you might, but she might get mad
 16      Q. And during that same time period, '79           16   at you.
 17   to '83 or '84, you said that that was the time        17           All right, sir. You told us your
 18   period when there was not a union?                    18   address and your date of birth. Are you currently
 19      A. We didn't have the union, no.                   19   employed?
 20      Q. And during that whole time period you           20      A. No, ma'am.
 21   guys didn't wear masks or have any ear protection,    21      Q. You are retired?
 22   correct?                                              22      A. Yes, ma'am.
 23      A. No, no.                                         23      Q. And what year did you retire?
 24      Q. And Mr. Brindell obviously wouldn't             24      A. I retired from that job in '96.
 25   have worn a mask?                                     25      Q. You retired from Puerto Rican Marine --


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  1      A. In '96.                                          1          Wait. Interject and add one more
  2      Q. -- in 1996. Did you work for anyone              2   request. Try to avoid the uh-huhs and uh-uhs
  3   after 1996?                                            3   because they are really hard to take down, too. If
  4      A. Yes, ma'am.                                      4   you can give us yes or nos.
  5      Q. And you don't have to tell me all of             5      THE WITNESS:
  6   your employers after 1996, but did you stay in the     6          Yes or no is better.
  7   same type of work?                                     7      MS. BOWLIN:
  8      A. For awhile.                                      8          Thanks, Jody.
  9      Q. Okay. And what business did you retire           9      THE WITNESS:
 10   from when you last worked for wages?                  10          She is still smiling.
 11      A. Well, I'm retiring at this time from            11      MR. HART:
 12   being a fishing charter captain.                      12          She will smile.
 13      Q. And do you work for a particular                13   EXAMINATION BY MS. BOWLIN:
 14   company or do you have your own company?              14      Q. We have received some information from
 15      A. My company.                                     15   Mr. Brindell's attorneys which include his Social
 16      Q. And what's the name of that company?            16   Security earnings printout, and we have information
 17      A. My company?                                     17   that he began working with Puerto Rico Marine in
 18      Q. Yes, sir.                                       18   1976. Because you didn't start working there in
 19      A. Sufficient Charters.                            19   1979, you are not able to offer us any testimony
 20      Q. All right. When did you first meet Mr.          20   about his particular work for Puerto Rico Marine in
 21   Brindell?                                             21   1976, 1977 or 1978, correct?
 22      A. Before I worked for him, I knew him             22      A. Correct.
 23   from before that. '77 maybe.                          23      Q. The Social Security earnings
 24      Q. 1977?                                           24   information that we received also indicates that
 25      A. It's a round guess. That's when I               25   Mr. Brindell stopped working or last worked for


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  1   graduated, so it was around that time.                 1   Puerto Rico Marine in 1981. Would you have any
  2     Q. That's when you graduated from high               2   reason to dispute that?
  3   school?                                                3      A. It seemed longer, but I'm not sure.
  4     A. Yes, ma'am.                                       4     Q. All right. But if the information we
  5     Q. And how did you meet him?                         5   received from the federal government turns out to
  6     A. We used to hunt together.                         6   be correct --
  7     Q. So you were personal friends?                     7      A. I got you.
  8     A. Yeah.                                             8     Q. -- you would have no reason to dispute
  9     Q. Are you related to Mr. Brindell?                  9   that, right?
 10     A. Oh, no.                                          10      A. No.
 11     Q. Did you go -- did you belong to the              11     Q. Okay. So the time frame that we are
 12   same hunting camp?                                    12   going to talk about today is going to be 1979,
 13     A. Yeah, pretty -- yeah, club, hunting              13   1980, and 1981 when you both worked for Puerto Rico
 14   club.                                                 14   Marine.
 15     Q. From 1977 until you started working for          15      A. Yes, ma'am.
 16   Puerto Rico Marine in 1979, did you do any work for   16     Q. All right. Did you do any work with
 17   wages with Mr. Brindell?                              17   Mr. Brindell for any company other than Puerto Rico
 18     A. Did I do what with him?                          18   Marine?
 19     Q. Any work with him?                               19      A. No.
 20     A. Uh-uh (negative response).                       20     Q. Do you know Mr. Brindell's family?
 21     Q. So the only connection that you had              21      A. Yes.
 22   with Mr. Brindell before you went to work for         22     Q. Do you know his wife?
 23   Puerto Rico Marine was hunting?                       23      A. Yes.
 24     A. Hunting, yes.                                    24     Q. What's her name?
 25     MR. HART:                                           25      A. Carolyn.


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  1       Q. All right. Did you have an opportunity       1     Q. You mentioned Mr., is it Holbrook?
  2   to speak to Miss Carolyn before this deposition     2     A. Holbrook?
  3   today?                                              3     Q. No. What was his name? I wrote down
  4       A. No.                                          4   the -- you told us the name of the gentleman who
  5       Q. Do you know how it is that Mr.               5   worked in the bay.
  6   Brindell's family's attorneys got your name as a    6     A. Oh, that worked with us, with me?
  7   possible coworker?                                  7     Q. Yes, sir.
  8       A. No.                                          8     A. D.J.
  9       Q. How were you contacted about being a         9     Q. D.J. What's D.J.'s last name?
 10   witness in this case?                              10     A. Lockhart.
 11       A. (Indicating.)                               11     Q. Lockhart. Did you speak to
 12       Q. You are pointing to Mr. Hibey?              12   Mr. Lockhart before the deposition today?
 13       A. Yes.                                        13     A. No.
 14       Q. Okay. Were you contacted by phone or        14     Q. Do you know where Mr. Lockhart lives?
 15   were you contacted in writing?                     15     A. Yes.
 16       A. Phone, I think. Phone.                      16     Q. And where is that?
 17       Q. Do you remember when you were first         17     A. Bush.
 18   contacted?                                         18     Q. In Bush, Louisiana?
 19       A. No.                                         19     A. Yes.
 20       Q. Do you remember, was it in 2019 or was      20     Q. Do you know what his health is like?
 21   it in 2020?                                        21     A. His health?
 22       A. '19.                                        22     Q. Is he in good health?
 23       Q. Do you remember what month of 2019?         23     A. I don't know.
 24       A. No.                                         24     Q. When was the last time you spoke with
 25       Q. Do you remember if it was before or         25   him?

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  1   after Christmas in 2019?                            1      A. New Year's.
  2      A. Before Christmas, I think.                    2      Q. Of 2019/2020?
  3      Q. All right.                                    3      A. Yeah, I saw him for New Year's.
  4      A. Yes.                                          4      Q. And when you called him, did you
  5      Q. How many times have you spoken with an        5   discuss any of your work at Puerto Rico Marine?
  6   attorney representing Mr. Brindell's family?        6      A. No.
  7      A. Once.                                         7      Q. At any time have you discussed your
  8      Q. Once. Was that just on the phone?             8   work with Mr. Lockhart from Puerto Rico Marine?
  9      A. Yes.                                          9      A. No.
 10      Q. Okay. Did you meet with anyone,              10      Q. Now, I wrote down that Puerto Rico
 11   including Mr. Hibey, this morning prior to the     11   Marine is actual -- well, is or was Puerto Rico
 12   deposition?                                        12   Marine Management.
 13      A. No.                                          13      A. Correct.
 14      Q. Did you meet with anyone yesterday to        14      Q. That was the name of the company?
 15   prepare for the deposition?                        15      A. Right.
 16      A. No.                                          16      Q. And where was this company
 17      Q. Have you been provided with any              17   headquartered?
 18   documents to review by the attorneys for Mr.       18      A. Puerto Rico.
 19   Brindell's family in preparation for this          19      Q. But it had a New Orleans office?
 20   deposition?                                        20      A. Yeah. Across the street from the main
 21      A. No.                                          21   shop was the corporate office.
 22      Q. Did you reach out to any of your fellow      22      Q. Okay. Do you remember the address of
 23   coworkers from Puerto Rico Marine to discuss the   23   the corporate office?
 24   work that you did with Mr. Brindell?               24      A. No.
 25      A. No.                                          25      Q. And you say across the street from the


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  1   main shop. And I believe you said earlier at the       1   living?
  2   Port of New Orleans?                                   2      A. Yes, he's still living.
  3      A. Right.                                           3      Q. Do you know where he lives?
  4      Q. But do you know, was there, is there --          4      A. Lacombe.
  5      A. France Road.                                     5      Q. Have you spoken with him about this
  6      Q. France Road.                                     6   case?
  7           So there was an office, like a main            7      A. No.
  8   business office?                                       8      Q. Who would have been Mr. Brindell's
  9      A. Correct.                                         9   boss?
 10      Q. And that was across the street from             10      A. It would have been in the main office
 11   where the mechanic work was done?                     11   across the street. Reggie Sykes I think was the
 12      A. Shop, terminal, yes.                            12   man's name.
 13      Q. And all of the three shops that you             13      Q. Do you know if Mr. Sykes is still
 14   identified were across the street from the main       14   living?
 15   office?                                               15      A. I have no idea.
 16      A. Yes.                                            16      Q. And do you know what his title was?
 17      Q. Did Mr. Brindell have an office in the          17      A. Manager. He was a manager, a regional
 18   main office because he was a supervisor?              18   manager, some kind of manager.
 19      A. No. His office was in the shop where            19      Q. Do you know if Puerto Rico Marine
 20   we were.                                              20   Management had offices in the United States other
 21      Q. And he had an office within the shop?           21   than in New Orleans?
 22      A. Yes.                                            22      A. I think they might have had one in
 23      Q. And did that office have a closed door,         23   Charleston, but I'm not sure.
 24   a door that would close?                              24      Q. Is that Charleston, South Carolina?
 25      A. It had a door, but I don't know if he           25      A. Right, yes.


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  1   closed it or not. It was always open.                  1      Q. Do you know how many people worked in
  2      Q. But it did have a door?                          2   the main office?
  3      A. Yeah.                                            3      A. 25, 30.
  4      Q. And is that where Mr. Brindell would go          4      Q. Do you know the address on France Road
  5   to do his paperwork?                                   5   of the main office or the shops?
  6      A. Correct.                                         6      A. Nope.
  7      Q. And do you know a percentage of the day          7      Q. Can you describe for me the business of
  8   that Mr. Brindell would need to spend doing office     8   Puerto Rico Marine Management?
  9   work or paperwork?                                     9      A. It's a shipping industry. We ship sea
 10      A. I would say it was probably half a day          10   containers and road trailers directly to Puerto
 11   he would -- office work, half the day he would be     11   Rico.
 12   in the shop.                                          12      Q. So the trailers and the containers went
 13      Q. Who was stationed, for lack of a better         13   from the United States to Puerto Rico?
 14   word, in the main office across the street from the   14      A. Directly.
 15   shops?                                                15      Q. And did the same containers and
 16      A. Oh, I don't even know. The people that          16   trailers come back to the United States?
 17   were working directly for Puerto Rico.                17      A. Yes.
 18      Q. You said that Mr. Brindell was your             18      Q. Do you know who was in charge of the
 19   supervisor?                                           19   paperwork regarding the shipping of the containers
 20      A. Right.                                          20   and trailers to Puerto Rico?
 21      Q. Were there other shop supervisors?              21      A. That main office.
 22      A. No. We had a foreman.                           22      Q. The main office. And then there was an
 23      Q. Who was the shop foreman?                       23   office in Puerto Rico?
 24      A. Raymond Cain.                                   24      A. Yeah.
 25      Q. Do you know if Mr. Cain is still                25      Q. Was the office in Puerto Rico a Puerto


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  1   Rico Marine Management office if you know?            1      Q. And you've told us about the work that
  2      A. I couldn't tell you for sure.                   2   was going on in the maintenance department. Do you
  3      Q. Do you know the names of any of the             3   know what Mr. Brindell's other duties were as a
  4   individuals who worked on the Puerto Rico side of     4   supervisor of the maintenance department?
  5   this business?                                        5      A. I don't know what else he did. He did
  6      A. No.                                             6   paperwork and he would hound us.
  7      Q. Did you ever go to Puerto Rico with any         7      Q. Do you know if he was responsible for
  8   of the sea containers or trailers?                    8   ordering the parts and materials that were used in
  9      A. No.                                             9   the maintenance department?
 10      Q. Do you know if Mr. Brindell ever went          10      A. I don't think he was, but I don't know.
 11   on the vessels with any of the sea containers or     11      Q. Do you know who was responsible then
 12   trailers?                                            12   for ordering parts and materials needed for use in
 13      A. I -- I don't know.                             13   the maintenance department?
 14      Q. Other than Reggie Sykes, do you know           14      A. I sure don't.
 15   the names of any other individuals who worked in     15      Q. Did you ever have any responsibilities
 16   the main office?                                     16   for ordering parts or materials needed for use in
 17      A. Dottie Boudreaux.                              17   the maintenance department?
 18      Q. What was Miss Boudreaux's position?            18      A. No.
 19      A. She was a secretary.                           19      THE WITNESS:
 20      Q. All right. Anyone else?                        20          Better?
 21      A. That is it.                                    21   EXAMINATION BY MS. BOWLIN:
 22      Q. Do you know anything about the                 22      Q. Did Puerto Rico Marine Management have
 23   corporate structure of Puerto Rico Marine            23   a safety department?
 24   Management?                                          24      A. No.
 25      A. Not at all.                                    25      Q. Was there anyone who worked for Puerto


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  1      Q. Do you know if it was a Puerto Rican            1   Rico Marine Management who was responsible for
  2   business doing business in the United States or if    2   safety?
  3   it was a United States business?                      3      A. Not that I know of.
  4      A. Well, Puerto Rico is a --                       4      Q. Were you provided any safety training
  5      Q. Well, it's a territory of the United            5   before you went to work for Puerto Rico Marine
  6   States.                                               6   Management?
  7      A. Commonwealth, yes.                              7      A. No.
  8      Q. That was a dumb question. Sorry.                8      Q. When you went -- you said that you had
  9      A. But, yeah. I mean, the way they                 9   graduated from high school in --
 10   explained to us, we pretty much feed those people.   10      A. '77.
 11   We make sure that they have their goods that they    11      Q. -- '77. Between '77 and '79 when you
 12   need. That's what our company was.                   12   went to work for Puerto Rico Marine Management, had
 13      Q. Okay. So you were sending provisions           13   you already learned how to do maintenance work such
 14   to Puerto Rico from the United States?               14   as brake work on semis?
 15      A. Correct.                                       15      A. No, I learned there.
 16      Q. All right. Got it.                             16      Q. So you learned on the job?
 17           And Mr. Brindell was considered a            17      A. Correct.
 18   supervisor?                                          18      Q. In 1979 when you started there, were
 19      A. Correct.                                       19   you considered an apprentice or were you hired as a
 20      Q. And so he --                                   20   mechanic?
 21      A. On the maintenance department where we         21      A. Hired as a mechanic.
 22   were.                                                22      Q. And did you always work with J.D.
 23      Q. So he was the supervisor over the              23   Lockhart?
 24   entire maintenance department?                       24      A. Yes.
 25      A. Yes.                                           25      Q. Do you know how long he had worked


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  1   there before?                                          1   three portions. You had our shop, which you could
  2      A. Before me?                                       2   call shop A. We did suspension, brakes, landing
  3      Q. Yes.                                             3   gear, wiring, lights. Then you had the mechanic
  4      A. Couple years.                                    4   shop that worked on the 18 wheel trucks that were
  5      Q. So did he teach you the business?                5   used in the yard was attached to our backside.
  6      A. Pretty much, yeah.                               6      Q. Would that be B?
  7      Q. Was Mr. Brindell ever responsible for            7      A. B. And you had the parts department
  8   teaching you how to perform maintenance work on the    8   behind them.
  9   semi-trailers?                                         9      Q. Would that be C?
 10      A. He did sometimes, yes.                          10      A. Yeah, put C on that one.
 11      Q. He did sometimes. Do you remember what          11      Q. Okay.
 12   Mr. Brindell taught you how to do?                    12      A. And then you had the inspection garage
 13      A. The repair work. The brakes, do them            13   on the outside of that. You could put that one as
 14   correctly. The landing gear that supported the        14   D.
 15   front of the trailer, how to do it correctly.         15      Q. Okay. D. So the front shop consisted
 16      Q. Did you ever witness Mr. Brindell               16   of A, B, C, and D?
 17   personally doing brake work on any of these           17      A. Correct.
 18   semi-trailers at Puerto Rico Marine Management?       18      Q. And then what were the other two shops?
 19      A. Did I see him do it? No.                        19      A. There was a shop behind us that was --
 20      Q. Yes, sir. No.                                   20   the container structure of the trailers, all the
 21          You just saw him walking around                21   aluminum and stuff what the actual box trailer was
 22   supervising the work?                                 22   made of.
 23      A. Correct.                                        23      Q. All right.
 24      Q. During -- between '79 and '81 when you          24      A. That was their maintenance of that.
 25   worked with Mr. Brindell at Puerto Rico Marine        25      Q. Okay. And what was the last one?


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  1   Management, did he ever leave and go to work           1      A. Tire shop.
  2   somewhere else and then come back?                     2      Q. Tire shop. Was Mr. Brindell the
  3     A. No.                                               3   supervisor for the front shop, the container shop,
  4     Q. Do you recall if he ever left for a               4   and the tire shop?
  5   period of time for any reason?                         5      A. Yeah, he was supervisor for all shops.
  6     A. No.                                               6      Q. So during the course of the day, he
  7     Q. Do you recall if Mr. Brindell was a               7   supervised the work going on in all of these
  8   smoker?                                                8   different shops?
  9     A. I don't know.                                     9      A. Pretty much, but he stayed mostly in
 10     Q. You don't know.                                  10   our shop, but -- because each shop had a foreman,
 11           Were the employees of Puerto Rico             11   so he didn't have to go to each shop.
 12   Marine Management allowed to smoke in the shop?       12      Q. Okay. Do you know who the foreman was
 13     A. Yes.                                             13   in the container shop?
 14     Q. You described a little bit for us                14      A. James, James, James. Think of his last
 15   earlier the shop and you said that there were three   15   name. Taylor.
 16   separate shops. But were they all contained in the    16      Q. Do you know if Mr. Taylor is still
 17   same building?                                        17   living?
 18     A. Connected? No.                                   18      A. I have no idea.
 19     Q. Okay. So there were three separate               19      Q. All right. And who was the foreman of
 20   shops?                                                20   the tire shop?
 21     A. Right.                                           21      A. Rayford Browder.
 22     Q. Can you tell me the names of those               22      Q. What's the last name?
 23   shops again? You said the front shop is where the     23      A. Browder.
 24   mechanic work was done on the trucks?                 24      Q. Browder. Do you know if Mr. Browder is
 25     A. Front shop had -- was divided into               25   still living?


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  1      A. I doubt it.                                      1   shop?
  2      Q. Okay. You have not been in contact               2      A. Yes.
  3   with him?                                              3      Q. And it was -- it had a door. Whether
  4      A. No.                                              4   he closed it or not, we don't know?
  5      Q. All right. On a daily basis, as the              5      A. Right.
  6   supervisor of these three different shops, how much    6      Q. And then each of these parts of the
  7   time would Mr. Brindell spend in the front shop?       7   front shop had a hallway and a door?
  8      A. Majority of the time.                            8      A. No door.
  9      Q. Okay. And then you said 50 percent of            9      Q. No door, just a hallway?
 10   that time he would spend in his office?               10      A. Hallway.
 11      A. Office.                                         11      Q. And were there -- I assume -- and
 12      Q. Doing paperwork and things like that?           12   that's always a bad thing --
 13      A. Correct.                                        13      A. It has a bathroom, yeah.
 14      Q. Was it his job to at least daily go, go         14      Q. -- that there were big bays that came
 15   to each of these shops and see what was going on?     15   up?
 16      A. He would probably go once, he would             16      A. Oh, yeah, they were tall.
 17   probably make one trip a day to the other ones.       17      Q. Because you needed to get these big
 18      Q. Did you ever work in the container              18   trailers in?
 19   shop?                                                 19      A. Right.
 20      A. For a small period of time.                     20      Q. And were those bay doors left open
 21      Q. All right. Are you able to estimate             21   during the day when work was going on?
 22   for me what a small period of time is?                22      A. Sometimes. It depends. If there was
 23      A. About a year, but it was after that             23   welding going on, you would close them because the
 24   time frame.                                           24   wind would blow the gas from the welding, so they
 25      Q. It was after 1981?                              25   would pull the doors down if they were doing


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  1      A. Yeah, it was after that.                         1   welding. Cold, winter, rain, they would be closed.
  2      Q. Did you ever work in the tire shop?              2   But other than that, they were open.
  3      A. No. Didn't want to work there.                   3      Q. Was there ventilation in these four
  4      Q. And the three portions of the front              4   different parts of the front shop?
  5   shop, were there partitions of those three?            5      A. No, we had some fans.
  6      A. Yeah.                                            6      Q. You had some fans?
  7      Q. Actually, it is four: A, B, C, and D.            7      A. A couple.
  8   Were there partitions?                                 8      Q. Were they ceiling fans or floor fans?
  9      A. Yeah, pretty much.                               9      A. No, no, just the one next to where you
 10      Q. And so there were --                            10   are working will blow on you.
 11      A. There was a hallway went from one end           11      Q. All right. Other than the big bay
 12   to the other end and then this one was broke off      12   doors, were there windows on the ends of the
 13   over here and this one was in the middle and his      13   building?
 14   office was up here in the front.                      14      A. Nope.
 15      Q. Okay. So in A, B, C, or D, where was            15      Q. So during the course of Mr. Brindell's
 16   Mr. Brindell's office located?                        16   supervision of the front shop, he would go from
 17      A. In between A and D. Want me to draw a           17   section A to section B to section C to section D to
 18   picture for you?                                      18   do his supervisory work?
 19      Q. I don't think we need to do that.               19      A. He would, but he mainly stayed on our
 20   Okay. Well, that's fine. Somebody might ask you       20   side.
 21   to do that. I guess we can just do it, I guess.       21      Q. And your side was A?
 22      A. Okay. Keep asking. I will do it                 22      A. Right. He mainly stayed in A because
 23   eventually.                                           23   that was right out the office. When you left the
 24      Q. Okay. So Mr. Brindell's office was              24   office, you came into A.
 25   located between part A and part D of the front        25      Q. So his office was right off A?


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  1      A. Right.                                           1      Q. Have you ever been asked to serve as a
  2      Q. And you said that he would, he would be          2   coworker for anyone else who worked for Puerto Rico
  3   standing behind the different mechanics making sure    3   Marine Management who may have been exposed to
  4   that the work was being done correctly, but I think    4   asbestos?
  5   you said that there were eight different mechanics?    5      A. No.
  6      A. Right.                                           6      Q. And you are not represented by an
  7      Q. So he was not always supervising your            7   attorney here today, right?
  8   work in particular?                                    8      A. No. All of y'all.
  9      A. Correct.                                         9      Q. Did Puerto Rico Marine Management
 10      Q. Did he -- did he have any system for            10   provide its employees with uniforms?
 11   how he supervised the four different bays where the   11      A. Yes.
 12   mechanic work was going on?                           12      Q. Did you get your uniforms from a
 13      A. No. He pretty much did it random.               13   service?
 14      Q. He would just walk around?                      14      A. Yes.
 15      A. Wander.                                         15      Q. And do you remember what the name of
 16      Q. And he hired people that he thought             16   that service was?
 17   were competent to do the work?                        17      A. Cintas.
 18      A. Correct.                                        18      Q. Cintas?
 19      Q. Are you familiar with OSHA?                     19      A. That one.
 20      A. Yes.                                            20      Q. And did you wear the uniforms from home
 21      Q. Are you familiar with the fact that             21   to work and then back home or did you --
 22   OSHA in the -- in the late 19 -- in late 1971,        22      A. No. I took mine off at work.
 23   early 1972 put out regulations with regard to steps   23      Q. Okay. So there was a --
 24   that employers had to take if their employees were    24      A. Most people wore them home, but I took
 25   working with or around asbestos-containing            25   mine off.


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  1   materials?                                             1      Q. All right. Let's start with you. Was
  2      A. I didn't know.                                   2   there a locker room at Puerto Rico Marine
  3      Q. During the course of the time that you           3   Management?
  4   worked for Puerto Rico Marine Management, were you     4      A. Yes.
  5   ever provided with any training regarding how to       5      Q. And each of the employees had a locker?
  6   identify an asbestos-containing material?              6      A. Yes.
  7      A. No.                                              7      Q. Did Mr. Brindell have a locker?
  8      Q. Were you ever provided with any                  8      A. No.
  9   training regarding what you should do to safely        9      Q. Did he have a locker in his office if
 10   work with or around any asbestos-containing           10   you know?
 11   materials?                                            11      A. No.
 12      A. No.                                             12      Q. And you said that the employees were
 13      Q. Would you have liked for Puerto Rico            13   provided uniforms and you wore yours?
 14   Marine Management to have given you that              14      A. Yes.
 15   information if they had it?                           15      Q. Did Mr. Brindell wear a uniform to
 16      A. Nowadays, yeah.                                 16   work?
 17      Q. Have you ever personally been screened          17      A. No.
 18   for an asbestos-related illness?                      18      Q. What kind of clothes did he wear to
 19      A. No.                                             19   work?
 20      Q. Have you been diagnosed with an                 20      A. White shirt, slacks, and a tie.
 21   asbestos-related illness?                             21   Sometimes a coat.
 22      A. No.                                             22      Q. Sometimes a coat?
 23      Q. Have you ever given a deposition before         23      A. He would come in with a coat.
 24   like we are doing here today?                         24      Q. All right. So the mechanics wore the
 25      A. No.                                             25   uniforms?


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  1      A. Correct.                                         1      Q. Any idea how to spell that last name?
  2      Q. And Mr. Brindell came in a coat,                 2      A. D-I-C-K-E-L.
  3   sometimes a tie, a white shirt, and slacks?            3      Q. Do you know if Mr. Dickel is still
  4      A. Yes.                                             4   living?
  5      Q. And in that attire, he was going around          5      A. I don't know.
  6   and supervising the mechanic shop?                     6      Q. Do you know where he was living when he
  7      A. Yes.                                             7   worked for Puerto Rico Marine Management?
  8      Q. And you already said you don't remember          8      A. Mandeville when he worked with us.
  9   him doing any hands-on brake work.                     9      Q. And do you know -- strike that.
 10      A. I never saw him. You asked me if I saw          10          The parts department, is that where all
 11   him.                                                  11   of the parts that were needed to maintain the
 12      Q. Did you ever see him doing any other            12   semi-trailers were kept?
 13   hands-on work on these semi-trailers in the           13      A. The ones that would fit.
 14   mechanic shop?                                        14      Q. The ones that would fit?
 15      A. I didn't see him.                               15      A. Much larger pieces went somewhere.
 16      Q. And did anyone with Puerto Rico Marine          16      Q. Was going to ask you about the much
 17   Management ever tell you that you should leave your   17   larger pieces next. What sorts of parts were kept
 18   uniform at work?                                      18   in the parts department that were needed for
 19      A. No.                                             19   maintaining the semi-trailers?
 20      Q. Did Puerto Rico Marine Management               20      A. All the brake parts were there.
 21   through Cintas provide you with laundering services   21      Q. Do you know -- you've identified some
 22   for these uniforms?                                   22   names of brake materials --
 23      A. Yes, yeah, they cleaned them.                   23      A. Uh-huh (affirmative response).
 24      Q. During the 1979 to 1981 time period,            24      Q. -- that were used at Puerto Rico Marine
 25   were dust masks available at Puerto Rico Marine       25   Management. My question to you is: Do you know


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  1   Management for use if you wanted one?                  1   the names of any companies or suppliers from whom
  2     A. Was what available?                               2   Mr. Dickel ordered these -- the replacement parts?
  3     Q. Dust masks.                                       3      A. I don't know.
  4     A. Dust masks?                                       4      Q. Do you have any personal information
  5     Q. Yes, sir.                                         5   that Mr. Dickel ordered replacement parts from any
  6     A. I don't recall. I don't remember                  6   of the brake companies that you identified earlier
  7   seeing that.                                           7   today?
  8     Q. Did you ever ask anyone for a dust                8      A. I don't know what Mr. Dickel did. I
  9   mask?                                                  9   mean, I just did my job.
 10     A. Yeah.                                            10      Q. Okay. During the 1979 to 1981 time
 11     Q. Who did you ask?                                 11   period when you worked with Mr. Brindell, did Mr.
 12     A. The parts -- the parts department.               12   Brindell provide you, as the supervisor, with any
 13     Q. And did they give you one?                       13   warnings regarding the potential hazards of
 14     A. They went got them when we asked for             14   asbestos?
 15   them, yeah.                                           15      A. No.
 16     Q. And do you remember what year that was?          16      Q. And he was your supervisor, right?
 17     A. That was probably when union came in             17      A. Yes.
 18   when they got more strict with everything.            18      Q. He was responsible for the safety of
 19     Q. What year did the union come in?                 19   the individuals who were working in the mechanic
 20     A. '84, '85.                                        20   shop, correct?
 21     Q. '84, '85. We will get to that.                   21      MR. HIBEY:
 22     A. I say '5. I'm guessing.                          22          Objection. Form, foundation.
 23     Q. Who was in charge of the parts                   23      THE WITNESS:
 24   department?                                           24          I guess.
 25     A. Byron Dickel.                                    25   EXAMINATION BY MS. BOWLIN:


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  1      Q. Was there anyone else with Puerto Rico           1      A. Correct.
  2   Marine Management that supervised you on a daily       2      Q. And what -- can you describe for me the
  3   basis?                                                 3   different larger parts that would be kept in the
  4      A. No.                                              4   containers?
  5      Q. Was there anyone with Puerto Rico                5      A. Like the landing gears, the legs that
  6   Marine Management who came into the front shop in      6   support the front of the trailer.
  7   particular to determine whether the mechanics were     7      THE REPORTER:
  8   doing the job in a safe manner?                        8          Like the what? Say again.
  9      A. No.                                              9   EXAMINATION BY MS. BOWLIN:
 10      Q. Did you ever make any complaints to Mr.         10      Q. Landing gear?
 11   Brindell about safe working conditions or unsafe      11      A. The landing gear that supported the
 12   working conditions in the front shop?                 12   front of the trailer. They was in a container next
 13      A. No.                                             13   to the shop and the brake drums theirself were next
 14      Q. Did you ever personally ask Mr.                 14   to the shop because they were big.
 15   Brindell for a dust mask or a respirator?             15      Q. What about replacement axles?
 16      A. No.                                             16      A. They were in the trailer next to the
 17      Q. Did you ever make any complaints to Mr.         17   shop.
 18   Brindell about dusty working conditions in the        18      Q. Did Puerto Rico Marine Management order
 19   front shop?                                           19   from any companies the whole assembly, the axle
 20      A. I don't think. No. Simple answers.              20   with the drums and the brakes already assembled,
 21      Q. Except?                                         21   that would just been -- that would just then be
 22      A. I said, "No." You wanted a simple               22   taken out of the containers and replaced?
 23   answer.                                               23      A. No, most of the axles came bare. You
 24      Q. Other than the mechanics and Mr.                24   had to put everything on them.
 25   Brindell, did anyone else work in the front shop?     25      Q. So I've never worked on a semi-trailer.


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  1   We talked about the different bays and each bay had    1   I'm sure that's shocking to you, but --
  2   two mechanics?                                         2      A. Sure.
  3      A. Did anybody work other than what I told          3      Q. -- I haven't. So I don't -- I don't
  4   you already? No.                                       4   know how often brakes need to be changed on a
  5      Q. You talked about some welding work.              5   semi-trailer. I assume that not every time a
  6   Did the mechanics do the welding work?                 6   trailer came into the shop, you had to replace all
  7      A. Yes.                                             7   the brakes, correct?
  8      Q. So each of the individual mechanics              8      A. Correct.
  9   were welders as well?                                  9      Q. Was there -- is there any sort of rule
 10      A. Yes.                                            10   for semi-trailers as to how often brakes are
 11      Q. Did you have to be certified to weld at         11   changed?
 12   Puerto Rico Marine Management?                        12      A. After they get a quarter inch thick.
 13      A. No.                                             13      Q. Okay. From your personal knowledge
 14      Q. You just learned that on the job, too?          14   working on these trailers for several years, do you
 15      A. Pardon me?                                      15   have a sense of how long a trailer could operate
 16      Q. You just learned that on the job, too?          16   before the brake materials got down to a quarter
 17      A. Well, no, I knew that before I went             17   inch?
 18   over there.                                           18      A. Basically, similar to an automobile.
 19      Q. You talked about the larger parts that          19   But a lot more weight in the trailer, so it's
 20   might be needed for the trailers. Where were those    20   not -- it doesn't have the longevity of a car
 21   larger parts kept?                                    21   because all the weight. I would say yearly, six
 22      A. They were kept in trailers next to the          22   months to a year. I would say yearly.
 23   shop.                                                 23      Q. Okay. And you've talked about the
 24      Q. So they would be kept in the                    24   different trailer manufacturers. Did the same
 25   containers?                                           25   trailers -- was there just a group of trailers that


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  1   were dedicated to the Puerto Rico Marine Management    1   letters.
  2   business going from the US to Puerto Rico and back?    2      Q. PRMMI.
  3      A. The containers, some -- now, we got              3      A. So you don't have to keep --
  4   multiple. We had some containers that were owned       4      Q. I will try.
  5   directly by Puerto Rican Marine and those went back    5           Okay. Did you have safety meetings at
  6   and forth, but then they also leased, they leased      6   PRMMI?
  7   other trailers --                                      7      A. Every once in awhile.
  8      Q. Okay.                                            8      Q. Who ran those meetings?
  9      A. -- from other companies.                         9      A. Mr. Brindell would run some of them.
 10      Q. So Puerto Rico Marine Management did            10   Sometimes shop foreman would do it.
 11   own some of its own trailers?                         11      Q. So either the shop foreman or the
 12      A. They owned some of their own, yes.              12   supervisor, Mr. Brindell --
 13      Q. Do you know how many of their own               13      A. Right.
 14   trailers they had?                                    14      Q. -- since there was no safety
 15      A. No.                                             15   department, were in charge of safety?
 16      Q. Do you know the makeup of the                   16      A. They would run safety meetings, yeah.
 17   manufacturers of the trailers that Puerto Rico        17      Q. Do you recall any of the topics that
 18   Marine Management owned?                              18   were discussed during those safety meetings?
 19      A. No.                                             19      A. OSHA type things, picking your air
 20      Q. Do you know the names of the companies          20   lines up off the floor, don't leave them stretched
 21   from whom Puerto Rico Marine Management leased        21   out because OSHA would get -- they don't like any
 22   other trailers?                                       22   lines across the floor that you can trip on. Stuff
 23      A. I mean, the ones that I described               23   like that. Basic safety things.
 24   earlier, I mean, the names of the trailers. That      24      Q. So the company was familiar with OSHA?
 25   doesn't mean -- that is not the company that owned    25      A. Yeah.


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  1   them, though.                                          1      Q. Do you recall any OSHA inspectors ever
  2      Q. I understand that. So you provided us            2   coming to PRMMI?
  3   with a list of trailer manufacturers.                  3      A. I don't remember ever seeing any when I
  4      A. Manufacturers, right. But, no, I don't           4   was there.
  5   have any idea who owned them.                          5      Q. Did -- were you provided with or
  6      Q. And if I appreciate your testimony,              6   required to wear any safety equipment such as
  7   Puerto Rico Marine Management owned some of those      7   steel-toed shoes?
  8   trails?                                                8      A. No.
  9      A. They did own some.                               9      Q. Were you provided with safety glasses?
 10      Q. And then they also leased other                 10      A. Yeah. The hard hat, yeah, and safety
 11   trailers when they needed them?                       11   glasses, yeah.
 12      A. Right.                                          12      Q. And were those provided to you by
 13      Q. And my question was: Do you know the            13   PRMMI?
 14   names of the leasing companies?                       14      A. Yes. Now you got it.
 15      A. No.                                             15      Q. Trying.
 16      Q. Is Puerto Rico Marine Management still          16           Do you have any information whether
 17   in business?                                          17   PRMMI was ever cited by OSHA for any violations
 18      A. I don't think so.                               18   regarding asbestos?
 19      Q. Do you know if they were bought out by          19      A. No.
 20   anyone?                                               20      Q. Between '79 and '81 when you worked
 21      A. I don't know.                                   21   with Mr. Brindell, were you given any information
 22      Q. Do you know the last year that Puerto           22   regarding the potential hazards of working with
 23   Rico Marine Management was in business?               23   asbestos-containing materials?
 24      A. No. If it helps you to make it                  24      A. No.
 25   shorter, everybody called it PRMMI. They used the     25      Q. You were asked some questions about


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  1   whether the brake materials that were used at PRMMI    1     Q. C what?
  2   contained asbestos and you said that you thought       2     A. Is C the back?
  3   that they did. Did anyone with PRMMI ever tell you     3     Q. I don't know because Jody is going to
  4   that those materials contained asbestos?               4   get you to draw a picture.
  5      A. No.                                              5     A. Draw it for you.
  6      Q. How -- what do you base your knowledge           6     MR. HART:
  7   on that those materials contained asbestos?            7          C was the parts department.
  8      A. All what you see on the television               8     MS. BOWLIN:
  9   today.                                                 9          Oh, C is --
 10      Q. Okay. So you've seen advertisements on          10     MS. ADAMS:
 11   television about certain products or materials that   11          B was the other.
 12   contained asbestos at one point?                      12     THE WITNESS:
 13      A. Correct.                                        13          Not the parts department. Behind the
 14      Q. Is that right?                                  14   parts department. All the equipment was automatic
 15           But you never personally saw anything,        15   except the forklifts had clutches.
 16   any documents --                                      16   EXAMINATION BY MS. BOWLIN:
 17      A. No.                                             17     Q. Forklifts had clutches?
 18      Q. -- at PRMMI that suggested to you that          18     A. Forklifts had clutches.
 19   these materials contained asbestos?                   19     Q. And were the forklifts maintained at
 20      A. I didn't.                                       20   PRMMI?
 21      Q. Other than the brake materials that you         21     A. Yeah, in this building. Let me draw it
 22   were asked about earlier, do you think you worked     22   (drawing).
 23   with any other materials at PRMMI that contained      23     DEFENSE COUNSEL:
 24   asbestos?                                             24          That air-conditioning is still blowing
 25      A. I don't think so.                               25   hard.


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  1      Q. The maintenance work on these trailers,          1      MS. BOWLIN:
  2   did any of that involve gaskets?                       2          It doesn't seem quite as frigid as it
  3      A. Acid?                                            3   was before, but maybe that's because I'm asking all
  4      Q. Gaskets.                                         4   the questions.
  5      A. Gaskets?                                         5          What? Yeah, let's just go off and let
  6      Q. Gaskets.                                         6   him draw the picture.
  7      A. No, there was a gasket on the                    7      THE VIDEOGRAPHER:
  8   liquid-filled hubs. Some of the hubs had 90 weight     8          This is the end of media No. 1. We are
  9   oil in them, so for the bearings.                      9   now off the record at 11:56.
 10      Q. These gaskets would have been some of           10          (Brief recess.)
 11   the parts that were kept in the parts department?     11      THE VIDEOGRAPHER:
 12      A. Yeah.                                           12          This is the beginning of media No. 2.
 13      Q. Do you know the brand name --                   13   We are now back on the record at 12:06.
 14      A. The gaskets seemed like they were made          14      DEFENSE COUNSEL:
 15   out of cork material.                                 15          We are going back on the record.
 16      Q. Cork.                                           16      MS. BOWLIN:
 17           Did you have to do any clutch work on         17          Like a cocktail party.
 18   these big trucks?                                     18      THE WITNESS:
 19      A. No. That would have been the other              19          Many more hours?
 20   department.                                           20      MS. BOWLIN:
 21      Q. The other department. So the clutch             21          I hope not.
 22   work would have gone on in which part of the shop?    22      THE WITNESS:
 23      A. C.                                              23          I've gotta go. I've gotta go buy a
 24      Q. C.                                              24   house.
 25      A. Is that -- is C the back?                       25   EXAMINATION BY MS. BOWLIN:


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  1      Q. Okay. We are back on the record, sir.            1   not going to put it in the museum.
  2   And we took a short break and I believe that you       2      A. Let me explain it to you and then you
  3   were -- you went outside and you took a break. And     3   can show her.
  4   did you have any discussions with Mr. Hibey about      4      Q. Yes.
  5   the deposition?                                        5      A. I made the bathroom smaller so you
  6      A. No, uh-uh (negative response).                   6   could see the door from his office went straight
  7      Q. All right. And during the break you              7   into the shop.
  8   drew for us a picture or a depiction of the shop,      8      Q. Okay. So there was --
  9   the --                                                 9      A. I made the bathroom too big.
 10      A. Yes, ma'am, best I could do.                    10      Q. Was there a door that shut off the
 11      Q. The best you could do. And we will --           11   shop?
 12   I think this will be the first exhibit, so this       12      A. He had a door in his office.
 13   will be Exhibit A. I will have you sign this in a     13      Q. Okay. And then was there also a door?
 14   moment just so we can know that you drew this for     14      A. No, no, just that one.
 15   us. But what you have drawn on here is A, the         15      Q. You could go out of his office door and
 16   letter A, which is the main shop?                     16   into shop A?
 17      A. Correct.                                        17      A. Into the shop.
 18      Q. Which is where you worked?                      18      Q. Then you've also noted for us where the
 19      A. Yes, ma'am.                                     19   parts department is?
 20      Q. That had the four different bays?               20      A. Right.
 21      A. Yes, ma'am.                                     21      Q. You've noted for us that there was a
 22      Q. Where the work such as brake work, axle         22   break room and that is where the employees would
 23   work, drum work, things like that, were done on the   23   have breaks like coffee and lunch and things?
 24   trailers?                                             24      A. Correct.
 25      A. Yes, ma'am.                                     25      Q. Do you know if Mr. Brindell ate his

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  1      Q. Okay. And then you also have enclosed            1   lunch in the break room or in his office?
  2   an office for Mr. Brindell?                            2      A. He sometimes ate in the break room,
  3      A. Correct.                                         3   sometimes went out.
  4      Q. And you said that there was a door on            4      Q. Okay. So he wasn't there every day for
  5   that office?                                           5   lunch?
  6      A. Yes.                                             6      A. Not every day.
  7      Q. And then you have put bath for the               7      Q. So then you have -- also, the next
  8   bathroom?                                              8   section is power, P-O-W-E-R?
  9      A. Yes, ma'am.                                      9      A. That's where they worked on the trucks.
 10      Q. So the bathroom is outside of his               10      Q. That's where they worked on the --
 11   office and between the A shop?                        11      A. The truck that pulls the trailer.
 12      A. Well, he had -- he had a door going             12      Q. The trucks themselves?
 13   straight into the shop.                               13      A. Right.
 14      Q. Was there a wall between the bathroom           14      Q. And you also mentioned some forklifts?
 15   and the A shop?                                       15      A. Forklifts.
 16      A. Yeah.                                           16      Q. And maintenance was done on the
 17      Q. So for Mr. Brindell to go from his              17   forklifts in power as well?
 18   office to the main shop, did he have to go outside    18      A. Correct.
 19   and then go into the main shop?                       19      Q. Then you've also indicated that there
 20      A. No, no, no.                                     20   was an inspection area?
 21      Q. Draw for us how you would get from his          21      A. Right. That was to check each trailer
 22   office --                                             22   before it went on the road.
 23      A. I didn't draw -- I didn't draw very             23      Q. Who was over the inspection department?
 24   good.                                                 24      A. Hirschel Walker.
 25      Q. Well, we are not -- you know, we are            25      Q. Hirschel Walker?


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  1      A. Huh?                                         1      Q. Maintained, overhauled.
  2      Q. The football player?                         2      A. The same guys that did the power
  3      A. Huh? What?                                   3   maintained the compressors.
  4      Q. The football player?                         4      Q. They would maintain the compressors in
  5      A. No, that was his name.                       5   all the different shops?
  6      Q. But there is also a football player          6      A. Right.
  7   named Hirschel Walker.                             7      Q. Have you spoken with Mr. Brindell's
  8      A. Oh.                                          8   wife about what illness he may have had before he
  9      Q. Was Mr. Brindell the supervisor of the       9   passed away?
 10   inspection department as well?                    10      A. Well, I knew he got sick and he didn't
 11      A. Yes, yes. He supervised everything on       11   last very long.
 12   this side of the road.                            12      Q. And how did you find that information
 13      Q. Got you.                                    13   out?
 14          The forklifts that you mentioned, do       14      A. He told me.
 15   you know who made the forklifts, the brand?       15      Q. So you had a conversation with Mr.
 16      A. Yale.                                       16   Brindell before he passed away?
 17      Q. Yale. And there were individuals who        17      A. Yeah.
 18   worked in power who maintained those forklifts?   18      Q. So perhaps that's how his wife knew
 19      A. Yes.                                        19   that you could possibly be a coworker in the case?
 20      Q. And Mr. Brindell supervised their work      20      A. I guess.
 21   as well?                                          21      Q. Okay. Did you go and visit him before
 22      A. Yes.                                        22   he passed away?
 23      Q. And you said -- I think you said they       23      A. Yeah.
 24   had to do clutch work on the Yale forklifts?      24      Q. Did you go to his funeral?
 25      A. The Yale forklifts had clutches in          25      A. Yes.

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  1   them, yes.                                         1      Q. When you visited him before he passed
  2      Q. Did they also have brakes?                   2   away, did you discuss his pending lawsuit?
  3      A. Yes.                                         3      A. I didn't know anything about it.
  4      Q. And the clutches and the brakes were         4      Q. Did you have any discussions with
  5   maintained on those forklifts?                     5   him -- did you have any discussions with him about
  6      A. Maintained in that shop.                     6   any asbestos products that you may have worked with
  7      Q. In power. Do you know how many Yale          7   at PRMMI?
  8   forklifts PRMMI had?                               8      A. No. The man was dying. We didn't talk
  9      A. Ten.                                         9   about any of that.
 10      Q. Is there any other equipment that was       10      Q. I understand. I just need to ask the
 11   maintained in the front shop?                     11   question.
 12      A. No.                                         12           Do you know anything about Mr.
 13      Q. You've talked about using compressed        13   Brindell's service in the United States Navy?
 14   air.                                              14      A. I knew he served in the Navy.
 15      A. Yes.                                        15      Q. Did you and he ever discuss his service
 16      Q. Was there compressed air used in all        16   in the Navy?
 17   these different shops?                            17      A. No.
 18      A. Yes.                                        18      Q. Do you know the name of any ships that
 19      Q. And PRMMI provided the compressors that     19   he might have served on in the Navy?
 20   were used to compress the air?                    20      A. No.
 21      A. Yes.                                        21      Q. When you went to his funeral, did you
 22      Q. Were the compressors overhauled at the      22   happen to meet any of his fellow Navy servicemen?
 23   shop at any time?                                 23      A. No.
 24      A. Not that I know of. What you mean           24      Q. You told me that you have not -- you
 25   overhauled? They had --                           25   didn't personally work with Mr. Brindell anywhere


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  1   other than PRMMI. Do you know anything about any       1      Q. Did you conduct any Internet research
  2   of his other jobs that he had during his lifetime?     2   about any of the brake products or trailers that
  3      A. No.                                              3   you worked with or around for PRMMI?
  4      Q. Okay. If I were to go through his                4      A. No.
  5   Social Security printout and ask you about his         5      Q. You were asked some questions about
  6   different employers, you wouldn't be able to give      6   dust earlier and you said the dust came from the
  7   me any information about anything other than PRMMI;    7   brake materials.
  8   is that right?                                         8      A. Yes.
  9      A. Correct.                                         9      Q. You -- you never personally tested any
 10      Q. Do you even know what sorts of jobs he          10   of the dust that you blew out of any trailer drum
 11   had before or after he worked for PRMMI?              11   system or axle system when you worked for PRMMI,
 12      A. No.                                             12   correct?
 13      Q. After -- after he left PRMMI, did you           13      A. Correct.
 14   all continue to hunt together?                        14      Q. Okay. And these were over-the-road
 15      A. Yes.                                            15   trucks, right?
 16      Q. You just never talked about work?               16      A. Yes.
 17      A. No.                                             17      Q. And they ultimately got on a shipping
 18      Q. Did you belong to a hunting camp then           18   container and they went to Puerto Rico and then
 19   as well?                                              19   they got on a -- I mean, on a ship and they came
 20      A. Yes.                                            20   back. So they could -- some of the dust that
 21      Q. Did that hunting camp have a name?              21   accumulated in the brake drums could have come from
 22      A. Dixie Ranch.                                    22   other, other places besides just from the brakes,
 23      MR. HART:                                          23   correct?
 24           Dixie what?                                   24      A. Possibly, yeah.
 25   EXAMINATION BY MS. BOWLIN:                            25      Q. Because they were going on the road,


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  1     Q.    Ranch?                                         1   correct?
  2     A.    Dixie Ranch.                                   2      A. Yes.
  3     Q.    Can you describe Mr. Brindell for me?          3      Q. And then they were going on a ship?
  4     A.    Fun guy.                                       4      A. Right.
  5     Q.    You know about how tall he was?                5      Q. And then they got off in Puerto Rico
  6     A.    Oh, a little shorter than I am.                6   and then they went on the road somewhere?
  7     Q.    And how tall are you?                          7      A. Right.
  8     A.    I'm six foot, so I guess he was five           8      Q. And then the same process back?
  9   ten.                                                   9      A. Right.
 10     Q.    Okay. Did -- what color hair did he           10      Q. So just the course of a truck driving
 11   have?                                                 11   on the road, you can drive over things that create
 12     A.    I am sorry?                                   12   dust, correct?
 13     Q.    What color hair did he have?                  13      A. Oh, yeah.
 14     A.    Dark, black.                                  14      Q. So you don't know, as we sit here
 15     Q.    And do you remember what color eyes he        15   today, the actual makeup of any of the dust that
 16   had?                                                  16   you blew out of any trailer?
 17     A.    Brown. He wore glasses all the time.          17      A. Well, it was mostly from the brakes.
 18     Q.    Glasses. Okay.                                18      Q. Okay. You say it was mostly from the
 19          You told us that you spoke with Mr.            19   brakes, but you didn't do any testing on that,
 20   Hibey on the telephone prior to the deposition.       20   right?
 21     A. (Indicating.)                                    21      A. No.
 22     Q. Yes. And that's the only time that you           22      Q. You said that ultimately you were
 23   spoke with anyone representing the Brindell family    23   provided with dust masks by PRMMI. Do you remember
 24   about the deposition?                                 24   the first year that you were provided a dust mask
 25     A. Yes.                                             25   at PRMMI?


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  1      A. It was after the period what you are             1   6 to 8?
  2   talking about, what you are talking of.                2      A. Yes.
  3      Q. After 1981?                                      3      Q. What were Mr. Brindell's work hours?
  4      A. It's around 1985 maybe. When the                 4      A. He -- he didn't have to be there when
  5   union, around the time the union came in.              5   we did the overtime. It was kind of like voluntary
  6      Q. So you talked about the fact that the            6   for him to be there. He stayed sometimes,
  7   union came in at some point.                           7   sometimes he didn't.
  8      A. Right.                                           8      Q. But his traditional work hours would
  9      Q. The union came in after Mr. Brindell             9   have been 8 to 5?
 10   left?                                                 10      A. 8 to 5, yeah.
 11      A. Yes.                                            11      Q. All right. I'm going to shift gears on
 12      Q. What -- do you remember the local               12   you a little bit and I am going to talk to you
 13   number of that union?                                 13   about the Carlisle brakes that you identified, all
 14      A. 2036.                                           14   right?
 15      MR. STAINES:                                       15           You recall that -- you definitely
 16         Say it again.                                   16   recall Carlisle brakes from PRMMI?
 17      THE WITNESS:                                       17      A. Yes.
 18         2036, container maintenance.                    18      Q. Okay. And would it have been the parts
 19   EXAMINATION BY MS. BOWLIN:                            19   department that obtained the Carlisle brakes for
 20      Q. Container maintenance. So to your               20   use at PRMMI?
 21   knowledge, was Mr. Brindell ever a member of that     21      A. Yes.
 22   union?                                                22      Q. And specifically, what is it that
 23      A. No.                                             23   Carlisle made that you used at PRMMI?
 24      Q. Do you know if anyone with PRMMI ever           24      A. Specifically, what?
 25   conducted any air monitoring or sampling of the air   25      Q. Specifically, which brake parts or


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  1   that was in the front shop?                            1   materials were made by Carlisle that you used at
  2      A. No.                                              2   PRMMI?
  3      Q. When you began working with PRMMI, were          3      A. The pad on the brake shoe.
  4   you required to undergo a pre-employment physical?     4      Q. And you never personally saw Mr.
  5      A. Yes.                                             5   Brindell handle a Carlisle brake pad, correct?
  6      Q. And do you remember, was there a                 6      A. I didn't see him, no.
  7   particular doctor that you had to go to?               7      Q. And so that would include removing a
  8      A. They sent us to a particular place, but          8   Carlisle brake pad from any of the trucks; you
  9   I couldn't tell you the name of it. It was right       9   didn't see him do that, correct?
 10   here in Elmwood, though.                              10      A. I didn't see him.
 11      Q. And it was a doctor's office?                   11      Q. And you didn't see him install a
 12      A. Yes.                                            12   Carlisle brake pad on any of the trucks, correct?
 13      Q. And did you periodically have to go             13      A. I didn't see him.
 14   back to that doctor's office and have any follow-up   14      Q. And you said that you remembered the
 15   medical tests?                                        15   name Carlisle. Do you specifically remember the
 16      A. No.                                             16   name Carlisle from the brake pad itself?
 17      Q. Did anyone with PRMMI ever require that         17      A. Yes.
 18   you undergo a chest x-ray?                            18      Q. And how was the name -- how was the
 19      A. No.                                             19   name Carlisle affixed to the brake pad itself?
 20      Q. Did anyone with PRMMI ever require that         20      A. It was stenciled in the side of the
 21   you undergo a pulmonary function test?                21   pad itself. Not stenciled, but that electronic way
 22      A. No.                                             22   to write, like stamped.
 23      Q. And you said that your typical work             23      Q. Okay. So sort of written into it?
 24   hours -- well, you should have worked 8 to 5, but     24      A. Yeah.
 25   you really worked 6 to 5. Did you get overtime for    25      Q. And what exactly did it say?


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  1      A. Carlisle number, number, number,                 1   I guess.
  2   number, number.                                        2      Q. Do you know if any invoices were kept
  3      Q. So it said Carlisle and it had a series          3   in Mr. Brindell's office?
  4   of numbers?                                            4      A. I have no idea.
  5      A. Right.                                           5      Q. Did you ever see any new Carlisle brake
  6      Q. Do you remember any of those series of           6   pads delivered to PRMMI?
  7   numbers?                                               7      A. Did I see them delivered?
  8      A. No.                                              8      Q. Yes.
  9      Q. And do you remember how the letters              9      A. Sometimes.
 10   were printed? Were they -- was it block letters,      10      Q. And how were they delivered?
 11   was it script letters, do you remember how the name   11      A. By truck.
 12   was written out?                                      12      Q. And do you remember any names on those
 13      A. It was black computerized-looking               13   trucks?
 14   letters.                                              14      A. No.
 15      Q. Do you remember the name Carlisle on            15      Q. And the names of any of the companies
 16   any of the boxes?                                     16   that were operating those trucks?
 17      A. Yes.                                            17      A. No.
 18      Q. And how was the name written out on the         18      Q. Do you ever -- do you remember if any
 19   boxes?                                                19   of those trucks were coming directly from Carlisle?
 20      A. Just said Carlisle on the corner.               20      A. I don't know.
 21      Q. Just said Carlisle?                             21      Q. And when various parts, including brake
 22      A. Yes. Other writing on there, brake              22   pads, would come to PRMMI, they would be delivered
 23   shoes or whatever.                                    23   to the parts room?
 24      Q. And did it also have a series of                24      A. Correct.
 25   numbers?                                              25      Q. And Mr. Dickel or anybody else who


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  1      A. Had numbers on the box.                          1   worked in the parts room would be responsible for
  2      Q. To your knowledge, did Mr. Brindell              2   getting them off the truck and sorting them into
  3   personally order any parts from Carlisle?              3   the parts room?
  4      A. I don't think he did any of the                  4       A. Right.
  5   ordering.                                              5       Q. Was it ever Mr. Brindell's job to
  6      Q. Do you remember if Carlisle brake pads           6   remove parts from the trucks and sort them out in
  7   were being used at PRMMI in 1979 when you started      7   the parts room?
  8   there?                                                 8       A. I don't think so. He might supervise
  9      A. Yes.                                             9   it, but I don't think he actually did it.
 10      Q. Do you remember if Carlisle brake pads          10       Q. Do you know the manufacturer or brand
 11   were being used at PRMMI in 1981 when Mr. Brindell    11   of any of the dust masks that were provided to you
 12   left?                                                 12   at any time?
 13      A. Yes.                                            13       A. No, they -- no.
 14      Q. And you don't know if they ordered              14       Q. Do you know the names of any companies
 15   these parts directly from Carlisle or from some       15   that sold those dust masks to PRMMI?
 16   other parts house or supplier; is that right?         16       A. No.
 17      A. I have no idea.                                 17       Q. The Carlisle brake pads, do you know if
 18      Q. Do you know if PRMMI kept records of            18   those materials were precision molded for use on
 19   the parts that they purchased from the different      19   any of the trucks at PRMMI?
 20   companies?                                            20       A. They -- they were standard mold. I
 21      A. I'm a mechanic. I have no idea what             21   don't think nothing was -- standard brake pads.
 22   went on in the office.                                22       Q. All right. Do you remember if there
 23      Q. Do you have any information regarding           23   were different grades of the Carlisle brake pads?
 24   where invoices were kept at PRMMI?                    24       A. Oh, no, I didn't -- well, I didn't have
 25      A. Parts room, I guess. Parts department,          25   no idea on that. The guy that ordered them might


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  1   know.                                                  1      A. Cardboard, yes.
  2      Q. So when you were -- strike that. Bad             2      Q. And do you remember if it was a colored
  3   question.                                              3   cardboard or just cardboard tan?
  4          If you needed brake pads to put on a            4      A. They had colors on it, but I don't
  5   truck, would you go to the parts room and get them     5   remember the colors.
  6   or would they be brought to you?                       6      Q. Do you remember if the name Carlisle
  7      A. I would go to the parts room and get             7   was written in a particular color?
  8   them.                                                  8      A. No, I don't remember.
  9      Q. So when you went to the parts room, did          9      Q. And if the -- if the brake pads just
 10   you request a specific brand of brake pad or you      10   came in bulk on a pallet, you would identify them
 11   just went and said I need X brake pad for Y truck     11   again by the name that was --
 12   and they gave you what was available for use?         12      A. Stamped inside of the pad.
 13      A. X for Y truck and what was available to         13      Q. You said that you did not recall or you
 14   use.                                                  14   weren't -- maybe I didn't quite understand your
 15      Q. So you did not go to the parts room and         15   testimony, so I will just ask you the question
 16   specifically request a Carlisle brake pad; is that    16   again. Do you ever recall seeing warnings on any
 17   right?                                                17   of the Carlisle boxes that were delivered to PRMMI?
 18      A. No, I didn't do that. I went and told           18      A. They may have been on there. We took
 19   them I needed brakes for this particular unit, this   19   the boxes off and put the brakes on. We didn't pay
 20   particular axle.                                      20   attention to it.
 21      Q. And they would give you whatever they           21      Q. Do you know the year that Carlisle
 22   had available that would fit on that unit and that    22   started putting warnings on their boxes?
 23   particular axle?                                      23      A. Oh, I don't know if they were on there
 24      A. Correct.                                        24   or not.
 25      Q. Do you remember the color or colors of          25      Q. You just opened the box and used the


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  1   the boxes that the Carlisle brake pads came in?        1   materials?
  2     A. That's so long ago.                               2      A. I opened the box, got my parts, put
  3     Q. I understand. Just have to ask the                3   them on, did my job.
  4   question.                                              4      Q. Do you recall if there were any
  5     A. No, I don't, I can't say that I                   5   instructions or written materials in the boxes of
  6   remember.                                              6   Carlisle brake pads?
  7     Q. All right. And so you gave us a                   7      A. I don't remember if there were or not.
  8   description earlier of the Carlisle materials that     8      Q. Did you ever see any Carlisle
  9   you recall being used.                                 9   salespeople at PRMMI?
 10     A. Uh-huh (affirmative response).                   10      A. No. I mean, not that I know of.
 11     Q. And --                                           11      Q. Okay. If the -- if the Carlisle brake
 12     A. Yes.                                             12   pads came in a box instead of in bulk, how many
 13     Q. I know. Probably should be sitting               13   brake pads would be in one box?
 14   over there.                                           14      A. Enough for one wheel.
 15          Was there just one type of box that the        15      Q. Okay. How many --
 16   Carlisle products came in?                            16      A. Two.
 17     A. They would -- couple of different                17      Q. That would be two?
 18   boxes, but a lot of times they would come in bulk     18      A. Two.
 19   on a pallet board wrapped in plastic. They didn't     19      Q. So if you had to do more than one wheel
 20   even have a box up there.                             20   and you went to the parts department, let's say you
 21     Q. So if they came in a box, was the box            21   had to do all of the wheels and you had to go get
 22   always the same?                                      22   the brake pads for all of the wheels, would
 23     A. Pretty much.                                     23   somebody help you bring those materials back?
 24     Q. And you just don't remember the color.           24      A. They -- on the back of the parts room
 25   Was it cardboard?                                     25   there was a rollup garage door. You rolled your


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  1   hand truck around there and you got them, you          1   potential hazards of asbestos?
  2   stacked them on the hand truck and you rolled them     2      A. When I started seeing it on the
  3   back to your bay.                                      3   television probably.
  4      Q. All right. And you've already told me            4      Q. And is that the only way that you know
  5   that you just used whatever the parts man gave you.    5   about it is from television?
  6   Would he sometimes give you an assortment of           6      A. I don't remember anybody saying
  7   different parts?                                       7   anything when we were working.
  8      A. No.                                              8      Q. Now, you told us earlier that you
  9      Q. So if you were doing all the wheels on           9   would -- you would wire brush and then sometimes
 10   one trailer at a time --                              10   you would have to grind the new brake materials to
 11      A. Everything matched.                             11   get them to fit onto the trucks.
 12      Q. He gave you matching parts?                     12      A. Yes.
 13      A. Right.                                          13      Q. Did anyone provide you with
 14      Q. And whether that is Carlisle or                 14   instructions that you were supposed to grind the
 15   somebody else?                                        15   new brake materials to make them fit?
 16      A. Always matched.                                 16      A. No.
 17      Q. And do you know whether Carlisle made           17      Q. Did any -- do you recall seeing
 18   different grades of brake parts?                      18   anything from Carlisle suggesting that you should
 19      A. I don't even know that.                         19   grind brand new Carlisle materials to make them
 20      Q. Okay. So you wouldn't be able to tell           20   fit?
 21   me if the materials you were using were standard or   21      A. No.
 22   premium?                                              22      Q. And did sometimes the new brake
 23      A. No.                                             23   materials fit and didn't have to be --
 24      Q. And when you opened a box of brand new          24      A. Sometimes, yes.
 25   brake pads, the -- the new pads wouldn't be dusty,    25      Q. -- ground?


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  1   right?                                                 1      A. Sometimes.
  2      A. No.                                              2      Q. Do you have a percentage of time that
  3      Q. And you've not seen any information or           3   the -- the new brake materials, whoever
  4   documentation confirming that any of the Carlisle      4   manufactured them, would fit without grinding?
  5   materials when you -- when you were at PRMMI from      5      DEFENSE COUNSEL:
  6   '79 to '81, in fact, contained asbestos, right?        6           Object to the form.
  7      A. I -- I didn't know anything about it.            7      THE WITNESS:
  8      Q. Do you know --                                   8           Probably 50/50.
  9      A. I did --                                         9   EXAMINATION BY MS. BOWLIN:
 10      Q. I'm sorry. I didn't mean to cut you             10      Q. 50/50?
 11   off.                                                  11           Did anyone with PRMMI suggest to you
 12           Do you know when Carlisle came out with       12   that you should wear a dust mask when grinding
 13   a non-asbestos alternative brake material?            13   brake materials?
 14      A. I don't know when it happened. I --             14      A. No.
 15      Q. Do you -- I'm sorry. Go ahead.                  15      Q. Did anyone with PRMMI tell you that not
 16      A. I know the newer ones don't have it             16   wearing a dust mask could be hazardous to your
 17   anymore, but I don't know when it happened.           17   health when grinding a brake material that may have
 18      Q. All right. Do you know the year that            18   contained asbestos?
 19   non-asbestos-containing brake materials became        19      A. No.
 20   available to the industry?                            20      Q. And what sort of machine did you use to
 21      A. No.                                             21   grind the new brake materials if you had to?
 22      Q. Do you know when Mr. Brindell became            22      A. A grinder.
 23   aware of the potential hazards of asbestos?           23      Q. And that grinder was provided to you by
 24      A. Do I know? No.                                  24   PRMMI?
 25      Q. When did you first become aware of the          25      A. No, we had our own tools.


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  1      Q. You had your own tools. Was that a             1           Are you able to tell me how many times
  2   handheld grinder?                                    2   you personally would have removed an old piece of
  3      A. Handheld.                                      3   brake material that you think was made by Carlisle?
  4      Q. All right. So you brought that to work         4      A. Twenty-five percent of the time.
  5   with you?                                            5      Q. And you knew that because you could
  6      A. It stayed in my tool box at work.              6   still see the name?
  7      Q. Did PRMMI provide you with grinders if         7      A. Could still see the name and most --
  8   you needed them?                                     8   most Rockwell axles and Eaton axles had Carlisle on
  9      A. Yeah. If I needed one, yeah.                   9   them.
 10      Q. Do you remember the brand of any of the       10      Q. Okay. And -- and why is that?
 11   grinders that PRMMI had available?                  11      A. From the manufacturer.
 12      A. If it was electric, it was Dewalt and         12      Q. From the manufacturer.
 13   Makita.                                             13           So these would have been pieces that
 14      MS. ADAMS:                                       14   had already been put together?
 15          Nakita?                                      15      A. Right. When you buy a unit, everything
 16      MR. HART:                                        16   is together.
 17          Makita.                                      17      Q. Okay. And how did you know this
 18      THE WITNESS:                                     18   information?
 19          Makita.                                      19      A. We didn't buy it that way, but that's
 20   EXAMINATION BY MS. BOWLIN:                          20   how it was put together when it was new.
 21      Q. And if you had to grind a new piece of        21      Q. So these are new materials?
 22   brake material, how long did that take you?         22      A. Whenever they buy a trailer, you buy a
 23      A. Not long. Fifteen minutes.                    23   trailer new.
 24      Q. Fifteen minutes.                              24      Q. Well, right.
 25          Did you ever have to saw or cut into a       25      A. Everything is on it.


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  1   piece of new Carlisle brake material?                1      Q.   I understand that.
  2      A. No.                                            2          But so the new materials, the Rockwell
  3      Q. And you -- you testified earlier that          3   or Eaton axles that had Carlisle brake materials --
  4   you remembered removing some old Carlisle brake      4      A. Most of them had Carlisle brakes on
  5   materials. How would you identify an old, used       5   them.
  6   piece of brake material as Carlisle?                 6      Q. And those were new?
  7      A. I couldn't.                                    7      A. Right.
  8      Q. All right. So you are not able to tell         8      Q. And those would have been put in there?
  9   me that any of the old materials removed were        9      A. Right.
 10   actually made by Carlisle, correct?                 10      Q. Do you remember removing either Eaton
 11      A. Sometimes if it wasn't damaged too bad,       11   or Rockwell axles that had Carlisle brake materials
 12   you'd have -- you'd have part of the writing left   12   on them?
 13   on it and you can tell that way.                    13      A. Yes.
 14      Q. Okay. Do you specifically remember            14      Q. Okay. You think that you may have done
 15   removing an old piece of Carlisle material at       15   that 25 percent of the time?
 16   PRMMI?                                              16      A. Correct.
 17      A. Yeah. Yeah.                                   17      Q. But you don't remember Mr. Brindell
 18      Q. Yeah. Can you tell me that                    18   specifically being around when that was done?
 19   Mr. Brindell would have been watching you or        19      A. It's hard to say.
 20   supervising you when you specifically removed an    20      Q. Okay. When the -- who instructed you
 21   old piece of Carlisle brake material?               21   with PRMMI to use compressed air to blow out the
 22      A. I -- I can't tell you that.                   22   brake drums?
 23      Q. Okay. Are you able --                         23      A. No one.
 24      A. I can't answer that question.                 24      Q. And so how did you know to do that?
 25      Q. All right. And that's fair.                   25      A. You are a mechanic. It's self taught.


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  1      Q. Did anybody ever tell you that doing            1          A. I don't know that.
  2   that process, you should wear a dust mask?            2          Q. Do you know -- do you know personally
  3      A. No.                                             3       if Mr. Brindell before you started working with him
  4      Q. Did you ever wear a dust mask between           4       ever did any hands-on brake work?
  5   '79 and '81 when you used this compressed air?        5          A. I don't know.
  6      A. I don't think during that time I did.           6          Q. I have some documents that I am going
  7      Q. And -- and we talked about the fact             7       to show you. The first one that we will mark as
  8   that Mr. Brindell came to work in -- in nicer         8       Exhibit B. Yeah. How many pages is this? It is
  9   clothing. So was he ever standing around when you     9       one, two, three, four. It's four pages of caution
 10   or the other mechanics were using the compressed     10       or warning labels.
 11   air to blow out the old dust?                        11          A. That's what I was supposed to be
 12      A. I'm sure he was.                               12       reading that was on the box?
 13      Q. You are sure he was, but do you                13          MS. BOWLIN:
 14   specifically remember him being around?              14              Oh, shoot. Don't fall.
 15      A. Well, yeah, because he would holler            15       EXAMINATION BY MS. BOWLIN:
 16   about his white shirt.                               16          Q. It's -- it's -- what I've marked as
 17      Q. All right. So he would holler                  17       Exhibit B is a -- it's four pages in globo. Will
 18   about his white shirt and get out of the way?        18       you please take a look at these four pages?
 19      A. Right. He -- yeah.                             19              And just for reference, page 1 is a
 20      Q. Okay. At the end of the day, were              20       Carlisle warning from 1973. Page 2 is a Carlisle
 21   Mr. Brindell's nicer clothes still in good           21       warning from 1978. Page 4 is a Carlisle warning
 22   condition when he left work?                         22       from 1985. And page 4 is a Carlisle warning from
 23      A. Sometimes.                                     23       1986.
 24      Q. Was it the majority of the time that           24              And I understand that you did not start
 25   his clothes were --                                  25       with PRMMI until 1979, but assume for me that


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  1      A. Sometimes they was dirty.                       1   Carlisle had a series of warnings that they placed
  2      Q. Sometimes he was dirty, but was it the          2   on their boxes. Do you recall ever seeing any one
  3   majority of the time that he would try to keep his    3   of these particular warnings --
  4   nicer clothes clean?                                  4     A.    They were probably on there. I just
  5      A. Yeah.                                           5   didn't pay attention to them.
  6      Q. Did you ever make any complaints to             6     Q.    Probably on there, just didn't pay
  7   Mr. Brindell about unsafe working conditions when     7   attention. Fair enough.
  8   you were using the Carlisle brake materials?          8          I'm going to mark this as Exhibit C.
  9      A. I didn't, no.                                   9   This is just one page. And for reference, this
 10      Q. You don't know or you --                       10   is -- it's just a one-page document, Carlisle
 11      A. I did not.                                     11   recommended procedures dated 1977, "RECOMMENDED
 12      Q. You did not.                                   12   PROCEDURES FOR REDUCING ASBESTOS DUST DURING BRAKE
 13           Do you know -- strike that. I already        13   SERVICING."
 14   asked you that.                                      14          Do you know whether Mr. Brindell was
 15           Do you recall seeing any warnings on         15   provided any of this information as the supervisor
 16   any of the other brake materials that were bought    16   for PRMMI?
 17   and used by PRMMI?                                   17     A.    I have no idea.
 18      A. (Witness shook head negatively.) I --          18     Q.    Have you -- were you ever provided with
 19   we didn't pay attention to that. We just took them   19   this information?
 20   out the box and put them on.                         20     A.    No.
 21      Q. Okay. Did you ever attend any brake            21     Q.    All right. The last one I have is,
 22   clinics or training seminars?                        22   let's see, Exhibit D. This is Exhibit D. Hand
 23      A. No.                                            23   this to him. Hand this to you. Exhibit D is
 24      Q. Do you know if Mr. Brindell attended           24   "FRICTION MATERIALS WORK PRACTICES GUIDE." You can
 25   any brake clinics or training seminars?              25   look through it if you want or I can just ask you



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  1   generally as a mechanic at a place such as PRMMI       1      A. Drum is the brake drum.
  2   where work was being done on friction materials on     2      Q. When you're blowing out, I understand
  3   these semi-trailers, were you ever provided by your    3   you use compressed air?
  4   employer with anything such as a FRICTION MATERIALS    4      A. When you're blowing, you're blowing
  5   WORK PRACTICES GUIDE?                                  5   the -- the drum and the hub both --
  6      A. No.                                              6      Q. Okay.
  7      Q. And if it's established that PRMMI had           7      A. -- because they are a unit.
  8   access to these documents, would you have liked for    8      Q. Did you ever use the compressed air
  9   PRMMI have to -- have given you these documents?       9   to -- to blow yourself off to get --
 10      A. Oh, yeah.                                       10      A. Yeah.
 11      Q. Okay.                                           11      Q. -- dust off?
 12      A. I might wind up with the same stuff.            12      A. Yeah, all the time.
 13      MS. BOWLIN:                                        13      Q. And never at any time when you worked
 14           All right. Sir, what I'm going to do          14   at PRMMI were you ever told you shouldn't blow
 15   is I'm going to look through my notes and let the     15   yourself off --
 16   next attorney ask you their questions because I       16      A. No.
 17   know you are trying to get out of here.               17      Q. -- with compressed air?
 18      THE WITNESS:                                       18      A. No. That's the easiest way to clean.
 19           Yeah.                                         19      Q. Well, I will tell you just for -- for
 20      MS. BOWLIN:                                        20   background purposes, around the same time I was
 21           And if I have a few more for you at the       21   working as a mechanic, not on big rigs but on
 22   end, I will come back.                                22   vehicles.
 23      THE WITNESS:                                       23      A. You were blowing things off, wasn't
 24           Okay.                                         24   you?
 25   EXAMINATION BY MR. HART:                              25      Q. I'm not going to answer that question.

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  1      Q. Okay, sir. I think I -- I hope I                 1           Did you ever -- prior to working for
  2   introduced myself outside. I'm Jody Hart. And          2   PRMMI, did you ever do a brake job on any type of
  3   basically, what I'm going to be doing is asking you    3   vehicle?
  4   follow-up questions, which means I'm going to be       4      A. I did my own cars, yeah.
  5   bouncing around. And you've done a really good job     5      Q. Okay. And am I correct that it's
  6   of following so far. I am not trying to confuse        6   pretty much the same steps that you have to take
  7   you by bouncing around, so if you ever start to get    7   but for the fact that the -- the trailer wheels
  8   confused, just stop me.                                8   were much bigger?
  9      A. Oh, I will let you know.                         9      A. Yeah. Basically, yes.
 10      Q. And let me know. And I am going to              10   Eighteen-wheeler brake jobs are easier.
 11   basically work backwards.                             11      Q. How so? Why is that?
 12           When you were use -- first of all, did        12      A. Because there's less moving parts.
 13   you use compressed air in addition to blowing         13      Q. Gotcha. Okay.
 14   off -- is it okay to call them hubs? What would       14           And that's because they are
 15   you -- what do you refer them to?                     15   air-operated brakes or --
 16      A. The hub?                                        16      A. Well, I mean, yeah, air-operated is
 17      Q. Yeah.                                           17   nice, too.
 18      A. Well, the hub is the -- you got the 18          18      Q. When you would blow off the -- the --
 19   wheel wheel and then you have the brake drum and      19   the -- the drums and the hubs, would you -- and I
 20   then inside the brake drum, what holds the entire     20   know you said you didn't have dust masks until
 21   unit onto the axle is the hub. Inside the hub, you    21   after the period we're talking about, but would you
 22   have the inner bearing and outer bearing and big      22   use a handkerchief or cover your face with your --
 23   spindle on the outside.                               23      A. Sometimes. Sometimes we'd take a --
 24      Q. Okay. So I should say drum? When                24   a -- a rag, shop rag and cover your face, yeah,
 25   you're blowing --                                     25   sometimes when it was really bad because after you


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  1   did it, you'd go to the bathroom and blow your nose    1     Q.     Away.
  2   and gag and spit all that stuff out.                   2          How was the work divided between you
  3      Q. You learned that over time, right?               3   and -- you said that Mr. Lockhart was your -- your
  4      A. Uh-huh (affirmative response).                   4   partner, right?
  5      Q. So you would use the rags?                       5      A. Correct.
  6      A. Right.                                           6      Q. How was the work divided between the
  7      Q. Once you learned, you would start --             7   two of y'all? How did y'all divide it up?
  8      A. Once you --                                      8      A. It was just equal. One person pull the
  9      Q. -- using the rags?                               9   wheels, the other one started taking the brakes
 10      A. Yes, once you get tired of spitting and         10   off, you know.
 11   blowing that stuff out, yeah.                         11      Q. But if it was equal, so half the time,
 12      Q. And when you refer to a shop rag, I'm           12   he would be doing the blowing and half the time,
 13   picturing -- for some reason, I'm picturing a red     13   you --
 14   rag. Did you --                                       14      A. Right.
 15      A. Little red rags that they supplied to           15      Q. -- would be doing the blowing?
 16   you. The uniform company gives them to the shop.      16      A. Right. Exactly.
 17      Q. And those aren't soft like a dinner             17      Q. You know, you also referenced earlier
 18   napkin? They're just --                               18   on when -- when plaintiff's counsel was asking you
 19      A. No, no.                                         19   questions having used a -- a wire brush?
 20      Q. -- some sort of chemical or something           20      A. Yeah, sometimes you had to use a wire
 21   in there, isn't there?                                21   brush on the end of the axle where the brake shoes
 22      A. Yeah, yeah. They're tough.                      22   attached to the spindle.
 23      Q. And in addition to using the rag, would         23      Q. Uh-huh (affirmative response).
 24   you also kind of try to hold your breath while you    24      A. You had to wire brush that because some
 25   were -- you were doing it?                            25   of the grease would come from the -- the hub and


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  1      A. Yeah, yeah, yeah.                                1   they make the brake dust stick to it. You'd have
  2      Q. And to blow out a single drum, hub               2   to wire brush it all off and then blow it.
  3   assembly, how many seconds do you estimate you         3      Q. And in those situations where you're
  4   would take?                                            4   wire brushing greasy brake wear material, I will
  5      A. Thirty seconds, a minute.                        5   call it, that's not getting dust up in the air
  6      Q. And then that dust would dissipate               6   because of the grease, fair?
  7   relatively quickly?                                    7      A. No, but that was only if the hub was
  8      A. A minute or two.                                 8   leaking, it would get like that.
  9      Q. Okay. And these fans that you                    9      Q. And with regard to the grinding of new
 10   described, are -- are they portable fans?             10   brake material before you put the shoes on --
 11      A. Fans?                                           11      A. Uh-huh (affirmative response).
 12      Q. Yes.                                            12      Q. -- was I correct in my understanding
 13      A. Yeah, yeah. Just a portable on a                13   that that was needed when you were putting new
 14   stand. You put them wherever you working, aim it      14   drums on?
 15   on you to cool you off.                               15      A. Mostly when you put new drums on
 16      Q. Were they reciprocating, the type that          16   because it was so thick.
 17   move?                                                 17      Q. And when you were using the existing
 18      A. No, they didn't move. You had to face           18   drum, the used drums, it -- you wouldn't have to --
 19   it where you wanted it to go.                         19      A. No, most of the time you didn't have
 20      Q. Okay. And when you were -- when you'd           20   to.
 21   use a fan, is it fair to say that you would direct    21      Q. Hardly ever, right?
 22   the fan to blow in a direction to blow the dust       22      A. Sometimes. Depends how old the drum
 23   away from you rather than into your face?             23   was. Some -- if it would be a old drum, it would
 24      A. Well, I wanted the fan to blow on me            24   be -- you know, still be real thick. Then you'd
 25   and a lot of times, it would blow the dust away.      25   have to.


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  1      Q. Did you-all have the equipment to turn           1      Q. Okay. At any -- based upon your
  2   the drums in your shop?                                2   testimony thus far, which I understood that you've
  3      A. No.                                              3   given us a number of brands of brake shoes that you
  4      Q. Did you send them out?                           4   would use for these brake jobs, correct?
  5      A. No.                                              5      A. (Witness nodded head affirmatively.)
  6      Q. Did you -- so no drums were ever                 6          Uh-huh (affirmative response).
  7   turned? You either used the old ones as they were      7      Q. Yes?
  8   or got new ones?                                       8      A. Yes. Oh, I'm sorry.
  9      A. You used the old ones if they were in            9      Q. Am I correct that at no time did any of
 10   good shape and if they wasn't in good shape, you      10   the brakes, shoes, or any of the boxes or bags that
 11   replaced them.                                        11   they came in, none of them said Utility Trailer on
 12      Q. At any time during these two years              12   them, did they?
 13   we're talking about, from when you started until      13      A. No.
 14   Mr. Brindell stopped working at PRMMI -- am I         14      Q. I am correct?
 15   saying that right? PRMMI?                             15      A. Correct.
 16      A. PRMMI.                                          16      Q. Okay.
 17      Q. Yeah. Did you ever read any manuals             17      A. Said, "No." She wanted it correct.
 18   regarding any of your brake work?                     18      Q. When Mr. Brindell was present while you
 19      A. No.                                             19   were performing brake work -- and let me be more
 20      Q. Did you ever read any manuals regarding         20   specific. When Mr. Brindell was present while you
 21   anything?                                             21   were blowing off drums or hubs while performing a
 22      A. Nobody supplied any manuals, so I               22   brake job, how far away would he be?
 23   didn't read anything.                                 23      A. Me to you.
 24      Q. So -- and I will tell you, I represent          24      Q. So what?
 25   Utility Trailer. You've never read any manual that    25      A. Four to five, five feet.


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  1   was produced or published or provided by Utility       1      Q. And how much room was there between the
  2   Trailer, correct?                                      2   side of the trailer and either the neck -- well,
  3      A. Nobody ever gave us anything to read.            3   let me back up.
  4      Q. So that's a no, you never read any of            4           Were these bays separated by any
  5   it?                                                    5   partitions?
  6      A. (Witness shook head negatively.)                 6      A. No. You just had the exterior walls.
  7      Q. No?                                              7      Q. Okay. And did I understand correctly
  8      A. I never read anything.                           8   that your bay, your bay remained the same during
  9      Q. Okay. Very good.                                 9   these two years?
 10          Would you agree with me that there is          10      A. Oh, yes. I stayed all the -- yeah, the
 11   nothing dusty about removing the new brake shoes      11   whole time.
 12   from the box or the bag that they came in?            12      Q. And that was a bay closest to the wall
 13      A. New brake shoes?                                13   or was it one of the middle bays?
 14      Q. Yeah.                                           14      A. Closest to the wall.
 15      A. No, there's no dust in the box.                 15      Q. And was that the bay that would have
 16      Q. And would you agree with me that                16   been closest to the wall --
 17   putting the bevelling aside on those occasions when   17      A. By the office? No. I was farthest
 18   you had to do that --                                 18   from the office.
 19      A. Right.                                          19      Q. Okay. So you were farthest from the
 20      Q. -- that there is nothing dusty about            20   bathroom and the office?
 21   the actual installation process of the drum into      21      A. Correct.
 22   the assembly?                                         22      Q. Okay. How much space was there between
 23      A. No.                                             23   the wall and the side of the trailer that you were
 24      Q. You do agree with me, it's not dusty?           24   working on?
 25      A. No dust.                                        25      A. About ten feet.


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  1      Q. Am I correct that when you were                  1      A. Nah. That's up to the truck driver.
  2   performing work that was being observed or             2   The truck driver does that.
  3   supervised by Mr. Brindell, that he would be behind    3      Q. And so when you think of these
  4   you?                                                   4   bogies -- and when you -- when you say "bogie,"
  5      A. Correct.                                         5   you're talking about the actual brake suspension
  6      Q. And you would be facing the work?                6   combination, correct?
  7      A. Correct.                                         7      A. Correct.
  8      Q. How would you know he was five feet              8      Q. When you speak of these bogies, you
  9   away when you were -- when he was observing?           9   think of them as the brand or the manufacturer of
 10      A. I would turn around and talk to him             10   the bogie, correct?
 11   while I'm doing my work.                              11      A. Sometimes. But, I mean, this guy might
 12      Q. You wouldn't turn around and talk to            12   have made the bogie, but he used Eaton axles or he
 13   him while you were actually blowing off a drum or a   13   used, you know, Dayton axle or some other axle.
 14   hub?                                                  14   Axle manufacturers, whoever makes this bogie, could
 15      A. Sometimes.                                      15   get the axles from whoever they want and then they
 16      Q. When you obtained -- let me back up             16   mount that underneath whatever, Fruehauf,
 17   and -- and -- and ask this because in trailer --      17   Trailmobile, Great Dane, Utility, whatever trailer
 18   with trailers, it's a little different from -- from   18   they want to mount it under.
 19   vehicles in the sense that -- tell me if you agree    19      Q. Okay. Do you have any specific reco --
 20   with this. You drive -- so you drive a Chevy          20   recollection of what combinations were used with
 21   truck, right?                                         21   any particular brands of trailers?
 22      A. Yes.                                            22      A. No. They -- they vary.
 23      Q. And you understand that Chevy designed          23      Q. So when you would obtain parts to do a
 24   that entire truck, including the axles and the        24   brake job on a particular trailer, what language
 25   brakes and so forth?                                  25   would you use to make sure you got the right parts?


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  1      A. Yes.                                             1      A. Sometimes you could give them the unit
  2      Q. It's different with trailers, isn't it,          2   of the trailer and they can look it up in the
  3   in that trailer manufacturers buy these entire axle    3   computer and they know what's under it.
  4   assemblies --                                          4      Q. Uh-huh (affirmative response).
  5      A. Bogie.                                           5      A. Other times, you get the number from
  6      Q. -- from somebody else?                           6   the bearings and the bearings tell you what's on
  7      A. The bogie assembly.                              7   that axle.
  8      Q. Bogie assembly is what you --                    8      Q. And the bear --
  9      A. Bogie.                                           9      A. Sometimes you get the tag off of the
 10      Q. And that bolts on, right?                       10   axle itself and tell them what axle you have.
 11      A. Yes.                                            11      Q. So, in other words, it would be the
 12      Q. It's not a welded thing --                      12   man -- it would -- it would -- the language you
 13      A. Sometimes they welded on. Sometimes.            13   would use would pertain to the manufacturer of the
 14   It all depends if they slide or not because you put   14   bogie as opposed to the manu --
 15   your bogie on and they put rails and there's pins     15      A. Well, the axle, actually the axles.
 16   in them and then you can move your whole tandem to    16      Q. The manufacturer of the axle?
 17   an east coast or a west coast setting, depending      17      A. I go over there and tell him because
 18   where you driving. Driving in a city, you put it      18   the bogies were made by a different company. I go
 19   on a east coast setting where it's more forward to    19   over there and say, "I got a Eaton axle. I need
 20   where you can make a sharper turn. And then the       20   brake shoes for one axle, two axles."
 21   west coast setting is all the way back is for when    21      Q. To be clear, you would never go and
 22   you are going coast to coast, long hauls on the       22   say, "I need brake -- brake -- brake shoes for a
 23   highway.                                              23   Utility trailer"?
 24      Q. Was it ever your part of your job to            24      A. Sometimes you can.
 25   change that setting?                                  25      Q. And why, why -- how would that be?


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  1      A. Because they had a computer they can             1   correct?
  2   put the, the -- the serial number --                   2      A. Trailer stays married to its bogie.
  3      Q. Uh-huh (affirmative response).                   3   Containers come off and off -- off and on of a
  4      A. -- on -- in the computer and they know           4   chassis.
  5   what's under that unit.                                5      Q. And can you give me a percentage during
  6      Q. Okay. Would that be the exception                6   those two years when you worked with Mr. Brindell
  7   rather than the rule? Usually you would say Eaton      7   as to how it divided up between trailers and
  8   or whatever other brand of bogie it was --             8   containers?
  9      A. It de -- whatever is easy --                     9      A. Fifty/fifty.
 10      Q. -- or axle?                                     10      Q. Fifty/fifty.
 11      A. Whatever is easier. Sometimes you see           11           And the containers, am I correct that
 12   the axle clearly and all and say, "Okay. This is      12   that those are loaded onto container ships with the
 13   what I needed for this axle." Sometimes you can't     13   gantry cranes?
 14   see the axle clearly. You go to the front and you     14      A. Correct. Containers are loaded on.
 15   get the serial off the Fruehauf, Utility, the Great   15   But if have you a drive on/drive off ship, they
 16   Dane, you bring them that. They cross-reference on    16   drive on and drive off just like a big ferry boat.
 17   the computer and they know from that number what's    17      Q. And -- and the -- and the bogies stay
 18   underneath there.                                     18   with them or not necessarily?
 19      Q. To your -- well, tell me if you even            19      A. No, the bogies stay with them.
 20   have an understanding about what I'm about to ask.    20      Q. Okay.
 21   You may not.                                          21      A. We had two kinds of ships.
 22           Were these trailers used simply to            22      Q. Uh-huh (affirmative response).
 23   drive within the ports to, to -- to move the          23      A. We had lift on/lift off ships and we
 24   material or do you know whether they actually went    24   also had drive on/drive off ships. So sometimes we
 25   on the roads in Puerto Rico or in the road -- roads   25   -- you could only use the ones -- well, container


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  1   of the United States?                                  1   on a chassis for the load on/load off ship --
  2       A. They -- they went all over. They went           2      Q. Uh-huh (affirmative response).
  3   on the roads here. They went to the rail yard.         3      A. -- with the gantry, and then drive
  4   From the rail yard, they put them on a train. They     4   on/drive off ship, either unit was driven on.
  5   wind up in California. Put them on a ship. They        5      Q. Okay. And then if, if -- if it was a
  6   go on a ship, they go to Puerto Rico. They don't       6   container on a trailer that was on, on a drive-on
  7   usually leave the island but, I mean, they go all      7   ship, that trailer stayed with the container?
  8   over.                                                  8      A. Yeah.
  9       Q. Okay. So is it fair to say that you             9      Q. Okay. How often were ships setting
 10   don't have a -- a feel for whether you would ever     10   sail?
 11   have done a repeat brake job on a particular          11      A. I'm sorry?
 12   trailer?                                              12      Q. How often were ships leaving the port?
 13       A. It -- it's -- it's not too often, but          13      A. We'd get one a week except for awhile,
 14   sometimes you do. If you painted something a          14   we got two a week. It changed. When things get
 15   certain way on it or something, you would remember    15   real busy, we had two a week, but for the most
 16   it.                                                   16   part, safe to say rule of thumb 75, 70 percent of
 17       Q. You can't sit here and -- and testify          17   the time, one a week.
 18   today that you have personal knowledge that you did   18      Q. Okay. And do you have a specific
 19   a repeat brake job on a Utility brand trailer, can    19   recollection as to this early period when you first
 20   you?                                                  20   started working there through 1981 whether it was
 21       A. No, I can't say that.                          21   ever two a week or always one a week?
 22       Q. There have been references during your         22      A. I think it was two a week when I first
 23   testimony to trailers and to containers.              23   started.
 24       A. Correct.                                       24      Q. For how long?
 25       Q. There is a distinction between the two,        25      A. A couple of years.


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  1      Q. Okay.                                            1   of times.
  2      A. Then it went down to one for awhile and          2      Q. In where?
  3   then it went back to two. It varied. Depends on        3      A. The house he lived in in Slidell --
  4   demand because we supplied all the islands, not        4      Q. Slidell?
  5   just Puerto Rico. Dominican Republic, Haiti, all       5      A. -- I've been there a few times.
  6   those islands depend on us to feed them.               6      Q. Okay. You mentioned that there were
  7      Q. And I'm -- I'm -- am I correct in                7   occasional safety meetings at --
  8   assuming that the same number of ships left as came    8      A. Correct.
  9   in the Port of New Orleans that you -- you were        9      Q. -- PRMMI. Where did those take place?
 10   involved with?                                        10   Did they take place in the shop, in the break room
 11      A. Right.                                          11   or --
 12      Q. Earlier -- and I'm going back to the            12      A. Break room most of the time.
 13   grinding because I -- I failed to follow up on        13      Q. Do you have any knowledge as to during
 14   this. Earlier you had testified that maybe 50/50      14   this '79 and '81 time period how many tractors,
 15   as to whether you had to grind or not. In light of    15   meaning the -- the trucks that pulled the trailers
 16   the fact that you generally -- most of the time,      16   PRMMI had?
 17   the grinding was associated with the replacement      17      A. How many PRMMI had?
 18   with new hubs?                                        18      Q. Yeah.
 19      A. A new brake drum.                               19      A. Trucks that pulled the trailers?
 20      Q. Drums, I'm sorry.                               20      Q. Yeah.
 21      A. Yes.                                            21      A. About 30.
 22      Q. Are you telling me that 50 percent of           22      Q. Do you have any knowledge -- you know
 23   the time, you had to replace the -- the drums?        23   how on a passenger vehicle you have to change your
 24      A. Yeah. If they had -- if they had six            24   front brakes more frequently than you have to
 25   cracks within a inch, you had to change it.           25   change your rear brakes, correct?


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  1      Q. Uh-huh (affirmative response).                   1      A. That's what they say.
  2      A. Or sometimes they had one big crack              2      Q. That's different from -- is that
  3   just went down the whole drum, you had to change       3   consistent with your experience?
  4   it. So I'd say 40, 50 percent of the time, you had     4      A. I change all of mine when I change.
  5   to change the drum.                                    5      Q. Okay. That's just personal choice?
  6      Q. And would that be true -- and that               6      A. Right. Well, if you don't, you are
  7   would vary from -- from -- see if I can phrase this    7   going to be changing the back ones soon after.
  8   correctly. You might have a situation where you        8      Q. But you are familiar with this concept?
  9   have an axle that you're changing the brakes on        9      A. Right.
 10   where you had to change one drum but not the other?   10      Q. Do you -- do you know whether the same
 11      A. Yes.                                            11   is true for tractor-trailer combinations, such that
 12      Q. Okay. Was that typical?                         12   the tractor brakes have to be changed more
 13      A. Yeah.                                           13   frequently than the trailer brakes?
 14      Q. Do you know where Mr. Brindell lived            14      A. I wouldn't know the answer to that.
 15   when you worked with him?                             15      Q. Okay. Do you know of anybody who
 16      A. He lived in Slidell.                            16   worked in that -- I think you called it the power
 17      Q. Slidell.                                        17   department?
 18          Do you know where he grew up?                  18      A. I never worked in the power department.
 19      A. I think he grew up in Metairie.                 19      Q. Do you know the names of anybody who
 20      Q. Have you ever been to his -- any of his         20   did?
 21   houses that he ever lived in?                         21      A. Charlie Bowman.
 22      A. I'm sorry?                                      22      Q. B-O-W-M-A-N?
 23      Q. Have you ever been to any house that            23      A. Yes.
 24   he's ever lived in?                                   24      Q. Do you know when he -- did he work
 25      A. I been to the house in Slidell a couple         25   there back in '79, '81?


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  1     A. Back when we were there, yes. Yes.               1   much detail about this -- that in addition to doing
  2     Q. Do you know where he lives?                      2   brake jobs in the sense of changing the -- the
  3     A. No idea.                                         3   shoes and/or the drums, you performed other work in
  4     Q. Do you know if he is still alive?                4   the same shop?
  5     A. No idea.                                         5       A. Correct.
  6     Q. Was he old back then?                            6       Q. And some of that work was -- that work
  7     A. Older than me.                                   7   included welding?
  8     Q. Oh, you're pretty young. How, how --             8       A. Yes.
  9   how much older than you?                              9       Q. Okay. And what type of -- why would
 10     A. I'm 60.                                         10   you have to weld?
 11     Q. How much older, guesstimate?                    11       A. When they drive these trailers around
 12     A. Oh, I guess he's probably 70.                   12   the yard, the longshoremen are responsible for
 13     Q. Okay.                                           13   moving around the yard. From them going on and off
 14     A. Ten years, I would guess. We haven't            14   the ship, they get different types of damage.
 15   worked together in 20 years, so I don't have no      15   There's a bumper on the back. They might rip a
 16   idea.                                                16   bumper off. They might jackknife it too hard and
 17     Q. I respect that, man. We always are              17   run off of a ramp and crack -- crack one of the
 18   facing that situation. We're always asking about     18   cross members. After awhile, the back will replace
 19   way back in the past.                                19   it.
 20          Do you know why Mr. Brindell left             20       Q. It's a relatively frequent occurrence
 21   PRMMI?                                               21   that welding had to be done because of that sort of
 22     A. No.                                             22   damage?
 23     Q. Never had any discussion with him?              23       A. A little bit. A little bit.
 24     A. Uh-uh (negative response).                      24       Q. Be doing it every week?
 25     Q. Never heard any scuttlebutt?                    25       A. Yeah.


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  1         A.   I don't have no idea. Never talk about     1     Q. Every day?
  2   it.                                                   2     A. Not necessarily.
  3      Q. You mentioned earlier that you know             3     Q. Sometimes?
  4   that newer brakes don't contain asbestos, correct?    4     A. Sometimes.
  5      A. The newer ones nowadays don't.                  5     Q. Might go a week where you do it every
  6      Q. How did you learn that? How do you              6   day?
  7   know that?                                            7     A. Could, yeah.
  8      A. TV. Learn a lot from TV, National               8     Q. Okay. And was that work randomly
  9   Geographic.                                           9   assigned amongst the, the four teams in --
 10      Q. At any time during the '79 through '81         10     A. No. They kind of -- they like to get
 11   period, can you testify that you ever saw the word   11   the easier stuff out first, whatever takes less
 12   "asbestos" written on any brake shoe, box, or bag    12   time, because they want the units on the road.
 13   that they came -- that the shoes came in?            13   That's the main thing, turnout. So not really.
 14      A. I can't say I saw that because I didn't        14     Q. I meant randomly assigned between the
 15   read it.                                             15   four teams, pairs of mechanics that you worked
 16      Q. Okay. Do you -- can you testify that           16   with.
 17   you ever saw the word "metallic" written on any      17     A. How much what?
 18   brake shoe, box, or bag that the shoes came in?      18     Q. Was it randomly assigned amongst you
 19      A. I can't say I recall that.                     19   and Mr. Lockhart versus one of the other pairs?
 20      Q. Okay. Are you familiar with metallic           20     A. Some -- some bays specialized in doing
 21   brake shoes?                                         21   better work and quicker work on certain type of
 22      A. Not really. I think those were the             22   jobs and some -- you know, sometimes you'd say,
 23   tougher ones that eat the drums up.                  23   "Oh, you go get that unit right there because it
 24      Q. Now, I understand from your earlier            24   needs this" --
 25   testimony -- I don't think we ever got into too      25     Q. Uh-huh (affirmative response).


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  1      A. -- "because you better at that and               1      A. Right. Correct.
  2   these are much quicker at the brake job, so I want     2      Q. And what would you have to do with
  3   to keep running brake jobs through that bay."          3   those?
  4      Q. What were you and Mr. Lockhart better            4      A. Replace them if they got damaged.
  5   at or specialized at?                                  5      Q. That's an entire bolt-on assembly?
  6      A. We were good at all of it.                       6      A. They bolt on, yes.
  7      Q. You were good at all of it?                      7      Q. Nothing dusty about that process,
  8      A. Yeah.                                            8   correct?
  9      Q. So you'd get a good distribution of              9      A. No.
 10   work?                                                 10      Q. How frequently would you on average
 11      A. Right.                                          11   from '79 to '81 do you believe you changed landing
 12      Q. I think you said sometimes you'd have           12   gears?
 13   to change brake boosters?                             13      A. Couple times a week.
 14      A. Yeah.                                           14      Q. How long does it take to change a
 15      Q. How frequent --                                 15   landing gear?
 16      A. Sometimes.                                      16      A. Two hours.
 17      Q. How frequently would that be?                   17      Q. With your -- with your helper? With --
 18      A. There's a rubber diaphragm in there             18   I mean, not helper, your partner, Mr. Lockhart?
 19   that makes them work. Not that often. They --         19      A. Yeah. You have to because they heavy.
 20   they didn't go out too often, but sometimes they'd    20   You need a partner.
 21   get hit or the pressure from the air would break      21      Q. Y'all didn't have lifts in these bays,
 22   the bracket that holds them and the bracket would     22   did you?
 23   break.                                                23      A. No overhead lift, nah. If you needed a
 24      Q. And is that a welding job or is that --         24   lift, you had to go get a forklift or a whole bunch
 25      A. That's a welding job.                           25   of other people.


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  1      Q. -- a bolt-on job?                                1      Q. Well, in order to jack up the, the, the
  2      A. That's welding. If the bracket breaks,           2   -- the trailers to change the, the brakes, you use
  3   welding.                                               3   a forklift or do you have floor-mounted jacks or --
  4      Q. And if you -- the diaphragm, you                 4      A. We had -- we had air jacks and
  5   wouldn't replace the entire brake booster? You'd       5   forklifts. Depends if you were in a hurry or not.
  6   just replace the diaphragm?                            6      Q. You were free to use either?
  7      A. No, usually we re -- we replaced it              7      A. Pardon me?
  8   because they extremely dangerous to take apart.        8      Q. You were free to use either one?
  9   They can take your head off.                           9      A. Yeah, you free to use either way.
 10      Q. Because of the pressure, internal               10      Q. Did you have a forklift assigned to
 11   pressure?                                             11   your shop?
 12      A. There's a huge spring inside.                   12      A. No. You had the first come, first
 13      Q. Okay. Would you have to change a -- a           13   serve.
 14   brake booster in a typical week?                      14      Q. What do you call the part of a trailer
 15      A. In a typical what?                              15   that slides up and hooks onto the -- to the
 16      Q. Week, in a typical week.                        16   tractor?
 17      A. Nah. You wouldn't get them every week,          17      A. Fifth wheel.
 18   no.                                                   18      Q. The fifth wheel.
 19      Q. Welding, brake boosters, what other             19           Did you ever have to do any work on
 20   sort of work did you do?                              20   those?
 21      A. The legs that support the trailer,              21      A. Not very often.
 22   landing gear.                                         22      Q. Is there any maintenance associated
 23      Q. That's what you meant by landing gear,          23   with those, greasing or anything like that?
 24   the legs that support it when it's not hooked up to   24      A. (Witness shook head negatively.)
 25   a tractor?                                            25      Q. No?


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  1      A. No. The truck -- the truck driver                1   but I've got to ask you and I apologize ahead of
  2   greased his plate and it gets greased from that.       2   time. You were asked earlier if you had ever
  3      Q. Okay. What other sort of maintenance             3   tested any of the dust from blowing out a brake
  4   has to be done to a chassis of -- of a trailer?        4   drum and, of course, you answered no.
  5      A. Chassis? Pretty much the same as the             5           And my question for you is: Have you
  6   regular trailer: Landing gear, brake jobs, wiring,     6   ever seen any analyses, any laboratory analyses of
  7   lights.                                                7   any brake dust samples that may have been taken
  8      Q. Did you -- and you did wiring and                8   from your workplace at PRMMI?
  9   lights?                                                9      A. Never.
 10      A. Sometimes. White lights don't go out            10      Q. And so am I also correct that you've
 11   that often.                                           11   never seen any specifications for any particular
 12      Q. Well, is it fair to say that lights go          12   brake shoes that you used at PRMMI that would
 13   out less often towards the end of your career         13   reflect the composition, what they were made out
 14   than -- at PRMMI than at the beginning because they   14   of?
 15   switched to LEDs at some point?                       15      A. They may have had it. We didn't pay
 16      A. Yeah, that and -- and longevity. You            16   attention to it. We were just doing our job.
 17   got lights that's been on a trailer for a long        17      Q. So you never saw any such
 18   time, they are susceptible to water and damage and    18   specifications?
 19   stuff like that.                                      19      A. I never, no.
 20      Q. And so typically if you had to do any           20      Q. Do you have any knowledge of what --
 21   light or electrical repairs, would that just be       21   of, of what other jobs Mr. Brindell had, had either
 22   changing a single bulb or would you change them       22   before or after he worked with you?
 23   all, all the bulbs on a trailer at one time?          23      A. I have no idea.
 24      A. Just whatever's out.                            24      Q. Was there ever a work stoppage or -- I
 25      Q. How long would a typical light bulb             25   know the union didn't come in until later, but was

                                           Page 195                                                   Page 197
  1   replacement take?                                      1   there ever a work stoppage for whatever reason or a
  2      A. Fifteen minutes.                                 2   shutdown that took place from '79 through '81?
  3      Q. How frequently would you do a light              3      A. No.
  4   bulb? Would that be an everyday occurrence?            4      Q. What kind of lighting was in the shop
  5      A. About every day you may have one, yeah.          5   in which you and Mr. Lockhart performed your work?
  6           Running out of tape.                           6      A. Big overhead hanging lights.
  7      Q. Is there any reason that you know of --          7      Q. Like those mercury vapor or sodium
  8   you've, you've described Mr. Brindell as having        8   type?
  9   supervisory responsibilities over a number of          9      A. Yeah, some kind of thing. They was
 10   different groups of workers at PRMMI, but that he     10   huge.
 11   spent a lot of time in your shop, correct?            11      Q. And the floor was concrete?
 12      A. Yeah. He spent most of the time up in           12      A. Yes.
 13   the front shop.                                       13      Q. Was it painted or epoxied or anything?
 14      Q. Do you have any understanding as to             14      A. No, just plain old cement.
 15   why --                                                15      Q. Gray?
 16      A. No.                                             16      A. (Witness nodded head affirmatively.)
 17      Q. -- the focus was on you guys?                   17      Q. As far as the trailers were concerned
 18      A. Just to aggravate us, I guess.                  18   that you worked on, am I correct that -- that they
 19      Q. And that's as -- that's as much as you          19   were not refrigerated trailers?
 20   know?                                                 20      A. Sometimes we had refrigerated trailers.
 21      A. That's as much as I know.                       21      Q. Okay. What, what percentage would have
 22      Q. I know that you were asked earlier              22   been refrigerated during that period, during that
 23   whether you had -- and, and I'm going to preface      23   '79 --
 24   with I know some of these questions are silly and     24      A. Percentage, 20 percent of the time.
 25   that I probably already know the answer, but I --     25      Q. Twenty percent.


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  1          Do you associate refrigerated                   1      A. Fill our own shells?
  2   containers with any particular brand of -- I mean,     2      Q. Yeah. I don't know the proper term,
  3   refrigerated trailers with any particular brand?       3   but I know --
  4      A. No.                                              4      A. Reload.
  5      Q. Now, I think you even observed earlier           5      Q. Reload. Did you reload your own?
  6   during your -- the questioning by plaintiff's          6      A. No.
  7   counsel that you had given us like a thousand per      7      Q. Do you know if he ever did?
  8   year total brake jobs and then when you started        8      A. I don't think he did.
  9   going down the different brands, that we got over a    9      Q. Are you aware of what the -- there
 10   thousand?                                             10   is -- there is wadding of some sort in a shotgun
 11      A. Right. Right. Right. I realized                 11   shell, correct?
 12   that. That's why I was just guesstimating numbers.    12      A. Yeah.
 13      Q. And, and that's what I wanted to ask            13      Q. And you-all would hunt with shotguns,
 14   you about. I mean, you were, you were -- you don't    14   right?
 15   really know, do you, what --                          15      A. Sometimes, yeah.
 16      A. No.                                             16      Q. Are you aware of what the wadding
 17      Q. Okay.                                           17   material in a shot -- shotgun shell is made of?
 18      A. It's hard to say, but, I mean, that's a         18      A. I have no idea.
 19   guesstimation of percentages. Let's use that.         19           Is that asbestos?
 20   Let's use that for example.                           20      Q. I believe so.
 21      Q. But you didn't keep any diary of your           21      A. Really?
 22   work?                                                 22      Q. At some point, yeah.
 23      A. No, no.                                         23      A. Have to quit hunting. Sling shot.
 24      Q. Did you ever take any photographs while         24      Q. Bow hunting.
 25   you worked there?                                     25           The brake shoes that you installed, the

                                           Page 199                                                  Page 201
  1      A. No.                                              1   new brake shoes that you would have installed back
  2      Q. Are you aware of any photographs of you          2   during the '79 to '81 period, did they look the
  3   working while -- with PRMMI?                           3   same as the brake shoes that you would have
  4      A. No. Why? You saw some?                           4   installed at the end of your career at PRMMI?
  5      Q. No.                                              5      A. They all looked the same.
  6      A. Okay.                                            6      Q. Okay. You can't tell by looking at
  7      Q. I'd love to see some.                            7   them whether one did --
  8           Is it correct that you do not know the         8      A. No.
  9   maintenance history of any particular trailer          9      Q. -- or did not contain asbestos?
 10   that -- that you worked on?                           10      A. No.
 11      A. No.                                             11      Q. You, you agree with what I just said?
 12      Q. You don't know whether a particular             12      A. I can't -- I can't tell.
 13   bogie on a particular trailer had ever been           13      Q. Did Mr. Brindell have any assistants?
 14   replaced prior to you working on it?                  14      A. Did he have any what?
 15      A. No idea.                                        15      Q. Any assistants that helped him with his
 16      Q. You don't know whether if a bogie was           16   supervisory responsibilities?
 17   replaced on a particular trailer that you worked      17      A. No.
 18   on, that bogie was replaced with the same brand of    18      Q. Do you know what type of paperwork
 19   bogie that came with the trailer originally?          19   Mr. Brindell was required to complete as part of
 20      A. I have no idea.                                 20   his job?
 21      Q. With regard to yours and Mr. Brindell's         21      A. No idea.
 22   hunting together, being a member of the same club,    22      Q. I know I asked you the maintenance --
 23   do y'all fill your own shells?                        23   whether you had any knowledge of the maintenance
 24      A. Did we do what?                                 24   history of any of the trailers you worked on. What
 25      Q. Fill your own shells?                           25   I didn't ask you was do you know the ownership


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  1   history of any of the trailers you worked on?        1      MR. HIBEY:
  2      A. No.                                            2           Asked and answered, misstates
  3      Q. I can't remember if I asked you this or        3   testimony.
  4   not. I think I did.                                  4   EXAMINATION BY MR. HART:
  5           You testified that on occasion, you          5      Q. And the same would be true for all the
  6   would replace an entire bogie?                       6   other brands that we discussed as well, correct?
  7      A. On occasion, yes.                              7      A. Correct.
  8      Q. With what frequency?                           8      MR. HART:
  9      A. Not very often.                                9           I may have a couple of follow-ups
 10      Q. Once a month?                                 10   later, but I think that's all I've got for now.
 11      A. Once a month, that would be fair for          11   Thank you, sir. I appreciate your kindness and we
 12   the shop. Not for my bay, for the whole shop.       12   are done.
 13      Q. Okay. Have you ever undergone this            13      MR. HIBEY:
 14   process before? Have you ever been deposed?         14           I've got a follow-up question there at
 15      A. Ever --                                       15   the end.
 16      Q. Have you ever sat for a deposition like       16      DEFENSE COUNSEL:
 17   you are doing today?                                17           No, no, no. That's not the way we do
 18      A. No, not -- no, like this, no.                 18   it here. They go --
 19      Q. Have you ever testified in court?             19      MR. HIBEY:
 20      A. No.                                           20           I have a follow-up question for what
 21      Q. I'm sorry. Almost done. I don't want          21   was just asked.
 22   to ask you stuff if I already asked you. Just       22      DEFENSE COUNSEL:
 23   going through.                                      23           -- and then you go at the end.
 24           Is it fair to say that you really have      24      MR. HIBEY:
 25   no idea of how many times Mr. Brindell may have     25           I'm going to ask my question.

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  1   been present while you were changing brakes --       1      DEFENSE COUNSEL:
  2      A. I have --                                      2           Well, I'm objecting to you --
  3      Q. -- on a Utility brand trailer?                 3      MR. HIBEY:
  4      A. I have no idea.                                4           Go ahead.
  5      MR. HIBEY:                                        5      DEFENSE COUNSEL:
  6          Objection. Asked and answered,                6           -- interrupting.
  7   misstates testimony.                                 7      MR. HIBEY:
  8      THE WITNESS:                                      8           I'm not interrupting anything. You
  9          What?                                         9   said you were finished and I have a follow-up
 10      MR. HART:                                        10   question for what you just asked.
 11          Just -- that's for the record.               11      DEFENSE COUNSEL:
 12      THE WITNESS:                                     12           You wouldn't be able to do this at
 13          Oh.                                          13   trial and you can't do it at deposition.
 14      MR. HART:                                        14      MR. HIBEY:
 15          Thank you.                                   15           I'm doing it.
 16   EXAMINATION BY MR. HART:                            16   EXAMINATION BY MR. HIBEY:
 17      Q. Subject to the objection, you have no         17      Q. Sir --
 18   idea how many times Mr. Brindell may have been      18      MR. STAINES:
 19   present while you changed the brakes on a Utility   19           Object to this procedure as well.
 20   brand trailer?                                      20   EXAMINATION BY MR. HIBEY:
 21      A. No idea.                                      21      Q. -- you were just asked a question
 22      MR. HIBEY:                                       22   about --
 23          Objection, form.                             23      DEFENSE COUNSEL:
 24   EXAMINATION BY MR. HART:                            24           Join.
 25      Q. And the same would be true --                 25      DEFENSE COUNSEL:


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  1          Objection, objection.                          1             Objection.
  2   EXAMINATION BY MR. HIBEY:                             2        THE WITNESS:
  3      Q. -- having no idea how many times                3             How I'm going to have an exact number?
  4   Mr. Brindell was present when brake work was being    4        MR. HIBEY:
  5   performed --                                          5             All right. Thank you.
  6      A. Uh-huh (affirmative response).                  6        THE WITNESS:
  7      Q. Your testimony is that you don't have           7             I didn't count how many times he came
  8   any idea of the exact number of times that he was     8     in the shop.
  9   present, correct?                                     9        DEFENSE COUNSEL:
 10      DEFENSE COUNSEL:                                  10             Objection.
 11          Object to the form. The question was          11        THE VIDEOGRAPHER:
 12   clear. It's asked and answered. You're trying to     12             We are now off the record at 1:24.
 13   put words into his mouth.                            13        MR. HIBEY:
 14      MR. HIBEY:                                        14             This is Mike Hibey, counsel for the
 15          I'm not.                                      15     plaintiff. Our witness has left and we will be
 16      DEFENSE COUNSEL:                                  16     back tomorrow morning at 9 a.m. to resume the
 17          It is improper to ask a follow-up             17     deposition.
 18   question at this time and you're -- I'm going to     18             (Deposition adjourned.)
 19   let you do it.                                       19
 20      MR. HIBEY:                                        20
 21          Okay.                                         21
 22      DEFENSE COUNSEL:                                  22
 23          But --                                        23
 24      MR. HIBEY:                                        24
 25          I have already asked it.                      25

                                           Page 207                                                   Page 209
  1      DEFENSE COUNSEL:                                   1            WITNESS CERTIFICATION
  2          What you're doing is improper under            2      I, J. KEITH POLETO, VOLUME I, have read or
  3   Louisiana. You are pro hac'd into this case. You      3   have had the foregoing testimony read to me and
  4   do not have local counsel present with you and you    4   hereby certify that it is a true and correct
  5   are not adhering to --                                5   transcription of my testimony with the exception of
  6      MR. HIBEY:                                         6   the following corrections or changes, if any:
  7          I'm trying to --                               7   Page Line               Correction
  8      DEFENSE COUNSEL:                                   8   ____ ____________________________________________
  9          -- our practices.                              9   ____ ____________________________________________
 10      MR. HIBEY:                                        10   ____ ____________________________________________
 11          I'm trying to get a follow-up on the          11   ____ ____________________________________________
 12   question that you just asked.                        12   ____ ____________________________________________
 13      DEFENSE COUNSEL:                                  13   ____ ____________________________________________
 14          I'm telling you that's not the way --         14   ____ ____________________________________________
 15      MR. HIBEY:                                        15   ____ ____________________________________________
 16          Okay.                                         16   ____ ____________________________________________
 17      DEFENSE COUNSEL:                                  17   ____ ____________________________________________
 18          -- we do it in Louisiana.                     18   ____ ____________________________________________
 19   EXAMINATION BY MR. HIBEY:                            19   ____ ____________________________________________
 20      Q. Sir, your testimony is that you don't          20   ____ ____________________________________________
 21   have an exact number of times that he was present    21   ____ ____________________________________________
 22   when you were doing --                               22
 23      A. I don't have an exact number or no             23         ____________________________________
 24   times that he was present.                           24          J. KEITH POLETO, VOLUME I
 25      DEFENSE COUNSEL:                                  25          REPORTER: TARA WILSON, CCR


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  1         REPORTER'S CERTIFICATE
  2
           This certification is valid only for a
  3   transcript accompanied by my original signature
      and original required seal on this page.
  4
           I, TARA W. WILSON, Certified Court
  5   Reporter, in and for the State of Louisiana, as
      the officer before whom this testimony was
  6   taken, do hereby certify that J. Keith Poleto, to
      whom oath was administered, after having been duly
  7   sworn by me upon authority of R.S. 37:2554, did
      testify as hereinbefore set forth in the foregoing
  8   209 pages;
           That this testimony was reported by me in
  9   the stenotype reporting method, was prepared
      and transcribed by me or under my personal
 10   direction and supervision, and is a true and
      correct transcript to the best of my ability and
 11   understanding;
           That the transcript has been prepared in
 12   compliance with transcript format guidelines
      required by statute or by rules of the Board, and
 13   that I am informed about the complete arrangement,
      financial or otherwise, with the person or entity
 14   making arrangements for deposition services;
           That I have acted in compliance with the
 15   prohibition on contractual relationships, as
      defined by Louisiana Code of Civil Procedure
 16   Article 1434 and in rules and advisory opinions of
      the board;
 17        That I have no actual knowledge of any
      prohibited employment or contractual relationship,
 18   direct or indirect, between a court reporting firm
      and any party litigant in this matter nor is there
 19   any such relationship between myself and a party
      litigant in this matter. I am not related to
 20   counsel or to the parties herein, nor am I
      otherwise interested in the outcome of this matter.
 21        This 27th day of February, 2020, at
      Gonzales, Louisiana.
 22
 23
            _____________________________
 24         TARA W. WILSON, CCR #85133
            Certified Court Reporter
 25




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                         )3"!'%&-#%-+&*

              $3857!+.4357.5#!!>BOB!@$!@IKPML"!11<


                     ;BPWJIETIDW!1MROQ!<ENMOQILG
                         ;HMLE.!!*&,#(%+#-('%
                        >MKK#4OEE.!!,))#)-)#()++
                          4BU.!!*&,#,))#-)&(




                         @(!ARVaU!F\YRa\                                                    @(!ARVaU!F\YRa\
                        <RO_bN_f!,*&!,*,*                                                  <RO_bN_f!,*&!,*,*

                                                        KW][!0/0                                                           KW][!0/1
 /   <KK@<M<I>@N8                                                   /   <KK@<M<I>@N*!>O?8
 0   !!!!!!!NDHHJIN!C<IGT!>JIMJT                                    0   !!!!!!!HB)H!OC@!G<R!ADMH
     !!!!!!!&=T8!!HD>C<@G!F,!CD=@T'                                     !!!!!!!&=T8!!H@BC<I!=,!N@IO@M'
 1   !!!!!!!Jd[!>ekhj!Njh[[j                                        1   !!!!!!!Jd[!>WdWb!KbWY[
     !!!!!!!<bjed*!Dbb_de_i!!40..0                                      !!!!!!!143!>WdWb!Njh[[j*!Nk_j[!1...
 2   !!!!!!!&<OOJMI@TN!AJM!OC@!KG<DIODAAN'                          2   !!!!!!!I[m!Jhb[Wdi*!Gek_i_WdW!!5./1.
 3                                                                      !!!!!!!&<OOJMI@TN!AJM!@<OJI!>JMKJM<ODJI*!?@A@I?<IO'
     !!!!!!!>CMDNOJQD>C!$!F@<MI@T*!GGK                              3
 4   !!!!!!!&=T8!!E<H@N!<,!CJGH@N'&QD<!O@G@KCJI@'
     !!!!!!!4./!KeoZhWi!Njh[[j*!Nk_j[!01..                          4   !!!!!!!HB)H!OC@!G<R!ADMH
 5   !!!!!!!I[m!Jhb[Wdi*!Gek_i_WdW!!5./1.+4.56                          !!!!!!!&=T8!!<H<I?<!G,!?@OJ'
     !!!!!!!&<OOJMI@TN!AJM!ADMNO!NO<O@!DINPM<I>@*                   5   !!!!!!!Jd[!>WdWb!KbWY[
 6   !!!!!!!?@A@I?<IO'                                                  !!!!!!!143!>WdWb!Njh[[j*!Nk_j[!1...
                                                                    6   !!!!!!!I[m!Jhb[Wdi*!Gek_i_WdW!!5./1.
 7
     !!!!!!!>JPMDIBOJI*!FD@A@M*!NJHH@MN*!H<MPGGJ*                       !!!!!!!&<OOJMI@TN!AJM!>M<!OM<DG@MN*!DI>,*!A-F-<
                                                                    7   !!!!!!!BM@<O!?<I@*!?@A@I?<ION'
/.   !!!!!!!H<OC@MI@*!GG>
     !!!!!!!&=T8!!E<HD@!H,!U<IJQ@>'                                /.
//   !!!!!!!4/4!B_heZ!Njh[[j                                            !!!!!!!KPBC!<>><M?J*!GG>
     !!!!!!!I[m!Jhb[Wdi*!Gek_i_WdW!!5./1.                          //   !!!!!!!&=T8!!?<QD?!H,!NO@DI'&QD<!O@G@KCJI@'
/0   !!!!!!!&<OOJMI@TN!AJM!GPAFDI!DI?PNOMD@N*!GG>*                      !!!!!!!//..!KeoZhWi!Njh[[j
     !!!!!!!?@A@I?<IO'                                             /0   !!!!!!!Nk_j[!11..
/1                                                                      !!!!!!!I[m!Jhb[Wdi*!Gek_i_WdW!!5./41+//10
/2   !!!!!!!?@PON>C!F@MMDB<I                                       /1   !!!!!!!&<OOJMI@TN!AJM!PIDJI!><M=D?@*!?@A@I?<IO'
     !!!!!!!&=T8!!=<M=<M<!=,!JMHN=T'                               /2
/3   !!!!!!!533!HW]Wp_d[!Njh[[j                                         !!!!!!!KPBC!<>><M?J*!GG>
     !!!!!!!I[m!Jhb[Wdi*!Gek_i_WdW!!5./1.                          /3   !!!!!!!&=T8!!EJN@KC!C,!C<MO'
/4   !!!!!!!&<OOJMI@TN!AJM!UA!<>ODQ@!N<A@OT!PN*!DI>,                    !!!!!!!//..!KeoZhWi!Njh[[j
     !!!!!!!&A-F-<!F@GN@T+C<T@N!>JHK<IT*!<I?!RDGNJI                /4   !!!!!!!Nk_j[!11..
/5   !!!!!!!OM<DG@M!>JHK<IT*!?@A@I?<IO'                                 !!!!!!!I[m!Jhb[Wdi*!Gek_i_WdW!!5./41+//10
/6                                                                 /5   !!!!!!!&<OOJMI@TN!AJM!PODGDOT!OM<DG@M!H<IPA<>OPMDIB
     !!!!!!!AJG@T!$!H<INAD@G?                                           !!!!!!!>JHK<IT*!?@A@I?<IO'
/7   !!!!!!!&=T8!!F<T!=<MI@N!=<SO@M'                               /6
     !!!!!!!43.!KeoZhWi!Njh[[j*!Nk_j[!023.                         /7   !!!!!!!NDHJI*!K@M<BDI@*!NHDOC!$!M@?A@<MI*!GGK
0.   !!!!!!!I[m!Jhb[Wdi*!Gek_i_WdW!!5./1.                               !!!!!!!&=T8!!?JPBG<N!R,!M@?A@<MI'
     !!!!!!!&<OOJMI@TN!AJM!NOMD>F!OM<DG@MN*!GG>*                   0.   !!!!!!!//..!KeoZhWi!Njh[[j*!1.j^!Abeeh
0/   !!!!!!!?@A@I?<IO'                                                  !!!!!!!I[m!Jhb[Wdi*!Gek_i_WdW!!5./41
00                                                                 0/   !!!!!!!&<OOJMI@TN!AJM!@<BG@*!DI>,*!?@A@I?<IO'
     !!!!!!!AMDGJOqGG>
01   !!!!!!!&=T8!!E<H@N!C,!=MJRI*!EM,'                             00
     !!!!!!!//..!KeoZhWi!Njh[[j*!Nk_j[!15..                        01
02   !!!!!!!I[m!Jhb[Wdi*!Gek_i_WdW!!5./41                          02
     !!!!!!!&<OOJMI@TN!AJM!><MGDNG@!DI?PNOMD<G!=M<F@!<I?
03   !!!!!!!AMD>ODJI*!DI>,*!?@A@I?<IO'                             03

                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                                                                                                                       EXHIBIT F
                Case 2:21-cv-00216-NJB-DMD
                       @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                       Page 86 of 565
                        <RO_bN_f!,*&!,*,*                                                   <RO_bN_f!,*&!,*,*

                                                        KW][!0/2                                                           KW][!0/3
 /   <KK@<M<I>@N8                                                   /   !!!!!!!!!!!!!!!!D!I!?!@!S
 0   !!!!!!!NO<DI@N!$!@KKGDIB                                       0
     !!!!!!!&=T8!!<IOCJIT!E,!NO<DI@N'
 1   !!!!!!!13..!Iehj^!>Wki[mWo!=ekb[lWhZ*!Nk_j[!60.                1
     !!!!!!!H[jW_h_[*!Gek_i_WdW!!5...0
 2   !!!!!!!&<OOJMI@TN!AJM!=J<M?!JA!>JHHDNNDJI@MN!AJM               2
     !!!!!!!OC@!KJMO!JA!I@R!JMG@<IN*!?@A@I?<IO'                     3   !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!KW][
 3
                                                                    4   NPDO!><KODJI,,,,,,,,,,,,,,,,,,,,,,,,,,,,,!0//
 4   <bie!Kh[i[dj8
     !!!!!!!=[hd[b!?Wl_i*!Q_Z[e]hWf^[h                              5   <KK@<M<I>@N,,,,,,,,,,,,,,,,,,,,,,,,,,!0/0+0/2
 5
     M[fehj[Z!Xo8                                                   6   NODKPG<ODJI,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,!0/4
 6   !!!!!!!O<M<!R,!RDGNJI
     !!!!!!!>[hj_\_[Z!>ekhj!M[fehj[h                                7
 7                                                                 /.   @S<HDI<ODJI!DI?@S
/.                                                                 //   =T!HM,!NO<DI@N,,,,,,,,,,,,,,,,,,,,,,,,,,,!0/5
//                                                                 /0   =T!HN,!U<IJQ@>,,,,,,,,,,,,,,,,,,,,,,,,,,,!003
/0
                                                                   /1   =T!HN,!=<SO@M,,,,,,,,,,,,,,,,,,,,,,,!011*!073
/1
                                                                   /2   =T!HN,!JMHN=T,,,,,,,,,,,,,,,,,,,,,,,!026*!1.0
/2
                                                                   /3   =T!HN,!N@IO@M,,,,,,,,,,,,,,,,,,,,,,,,,,,,!041
/3
                                                                   /4   =T!HN,!?@OJ,,,,,,,,,,,,,,,,,,,,,,,,,!05/*!072
/4
                                                                   /5   =T!HM,!C<MO,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,!06.
/5
                                                                   /6
/6
                                                                   /7
/7
                                                                   0.
0.
0/                                                                 0/

00                                                                 00

01                                                                 01

02                                                                 02
03                                                                 03


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                         @(!ARVaU!F\YRa\                                                     @(!ARVaU!F\YRa\
                        <RO_bN_f!,*&!,*,*                                                   <RO_bN_f!,*&!,*,*

                                                        KW][!0/4                                                           KW][!0/5
 /   !!!!!!!!!!!!!N!O!D!K!P!G!<!O!D!J!I                             /   !!!!!!!OC@!QD?@JBM<KC@M8
 0                                                                  0   !!!!!!!!!!!BeeZ!cehd_d],!!O^_i!_i!j^[!Yedj_dkWj_ed
 1   !!!!!!!Dj!_i!ij_fkbWj[Z!WdZ!W]h[[Z!Xo!WdZ!X[jm[[d              1   e\!j^[!l_Z[ejWf[Z!Z[fei_j_ed!e\!F[_j^!Keb[je,
 2   Yekdi[b!\eh!j^[!fWhj_[i!^[h[je!j^Wj!j^[!l_Z[ejWf[Z             2   OeZWo%i!ZWj[!_i!A[XhkWho!j^[!0.j^*!0.0.,!!O^[!j_c[
 3   Z[fei_j_ed!e\!j^[!W\eh[c[dj_ed[Z!m_jd[ii!_i!^[h[Xo             3   _i!78.2!W,c,!!O^_i!_i!j^[!YWi[!e\!=h_dZ[bb*![j!Wb*
 4   X[_d]!jWa[d!kdZ[h!j^[!Gek_i_WdW!>eZ[!e\!>_l_b                  4   fbW_dj_\\*!l[hiki!>Whb_ib[!=hWa[*![j!Wb*
 5   KheY[Zkh[*!\eh!Wbb!fkhfei[i*!_d!WYYehZWdY[!m_j^!j^[            5   Z[\[dZWdji*!YWi[!Ie,!0./7+.75/4,!!O^[!YWi[!_i
 6   bWm!fkhikWdj!je!dej_Y[,                                        6   f[dZ_d]!_d!j^[!>_l_b!?_ijh_Yj!>ekhj!\eh!j^[!KWh_i^
 7   !!!!!!!O^[!\ehcWb_j_[i!e\!i[Wb_d]*!Y[hj_\_YWj_ed*              7   e\!Jhb[Wdi*!NjWj[!e\!Gek_i_WdW,
/.   WdZ!\_b_d]!Wh[!if[Y_\_YWbbo!mW_l[Z,!!O^[!m_jd[ii              /.   !!!!!!!!!!!Ho!dWc[!_i!=[hd[b!?Wl_i!WdZ!D!Wc
//   h[i[hl[i!j^[!h_]^j!je!h[WZ!WdZ!i_]d!j^[!Z[fei_j_ed,           //   h[fh[i[dj_d]!KWipa_[m_Yp!>ekhj!M[fehj_d],!!O^[
/0   !!!!!!!<bb!eX`[Yj_edi*!iWl[!j^ei[!Wi!je!j^[!\ehc!e\           /0   Yekhj!h[fehj[h!_i!OWhW!R_bied!Wbie!h[fh[i[dj_d]
/1   j^[!gk[ij_ed!WdZ!j^[!h[ifedi_l[d[ii!e\!j^[!Wdim[h*            /1   KWipa_[m_Yp,
/2   Wh[!^[h[Xo!h[i[hl[Z!kdj_b!ikY^!j_c[!Wi!j^_i                   /2   !!!!!!!!!!!O^_i!Z[fei_j_ed!_i!jWa_d]!fbWY[!_d!j^[
/3   Z[fei_j_ed*!eh!Wdo!fWhj!j^[h[e\*!cWo!X[!ki[Z!eh               /3   CWcfjed!Ddd!$!Nk_j[i!_d!I[m!Jhb[Wdi*!Gek_i_WdW,
/4   iek]^j!je!X[!ki[Z!_d![l_Z[dY[,                                /4   <bb!Wjjehd[oi!fh[i[dj!m_bb!X[!_dZ_YWj[Z!ed!j^[
/5                                                                 /5   ij[de]hWf^_Y!h[YehZ,!!O^[!Yekhj!h[fehj[h!m_bb!dem
/6   !!!!!!!!!!!!!!(!!(!!(!!(!!(!!(                                /6   im[Wh!_d!j^[!m_jd[ii,
/7                                                                 /7   !!!!!!!!!!!E,!F@DOC!KJG@OJ*
0.   !!!!!!!O<M<!R,!RDGNJI*!>[hj_\_[Z!>ekhj!M[fehj[h*!_d           0.   W\j[h!^Wl_d]!\_hij!X[[d!Zkbo!imehd!Xo!j^[
0/   WdZ!\eh!j^[!KWh_i^!e\!Jhb[Wdi*!NjWj[!e\!Gek_i_WdW*            0/   WXel[+c[dj_ed[Z!>ekhj!M[fehj[h*!Z_Z!j[ij_\o!Wi
00   e\\_Y_Wj[Z!_d!WZc_d_ij[h_d]!j^[!eWj^!je!j^[                   00   \ebbemi8
01   m_jd[ii,                                                      01   @S<HDI<ODJI!=T!HM,!NO<DI@N8
02                                                                 02   !!!!L,!!!!!BeeZ!cehd_d]*!Hh,!Keb[je,!!Ho!dWc[!_i
03                                                                 03   Oedo!NjW_d[i,!!D!h[fh[i[dj!j^[!=eWhZ!e\


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                Case 2:21-cv-00216-NJB-DMD
                       @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                       Page 87 of 565
                           <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                          KW][!0/6                                                           KW][!0/7
 /   >ecc_ii_ed[hi!\eh!j^[!Kehj!e\!I[m!Jhb[Wdi,!!D%c                  /   !!!!L,!!!!!JaWo,!!Iem*!j^Wj%i!++!j^Wj!\WY_b_jo
 0   ]e_d]!je!h[\[h!je!j^Wj!YecfWdo!Wi!j^[!fehj*!eaWo*                0   j^Wj!m[!`kij!jWba[Z!WXekj*!j^[!j[hc_dWb*!j^Wj%i
 1   \eh!ekh!Z_iYkii_ed!jeZWo,!!JaWo!m_j^!oek;                        1   m^[h[!Wbb!j^[!meha!j^Wj!oek!Z_Z!WdZ!Hh,!=h_dZ[bb
 2   !!!!6(!!!!!<V[R(                                                 2   Z_Z!WdZ!ikf[hl_i[Z!h[]WhZ_d]!XhWa[!meha*!j^Wj!mWi
 3   !!!!L,!!!!!JaWo,!!<i!D!kdZ[hijWdZ!_j*!oek!meha[Z                 3   f[h\ehc[Z!j^[h[*!Yehh[Yj;
 4   Wi!Wd![cfbeo[[!e\!Kk[hje!M_Ye!HWh_d[!HWdW][c[dj*                 4   !!!!6(!!!!!MR`(
 5   h_]^j;                                                           5   !!!!L,!!!!!JaWo,!!Iem*!Hh,!=h_dZ[bb*!Wi!oek
 6   !!!!6(!!!!!8\__RPa(                                              6   [nfbW_d[Z!o[ij[hZWo*!Wbie*!_d!WZZ_j_ed!je
 7   !!!!L,!!!!!JaWo,!!<dZ!_j%i!oekh!kdZ[hijWdZ_d]!j^Wj               7   f[h\ehc_d]!ikf[hl_ieho!meha!_d!j^Wj!++!_d!j^Wj
/.   Hh,!=h_dZ[bb!Wbie!meha[Z!\eh!Kk[hje!M_Ye!HWh_d[                 /.   j[hc_dWb*!^[!Wbie!^WZ!Wd!e\\_Y[!_d*!_d!j^Wj
//   HWdW][c[dj*!Yehh[Yj;                                            //   j[hc_dWb!WdZ!Z_Z*!Z_Z!^_i!e\\_Y[!meha!_d!j^[h[*!Wi
/0   !!!!6(!!!!!8\__RPa(                                             /0   m[bb*!h_]^j;
/1   !!!!L,!!!!!JaWo,!!<dZ*!Wi!D!kdZ[hijWdZ!oekh                     /1   !!!!6(!!!!!MR`(
/2   j[ij_cedo!o[ij[hZWo*!Hh,!=h_dZ[bb!mWi!oekh!Z_h[Yj               /2   !!!!L,!!!!!Ne!_j!mekbZ!X[!\W_h!je!iWo!j^Wj!Wbb!e\
/3   ikf[hl_ieh;                                                     /3   Hh,!=h_dZ[bb%i!meha!mWi!Yed\_d[Z!je!j^Wj!ed[
/4   !!!!6(!!!!!8\__RPa(                                             /4   j[hc_dWb!\WY_b_jo*!Yehh[Yj;
/5   !!!!L,!!!!!JaWo,!!Iem*!j^[!meha!j^Wj!oek!Z_Z!WdZ                /5   !!!!6(!!!!!8\__RPa(
/6   m^_Y^!^[!ikf[hl_i[Z!mWi!Wbb!f[h\ehc[Z!Wj!j^[!AhWdY[             /6   !!!!L,!!!!!Iem*!Z[iYh_X[!j^Wj!j[hc_dWb!\WY_b_jo
/7   MeWZ!++!_i!_j!YWbb[Z!j[hc_dWb;                                  /7   \eh!c[,!!Di!_j!W!Xk_bZ_d]*!Xh_Yai*!m^Wj!++!cWZ[!ekj
0.   !!!!6(!!!!!JR_ZV[NY!''                                          0.   e\!Xh_Ya;!!R^Wj!_i!_j!cWZ[!ekj!e\;!!Ekij!Z[iYh_X[
0/   !!!!L,!!!!!JaWo,                                                0/   _j!\eh!c[,
00   !!!!6(!!!!!''!fRNU(                                             00   !!!!6(!!!!!JUR!V[aR_V\_!''!aUR!V[aR_V\_!dNYY`!dR_R
01   !!!!L,!!!!!<dZ!j^Wj%i!beYWj[Z!ed!AhWdY[!MeWZ!^[h[               01   PV[QR_!OY\PX!''
02   _d!I[m!Jhb[Wdi*!Yehh[Yj;                                        02   !!!!L,!!!!!JaWo,
03   !!!!6(!!!!!?a#`!QV_RPaYf!\[!<_N[PR!H\NQ&!fR`(                   03   !!!!6(!!!!!''!N[Q!aUR!ReaR_V\_!dNYY`!dR_R!PV[QR_


                     FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
              $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                      @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                          KW][!00.                                                           KW][!00/
 /   OY\PX!]N_a!\S!aUR!dNf!b]!N[Q!aUR[!`URRa&!f\b!X[\d&               /   Yh[Wj[Z!++!j^Wj!oek!jWba[Z!WXekj!Zkij!o[ij[hZWo!++
 0   `URRa!ZRaNY(                                                     0   j^[!edbo!j_c[i!j^Wj!Zkij!mWi!Yh[Wj[Z!j^Wj!oek
 1   !!!!L,!!!!!JaWo,!!Ne*!ie!m[%h[!jWba_d]!WXekj!Wd                  1   Z[iYh_X[Z!_d!oekh!Z[fei_j_ed!eYYkhh[Z!_d!j^Wj
 2   Wbb+[dYbei[Z!fh[ikcWXbo!bWh][!Xk_bZ_d]!X[YWki[!oek               2   fWhj_YkbWh!Xk_bZ_d]!j^Wj!m[!`kij!^Wl[!jWba[Z!WXekj*
 3   ^WZ!jhW_b[hi!_d!j^[h[!j^Wj!oek!Z_Z!meha!ed*!Wi                   3   Yehh[Yj;
 4   m[bb*!Yehh[Yj;                                                   4   !!!!6(!!!!!8\__RPa(
 5   !!!!6(!!!!!8\__RPa(                                              5   !!!!L,!!!!!JaWo,!!Iem*!oek!Zed%j!adem!m^e!emd[Z
 6   !!!!L,!!!!!JaWo,!!Tek!^WZ!W!Zeeh!j^Wj!oek!mekbZ                  6   j^Wj!Xk_bZ_d]!eh!Ze!oek;
 7   [dj[h!_dje!j^Wj!\WY_b_jo;                                        7   !!!!6(!!!!!?!N``bZR!FbR_a\!HVPN[!CN_V[R!b[YR``
/.   !!!!6(!!!!!C_(!7_V[QRYY5                                        /.   aURf!dR_R!YRN`V[T!Va(!!?!Q\[#a!X[\d(
//   !!!!L,!!!!!Ie,!!Tek,!!Di!j^[h[!W!Zeeh!++                        //   !!!!L,!!!!!JaWo,!!Tek!Zed%j!^Wl[!Wdo!Z_h[Yj
/0   !!!!6(!!!!!MRNU(!!JUR_R!dN`!N!ZNV[!Q\\_!f\b!PNZR                /0   ademb[Z][!ed[!mWo!eh!Wdej^[h!m^e!emd[Z!_j;
/1   V[&!fR`(                                                        /1   !!!!6(!!!!!D\&!?!Q\[#a(
/2   !!!!L,!!!!!Tek!YWbb[Z!_j!i^efi!eh!_i!_j!i^efi                   /2   !!!!L,!!!!!JaWo,!!<dZ!oek!^Wl[!de!_d\ehcWj_ed!j^Wj
/3   m_j^_d!j^[!j[hc_dWb;!!Cem!Ze!oek!++!^em!Ze!oek                  /3   j^[!fehj!^WZ!Wdoj^_d]!je!Ze!m_j^!j^[!jhW_b[hi!eh
/4   Z[iYh_X[!_j;                                                    /4   XhWa[!fWZi!eh!Wdo!e\!j^[![gk_fc[dj!ki[Z!Zkh_d]!oekh
/5   !!!!6(!!!!!?a#`!''!Va!dN`!N!OVT!ObVYQV[T!N[Q                    /5   meha!j^[h[!_d!j^Wj!Xk_bZ_d]*!Yehh[Yj;
/6   ZNW\_Vaf!\S!Va!dN`!`U\]!dVaU!N[!\SSVPR!N[Q!N                    /6   !!!!6(!!!!!?!Q\[#a!''![\(!!?!Q\[#a!X[\d!N[faUV[T
/7   ONaU_\\Z!V[!Va(                                                 /7   NO\ba!aUNa(
0.   !!!!L,!!!!!JaWo,!!<bb!h_]^j,!!JaWo,!!Iem!++!WdZ                 0.   !!!!L,!!!!!JaWo,!!Iem*!`kij!je!cWa[!Yb[Wh*!oek
0/   oekh!j[ij_cedo*!Wi!D!kdZ[hijWdZ!_j*!_i!j^Wj!Hh,                 0/   m[h[!Wd![cfbeo[[!e\!Kk[hje!M_Ye!HWh_d[!HWdW][c[dj*
00   =h_dZ[bb!ikf[hl_i[Z!c[Y^Wd_Yi!WdZ!ej^[h!meha[hi                 00   dej!Wd![cfbeo[[!e\!j^[!Kehj!e\!I[m!Jhb[Wdi*
01   m_j^_d!j^[!i^efi!j^[h[!_d!j^Wj!Xk_bZ_d]*!Yehh[Yj;               01   Yehh[Yj;
02   !!!!6(!!!!!8\__RPa(                                             02   !!!!6(!!!!!8\__RPa(
03   !!!!L,!!!!!JaWo,!!O^[!edbo!j_c[i!j^Wj!Zkij!mWi                  03   !!!!L,!!!!!JaWo,!!Iem!++!WdZ!oek!Zed%j!++!je!oekh


                     FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
              $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                Case 2:21-cv-00216-NJB-DMD
                       @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                       Page 88 of 565
                           <RO_bN_f!,*&!,*,*                                                  <RO_bN_f!,*&!,*,*

                                                        KW][!000                                                            KW][!001
 /   ademb[Z][*!de!fehj![cfbeo[[!eh!h[fh[i[djWj_l[!mWi              /   !!!!6(!!!!!6[Q!aUR[!dR!O\_QR_RQ!aUR!PN[NY!dVaU!aUR
 0   [l[h!_dlebl[Z!_d!meha_d]!j^[h[!_d!j^[!i^ef!eh                  0   TN[a_f!P_N[R`!dR_R!ONPX!aUR_R!N[Q!<_N[PR!H\NQ!\[
 1   ikf[hl_i_d]!j^[!meha!Zed[!_d!j^[!i^ef*!Yehh[Yj;                1   aUR!S_\[a(
 2   !!!!6(!!!!!8\__RPa(                                            2   !!!!L,!!!!!JaWo,!!<Xekj!^em!\Wh!W!Z_ijWdY[!mWi!j^[
 3   !!!!L,!!!!!JaWo,!!<dZ*!je!oekh!ademb[Z][*!de!fehj              3   \WY_b_jo*!j^[!j[hc_dWb!\WY_b_jo!m_j^!j^[!i^efi*
 4   [cfbeo[[!mWi![l[h!_dlebl[Z!_d!ikf[hl_i_d]!Hh,                  4   `kij!j^[!i^ef*!j^[!Xk_bZ_d]!++!j^[!Xk_bZ_d]!j^Wj
 5   =h_dZ[bb*!Yehh[Yj;                                             5   YedjW_d[Z!j^[!i^efi*!^em!\Wh!mWi!j^Wj!\hec!j^[
 6   !!!!6(!!!!!8\__RPa(                                            6   DdZkijh_Wb!>WdWb!WXekj;
 7   !!!!L,!!!!!Tek!_Z[dj_\_[Z!Hh,!=h_dZ[bb%i                       7   !!!!6(!!!!!<_\Z!aUR!dNaR_!Va`RYS5
/.   ikf[hl_ieh!Wi!++!m^e!mWi!_j!o[ij[hZWo;!!D!\eh]ej,             /.   !!!!L,!!!!!T[i*!i_h,
//   !!!!6(!!!!!EU&!UV`!`b]R_cV`\_!\S!UVZ5                         //   !!!!6(!!!!!8\b]YR!aU\b`N[Q!fN_Q`(
/0   !!!!L,!!!!!T[i*!i_h,                                          /0   !!!!L,!!!!!JaWo,!!Iem*!_\!oek!eh!Hh,!=h_dZ[bb
/1   !!!!6(!!!!!HRTTVR!IfXR`(                                      /1   mekbZ!^Wl[!X[[d!fhel_Z[Z!Wdo!iW\[jo!Z[l_Y[i!m^_b[
/2   !!!!L,!!!!!JaWo,!!<dZ!Hh,!Noa[i*!oek!iW_Z*!mWi                /2   meha_d]!_d!j^[!i^ef*!ikY^!Wi!cWiai!eh!i_c_bWh
/3   beYWj[Z!WYheii!j^[!ijh[[j!_d!j^[!e\\_Y[i;                     /3   Z[l_Y[i*!j^Wj!mekbZ!^Wl[!X[[d!++!oek!mekbZ!^Wl[
/4   !!!!6(!!!!!6P_\``!aUR!`a_RRa!V[!aUR!ZNV[!\SSVPR(              /4   [nf[Yj[Z!j^Wj!je!^Wl[!X[[d!fhel_Z[Z!je!oek!Xo
/5   !!!!L,!!!!!JaWo,!!R^[h[!_i!j^Wj!\WY_b_jo*!j^[                 /5   Kk[hje!M_Ye!HWh_d[!HWdW][c[dj*!Yehh[Yj;
/6   j[hc_dWb!j^Wj!oek!m[h[!jWba_d]!WXekj!j^Wj!^WZ!j^[             /6   !!!!6(!!!!!?!d\bYQ!UNcR&!fRNU(
/7   i^efi!WdZ!j^[!Xk_bZ_d]*!m^[h[!_i!j^Wj!beYWj[Z!j^[h[           /7   !!!!L,!!!!!JaWo,!!<dZ!oek!mekbZd%j!^Wl[![nf[Yj[Z
0.   ed!AhWdY[!MeWZ!_d!h[bWj_ed!je!j^[!DdZkijh_Wb!>WdWb;           0.   j^[!fehj!je!^Wl[!Wdo!heb[!_d!Wdo!jof[!e\!iW\[jo
0/   !!!!6(!!!!!LR!d\_XRQ!\[!aUR!?[Qb`a_VNY!8N[NY(!!JUR            0/   Z[l_Y[i!j^Wj!oek!i^ekbZ!^Wl[!X[[d!fhel_Z[Z!_\!oek
00   ?[Qb`a_VNY!8N[NY&!dR!UNQ!N!Q\PX!\[!aUR!PN[NY&!N[Q             00   i^ekbZ!^Wl[!X[[d!fhel_Z[Z!Wdo!Wj!Wbb;
01   \b_!aR_ZV[NY!URYQ!]_\ONOYf!,&***!P\[aNV[R_`!N[Q               01   !!!!6(!!!!!?!Q\[#a!aUV[X!Va!dN`!b]!a\!aUR!]\_a(
02   a_NVYR_`!V[!Va(                                               02   !!!!L,!!!!!JaWo,!!Kk[hje!M_Ye!HWh_d[!HWdW][c[dj
03   !!!!L,!!!!!JaWo,                                              03   Yedjhebb[Z!j^[!meha!oek!Z_Z!Wi!oekh![cfbeo[h*


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                         FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                           $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                    @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                  <RO_bN_f!,*&!,*,*

                                                        KW][!002                                                            KW][!003
 /   Yehh[Yj;                                                       /   !!!!6(!!!!!8\__RPa(
 0   !!!!6(!!!!!8\__RPa(                                            0   !!!!HM,!NO<DI@N8
 1   !!!!L,!!!!!JaWo,!!Oe!oekh!ademb[Z][*!j^[!fehj!^WZ              1   !!!!!!!!!!!JaWo,!!O^Wj%i!Wbb!D!^Wl[,!!O^Wda!oek
 2   de!heb[!m^Wjie[l[h!_d!j^[!meha!j^Wj!oek!Z_Z*                   2   l[ho!ckY^,!!<ffh[Y_Wj[!_j,
 3   Yehh[Yj;                                                       3   !!!!HM,!CD=@T8
 4   !!!!6(!!!!!D\a!Na!NYY(                                         4   !!!!!!!!!!!R[!d[[Z!iec[ed[![bi[!je!Wia!gk[ij_edi,
 5   !!!!L,!!!!!Iem*!`kij!W!Yekfb[!ceh[!gk[ij_edi,!!<i              5   !!!!HM,!C<MO8
 6   \Wh!Wi*!Wi!oekh!iW\[jo!_i!YedY[hd[Z*!_\!oek!^WZ!je             6   !!!!!!!!!!!?ed%j![l[hoXeZo!Wbb!][j!kf!Wj!edY[,
 7   beea!je!iec[XeZo!je!cWa[!ikh[!j^Wj!j^[o![dikh[Z                7   !!!!OC@!RDOI@NN8
/.   j^Wj!oek!meha[Z!_d!W!iW\[![dl_hedc[dj*!_d!W!iW\[              /.   !!!!!!!!!!!>ekbZ!^Wl[!\_d_i^[Z!o[ij[hZWo,!!O^_i
//   cWdd[h*!j^Wj!mekbZ!^Wl[!X[[d!Kk[hje!M_Ye!HWh_d[               //   i_Z[*!m[!YekbZ!^Wl[!\_d_i^[Z!o[ij[hZWo,
/0   HWdW][c[dj*!Yehh[Yj;                                          /0   @S<HDI<ODJI!=T!HN,!U<IJQ@>8
/1   !!!!6(!!!!!8\__RPa(                                           /1   !!!!L,!!!!!BeeZ!cehd_d]*!Hh,!Keb[je,!!Ho!dWc[
/2   !!!!L,!!!!!JaWo,!!Tek!^Wl[!de!_d\ehcWj_ed*!Ze!oek*            /2   _i!++
/3   j^Wj!j^[!fehj!cWdk\WYjkh[Z!eh!ki[Z!eh!^WdZb[Z!Wdo             /3   !!!!6(!!!!!=\\Q!Z\_[V[T(
/4   WiX[ijei+YedjW_d_d]!fheZkYji!eh!cWj[h_Wbi!j^[h[!Wj            /4   !!!!L,!!!!!++!EWc_[!UWdel[Y!WdZ!D!h[fh[i[dj
/5   j^Wj!AhWdY[!MeWZ!\WY_b_jo!m^[h[!oek!meha[Z;                   /5   Gk\a_d,!!D!^Wl[!W!\[m!gk[ij_edi!\eh!oek!WdZ
/6   !!!!6(!!!!!D\a!a\!Zf!X[\dYRQTR(                               /6   ^ef[\kbbo!med%j!a[[f!oek!jee!bed],
/7   !!!!L,!!!!!JaWo,!!<dZ!bWijbo*!Zkh_d]!j^[!Yekhi[!e\            /7   !!!!!!!!!!!Di!_j!Hh,!=h_dZ[bb!eh!Hh,!=h_dZ[bb;
0.   oekh!meha!j^[h[!Wj!j^[!++!Wj!j^[!i^efi!j^[h[!Wj!j^[           0.   !!!!6(!!!!!?!PNYYRQ!UVZ!''!?!PNYY!UVZ!7_V[QRYY(
0/   AhWdY[!MeWZ!\WY_b_jo*!oek!Z_Zd%j!i[[!Wdo!fehj                 0/   !!!!L,!!!!!=h_dZ[bb;!!JaWo,
00   [cfbeo[[i!eh!h[fh[i[djWj_l[i*!je!oekh!ademb[Z][*              00   !!!!!!!!!!!Dd!oekh![Whb_[h!j[ij_cedo*!oek!iW_Z
01   j^[h[!Wj!j^[!i^efi!_dlebl[Z!_d!Wdo!e\!j^[!meha!j^Wj           01   j^Wj!Gk\a_d!mWi!ed[!e\!j^[!b[ii!Yecced!jhW_b[hi!oek
02   oek!Z_Z!ed!XhWa[i!eh!i_c_bWh!++!eh!j^[!jhW_b[hi*              02   meha[Z!ed,!!?e!oek!h[YWbb!i[[_d]!j^[c!m^[d!oek
03   Yehh[Yj;                                                      03   \_hij!ijWhj[Z!Wj!Kk[hje!M_Ye!HWh_d[!eh!mWi!_j!_d


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                         FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                           $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                 Case 2:21-cv-00216-NJB-DMD
                        @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                        Page 89 of 565
                           <RO_bN_f!,*&!,*,*                                                   <RO_bN_f!,*&!,*,*

                                                         KW][!004                                                            KW][!005
 /   j^[!bWj[h!o[Whi;                                                /   JNYXV[T!N!Y\[T!aVZR!NT\(
 0   !!!!6(!!!!!?#Z!`\__f5                                           0   !!!!L,!!!!!D!adem,!!<dZ!iec[!e\!j^[i[!cWo!i[[c!W
 1   !!!!L,!!!!!?e!oek!h[YWbb!i[[_d]!Gk\a_d!jhW_b[hi!eh              1   b_jjb[!++
 2   meha_d]!ed!j^[c!m^[d!oek!\_hij!ijWhj[Z!Wj!Kk[hje!++             2   !!!!6(!!!!!6!Y\a!\S!aUR!`abSS!V`!SNQRQ!\SS(!!M\b
 3   Kk[hje!M_Ye!HWh_d[!eh!mWi!_j!_d!j^[!bWj[h!o[Whi;                3   T\a!a\!_RNYYf!Y\\X!Na!Va!a\!`RR!dUNa!Va!_RNYYf
 4   !!!!6(!!!!!LUR[!?!SV_`a!`aN_aRQ&!?!_RZRZOR_!`RRV[T              4   `NVQ(
 5   aURZ(                                                           5   !!!!L,!!!!!M_]^j*!Xkj!D!`kij!^Wl[!je!Wia!je!i[[
 6   !!!!L,!!!!!>Wd!oek!Z[iYh_X[!^em!oek!ad[m!_j!mWi!W               6   m^Wj!oek!adem,!!<dZ!_\!oek!Zed%j!adem*!j^Wj!_i
 7   Gk\a_d!jhW_b[h;                                                 7   f[h\[Yjbo!\_d[,
/.   !!!!6(!!!!!JUR_R!dN`!`aVPXR_`!\[!aUR!`VQR!\S!aURZ              /.   !!!!6(!!!!!EXNf(!!?#YY!a_f!a\!Q\!aUR!OR`a!?!PN[(
//   aRYYV[T!f\b!dU\!ZNQR!aURZ(                                     //   !!!!L,!!!!!Tek%h[!Ze_d]!W!]h[Wj!`eX,!!D!`kij!^Wl[
/0   !!!!L,!!!!!>Wd!oek!Z[iYh_X[!j^[!ij_Ya[h!eh!j^[!mWo             /0   je!Wia!oek!++
/1   j^[!dWc[!mWi!mh_jj[d;                                          /1   !!!!6(!!!!!JUN[X!f\b(
/2   !!!!6(!!!!!?a!dN`!Wb`a!\[!N!`aNZ]!N[Q!Va!`NVQ                  /2   !!!!L,!!!!!++!j^[!gk[ij_edi,!!O^Wda!oek,
/3   "BbSXV[("                                                      /3   !!!!!!!!!!!Tek!d[l[h!iWm!fWf[hmeha!YedY[hd_d]!j^[
/4   !!!!L,!!!!!<dZ!m^[h[!mWi!j^[!ij_Ya[h;                          /4   emd[hi^_f!eh!b[Wi[!e\!Wdo!Gk\a_d!jhW_b[hi*!Yehh[Yj;
/5   !!!!6(!!!!!MRNU&!`aVPXR_(                                      /5   !!!!6(!!!!!D\&!?!QVQ![\a(
/6   !!!!L,!!!!!R^[h[!mWi!j^[!ij_Ya[h;                              /6   !!!!L,!!!!!JaWo,!!Ne!j^Wj%i!Yehh[Yj;
/7   !!!!6(!!!!!EU&!b`bNYYf!\[!aUR!S_\[a!Na!aUR!O\aa\Z              /7   !!!!6(!!!!!8\__RPa(
0.   YRSa!\_!_VTUa!`VQR(                                            0.   !!!!L,!!!!!Nehho,
0/   !!!!L,!!!!!<dZ!oek!adem!m^Wj!Yebeh!mWi!j^[                     0/   !!!!!!!!!!!Hh,!=h_dZ[bb!d[l[h!f[hiedWbbo!f[h\ehc[Z
00   ij_Ya[h;                                                       00   meha!ed!W!Gk\a_d!jhW_b[h*!Yehh[Yj;
01   !!!!6(!!!!!?#Z!`\__f5                                          01   !!!!6(!!!!!D\a!a\!Zf!X[\dYRQTR(
02   !!!!L,!!!!!R^Wj!Yebeh!mWi!j^[!ij_Ya[h;                         02   !!!!L,!!!!!Tek!d[l[h!iWm!_j;
03   !!!!6(!!!!!EU&!B\_Q(!!LUVaR!N[Q!OYNPX&!ZNfOR(                  03   !!!!6(!!!!!?!QVQ[#a!`RR!Va(


                    FN`gXVRdVPg!8\b_a!HR]\_aV[T                                         FN`gXVRdVPg!8\b_a!HR]\_aV[T
             $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                           $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                     @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                   <RO_bN_f!,*&!,*,*

                                                         KW][!006                                                            KW][!007
 /   !!!!L,!!!!!<dZ!j^[i[!m[h[!j^[!ebZ[h!jhW_b[hi*                   /   !!!!6(!!!!!F_\ONOYf!`\&!fR`(
 0   jhW_b[hi!j^Wj!^WZ!W!bej!e\!c_b[i!ed!j^[c;!!Tek!m[h[             0   !!!!L,!!!!!?e!oek!h[YWbb!Ze_d]!Wdo!XhWa[!meha!ed
 1   `kij!jWba_d]!WXekj!j^[!ij_Ya[hi!X[_d]!hkXX[Z!e\\                1   Gk\a_d!jhW_b[hi;
 2   WdZ![l[hoj^_d],                                                 2   !!!!6(!!!!!?#Z!`b_R(
 3   !!!!6(!!!!!MRNU(!!JUR`R!dR_R!\YQR_!a_NVYR_`(                    3   !!!!L,!!!!!Tek!iWo!j^Wj!oek%h[!ikh[*!Xkj!D!d[[Z!je
 4   !!!!L,!!!!!JbZ[h!jhW_b[hi,                                      4   adem!_\!oek!if[Y_\_YWbbo!h[YWbb!Ze_d]!XhWa[!`eXi!ed
 5   !!!!!!!!!!!?e!oek!X[b_[l[!j^[h[!mWi!WiX[ijei                    5   Gk\a_d!jhW_b[hi,
 6   Wdom^[h[!ed!j^[!Gk\a_d!jhW_b[h;                                 6   !!!!6(!!!!!MR`(
 7   !!!!6(!!!!!D\dNQNf`!?!]_\ONOYf!Q\(                              7   !!!!L,!!!!!<Xekj!^em!cWdo!j_c[i!Ze!oek!j^_da!oek
/.   !!!!L,!!!!!R^Wj!Ze!oek!X[b_[l[!WiX[ijei!++                     /.   f[h\ehc[Z!j^Wj!meha!ed!W!Gk\a_d!jhW_b[h;!!<dZ!D
//   !!!!6(!!!!!?!ZRN[a!S_\Z!aUR!dURRY`![\d!aUNa!?!X[\d             //   mWdj!je!dWhhem!oek!Zemd,!!?e!oek!j^_da!oek!Z_Z!meha
/0   Va!dN`!V[!aUR!O_NXR`(                                          /0   ed!W!Gk\a_d!jhW_b[h!Zkh_d]!oekh!\_hij!o[Wh!Wj
/1   !!!!L,!!!!!R^Wj!jof[!e\!meha!Ze!oek!h[YWbb!Ze_d]               /1   Kk[hje!M_Ye!HWh_d[;
/2   ed!Gk\a_d!jhW_b[hi;!!?_Z!oek!Ze!iec[!e\!j^[!m[bZ_d]            /2   !!!!6(!!!!!MR`(
/3   h[fW_hi!je!ZWcW][Z!Gk\a_d!jhW_b[hi;                            /3   !!!!L,!!!!!Ne!j^Wj!mekbZ!X[!WXekj!JYjeX[h!/757*
/4   !!!!6(!!!!!LR!]_\ONOYf!QVQ!`\ZR!dRYQV[T&!fR`(                  /4   b[j%i!iWo!j^hek]^!j^[![dZ!e\!/76.,!!<Xekj!^em!cWdo
/5   !!!!L,!!!!!?e!oek!adem!^em!e\j[d!oek!Z_Z!j^Wj                  /5   Gk\a_d!jhW_b[hi!Ze!oek!j^_da!oek!meha[Z!ed;
/6   m[bZ_d]!meha;                                                  /6   !!!!6(!!!!!JUNa#`!cR_f!UN_Q!a\!`Nf(
/7   !!!!6(!!!!!?a#`!UN_Q!a\!`Nf(                                   /7   !!!!L,!!!!!JaWo,!!Ne!oek!Wh[!dej!WXb[!je!iWo!^em
0.   !!!!L,!!!!!?_Z!oek!Y^Wd][!b_]^ji!ed!Gk\a_d                     0.   e\j[d!oek!mekbZ!^Wl[!meha[Z!ed!W!Gk\a_d!jhW_b[h;
0/   jhW_b[hi!eh!Ze!m_h_d]!meha!b_a[!oek!Z[iYh_X[Z                  0/   !!!!HM,!CD=@T8
00   o[ij[hZWo;                                                     00   !!!!!!!!!!!JX`[Yj_ed!je!\ehc,
01   !!!!6(!!!!!MR`&!?#Z!`b_R(                                      01   !!!!OC@!RDOI@NN8
02   !!!!L,!!!!!?_Z!oek!Ze!iec[!m[bZ_d]!h[fW_hi!ed!j^[              02   !!!!!!!!!!!CWhZ!je!Yec[!kf!m_j^!W!dkcX[h,!!D%Z!X[
03   bWdZ_d]!][Wh!Wi!oek!Z[iYh_X[Z!o[ij[hZWo;                       03   ]k[ii_d],


                    FN`gXVRdVPg!8\b_a!HR]\_aV[T                                         FN`gXVRdVPg!8\b_a!HR]\_aV[T
             $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                           $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                Case 2:21-cv-00216-NJB-DMD
                       @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                       Page 90 of 565
                          <RO_bN_f!,*&!,*,*                                                     <RO_bN_f!,*&!,*,*

                                                          KW][!01.                                                             KW][!01/
 /   @S<HDI<ODJI!=T!HN,!U<IJQ@>8                                      /   mekbZ!^Wl[!_dijWbb[Z!W!>Whb_ib[!XhWa[;
 0   !!!!L,!!!!!JaWo,!!=kj!_j!Y[hjW_dbo!mWid%j!j^[!2..                0   !!!!6(!!!!!JUNa#`!dU\!dR!b`RQ!Z\`aYf&!fR`(
 1   j_c[i!oek!Z[iYh_X[Z![Whb_[h;                                     1   !!!!L,!!!!!<dZ!Gk\a_d!mekbZ!d[l[h!^Wl[
 2   !!!!6(!!!!!D\&![\(!!?a!d\bYQ[#a!UNcR!ORR[!.**                    2   cWdk\WYjkh[Z!j^[!XhWa[!fWZi*!Yehh[Yj;
 3   aVZR`(                                                           3   !!!!6(!!!!!9VQ!BbSXV[!ZN[bSNPab_R!O_NXR!''
 4   !!!!L,!!!!!JaWo,!!<dZ!_j!mekbZd%j!^Wl[!X[[d![l[d!W               4   !!!!L,!!!!!O^[o!Z_Z!dej*!Yehh[Yj;
 5   ^kdZh[Z!j_c[i;                                                   5   !!!!6(!!!!!D\a!aUNa!?!X[\d!\S(
 6   !!!!6(!!!!!F\``VOYf!+**(                                         6   !!!!L,!!!!!JaWo,!!?_Z!oek![l[h!i[[!Wdoj^_d]
 7   !!!!L,!!!!!?e!oek!adem!j^[!cWdk\WYjkh[h!e\!Wdo!e\                7   fkXb_i^[Z!eh!fheZkY[Z!Xo!Gk\a_d!j^Wj!h[gk_h[Z!j^[
/.   j^[!Wnb[i!ed!Gk\a_d!jhW_b[hi;                                   /.   ki[!e\!WiX[ijei!XhWa[!fWZi!ed!j^ei[!jhW_b[hi;
//   !!!!6(!!!!!F_\ONOYf!;Na\[(                                      //   !!!!6(!!!!!D\(
/0   !!!!L,!!!!!<dZ!oek!iW_Z!"fheXWXbo!@Wjed,"!!<h[!oek              /0   !!!!L,!!!!!Tek!d[l[h!h[WZ!Wdoj^_d]!\hec!Gk\a_d*
/1   Y[hjW_d!j^Wj!j^[h[!mWi!Wd!@Wjed!Wnb[!eh!Wh[!oek                 /1   Yehh[Yj;
/2   `kij!]k[ii_d];                                                  /2   !!!!6(!!!!!D\(!!8\__RPa(
/3   !!!!6(!!!!!LRYY&!?!ZRN[&!Z\`a!a_NVYR_`!UNQ!ad\                  /3   !!!!L,!!!!!JaWo,!!<dZ*!Wi!oek!Z_iYkii[Z!m_j^!Hh,
/4   QVSSR_R[a!''!ad\!af]R`!''!ad\!QVSSR_R[a!NeYR`!\[                /4   CWhj!o[ij[hZWo*!oek!WYjkWbbo!^Wl[!de!_Z[W!^em!cWdo
/5   aURZ&!N[Q!;Na\[!dN`!\[R!\S!aUR!Z\`a!]\]bYN_(                    /5   j_c[i*!_\!Wdo*!Hh,!=h_dZ[bb!mekbZ!^Wl[!X[[d!fh[i[dj
/6   !!!!L,!!!!!?e!oek!adem!j^[!cWdk\WYjkh[h!e\!Wdo!e\               /6   m^[d!oek!m[h[!Y^Wd]_d]!XhWa[i!ed!W!Gk\a_d!jhW_b[h*
/7   j^[!ebZ!XhWa[!fWZi!oek!mekbZ!^Wl[!h[cel[Z!\hec!W                /7   Yehh[Yj;
0.   Gk\a_d!jhW_b[h;                                                 0.   !!!!6(!!!!!LRYY&!YVXR!?!`NVQ&!UR!dN`!V[!aUR!`U\]
0/   !!!!6(!!!!!D\(                                                  0/   NO\ba!''!$]U\[R!_N[T%(!!?!aU\bTUa!?!UNQ!aUNa!\SS(
00   !!!!L,!!!!!?e!oek!adem!j^[!cWdk\WYjkh[h!e\!Wdo!e\               00   I\__f(
01   j^[!d[m!XhWa[!fWZi!oek!mekbZ!^Wl[!_dijWbb[Z;                    01   !!!!L,!!!!!O^Wj%i!eaWo,
02   !!!!6(!!!!!MRNU&!8N_YV`YR(                                      02   !!!!6(!!!!!BVXR!?!`NVQ!fR`aR_QNf&!UR!dN`!V[!aUR
03   !!!!L,!!!!!<dZ!oek%h[!Y[hjW_d!e\!j^Wj*!j^Wj!oek                 03   `U\]!_\bTUYf!UNYS!\S!aUR!RVTUa'U\b_!QNf(


                     FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
              $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                           @(!ARVaU!F\YRa\                                                       @(!ARVaU!F\YRa\
                          <RO_bN_f!,*&!,*,*                                                     <RO_bN_f!,*&!,*,*

                                                          KW][!010                                                             KW][!011
 /   !!!!L,!!!!!M_]^j,!!=kj!Ze!oek!^Wl[!Wdo!if[Y_\_Y                  /   !!!!!!!!!!!D!Zed%j!kdZ[hijWdZ!j^[!gk[ij_ed,
 0   h[Yebb[Yj_ed!e\!i[[_d]!^_c!_d!j^[!i^ef!m^[d!oek                  0   @S<HDI<ODJI!=T!HN,!U<IJQ@>8
 1   m[h[!meha_d]!ed!W!Gk\a_d!jhW_b[h!eh!oek!`kij!YWd%j               1   !!!!L,!!!!!D%c!iehho,!!O^Wj%i!W!]eeZ!ed[,!!JaWo,
 2   iWo;                                                             2   !!!!!!!!!!!@Whb_[h!m[!jWba[Z!WXekj!^em!oek!^WZ
 3   !!!!6(!!!!!?#Z!`b_R!UR!dN`!]_R`R[a&!Oba!?!PN[#a                  3   Z_\\_Ykbjo!Z[iYh_X_d]!j^[!bWX[bi!X[YWki[!j^[
 4   TVcR!f\b!N[!NZ\b[a!\S!aVZR(                                      4   ij_Ya[h!mWi!hkXX[Z!e\\!WdZ!j^_d]i!b_a[!j^Wj*!ie
 5   !!!!L,!!!!!<dZ!oek%h[!iWo_d]!oek%h[!ikh[!^[!mWi                  5   j^[i[!m[h[!ebZ[h!jhW_b[hi!m_j^!W!bej!e\!c_b[i*
 6   fh[i[dj*!Xkj!D!]k[ii!D!`kij!d[[Z!je!adem!++!m[bb*                6   Yehh[Yj;
 7   D%c!]e_d]!je!cel[!ed,                                            7   !!!!6(!!!!!8\__RPa(
/.   !!!!!!!!!!!Tek!YWddej!j[ij_\o!j^Wj!Hh,!=h_dZ[bb                 /.   !!!!L,!!!!!Ne!m^Wj!D%c!iWo_d]!_i*!oek!YWd%j
//   mWi![l[h!fh[i[dj!m^[d!Wd!eh_]_dWb!XhWa[!b_d_d]!mWi              //   j[ij_\o!^[!mWi![l[h!j^[h[!m^[d!W!\_hij+j_c[!XhWa[
/0   h[fbWY[Z!ed!W!Gk\a_d!jhW_b[h*!Yehh[Yj;                          /0   `eX!mWi!Zed[!ed!W!Gk\a_d!jhW_b[h;
/1   !!!!6(!!!!!?#Z!`\__f(!!HR]RNa!aUNa(                             /1   !!!!6(!!!!!LUR[!N![Rd!''![\&!?!PN[#a!`Nf!aUNa(!!?
/2   !!!!L,!!!!!Tek!YWd%j!j[ij_\o!j^Wj!Hh,!=h_dZ[bb!mWi              /2   PN[#a!''![\(
/3   [l[h!fh[i[dj!m^[d!Wd!eh_]_dWb!XhWa[!b_d_d]!mWi                  /3   !!!!HN,!U<IJQ@>8
/4   h[fbWY[Z!ed!W!Gk\a_d!jhW_b[h!X[YWki[!j^[i[!m[h[                 /4   !!!!!!!!!!!JaWo,!!O^Wda!oek,!!O^Wj%i!Wbb!D!^Wl[,
/5   ebZ[h!jhW_b[hi!m_j^!W!bej!e\!c_b[i*!Yehh[Yj;                    /5   !!!!OC@!RDOI@NN8
/6   !!!!6(!!!!!>R!dN`!]_R`R[a!UNYS!aUR!QNf!`\&!?!ZRN[&              /6   !!!!!!!!!!!Tek!`kij!^WZ!++!D!mWi!Yed\ki[Z!m_j^
/7   Va#`!UN_Q!S\_!ZR!a\!`Nf!VS!UR!dN`!aUR_R!\_![\a(                 /7   oekh!gk[ij_ed,
0.   !!!!L,!!!!!M_]^j,!!=kj!oek!YWd%j!j[ij_\o!j^Wj!^[                0.   !!!!HN,!U<IJQ@>8
0/   [l[h!mWi!fh[i[dj!m^[d!Wd!eh_]_dWb!XhWa[!b_d[h!ed!W              0/   !!!!!!!!!!!D%c!iehho!WXekj!j^Wj,!!BbWZ!m[!]ej
00   d[m[h!jhW_b[h!mWi!h[fbWY[Z;                                     00   j^hek]^!je!_j,!!O^Wda!oek!l[ho!ckY^,
01   !!!!HM,!C<MO8                                                   01   !!!!OC@!RDOI@NN8
02   !!!!!!!!!!!A_hij+j_c[!XhWa[!`eX,                                02   !!!!!!!!!!!O^Wda!oek,
03   !!!!OC@!RDOI@NN8                                                03   @S<HDI<ODJI!=T!HN,!=<SO@M8


                     FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
              $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                 Case 2:21-cv-00216-NJB-DMD
                        @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                        Page 91 of 565
                           <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                          KW][!012                                                           KW][!013
 /   !!!!L,!!!!!BeeZ!cehd_d],                                         /   !!!!6(!!!!!;eNPaYf(
 0   !!!!6(!!!!!=\\Q!Z\_[V[T(                                         0   !!!!L,!!!!!T[W^,!!Ne!fb[Wi[!Zed%j!]k[ii,!!D\!D!Wia
 1   !!!!L,!!!!!Hh,!Keb[je;                                           1   oek*!oek!adem*!\eh!oekh!X[ij![ij_cWj[*!oek!YWd!++
 2   !!!!6(!!!!!MR`(!!JUNa!`\b[Q`!T\\Q(                               2   oek!YWd!]_l[!c[!j^Wj,!!O^[d!m[%h[!Yb[Wh!ed!_j,
 3   !!!!L,!!!!!D!]ej!_j!iehj!e\!Ybei[;                               3   !!!!6(!!!!!EXNf(
 4   !!!!6(!!!!!M\b!T\a!Va(                                           4   !!!!L,!!!!!<bb!h_]^j,!!Ne!j[bb!c[!j^_i8!!R^o!Ze
 5   !!!!L,!!!!!<bb!h_]^j,!!C_*!D%c!FWo!=Wnj[h,!!D%c                  5   oek!j^_da!oek%h[!^[h[!jeZWo;!!R^Wj!Ze!oek!j^_da
 6   dej![nf[Yj_d]!W!bej!e\!gk[ij_edi*!Xkj!\_hij!e\!Wbb*              6   oekh!fkhfei[!_i!^[h[!jeZWo;
 7   iec[j^_d]!D!Zed%j!adem!j^Wj!mWi![nfbW_d[Z!je!oek!eh              7   !!!!6(!!!!!J\!PYN_VSf!aUR!NaZ\`]UR_R!V[!dUVPU!dR
/.   dej*!Xkj!_\!oek!Zed%j!adem!j^[!Wdim[h!je!ekh                    /.   dR_R!d\_XV[T&!dUR_R!C_(!7_V[QRYY!dN`!d\_XV[T(
//   gk[ij_ed*!j^[!Yehh[Yj!Wdim[h!_i!D!Zed%j!adem,                   //   !!!!L,!!!!!JaWo,!!<dZ!m^Wj!Ze[i!j^Wj!c[Wd!je!oek*
/0   !!!!6(!!!!!EU&!\XNf(                                            /0   YbWh_\o!j^[!Wjceif^[h[;
/1   !!!!L,!!!!!T[W^,                                                /1   !!!!6(!!!!!J\!X[\d!dUNa!dN`!T\V[T!\[!V[!aUR!`U\](
/2   !!!!6(!!!!!?!a_f!N[Q!TVcR!f\b!aUR!Z\`a!QRaNVY!?                 /2   !!!!L,!!!!!<bb!h_]^j,!!<dZ!oek!Zed%j!adem!\eh
/3   PN[&!Oba!`\ZRaVZR`!?!PN[#a!TVcR!f\b!]R_SRPa                     /3   Y[hjW_d!j^Wj!Wdoj^_d]!j^Wj!oek!meha[Z!m_j^
/4   QRaNVY`(                                                        /4   YedjW_d[Z!WiX[ijei*!Ze!oek;
/5   !!!!L,!!!!!M_]^j,!!@nWYjbo,                                     /5   !!!!6(!!!!!6a!aUNa!aVZR!?!QVQ![\a!X[\d(
/6   !!!!6(!!!!!EXNf(                                                /6   !!!!L,!!!!!<dZ!oek!Zed%j!adem!j^Wj!jeZWo*!Ze!oek;
/7   !!!!L,!!!!!<dZ*!WdZ!ie!j^Wj!i^ekbZ!^Wl[!X[[d                    /7   !!!!6(!!!!!D\&!?!Q\[#a(!!?!Wb`a!X[\d!dUNa!?!`RR
0.   [nfbW_d[Z!je!oek!kf!\hedj,!!R[!Zed%j!mWdj!oek!je                0.   aUNa!N`OR`a\`!dN`!RcR_fdUR_R(
0/   ]k[ii,!!D\!oek!Zed%j!adem!j^[!Wdim[h*!j^[d!`kij!iWo             0/   !!!!L,!!!!!<dZ!b[j%i!jWba!WXekj!j^Wj!\eh!W!i[YedZ,
00   D!Zed%j!adem!j^Wj!Wdim[h,                                       00   Tek!iW_Z!oek!i[[!_j,!!R^Wj!_i!_j!oek!i[[;
01   !!!!6(!!!!!EXNf(                                                01   !!!!6(!!!!!E[!aUR!aRYRcV`V\[(!!JURf#_R!NYdNf`
02   !!!!L,!!!!!Tek!adem*!Wia_d]!oek!m^Wj!^Wff[d[Z!XWYa              02   aNYXV[T!NO\ba!aUR!ONQ!N`OR`a\`&!U\d!ONQ!Va!dN`(
03   _d!/757*!W!bej!e\!ijk\\!^Wi!^Wff[d[Z!i_dY[!j^[d,                03   !!!!L,!!!!!O^[!WZi!X[_d]!hkd!Xo!fbW_dj_\\


                     FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
              $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                      @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                          KW][!014                                                           KW][!015
 /   Wjjehd[oi*!_i!j^Wj!m^Wj!oek%h[!jWba_d]!WXekj;                    /   j^Wj!oek!Z_Zd%j!dWc[,!!<dZ!iec[j_c[i*!W\j[h!D%l[
 0   !!!!6(!!!!!JUNa!N[Q!`\ZR!\S!aUR!RQbPNaV\[NY!`U\d`                0   ^WZ!W!Y^WdY[!je!j^_da!WXekj!j^_d]i*!j^_d]i!Yec[
 1   aUNa!`U\d!f\b!NYY!NO\ba!U\d!aURf!ZNXR!aUV[T`(                    1   XWYa!je!c[,!!CWl[!oek!h[YWbb[Z!Wdo!ej^[h!dWc[i!e\
 2   !!!!L,!!!!!Di!j^Wj![ZkYWj_edWb!i^em*!Ze[i!j^Wj                   2   jhW_b[hi!j^Wj!oek!meha[Z!m_j^!Zkh_d]!j^[!j_c[
 3   ^Wl[!W!cWd!WdZ!W!\[cWb[!ZeYjeh!m^e!Wh[!jWba_d]                   3   f[h_eZ!j^Wj!oek!meha[Z!Wj!Kk[hje!M_Ye!HWh_d[!m_j^
 4   WXekj!_j;                                                        4   Hh,!=h_dZ[bb;
 5   !!!!6(!!!!!KU'bU!$[RTNaVcR!_R`]\[`R%(                            5   !!!!6(!!!!!JUR!\[R`!?![NZRQ!fR`aR_QNf!N_R!aUR!\[Yf
 6   !!!!L,!!!!!JaWo,!!R^Wj![ZkYWj_edWb!i^emi!Wh[!oek                 6   \[R`!?!PN[!_RZRZOR_(
 7   jWba_d]!WXekj!j^[d;                                              7   !!!!L,!!!!!JaWo,!!Ne!de!d[m!ed[i!^Wl[!Yec[!XWYa!je
/.   !!!!6(!!!!!>\d!Va#`!ZNQR&!DNaV\[NY!=R\T_N]UVP                   /.   oek;
//   `abSS(                                                          //   !!!!6(!!!!!$LVa[R``!`U\\X!URNQ![RTNaVcRYf(%
/0   !!!!L,!!!!!JaWo,!!<dZ!oek!++!Ze!oek!adem!j^Wj                   /0   !!!!L,!!!!!JaWo,!!Ie;
/1   WiX[ijei!_i!W!dWjkhWbbo!eYYkhh_d]!c_d[hWb;                      /1   !!!!6(!!!!!D\(!!D\&!ZN#NZ(!!I\__f(
/2   !!!!6(!!!!!D\&!?!Q\[#a(                                         /2   !!!!L,!!!!!O^_i!_i!^WhZ!meha,!!D!j[bb![l[hoXeZo
/3   !!!!L,!!!!!JaWo,!!Dj%i!dej!cWd+cWZ[*!_j%i!WYjkWbbo              /3   j^_i!Z[fei_j_ed!ijk\\!_i!^WhZ!meha,
/4   c_d[Z,                                                          /4   !!!!!!!!!!!<bb!h_]^j,!!Ne!++!Xkj!oek!WYademb[Z][
/5   !!!!6(!!!!!EU(                                                  /5   j^Wj!j^[h[!m[h[!/3!je!/6!WZZ_j_edWb!jhW_b[h!jof[i
/6   !!!!L,!!!!!JaWo,                                                /6   _d!WZZ_j_ed!je!j^[!ed[i!oek!dWc[Z!o[ij[hZWo;
/7   !!!!6(!!!!!BRN_[!`\ZRaUV[T![Rd(                                 /7   !!!!6(!!!!!?!d\bYQ!TbR``(!!MRNU&!aUNa#`!dUNa!?
0.   !!!!L,!!!!!T[W^,!!<bb!h_]^j,!!<dZ!D%c!]e_d]!je                  0.   d\bYQ!`Nf(
0/   `kcf!WhekdZ!^[h[!W!b_jjb[!X_j,!!O^[h[!m[h[!iec[!++              0/   !!!!HM,!CD=@T8
00   o[ij[hZWo!oek!j[ij_\_[Z!j^Wj!j^[h[!m[h[!++!oek                  00   !!!!!!!!!!!JX`[Yj_ed!je!\ehc*!c_iijWj[i!j[ij_cedo,
01   dWc[Z!Y[hjW_d!jhW_b[hi!++!WdZ*!Xo!j^[!mWo*!D                    01   @S<HDI<ODJI!=T!HN,!=<SO@M8
02   h[fh[i[dj!Njh_Ya,!!<dZ!oek!dWc[Z!Y[hjW_d!jhW_b[hi*              02   !!!!L,!!!!!JaWo,!!Ne!j^Wj%i!m^Wj!++!j^Wj%i!oekh
03   Xkj!oek!iW_Z!j^[h[!m[h[!/3!je!/6!Z_\\[h[dj!ed[i                 03   c[ceho,!!<bb!h_]^j,


                     FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
              $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                Case 2:21-cv-00216-NJB-DMD
                       @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                       Page 92 of 565
                          <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                          KW][!016                                                           KW][!017
 /   !!!!!!!!!!!<dZ!Z_Z!oek!meha!ed!j^ei[![gkWbbo;!!?e                /   _d!Wdo!mWo;
 0   oek!adem!m^Wj!D%c!++                                             0   !!!!6(!!!!!D\(
 1   !!!!6(!!!!!F_Raaf!ZbPU(                                          1   !!!!L,!!!!!JaWo,!!?e!oek!adem!m^Wj!iY^eebi!Hh,
 2   !!!!L,!!!!!JaWo,!!Ne!m[%h[!jWba_d]!WXekj!++!D                    2   =h_dZ[bb!m[dj!je;
 3   j^_da!o[ij[hZWo!oek!dWc[Z!WXekj!i_n!Z_\\[h[dj                    3   !!!!6(!!!!!IPU\\Y5
 4   jhW_b[h!jof[i;                                                   4   !!!!L,!!!!!T[W^,
 5   !!!!6(!!!!!I\ZRaUV[T!YVXR!aUNa(!!I\ZRdUR_R!N_\b[Q                5   !!!!6(!!!!!D\(
 6   aUR_R(                                                           6   !!!!L,!!!!!Tek!adem*!WhekdZ!^[h[!_j%i!m^Wj!^_]^
 7   !!!!L,!!!!!T[W^,!!<dZ!j^[d!fbki!j^[!/3!je!/6!ceh[,               7   iY^eeb!Z_Z!oek!]e!je,
/.   Ne!m[%h[!jWba_d]!WXekj!++!cWj^!_i!dej!co!ijhed]                 /.   !!!!6(!!!!!?!Q\[#a!X[\d!N[faUV[T!NO\ba!aUNa(
//   ikX`[Yj,!!G[j!c[!jho!je!Ze!j^_i,!!Om[djo+jme!je!03              //   !!!!L,!!!!!JaWo,!!>^[Ya_d]!e\\!co!dej[i!++
/0   Z_\\[h[dj!jhW_b[h!jof[i!oek!meha[Z!ed!_d!j^Wj!j_c[              /0   !!!!6(!!!!!EXNf(
/1   f[h_eZ!m^[d!Hh,!=h_dZ[bb!mWi!j^[h[;                             /1   !!!!L,!!!!!++!ie!j^Wj!D!Zed%j!Wia!oek!j^[!iWc[
/2   !!!!6(!!!!!JUNa!`\b[Q`!YVXR!N!UVTUR_![bZOR_!aUN[!?              /2   gk[ij_ed!j^Wj%i!Wbh[WZo!X[[d!Wia[Z,
/3   `NVQ!Oba&!?!ZRN[&!Va!`\b[Q`!YVXR!N!Y\a(!!?a#`                   /3   !!!!6(!!!!!?!PN[!_RYNe(
/4   ]_\ONOYf!Z\_R!YVXR!+2!a\aNY(                                    /4   !!!!L,!!!!!G[j!c[!Wia!j^_i8!!R^[d!oek!m[h[!meha_d]
/5   !!!!L,!!!!!OejWb*!eaWo,                                         /5   _d!j^[!i^ef!m^[h[!Hh,!=h_dZ[bb!mWi!oekh!ikf[hl_ieh*
/6   !!!!!!!!!!!<dZ!m^[d!oek!b[\j!^[h[!o[ij[hZWo*                    /6   mWi!j^[h[!Wdo!jof[!e\!_dikbWj[Z!f_f[i!_d!j^Wj!i^ef;
/7   el[hd_]^j*!mWi!j^[h[!Wdoj^_d]!oek!j[ij_\_[Z!WXekj               /7   !!!!6(!!!!!D\(
0.   o[ij[hZWo!j^Wj!oek!mWdj!je!Y^Wd][!jeZWo;                        0.   !!!!L,!!!!!JaWo,!!?_Z!oek![l[h!i[[!Wdo!YedjhWYjehi
0/   !!!!6(!!!!!D\(                                                  0/   Yec[!_dje!j^[!i^ef!WdZ!Ze!Wdo!jof[!e\!meha!m_j^
00   !!!!L,!!!!!JaWo,!!<dZ!oek!m[h[!++!oek!jebZ!ki!j^Wj              00   _dikbWj_ed;
01   oek!c[j!Hh,!=h_dZ[bb!X[YWki[!oek!m[h[!_d!j^[                    01   !!!!6(!!!!!D\(
02   ^kdj_d]!YbkX!je][j^[h,!!<dZ!oek!m[h[!Wia[Z!_\!oek               02   !!!!L,!!!!!JaWo,!!<dZ!m^[d!D!iWo!_dikbWj_ed*!Ze
03   m[h[!h[bWj[Z!je!^_c,!!R[h[!oek!h[bWj[Z!je!^_i!m_\[              03   oek!adem!m^Wj!D%c!jWba_d]!WXekj;


                     FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
              $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                           @(!ARVaU!F\YRa\                                                      @(!ARVaU!F\YRa\
                          <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                          KW][!02.                                                           KW][!02/
 /   !!!!6(!!!!!MRNU&!fRNU(                                           /   j^[o![l[h!Yel[h[Z!_d!Zkij*!j^[!jhW_b[hi!j^[ci[bl[i;
 0   !!!!L,!!!!!JaWo,!!R^Wj!_i!_dikbWj_ed!je!oek;                     0   !!!!6(!!!!!D\(
 1   !!!!6(!!!!!6!YNfR_!\S!S\NZ!\_!`\ZRaUV[T!a\!XRR]                  1   !!!!L,!!!!!JaWo,!!?e!oek!adem!_\!Hh,!++!m[bb*!m[h[
 2   aUR!dRNaUR_!\ba!\_!^bVRa!aUR!`\b[Q(                              2   oek!WmWh[!j^Wj!Hh,!=h_dZ[bb!^WZ!X[[d!Z_W]dei[Z!m_j^
 3   !!!!L,!!!!!JaWo,!!R[h[!j^[h[!Wdo!f_f[i!hkdd_d]                   3   bkd]!YWdY[h!_d!0./4;
 4   j^hek]^!j^[!i^ef!j^Wj!^WZ!W!fhej[Yj_l[!Yel[h_d]!ed               4   !!!!6(!!!!!D\(
 5   j^[c!je!a[[f!f[efb[!\hec!X[_d]!Xkhd[Z!eh!Wdoj^_d]                5   !!!!L,!!!!!JaWo,!!C[!Z_Zd%j!YWbb!oek!W\j[h!^_i
 6   b_a[!j^Wj;                                                       6   Z_W]dei_i!m_j^!bkd]!YWdY[h;
 7   !!!!6(!!!!!D\(                                                   7   !!!!6(!!!!!>R!Zb`a!UNcR!XR]a!aUNa!a\!UVZ`RYS(
/.   !!!!L,!!!!!JaWo,!!<dZ!m[%h[!_d!Nekj^!Gek_i_WdW*                 /.   !!!!L,!!!!!JaWo,!!?e!oek!adem!Wdoj^_d]!WXekj!Hh,
//   Xkj!^em!mWi!j^Wj!i^ef!^[Wj[Z;                                   //   =h_dZ[bb%i!^[Wbj^!_iik[i;
/0   !!!!6(!!!!!>NQ!RYRPa_VP!URNaR_`!aUNa!Ub[T!S_\Z!aUR              /0   !!!!6(!!!!!?!X[Rd!UR!UNQ!`\ZR!XV[Q!\S!OY\\Q
/1   _\\S(                                                           /1   ]_R``b_R!]_\OYRZ(
/2   !!!!L,!!!!!JaWo,!!R^[d!oek!meha[Z!ed!Wdo!e\!j^[i[               /2   !!!!L,!!!!!JaWo,!!CWl[!Wdo!e\!oekh!ej^[h!Yemeha[hi
/3   jhW_b[hi*!^WZ!Wdo!e\!j^[c!Yec[!e\\!e\!W!i^_f!WdZ                /3   \hec!Kk[hje!M_Ye!HWh_d[!YedjWYj[Z!oek!je!iWo!j^Wj
/4   ^WZ!dej!X[[d!Yb[Wd[Z!ekj!X[\eh[!oek!]koi!meha[Z!ed              /4   j^[o!^Wl[!Wdo!jof[!e\!Z_i[Wi[!eh!^[Wbj^+h[bWj[Z
/5   j^[c;                                                           /5   _iik[i!j^Wj!j^[o!X[b_[l[!j^Wj!j^[o!YedjhWYj[Z!m^[d
/6   !!!!6(!!!!!I\ZRaVZR`(                                           /6   j^[o!m[h[!meha_d]!Wj!Kk[hje!M_Ye!HWh_d[;
/7   !!!!L,!!!!!JaWo,!!<dZ!Ze!oek!adem!m^Wj!Wdo!e\                   /7   !!!!6(!!!!!LR!Y\`a!P\[aNPa!dVaU!RNPU!\aUR_(
0.   j^[i[!jhW_b[hi!YedjW_d[Z!j^Wj!^WZd%j!X[[d!Yb[Wd[Z               0.   !!!!L,!!!!!JaWo,!!Ne!m^[d!_i!j^[!bWij!j_c[!oek!^WZ
0/   ekj!X[\eh[!oek!meha[Z!ed!j^[c;                                  0/   ]ed[!^kdj_d]!m_j^!Hh,!=h_dZ[bb;
00   !!!!6(!!!!!D\(!!?!Q\[#a!X[\d(!!C\`a!\S!aURZ!dR_R                00   !!!!6(!!!!!BN`a!fRN_(
01   dN`URQ!ORS\_R!aURf!PNZR!V[!b[YR``!Va!dN`!N[!b_TR[a              01   !!!!L,!!!!!JaWo,!!?_Z!Kk[hje!M_Ye!HWh_d[!^Wl[!Wdo
02   W\O!aUNa!f\b!UNQ!a\!TRa!Va!\ba(                                 02   Yb[Wdkf!Yh[mi!j^Wj!mekbZ!Yec[!_d!WdZ!Yb[Wd!kf!j^[
03   !!!!L,!!!!!JaWo,!!R[h[!Wdo!e\!j^[i[!jhW_b[hi*!m[h[              03   i^ef!W\j[h!oek!]koi!Z_Z!oekh!meha;


                     FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
              $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
              Case 2:21-cv-00216-NJB-DMD
                     @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                     Page 93 of 565
                         <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                        KW][!020                                                             KW][!021
 /   !!!!6(!!!!!E[PR!V[!NdUVYR(                                     /   !!!!6(!!!!!MR`(
 0   !!!!L,!!!!!<dZ!m^[d!oek!iWo!"edY[!_d!Wm^_b[*"!m^Wj             0   !!!!L,!!!!!T[W^,!!Oee!^ej!^[h[!dej!je!X[,
 1   Ze[i!j^Wj!c[Wd;                                                1   !!!!!!!!!!!Ne*!_d!j^[!ikcc[h*!^[%Z!^Wl[!je!a[[f
 2   !!!!6(!!!!!D\a!cR_f!\SaR[(!!CNfOR!adVPR!N!fRN_(                2   j^[!Zeeh!Ybei[Z!je!a[[f!j^[!W_h!YedZ_j_ed!_d*
 3   LR!dR_R!_R`]\[`VOYR!S\_!PYRN[V[T!Va!\b_`RYcR`(                 3   h_]^j;
 4   !!!!L,!!!!!JaWo,!!<dZ!m^Wj!Z_Z!oek!]koi!Ze!je                  4   !!!!6(!!!!!MRNU&!?!d\bYQ!`Nf!`\(!!7ba!UR!YRSa!Va
 5   Yb[Wd!kf!oekh!meha!Wh[W;                                       5   \]R[!N!Y\a(!!?!Q\[#a!X[\d!dUf(
 6   !!!!6(!!!!!C\`aYf!`dR]a(                                       6   !!!!L,!!!!!JaWo,!!RWi!j^[!i^ef!W_h!YedZ_j_ed[Z
 7   !!!!L,!!!!!JaWo,!!<dZ!D!Zed%j!h[c[cX[h!_\!j^_i!mWi             7   j^Wj!oek!]koi!meha[Z!_d;
/.   Wia[Z!eh!dej,!!R^[d!oek!im[fj*!Z_Z!oek!fkj!iec[!e\            /.   !!!!6(!!!!!D\(
//   j^Wj!++!D%c!jho_d]!je!h[c[cX[h!++                             //   !!!!L,!!!!!CWZ!je!Wia,!!<bb!h_]^j,
/0   !!!!6(!!!!!<BEEH'9HM5                                         /0   !!!!!!!!!!!<bb!h_]^j,!!Tek!jebZ!ki!o[ij[hZWo!++
/1   !!!!L,!!!!!T[W^,                                              /1   WdZ!D%c!W!l_ikWb!f[hied*!ie!beea_d]!Wj!j^Wj!ZhWm_d]
/2   !!!!6(!!!!!?S!f\b!UNQ!N[!\VY!`]VYY&!f\b!QVQ(                  /2   oek!Z_Z!mWi!l[ho!_d\ehcWj_l[!je!c[,!!Tekh!XWo!mWi
/3   !!!!L,!!!!!JaWo,!!RWi!++!D%c!j^_da_d]!XWYa!je                 /3   Wj!j^[![dZ!\khj^[ij!WmWo!\hec!^_i!e\\_Y[!WdZ!_j!mWi
/4   iY^eeb!m^[d!j^[o!ki[Z!je!fkj!iec[!a_dZ!e\!cWj[h_Wb            /4   d[nj!je!W!mWbb;
/5   ed!j^[!\beeh!X[\eh[!j^[o!mekbZ!Ze!j^[!im[[f_d]!je             /5   !!!!6(!!!!!8\__RPa(
/6   a[[f!Zemd!j^[!Zkij,!!?_Z!oek!]koi!^Wl[!j^Wj*!ej^[h            /6   !!!!L,!!!!!JaWo,!!Iem*!oek!jebZ!ki!j^Wj!oek!^WZ!W
/7   j^Wd!j^[!JDG+?MD;                                             /7   \Wd!WdZ!oek!mekbZ!fei_j_ed!j^[!\Wd!je!Xbem!ed!oek
0.   !!!!6(!!!!!D\(!!LR!QVQ[#a!UNcR!N[faUV[T(                      0.   ie!_j!mekbZ!Xbem!j^[!Yeeb!W_h!ed!oek9!_i!j^Wj
0/   !!!!L,!!!!!JaWo,!!<dZ!Z_Z!Hh,!=h_dZ[bb!_dijhkYj               0/   h_]^j;
00   oek!]koi!je!Ze!j^[!im[[f_d];                                  00   !!!!6(!!!!!MR`(
01   !!!!6(!!!!!MR`(                                               01   !!!!L,!!!!!<bb!h_]^j,!!Ne!D%c!jho_d]!je!\_]kh[
02   !!!!L,!!!!!JaWo,!!RWi!Hh,!=h_dZ[bb%i!e\\_Y[!W_h               02   j^_i!ekj,!!RWi!j^[!\Wd!X[jm[[d!j^[!mWbb!WdZ!j^[
03   YedZ_j_ed[Z;                                                  03   XWo;


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                          @(!ARVaU!F\YRa\                                                      @(!ARVaU!F\YRa\
                         <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                        KW][!022                                                             KW][!023
 /   !!!!6(!!!!!?a!QR]R[Q`!\[!dUNa!`VQR!\S!aUR!a_NVYR_              /   !!!!6(!!!!!D\(!!?!a_VRQ!a\!TRa!Va!a\!OY\d!aUR!Qb`a
 0   f\b!dR_R!d\_XV[T!\[(                                           0   NdNf!S_\Z!ZR(
 1   !!!!L,!!!!!O^Wj%i!m^Wj!D!mWi!medZ[h_d],!!T[W^,                 1   !!!!L,!!!!!@nWYjbo,!!JaWo,
 2   JaWo,!!Ne!^[bf!c[!m_j^!j^Wj,                                   2   !!!!!!!!!!!<dZ!ie!m^[d!Hh,!=h_dZ[bb!mWi!Yec_d]!kf*
 3   !!!!!!!!!!!Ne!iec[j_c[i!j^[!\Wd!mekbZ!X[!X[jm[[d               3   ^[!mekbZ!ijWdZ!X[^_dZ!oek*!WdZ!j^[!Zkij!mWi!Xbem_d]
 4   j^[!mWbb!WdZ!j^[!XWo!_\!oek!m[h[!meha_d]!ed!j^[!++             4   WmWo!\hec!^_c*!Wi!m[bb*!h_]^j;
 5   !!!!6(!!!!!E[!aUNa!`VQR(                                       5   !!!!6(!!!!!I\ZRaVZR`!NdNf&!`\ZRaVZR`!\[(
 6   !!!!L,!!!!!JaWo,!!<dZ!j^[d*!m^[d!oek!mekbZ!meha!ed             6   !!!!L,!!!!!J^,!!Heh[!e\j[d!j^Wd!dej*!^[!mekbZd%j
 7   j^[!ej^[h!i_Z[!e\!j^[!jhW_b[h*!m^[h[!mekbZ!oek                 7   ijWdZ!_d!j^[!Zkij*!mekbZ!^[;
/.   fei_j_ed!j^[!\Wd!j^[d;                                        /.   !!!!6(!!!!!D\&!Oba!UR#Q!]_\ONOYf!dNYX!aU_\bTU!Va(
//   !!!!6(!!!!!Fba!Va!Of!aUR!ONPX!Q\\_!OY\dV[T!\[a\               //   >\d!V`!aUNa5
/0   f\b(                                                          /0   !!!!L,!!!!!JaWo,!!C[!cWo!^Wl[!mWba[Z!j^hek]^!_j;
/1   !!!!L,!!!!!JaWo,!!Ne!_j%i!Xo!j^[!XWYa!Zeeh,!!RekbZ            /1   J^,!!C[!Z_Zd%j!ijWdZ!j^[h[!WdZ!b[j!_j!Xbem!ed!^_c9
/2   _j!X[!Xbem_d]*!b[j%i!iWo!jemWhZ!j^[!\hedj*!ie!_j%i            /2   _i!j^Wj!W!\W_h!ijWj[c[dj;
/3   fei_j_ed[Z!ie!_\!oek%h[!meha_d]!ed![_j^[h!j^[!\hedj           /3   !!!!6(!!!!!MRNU(!!JUNa#`!N!SNV_!`aNaRZR[a!S\_
/4   eh!j^[!XWYa!e\!j^[!jhkYa*!j^[!\Wd!_i!Wbh[WZo                  /4   `b_R(
/5   fei_j_ed[Z!ie!_j%i!Xbem_d]!++!WdZ!D!Zed%j!adem!^em            /5   !!!!L,!!!!!JaWo,!!BeeZ*!]eeZ,
/6   oek!fWha!j^[i[!jhW_b[hi!_d!j^[h[*!m^Wj!oek!YWbb!j^[           /6   !!!!!!!!!!!Tek*!oek!jebZ!Hh,!CWhj!iec[j^_d]
/7   \hedj!WdZ!j^[!XWYa*!Xkj!oek!i[[!m^Wj!D%c!iWo_d];              /7   o[ij[hZWo!WXekj!j^[!Wnb[!cWdk\WYjkh[hi,!!<dZ!oek
0.   !!!!6(!!!!!?!Wb`a!''!?!Wb`a!UNQ!aURZ!OY\dV[T!\[!ZR            0.   iW_Z!iec[j_c[i!oek!ad[m!_j!mWi!++!D!j^_da!cWoX[!oek
0/   a\!XRR]!ZR!P\\Y!dUVYR!?#Z!d\_XV[T!N[Q!a_fV[T!a\               0/   iW_Z!W!kj_b_jo!jhW_b[h!X[YWki[!e\!j^[!Yecfkj[h*!_j
00   XRR]!aUR!Qb`a!\SS!\S!Zf!O\Qf(                                 00   YekbZ!j[bb!oek!++
01   !!!!L,!!!!!M_]^j,!!Ne!oek!^WZ!_j!fei_j_ed!++!ie               01   !!!!6(!!!!!JUR!`R_VNY![bZOR_(
02   oek!mekbZ!d[l[h!fei_j_ed!_j!ie!_j!mekbZ!Xbem!j^[              02   !!!!L,!!!!!++!_\!oek!YekbZd%j!i[[!j^[!dWc[;
03   Zkij!h_]^j!_dje!oek;                                          03   !!!!6(!!!!!JUR!`R_VNY![bZOR_!PN[!aRYY!f\b(


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                 Case 2:21-cv-00216-NJB-DMD
                        @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                        Page 94 of 565
                           <RO_bN_f!,*&!,*,*                                                   <RO_bN_f!,*&!,*,*

                                                          KW][!024                                                           KW][!025
 /   !!!!L,!!!!!JaWo,!!RWi!j^Wj!W\j[h!/76/!m^[d!j^Wj                  /   XhWdZ!d[m!Njh_Ya!jhW_b[h;
 0   ^Wff[d[Z;                                                        0   !!!!6(!!!!!D\&!?!PN[#a(
 1   !!!!6(!!!!!?!Q\[#a!X[\d!aUNa!N[`dR_(                             1   !!!!L,!!!!!JaWo,!!<dZ!D!adem!oek!jebZ!ki!j^Wj!oek
 2   !!!!L,!!!!!JaWo,!!Tek!YWd%j!]_l[!ki!W!j_c[!\hWc[*                2   iWm!j^[!dWc[!ed!j^[!i_Z[!e\!j^[!jhW_b[h,!!>Wd!oek
 3   h_]^j;                                                           3   Z[iYh_X[!\eh!c[!m^Wj!j^[!Njh_Ya!dWc[!beea[Z!b_a[;
 4   !!!!6(!!!!!8\__RPa(                                              4   !!!!6(!!!!!>N_Q!a\!`Nf(!!Ia_VPX&!?!aUV[X!dN`!V[
 5   !!!!L,!!!!!JaWo,!!O^Wda!oek,!!<bb!h_]^j,                         5   aUR!ZVQQYR!Na!aUR!a\]!V[!aUR!S_\[a(!!?!Q\[#a!aUV[X
 6   !!!!!!!!!!!<dZ!oek%l[!]_l[d!ki!++!oek%l[!jWba[Z                  6   aURf!dR_R!\[!aUR!`VQR(
 7   jeZWo!++!m[bb*!oek!jWba[Z!o[ij[hZWo!je!Hh,!CWhj                  7   !!!!L,!!!!!JaWo,!!?e!oek!h[c[cX[h!++
/.   WXekj!kj_b_jo!jhW_b[hi!WdZ!oek!jWba[Z!jeZWo!je!Hi,              /.   !!!!6(!!!!!6[Q!aURf!dR_R!\[!aUR!Q\\_!V[!aUR!ONPX(
//   UWdel[Y!WXekj!j^[!Gk\a_d!jhW_b[hi,                              //   !!!!L,!!!!!R^Wj;
/0   !!!!!!!!!!!O^[!Njh_Ya!jhW_b[hi*!Z_Z!oek!meha!ed                 /0   !!!!6(!!!!!?a!dN`!\[!aUR!Q\\_!V[!aUR!ONPX(
/1   j^[i[!Njh_Ya!jhW_b[hi!Wdo!Z_\\[h[djbo!j^Wd!oek                  /1   !!!!L,!!!!!JaWo,!!<dZ!Ze!oek!h[YWbb!j^[!Yebeh;
/2   meha[Z!ed!Wdo!e\!j^[!ej^[h!jhW_b[hi;                            /2   !!!!6(!!!!!D\(
/3   !!!!6(!!!!!LR!d\_XRQ!\[!aURZ!NYY!aUR!`NZR(                      /3   !!!!L,!!!!!JaWo,!!<dZ!Ze!oek!adem!m^Wj*!m^Wj!i_p[
/4   !!!!L,!!!!!JaWo,!!Ne!j^[!Wdim[hi!oek!]Wl[!je!Hh,                /4   _j!mWi;!!>ekbZ!oek!Z[iYh_X[!X_]!eh!icWbb!eh!++
/5   CWhj!WdZ!Hi,!!UWdel[Y!mekbZ!X[!j^[!iWc[!_\!D!Wia[Z              /5   !!!!6(!!!!!JdRYcR&!+.!V[PUR`!\cNY!$V[QVPNaV[T%(
/6   oek!j^ei[!gk[ij_edi!WXekj!j^[!Njh_Ya!jhW_b[hi*                  /6   !!!!HN,!=<SO@M8
/7   h_]^j;                                                          /7   !!!!!!!!!!!JaWo,!!D!j^_da!j^Wj%i!Wbb!co!gk[ij_edi,
0.   !!!!6(!!!!!MR`(                                                 0.   !!!!OC@!RDOI@NN8
0/   !!!!L,!!!!!JaWo,!!<dZ!ed[!e\!j^[!j^_d]i!D!^Wl[!je               0/   !!!!!!!!!!!O^Wda!oek,
00   Wia8!!Tek!Zed%j!adem!j^[!cW_dj[dWdY[!^_ijeho!e\!Wdo             00   !!!!HN,!=<SO@M8
01   Njh_Ya!jhW_b[h!oek!meha[Z!ed*!h_]^j;                            01   !!!!!!!!!!!D\!D!j^_da!e\!iec[!ceh[*!D%bb!X[!XWYa*
02   !!!!6(!!!!!8\__RPa(                                             02   Xkj!j^Wda!oek!l[ho!ckY^,
03   !!!!L,!!!!!JaWo,!!?e!oek!h[YWbb![l[h!meha_d]!ed!W               03   !!!!!!!!!!!J^*!b[j!c[!h[c[cX[h!je!jWa[!j^_i!e\\


                     FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
              $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                     @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                   <RO_bN_f!,*&!,*,*

                                                          KW][!026                                                           KW][!027
 /   X[\eh[!D!mWba!WmWo,                                              /   !!!!6(!!!!!LUR[!?!YRSa!aUR_R!V[!#30(
 0   !!!!OC@!RDOI@NN8                                                 0   !!!!L,!!!!!<bb!h_]^j,!!<dZ!oek%h[!dej!WXb[!je!j[bb
 1   !!!!!!!!!!!D!Wbceij!Z_Z!_j!o[ij[hZWo,!!F_dZ!e\                   1   c[!j^[!dkcX[h!e\!R_bied!jhW_b[hi!i[hl_Y[Z!m^[d!oek
 2   b_a[!W!\eejXWbb!fbWo[h,                                          2   meha[Z!m_j^!Hh,!=h_dZ[bb*!Wh[!oek;
 3   !!!!HN,!JMHN=T8                                                  3   !!!!6(!!!!!LUNa&!aUR!aU_RR!fRN_`!UR!dN`!aUR_R5
 4   !!!!!!!!!!!D%bb!]e*!eaWo,                                        4   8\b]YR!\S!Ub[Q_RQ(
 5   @S<HDI<ODJI!=T!HN,!JMHN=T8                                       5   !!!!L,!!!!!<h[!oek!WXb[!je!j[bb!c[!j^[!dkcX[h!e\
 6   !!!!L,!!!!!HWa[!ikh[!D!^Wl[!oek!_d!^[h[,                         6   R_bied!jhW_b[hi!i[hl_Y[Z!m^[d!Hh,!=h_dZ[bb!mWi
 7   !!!!!!!!!!!C_,                                                   7   fh[i[dj;
/.   !!!!6(!!!!!>RYY\(                                               /.   !!!!6(!!!!!?#Z!`\__f5
//   !!!!L,!!!!!D%c!=WhXWhW!JhciXo,!!BeeZ!je!c[[j!oek,               //   !!!!L,!!!!!R^[d!Hh,!=h_dZ[bb!mWi!fh[i[dj!m^[d!oek
/0   D%c!iehj!e\!f_dY^!^_jj_d]*!ie!`kij!X[Wh!m_j^!c[!W               /0   m[h[!meha_d]!ed!W!R_bied!jhW_b[h,
/1   b_jjb[!X_j!\hec!o[ij[hZWo,                                      /1   !!!!6(!!!!!?!d\bYQ!`Nf!UNYS!\S!aU\`R(
/2   !!!!!!!!!!!D!`kij!d[[Z!je!Wia!oek!iec[!\ebbem+kfi               /2   !!!!L,!!!!!R[h[!j^[!R_bied!jhW_b[hi!jee!X_]!je!\_j
/3   WXekj!W!\[m!fheZkYji!eh!dWc[i!j^Wj!oek!c[dj_ed[Z,               /3   _d!j^[!]WhW][;
/4   O^[!\_hij!_i!R_bied,!!Tek!c[dj_ed[Z!R_bied                      /4   !!!!6(!!!!!D\&!bU'bU!$[RTNaVcR!_R`]\[`R%(
/5   o[ij[hZWo;                                                      /5   !!!!L,!!!!!JaWo,!!R^Wj!mWi!j^[!jof[!e\!jhW_b[h
/6   !!!!6(!!!!!MR`&!ZN#NZ(                                          /6   i[hl_Y[Z9!mWi!_j!\bWj!++!\eh!R_bied;!!RWi!_j!W
/7   !!!!L,!!!!!<h[!oek!WXb[!je!j[bb!c[!j^[!\_hij!j_c[               /7   \bWjX[Z*!]eei[d[Ya*!]hW_d9!Ze!oek!adem;
0.   oek!iWm!W!R_bied!jhW_b[h!Wj!++                                  0.   !!!!6(!!!!!LR!UNQ!SYNaORQ`!N[Q!dR!UNQ!O\eR`&!PN_T\
0/   !!!!6(!!!!!JUNa#`!UN_Q!S\_!ZR!a\!N[`dR_!aUNa(                   0/   O\e!N[Q!SYNaORQ`(
00   F_\ONOYf!dVaUV[!aUR!SV_`a!fRN_!?!d\_XRQ!aUR_R&!?                00   !!!!L,!!!!!<dZ!j^_i!mWi!++!j^[i[!Wh[!j^[!R_bied
01   d\bYQ!`Nf(                                                      01   jhW_b[hi!m[%h[!jWba_d]!WXekj;
02   !!!!L,!!!!!<dZ!j^[!bWij!j_c[!oek!iWm!W!R_bied                   02   !!!!6(!!!!!MR`(
03   jhW_b[h!j^[h[;                                                  03   !!!!L,!!!!!<h[!oek!WXb[!je!j[bb!c[!j^[!i[h_Wb


                     FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
              $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
              Case 2:21-cv-00216-NJB-DMD
                     @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                     Page 95 of 565
                           <RO_bN_f!,*&!,*,*                                                 <RO_bN_f!,*&!,*,*

                                                        KW][!03.                                                             KW][!03/
 /   dkcX[h!eh!ceZ[b!dkcX[h!e\!j^[!R_bied!jhW_b[hi;                 /   f[h\ehc[Z!ed!j^[!R_bied!jhW_b[h!m^[d!oek!meha[Z
 0   !!!!6(!!!!!D\(                                                 0   j^[h[;
 1   !!!!L,!!!!!<h[!oek!WXb[!je!j[bb!c[!m^e!fkhY^Wi[Z               1   !!!!6(!!!!!LRYY&!aUR!`U\]!''!aUR!d\_X!dR!QVQ!V[
 2   j^[!R_bied!jhW_b[hi;                                           2   aUR!`U\]!d\bYQ!OR!aUR!YN[QV[T!''!aUR!YN[QV[T!TRN_&
 3   !!!!6(!!!!!FN_Q\[!ZR5                                          3   aUR!YRT`!\_!aUR!O_NXR`!\_!aUR!YVTUa`(
 4   !!!!L,!!!!!R^e!fkhY^Wi[Z!j^[!R_bied!jhW_b[hi;                  4   !!!!L,!!!!!O[bb!c[*!m^e![bi[!mWi!fh[i[dj!m^[d!j^[
 5   !!!!6(!!!!!9VQ!?!''                                            5   R_bied!jhW_b[h!mWi!X[_d]!i[hl_Y[Z;
 6   !!!!L,!!!!!<h[!oek!WXb[!je!j[bb!c[!m^e!fkhY^Wi[Z               6   !!!!6(!!!!!HR]RNa!Va(
 7   j^[!R_bied!jhW_b[h;                                            7   !!!!L,!!!!!R^e![bi[!mWi!fh[i[dj!m^[d!j^[!R_bied
/.   !!!!6(!!!!!EU&![\(!!?!PN[#a!`Nf(!!?!Q\[#a!X[\d(               /.   jhW_b[h!mWi!X[_d]!i[hl_Y[Z;
//   !!!!L,!!!!!?e!oek!adem!_\!j^[o!m[h[!b[Wi[Z;                   //   !!!!6(!!!!!6YY!aUR!ZRPUN[VP`!V[!aUR!`U\](
/0   !!!!6(!!!!!C\_R!aUN[!YVXRYf&!aURf!dR_R!YRN`RQ!\_              /0   !!!!L,!!!!!<bb!h_]^j,!!O^[!c[Y^Wd_Yi!oek!c[dj_ed[Z
/1   aUR!P\Z]N[f!aUNa!dN`!b`V[T!aURZ!a\!`UV]!`\ZRaUV[T             /1   [Whb_[h;
/2   PNZR!aU_\bTU!\b_!aR_ZV[NY(                                    /2   !!!!6(!!!!!6YY!aUR!ZRPUN[VP`!?!ZR[aV\[RQ!RN_YVR_(
/3   !!!!L,!!!!!JaWo,!!=kj!oek!mekbZd%j!X[!WXb[!je!j[bb            /3   !!!!L,!!!!!JaWo,!!<doXeZo![bi[!j^Wj!m[!^Wl[d%j
/4   c[!j^[d!m^e!emd[Z!j^[!R_bied!jhW_b[hi;                        /4   ifea[d!WXekj;
/5   !!!!6(!!!!!?!P\bYQ[#a!aRYY!f\b!dU\!\d[RQ!Va(                  /5   !!!!6(!!!!!C_(!7_V[QRYY!d\bYQ!]N``!aU_\bTU!aUR
/6   !!!!L,!!!!!<h[!oek!WXb[!je!j[bb!c[!eh!Z[iYh_X[!j^[            /6   `U\](
/7   Z[YWb!eh!be]e!e\!j^[!R_bied!ed!j^[!jhW_b[h;                   /7   !!!!L,!!!!!M_]^j,!!JaWo,
0.   !!!!6(!!!!!JUR!Y\T\5                                          0.   !!!!!!!!!!!<doXeZo![bi[*!Wi!oek!i_j!^[h[!jeZWo*
0/   !!!!L,!!!!!P^+^k^!&W\\_hcWj_l[!h[ifedi[',                     0/   j^Wj!oek!YWd!j^_da!e\!j^Wj!cWo!^Wl[!X[[d!fh[i[dj
00   !!!!6(!!!!!?a!dN`!N!ZRaNY!]YNaR(                              00   m^[d!j^[!R_bied!jhW_b[hi!m[h[!X[_d]!i[hl_Y[Z;
01   !!!!L,!!!!!<bb!h_]^j,                                         01   !!!!6(!!!!!D\(
02   !!!!6(!!!!!IVYcR_!N[Q!OYNPX&!?#Z!]_Raaf!`b_R(                 02   !!!!L,!!!!!Tek!jebZ!ki![l[hoXeZo;!!IeXeZo![bi[
03   !!!!L,!!!!!<bb!h_]^j,!!R^Wj!jof[!e\!i[hl_Y[!mWi               03   feff[Z!_d!oekh!^[WZ;


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                   @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                 <RO_bN_f!,*&!,*,*

                                                        KW][!030                                                             KW][!031
 /   !!!!6(!!!!!?!Q\[#a!aUV[X!N[fO\Qf!RY`R&!a\!aUR!OR`a             /   !!!!6(!!!!!J\!Q\!\[R!P\Z]YRaR!NeYR!aNXR`!NO\ba!N[
 0   \S!Zf!dUNaRcR_!$V[QVPNaV[T%(                                   0   U\b_(
 1   !!!!L,!!!!!JaWo,!!<dZ!D!X[b_[l[!oek!c[dj_ed[Z!iec[             1   !!!!L,!!!!!<dZ!j^[!ebZ!++!j^[!ebZ!XhWa[!++!XhWa[i
 2   XhWa[!h[fbWY[c[dj,!!Ho!gk[ij_ed!_i8!!Jd!m^Wj!jof[              2   ed!R_bied!jhW_b[hi*!D!c[Wd*!j^[o!m[h[!fh[jjo!Z_hjo*
 3   e\!Zhkc!\eh!j^[!R_bied!jhW_b[hi*!m^Wj!jof[!e\!Zhkc             3   Zkijo;
 4   m[h[!ed!j^[!R_bied!jhW_b[hi!m^[h[!j^[!XhWa[                    4   !!!!6(!!!!!$LVa[R``![\QQRQ!URNQ!NSSV_ZNaVcRYf(%
 5   h[fbWY[c[dj!mWi!X[_d]!f[h\ehc[Z;!!O^[!jof[!e\!Zhkc,            5   !!!!L,!!!!!Tek!X[b_[l[!j^[!Zkij!mWi!\hec!Z_hj!ed
 6   !!!!6(!!!!!LUNa!af]R!\S!Q_bZ5                                  6   j^[!ebZ!jhW_b[hi;
 7   !!!!L,!!!!!P^+^k^!&W\\_hcWj_l[!h[ifedi[',                      7   !!!!6(!!!!!?a#`!Z\`aYf!S_\Z!aUR!O_NXR!`U\R`
/.   !!!!6(!!!!!?!Q\[#a!X[\d!dUNa!aUR!Q_bZ`!dR_R(                  /.   QV`V[aRT_NaV[T!\cR_!aVZR(
//   !!!!L,!!!!!<bb!h_]^j,!!Tek!mekbZ!W]h[[!j^Wj!W                 //   !!!!L,!!!!!?_Z!++!j^[!jhkYai!f_Ya[Z!kf!W!bej!e\
/0   XhWa[!h[fbWY[c[dj!ed!W!R_bied!jhW_b[h!mWi!W                   /0   Z_hj!`kij!\hec!++
/1   h[bWj_l[bo!\W_hbo!i^ehj!fheY[ii;                              /1   !!!!6(!!!!!JURf!UNQ!`\ZR!QV_a!N[Q!Qb`a!\[!aURZ&
/2   !!!!6(!!!!!LN`!dUNa5                                          /2   fRNU(
/3   !!!!L,!!!!!<!\W_hbo!i^ehj!fheY[ii,                            /3   !!!!L,!!!!!R^[h[!m[h[!j^[!h[fbWY[c[dj!cWj[h_Wbi
/4   !!!!6(!!!!!<NV_Yf5                                            /4   fkhY^Wi[Z!\eh!j^[!G_dYebd!jhW_b[hi;
/5   !!!!L,!!!!!N^ehj,!!Nehho,                                     /5   !!!!6(!!!!!LUR_R!dN`!dUNa!]b_PUN`RQ5
/6   !!!!6(!!!!!IU\_a5                                             /6   !!!!L,!!!!!O^[!h[fbWY[c[dj!cWj[h_Wbi,
/7   !!!!L,!!!!!KheY[ii*!o[i,                                      /7   !!!!6(!!!!!?!Q\[#a!X[\d(
0.   !!!!6(!!!!!IU\_a!]_\PR``5!!D\a!_RNYYf!`U\_a&!Oba!N            0.   !!!!L,!!!!!Tek!Zed%j!adem,!!JaWo,
0/   SRd!U\b_`(                                                    0/   !!!!!!!!!!!?e!oek!adem!m^e!mWi!_d!Y^Wh][!e\!j^Wj
00   !!!!L,!!!!!<!\[m!^ekhi,                                       00   el[h!Wj!Kk[hje!M_Ye!HWh_d[;
01   !!!!!!!!!!!<dZ!j^[d*!je!f^oi_YWbbo!h[cel[!W!XhWa[*            01   !!!!6(!!!!!?a!d\bYQ!UNcR!ORR[!aU_\bTU!aUR!]N_a`
02   _j!mekbZ!jWa[!WXekj!/3!c_dkj[i;!!D!j^_da!oek!iW_Z             02   QR]N_aZR[a(!!?!Q\[#a!X[\d!dU\!d\bYQ!OR!V[!PUN_TR!\S
03   j^Wj![Whb_[h,                                                 03   Va(


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                Case 2:21-cv-00216-NJB-DMD
                       @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                       Page 96 of 565
                          <RO_bN_f!,*&!,*,*                                                  <RO_bN_f!,*&!,*,*

                                                        KW][!032                                                             KW][!033
 /   !!!!L,!!!!!Tek!Zed%j!adem!m^e!mWi!_d!Y^Wh][!e\!j^[             /   iWm!++!oek!j^_da!oek!iWm!_j!j^hek]^!%57!j^hek]^
 0   fWhji!Z[fWhjc[dj!Wj!Kk[hje!M_Ye!HWh_d[;                        0   %63;
 1   !!!!6(!!!!!D\(!!7f_\[!9VPXRY!_N[!Va&!Oba!?!Q\[#a               1   !!!!6(!!!!!MRNU(
 2   X[\d!VS!UR!QVQ!aUR!\_QR_V[T(                                   2   !!!!L,!!!!!JaWo,!!<dZ!oek!YWd%j!j[bb!c[!j^[!dkcX[h
 3   !!!!L,!!!!!JaWo,!!Ied[!e\!j^[!XhWa[!i^e[i!iW_Z                 3   e\!j_c[i!W!Ahk[^Wk\!jhW_b[h!mWi!i[hl_Y[Z!m^[d!oek
 4   R_bied!OhW_b[h!ed!j^[c*!Z_Z!j^[o;                              4   meha[Z!m_j^!Hh,!=h_dZ[bb*!YWd!oek;
 5   !!!!6(!!!!!D\[R!\S!aUR!O_NXR`!UNQ!LVY`\[!\[!aUR                5   !!!!6(!!!!!LRYY&!aUR!<_bRUNbS`!dR_R!aUR!Z\_R
 6   O_NXR!`U\R!Va`RYS&![\(                                         6   P\ZZ\[(!!LR!d\_XRQ!\[!N!Y\a!\S!<_bRUNbS`(
 7   !!!!L,!!!!!JaWo,!!<dZ!oek!YWd%j!++!Wh[!oek!WXb[!je             7   !!!!L,!!!!!JaWo,!!D!X[b_[l[![Whb_[h!oek!iW_Z!j^[h[
/.   j[bb!c[!j^[h[!mWi!W!h[f[Wj!XhWa[!`eX!ed!Wdo!R_bied            /.   m[h[d%j!Wi!cWdo!Ahk[^Wk\!jhW_b[hi,!!?e!D!^Wl[!j^Wj
//   jhW_b[h;                                                      //   mhed];
/0   !!!!6(!!!!!6!dUNa5                                            /0   !!!!6(!!!!!LU\5
/1   !!!!L,!!!!!<!h[f[Wj!XhWa[!`eX!ed!Wdo!R_bied                   /1   !!!!L,!!!!!D!X[b_[l[![Whb_[h!oek!iW_Z!j^[h[!m[h[
/2   jhW_b[h,                                                      /2   dej!Wi!cWdo!Ahk[^Wk\!jhW_b[hi!j^[h[!Wi!ej^[hi,
/3   !!!!6(!!!!!?!P\bYQ[#a!N[`dR_!aUNa!^bR`aV\[(                   /3   !!!!6(!!!!!?!`NVQ!aUR_R!dN`![\a!N`!ZN[f5
/4   !!!!L,!!!!!JaWo,!!<bb!h_]^j,!!D!Wbie!^Wl[                     /4   !!!!L,!!!!!P^+^k^!&W\\_hcWj_l[!h[ifedi[',
/5   Ahk[^Wk\*!ie!D!d[[Z!je!Wia!oek!iec[!\ebbem+kfi                /5   !!!!HM,!CD=@T8
/6   WXekj!j^Wj*!j^Wj!ed[*!jee,                                    /6   !!!!!!!!!!!Ie*!^[!Z_Z!dej!iWo!j^Wj,
/7   !!!!6(!!!!!EXNf(                                              /7   !!!!HN,!JMHN=T8
0.   !!!!L,!!!!!JaWo,!!Ne!XWi_YWbbo*!j^[!iWc[!b_d[!e\              0.   !!!!!!!!!!!C[!Z_Zd%j;
0/   gk[ij_edi,                                                    0/   !!!!OC@!RDOI@NN8
00   !!!!!!!!!!!<h[!oek!WXb[!je!j[bb!c[!j^[!\_hij!j_c[             00   !!!!!!!!!!!Ahk[^Wk\!i[[c[Z!b_a[!j^[!ceij!fefkbWh
01   oek!iWm!W!Ahk[^Wk\!jhW_b[h;                                   01   ed[i,
02   !!!!6(!!!!!LUR[!?!SV_`a!`aN_aRQ!aUR_R(                        02   @S<HDI<ODJI!=T!HN,!JMHN=T8
03   !!!!L,!!!!!JaWo,!!<dZ!oek!iW_Z!j^[!iWc[*!oek                  03   !!!!L,!!!!!<bb!h_]^j,!!AW_h![dek]^,


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                           @(!ARVaU!F\YRa\                                                    @(!ARVaU!F\YRa\
                          <RO_bN_f!,*&!,*,*                                                  <RO_bN_f!,*&!,*,*

                                                        KW][!034                                                             KW][!035
 /   !!!!6(!!!!!6[Q!aURV_!Y\T\!dN`!_RQ!N[Q!`VYcR_!VS                /   S\_!aUNa!a_NVYR_(
 0   f\b![RRQ!aUNa(                                                 0   !!!!L,!!!!!<bb!h_]^j,!!=kj!oek!YWd%j!j[bb!c[!j^[
 1   !!!!L,!!!!!M[Z!WdZ!i_bl[h,!!JaWo,!!O^Wda!oek,                  1   jof[!e\!Zhkc*!dej!++
 2   !!!!!!!!!!!<h[!oek!WXb[!je!j[bb!c[!j^[!jof[!e\                 2   !!!!6(!!!!!?!PN[#a!aRYY!f\b!aUNa(
 3   jhW_b[h!i[hl_Y[Z;!!<]W_d*!mWi!_j!\bWjX[Z*                      3   !!!!L,!!!!!M_]^j*!h_]^j,!!<dZ!iWc[!j^_d]*
 4   ]eei[d[Ya9!Ze!oek!adem;                                        4   h[fbWY[c[dj!cWj[h_Wbi!m[h[!fkhY^Wi[Z!eh!j^[o!m[h[
 5   !!!!6(!!!!!<_bRUNbS!dN`!Z\`aYf!O\e!a_NVYR_(                    5   _d!Y^Wh][!Xo!j^_i!=ohed!K,!++
 6   !!!!L,!!!!!=en!jhW_b[h,                                        6   !!!!6(!!!!!MR`(
 7   !!!!!!!!!!!<dZ!oek!YWd%j!j[bb!c[!j^[!i[h_Wb!dkcX[h             7   !!!!L,!!!!!JaWo,!!Bej!_j,
/.   eh!ceZ[b!dkcX[h!e\!W!Ahk[^Wk\!jhW_b[h!j^Wj!mWi                /.   !!!!!!!!!!!<dZ!W]W_d*!oek!YWd%j!j[bb!c[!++!eh!ded[
//   i[hl_Y[Z!j^[h[;                                               //   e\!j^[!XhWa[!i^e[i!iW_Z!Ahk[^Wk\!ed!j^[c*!Z_Z!j^[o;
/0   !!!!6(!!!!!D\(!!?!PN[#a!N[`dR_!aUNa(                          /0   !!!!6(!!!!!?!Q\[#a!aUV[X!`\(!!?!Q\[#a!_RPNYY(
/1   !!!!L,!!!!!<dZ!W]W_d*!oek!Zed%j!adem!m^e!fkhY^Wi[Z            /1   !!!!L,!!!!!<dZ!W]W_d*!oek!YWd%j!++!oek!Zed%j
/2   j^[!Ahk[^Wk\!jhW_b[h*!m^[j^[h!j^[o!m[h[!b[Wi[Z!WdZ            /2   h[YWbb!W!h[f[Wj!XhWa[!`eX!ed!W!Ahk[^Wk\!jhW_b[h*!Ze
/3   oek!YWd%j!j[bb!c[!m^e!emd[Z!j^[c;                             /3   oek;
/4   !!!!6(!!!!!?!PN[[\a(                                          /4   !!!!6(!!!!!6!_R]RNa5
/5   !!!!L,!!!!!<bb!h_]^j,!!<dZ!i_c_bWh!jof[!e\!i[hl_Y[            /5   !!!!L,!!!!!M_]^j,
/6   j^Wj!m[%l[!Wbh[WZo!X[[d!Z_iYkii_d]!j^Wj!mWi                   /6   !!!!6(!!!!!?!PN[#a!N[`dR_!aUNa(
/7   f[h\ehc[Z!++                                                  /7   !!!!L,!!!!!JaWo,!!Tek!YWd%j!iWo!oek!iWm!j^[!mehZ
0.   !!!!6(!!!!!INZR!`R_cVPR&!fR`(                                 0.   "WiX[ijei"!ed!W!XhWa[!i^e[!Xen*!YWd!oek;
0/   !!!!L,!!!!!++!ed!j^[!Ahk[^Wk\;                                0/   !!!!6(!!!!!9VQ!?!`RR!Va5
00   !!!!!!!!!!!JaWo,!!<h[!oek!WXb[!je!j[bb!c[                     00   !!!!L,!!!!!T[W^,
01   h[]WhZ_d]!XhWa[!h[fbWY[c[dj!m^Wj!jof[!e\!Zhkci!m[h[           01   !!!!6(!!!!!?a!dN`!]_\ONOYf!\[!aUR_R(!!?!QVQ[#a!]Nf
02   ed!j^[i[!Ahk[^Wk\!jhW_b[hi;                                   02   NaaR[aV\[!a\!Va(
03   !!!!6(!!!!!?a!dN`!aUR!Q_bZ!aUNa!dN`!ZN[bSNPab_RQ              03   !!!!L,!!!!!=kj!oek!Zed%j!h[YWbb!i[[_d]!WiX[ijei!ed


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                 Case 2:21-cv-00216-NJB-DMD
                        @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                        Page 97 of 565
                          <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                         KW][!036                                                             KW][!037
 /   Wdo!XhWa[!i^e[!Xen*!Ze!oek;                                     /   !!!!6(!!!!!?!QVQ[#a!`RR!UVZ!dVaU!Zf!RfR`(
 0   !!!!6(!!!!!KU'bU!$[RTNaVcR!_R`]\[`R%(                           0   !!!!L,!!!!!Tek!d[l[h!iWm!^_c!_dijWbb!eh!h[cel[!Wd
 1   !!!!L,!!!!!JaWo,!!<dZ!j^[d!++!e^*!oek!Zed%j!++!oek              1   <X[n!fheZkYj;
 2   Zed%j!adem!j^[!cW_dj[dWdY[!^_ijeho!e\!Wdo!jhW_b[hi*             2   !!!!6(!!!!!D\a!dVaU!Zf!RfR`(
 3   WdZ!j^Wj!mekbZ!_dYbkZ[!Ahk[^Wk\!WdZ!R_bied*                     3   !!!!L,!!!!!<dZ!^em!Ze!oek!adem!<X[n9!Z_Z!oek
 4   Yehh[Yj;                                                        4   i[[!++
 5   !!!!6(!!!!!?#Z!`\__f5                                           5   !!!!HN,!JMHN=T8
 6   !!!!L,!!!!!Tek!Zed%j!adem!j^[!cW_dj[dWdY[!^_ijeho               6   !!!!!!!!!!!=b[ii!oek,
 7   e\!Wdo!jhW_b[hi!++                                              7   !!!!HM,!NO<DI@N8
/.   !!!!6(!!!!!?!Q\[#a!X[\d!aUR!UV`a\_f!\S!aURZ&![\(               /.   !!!!!!!!!!!Nehho,
//   !!!!L,!!!!!++!_dYbkZ_d]!R_bied!eh!Ahk[^Wk\;                    //   !!!!OC@!RDOI@NN8
/0   !!!!!!!!!!!<bb!h_]^j,!!GWij!ed[,!!Tek!c[dj_ed[Z                /0   !!!!!!!!!!!=b[ii!oek,
/1   <X[n,!!R^Wj!if[Y_\_YWbbo!Ze!oek!WiieY_Wj[!m_j^                 /1   @S<HDI<ODJI!=T!HN,!JMHN=T8
/2   <X[n;                                                          /2   !!!!L,!!!!!?_Z!oek!i[[!_j!iec[m^[h[;
/3   !!!!6(!!!!!LR!UNQ!`\ZR!6ORe(                                   /3   !!!!6(!!!!!JUR!6ORe5
/4   !!!!L,!!!!!<X[n!m^Wj;                                          /4   !!!!L,!!!!!T[i,
/5   !!!!6(!!!!!7_NXR!`U\R`(                                        /5   !!!!6(!!!!!?a!dN`!`aNZ]RQ!\[!aUR!`U\R(
/6   !!!!L,!!!!!?e!oek!WiieY_Wj[!<X[n!m_j^!Wdo                      /6   !!!!L,!!!!!NjWcf[Z!ed!j^[!i^e[;
/7   fWhj_YkbWh!fWhj!e\!j^[!XhWa[!i^e[;                             /7   !!!!6(!!!!!E[!aUR!YV[R_(
0.   !!!!6(!!!!!D\(                                                 0.   !!!!L,!!!!!RWi!j^[h[!Wdo!be]e*!b[jj[h_d]!j^Wj
0/   !!!!L,!!!!!Ekij!j^[!XhWa[!i^e[;                                0/   ijWdZi!ekj!je!oek*!Yebeh;!!RWi!_j!hW_i[Z*!mWi!_j
00   !!!!6(!!!!!?a!dN`!aUR!O_NXR!]NQ&!O_NXR!`U\R&!NYY               00   fh_dj[Z;
01   \[R!b[Va(                                                      01   !!!!6(!!!!!D\(!!?a!dN`!Wb`a!`aNZ]RQ!V[`VQR(
02   !!!!L,!!!!!@l[h!i[[!Hh,!=h_dZ[bb!f[hiedWbbo!^WdZb[             02   !!!!L,!!!!!NjWcf[Z,
03   Wd!<X[n!fheZkYj;                                               03   !!!!!!!!!!!?e!oek!adem!_\!j^[i[!m[h[!d[m!eh


                    FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
             $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                           @(!ARVaU!F\YRa\                                                      @(!ARVaU!F\YRa\
                          <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                         KW][!04.                                                             KW][!04/
 /   h[\khX_i^[Z;                                                    /   !!!!L,!!!!!Tek!Z_Zd%j!^Wl[!je!Ykj!eh!iWm!W!d[m
 0   !!!!6(!!!!!?!PN[#a!N[`dR_!aUNa(                                 0   <X[n!XhWa[*!Z_Z!oek;
 1   !!!!L,!!!!!@l[h!i[[d!d[m!Xen[i!eh!fWYaW]_d]!\eh                 1   !!!!6(!!!!!D\&!b[YR``!f\b!UNQ!a\!T_V[Q!aURZ!a\!TRa
 2   j^[i[!<X[n!XhWa[!i^e[i;                                         2   aURZ!a\!T\!\cR_!aUR!Q_bZ(
 3   !!!!6(!!!!!JURf!PNZR!V[!O\eR`!`\ZRaVZR`(                        3   !!!!L,!!!!!<dZ!W]W_d*!oek!d[l[h!iWm!Hh,!=h_dZ[bb
 4   !!!!L,!!!!!R^e!Z[b_l[h[Z!j^ei[;                                 4   f[h\ehc!Wdo!e\!j^Wj!meha;
 5   !!!!6(!!!!!?!Q\[#a!X[\d!aUNa(                                   5   !!!!6(!!!!!?!QVQ[#a!`RR!UVZ&![\(
 6   !!!!L,!!!!!R^e!h[Y[_l[Z!j^[c;                                   6   !!!!L,!!!!!R^[d!oek!h[cel[Z!Wd!ebZ!XhWa[*!j^[i[
 7   !!!!6(!!!!!JUR!]N_a`!QR]N_aZR[a(                                7   m[h[!Wbb!ki[Z!kf*!]kdao!WdZ!]h[Wio;
/.   !!!!L,!!!!!JaWo,!!O^Wj%i!j^_i!iWc[!]ko*!=ohed;                 /.   !!!!6(!!!!!LR_R!aURf!dUNa5
//   !!!!6(!!!!!KU'UbU!$NSSV_ZNaVcR!_R`]\[`R%(                      //   !!!!L,!!!!!<bb!ki[Z!kf*!]kdao!WdZ!]h[Wio,
/0   !!!!L,!!!!!<dZ!m^[h[!m[h[!j^[o!^eki[Z;                         /0   !!!!6(!!!!!JURf!dR_R!SbYY!\S!Qb`a!N[Q!''!fRNU(
/1   !!!!6(!!!!!FN_Q\[!ZR5                                          /1   DN`af&!fRNU(
/2   !!!!L,!!!!!R^[h[!m[h[!j^[o!^eki[Z*!j^[i[!<X[n                  /2   !!!!L,!!!!!>Wd%j!iWo!\eh!ikh[!j^[!XhWdZ!dWc[!e\
/3   XhWa[!i^e[i;                                                   /3   ebZ!XhWa[i!h[cel[Z*!YWd!oek;
/4   !!!!6(!!!!!?[`VQR!aUR!]N_a`!''!aUR!ONPX!\S!aUR                 /4   !!!!6(!!!!!8N[!?!Q\!dUNa5
/5   ]N_a`!_\\Z!dUR_R!aUR!TN_NTR!Q\\_!dN`(                          /5   !!!!L,!!!!!Tek!YWd%j!iWo!\eh!ikh[!j^[!XhWdZ!dWc[
/6   !!!!L,!!!!!JaWo,!!Tek!h[YWbb!Wdoj^_d]!ed!j^[!Xen               /6   e\!ebZ!XhWa[i!h[cel[Z*!YWd!oek;
/7   eh!j^[!fWYaW]_d];                                              /7   !!!!HM,!CD=@T8
0.   !!!!6(!!!!!D\a!`]RPVSVPNYYf(                                   0.   !!!!!!!!!!!JX`[Yj_ed*!Wia[Z!WdZ!Wdim[h[Z,
0/   !!!!L,!!!!!R^Wj!Yebeh!m[h[!j^[o*!j^[!Xen[i;                    0/   !!!!OC@!RDOI@NN8
00   !!!!6(!!!!!HRQ&!dUVaR&!N[Q!OYNPX&!?#Z!]_Raaf!`b_R(             00   !!!!!!!!!!!Tek!YWd%j!i[[!j^[c!Wbb!j^[!j_c[,
01   ?a#`!N!Y\[T!aVZR!NT\(                                          01   Nec[j_c[i!oek!YWd,
02   !!!!L,!!!!!O^[i[!m[h[!fh[+\_jj[Z!je!ib_f!ed;                   02   @S<HDI<ODJI!=T!HN,!JMHN=T8
03   !!!!6(!!!!!MR`(                                                03   !!!!L,!!!!!<bb!h_]^j,!!<dZ!oek!YWd%j!iWo!\eh


                    FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
             $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                 Case 2:21-cv-00216-NJB-DMD
                        @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                        Page 98 of 565
                           <RO_bN_f!,*&!,*,*                                                     <RO_bN_f!,*&!,*,*

                                                           KW][!040                                                           KW][!041
 /   ikh[!++!m[bb*!Ze!oek!^Wl[!Wdo!if[Y_\_Y!h[Yebb[Yj_ed               /   !!!!CI(!EHCI7M4
 0   e\!i[[_d]!Wdo!cWdk\WYjkh[h!ed!W!XhWa[!i^e[!j^Wj!oek               0   !!!!!!!!!!!EXNf(!!?!aUV[X!aUNa#`!NYY!?!UNcR(
 1   h[cel[Z!_\!_j!mWi!Wbb*!oek!adem*!ki[Z!kf;                         1   6TNV[&!?#Z!XV[Q!\S!]V[PU!UVaaV[T&!`\!?#Z!T\V[T!a\
 2   !!!!6(!!!!!LR!b`bNYYf!QVQ[#a!]Nf!NaaR[aV\[!a\                     2   T\!aU_\bTU!Zf![\aR`!N[Q!`RR!VS!aUR_R#`!N[faUV[T
 3   aUNa(!!LR!a\\X!aURZ!\SS!N[Q!QV`PN_QRQ!aURZ(                       3   RY`R!?![RRQ!''
 4   !!!!L,!!!!!Bej!_j,                                                4   !!!!OC@!RDOI@NN8
 5   !!!!!!!!!!!Tek%l[!d[l[h!i[[d!WiX[ijei!ed!Wd!<X[n                  5   !!!!!!!!!!!D!b_a[!oekh![Whh_d]i,
 6   Xen!fWYaW]_d]*!^Wl[!oek;                                          6   !!!!HN,!JMHN=T8
 7   !!!!6(!!!!!LR!QVQ[#a!_RNQ!Va(                                     7   !!!!!!!!!!!O^Wda!oek,
/.   !!!!L,!!!!!Tek!Zed%j!h[YWbb!i[[_d]!WiX[ijei!ed!_j*               /.   !!!!OC@!M@KJMO@M8
//   j^ek]^;                                                          //   !!!!!!!!!!!NWo!W]W_d,
/0   !!!!6(!!!!!?!QVQ[#a!_RNQ!Va(!!?!QVQ[#a!_RNQ!aUR                  /0   !!!!OC@!RDOI@NN8
/1   ]_V[a!\[!aUR!O\e(                                                /1   !!!!!!!!!!!D!b_a[!^[h![Whh_d]i,
/2   !!!!L,!!!!!JaWo,!!=kj*!Wi!m[!i_j!^[h[!jeZWo*!oek                 /2   !!!!!!!!!!!C[bbe,
/3   Zed%j!h[YWbb!i[[_d]!WiX[ijei!ed!j^[h[*!Ze!oek;                   /3   @S<HDI<ODJI!=T!HN,!N@IO@M8
/4   !!!!6(!!!!!?!Q\[#a!X[\d!VS!Va!dN`!\[!aUR_R!\_![\a(               /4   !!!!L,!!!!!C[bbe,
/5   ?!QVQ[#a!_RNQ!Va(                                                /5   !!!!6(!!!!!GbR`aV\[V[T!S\_!ad\(
/6   !!!!L,!!!!!Bej!_j,                                               /6   !!!!L,!!!!!D%c!iehho;
/7   !!!!!!!!!!!<dZ!D!Zed%j!adem!_\!D!Wia[Z!oek!j^_i*                 /7   !!!!6(!!!!!M\b#_R!^bR`aV\[V[T!S\_!ad\(
0.   Xkj!Ze!oek!h[YWbb!j^[!\_hij!j_c[!oek!iWm!<X[n!Wj                 0.   !!!!L,!!!!!O^Wj%i!h_]^j,
0/   j^[!Kk[hje!M_Ye!HWh_d[*!j^[!\_hij!j_c[;                          0/   !!!!HM,!C<MO8
00   !!!!6(!!!!!JUR!SV_`a!fRN_!?!dN`!aUR_R(                           00   !!!!!!!!!!!?ed%j!_cfei[!j^Wj!ed!j^Wj!feeh!XWXo,
01   !!!!L,!!!!!<bb!h_]^j,!!<dZ!j^[!bWij!mekbZ!^Wl[                   01   !!!!HN,!N@IO@M8
02   X[[d!_d!%63!j_c[!\hWc[;                                          02   !!!!!!!!!!!D!fhec_i[!D!med%j!jWa[!Wdo!bed][h
03   !!!!6(!!!!!F_\ONOYf&!fR`(                                        03   X[YWki[!e\!j^[!i[YedZ!gk[ij_ed[h,


                      FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
               $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                       @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                     <RO_bN_f!,*&!,*,*

                                                           KW][!042                                                           KW][!043
 /   @S<HDI<ODJI!=T!HN,!N@IO@M8                                        /   !!!!L,!!!!!O^_i!]ko!&_dZ_YWj_d]',
 0   !!!!L,!!!!!BeeZ!cehd_d]*!Hh,!Keb[je,!!Di!_j!Keb[je                0   !!!!6(!!!!!D\(
 1   eh!Keb[je;!!D%c!iehho,!!D%l[!^[WhZ!_j!Xej^!mWoi!WdZ               1   !!!!L,!!!!!Ie,!!JaWo,
 2   D!h[Wbbo!++!D!^Wj[!je!][j!f[efb[%i!dWc[i!++                       2   !!!!!!!!!!!?_Z!oek!beea!Wj!Wdo!ZeYkc[dji!X[jm[[d
 3   !!!!6(!!!!!?!N[`dR_!a\!N[faUV[T&!Oba!Va#`!F\YRa\(                 3   o[ij[hZWo!WdZ!jeZWo;
 4   !!!!L,!!!!!Keb[je,!!JaWo,                                         4   !!!!6(!!!!!D\(
 5   !!!!!!!!!!!Ho!dWc[!_i!H[]^Wd!N[dj[h,!!D%c!]e_d]!je                5   !!!!L,!!!!!Ne!D!mWdj!je!cWa[!ikh[!j^Wj!D!^Wl[!oekh
 6   ^Wl[!`kij!W!\[m!gk[ij_edi!\eh!oek*!D!j^_da,!!D                    6   j[ij_cedo!Yb[Wh!\hec!m^Wj!D%l[!beea[Z!Wj,!!Tek%l[
 7   i^ekbZd%j!X[!jee!bed],                                            7   jWba[Z!WXekj!iec[!Wnb[i!WdZ!oek!WiieY_Wj[!j^[!dWc[
/.   !!!!!!!!!!!D%Z!`kij!b_a[!je!ijWhj!ekj!je!h[c_dZ                  /.   @Wjed!edbo!m_j^!Wnb[i*!h_]^j;
//   oek!j^Wj!_\!oek!Zed%j!kdZ[hijWdZ!c[*!_\!D!Wia!W!XWZ              //   !!!!6(!!!!!KU'UbU!$NSSV_ZNaVcR!_R`]\[`R%(
/0   gk[ij_ed!j^Wj!oek!Zed%j!kdZ[hijWdZ*!fb[Wi[!b[j!c[                /0   !!!!L,!!!!!Di!j^Wj!W!o[i;
/1   adem*!eaWo;                                                      /1   !!!!6(!!!!!MR`(
/2   !!!!6(!!!!!EXNf(                                                 /2   !!!!L,!!!!!JaWo,!!Tek!Zed%j!h[YWbb![l[h!meha_d]!ed
/3   !!!!L,!!!!!JaWo,!!D\!D!Ze!Wia!oek!W!gk[ij_ed!WdZ                 /3   Wdo!@Wjed!XhWa[i9!_i!j^Wj!h_]^j;
/4   oek!Wdim[h!_j*!D%c!]e_d]!je!Wiikc[!oek!kdZ[hijeeZ                /4   !!!!6(!!!!!8\__RPa(
/5   _j,!!Di!j^Wj!\W_h;                                               /5   !!!!L,!!!!!Iem*!j^[!jhW_b[hi!j^Wj!YWc[!_dje!j^[
/6   !!!!6(!!!!!EXNf(                                                 /6   i^ef*!D!j^_da!oek%l[!jWba[Z!WXekj!_j!W!\[m!j_c[i*
/7   !!!!L,!!!!!JaWo,!!Tek!m[h[!^[h[!o[ij[hZWo!]_l_d]                 /7   j^[o%l[!X[[d!_d!i[hl_Y[!\eh!Wm^_b[*!h_]^j;
0.   j[ij_cedo*!h_]^j;                                                0.   !!!!6(!!!!!8\__RPa(
0/   !!!!6(!!!!!MR`(                                                  0/   !!!!L,!!!!!O^[o!m[h[!a_dZ!e\!X[Wj!kf!WdZ!ebZ;
00   !!!!L,!!!!!D!mWid%j*!ie!D!Wfebe]_p[!\eh!c_ii_d]                  00   !!!!6(!!!!!I\ZR&!fR`(
01   oek*!Xkj!X[jm[[d!o[ij[hZWo!WdZ!jeZWo*!Z_Z!oek!c[[j               01   !!!!L,!!!!!JaWo,!!RekbZ!oek!W]h[[!m_j^!c[!j^Wj!oek
02   m_j^!Hh,!C_X[o!Wj!Wbb;                                           02   mekbZd%j!X[!WXb[!je!j[bb!c[!^em!bed]!Wdo!e\!j^[
03   !!!!6(!!!!!LU\!V`!aUNa5                                          03   Wnb[i!ed!j^ei[!jhW_b[hi!^WZ!X[[d!_d!i[hl_Y[!X[\eh[


                      FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
               $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
              Case 2:21-cv-00216-NJB-DMD
                     @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 @(!ARVaU!F\YRa\
                                                                     Page 99 of 565
                           <RO_bN_f!,*&!,*,*                                                  <RO_bN_f!,*&!,*,*

                                                        KW][!044                                                             KW][!045
 /   oek!\_hij!fkj!^WdZi!ed!j^[c;                                   /   !!!!L,!!!!!JaWo,!!?e!oek!h[YWbb!^em!j^[o!m[h[
 0   !!!!6(!!!!!?!PN[#a!aRYY!f\b!aUNa(                              0   WjjWY^[Z9!m[h[!j^[h[!WdY^eh!f_di;
 1   !!!!L,!!!!!JaWo,!!<dZ!_j%i!`kij!b_a[!m^Wj!oek                  1   !!!!6(!!!!!MR`&!N[PU\_!]V[(
 2   j[ij_\_[Z!je!m_j^!Hi,!=Wnj[h*!Hi,!UWdel[Y!jeZWo*               2   !!!!L,!!!!!Cem!cWdo!WdY^eh!f_di!m[h[!j^[h[;
 3   oek!mekbZd%j!adem!j^[!fh_eh!i[hl_Y[!^_ijeho!ed!Wdo             3   !!!!6(!!!!!Jd\!]R_!`Ra!\S!`U\R`!]R_!dURRY(
 4   e\!j^ei[!Wnb[i;                                                4   !!!!L,!!!!!?e!oek!h[YWbb!ed!j^[!b_d_d]*!mWi!_j!++
 5   !!!!6(!!!!!D\&!?!d\bYQ[#a(                                     5   j^Wj!oek!mekbZ!fkj!ed*!m[h[!j^[o!jWf[h[Z!eh!m[h[
 6   !!!!L,!!!!!Tek!c[dj_ed[Z!jme!cWdk\WYjkh[hi!e\                  6   j^[o!kd_\ehc!_d!j^_Yad[ii;
 7   Wnb[i,!!O^[!\_hij!mWi!@Wjed!WdZ!j^[!i[YedZ!mWi                 7   !!!!6(!!!!!JUR!]NQ`!\[!aUR!`U\R5
/.   MeYam[bb9!_i!j^Wj!h_]^j;                                      /.   !!!!L,!!!!!M_]^j,
//   !!!!6(!!!!!8\__RPa(                                           //   !!!!6(!!!!!LR_R!aURf!aN]R_RQ!\_!b[VS\_Z5
/0   !!!!L,!!!!!?_Z!j^ei[!Wnb[i!beea!Z_\\[h[dj;                    /0   !!!!L,!!!!!T[i,
/1   !!!!6(!!!!!D\a!_RNYYf(                                        /1   !!!!6(!!!!!K[VS\_Z(
/2   !!!!L,!!!!!O^[!XhWa[i!j^Wj!oek!mekbZ!meha!ed!j^Wj             /2   !!!!L,!!!!!Cem!m[h[!j^[!b_d_d]i!WjjWY^[Z!je!j^[
/3   m[h[!WjjWY^[Z!je!j^[!Wnb[i*!j^[!@Wjed!Wnb[i!_d                /3   i^e[i;
/4   fWhj_YkbWh*!Ze!oek!adem!m^Wj!ijob[!j^[o!m[h[;                 /4   !!!!6(!!!!!HVcRaRQ(
/5   !!!!6(!!!!!LUNa!`afYR5                                        /5   !!!!L,!!!!!Iem*!j^[!Wnb[i!j^Wj!oek!jWba[Z!WXekj
/6   !!!!L,!!!!!T[i,                                               /6   \eh!@Wjed*!^em!Z_Z!oek!adem!j^Wj!j^[o!m[h[!@Wjed;
/7   !!!!6(!!!!!EYQ!`afYR(!!LUNa!aURf!PNYY!\YQ!`afYR(              /7   !!!!6(!!!!!JUR!V[`VT[VN!\[!aUR!NeYR(
0.   !!!!L,!!!!!JbZ!ijob[,                                         0.   !!!!L,!!!!!D%c!iehho;
0/   !!!!!!!!!!!R[h[!j^[o!m[Z][!XhWa[i;                            0/   !!!!6(!!!!!JURf!UNQ!N!aNT!\[!aUR!NeYR(
00   !!!!6(!!!!!LRQTR5                                             00   !!!!L,!!!!!R^Wj!Z_Z!_j!beea!b_a[*!j^[!jW];
01   !!!!L,!!!!!T[i,                                               01   !!!!6(!!!!!EcNY&!S\\aONYY!`UN]R(
02   !!!!6(!!!!!?!aUV[X!f\b!PNYY!aURZ!dRQTR(!!JURf                 02   !!!!L,!!!!!R^Wj!Yebeh!mWi!_j;
03   d\bYQ!d\_X!Of!_\YYR_!PNZ(                                     03   !!!!6(!!!!!K`bNYYf!OYNPX&!`\ZRaVZR`!`VYcR_&


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                    @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                  <RO_bN_f!,*&!,*,*

                                                        KW][!046                                                             KW][!047
 /   QR]R[QV[T!VS!Va!dN`!_R]NV[aRQ!\_![\a(                          /   !!!!6(!!!!!D\(
 0   !!!!L,!!!!!Ne!iec[j_c[i!j^[o%l[!X[[d!h[fW_dj[Z;                0   !!!!L,!!!!!R^Wj!mWi!j^[!\edj!b_a[*!_\!oek
 1   !!!!6(!!!!!?a!dN`!]_\ONOYf!`VYcR_!\_VTV[NYYf&!Oba              1   h[c[cX[h;
 2   dUR[!aURf!`]_Nf!aUR!NeYR`&!Va!dV[Q`!b]!OYNPX(                  2   !!!!6(!!!!!JUR!dUNa5
 3   !!!!L,!!!!!<Xekj!^em!X_]!mWi!j^Wj!\eejXWbb+i^Wf[Z              3   !!!!L,!!!!!O^[!\edj*!oek!adem*!mWi!_j!++
 4   jW];                                                           4   !!!!6(!!!!!EU&!?!Q\[#a!_RZRZOR_(
 5   !!!!6(!!!!!EU&!$V[QVPNaV[T%(                                   5   !!!!L,!!!!!Tek!Zed%j!h[c[cX[h,
 6   !!!!L,!!!!!JaWo,!!Ne!oek%h[!][ijkh_d]!m_j^!oekh                6   !!!!!!!!!!!>Wd!oek!if[bb!@Wjed!\eh!c[;
 7   ^WdZ*!WdZ!j^Wj!m_bb!X[!ed!j^[!l_Z[e*!Xkj!\eh!j^[!++            7   !!!!6(!!!!!;'6'J'E'D(!!JUNa#`!U\d!?!`]RYY!Va(
/.   \eh!j^[!mh_jj[d!h[YehZ*!YWd!oek![ij_cWj[;                     /.   !!!!L,!!!!!O^Wj%i!^em!oek!if[bb!_j,
//   !!!!6(!!!!!6O\ba!S\b_'V[PU!\cNY(                              //   !!!!!!!!!!!Di!j^Wj!m^Wj!oek!h[c[cX[h!i[[_d]!eh!_i
/0   !!!!L,!!!!!<!\ekh+_dY^!elWb,                                  /0   j^Wj!`kij!^em!oek!if[bb!_j;
/1   !!!!!!!!!!!<dZ!mWi!Wdoj^_d]!mh_jj[d!ed!j^[!jW];               /1   !!!!6(!!!!!?!aUV[X!aUNa#`!dUNa!?!`Nd(!!?#Z![\a!N
/2   !!!!6(!!!!!;Na\[!NeYR!N[Q!aURV_!`R_VNY![bZOR_(                /2   T\\Q!`]RYYR_(
/3   !!!!L,!!!!!JaWo,!!Cem!mWi!++!^em!mWi!j^Wj!mh_jj[d9            /3   !!!!L,!!!!!O^[*!j^[!i^e[i!j^Wj!oek!m[h[!meha_d]
/4   m^Wj!Yebeh!mWi!_j;                                            /4   ed*!D!adem!oek!jebZ!c[!j^[o!m[h[d%j!@Wjed*!Xkj!Ze
/5   !!!!6(!!!!!?!PN[#a!N[`dR_!aUNa(                               /5   oek!h[c[cX[h!m^Wj!Yebeh!j^[o!m[h[;
/6   !!!!L,!!!!!?e!oek!h[c[cX[h!_\!_j!mWi!_d!Wbb                   /6   !!!!6(!!!!!JUR!ZRaNY!]N_a!\_!aUR!]NQ5
/7   YWf_jWb!b[jj[hi!eh!_\!j^[h[!m[h[!bem[h!YWi[                   /7   !!!!L,!!!!!O^[!c[jWb!fWhj,
0.   b[jj[hi*!jee;                                                 0.   !!!!6(!!!!!JUR!ZRaNY!]N_a!dN`!OYNPX(
0/   !!!!6(!!!!!6YY!PN]VaNY&!?#Z!]_Raaf!`b_R(                      0/   !!!!L,!!!!!=bWYa,
00   !!!!L,!!!!!RWi!@Wjed!Wnb[!ed[!mehZ!eh!jme!mehZi;              00   !!!!6(!!!!!JUR!]NQ!dN`!T_Nf(
01   !!!!6(!!!!!;Na\[!dN`!OVTTR_!d\_Q`&!NeYR!dN`!d_\aR             01   !!!!HN,!N@IO@M8
02   b[QR_[RNaU(                                                   02   !!!!!!!!!!!<bb!h_]^j,!!D!j^_da!j^ei[!Wh[!Wbb!co
03   !!!!L,!!!!!RWi!j^[h[!W!^of^[d!eh!Wdoj^_d];                    03   gk[ij_edi!\eh!oek!jeZWo,!!D!jebZ!oek!D%Z!X[!gk_Ya,


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
              Case 2:21-cv-00216-NJB-DMD
                     @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 Page   100 of 565
                                                                     @(!ARVaU!F\YRa\
                         <RO_bN_f!,*&!,*,*                                                     <RO_bN_f!,*&!,*,*

                                                         KW][!05.                                                            KW][!05/
 /   !!!!OC@!RDOI@NN8                                                /   /.8//!W,c,
 0   !!!!!!!!!!!O^[!XWXo!ckij!X[!Yho_d],                             0   @S<HDI<ODJI!=T!HN,!?@OJ8
 1   !!!!HN,!N@IO@M8                                                 1   !!!!L,!!!!!BeeZ!cehd_d],!!Ho!dWc[!_i!<cWdZW!?[je,
 2   !!!!!!!!!!!O^Wda!oek,                                           2   D!^Wl[!X[[d!^[h[!o[ij[hZWo!WdZ!^[h[!m[!Wh[!jeZWo,
 3   !!!!OC@!RDOI@NN8                                                3   D!i^ekbZ!X[!fh[jjo!gk_Ya*!Wi!m[bb,
 4   !!!!!!!!!!!Tek!Z_Zd%j!jof[!j^Wj*!Z_Z!oek;                       4   !!!!!!!!!!!Ekij!W!\[m!j^_d]i,!!D!adem!ej^[h!f[efb[
 5   !!!!OC@!M@KJMO@M8                                               5   ^Wl[!c[dj_ed[Z!_j*!Xkj!D!j[dZ!je!jWba!W!b_jjb[
 6   !!!!!!!!!!!&IeZZ[Z!^[WZ!W\\_hcWj_l[bo,'                         6   \Wij*!ie!D%bb!jho!je!ibem!Zemd,!!=kj!_\!oek!Zed%j
 7   !!!!HM,!C<MO8                                                   7   kdZ[hijWdZ!c[!eh!co!gk[ij_ed*!fb[Wi[!b[j!c[!adem*
/.   !!!!!!!!!!!R[%l[!X[[d!]e_d]!WXekj!Wd!^ekh,!!?e!m[              /.   eaWo;
//   mWdj!je!jWa[!W!\_l[+c_dkj[!Xh[Wa!eh!++                         //   !!!!6(!!!!!EXNf(
/0   !!!!HN,!?@OJ8                                                  /0   !!!!L,!!!!!<dZ!_\!D!Wia!oek!W!gk[ij_ed!WdZ!oek
/1   !!!!!!!!!!!Nkh[,                                               /1   Wdim[h!_j*!D%bb!Wiikc[!j^Wj!oek!kdZ[hijeeZ!j^[
/2   !!!!HN,!=<SO@M8                                                /2   gk[ij_ed,!!AW_h;
/3   !!!!!!!!!!!T[i,!!D!lej[!o[i,                                   /3   !!!!6(!!!!!<NV_(
/4   !!!!OC@!RDOI@NN8                                               /4   !!!!L,!!!!!JaWo,!!Ne!oek!jebZ!ki![Whb_[h*!_j!c_]^j
/5   !!!!!!!!!!!J^*!oek!mWdj!j^[!Xh[Wa;                             /5   ^Wl[!Wbie!X[[d!o[ij[hZWo*!j^Wj!oek!j^ek]^j!j^[h[
/6   !!!!HN,!=<SO@M8                                                /6   m[h[!WXekj!/3!je!cWoX[!/6!Z_\\[h[dj!XhWdZi!e\
/7   !!!!!!!!!!!D!iW_Z!"D!lej[!o[i,"                                /7   jhW_b[hi*!Yehh[Yj;
0.   !!!!OC@!QD?@JBM<KC@M8                                          0.   !!!!6(!!!!!8\__RPa(
0/   !!!!!!!!!!!O^[!j_c[!_i!7837!W,c,!WdZ!m[%h[!]e_d]               0/   !!!!L,!!!!!<dZ!oek!c[dj_ed[Z!j^Wj!oek!h[YWbb[Z
00   e\\!j^[!h[YehZ,                                                00   Bh[Wj!?Wd[!Wi!ed[!e\!j^ei[!jhW_b[hi;
01   !!!!!!!!!!!&=h_[\!h[Y[ii,'                                     01   !!!!6(!!!!!MR`(
02   !!!!OC@!QD?@JBM<KC@M8                                          02   !!!!L,!!!!!JaWo,!!Iem*!oek!jebZ!ki!j^Wj!j^[h[!m[h[
03   !!!!!!!!!!!R[!Wh[!XWYa!ed!j^[!h[YehZ,!!O^[!j_c[!_i             03   b[ii!Bh[Wj!?Wd[!jhW_b[hi!j^Wd!iec[!e\!j^[!ej^[h


                    FN`gXVRdVPg!8\b_a!HR]\_aV[T                                         FN`gXVRdVPg!8\b_a!HR]\_aV[T
             $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                           $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                          @(!ARVaU!F\YRa\                                                       @(!ARVaU!F\YRa\
                         <RO_bN_f!,*&!,*,*                                                     <RO_bN_f!,*&!,*,*

                                                         KW][!050                                                            KW][!051
 /   XhWdZi*!jhk[;                                                   /   Ub[Q_RQ`(
 0   !!!!6(!!!!!6!YVaaYR!YR``&!fR`(                                  0   !!!!L,!!!!!CkdZh[Zi;!!JaWo,
 1   !!!!L,!!!!!JaWo,!!?e!oek!h[YWbb!j^[!\_hij!j_c[!oek              1   !!!!!!!!!!!<dZ!oek!jebZ!ki!j^Wj!oek!^WZ!d[l[h
 2   iWm!W!Bh[Wj!?Wd[!jhW_b[h;                                       2   h[l_[m[Z!Wdo!cWdkWbi*!WdZ!j^Wj!_dYbkZ[i!\eh!Bh[Wj
 3   !!!!6(!!!!!>NQ!a\!OR!aUR!SV_`a!fRN_!?!dN`!aUR_R(                3   ?Wd[!jhW_b[hi*!Yehh[Yj;
 4   !!!!L,!!!!!JaWo,!!Ne!j^Wj!mWi!%57;                              4   !!!!6(!!!!!8\__RPa(
 5   !!!!6(!!!!!MR`&!ZN#NZ(                                          5   !!!!L,!!!!!JaWo,!!<dZ!oek!Wbie!jebZ!ki!j^Wj!oek
 6   !!!!L,!!!!!JaWo,!!<dZ!Ze!oek!h[YWbb!cWoX[!j^[                   6   ^WZ!d[l[h!i[[d!Wdo!fWf[hmeha!WXekj!j^[!emd[hi^_f!eh
 7   cedj^;!!D!adem!_j!mWi!Wm^_b[!W]e,                               7   b[Wi[!ijWjki!e\!jhW_b[hi9!j^Wj!Wbie!_i!Yehh[Yj!\eh
/.   !!!!6(!!!!!D\(!!?a!dN`!N!Y\[T!aVZR!NT\(                        /.   Bh[Wj!?Wd[;
//   !!!!L,!!!!!<dZ!j^[!bWij!j_c[!oek!mekbZ!^Wl[!i[[d!W             //   !!!!6(!!!!!8\__RPa(
/0   Bh[Wj!?Wd[!jhW_b[h!j^[h[;                                      /0   !!!!L,!!!!!JaWo,!!<dZ!oek!Zed%j!adem!m^e!emd[Z!Wdo
/1   !!!!6(!!!!!LUR[!?!YRSa(                                        /1   e\!j^[!Bh[Wj!?Wd[!jhW_b[hi;
/2   !!!!L,!!!!!<dZ!j^Wj!mWi!%74;                                   /2   !!!!6(!!!!!D\(
/3   !!!!6(!!!!!#30(                                                /3   !!!!L,!!!!!Tek!Zed%j!adem!_\!Wdo!e\!j^[!Bh[Wj!?Wd[
/4   !!!!L,!!!!!JaWo,!!Iem*!^em!cWdo!Bh[Wj!?Wd[                     /4   jhW_b[hi!m[h[!b[Wi[Z;
/5   jhW_b[hi!Ze!oek!X[b_[l[!m[h[!fh[i[dj;!!<dZ!D%bb                /5   !!!!6(!!!!!?!Q\[#a!X[\d(
/6   dWhhem!_j!Zemd!\eh!oek,!!Ekij!X[jm[[d!%57!je!%6/,              /6   !!!!L,!!!!!JaWo,!!Ne!oek!Zed%j!^Wl[!Wdo
/7   <dZ!D!Zed%j!++!_\!oek!Zed%j!adem*!_j%i!\W_h*!Xkj!_\            /7   _d\ehcWj_ed!WXekj!m^[h[!Wdo!e\!j^[!Bh[Wj!?Wd[
0.   oek!YWd!fhel_Z[!Wd![ij_cWj[,                                   0.   jhW_b[hi!YWc[!\hec!eh_]_dWbbo;
0/   !!!!6(!!!!!>\d!ZN[f!?!O_\bTUa!aU_\bTU!aUR!`U\]!\_              0/   !!!!6(!!!!!?!d\bYQ[#a!X[\d!aUNa(
00   U\d!ZN[f!dR_R!V[!aUR!aR_ZV[NY5                                 00   !!!!L,!!!!!JaWo,!!Iem*!_\!oek!YWd![ij_cWj[!\eh!c[*
01   !!!!L,!!!!!HWoX[!j^Wj!oek!Xhek]^j!j^hek]^!j^[                  01   m^Wj!mWi!j^[!i_p[!e\!W!Bh[Wj!?Wd[!jhW_b[h;
02   i^ef,                                                          02   !!!!6(!!!!!6!.*!S\\a!Of!RVTUa!S\\a(
03   !!!!6(!!!!!?!d\bYQ!`Nf!aU_RR!fRN_`#!aVZR&                      03   !!!!L,!!!!!JaWo,!!<dZ!oek!jebZ!ki!o[ij[hZWo!oek


                    FN`gXVRdVPg!8\b_a!HR]\_aV[T                                         FN`gXVRdVPg!8\b_a!HR]\_aV[T
             $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                           $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                Case 2:21-cv-00216-NJB-DMD
                       @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 Page   101 of 565
                                                                       @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                  <RO_bN_f!,*&!,*,*

                                                        KW][!052                                                           KW][!053
 /   m[h[!WXb[!je!_Z[dj_\o!W!Bh[Wj!?Wd[!jhW_b[h!X[YWki[             /   f[hiedWbbo!meha[Z!ed!b[ii!Bh[Wj!?Wd[!jhW_b[hi;
 0   e\!W!X_]!ij_Ya[h*!h_]^j;                                       0   !!!!6(!!!!!BR``!aUN[!dUNa5
 1   !!!!6(!!!!!MRNU(!!=_RNa!9N[R!UNQ!aUR!Q\T!\[!Va(                1   !!!!L,!!!!!O^Wd!ej^[h!XhWdZi!e\!jhW_b[hi,
 2   !!!!L,!!!!!O^[!Ze],!!JaWo,                                     2   !!!!6(!!!!!=\\Q!N``bZ]aV\[(
 3   !!!!!!!!!!!?e!oek!h[c[cX[h!Wdoj^_d]![bi[!WXekj!j^[             3   !!!!L,!!!!!JaWo,!!>Wd!oek!j[bb!c[!j^[!jof[!e\
 4   ij_Ya[h;                                                       4   Bh[Wj!?Wd[!jhW_b[hi!oek!meha[Z!ed;
 5   !!!!6(!!!!!D\(!!?!aUV[X!Va!dN`!`VYcR_!N[Q!OYNPX                5   !!!!6(!!!!!6!O\e!P\[aNV[R_(
 6   dVaU!N!Q\T!\[!Va(                                              6   !!!!L,!!!!!<!Xen!YedjW_d[h,
 7   !!!!L,!!!!!JaWo,!!?e!oek!adem!m^[h[!_j!mWi!ed!j^[              7   !!!!!!!!!!!JaWo,!!?e!oek!^Wff[d!je!h[YWbb!j^[
/.   jhW_b[h;                                                      /.   i[h_Wb!dkcX[h!\eh!Wdo!Bh[Wj!?Wd[!jhW_b[hi;
//   !!!!6(!!!!!=_RNa!9N[R!dN`!b`bNYYf!\[!aUR!S_\[a!Na             //   !!!!6(!!!!!?!d\bYQ[#a!X[\d!aUNa(
/0   aUR!a\](                                                      /0   !!!!L,!!!!!D!adem!j^[o%h[!W!b_jjb[!YhWpo,
/1   !!!!L,!!!!!JaWo,!!<dZ!m^[d!oek!iWo!j^[!\hedj!++               /1   !!!!!!!!!!!O^[!b_Y[di[!fbWj[!dkcX[h!\eh!Wdo!++
/2   !!!!6(!!!!!JUR!cR_f!S_\[a(!!D\a!aUR!`VQR!S_\[a&               /2   !!!!6(!!!!!?!d\bYQ[#a!X[\d!aUNa(
/3   aUR!S_\[a'S_\[a(                                              /3   !!!!L,!!!!!Dj%i!X[[d!Wm^_b[,!!D!kdZ[hijWdZ,
/4   !!!!L,!!!!!O^[!\hedj!e\!j^[!jhW_b[h;                          /4   !!!!!!!!!!!?e!oek![l[h!h[YWbb!meha_d]!ed!W!XhWdZ
/5   !!!!6(!!!!!HVTUa(                                             /5   d[m!Bh[Wj!?Wd[!jhW_b[h;
/6   !!!!L,!!!!!JaWo,!!<dZ!m[h[!j^[!++!dem!++!ia_ff_d]             /6   !!!!6(!!!!!D\(
/7   WhekdZ!W!b_jjb[!X_j,!!Hh,!=h_dZ[bb!++!oek!Zed%j               /7   !!!!L,!!!!!JaWo,!!<dZ!oek!Zed%j!adem!^em!cWdo
0.   adem!_\!Hh,!=h_dZ[bb![l[h!f[hiedWbbo!f[h\ehc[Z!meha           0.   c_b[i!m[h[!ed!Wdo!Bh[Wj!?Wd[!jhW_b[h!oek!mekbZ!^Wl[
0/   ed!W!Bh[Wj!?Wd[!jhW_b[h*!Yehh[Yj;                             0/   meha[Z!ed;
00   !!!!6(!!!!!?!QVQ[#a!`RR!UVZ&![\(                              00   !!!!6(!!!!!D\!VQRN(
01   !!!!L,!!!!!JaWo,!!<dZ!oek!jebZ!c[!j^Wj!j^[h[!m[h[             01   !!!!L,!!!!!JaWo,!!<dZ!oek!jebZ!ki!oek!Zed%j!adem
02   dej!Wi!cWdo!Bh[Wj!?Wd[!jhW_b[hi!Wi!j^[!ej^[h                  02   j^[!cW_dj[dWdY[!^_ijeho!\eh!Wdo!e\!j^[!jhW_b[hi!oek
03   XhWdZi,!!RekbZ!oek!W]h[[!j^Wj!oek!mekbZ!^Wl[                  03   meha[Z!ed*!Yehh[Yj;!!<dZ!j^Wj!Wffb_[i!je!Bh[Wj


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                    @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                  <RO_bN_f!,*&!,*,*

                                                        KW][!054                                                           KW][!055
 /   ?Wd[*!Wi!m[bb;                                                 /   e\!j^[!Bh[Wj!?Wd[!jhW_b[hi;
 0   !!!!6(!!!!!8\__RPa(                                            0   !!!!6(!!!!!I\ZRaVZR`(
 1   !!!!L,!!!!!JaWo,!!<dZ!oek!Zed%j!adem!_\!Wdo!e\!j^[             1   !!!!L,!!!!!JaWo,!!<dZ!Ze!oek!if[Y_\_YWbbo!h[YWbb
 2   fWhji!e\!Wdo!Bh[Wj!?Wd[!jhW_b[h!oek!meha[Z!ed!mekbZ            2   Ze_d]!XhWa[*!XhWa[!`eXi!ed!W!Bh[Wj!?Wd[!jhW_b[h;
 3   ^Wl[!X[[d!eh_]_dWb!je!j^[!jhW_b[h*!Yehh[Yj;                    3   !!!!6(!!!!!MR`(
 4   !!!!6(!!!!!?!d\bYQ[#a!X[\d!aUNa(                               4   !!!!L,!!!!!JaWo,!!<dZ!oek!mekbZ!Ze!j^[!XhWa[!`eXi
 5   !!!!L,!!!!!JaWo,!!?_Z!oek!Wbie!Ze!iec[!m[bZ_d]                 5   ed!j^[!Bh[Wj!?Wd[!jhW_b[h!_d!j^[!iWc[!mWo!Wi!oek%l[
 6   meha!ed!Bh[Wj!?Wd[!jhW_b[hi;                                   6   Wbh[WZo!ifea[d!je!j^[!ej^[h!bWmo[hi!WXekj9!dej^_d]
 7   !!!!6(!!!!!I\ZRaVZR`(                                          7   kd_gk[!\eh!Bh[Wj!?Wd[*!Yehh[Yj;
/.   !!!!L,!!!!!JaWo,!!Cem!\h[gk[djbo;                             /.   !!!!6(!!!!!INZR!dNf(
//   !!!!6(!!!!!?!Q\[#a!X[\d!aUNa!N[`dR_(                          //   !!!!L,!!!!!JaWo,!!Iem*!oek!mekbZd%j!adem!j^[
/0   !!!!L,!!!!!O^Wj%i!eaWo,!!HWoX[!cedj^bo;                       /0   cWdk\WYjkh[h!e\!Wdo!e\!j^[!ebZ!XhWa[!fWhji!oek!m[h[
/1   !!!!6(!!!!!EU&!Va!d\bYQ!OR!dRRXYf(                            /1   h[cel_d]!\hec!W!Bh[Wj!?Wd[!jhW_b[h*!Yehh[Yj;
/2   !!!!L,!!!!!R[[abo,!!JaWo,                                     /2   !!!!6(!!!!!I\ZRaVZR`!f\b!d\bYQ!`RR!aURZ!N[Q!f\b
/3   !!!!!!!!!!!<do![ij_cWj[!\eh!^em!cWdo!j_c[i!W!m[[a;            /3   d\bYQ!`RR!aUR!d_VaV[T!\[!Va&!`\ZRaVZR`!f\b
/4   !!!!6(!!!!!?a#`!UN_Q!a\!`Nf(                                  /4   d\bYQ[#a(
/5   !!!!L,!!!!!JaWo,                                              /5   !!!!L,!!!!!JaWo,!!<dZ!\eh!j^[!j_c[!if[Y_\_Y!je
/6   !!!!6(!!!!!JR[&!+/&!?!aUV[X(                                  /6   Bh[Wj!?Wd[!j^Wj!oek!mekbZ!X[!WXb[!je!i[[!j^[
/7   !!!!L,!!!!!JaWo,!!<dZ!Z_Z!oek!Wbie!Y^Wd][!j^[                 /7   mh_j_d]!ed!_j*!Ze!oek!h[YWbb!Wdo!e\!j^[!XhWdZi!oek
0.   b_]^ji!ed!Wdo!Bh[Wj!?Wd[!jhW_b[hi;                            0.   iWm;
0/   !!!!6(!!!!!I\ZRaVZR`(                                         0/   !!!!6(!!!!!8N_YV`YR!Z\`a!\S!aUR!aVZR(
00   !!!!L,!!!!!Nec[j_c[i,!!JaWo,                                  00   !!!!L,!!!!!JaWo,
01   !!!!!!!!!!!?_Z!oek!Wbie!Ze!m_h_d]!meha;                       01   !!!!6(!!!!!JUNa!dN`!aUR!Z\`a!P\ZZ\[(
02   !!!!6(!!!!!I\ZRaVZR`(                                         02   !!!!L,!!!!!<dZ!\eh!Wdo!e\!j^[!++!D!]k[ii!m[!YWd!Ze
03   !!!!L,!!!!!JaWo,!!<dZ!meha_d]!ed!j^[!bWdZ_d]!][Whi            03   j^[!XhWa[!fWZi!oek!mekbZ!X[!fkjj_d]!XWYa!_dje!j^[


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                Case 2:21-cv-00216-NJB-DMD
                       @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 Page   102 of 565
                                                                       @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                     <RO_bN_f!,*&!,*,*

                                                           KW][!056                                                              KW][!057
 /   Bh[Wj!?Wd[!jhW_b[h*!Ze!oek!h[YWbb!Wdo!e\!j^[                      /   `U\]!^bVaR&!^bVaR!N!Y\a(
 0   XhWdZi;                                                           0   !!!!L,!!!!!JaWo,!!=kj!oek!Zed%j!^Wl[!Wdo!if[Y_\_Y
 1   !!!!6(!!!!!8N_YV`YR(                                              1   h[Yebb[Yj_ed;
 2   !!!!L,!!!!!JaWo,!!D!fheXWXbo!YWd!ijh[Wcb_d[!j^_i!W                2   !!!!HM,!CD=@T8
 3   X_j,!!Tek!Zed%j!adem!m^[h[!Wdo!e\!j^[!h[fbWY[c[dj                 3   !!!!!!!!!!!JX`[Yj_ed*!\ehc,
 4   fWhji*!_dYbkZ_d]!j^[!XhWa[!fWZi!WdZ!XhWa[!b_d_d]i*                4   !!!!OC@!RDOI@NN8
 5   mekbZ!^Wl[!YWc[!\hec!j^Wj!oek!mekbZ!^Wl[!_dijWbb[Z                5   !!!!!!!!!!!T[i,!!C[!mWi!_d!j^[h[,
 6   eh!h[cel[Z!ed!W!Bh[Wj!?Wd[!jhW_b[h;                               6   !!!!HN,!?@OJ8
 7   !!!!6(!!!!!?!d\bYQ[#a!X[\d!dUR_R!aURf!PNZR!S_\Z(                  7   !!!!!!!!!!!JaWo,!!<dZ!D!j^_da!j^Wj!cWo!X[!Wbb!j^[
/.   !!!!L,!!!!!JaWo,!!Iem*!oek!YWddej!j[ij_\o!j^Wj!Hh,               /.   gk[ij_edi!D!^Wl[!\eh!oek,!!D%bb!beea!el[h!co!dej[i*
//   =h_dZ[bb!mWi![l[h!fh[i[dj!m^[d!oek!m[h[!meha_d]!ed               //   Xkj!D!m_bb!b[j!iec[XeZo![bi[!]e!d[nj,
/0   W!Bh[Wj!?Wd[!jhW_b[h*!Yehh[Yj;                                   /0   !!!!HM,!C<MO8
/1   !!!!6(!!!!!HR]RNa(                                               /1   !!!!!!!!!!!<doXeZo![bi[;
/2   !!!!L,!!!!!>Wd*!YWd!oek!j[ij_\o!j^Wj!Hh,!=h_dZ[bb                /2   !!!!HN,!?@OJ8
/3   mWi![l[h!fh[i[dj!m^[d!oek!m[h[!meha_d]!++                        /3   !!!!!!!!!!!O^Wda!oek!ie!ckY^!\eh!oekh!j_c[,
/4   !!!!6(!!!!!EU&!?#Z!`b_R!UR!dN`(                                  /4   !!!!OC@!RDOI@NN8
/5   !!!!L,!!!!!++!ed!W!Bh[Wj!?Wd[!jhW_b[h;                           /5   !!!!!!!!!!!Tek%h[!m[bYec[,
/6   !!!!6(!!!!!?#Z!`b_R!UR!dN`(                                      /6   !!!!HM,!CD=@T8
/7   !!!!L,!!!!!<dZ!oek%h[!ikh[!oek!m[h[*!Xkj!Ze!oek                  /7   !!!!!!!!!!!R[%h[!Zed[!m_j^![l[hoXeZo!_d!j^[!heec
0.   if[Y_\_YWbbo!h[YWbb!^_c!X[_d]!fh[i[dj;                           0.   Wia_d]!gk[ij_edi![nY[fj!\eh!iec[!\ebbem+kf,!!Di
0/   !!!!6(!!!!!MR`(                                                  0/   j^[h[!WdoXeZo!ed!j^[!f^ed[!j^Wj!^Wid%j!Wia[Z
00   !!!!L,!!!!!JaWo,!!>Wd!oek!j[ij_\o!j^Wj!Hh,                       00   gk[ij_edi!j^Wj!mWdji!je;
01   =h_dZ[bb!mWi![l[h!fh[i[dj!Zkh_d]!W!\_hij+j_c[!XhWa[              01   !!!!HM,!CJGH@N8
02   `eX!ed!W!Bh[Wj!?Wd[!jhW_b[h;                                     02   !!!!!!!!!!!Ie!gk[ij_edi,
03   !!!!6(!!!!!?#Z!`b_R!UR!dN`!ORPNb`R!UR!dN`!V[!aUR                 03   !!!!HM,!CD=@T8


                      FN`gXVRdVPg!8\b_a!HR]\_aV[T                                           FN`gXVRdVPg!8\b_a!HR]\_aV[T
               $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                             $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                       @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                     <RO_bN_f!,*&!,*,*

                                                           KW][!06.                                                              KW][!06/
 /   !!!!!!!!!!!O^Wda!oek,                                             /   !!!!6(!!!!!?!Q\[#a!_RPNYY(!!>R!dN`!aUR_R!^bVaR!N
 0   !!!!OC@!M@KJMO@M8                                                 0   OVa(
 1   !!!!!!!!!!!Di!j^Wj!Hh,!Cebc[i;                                    1   !!!!L,!!!!!JaWo,!!<dZ!m[!jWba[Z!o[ij[hZWo!WXekj
 2   !!!!HM,!CJGH@N8                                                   2   iec[!e\!j^[!ej^[h!meha!X[i_Z[i!XhWa[!meha!j^Wj
 3   !!!!!!!!!!!T[i,                                                   3   oek+Wbb!f[h\ehc[Z!_d!oekh!fWhj_YkbWh!i^ef*!j^[
 4   !!!!OC@!M@KJMO@M8                                                 4   bWdZ_d]!][Wh!WdZ!b_]^ji!WdZ!j^_d]i!b_a[!j^Wj,!!R^Wj
 5   !!!!!!!!!!!O^Wda!oek,                                             5   f[hY[djW][!e\!oekh!j_c[*!e\!oekh!el[hWbb!meha!j_c[
 6   !!!!HM,!NO@DI8                                                    6   Zkh_d]!j^Wj!%57!j^hek]^!%6/!j_c[!f[h_eZ!Ze!oek
 7   !!!!!!!!!!!O^_i!_i!?Wl_Z!Nj[_d,!!Ie!gk[ij_edi!\hec                7   X[b_[l[!j^Wj!oek!m[h[!f[h\ehc_d]!XhWa[!meha!Wi
/.   c[,                                                              /.   effei[Z!je!j^[!ej^[h!meha!j^Wj!oek!m[h[!h[ifedi_Xb[
//   @S<HDI<ODJI!=T!HM,!C<MO8                                         //   \eh;
/0   !!!!L,!!!!!N_h*!j^_i!_i!EeZo!CWhj!W]W_d,!!D!`kij                 /0   !!!!6(!!!!!?#Q!`Nf!aUR!O_NXR!d\_X!dN`!1*&!1/
/1   ^Wl[!W!\[m!\ebbem+kfi!\eh!oek,                                   /1   ]R_PR[a!\S!aUR!aVZR(!!JUNa!dN`!aUR!Z\`a!P\ZZ\[!d\_X
/2   !!!!!!!!!!!A_hij!e\!Wbb*!^em!cWdo!m[[ai!++!XWYa                  /2   dR!QVQ(
/3   Zkh_d]!j^[!%57!j^hek]^!%6/!j_c[!\hWc[*!^em!cWdo                  /3   !!!!L,!!!!!<dZ!oek!j[ij_\_[Z!j^Wj!j^[h[!m[h[!++
/4   m[[ai!lWYWj_ed!Z_Z!o%Wbb!][j;                                    /4   WdZ!j[bb!c[!_\!j^_i!_i!Wd!eaWo!j[hc!je!ki[*!Xkj
/5   !!!!6(!!!!!Jd\!dRRX`&!?!aUV[X(                                   /5   XWi_YWbbo!\ekh!j[Wci!_d!j^Wj!i^ef*!oek!WdZ
/6   !!!!L,!!!!!JaWo,!!Ne!oek!mekbZ!meha!WXekj!3.                     /6   Hh,!GeYa^Whj!X[_d]!ed[!e\!j^[c;
/7   ^ekhi!++!D!c[Wd*!3.!m[[ai!f[h!o[Wh!c_dki!m^Wj[l[h                /7   !!!!6(!!!!!8\__RPa(
0.   ^eb_ZWoi!oek!]ej!e\\,!!AW_h;                                     0.   !!!!L,!!!!!?_Z!Hh,!=h_dZ[bb!eXi[hl[*!ikf[hl_i[*
0/   !!!!6(!!!!!MRNU(!!?S!f\b!a\\X!f\b_!cNPNaV\[(!!6                  0/   m^Wj[l[h!j[hc!oek!mWdj!je!ki[*!j^[!meha!e\!j^[!\ekh
00   Y\a!\S!b`!QVQ[#a!aNXR!Va!VS!dR!dN[aRQ!aUR!Rea_N                  00   j[Wci![gkWbbo;
01   Z\[Rf(!!M\b!UNQ!aUR!\]aV\[(                                      01   !!!!6(!!!!!F_Raaf!ZbPU(
02   !!!!L,!!!!!?_Z!Hh,!=h_dZ[bb*!Wi!\Wh!Wi!oek!h[YWbb*               02   !!!!L,!!!!!Ne*!\eh!Wd![_]^j+^ekh!mehaZWo*!oek
03   Wi!W!cWdW][c[dj![cfbeo[[*!jWa[!^_i!lWYWj_ed;                     03   j[ij_\_[Z!j^Wj!^[!mekbZ!^Wl[!X[[d!_d!j^Wj!i^ef*!oek


                      FN`gXVRdVPg!8\b_a!HR]\_aV[T                                           FN`gXVRdVPg!8\b_a!HR]\_aV[T
               $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                             $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
              Case 2:21-cv-00216-NJB-DMD
                     @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 Page   103 of 565
                                                                     @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                   <RO_bN_f!,*&!,*,*

                                                         KW][!060                                                              KW][!061
 /   [ij_cWj[Z!\ekh!^ekhi!f[h!ZWo*!Yehh[Yj;                          /   !!!!L,!!!!!JaWo,
 0   !!!!6(!!!!!8\__RPa(                                             0   !!!!6(!!!!!7RPNb`R!dUR[!dR!dR_R!Q\V[T!O_NXR!W\O`&
 1   !!!!L,!!!!!JaWo,!!Ne!j^Wj!mekbZ!^Wl[!X[[d!ed[!++                1   aURf!UNQ!b`!\[!aU\`R!aR['U\b_!QNf`&!N[Q!f\b!P\bYQ
 2   XWi_YWbbo*!_\!m[!beea!Wj!_j!Wi!X[_d]![l[dbo                     2   Q\!S\b_!V[!aR[!U\b_`(
 3   Z_l_Z[Z*!^[!mWi!eXi[hl_d]!oekhi!WdZ!Hh,!GeYa^Whj%i              3   !!!!L,!!!!!JaWo,!!<dZ!^em!e\j[d!mekbZ*!mekbZ!j^ei[
 4   meha!Wffhen_cWj[bo!ed[!^ekh!f[h!ZWo;                            4   [nYbki_l[!XhWa[+`eX!m[[ai!eYYkh!Zkh_d]!j^Wj!%57
 5   !!!!6(!!!!!?!TbR``!f\b!P\bYQ!`Nf!aUNa(                          5   j^hek]^!%6/!j_c[!f[h_eZ;
 6   !!!!L,!!!!!<dZ*!Wj!j^[!X[]_dd_d]!e\!oekh                        6   !!!!6(!!!!!GbVaR!\SaR[(
 7   Z[fei_j_ed!o[ij[hZWo!m^[d!fbW_dj_\\i%!Yekdi[b!mWi               7   !!!!L,!!!!!>Wd!oek!X[!ceh[!if[Y_\_Y;
/.   Wia_d]!oek!gk[ij_edi*!oek!cWZ[!h[\[h[dY[!je!iec[               /.   !!!!6(!!!!!IRcR[af'SVcR!]R_PR[a!\S!aUR!aVZR(
//   m[[ai!mekbZ!X[!b_a[!XhWa[!`eX!m[[ai!WdZ!++!Ze!oek              //   !!!!L,!!!!!JaWo,!!R[!jWba[Z!WXekj!iec[!dkcX[hi
/0   h[YWbb!m^Wj!D%c!jWba_d]!WXekj;                                 /0   o[ij[hZWo*!WdZ!D!j^_da!oek!m[h[!fh[jjo!YWdZ_Z!j^Wj
/1   !!!!6(!!!!!MR`(                                                /1   oek!m[h[![ij_cWj_d]!dkcX[hi!e\!jejWb!XhWa[!`eXi
/2   !!!!L,!!!!!<dZ*!ed!j^ei[!m[[ai!m^[d!oek!m[h[!++                /2   j^Wj!^[!c_]^j!^Wl[!X[[d!fh[i[dj!\eh,!!AW_h;
/3   m[bb*!dej!++!mekbZ!oek![nYbki_l[bo!X[!f[h\ehc_d]               /3   !!!!6(!!!!!MRNU(
/4   XhWa[!`eXi!ed!j^ei[!m[[ai;                                     /4   !!!!L,!!!!!D\!m[%h[!beea_d]!Wj!3.!m[[ai!f[h
/5   !!!!6(!!!!!;ePYb`VcRYf(                                        /5   o[Wh!++
/6   !!!!L,!!!!!<dZ!j^ei[!mekbZ!X[!j^[!m[[ai!m^[h[!oek              /6   !!!!6(!!!!!EXNf(
/7   [ij_cWj[Z!W!]eeZ!ZWo!mWi!WXekj!\ekh!XhWa[!`eXi;                /7   !!!!L,!!!!!++!WdZ!m[%h[!beea_d]!Wj!\ekh!XhWa[!`eXi
0.   !!!!6(!!!!!6!_RNY!T\\Q!QNf&!fR`&!S\b_(                         0.   X[_d]!W!]eeZ!ZWo!++
0/   !!!!L,!!!!!JaWo,!!Oof_YWbbo*!_j!mekbZ!X[!b[ii!j^Wd             0/   !!!!6(!!!!!HVTUa(
00   j^Wj*!j^h[[;                                                   00   !!!!L,!!!!!++!j^[d!mekbZ!oek!W]h[[!m_j^!c[!j^Wj!3.
01   !!!!6(!!!!!JU_RR!a\!S\b_&!fRNU(                                01   j_c[i!\_l[!ZWoi!_d!W!m[[a!mekbZ!X[!03.;
02   !!!!L,!!!!!O^h[[!je!\ekh;                                      02   !!!!6(!!!!!?!Q\[#a!UNcR!N!PNYPbYNa\_!V[!S_\[a!\S
03   !!!!6(!!!!!7ba!Z\`a!\S!aUR!aVZR!f\b!PN[!Q\!S\b_(               03   ZR(


                    FN`gXVRdVPg!8\b_a!HR]\_aV[T                                           FN`gXVRdVPg!8\b_a!HR]\_aV[T
             $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                             $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                     @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                   <RO_bN_f!,*&!,*,*

                                                         KW][!062                                                              KW][!063
 /   !!!!L,!!!!!R_bb!oek!jWa[!co!mehZ!\eh!_j!j^Wj!++                 /   Ye]d_pWdj!e\!j^[_h!f[h\ehc_d]!W!XhWa[!`eX!ed!W
 0   !!!!6(!!!!!?#YY!aNXR!f\b_!d\_Q!S\_!Va(                          0   Bh[Wj!?Wd[!jhW_b[h*!\eh!_dijWdY[;
 1   !!!!L,!!!!!++!3.!j_c[i!\_l[!_i!03.;                             1   !!!!6(!!!!!?!d\bYQ[#a!X[\d!dUNa!b[Va!aURf!dR_R
 2   !!!!6(!!!!!EXNf(                                                2   d\_XV[T!\[(!!?#Q!\[Yf!X[\d!aUR!b[Va!?#Z!d\_XV[T!\[&
 3   !!!!L,!!!!!JaWo,                                                3   Oba!?!X[\d!RcR_fO\Qf!V[!aUR!`U\]!d\bYQ!OR!Q\V[T
 4   !!!!6(!!!!!JVZR`!S\b_!''!aVZR`!S\b_!ONf`&!_VTUa5                4   O_NXR!W\O`(
 5   !!!!L,!!!!!T[i,!!=kj!_i!_j!++!WdZ!j^Wj%i!W!]h[Wj                5   !!!!L,!!!!!Nkh[*!ikh[,!!JaWo,
 6   gk[ij_ed,!!Di!_j!\W_h!je!iWo!j^Wj!m^[d!oek!m[h[                 6   !!!!!!!!!!!<dZ!ie!oek!YekbZd%j!i_j!^[h[!WdZ
 7   f[h\ehc_d]!oekh!meha!Wj!KMHHD*!j^Wj!oek!m[h[                    7   j[ij_\o!jeZWo!Wi!je!m^Wj!XhWdZi!e\!jhW_b[hi!eh
/.   YedY[hd[Z!m_j^!oekhi!WdZ!Hh,!GeYa^Whj%i!meha!_d                /.   XhWa[i!eh!XhWa[!i^e[i!j^[!ej^[h!j[Wci!m[h[!ki_d]
//   fWo_d]!Wjj[dj_ed!je!j^Wj;                                      //   X[YWki[!oek!m[h[!fWo_d]!Wjj[dj_ed!je!j^[!`eX!j^Wj
/0   !!!!6(!!!!!HVTUa(                                              /0   oek!WdZ!Hh,!GeYa^Whj!m[h[!f[h\ehc_d];
/1   !!!!L,!!!!!Tek!Y[hjW_dbo!m[h[d%j!fWo_d]!Wjj[dj_ed              /1   !!!!6(!!!!!?!dN`[#a!]NfV[T!NaaR[aV\[!a\!dUNa!aURf
/2   je!m^Wj!fWhj_YkbWh!meha!j^[!ej^[h!][djb[c[d!ed!j^[             /2   dR_R!Q\V[T(!!6`!SN_!N`!dUNa!f\b#_R!`NfV[T&!?#Q!OR
/3   ej^[h!j^h[[!j[Wci!m[h[!f[h\ehc_d]!Wj!Wdo!]_l[d                 /3   ]NfV[T!NaaR[aV\[!a\!ZV[R&!Oba!dR!Z\`aYf!]ba
/4   j_c[;                                                          /4   8N_YV`YR`!ONPX!\[&!`\!?!X[Rd!aURf!dR_R!Q\V[T!aUNa(
/5   !!!!6(!!!!!LRYY&!dR!P\bYQ!`RR!dUNa!RcR_fO\Qf!dN`               /5   !!!!L,!!!!!JaWo,!!=kj!Wi!\Wh!Wi!j^[!XhWdZ!e\
/6   Q\V[T!ORPNb`R!Va!dN`!N[!\]R[!`U\](!!6[Q!f\b!dNYX               /6   jhW_b[h!j^[o!m[h[!meha_d]!ed,
/7   ]N`a!RNPU!\aUR_!P\[`aN[aYf!T\V[T!a\!aUR!]N_a`!_\\Z             /7   !!!!6(!!!!!D\(!!?!P\bYQ[#a!`Nf!aUR!O_N[Q!\S
0.   a\!TRa!f\b_!]N_a`!N[Q!RcR_faUV[T(                              0.   a_NVYR_!aUNa!aURf!UNQ(
0/   !!!!L,!!!!!<dZ!j^Wj%i*!j^Wj%i!\W_h![dek]^,!!<dZ                0/   !!!!L,!!!!!Jh!j^[!XhWdZ!e\!Xe]_[*!\eh!j^Wj!cWjj[h;
00   oek!mekbZ!Y[hjW_dbo!i[[!j^Wj!iec[j_c[i!j^[o%Z!X[               00   !!!!6(!!!!!HVTUa(
01   f[h\ehc_d]!W!XhWa[!`eX;                                        01   !!!!L,!!!!!JaWo,!!Ne!_\!m[%h[!Wj!03.!\eh!oek!WdZ
02   !!!!6(!!!!!MRNU(                                               02   Hh,!GeYa^Whj!_d!W!o[Wh!++!WdZ!_j%i!WYjkWbbo!b[ii
03   !!!!L,!!!!!JaWo,!!=kj!oek!Y[hjW_dbo!mekbZd%j!X[                03   j^Wd!j^Wj!X[YWki[!oek!m[h[d%j![nYbki_l[bo!Ze_d]


                    FN`gXVRdVPg!8\b_a!HR]\_aV[T                                           FN`gXVRdVPg!8\b_a!HR]\_aV[T
             $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                             $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                Case 2:21-cv-00216-NJB-DMD
                       @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 Page   104 of 565
                                                                       @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                     <RO_bN_f!,*&!,*,*

                                                           KW][!064                                                           KW][!065
 /   XhWa[!`eXi,                                                       /   j^[d!m[%h[!beea_d]!3..!ZWoi!j_c[i!53!f[hY[dj*!m^_Y^
 0   !!!!6(!!!!!HVTUa(                                                 0   _i!]e_d]!je!X[!153*!Yehh[Yj;
 1   !!!!HM,!CD=@T8                                                    1   !!!!6(!!!!!M\b!Q\V[T!aUR!ZNaU(
 2   !!!!!!!!!!!Tek%h[!Wj!03.!ZWoi,!!O^Wj%i!m^[h[!oek                  2   !!!!L,!!!!!OWa[!co!mehZ!\eh!_j!ed!j^Wj;
 3   ]ej!je,                                                           3   !!!!6(!!!!!MRNU(!!?#Z!aNXV[T!f\b_!d\_Q!S\_!Va(
 4   !!!!HM,!C<MO8                                                     4   >\d#`!aUNa5
 5   !!!!!!!!!!!J^*!eaWo,!!O^Wda!oek,                                  5   !!!!L,!!!!!<dZ*!e\!j^Wj!meha*!Hh,!=h_dZ[bb!mekbZ
 6   @S<HDI<ODJI!=T!HM,!C<MO8                                          6   ^Wl[!X[[d!eXi[hl_d]!oek!WdZ!Hh,!GeYa^Whj
 7   !!!!L,!!!!!<dZ!m[%h[!beea_d]!Wj!jme!o[Whi!++!D                    7   Wffhen_cWj[bo!ed[+[_]^j^!e\!j^[!j_c[*!\ekh!j[Wci*
/.   j^_da!j^[!h[YehZ!m_bb!h[\b[Yj!j^Wj!m[%l[                         /.   ^[%Z!X[!mWjY^_d]!oek!WXekj!ed[!^ekh!W!ZWo;
//   [ijWXb_i^[Z!j^Wj!j^[!el[hbWf!X[jm[[d!oekhi!WdZ!Hh,               //   !!!!6(!!!!!I\ZRaUV[T!YVXR!aUNa&!fRNU(
/0   =h_dZ[bb%i!meha!mWi!fh[jjo!Ybei[!je!jme!o[Whi*                   /0   !!!!L,!!!!!<dZ!D!mWdj!je!]e!el[h!W!b_ij!j^Wj!D
/1   eaWo;                                                            /1   \ekdZ!e\!XhWa[!++!XhWa[!++!jhW_b[h!cWdk\WYjkh[hi,
/2   !!!!6(!!!!!$LVa[R``![\QQRQ!URNQ!NSSV_ZNaVcRYf(%                  /2   <dZ!oek!j[bb!++!D!adem!oek!YekbZd%j!h[c[cX[h!Xkj!W
/3   !!!!L,!!!!!O^[d!j^Wj!mekbZ!X[!03.!ZWoi!j_c[i!jme                 /3   ^WdZ\kb*!Xkj!oek!iW_Z!j^[h[!m[h[!/3*!/6!eh!ie
/4   o[Whi*!m^_Y^!_i!3..!ZWoi*!\W_h;!!Ome!j_c[i!03.!_i                /4   Z_\\[h[dj!XhWdZi!oek!meha[Z!ed,
/5   3..;                                                             /5   !!!!!!!!!!!>ekbZ!oek!j[bb!c[!m^[j^[h![WY^!ed[!e\
/6   !!!!6(!!!!!<NV_(!!?#Z!aUNa!^bVPX(                                /6   j^[i[!mekbZ!X[!ed[i!j^Wj!oek!h[YWbb!meha_d]!ed!eh
/7   !!!!L,!!!!!<dZ!^[%Z!X[!++!WdZ!D!j^_da!oek!iW_Z                   /7   oek!Zed%j!h[YWbb!meha_d]!ed;
0.   j^Wj!WXekj!53!f[hY[dj!e\!j^[!meha*!_\!oek!beea[Z!Wj              0.   !!!!6(!!!!!Ib_R(
0/   j^[!jejWb!Wcekdj!e\!j_c[*!5.!je!53!mekbZ!X[!XhWa[                0/   !!!!L,!!!!!@Wij!HWdk\WYjkh_d]!>ecfWdo;
00   `eXi;                                                            00   !!!!6(!!!!!LU\5
01   !!!!6(!!!!!8\__RPa(                                              01   !!!!L,!!!!!@Wij;
02   !!!!L,!!!!!Ne!_\!m[!jWa[!j^Wj!3..!ZWoi!WdZ!m[                    02   !!!!6(!!!!!;'6'I'J5
03   ]e!5.!++!m[!]_l[!_j!j^[!X_]][h!dkcX[h*!53!f[hY[dj*               03   !!!!L,!!!!!T[W^,


                      FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
               $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                       @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                     <RO_bN_f!,*&!,*,*

                                                           KW][!066                                                           KW][!067
 /   !!!!6(!!!!!?!Q\[#a!_RZRZOR_!aUNa!\[R(                             /   !!!!L,!!!!!H<>!OhW_b[h*!H+<+>*!Wbb!YWfi;
 0   !!!!L,!!!!!R^Wj!WXekj!A[bb_d]!OhW_b[hi;                           0   !!!!6(!!!!!9\[#a!_RPNYY(
 1   !!!!6(!!!!!<RYYV[T5                                               1   !!!!L,!!!!!HWdWY*!H+<+I+<+>;
 2   !!!!L,!!!!!T[W^*!A+@+G+G+D+I+B,                                   2   !!!!6(!!!!!9\[#a!_RPNYY(
 3   !!!!6(!!!!!9\[#a!_RPNYY(                                          3   !!!!L,!!!!!K_jji*!K+D+O+O+N;
 4   !!!!L,!!!!!AedjW_d[;                                              4   !!!!6(!!!!!9\[#a!_RPNYY!aUNa!\[R(
 5   !!!!6(!!!!!MR`(!!LR!UNQ!`\ZR!<\[aNV[R(                            5   !!!!L,!!!!!KebWh*!K+J+G+<+M;
 6   !!!!L,!!!!!C[_b;                                                  6   !!!!6(!!!!!9\[#a!_RPNYY(
 7   !!!!6(!!!!!LU\5                                                   7   !!!!L,!!!!!Kh[c_[h;
/.   !!!!L,!!!!!C+@+D+G*!C[_b!++                                      /.   !!!!6(!!!!!9\[#a!_RPNYY!aUNa!\[R(
//   !!!!6(!!!!!9\[#a!_RPNYY(                                         //   !!!!L,!!!!!O^_i!ed[!D%c!dej!ikh[!_\!D!YWd
/0   !!!!L,!!!!!++!OhW_b[h,                                           /0   fhedekdY[!h_]^j*!M[_jdek[h!eh!M[_jdek[h*
/1   !!!!6(!!!!!9\[#a!_RPNYY(                                         /1   M+@+D+O+I+J+P+@+M;
/2   !!!!L,!!!!!CokdZW_;                                              /2   !!!!6(!!!!!9\[#a!_RPNYY(
/3   !!!!6(!!!!!MR`(                                                  /3   !!!!L,!!!!!R^Wj!WXekj!Njhek]^jed*!Njhek]^jed*
/4   !!!!HN,!=<SO@M8                                                  /4   N+O+M+J+P+B+C+O+J+I;
/5   !!!!!!!!!!!R^Wj!_i!j^Wj;                                         /5   !!!!6(!!!!!9\[#a!_RPNYY(
/6   !!!!HM,!C<MO8                                                    /6   !!!!L,!!!!!OhW_b!F_d];
/7   !!!!!!!!!!!CokdZW_*!CokdZW_,!!D%l[!d[l[h!ademd                   /7   !!!!6(!!!!!9\[#a!_RPNYY(
0.   [nWYjbo,                                                         0.   !!!!L,!!!!!OhWl_i!=eZo!$!OhW_b[h;
0/   !!!!OC@!RDOI@NN8                                                 0/   !!!!6(!!!!!MR`(
00   !!!!!!!!!!!CokdZW_*!CokdZW_,                                     00   !!!!L,!!!!!OhWl_i,
01   @S<HDI<ODJI!=T!HM,!C<MO8                                         01   !!!!!!!!!!!QWd]kWhZ;
02   !!!!L,!!!!!F[djkYao;                                             02   !!!!6(!!!!!MR`(
03   !!!!6(!!!!!9\[#a!_RPNYY(                                         03   !!!!L,!!!!!RWXWi^*!R+<+=+<+N+C;


                      FN`gXVRdVPg!8\b_a!HR]\_aV[T                                        FN`gXVRdVPg!8\b_a!HR]\_aV[T
               $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                          $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                 Case 2:21-cv-00216-NJB-DMD
                        @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 Page   105 of 565
                                                                        @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                          KW][!07.                                                            KW][!07/
 /   !!!!6(!!!!!9\[#a!_RPNYY(                                         /   !!!!6(!!!!!MR`(
 0   !!!!L,!!!!!R[ij[hd;!!R[ij[hd;                                    0   !!!!L,!!!!!JaWo,!!<dZ!Wbb!e\!j^ei[!XhWdZi!mekbZ
 1   !!!!6(!!!!!9\[#a!_RPNYY(                                         1   ^Wl[!X[[d!XhWdZi!e\!jhW_b[hi!j^Wj!oek!mekbZ!^Wl[
 2   !!!!L,!!!!!SKJ!Ge]_ij_Yi;                                        2   meha[Z!ed!XWYa!Zkh_d]!oekh!_d_j_Wb![cfbeoc[dj!m_j^
 3   !!!!6(!!!!!9\[#a!_RPNYY(                                         3   KMHHD!\hec!%57!je!%6/;
 4   !!!!L,!!!!!?e[fa[h*!?+J+@+K+F+@+M;                               4   !!!!6(!!!!!MR`(
 5   !!!!6(!!!!!DRcR_!URN_Q!\S!Va(                                    5   !!!!L,!!!!!RekbZ!oek!W]h[[!m_j^!c[*!XWi[Z!kfed
 6   !!!!L,!!!!!<dZ!D!YWd%j!++!D!Wbh[WZo!Wia[Z!oek                    6   iec[!e\!j^[!dkcX[hi!WdZ!j^[!cWj^!j^Wj!m[!Z_iYkii[Z
 7   WXekj!j^Wj!ed[,!!JaWo,                                           7   _d!j^[!fWij!Yekfb[!e\!c_dkj[i*!j^Wj!f[h^Wfi!oekh
/.   !!!!!!!!!!!Ne!j^Wj!WZZ[Z*!D!j^_da!\ekh!ceh[!j^Wj                /.   [ij_cWj[i!o[ij[hZWo!h[]WhZ_d]!^em!cWdo!^kdZh[Zi!e\
//   m[!^WZd%j!_Z[dj_\_[Z!ie!\Wh!_d!j^[!Z[fei_j_ed,                  //   XhWa[!`eXi!Hh,!=h_dZ[bb!cWo!^Wl[!X[[d!fh[i[dj!\eh
/0   !!!!6(!!!!!JU\`R!dN`[#a!_RNY!]\]bYN_!\[R`                       /0   j^Wj!oek!m[h[!meha_d]!ed!cWo!^Wl[!X[[d!W!b_jjb[!X_j
/1   ]_\ONOYf&!Oba!?!_RPNYY!aUR![NZR`(                               /1   ^_]^[h!j^Wd*!j^Wd!h[Wb_jo;
/2   !!!!L,!!!!!=kj!`kij!b_a[!Wbb!j^[!ej^[h!jhW_b[h                  /2   !!!!6(!!!!!?!PN[#a!`Nf!aUNa(!!M\b&!f\b!aU_\dV[T
/3   cWdk\WYjkh[hi!j^Wj!oek!_Z[dj_\_[Z!o[ij[hZWo*!D                  /3   a\\!ZN[f!ZVeRQ![bZOR_`!Na!ZR(
/4   c[Wd*!j^[o!^WZ!je!^Wl[!j^[_h!XhWa[i!Y^Wd][Z*!jee*               /4   !!!!L,!!!!!JaWo,!!?e!oek!\[[b!Yed\_Z[dj!WXekj!j^[
/5   h_]^j;                                                          /5   dkcX[hi!oek%l[!]_l[d!ki!_d!j[hci!e\!j^[!\ekh
/6   !!!!6(!!!!!KU'UbU!$NSSV_ZNaVcR!_R`]\[`R%(                       /6   X[_d]!++!\ekh!XhWa[!`eXi!X[_d]!W!]eeZ!dkcX[h!e\
/7   !!!!L,!!!!!T[i;                                                 /7   XhWa[!`eXi!je!X[!WXb[!je!f[h\ehc!_d!W!ZWo;
0.   !!!!6(!!!!!MR`(                                                 0.   !!!!6(!!!!!8\__RPa(
0/   !!!!L,!!!!!<dZ!oekh!meha*!WdZ!_j!mekbZd%j!X[                    0/   !!!!L,!!!!!<dZ*!oek!adem*!D!j^_da!j^[!h[YehZ!m_bb
00   [l[dbo!Z_l_Z[Z*!Xkj!_j!mekbZ!X[!++!_j!mekbZ!X[                  00   if[Wa!\eh!_ji[b\!Wi!je!^em!cWdo!ZWoi!j^[h[!Wh[!_d!W
01   Z_l_Z[Z!Wced]ij!j^[i[!lWh_eki!jhW_b[h!cWdk\WYjkh[hi             01   o[Wh,
02   j^Wj!m[%l[!_Z[dj_\_[Z!el[h!j^[!Yekhi[!e\!j^[!fWij               02   !!!!6(!!!!!8\__RPa(
03   jme!ZWoi;                                                       03   !!!!L,!!!!!JaWo,!!<dZ!oek%h[!Yed\_Z[dj!j^Wj!oek


                     FN`gXVRdVPg!8\b_a!HR]\_aV[T                                         FN`gXVRdVPg!8\b_a!HR]\_aV[T
              $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                           $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                      @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                          KW][!070                                                            KW][!071
 /   m[h[!Wj!b[Wij!Wbbem[Z!jme!m[[ai!e\!lWYWj_ed!f[h                  /   ?!ZRN[&!`\ZR!a_NVYR_`!UNQ!aURV_!\_VTV[NY!O\TVR`!\[
 0   o[Wh;                                                            0   aURZ(!!JURf!dN`[#a!PUN[TRQ(!!I\!Va!ZVTUa!UNcR!ORR[
 1   !!!!6(!!!!!8\__RPa(                                              1   ZN[bSNPab_RQ!S\_!aUNa!a_NVYR_(
 2   !!!!L,!!!!!<dZ!oek%h[!Yed\_Z[dj!j^Wj*!Wbj^ek]^!_j                2   !!!!L,!!!!!?e!oek!adem!j^Wj!\eh!W!\WYj!eh!_i!j^Wj
 3   mWid%j![l[d*!j^Wj!j^[!meha!oek!++!j^[!XhWa[!`eXi                 3   Wd!Wiikcfj_ed;!!<dZ!b[j!c[*!b[j!c[!j[bb!oek!m^[h[
 4   oek!f[h\ehc[Z!m[h[!ifh[WZ!ekj!el[h!ckbj_fb[                      4   D%c!Yec_d]!\hec,!!Ho!kdZ[hijWdZ_d]!_i!j^[i[!Xe]_[i
 5   cWdk\WYjkh[hi!j^Wj!m[%l[!Z_iYkii[Z;                              5   Wh[!iec[m^Wj!][d[h_Y!WdZ!j^[!iWc[!Xe]_[!mekbZ!X[
 6   !!!!6(!!!!!8\__RPa(                                              6   ki[Z!Xo!ckbj_fb[!cWdk\WYjkh[hi,!!Di!j^Wj!_dYehh[Yj;
 7   !!!!L,!!!!!<dZ*!_d!\WYj*!j^[!XhWa[!`eXi!oek                      7   !!!!6(!!!!!I\ZR&!`\ZR!ZN[bSNPab_R_`!UNcR!aURV_!''
/.   f[h\ehc[Z!m[h[!Z_l_Z[Z!Wced]ij!dej!`kij!j^[                     /.   f\b!X[\d&!aURV_!O\TVR!dN`!\[!aURV_!b[Va&!Oba!VS
//   cWdk\WYjkh[hi!m[%l[!_Z[dj_\_[Z!o[ij[hZWo!WdZ!jeZWo              //   aURf!dR_R!_R]YNPRQ&!aURf!d\bYQ!b`R!N!TR[R_NY!O\TVR(
/0   Zkh_d]!oekh!j[ij_cedo*!Xkj!j^[h[!m[h[!Wbie!ej^[h                /0   I\!?!P\bYQ[#a!aRYY!VS!aURf!dR_R!_R]YNPRQ!\_![\a(
/1   cWdk\WYjkh[hi!j^Wj!m[!^Wl[d%j!X[[d!WXb[!je!_Z[dj_\o             /1   !!!!L,!!!!!<dZ!oek!YekbZd%j!j[bb!m^[j^[h!W
/2   j^Wj!oek!f[h\ehc[Z!XhWa[!`eXi!ed!Zkh_d]!j^[!Yekhi[              /2   fWhj_YkbWh!Xe]_[!^WZ!X[[d!if[Y_Wbbo!if[Y%Z!ekj!WdZ
/3   e\!j^Wj!%57!j^hek]^!%6/!j_c[!\hWc[;                             /3   cWdk\WYjkh[Z!\eh!W!]_l[d!jhW_b[h!cWdk\WYjkh[h!eh
/4   !!!!6(!!!!!?!d\bYQ!]_R`bZR(                                     /4   m^[j^[h!j^Wj!iWc[!if[Y_\_YWj_ed!Xe]_[!mWi!ki[Z!ed
/5   !!!!L,!!!!!Tek!m[h[!Wia[Z!W!gk[ij_ed![Whb_[h!j^Wj               /5   ckbj_fb[!jhW_b[h!cWdk\WYjkh[hi%!fheZkYji;
/6   oek!]Wl[!j^[!h[ifedi[!Zhkci!++!WdZ!D!j^_da!D%c                  /6   !!!!6(!!!!!?!PN[#a!N[`dR_!aUNa(
/7   gkej_d]!oek!Yehh[Yjbo*!D!fkj!gkejWj_ed!cWhai!WhekdZ             /7   !!!!L,!!!!!<dZ*!m^_b[!j^[h[!m[h[!Y[hjW_d!j_c[i
0.   _j!++!"Zhkci!j^Wj!m[h[!cWdk\WYjkh[Z!\eh!j^Wj                    0.   j^Wj!m[%l[!Z_iYkii[Z!m^[h[!_j!mekbZ!X[![nYbki_l[bo
0/   jhW_b[h,"                                                       0/   XhWa[!`eX!m[[a*!j^[h[!mekbZ!X[!ej^[h!j_c[i!j^Wj
00   !!!!!!!!!!!Did%j!_j!jhk[!j^Wj!j^[!Zhkci!m[h[                    00   m[h[d%j![nYbki_l[!XhWa[!`eX!m[[ai*!Yehh[Yj;
01   cWdk\WYjkh[Z!\eh!j^[!Xe]_[i!Wi!effei[Z!++!\eh!j^[               01   !!!!6(!!!!!JUR_R!dR_R!dRRX`!aUNa!f\b!dN`[#a
02   jof[!e\!Xe]_[!j^Wj!mWi!ed!j^[!jhW_b[h;                          02   `a_VPaYf!O_NXR!W\O`&!fRNU(
03   !!!!6(!!!!!F_Raaf!ZbPU&!fRNU&!S\_!aUR!O\TVR(!!7ba&              03   !!!!L,!!!!!<dZ*!ed!j^ei[!m[[ai*!oek!c_]^j!X[


                     FN`gXVRdVPg!8\b_a!HR]\_aV[T                                         FN`gXVRdVPg!8\b_a!HR]\_aV[T
              $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                           $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                Case 2:21-cv-00216-NJB-DMD
                       @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 Page   106 of 565
                                                                       @(!ARVaU!F\YRa\
                         <RO_bN_f!,*&!,*,*                                                  <RO_bN_f!,*&!,*,*

                                                        KW][!072                                                            KW][!073
 /   f[h\ehc_d]!W!XhWa[!`eX*!Xkj!j^[*!j^[!ej^[h!j[Wci               /   meha[Z!ed!W!XhWdZ!d[m!Bh[Wj!?Wd[!jhW_b[h!WdZ!oek
 0   cWo!X[!meha_d]!ed!iec[!ej^[h!Wif[Yj!e\!j^[!jhW_b[h*            0   Z_Zd%j!adem!j^[!cW_dj[dWdY[!^_ijeho!\eh!Wdo!Bh[Wj
 1   Yehh[Yj;                                                       1   ?Wd[!jhW_b[h!oek!^WZ!meha[Z!ed,!!Ne!_j%i!\W_h!\eh
 2   !!!!6(!!!!!MR`(!!?a!P\bYQ!OR(!!MR`(                            2   c[!je!iWo!j^Wj!oek!YWd%j!iWo!j^Wj!oek!m[h[!j^[
 3   !!!!HM,!C<MO8                                                  3   \_hij!f[hied!je![l[h!Y^Wd][!XhWa[i!ed!W!Bh[Wj!?Wd[
 4   !!!!!!!!!!!D!j^_da!j^Wj%i!Wbb!D!^Wl[,!!D                       4   jhW_b[h*!Yehh[Yj;
 5   Wffh[Y_Wj[!oekh!j_c[*!i_h,                                     5   !!!!6(!!!!!?!PN[#a!`Nf!aUNa&!P\__RPa(
 6   !!!!HM,!CD=@T8                                                 6   !!!!HN,!?@OJ8
 7   !!!!!!!!!!!<doXeZo![bi[!^Wl[!\ebbem+kf;                        7   !!!!!!!!!!!JaWo,!!D!j^_da!j^Wj%i!Wbb,!!O^Wda!oek
/.   !!!!HN,!?@OJ8                                                 /.   l[ho!ckY^,
//   !!!!!!!!!!!D!Ze*!Xkj,                                         //   @S<HDI<ODJI!=T!HN,!=<SO@M8
/0   !!!!HN,!=<SO@M8                                               /0   !!!!L,!!!!!JaWo,!!FWo!=Wnj[h!XWYa!W]W_d,!!D!Zed%j
/1   !!!!!!!!!!!Tek!]e!W^[WZ,                                      /1   ^Wl[!W!bej!e\!gk[ij_edi,!!=kj*!oek!adem*!oek!m[h[
/2   !!!!OC@!M@KJMO@M8                                             /2   Wia[Z!gk[ij_edi!WXekj!j^[!jof[!e\!jhW_b[hi*
/3   !!!!!!!!!!!RWjY^!oekh!c_Y,                                    /3   ]eei[d[Ya!Xen[i*!\bWjX[Z,!!Aeh!j^[!Njh_Ya!jhW_b[hi*
/4   !!!!HM,!C<MO8                                                 /4   YWd!oek!j[bb!c[!m^Wj!jof[!e\!Njh_Ya!jhW_b[hi!oek
/5   !!!!!!!!!!!D%c!beea_d]!\eh!co!fem[h!YehZ,!!D!ad[m             /5   h[YWbb!meha_d]!ed!_d!j^[!j_c[!\hWc[!m^[d!oek!m[h[
/6   D!^WZ!iec[j^_d]!j^Wj!mWi!]e_d]!je!c[ii!c[!kf,                 /6   j^[h[!Wj!Kk[hje!M_Ye!HWh_d[!m_j^!Hh,!=h_dZ[bb;
/7   !!!!OC@!RDOI@NN8                                              /7   !!!!6(!!!!!JURf!dR_R!O\e!a_NVYR_`(
0.   !!!!!!!!!!!D!Z_Z!j^[!iWc[!j^_d],                              0.   !!!!L,!!!!!JaWo,!!<bb!e\!j^[c;
0/   @S<HDI<ODJI!=T!HN,!?@OJ8                                      0/   !!!!6(!!!!!Ia_VPX5!!MRNU&!?!d\bYQ!`Nf!NYY!\S!aURZ(
00   !!!!L,!!!!!D!i^ekbZ!X[![njh[c[bo!gk_Ya,!!D!`kij               00   !!!!L,!!!!!JaWo,!!<dZ!++![nYki[!c[,!!<dZ
01   ^Wl[!W!\[m!gk[ij_edi!\eh!oek,!!D!mWi!beea_d]                  01   i_dY[!j^_i!_i!co!Y^WdY[!je!jWba!je!oek*!Ze!oek!^Wl[
02   j^hek]^!co!dej[i,                                             02   W!if[Y_\_Y!c[ceho!++!D!h[Wb_p[!j^Wj!++!D!j^_da!m^Wj
03   !!!!!!!!!!!<dZ!oek!jebZ!c[!j^Wj!oek!^WZ!d[l[h                 03   oek%l[!X[[d!j[ij_\o_d]!WXekj!_i!X[YWki[!oek!adem


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                         FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                           $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                          @(!ARVaU!F\YRa\                                                    @(!ARVaU!F\YRa\
                         <RO_bN_f!,*&!,*,*                                                  <RO_bN_f!,*&!,*,*

                                                        KW][!074                                                            KW][!075
 /   oek!Z_Z!j^[!meha!WdZ!oek!adem!Hh,!=h_dZ[bb!mWi                 /   !!!!L,!!!!!?e!oek!h[c[cX[h![nWYjbo!m^Wj!oek!m[h[
 0   j^[h[*!j^Wj!^[!mekbZ!^Wl[!X[[d!WhekdZ!m^[d!oek!m[h[            0   Ze_d]!ed!j^Wj!Njh_Ya!jhW_b[h!m^[d!^[!mWi!cWa_d]!\kd
 1   Ze_d]!W!`eX!ed!W!Njh_Ya!jhW_b[h*!h_]^j;                        1   e\!j^[!dWc[;
 2   !!!!6(!!!!!KU'UbU!$NSSV_ZNaVcR!_R`]\[`R%(                      2   !!!!6(!!!!!6!O_NXR!W\O(
 3   !!!!L,!!!!!Ne!++!o[i;                                          3   !!!!L,!!!!!JaWo,!!<dZ!m^Wj!fWhj!e\!j^[!fheY[ii
 4   !!!!6(!!!!!MR`(                                                4   m[h[!oek!_d!ed!j^[!XhWa[!`eX!m^[d!^[!mWi!Ze_d]
 5   !!!!L,!!!!!Ne!co!gk[ij_ed!_i8!!?e!oek!^Wl[!W                   5   j^Wj;
 6   if[Y_\_Y!c[ceho!e\!meha_d]!ed!W!Njh_Ya!jhW_b[h!m^[d            6   !!!!6(!!!!!?!Q\[#a!_RZRZOR_(
 7   Hh,!=h_dZ[bb!mWi!j^[h[;!!Tek!adem*!oek!YWd!iWo!++              7   !!!!L,!!!!!JaWo,!!Ne!oek!Z[iYh_X[Z!j^[!XhWa[!`eX
/.   _\!m[!]e!je!jh_Wb*!oek!YWd!iWo*!Hi,!=Wnj[h*!D                 /.   \eh!ki*!Xkj!j^[!edbo!j_c[!j^[h[%i!Wdo!Zkij!_i!m^[d
//   h[c[cX[h!j^Wj!D!mWi!Ze_d]!ikY^!WdZ!ikY^!W!`eX!ed              //   oek%h[!Xbem_d]!_j!ekj!eh!]h_dZ_d]!_j9!mekbZ!oek
/0   j^_i!Njh_Ya!jhW_b[h!WdZ!D!h[c[cX[h!_j!X[YWki[!Hh,             /0   W]h[[!m_j^!j^Wj;
/1   =h_dZ[bb!mWi!h_]^j!j^[h[!WdZ!^[!mWi!jWba_d]!je!c[             /1   !!!!6(!!!!!MR`(
/2   WXekj!j^_i!eh!j^Wj,!!?e!oek!kdZ[hijWdZ;                       /2   !!!!L,!!!!!JaWo,!!<dZ!oek!YWd%j!j[bb!c[!jeZWo!_\
/3   !!!!6(!!!!!MRNU(                                              /3   Hh,!=h_dZ[bb!mWi!cWa_d]!\kd!e\!j^[!dWc[!m^[d!oek
/4   !!!!L,!!!!!JaWo,!!?e!oek!^Wl[!W!if[Y_\_Y!c[ceho!e\            /4   m[h[!]h_dZ_d]!eh!Xbem_d]!_j!ekj*!h_]^j;
/5   Hh,!=h_dZ[bb!X[_d]!j^[h[!_d!j^[!Wh[W!h_]^j!X[^_dZ             /5   !!!!6(!!!!!?!PN[#a!aRYY!f\b(
/6   oek!m^[d!oek!m[h[!meha_d]!ed!W!Njh_Ya!jhW_b[h;                /6   !!!!L,!!!!!JaWo,!!O^Wj%i!m^Wj!D!j^ek]^j,
/7   !!!!6(!!!!!MR`(                                               /7   !!!!!!!!!!!<bb!h_]^j,!!R^[d!Hh,!=h_dZ[bb!YWbb[Z
0.   !!!!L,!!!!!JaWo,!!>Wd!oek!j[bb!c[!WXekj!j^Wj;                 0.   oek!W\j[h!^[!]ej!i_Ya!WdZ!^[!YWbb[Z!oek!WXekj!^_i
0/   !!!!6(!!!!!JRYY!f\b!NO\ba!Va5                                 0/   _bbd[ii*!Z_Z!^[!jWba!je!oek!WXekj!Wdo!XWdahkfjYo
00   !!!!L,!!!!!T[i,                                               00   jhkij!j^Wj!^[!mWi!]e_d]!je!Wffbo!je;
01   !!!!6(!!!!!MRNU(!!>R!dN`!ZNXV[T!Sb[!\S!aUR![NZR(              01   !!!!6(!!!!!KU'bU!$[RTNaVcR!_R`]\[`R%(!!D\(
02   !!!!L,!!!!!JaWo,!!?e!oek!h[c[cX[h!m^[d!j^Wj!mWi;              02   !!!!L,!!!!!Ie;
03   !!!!6(!!!!!EU&!?!PN[#a!aRYY!f\b!aUNa(                         03   !!!!!!!!!!!?_Z!^[*!Z_Z!^[!jWba!je!oek!WXekj!Wdo


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                         FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                           $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                 Case 2:21-cv-00216-NJB-DMD
                        @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 Page   107 of 565
                                                                        @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                           KW][!076                                                             KW][!077
 /   i[jjb[c[dji!^[!Wdj_Y_fWj[Z;                                       /   ekj*!je!X[!WXekj!Wd!^ekh!W!ZWo*!oek!iWo;
 0   !!!!6(!!!!!D\(                                                    0   !!!!6(!!!!!KU'UbU!$NSSV_ZNaVcR!_R`]\[`R%(
 1   !!!!L,!!!!!JaWo,!!<dZ!b[j!c[!Wia!j^_i8!!Cem!mekbZ                 1   !!!!L,!!!!!Dd!oekh!Wh[W;
 2   oek!Z[iYh_X[!oekhi[b\!Wi*!Wi!W!meha[h!Wj!Kk[hje                   2   !!!!6(!!!!!KU'UbU!$NSSV_ZNaVcR!_R`]\[`R%(
 3   M_Ye!HWh_d[;                                                      3   !!!!L,!!!!!R^Wj!mekbZ!^[!X[!Ze_d]!j^[h[!\eh!Wd
 4   !!!!6(!!!!!?!dN`!N!T\\Q!d\_XR_(                                   4   Wh[W!++!\eh!Wd!^ekh;!!C[!mekbZ!dej!X[!j[bb_d]!oek
 5   !!!!L,!!!!!JaWo,!!R[h[!oek!]eeZ!Wj!oekh!++!j^[                    5   ^em!je!Ze!oekh!`eX*!mWi!^[;
 6   `eXi!oek!m[h[!Wii_]d[Z*!b_a[!m[bZ_d]*!m[h[!oek!]eeZ               6   !!!!6(!!!!!>R!d\bYQ[#a!OR!aUR_R!aUR!R[aV_R!U\b_(
 7   Wj!j^Wj;                                                          7   <\b_!U\b_`!\ba!\S!aUR!QNf!V`!NO\ba!aUR!aVZR!UR
/.   !!!!6(!!!!!MR`(                                                  /.   `]R[a!V[!aUR!`U\]&!N[Q!UR!d\bYQ!T\!]R_V\QVPNYYf
//   !!!!L,!!!!!JaWo,!!<dZ!m^Wj!WXekj!XhWa[!`eXi;                     //   UR_R!\_!aUR_R!a\!RNPU!ONf&!aNYX!a\!aUR!Tbf`&!`U\\a
/0   !!!!6(!!!!!?!dN`!RSSVPVR[a(                                      /0   aUR!ObYY(
/1   !!!!L,!!!!!JaWo,!!?_Z!oek!++!m[h[!oek!h[gk_h[Z!je                /1   !!!!L,!!!!!O^Wj%i!m^Wj!D!\_]kh[Z,
/2   h[Ze!W!bej!e\!oekh!XhWa[!`eXi;                                   /2   !!!!6(!!!!!>R!QVQ[#a!YVXR!ORV[T!V[!N[!\SSVPR(
/3   !!!!6(!!!!!HRQ\!ZV[R5                                            /3   !!!!L,!!!!!JaWo,!!Ne!^[!mWid%j!ijWdZ_d]!j^[h[!el[h
/4   !!!!L,!!!!!T[W^,                                                 /4   oekh!i^ekbZ[h!jho_d]!je!j[bb!oek!^em!je!Ze!oekh
/5   !!!!6(!!!!!D\]R(                                                 /5   `eX*!h_]^j;
/6   !!!!L,!!!!!JaWo,!!?_Z!Hh,!=h_dZ[bb![l[h!Yec[!je                  /6   !!!!6(!!!!!D\(!!>R!X[Rd!dR!X[Rd!dUNa!dR!dR_R
/7   oek!WdZ!iWo*!oek%h[!Ze_d]!j^Wj!mhed]*!oek%l[!]ej!je              /7   Q\V[T(
0.   h[Ze!j^_i;                                                       0.   !!!!L,!!!!!<dZ!m^Wj![bi[!mWi!^[!Ze_d]!X[i_Z[i!`kij
0/   !!!!6(!!!!!D\(                                                   0/   jWba_d]!je!oek!]koi!_d!j^[!i^ef!\eh!\ekh!^ekhi!++
00   !!!!L,!!!!!JaWo,!!Ne!m^Wj!++!D!]k[ii!m^Wj!D%c                    00   ekj!_d!j^[!i^ef;
01   jho_d]!je!\_]kh[!ekj!_i!m^o!^[!mekbZ!if[dZ!\ekh                  01   !!!!6(!!!!!LN[QR_V[T!N_\b[Q!aNYXV[T!a\!RcR_fO\Qf(
02   ^ekhi!_d!j^[!i^ef,!!C[!mekbZ!dej!if[dZ!++!Wi!Hh,                 02   !!!!L,!!!!!JaWo,!!RWi!j^[h[!Wdoed[![bi[!_d!j^Wj
03   CWhj!YWc[*!Z_iYkii[Z!m_j^!oek*!_\!oek!Z_l_Z[Z!_j                 03   i^ef!Wh[W!++!m[bb*!Z_Z!^[!]e!_dje!fWhji!WdZ!jWba!je


                      FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
               $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                            @(!ARVaU!F\YRa\                                                      @(!ARVaU!F\YRa\
                           <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                           KW][!1..                                                             KW][!1./
 /   j^[c!j^[h[;                                                       /   !!!!L,!!!!!JaWo,!!<dZ!^[!^WZ!++!Xkj!oek!jebZ!ki!^[
 0   !!!!6(!!!!!I\ZRaVZR`(                                             0   mWi!el[h!++!WdZ!D!YekbZ!X[!mhed]!WXekj!j^_i,!!RWi
 1   !!!!L,!!!!!JaWo,!!D%c!jho_d]!je!h[c[cX[h!m^Wj!j^Wj                1   ^[!el[h!Wbb!j^h[[!Xk_bZ_d]i;
 2   Y^Whj!beeai!b_a[,!!D!h[c[cX[h!j^[!fWhji!Z[fWhjc[dj                2   !!!!6(!!!!!KU'UbU!$NSSV_ZNaVcR!_R`]\[`R%(
 3   ed!j^[h[,                                                         3   !!!!L,!!!!!T[i;
 4   !!!!6(!!!!!M\b!dN[a!Va5                                           4   !!!!6(!!!!!MR`(
 5   !!!!L,!!!!!HWoX[!ie,                                              5   !!!!L,!!!!!JaWo,!!<dZ!ie!^[!mekbZ!^Wl[!++!WdZ
 6   !!!!6(!!!!!$>N[QV[T(%                                             6   mekbZ!^[!]e!je![WY^!e\!j^ei[!Xk_bZ_d]i![l[ho!ZWo;
 7   !!!!L,!!!!!O^Wda!oek,!!O^Wda!oek,                                 7   !!!!6(!!!!!D\a!cR_f!ZbPU(
/.   !!!!!!!!!!!<bb!h_]^j,!!O^Wj!iWoi!fem[h9!_i!j^Wj                  /.   !!!!L,!!!!!JaWo,!!Ekij!ijWo[Z!++
//   h_]^j;                                                           //   !!!!6(!!!!!>R!]_Raaf!ZbPU!Ub[T!\ba!b]!V[!aUR!S_\[a
/0   !!!!6(!!!!!F\dR_(!!LUR_R!aURf!d\_XRQ!\[!aUR                      /0   `U\](
/1   a_bPX`(                                                          /1   !!!!L,!!!!!JaWo,!!<bb!h_]^j,!!<bb!h_]^j,!!JaWo,
/2   !!!!L,!!!!!J^*!eaWo,                                             /2   JaWo,!!D!mWi!jho_d]!je!j^_da!e\!++!oek!Zed%j!adem
/3   !!!!!!!!!!!Ne!m^[d!oek%h[!iWo_d]!\ekh!^ekhi!^[                   /3   j^[!i[h_Wb!dkcX[h!ed!Wdo!Njh_Ya!jhW_b[h!oek!meha[Z
/4   mWi!++!W!ZWo!^[!mWi!ekj!e\!^_i!e\\_Y[*!mekbZ!j^Wj                /4   ed*!h_]^j;
/5   _dYbkZ[!j^[!j_c[!^[!m[dj!_dje!fWhji!WdZ!fem[h;                   /5   !!!!6(!!!!!D\(
/6   !!!!6(!!!!!F_\ONOYf(                                             /6   !!!!L,!!!!!RekbZd%j!j^_da!ie,!!Ekij!]ej!je!Wia
/7   !!!!L,!!!!!JaWo,!!<bb!h_]^j,!!R[bb*!WdZ                          /7   j^[i[!gk[ij_edi,
0.   _dif[Yj_ed*!_i!j^Wj!fWhj!e\!_j*!jee;                             0.   !!!!HN,!=<SO@M8
0/   !!!!6(!!!!!>R!QVQ[#a!T\!\ba!aUR_R(                               0/   !!!!!!!!!!!<dZ!++!j^Wj%i!Wbb!D!^Wl[,
00   !!!!L,!!!!!JaWo,!!C[!mWi!dej!el[h!j^[!_dif[Yj_ed                 00   !!!!OC@!RDOI@NN8
01   fWhj;                                                            01   !!!!!!!!!!!O^Wda!oek,
02   !!!!6(!!!!!?a!dN`!\ba!V[!aUR!RYRZR[a`(!!>R!QVQ[#a                02   !!!!HN,!=<SO@M8
03   YVXR!T\V[T!\ba!V[!aUR!RYRZR[a`(                                  03   !!!!!!!!!!!O^Wda!oek!ie!ckY^,


                      FN`gXVRdVPg!8\b_a!HR]\_aV[T                                          FN`gXVRdVPg!8\b_a!HR]\_aV[T
               $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11
                Case 2:21-cv-00216-NJB-DMD
                       @(!ARVaU!F\YRa\     Document 1-2 Filed 02/02/21 Page   108 of 565
                                                                       @(!ARVaU!F\YRa\
                        <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                        KW][!1.0                                                              KW][!1.1
 /   !!!!OC@!RDOI@NN8                                               /   !!!!OC@!M@KJMO@M8
 0   !!!!!!!!!!!Tek!YWd!^Wl[!_j!&_dZ_YWj_d]',                       0   !!!!!!!!!!!N_h*!h[WZ_d]!WdZ!i_]d_d]*!o[i;
 1   !!!!HM,!C<MO8                                                  1   !!!!HM,!CD=@T8
 2   !!!!!!!!!!!Ie*!i^[!YWd%j,                                      2   !!!!!!!!!!!T[i,
 3   !!!!HM,!CD=@T8                                                 3   !!!!OC@!RDOI@NN8
 4   !!!!!!!!!!!<bb!h_]^j,!!<doXeZo![bi[!^Wl[                       4   !!!!!!!!!!!OWa[!j^_i!e\\;
 5   gk[ij_edi;                                                     5   !!!!QD?@JBM<KC@M8
 6   !!!!HN,!JMHN=T8                                                6   !!!!!!!!!!!R[!Wh[!]e_d]!e\\!j^[!h[YehZ,!!O^[!j_c[
 7   !!!!!!!!!!!Ekij!ed[!gk_Ya!ed[,                                 7   _i!/.821!W,c,
/.   @S<HDI<ODJI!=T!HN,!JMHN=T8                                    /.   !!!!!!!!!!!&@dZ!e\!Z[fei_j_ed,'
//   !!!!L,!!!!!C_*!i_h,!!D!`kij!^Wl[!ed[!gk_Ya                    //
/0   \ebbem+kf!i_c_bWh!je!m^Wj!oek!iehj!e\!j[ij_\_[Z!je            /0
/1   m_j^!ej^[h!Wjjehd[oi!h[]WhZ_d]!jhW_b[hi,                      /1
/2   !!!!!!!!!!!Nf[Y_\_YWbbo!h[]WhZ_d]!Ahk[^Wk\!WdZ                /2
/3   R_bied*!oek!YWd%j!j[bb!c[!_\!oek![l[h!h[cel[Z!j^[             /3
/4   eh_]_dWb!XhWa[i!\hec!W!Ahk[^Wk\!eh!R_bied!jhW_b[h*            /4
/5   YWd!oek;                                                      /5
/6   !!!!6(!!!!!?!PN[#a!`Nf!?!''!?!PN[#a!`Nf!aUNa(                 /6
/7   !!!!CI(!EHCI7M4                                               /7
0.   !!!!!!!!!!!6YY!_VTUa(!!JUN[X!f\b&!`V_(                        0.
0/   !!!!HM,!CD=@T8                                                0/
00   !!!!!!!!!!!<bb!h_]^j,!!O^Wj!YedYbkZ[i!j^[                     00
01   Z[fei_j_ed,                                                   01
02   !!!!HM,!C<MO8                                                 02
03   !!!!!!!!!!!O^Wda!oek,                                         03


                   FN`gXVRdVPg!8\b_a!HR]\_aV[T                                         FN`gXVRdVPg!8\b_a!HR]\_aV[T
            $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11                           $0+2%!-*1'3-,*!)!J\YY'<_RR!$2//%!/3/'-/11




                         @(!ARVaU!F\YRa\                                                      @(!ARVaU!F\YRa\
                        <RO_bN_f!,*&!,*,*                                                    <RO_bN_f!,*&!,*,*

                                                        KW][!1.2                                                              KW][!1.3
 /   !!!!!!!!!!!!!!RDOI@NN!>@MODAD><ODJI                            /   !!!!!!!!!!!M@KJMO@M%N!>@MODAD><O@
                                                                    0
 0   !!!!!D*!E,!F@DOC!KJG@OJ*!QJGPH@!DD*!^Wl[!h[WZ!eh                   !!!!!!!!O^_i!Y[hj_\_YWj_ed!_i!lWb_Z!edbo!\eh!W
                                                                    1   jhWdiYh_fj!WYYecfWd_[Z!Xo!co!eh_]_dWb!i_]dWjkh[
 1   ^Wl[!^WZ!j^[!\eh[]e_d]!j[ij_cedo!h[WZ!je!c[!WdZ                    WdZ!eh_]_dWb!h[gk_h[Z!i[Wb!ed!j^_i!fW][,
                                                                    2
 2   ^[h[Xo!Y[hj_\o!j^Wj!_j!_i!W!jhk[!WdZ!Yehh[Yj                       !!!!!!!D*!O<M<!R,!RDGNJI*!>[hj_\_[Z!>ekhj
                                                                    3   M[fehj[h*!_d!WdZ!\eh!j^[!NjWj[!e\!Gek_i_WdW*!Wi
 3   jhWdiYh_fj_ed!e\!co!j[ij_cedo!m_j^!j^[![nY[fj_ed!e\                j^[!e\\_Y[h!X[\eh[!m^ec!j^_i!j[ij_cedo!mWi
 4   j^[!\ebbem_d]!Yehh[Yj_edi!eh!Y^Wd][i*!_\!Wdo8                  4   jWa[d*!Ze!^[h[Xo!Y[hj_\o!j^Wj!E,!F[_j^!Keb[je*!je
                                                                        m^ec!eWj^!mWi!WZc_d_ij[h[Z*!W\j[h!^Wl_d]!X[[d!Zkbo
 5   KW][!!!G_d[!!!!!!!!!!!!!!!!>ehh[Yj_ed                          5   imehd!Xo!c[!kfed!Wkj^eh_jo!e\!M,N,!1580332*!Z_Z
                                                                        j[ij_\o!Wi!^[h[_dX[\eh[!i[j!\ehj^!_d!j^[!\eh[]e_d]
 6   VVVV!!!VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV            6   72!fW][i9
                                                                        !!!!!!!O^Wj!j^_i!j[ij_cedo!mWi!h[fehj[Z!Xo!c[!_d
 7   VVVV!!!VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV            7   j^[!ij[dejof[!h[fehj_d]!c[j^eZ*!mWi!fh[fWh[Z
                                                                        WdZ!jhWdiYh_X[Z!Xo!c[!eh!kdZ[h!co!f[hiedWb
/.   VVVV!!!VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV           /.   Z_h[Yj_ed!WdZ!ikf[hl_i_ed*!WdZ!_i!W!jhk[!WdZ
                                                                        Yehh[Yj!jhWdiYh_fj!je!j^[!X[ij!e\!co!WX_b_jo!WdZ
//   VVVV!!!VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV           //   kdZ[hijWdZ_d]9
                                                                        !!!!!!!O^Wj!j^[!jhWdiYh_fj!^Wi!X[[d!fh[fWh[Z!_d
/0   VVVV!!!VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV           /0   Yecfb_WdY[!m_j^!jhWdiYh_fj!\ehcWj!]k_Z[b_d[i
                                                                        h[gk_h[Z!Xo!ijWjkj[!eh!Xo!hkb[i!e\!j^[!=eWhZ*!WdZ
/1   VVVV!!!VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV           /1   j^Wj!D!Wc!_d\ehc[Z!WXekj!j^[!Yecfb[j[!WhhWd][c[dj*
                                                                        \_dWdY_Wb!eh!ej^[hm_i[*!m_j^!j^[!f[hied!eh![dj_jo
/2   VVVV!!!VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV           /2   cWa_d]!WhhWd][c[dji!\eh!Z[fei_j_ed!i[hl_Y[i9
/3   VVVV!!!VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV                !!!!!!!O^Wj!D!^Wl[!WYj[Z!_d!Yecfb_WdY[!m_j^!j^[
                                                                   /3   fhe^_X_j_ed!ed!YedjhWYjkWb!h[bWj_edi^_fi*!Wi
/4   VVVV!!!VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV                Z[\_d[Z!Xo!Gek_i_WdW!>eZ[!e\!>_l_b!KheY[Zkh[
                                                                   /4   <hj_Yb[!/212!WdZ!_d!hkb[i!WdZ!WZl_ieho!ef_d_edi!e\
/5   VVVV!!!VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV                j^[!XeWhZ9
                                                                   /5   !!!!!!!O^Wj!D!^Wl[!de!WYjkWb!ademb[Z][!e\!Wdo
/6   VVVV!!!VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV                fhe^_X_j[Z![cfbeoc[dj!eh!YedjhWYjkWb!h[bWj_edi^_f*
                                                                   /6   Z_h[Yj!eh!_dZ_h[Yj*!X[jm[[d!W!Yekhj!h[fehj_d]!\_hc
/7   VVVV!!!VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV                WdZ!Wdo!fWhjo!b_j_]Wdj!_d!j^_i!cWjj[h!deh!_i!j^[h[
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Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 109 of 565




                                                                  EXHIBIT G
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 110 of 565
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Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 112 of 565




                                                                    EXHIBIT H
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 113 of 565
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 114 of 565
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 115 of 565
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                                                                  EXHIBIT I
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 117 of 565
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 118 of 565




                                                                   EXHIBIT J
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 119 of 565
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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

CAROLYN BRINDELL, ET AL.   *                          CIVIL ACTION
                           *
V.                         *                          NO. __________________
                           *
CARLISLE INDUSTRIAL BRAKE  *                          SECTION “ “
AND FRICTION, INC., ET AL. *
                           *                          JUDGE:
                           *
                           *                          MAG. JUDGE:
*************************

                  EATON CORPORATION’S CONSENT TO REMOVAL

       With full reservation of any and all defenses, objections, and exceptions, Eaton

Corporation, through undersigned counsel, hereby consents to Its Notice of Removal, removing

“Carolyn Brindell, et al. v. Carlisle Industrial Brake and Friction, Inc.” Case No. 2019-09716 in

the Civil District Court for the Parish of Orleans, State of Louisiana, to this Honorable Court, the

United States District Court for the Eastern District of Louisiana.

       Eaton Corporation was at the time suit was instituted against it and is now an Ohio

corporation with its principal place of business in Ohio.

       New Orleans, Louisiana, this ___ day of February, 2021.




                       [SIGNATURE BLOCK ON FOLLOWING PAGE]




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                                                                                                   Exhibit K
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 121 of 565




                                MG+M LAW FIRM



                                __________________________________________
                                Christopher O. Massenburg (LSBA No. 26989)
                                Jeanette S. Riggins (LSBA No. 27056)
                                B. Adam Hays (LSBA No. 30255)
                                Meghan B. Senter (LSBA No. 34088)
                                Amanda L. Deto (LSBA No. 38190)

                                One Canal Place
                                365 Canal Street, Suite 3000
                                New Orleans, Louisiana 70130
                                Phone: (504) 535-2880
                                Fax: (504) 535-2886
                                Email: AsbLitLA@mgmlaw.com

                                ATTORNEYS FOR EATON CORPORATION




                                  2
   Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 122 of 565




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

CAROLYN BRINDELL, ET AL.   *                           CIVIL ACTION
                           *
V.                         *                           NO. __________________
                           *
CARLISLE INDUSTRIAL BRAKE  *                           SECTION “ “
AND FRICTION, INC., ET AL. *
                           *                           JUDGE:
                           *
                           *                           MAG. JUDGE:
*************************

                      GREAT DANE LLC’S CONSENT TO REMOVAL

       With full reservation of any and all defenses, objections, and exceptions, Great Dane LLC,

through undersigned counsel, hereby consents to the Notice of Removal filed by Eaton

Corporation and other removing defendants, removing “Carolyn Brindell, et al. v. Carlisle

Industrial Brake and Friction, Inc.” Case No. 2019-09716 in the Civil District Court for the Parish

of Orleans, State of Louisiana, to this Honorable Court, the United States District Court for the

Eastern District of Louisiana.

       Great Dane LLC was at the time suit was instituted against it and is now a Delaware limited

liability company. Great Dane LLC has three members:

       (1) Trailer Investors LLC, an Illinois limited liability company with eighty-eight (88)

           members:

               a. Thirty-four (34) of the members are trusts, the trustee of which is an individual

                   who is a citizen of the State of Illinois;

               b. Fifty-three (53) of the members are trusts, the trustee of which is Longview

                   Trust Company LLC, a South Dakota limited liability company;




                                                  1
                                                                                              Exhibit L
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 123 of 565




                  i. The members of the Longview Trust Company LLC are one individual

                      who is a citizen of the State of Arizona, two individuals who are citizens

                      of the State of California, one individual who is a citizen of the State of

                      Colorado, ten individuals who are citizens of the State of Illinois, two

                      individuals who are citizens of the State of New York, and one

                      individual who is a citizen of the State of Massachusetts;

          c. One of the members is Two Point Zero LLC, a Delaware limited liability

              company with seventeen (17) members, which are trusts, the trustee of which

              is an individual who is a citizen of the State of Illinois

   (2) Pines S LLC, is an Illinois limited liability company with twenty-five (25) members:

          a. One of the members is an individual, who is a citizen of the State of Illinois;

          b. Twenty-four (24) of the members are trusts, the trustee of which is an individual

              who is a citizen of the State of Illinois;

   (3) The third member of Great Dane LLC is HCNI I LLC, an Illinois limited liability

      company with thirty-seven (37) members:

          a. Two of the members are individuals, each of whom is a citizen of the State of

              Illinois;

          b. Thirty-four (34) of the members are trusts, the trustee of which is an individual

              who is a citizen of the State of Illinois;

          c. One of the members is HCC Manager LLC, an Illinois limited liability company

              with three members, two of whom are individuals who are citizens of the State

              of Illinois and one of whom is an individual who is a citizen of the State of

              California.



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Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 124 of 565




   New Orleans, Louisiana, this 2nd day of February, 2021.

                                       MG+M LAW FIRM


                                       __________________________________________
                                       Christopher O. Massenburg (LSBA No. 26989)
                                       Jeanette S. Riggins (LSBA No. 27056)
                                       B. Adam Hays (LSBA No. 30255)
                                       Meghan B. Senter (LSBA No. 34088)
                                       Amanda L. Deto (LSBA No. 38190)

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                                       Phone: (504) 535-2880
                                       Fax: (504) 535-2886
                                       Email: AsbLitLA@mgmlaw.com

                                       ATTORNEYS FOR GREAT DANE LLC




                                          3
   Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 125 of 565




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

CAROLYN BRINDELL, ET AL.   *                         CIVIL ACTION
                           *
V.                         *                         NO. __________________
                           *
CARLISLE INDUSTRIAL BRAKE  *                         SECTION “ “
AND FRICTION, INC., ET AL. *
                           *                         JUDGE:
                           *
                           *                         MAG. JUDGE:
*************************

                    CRA TRAILERS, INC.’S CONSENT TO REMOVAL

       With full reservation of any and all defenses, objections, and exceptions, CRA Trailers,

Inc., f/k/a Great Dane Trailers, Inc., through undersigned counsel, hereby consents to the Notice

of Removal filed by Eaton Corporation, removing “Carolyn Brindell, et al. v. Carlisle Industrial

Brake and Friction, Inc.” Case No. 2019-09716 in the Civil District Court for the Parish of

Orleans, State of Louisiana, to this Honorable Court, the United States District Court for the

Eastern District of Louisiana.

       CRA Trailers, Inc. was at the time suit was instituted against it and is now a Georgia

corporation with its principal place of business in Georgia.

       New Orleans, Louisiana, this 2nd day of February, 2021.




                           [SIGNATURE BLOCK ON NEXT PAGE]




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                                                                                      EXHIBIT M
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 126 of 565




                                MG+M LAW FIRM



                                __________________________________________
                                Christopher O. Massenburg (LSBA No. 26989)
                                Jeanette S. Riggins (LSBA No. 27056)
                                B. Adam Hays (LSBA No. 30255)
                                Meghan B. Senter (LSBA No. 34088)
                                Amanda L. Deto (LSBA No. 38190)

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                                Phone: (504) 535-2880
                                Fax: (504) 535-2886
                                Email: AsbLitLA@mgmlaw.com

                                ATTORNEYS FOR CRA TRAILERS, INC.,
                                F/K/A GREAT DANE TRAILERS, INC.




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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

CAROLYN BRINDELL, ET AL.   *                           CIVIL ACTION
                           *
V.                         *                           NO. __________________
                           *
CARLISLE INDUSTRIAL BRAKE  *                           E75F<BA O O
AND FRICTION, INC., ET AL. *
                           *                           JUDGE:
                           *
                           *                           MAG. JUDGE:
*************************

          ZF ACTIVE SAFETY US INC. F/K/A KELSEY-HAYES COMPANYPE
                          CONSENT TO REMOVAL

       With full reservation of any and all defenses, objections, and exceptions, ZF Active Safety

US Inc. f/k/a Kelsey-Hayes Company, through undersigned counsel, hereby consents to the Notice

of Removal filed by Eaton Corporation& [OWY_SXQ dCarolyn Brindell, et al. v. Carlisle Industrial

&4+0. +2- (4/,6/32$ )2,%; Case No. 2019-09716 in the Civil District Court for the Parish of

Orleans, State of Louisiana, to this Honorable Court, the United States District Court for the

Eastern District of Louisiana.

       ZF Active Safety US Inc. f/k/a Kelsey-Hayes Company was at the time suit was instituted

against it and is now a Delaware corporation with its principal place of business in Michigan.

Further, prior to Kelsey-Hayes Company changing its name to ZF Active Safety US Inc., which

]YYU ZVKMO Z[SY[ ]Y ]RO PSVSXQ YP DVKSX]SPP\e DO]S]SYX SX \]K]O MY^[]& ?OV\Ob-Hayes Company was a

Delaware corporation with its principal place of business in Michigan. 7b [O\ZYXNSXQ ]Y DVKSX]SPP\e

Petition and consenting to removal as ZF Active Safety US Inc. (f/k/a Kelsey-Hayes Company),

this defendant is not substituting parties; rather, it is appearing in the current name of the company

joined by Plaintiffs as a defendant to this matter.



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                                                                                             EXHIBIT N
    Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 128 of 565




       New Orleans, Louisiana, this 2nd day of February, 2021.


                                           DEUTSCH KERRIGAN, L.L.P.


                                           ___________________________________
                                           JENNIFER E. ADAMS            #26588
                                           WILLIAM C. HARRISON, JR. #6616
                                           BARBARA B. ORMSBY            #27388
                                           AMBER B. BARLOW              #34433
                                           755 Magazine Street
                                           New Orleans, Louisiana 70130
                                           Telephone: (504) 581-5141
                                           Facsimile: (504) 566-1201

                                           Attorneys for Defendant, ZF Active Safety US Inc.
                                           (f/k/a Kelsey-Hayes Company)




                                              '#
#
   Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 129 of 565




                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

CAROLYN BRINDELL, ET AL.   *                           CIVIL ACTION
                           *
V.                         *                           NO. __________________
                           *
CARLISLE INDUSTRIAL BRAKE  *                           SECTION “ “
AND FRICTION, INC., ET AL. *
                           *                           JUDGE:
                           *
                           *                           MAG. JUDGE:
*************************

                    LUFKIN GEARS LLC, FORMERLY KNOWN AS
                 LUFKIN INDUSTRIES, LLC’S CONSENT TO REMOVAL

       With full reservation of any and all defenses, objections, and exceptions, Lufkin Gears,

LLC, formerly known as Lufkin Industries, LLC (hereinafter “Lufkin”), through undersigned

counsel, hereby consents to the Notice of Removal filed by Eaton Corporation, removing “Carolyn

Brindell, et al. v. Carlisle Industrial Brake and Friction, Inc.” Case No. 2019-09716 in the Civil

District Court for the Parish of Orleans, State of Louisiana, to this Honorable Court, the United

States District Court for the Eastern District of Louisiana. Lufkin was at the time suit was instituted

against it and is now a Texas limited liability company. Lufkin’s only member is Druck, LLC.

The only member of Druck, LLC is Baker Hughes, a GE company, LLC, which is a Delaware

limited liability company. The members of Baker Hughes, a GE company, LLC are: (1) GE Oil &

Gas Holdings I, Inc., which is a Delaware corporation with its principal place of business in Ohio,

(2) EHHC NewCo, LLC, which is a Delaware limited liability company whose only member is

Baker Huges, a GE Company, LLC (the citizenship of which is described herein), (3) Baker

Hughes Company, a Delaware corporation with its principal place of business in Texas, and (4)




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                                                                                              EXHIBIT O
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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

CAROLYN BRINDELL, ET AL.   *                         CIVIL ACTION
                           *
V.                         *                         NO. __________________
                           *
CARLISLE INDUSTRIAL BRAKE  *                         SECTION “ “
AND FRICTION, INC., ET AL. *
                           *                         JUDGE:
                           *
                           *                         MAG. JUDGE:
*************************

                    PNEUMO ABEX, LLC’S CONSENT TO REMOVAL

       With full reservation of any and all defenses, objections, and exceptions, Pneumo Abex,

LLC, through undersigned counsel, hereby consents to the Notice of Removal filed by Eaton

Corporation, removing “Carolyn Brindell, et al. v. Carlisle Industrial Brake and Friction, Inc.”

Case No. 2019-09716 in the Civil District Court for the Parish of Orleans, State of Louisiana, to

this Honorable Court, the United States District Court for the Eastern District of Louisiana.

Pneumo Abex, LLC was at the time suit was instituted against it and is now a limited liability

company whose sole member is the Pneumo Abex Asbestos Claims Settlement Trust, which is a

Delaware statutory trust, and is an IRS qualified settlement fund. For purposes of citizenship, the

trustees of the Pneumo Abex Asbestos Claims Settlement Trust are residents of, and are domiciled

in, Maryland, Pennsylvania, and Delaware. Pneumo Abex LLC is the beneficiary of the Pneumo

Abex Asbestos Claims Settlement Trust. No individual, or entity, has any form of beneficial

ownership interest in the Pneumo Abex Asbestos Claims Settlement Trust. The principal place of

business for Pneumo Abex LLC is Spring, TX. The principal place of business for the Pneumo

Abex Asbestos Claims Settlement Trust is Delaware.

       New Orleans, Louisiana, this 2nd day of February, 2021.

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                                                                                               Exhibit P
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 132 of 565




                                Respectfully submitted,

                                DEUTSCH KERRIGAN, L.L.P.



                                ___________________________________
                                William C. Harrison # 6616
                                Jennifer E. Adams    #26588
                                Barbara B. Ormsby #27388
                                Amber B. Barlow      #34433
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                                wharrison@deutschkerrigan.com
                                jadams@deutschkerrigan.com
                                bormsby@deutschkerrigan.com
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                                Telephone: 504 581 5141
                                Facsimile: 504 566 1201
                                Attorneys for Defendant,
                                Pneumo Abex, LLC




                                  2
    Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 133 of 565




                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

CAROLYN BRINDELL, ET AL.   *                          CIVIL ACTION NO: _______________
                           *
v.                         *                          SECTION “ “
                           *
CARLISLE INDUSTRIAL BRAKE  *                          JUDGE:
AND FRICTION, INC., ET AL. *
                           *                          MAG. JUDGE:
*************************

                   STRICK TRAILERS LLC’S CONSENT TO REMOVAL

         With full reservation of any and all defenses, objections, and exceptions, Strick Trailers

LLC, through undersigned counsel, hereby consents to the Notice of Removal filed by Eaton

Corporation, removing “Carolyn Brindell, et al. v. Carlisle Industrial Brake and Friction, Inc.”

Case No. 2019-09716 in the Civil District Court for the Parish of Orleans, State of Louisiana, to

this Honorable Court, the United States District Court for the Eastern District of Louisiana.

Strick Trailers LLC was, at the time this suit was instituted against it, and is now a Delaware

limited liability company with its principle place of business as the Commonwealth of

Pennsylvania. Strick Trailers LLC’s sole member is Diamatrix, Inc. which is a Delaware

Corporation with its principle place of business as the Commonwealth of Pennsylvania.



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4824647 v1
                                                                                                      Exhibit Q
    Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 134 of 565




                                              Respectfully submitted,

                                              FOLEY & MANSFIELD, PLLP

                                               Kay B. Baxter
                                              Kay Baxter (LSBA No. 22938)
                                              Jay R. Boltin (LSBA No. 29765)
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                                              kbaxter@foleymansfield.com
                                              jboltin@foleymansfield.com

                                              Attorneys for Strick Trailers LLC


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the above and foregoing was electronically filed with the

Clerk of Court of the Eastern District of Louisiana by using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record, on this 2nd day of February 2021.

                                               Kay B. Baxter
                                                      KAY B. BAXTER




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4824647 v1
    Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 135 of 565




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                                                                                                      EXHIBIT R
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 136 of 565
    Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 137 of 565




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

CAROLYN BRINDELL, ET AL.   *                          CIVIL ACTION
                           *
V.                         *                          NO. __________________
                           *
CARLISLE INDUSTRIAL BRAKE  *                          C53D9@? L L
AND FRICTION, INC., ET AL. *
                           *                          JUDGE:
                           *
                           *                          MAG. JUDGE:
*************************

              G9=C@? DB19=5B 3@>A1?HMS CONSENT TO REMOVAL

       With full reservation of any and all defenses, objections, and exceptions, Wilson Trailer

Company, through undersigned counsel, hereby consents to the Notice of Removal filed by Eaton

Corporation, [PWY_TXR d'+43192 &4/2-.11$ .6 +1% 8% '+41/51. )2-7564/+1 &4+0. +2- (4/,6/32$ )2,%;

Case No. 2019-09716 in the Civil District Court for the Parish of Orleans, State of Louisiana, to

this Honorable Court, the United States District Court for the Eastern District of Louisiana.

       Wilson Trailer Company was at the time suit was instituted against it and is now an Iowa

corporation with its principal place of business in Iowa.

       New Orleans, Louisiana, this 2nd day of February, 2021.

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                                                                                        EXHIBIT S
    Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 138 of 565




                                    DEUTSCH KERRIGAN, L.L.P.


                                    ___________________________________
                                    JENNIFER E. ADAMS            #26588
                                    WILLIAM C. HARRISON, JR. #6616
                                    BARBARA B. ORMSBY            #27388
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                                    Telephone: (504) 581-5141
                                    Facsimile: (504) 566-1201

                                    Attorneys for Defendant, Wilson Trailer Company




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#
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 139 of 565




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                  31C=9D=5 9?4FDEC91= 2C1<5 1?4 6C93E9@? 9?3%# et., al.

     69=540 KKKKKKKKKKKKKKKKKKKKKKKK                            KKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKK
                                                                45AFEJ 3=5C<


                   A=19?E966DP C5DA@?D5D E@ >1DE5C 9?E5CC@71E@C95D 1?4
                       C5BF5DED 6@C AC@4F3E9@? @6 4@3F>5?ED

            HIP =IG? J^S[`f[XXe( fZdagYZ g`VWde[Y`WV Uag`eW^( iZa dWebWUfXg^^k egT_[f fZW Xa^^ai[`Y

     dWeba`eWe fa GSefWd C`fWddaYSfad[We S`V KWcgWefe Xad JdaVgUf[a` aX >aUg_W`fe6

                                 AC5=9>9?1CJ DE1E5>5?E

            J^S[`f[XXe WjbdWee^k dWeWdhW fZW d[YZf fa S_W`V( SVV fa( VW^WfW Xda_( ad afZWdi[eW _aV[Xk ad

     egbb^W_W`f WSUZ S`V WhWdk dWeba`eW fa fZWeW S`V S`k afZWd V[eUahWdk dWcgWefe bdabag`VWV gba`

     fZW_ fZdagYZagf fZW V[eUahWdk bdaUWee S`V fa _S]W egUZ U^S[_e S`V Ua`fW`f[a`e Se _Sk TW

     Sbbdabd[SfW iZW` J^S[`f[XXe ZShW Ua`U^gVWV S^^ V[eUahWdk S`V ZSe SeUWdfS[`WV S^^ dW^WhS`f XSUfe* Ma

     fZW WjfW`f fZSf S`k C`fWddaYSfadk US^^e Xad [`Xad_Sf[a` bdWbSdWV [` S`f[U[bSf[a` aX ^[f[YSf[a` ad Xad

     fd[S^( ad iZ[UZ [e afZWdi[eW bdafWUfWV Xda_ V[eU^aegdW Tk fZW iad] bdaVgUf VaUfd[`W( fZW Sffad`Wk)

     U^[W`f bd[h[^WYW( ad S`k afZWd bd[h[^WYW( J^S[`f[XXe i[^^ `af egbb^k ad bdah[VW [`Xad_Sf[a` bdafWUfWV

     Xda_ V[eUahWdk Tk h[dfgW aX egUZ VaUfd[`W ad bd[h[^WYWe* Ha dWeba`eW ZWdW[` [e( ad eZag^V TW

     Ua`efdgWV fa TW( S iS[hWd aX fZW bdafWUf[a` Tk egUZ VaUfd[`W bd[h[^WYW*

                                            75?5C1= @2;53E9@?D

            J^S[`f[XXe _S]W fZW Xa^^ai[`Y aT\WUf[a`e fZSf SdW Sbb^[UST^W fa WSUZ aX fZWeW C`fWddaYSfad[We

     S`V KWcgWefe Xad JdaVgUf[a` aX >aUg_W`fe %ZWdW[`SXfWd dWXWddWV fa Se ">[eUahWdk KWcgWefe"& Se [X

     WjbdWee^k [`UadbadSfWV [` WSUZ S`V WhWdk aX J^S[`f[XXeq ;`eiWde fa eS_W6

            -*      J^S[`f[XXe aT\WUf fa fZW WjfW`f fZWeW >[eUahWdk KWcgWefe eWW] V[eU^aegdW aX [`Xad_Sf[a`

                    S`V VaUg_W`fe WjW_bf Xda_ V[eUahWdk a` fZW Xa^^ai[`Y bd[h[^WYWV Ydag`Ve6


                    S*      LWW] Sffad`Wk iad] bdaVgUf ad SdW egT\WUf fa Sffad`Wk)U^[W`f bd[h[^WYW7

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Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 140 of 565



                      T*      LWW] fZW [VW`f[fk( _W`fS^ [_bdWee[a`e ad ab[`[a`e aX `a`)fWef[Xk[`Y WjbWdfe
                              iZaeW ab[`[a`e ad _W`fS^ [_bdWee[a`e ZShW `af TWW` dWh[WiWV Tk S fWef[Xk[`Y
                              WjbWdf7 S`V

                      U*      LWW] bd[h[^WYWV bSdfk Ua__g`[USf[a`e*

               .*     J^S[`f[XXe XgdfZWd SeeWdf fZSf S`k [`SVhWdfW`f bdaVgUf[a` aX S`k VaUg_W`fe( iZ[UZ SdW

     bd[h[^WYWV g`VWd fZWeW ad S`k afZWd bd[h[^WYW( [e `af [`fW`VWV S`V eZS^^ `af Ua`ef[fgfW S iS[hWd aX S`k

     bd[h[^WYW ad S`k afZWd Sbb^[UST^W aT\WUf[a` fa fZW bdaVgUf[a` aX S`k egUZ VaUg_W`f( fZW egT\WUf

     _SffWd fZWdWaX( ad fZW [`Xad_Sf[a` Ua`fS[`WV fZWdW[`( `ad eZS^^ [f Ua`ef[fgfW iS[hWd aX fZW d[YZf aX fZW

     J^S[`f[XXe fa aT\WUf fa fZW geW aX S`k egUZ VaUg_W`f ad [fe Ua`fW`fe Vgd[`Y egTeWcgW`f bdaUWWV[`Ye

     ZWdW[`*

               /*     MZW >[eUahWdk KWcgWefe eWW] [`Xad_Sf[a` iZ[UZ ZSe kWf fa TW VWfWd_[`WV( Se

     V[eUahWdk [` fZ[e ^[f[YSf[a` [e a`Ya[`Y( S`V fZW dWcgWefWV [`Xad_Sf[a` i[^^ TW bdah[VWV [` SUUadVS`UW

     i[fZ fZW =agdf$e adVWde*

                                            9?E5CC@71E@C95D
     9?5CC@71E@CJ ?@% '

     J^WSeW efSfW kagd Xg^^ `S_W( LaU[S^ LWUgd[fk `g_TWd( Vd[hWdqe ^[UW`eW `g_TWd( S`V VSfW aX T[dfZ*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% '

               DaZ` <d[`VW^^( Dd* %o>WUWVW`fp&
               LLH6 jjj)jj)253/
               >I<6 ,3+-2+-503
               >I>6 ,3+,2+.,-5
               =Sda^k` <d[`VW^^( i[Vai
               LLH6 jjj)jj)
               >I<6--+-5+-505

               =a``[W >Wbgk( VSgYZfWd
               LLH6 jjj)jj)52/4
               >I<6 ,1+-3+-524

               DaZ` <d[`VW^^( CCC( ea`
               LLH6 jjj)jj)53//
               >I<6 ,3+,3+-53-

               =Zd[efabZWd <d[`VW^^( ea`
               LLH6 jjj)jj)-1--
               >I<6 ,.+.4+-533

     9?E5CC@71E@CJ ?@% (

             F[ef WhWdk SVVdWee iZWdW kag ZShW WhWd dWe[VWV( ^[ef WhWdk [`V[h[VgS^ i[fZ iZa_ kag ZShW
     ^[hWV Sf WhWdk dWe[VW`UW( S`V ^[ef WhWdk egUZ [`V[h[VgS^qe W_b^akWd%e& S`V aUUgbSf[a`%e& Vgd[`Y fZW
     f[_W kag dWe[VWV i[fZ eS[V bWdea`* CX ebWU[X[U SVVdWee ad SVVdWeeWe SdW g`]`ai`( [VW`f[Xk fZW efdWWf7
     T^aU] `g_TWd( `WSdWef Udaee efdWWf ad afZWd VWeUd[bf[a` aX egUZ dWe[VW`UW*


                                                        2
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 141 of 565


     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% (

             IT\WUf[a`* N`Vg^k TgdVW`ea_W S`V J^S[`f[XXe US``af baee[T^k dWUS^^ WhWdk SVVdWee iZWdW
     >WUWVW`f WhWd dWe[VWV fZdagYZagf Z[e ^[XW* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W(
     J^S[`f[XXe egT_[f fZW Xa^^ai[`Y ]`ai` [`Xad_Sf[a`6

     ;f fZW f[_W aX Z[e VWSfZ( >WUWVW`fqe dWe[VW`f[S^ SVVdWee iSe 15-24 MdS`e_[ffWd KV( FSUa_TW( F;(
     3,0017 ZW ^[hWV fZWdW i[fZ Z[e i[XW( =Sda^k` <d[`VW^^* JdWeW`f^k( Z[e UZ[^VdW` %eWW ;`eiWd fa
     C`fWddaYSfadk Ha* -& ^[hW Sf fZW Xa^^ai[`Y SVVdWeeWe6

     Ge* =a``[W < >Wbgk
     0/1 FW`iaaV >d
     L^[VW^^( 3,014

     Gd* DaZ` <d[`VW^^( CCC
     /1.. JWSUZfdWW Lf*
     L^[VW^^( F; 3,014

     Gd* =Zd[efabZWd G <d[`VW^^
     -,1 ;USV[S` =d
     L^[VW^^( F; 3,014

     9?E5CC@71E@CJ ?@% )

            CVW`f[Xk kagd W_b^ak_W`f Z[efadk Xda_ kagd X[def W_b^ak_W`f fa fZW bdWeW`f( [`U^gV[`Y
     bWd[aVe aX bSdf)f[_W S`V eW^X)W_b^ak_W`f* P[fZ dWebWUf fa WSUZ W_b^ak_W`f( bdah[VW fZW Xa^^ai[`Y
     [`Xad_Sf[a`6

            S*      CVW`f[Xk fZW W_b^akWd7

            T*      CVW`f[Xk fZW bdW_[eWe( ^aUSf[a`%e& ad XSU[^[f[We iZWdW kag iWdW W_b^akWV Xad WSUZ
                    W_b^akWd7

            U*      CVW`f[Xk Se bdWU[eW^k Se baee[T^W fZW f[_W bWd[aV%e& Vgd[`Y iZ[UZ kag iWdW W_b^akWV
                    a` WSUZ bdW_[eWe ad XSU[^[fk7

            V*      @ad WSUZ W_b^akWd S`V+ad bdW_[eWe( VWeUd[TW kagd f[f^W ad UdSXf %e.g., _WUZS`[U&( kagd
                    Vgf[We S`V dWeba`e[T[^[f[We( fZW fkbW aX iad] kag iWdW Va[`Y( fZW f[_W bWd[aV kag
                    iWdW Va[`Y [f S`V fZW ebWU[X[U b^SUW %e.g., bSdf[Ug^Sd Tg[^V[`Y( daa_( eZ[b ad hWeeW^&
                    iZWdW kag bWdXad_WV kagd \aT Vgf[We7

            W*      F[ef WhWdk hWeeW^ ad hWeeW^e( [X S`k( iZ[UZ kag iW`f gba` iZ[^W W_b^akWV Tk WSUZ
                    W_b^akWd* @ad WSUZ egUZ hWeeW^6

                    [*        CVW`f[Xk fZW dWSea` kag iWdW STaSdV WSUZ egUZ hWeeW^7

                    [[*       CVW`f[Xk fZW Sbbdaj[_SfW S_ag`f aX f[_W ebW`f STaSdV WSUZ egUZ hWeeW^7

                    [[[*      CVW`f[Xk fZW iad] kag W`YSYWV [` a` WSUZ egUZ hWeeW^7 S`V

                    [h*       >WeUd[TW S`k S^^WYWV WjbaegdW fa ZSd_Xg^ egTefS`UW a` WSUZ egUZ hWeeW^*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% )

            %S)W& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZaeW badf[a`e aX fZ[e C`fWddaYSfadk iZ[UZ eWW]
     [`Xad_Sf[a` iZ[UZ [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W
     Wh[VW`UW* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWd^k TdaSV S`V g`Vg^k TgdVW`ea_W*
     P[fZagf iS[h[`Y fZWeW aT\WUf[a`e( J^S[`f[XXe dWeba`V Se Xa^^aie i[fZ dWYSdV fa >WUWVW`fqe
     W_b^ak_W`f Z[efadk6 See >WUWVW`fqe LaU[S^ LWUgd[fk ?Sd`[`Ye LfSfW_W`f SffSUZWV ZWdWfa*


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Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 142 of 565


            C` SVV[f[a`( b^WSeW eWW fZW fWef[_a`k Y[hW` ad fa TW Y[hW` Tk J^S[`f[XXe S`V+ad >WUWVW`fqe
     Uaiad]Wde [` fZ[e USeW( h[S VWbae[f[a` ad afZWdi[eW* J^WSeW S^ea eWW hSd[age W_b^ak_W`f dWUadVe
     bdaVgUWV [` V[eUahWdk( Se iW^^ Se( S`k S`V S^^ egbb^W_W`fe fZWdWfa* @gdfZWd( V[eUahWdk [e Ua`f[`g[`Y
     S`V J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW*

            J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW*

     9?E5CC@71E@CJ ?@% *

            P[fZ dWYSdV fa WSUZ S`V WhWdk ZSd_Xg^ egTefS`UW fa iZ[UZ kag TW^[WhW kag iWdW WjbaeWV(
     b^WSeW bdah[VW fZW Xa^^ai[`Y [`Xad_Sf[a`6

            S*      CVW`f[Xk WhWdk ZSd_Xg^ egTefS`UW( Tk TdS`V `S_W iZWdW baee[T^W( fa iZ[UZ kag iWdW
                    WjbaeWV ad TW^[WhW kag _Sk ZShW TWW` WjbaeWV iZ[^W Sf WSUZ bdW_[eWe S`V iZ[UZ
                    USgeWV ad bafW`f[S^^k Ua`fd[TgfWV fa S`k [`\gdk ad [^^`Wee Xad iZ[UZ kag eWW]
                    Ua_bW`eSf[a` [` fZ[e eg[f( fZW VSfW aX WSUZ egUZ WjbaegdW( fZW `SfgdW aX fZW WjbaegdW(
                    VWeUd[TW Zai kag iWdW S^^WYWV^k WjbaeWV S`V VWeUd[TW Zai fZW geW aX fZW ZSd_Xg^
                    egTefS`UWe Sf WSUZ bdW_[eWe UdWSfWV S VS`YWdage Ua`V[f[a`7

            T*      CVW`f[Xk Tk bdW_[eWe( fZW `S_W aX fZW _S`gXSUfgdWd%e& S`V+ad egbb^[Wde aX fZW ZSd_Xg^
                    egTefS`UWe kag TW^[WhW kag iWdW WjbaeWV fa iZ[^W Sf WSUZ bdW_[eWe7

            U*      LfSfW ebWU[X[US^^k fZW Ua`V[f[a`e iZ[UZ kag S`V+ad kagd WjbWdfe ad i[f`WeeWe Ua`fW`V
                    WSUZ bdW_[eWe ai`Wd eZag^V ZShW bdah[VWV fa J^S[`f[XXe Sf fZW f[_W aX fZW WjbaegdW
                    WhW`f S`V fZW fWUZ`a^aYk fZSf eZag^V ZShW TWW` geWV fa W^[_[`SfW fZW bafW`f[S^ aX
                    VWhW^ab[`Y fZW aUUgbSf[a`S^ V[eWSeWe U^S[_WV Tk kag7

            V*      CVW`f[Xk fZW eagdUW [`U^gV[`Y `S_W( SVVdWee( S`V bZa`W `g_TWd&( [X S`k( aX kagd
                    [`Xad_Sf[a` fZSf fZW ZSd_Xg^ egTefS`UW%e& fa iZ[UZ kag S^^WYW kag iWdW WjbaeWV
                    iZ[^W a` WSUZ bdW_[eWe iSe SUfgS^^k bdWeW`f Sf fZW bdW_[eWe7

            W*      CVW`f[Xk Tk `S_W( SVVdWee S`V fW^WbZa`W `g_TWd WSUZ S`V WhWdk [`V[h[VgS^(
                    [`U^gV[`Y kagd Ua)iad]Wde( XadW_W` S`V egbWdh[eade( iZa US` Y[hW X[def)ZS`V
                    WkWi[f`Wee fWef[_a`k Ua`UWd`[`Y kagd iad] Sf WSUZ iad] e[fW ad bdW_[eWe iZWdW kag
                    ZSV ]`ai` ad bafW`f[S^ WjbaegdW fa SeTWefae* C` S`eiWd[`Y b^WSeW VWe[Y`SfW iZ[UZ
                    iad]e[fW%e& WSUZ [`V[h[VgS^ ZSe ]`ai^WVYW aX7

            X*      CVW`f[Xk Tk `S_W( SVVdWee S`V fW^WbZa`W `g_TWd S^^ egUZ [`V[h[VgS^e iZa iWdW
                    iad]Wde( XadW_W` ad egbWdh[eade iZa( S^fZagYZ g`ST^W fa Y[hW X[def)ZS`V WkWi[f`Wee
                    fWef[_a`k Ua`UWd`[`Y kagd iad]( US` Y[hW S`k XSUfgS^ fWef[_a`k dWYSdV[`Y kagd iad]
                    W`h[da`_W`f S`V iad][`Y Ua`V[f[a`e* C` S`eiWd[`Y( b^WSeW VWe[Y`SfW iZ[UZ
                    iad]e[fW%e& WSUZ [`V[h[VgS^ ZSe ]`ai^WVYW aX7

            Y*      CVW`f[Xk Tk `S_W( SVVdWee S`V bZa`W `g_TWd S`k bWdea` ]`ai` fa kag ad kagd
                    Sffad`Wk fa ZShW dW^WhS`f [`Xad_Sf[a` dWYSdV[`Y kagd WjbaegdW Sf WSUZ egUZ bdW_[eWe
                    `af bdWh[age^k [VW`f[X[WV STahW7 S`V

            Z*      F[ef S`k Ua`fdSUfade ad egT)Ua`fdSUfade fZSf _Sk ZShW geWV SeTWefae)Ua`fS[`[`Y
                    bdaVgUfe a` WSUZ iad] e[fW( ebWU[Xk[`Y iZ[UZ Ua`fdSUfade S`V egTUa`fdSUfade iWdW Sf
                    WSUZ iad]e[fW*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% *

            %S)Z& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZaeW badf[a`e aX fZ[e C`fWddaYSfadk iZ[UZ eWW]
     [`Xad_Sf[a` iZ[UZ [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W
     Wh[VW`UW* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWd^k TdaSV S`V g`Vg^k TgdVW`ea_W*
     P[fZagf iS[h[`Y fZWeW aT\WUf[a`e( J^S[`f[XXe dWeba`V Se Xa^^aie6

              >WUWVW`fqe iad] Xad JgWdfa K[Ua GSd[`W Sf fZW Jadf aX HWi Id^WS`e WjbaeWV Z[_ fa
     [`\gd[age ^WhW^e aX SeTWefae iZW` ZW iad]WV i[fZ S`V Sdag`V SeTWefae* ;^^ aX fZ[e iad] iSe Vgefk

                                                      4
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     S`V bWdXad_WV Tk >WUWVW`f i[fZagf fZW TW`WX[f aX Sbbdabd[SfW bdafWUf[hW U^afZ[`Y ad TdWSfZ[`Y
     Wcg[b_W`f*

            C` SVV[f[a`( J^S[`f[XXe i[^^ WjUZS`YW i[f`Wee S`V WjZ[T[f ^[efe bgdegS`f fa fZW =agdfqe
     LUZWVg^[`Y IdVWd* J^WSeW eWW ;`eiWd fa C`fWddaYSfadk Ha* / S`V eWW fZW fWef[_a`k Y[hW` ad fa TW
     Y[hW` Tk J^S[`f[XXe S`V+ad >WUWVW`fqe Uaiad]Wde [` fZ[e USeW( h[S VWbae[f[a` ad afZWdi[eW* J^WSeW S^ea
     eWW >WUWVW`fqe LaU[S^ LWUgd[fk ?Sd`[`Ye LfSfW_W`f SffSUZWV ZWdWfa* @gdfZWd( V[eUahWdk [e Ua`f[`g[`Y
     S`V J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW*

     9?E5CC@71E@CJ ?@% +

             >[V kag WhWd ZShW S`k \aT %bS[V ad g`bS[V& `af eZai` a` kagd LaU[S^ LWUgd[fk CfW_[lWV
     LfSfW_W`f aX ?Sd`[`Ye8 CX kagd S`eiWd fa fZ[e C`fWddaYSfadk [e okWe(p b^WSeW ^[ef WSUZ egUZ \aT S`V
     fZW `SfgdW aX fZW iad] bWdXad_WV*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% +

             J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se TW[`Y ahWdTdaSV( [ddW^WhS`f S`V `af dWSea`ST^k
     US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W Wh[VW`UW* J^S[`f[XXe i[^^ egbb^W_W`f [X SVV[f[a`S^
     [`Xad_Sf[a` TWUa_We ShS[^ST^W*

     9?E5CC@71E@CJ ?@% ,

            J^WSeW efSfW6

            S*      MZW Xg^^ `S_W aX kagd UgddW`f ebageW7

            T*      MZW VSfW aX kagd _Sdd[SYW7

            U*      PZWfZWd ad `af kag SdW UgddW`f^k ^[h[`Y faYWfZWd7

            V*      [X %U& [e `WYSf[hW( fZW ebageWqe UgddW`f SVVdWee7

            W*      JSd[eZ aX fZW _Sdd[SYW7

            X*      MZW Xg^^ `S_W S`V SVVdWee aX S`k bdWh[age ebageW ad ebageWe S`V
                    VSfW%e&7

            Y*      MZW VSfW( _S``Wd aX( S`V dWSea` Xad fWd_[`Sf[a` aX WSUZ bdWh[age
                    _Sdd[SYWe7

            Z*      J^WSeW efSfW fZW Xa^^ai[`Y6

                    -*      CVW`f[fk aX WSUZ W_b^akWd aX WSUZ ebageW Vgd[`Y kagd _Sdd[SYW7

                    .*      CVW`f[Xk fZW \aT f[f^W S`V VWeUd[bf[a` aX \aT Vgf[We aX WSUZ
                            ebageWqe W_b^ak_W`f Vgd[`Y kagd _Sdd[SYW*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% ,

            S*      =Sda^k` <d[`VW^^

            T*      --+,0+-523

            U*      QWe7 =Sda^k` <d[`VW^^ S`V DaZ` <d[`VW^^( Dd* iWdW ^[h[`Y faYWfZWd g`f[^ Gd* <d[`VW^^
                    bSeeWV SiSk a` ,3+,2+.,-5

            V*      Haf Sbb^[UST^W*

            W*      Ma TW egbb^W_W`fWV*

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            X*      Haf Sbb^[UST^W*

            Y*      Haf Sbb^[UST^W*

            Z*      IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZaeW badf[a`e aX fZ[e C`fWddaYSfadk iZ[UZ eWW]
                    [`Xad_Sf[a` iZ[UZ [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk
                    aX SV_[ee[T^W Wh[VW`UW* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWd^k
                    TdaSV S`V g`Vg^k TgdVW`ea_W* P[fZagf iS[h[`Y fZWeW aT\WUf[a`e( J^S[`f[XXe dWeba`V
                    Se Xa^^aie6 fa TW egbb^W_W`fWV*

     9?E5CC@71E@CJ ?@% -

            Ce S`ka`W X[`S`U[S^^k VWbW`VW`f gba` kag8 CX ea( b^WSeW efSfW fZW Xa^^ai[`Y6

            S*      CVW`f[Xk fZW [`V[h[VgS^( Z[e SVVdWee( S`V Z[e dW^Sf[a`eZ[b fa kag7

            T*      J^WSeW efSfW fZW S_ag`f aX S``gS^ X[`S`U[S^ egbbadf kag ZShW bdah[VWV fa fZ[e
                    [`V[h[VgS^ TWfiWW` -555 S`V .,,27

            U*      J^WSeW efSfW iZWfZWd kag U^S[_ fZ[e [`V[h[VgS^ Se S VWbW`VW`f Xad efSfW aX XWVWdS^ fSj
                    bgdbaeWe*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% -

            S*       =Sda^k` <d[`VW^^( i[Vai7

            T)U*    J^S[`f[XXe( Sf fZ[e f[_W( Va `af ZShW fZW dWcgWefWV [`Xad_Sf[a`* J^S[`f[XXe dWeWdhW fZW
                    d[YZf fa S_W`V S`V+ad egbb^W_W`f fZ[e dWeba`eW*

     9?E5CC@71E@CJ ?@% .

             BShW kag WhWd TWW` Ua`h[UfWV aX S Ud[_W afZWd fZS` S _[eVW_WS`ad fdSXX[U aXXW`eW fZSf iSe
     bg`[eZST^W Tk VWSfZ ad [_bd[ea`_W`f [` WjUWee aX e[j _a`fZe( ad S Ud[_W fZSf [`ha^hWV V[eZa`Wefk ad
     S XS^eW efSfW_W`f( i[fZ[` fZW ^Sef fW` %-,& kWSde8 CX kWe( efSfW Xg^^k S`V [` VWfS[^ fZW VSfW( b^SUW S`V
     `SfgdW aX WSUZ Ua`h[Uf[a`( S`V fZW Uagdf iZ[UZ ZS`V^WV fZW _SffWd*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% .

             IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se TW[`Y ahWd^k TdaSV S`V eWW][`Y
     [`Xad_Sf[a` iZ[UZ [e [ddW^WhS`f S`V [__SfWd[S^ fa fZWeW bdaUWWV[`Ye S`V [e `af dWSea`ST^k US^Ug^SfWV
     fa ^WSV fa fZW V[eUahWdk aX dW^WhS`f( _SfWd[S^( ad SV_[ee[T^W Wh[VW`UW* P[fZagf iS[h[`Y fZWeW
     aT\WUf[a`e( J^S[`f[XXe dWeba`V Se Xa^^aie6 >WUWVW`f iSe `WhWd Ua`h[UfWV aX S Ud[_W fZSf iSe
     bg`[eZST^W Tk VWSfZ ad [_bd[ea`_W`f [` WjUWee aX e[j _a`fZe( ad S Ud[_W fZSf [`ha^hWV V[eZa`Wefk ad
     S XS^eW efSfW_W`f( i[fZ[` fZW ^Sef fW` %-,& kWSde*

     9?E5CC@71E@CJ ?@% /

             CVW`f[Xk Xg^^k S`k fdSVW SeeaU[Sf[a` ad ^STad g`[a` aX iZ[UZ kag iWdW S _W_TWd S`V b^WSeW
     Y[hW fZW Xa^^ai[`Y6

            S*      CVW`f[Xk fZW aUUgbSf[a` S`V+ad \aT f[f^We Xad WSUZ fdSVW ad ^STad N`[a` fa iZ[UZ kag
                    ZShW TW^a`YWV7

            T*      MZW `S_W aX fZW g`[a`%e& fa iZ[UZ kag ZShW TW^a`YWV7

            U*      C`U^ge[hW VSfWe aX kagd _W_TWdeZ[b [` WSUZ7

            V*      Hg_TWde S`V Ua_b^WfW SVVdWeeWe aX fZW ^aUS^ g`[a`e fa iZ[UZ kag ZShW TW^a`YWV7 S`V


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            W*      ;^^ aXX[UWe ad afZWd bae[f[a`e iZ[UZ kag ZShW ZW^V [` WSUZ g`[a`( [VW`f[Xk[`Y fZW
                    aXX[UW( bae[f[a`( S`V g`[a` [` iZ[UZ ZW^V S`V [`U^ge[hW VSfWe fZW bae[f[a` ad aXX[UW
                    iSe ZW^V*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% /

           S*)W* >WUWVW`f iSe `af S _W_TWd aX N`[a`* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f S`V+ad
     S_W`V fZ[e dWeba`eW*

     9?E5CC@71E@CJ ?@% '&

            BShW kag WhWd eWdhWV [` fZW _[^[fSdk8 CX ea( b^WSeW efSfW6

            -*      MZW VSfWe aX eWdh[UW7

            .*      MZW bSdf[Ug^Sd TdS`UZ ad TdS`UZWe aX fZW _[^[fSdk [` iZ[UZ kag eWdhWV7

            /*      LW^WUf[hW LWdh[UW Hg_TWd7

            0*      >WeUd[bf[a` aX \aTe S`V \aT Vgf[We7

            1*      <SeWe aX iZ[UZ kag eWdhWV7

            2*      MZW efSfge aX kagd V[eUZSdYW*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% '&

            QWe*

            -*      -520)-5247
            .*      N`[fWV LfSfWe HShk7
            /*      P[^^ egbb^W_W`f7
            0*      GSUZ[`[ef7
            1*      NLL Jd[`UWfa` n LS` >[WYa( =; # Fa`Y <WSUZ( =;7
            2*      Ba`adST^W*

     9?E5CC@71E@CJ ?@% ''

            BShW kag WhWd TWW` VW`[WV ZWS^fZ ad ^[XW [`egdS`UW ad ZShW kag WhWd TWW` US`UW^WV Xda_
     S`k ZWS^fZ ad ^[XW [`egdS`UW ba^[Uk8 CX kWe( iZk8

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% ''

             IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk TWUSgeW [f eWW]e [`Xad_Sf[a` fZSf [e `af
     dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W Wh[VW`UW* J^S[`f[XXe S^ea
     aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWd^k TdaSV S`V US^^e Xad ebWUg^Sf[a`* P[fZagf iS[h[`Y fZWeW
     aT\WUf[a`e( J^S[`f[XXe dWeba`V Se Xa^^aie6

              Ma fZW TWef aX J^S[`f[XXeq ]`ai^WVYW( >WUWVW`f iSe `WhWd VW`[WV ad US`UW^^WV a` S`k ZWS^fZ
     ad ^[XW [`egdS`UW ba^[Uk*

     9?E5CC@71E@CJ ?@% '(

              J^WSeW efSfW iZWfZWd kag ZShW X[^WV S U^S[_ Xad bWdea`S^ [`\gdk( Ua_bW`eSf[a` TW`WX[fe(
     iad]Wdeq Ua_bW`eSf[a`( g`W_b^ak_W`f( O; bW`e[a` ad V[eST[^[fk TW`WX[fe %bdah[VWV Tk S`k XWVWdS^
     ad efSfW ^Si&( S`V [X ea( efSfW fZW hW`gW [` iZ[UZ fZW U^S[_ iSe _SVW( VSfW aX U^S[_( [`\gdk ad V[eWSeW
     Xad iZ[UZ U^S[_ iSe _SVW S`V iZWfZWd eg[f iSe X[^WV Se S dWeg^f aX fZW U^S[_* CX eg[f iSe X[^WV(
     b^WSeW [VW`f[Xk fZW U[h[^ SUf[a` `g_TWd ad USgeW `g_TWd aX S`k egUZ U^S[_( fZW Uagdf S`V efSfW [`
     iZ[UZ S`k U^S[_ [e ad iSe bW`V[`Y( fZW `SfgdW aX fZW [`\gdk( fWd_e aX S`k \gVY_W`f( fkbW aX V[eST[^[fk(
     [X S`k( S`V `S_W aX Sffad`Wk dWbdWeW`f[`Y kag*

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     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% '(

             IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk [` fZSf [f eWW]e [`Xad_Sf[a` iZ[UZ [e `af
     dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W Wh[VW`UW* J^S[`f[XXe S^ea
     aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWd^k TdaSV S`V g`Vg^k TgdVW`ea_W* P[fZagf iS[h[`Y fZWeW
     aT\WUf[a`e( J^S[`f[XXe dWeba`V Se Xa^^aie6

            Nba` [`Xad_Sf[a` S`V TW^[WX( >WUWVW`f dWUW[hWV LaU[S^ LWUgd[fk <W`WX[fe Se iW^^ Se
     OWfWdS`qe >[eST[^[fk* J^S[`f[XXe i[^^ egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW [X S`V iZW` SVV[f[a`S^
     dWeba`e[hW [`Xad_Sf[a` TWUa_We ShS[^ST^W*

     9?E5CC@71E@CJ ?@% ')

             BShW kag Sf S`k f[_W TWW` VWfWd_[`WV fa TW V[eST^WV Tk S`k ^aUS^( efSfW ad XWVWdS^ SYW`Uk8 CX
     ea( b^WSeW efSfW fZW VSfW( `SfgdW S`V USgeW aX V[eST[^[fk7 VSfW aX VWfWd_[`Sf[a` aX V[eST[^[fk7 `SfgdW aX
     TW`WX[fe( iZ[UZ kag SdW dWUW[h[`Y ad ZShW dWUW[hWV7 fZW eagdUW aX fZaeW TW`WX[fe7 fZW `S_W aX fZW
     bZke[U[S` iZa ZSe dW`VWdWV fZ[e V[SY`ae[e S`V fZW VSfW gba` iZ[UZ [f iSe _SVW*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% ')

             IT\WUf[a`* MZW fWd_ oV[eST^WVp [e g`U^WSd S`V S_T[Ygage S`V S`k dWeba`eW i[^^ VWbW`V a`
     fZW efS`VSdV geWV fa VWfWd_[`W V[eST[^[fk ad bSdf[S^ V[eST[^[fk* P[fZagf iS[hWd aX fZ[e aT\WUf[a`(
     J^S[`f[XXe i[^^ egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW [X S`V iZW` SVV[f[a`S^ dWeba`e[hW [`Xad_Sf[a`
     TWUa_We ShS[^ST^W*

     9?E5CC@71E@CJ ?@% '*

             J^WSeW Y[hW fZW Xg^^ `S_W( UgddW`f SVVdWee( fW^WbZa`W `g_TWd aX WSUZ VaUfad ad afZWd ZWS^fZ
     USdW bdah[VWd iZa ZSe WjS_[`WV( fWefWV( eUdWW`WV( Ua`eg^fWV ad fdWSfWV kag i[fZ[` fZW ^Sef -, n .1
     kWSde Xad S`kfZ[`Y( [`U^gV[`Y Tgf `af ^[_[fWV fa S`k Ua`V[f[a` Xad iZ[UZ kag U^S[_ VS_SYWe [` fZ[e
     eg[f( S`V Xad WSUZ eS[V ZWS^fZ USdW bdah[VWd b^WSeW efSfW6

             S*      MZW VSfW %ad [`U^ge[hW VSfWe& aX WSUZ WjS_[`Sf[a` ad fdWSf_W`f7

             T*      MZW _WV[US^ dWSea` Xad WSUZ WjS_[`Sf[a` ad fdWSf_W`f7

             U*      MZW fkbW aX WjS_[`Sf[a` S`V fZW fkbW aX fdWSf_W`f fZSf WSUZ VaUfad bdah[VWV fa kag7
                     S`V

             T*      MZW Xg^^ `S_W( UgddW`f SVVdWee S`V fW^WbZa`W `g_TWd aX S`k bWdea` fa iZa_ S dWbadf
                     aX S`k egUZ WjS_[`Sf[a` ad fdWSf_W`f iSe eW`f( fZW VSfW aX WSUZ egUZ dWbadf S`V S
                     eg__Sdk aX fZW Ua`fW`fe ad [` ^[Wg fZWdWaX( b^WSeW SffSUZ S Uabk aX WSUZ dWbadf*


     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% '*

             %S)V& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZaeW badf[a`e aX fZ[e C`fWddaYSfadk iZ[UZ eWW]
     [`Xad_Sf[a` iZ[UZ [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W
     Wh[VW`UW* J^S[`f[XXe XgdfZWd aT\WUf fa fZ[e C`fWddaYSfadk fa fZW WjfW`f fZSf [f eWW]e bd[h[^WYWV
     [`Xad_Sf[a` dWYSdV[`Y WjbWdfe iZ[UZ [e bdafWUfWV Xda_ V[eU^aegdW g`VWd Fag[e[S`S =[h[^ =aVW aX
     JdaUWVgdW -0..( -0.1( -02- S`V -021* ;^ea( J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWd^k
     TdaSV S`V g`Vg^k TgdVW`ea_W* J^S[`f[XXe US``af [VW`f[Xk S^^ aX >WUWVW`fqe _WV[US^ bdah[VWde Xad S`k
     _WV[US^ dWSea` Vgd[`Y fZW ^Sef -, n .1 kWSde oXad S`kfZ[`Yp* P[fZagf iS[h[`Y fZWeW aT\WUf[a`e(
     J^S[`f[XXe dWeba`V Se Xa^^aie6




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                    Mg^S`W GWV[US^ =W`fWd-0-1
                    Mg^S`W ;hW`gW
                    HWi Id^WS`e( F; 3,--.

                    LagfZWSef Fag[e[S`S OWfWdS`e
                    BWS^fZ =SdW
                    .0,, =S`S^ Lf*
                    HWi Id^WS`e( F; 3,--5

                    MZW Da[`f JSfZa^aYk =W`fWd
                    2,2 LfWbZW` L[ffWd ;hW`gW
                    L[^hWd Lbd[`Y( G> .,5-,)-.5,

                    ;_WdS=SdW Ba_W Babe[UW
                    /,/ PWef .-ef ;hW*
                    =ah[`Yfa`( F; 3,0//

                    >d* EW`VdS BSdd[e
                    -0-1 Mg^S`W ;hW`gW
                    ;ff` B=)--
                    HWi Id^WS`e( F; 3,--.


            >[eUahWdk [e a`Ya[`Y S`V J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW* LZag^V
     >WXW`VS`fe i[eZ fa aTfS[` >WUWVW`fqe _WV[US^ dWUadVe [`VWbW`VW`f^k( J^S[`f[XXe i[^^ dWh[Wi S`k
     Ua_b^WfWV BCJ;;)Ua_b^[S`f SgfZad[lSf[a`e fZSf SdW _WV[US^ bdah[VWd ebWU[X[U eW`f fa fZW_ %fZdagYZ
     Uag`eW^& Tk >WXW`VS`fe* CX SUUWbfST^W g`VWd Sbb^[UST^W efSfW S`V XWVWdS^ ^Sie( J^S[`f[XXe%e& i[^^ e[Y`
     fZW Ua_b^WfWV SgfZad[lSf[a`e S`V dW_[f Xad >WXW`VS`fqe geW*

     9?E5CC@71E@CJ ?@% '+

              J^WSeW Y[hW fZW Xg^^ `S_W( UgddW`f SVVdWee S`V fW^WbZa`W `g_TWd aX WSUZ Zaeb[fS^( _WV[US^
     XSU[^[fk( ad afZWd ZWS^fZ USdW [`ef[fgf[a` Sf iZ[UZ kag ZShW WhWd TWW` fdWSfWV( WjS_[`WV( fWefWV(
     eUdWW`WV( Ua`X[`WV ad SV_[ffWV i[fZ[` fZW ^Sef -,).1 kWSde Xad S`kfZ[`Y( [`U^gV[`Y Tgf `af ^[_[fWV fa
     S`k Ua`V[f[a` Xad iZ[UZ kag U^S[_ VS_SYWe [` fZ[e eg[f( S`V Xad WSUZ b^WSeW efSfW6

            S*      MZW VSfW ad [`U^ge[hW VSfWe [`U^gV[`Y SV_[ee[a` S`V V[eUZSdYW aX WSUZ egUZ fdWSf_W`f
                    ad WjS_[`Sf[a`7

            T*      MZW _WV[US^ dWSea` Xad S`V fZW `SfgdW aX WSUZ fdWSf_W`f ad WjS_[`Sf[a`7 S`V

            U*      MZW `S_W S`V SVVdWee aX kagd SffW`V[`Y bZke[U[S`*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% '+

             %S)V& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZaeW badf[a`e aX fZ[e C`fWddaYSfadk iZ[UZ eWW]
     [`Xad_Sf[a` iZ[UZ [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W
     Wh[VW`UW* J^S[`f[XXe XgdfZWd aT\WUf fa fZ[e C`fWddaYSfadk fa fZW WjfW`f fZSf [f eWW]e bd[h[^WYWV
     [`Xad_Sf[a` dWYSdV[`Y WjbWdfe iZ[UZ [e bdafWUfWV Xda_ V[eU^aegdW g`VWd Fag[e[S`S =[h[^ =aVW aX
     JdaUWVgdW -0..( -0.1( -02- S`V -021* ;^ea( J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWd^k
     TdaSV S`V g`Vg^k TgdVW`ea_W* J^S[`f[XXe US``af baee[T^k [VW`f[Xk S^^ aX >WUWVW`fqe _WV[US^
     bdah[VWde Xad S`k _WV[US^ dWSea` Vgd[`Y fZW ^Sef -, n .1 kWSde oXad S`kfZ[`Yp* P[fZagf iS[h[`Y fZWeW
     aT\WUf[a`e( J^S[`f[XXe dWeba`V Se Xa^^aie6




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                    Mg^S`W GWV[US^ =W`fWd-0-1
                    Mg^S`W ;hW`gW
                    HWi Id^WS`e( F; 3,--.

                    LagfZWSef Fag[e[S`S OWfWdS`e
                    BWS^fZ =SdW
                    .0,, =S`S^ Lf*
                    HWi Id^WS`e( F; 3,--5

                    MZW Da[`f JSfZa^aYk =W`fWd
                    2,2 LfWbZW` L[ffWd ;hW`gW
                    L[^hWd Lbd[`Y( G> .,5-,)-.5,

                    ;_WdS=SdW Ba_W Babe[UW
                    /,/ PWef .-ef ;hW*
                    =ah[`Yfa`( F; 3,0//

            >[eUahWdk [e a`Ya[`Y S`V J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW* LZag^V
     >WXW`VS`fe i[eZ fa aTfS[` >WUWVW`fqe _WV[US^ dWUadVe [`VWbW`VW`f^k( J^S[`f[XXe i[^^ dWh[Wi S`k
     Ua_b^WfWV BCJ;;)Ua_b^[S`f SgfZad[lSf[a`e fZSf SdW _WV[US^ bdah[VWd ebWU[X[U eW`f fa fZW_ %fZdagYZ
     Uag`eW^& Tk >WXW`VS`fe* CX SUUWbfST^W g`VWd Sbb^[UST^W efSfW S`V XWVWdS^ ^Sie( J^S[`f[XXe%e& i[^^ e[Y`
     fZW Ua_b^WfWV SgfZad[lSf[a`e S`V dW_[f Xad >WXW`VS`fqe geW*

     9?E5CC@71E@CJ ?@% ',

             CfW_[lW fZW _WV[US^ WjbW`eWe iZ[UZ kag eWW] fa dWUahWd Se S` W^W_W`f aX VS_SYWe [` fZ[e
     eg[f( S`V efSfW6

            S*      PZa bdah[VWV fZW USdW7

            T*      PZW` fZW USdW iSe bdah[VWV7 S`V

            U*      MZW S_ag`f aX fZW WjbW`eW*

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            %S)U& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW S`V g`Vg^k TgdVW`ea_W*
     P[fZagf iS[h[`Y fZWeW aT\WUf[a`e( J^S[`f[XXe dWeba`V Se Xa^^aie6 J^S[`f[XXe Va `af ZShW S^^ aX fZW
     dWcgWefWV [`Xad_Sf[a`* J^S[`f[XXe SdW SiS[f[`Y dWUW[bf aX S^^ _WV[US^ dWUadVe fa VWfWd_[`W fZW _WV[US^
     WjbW`eWe [`UgddWV* @gdfZWd_adW( b^WSeW eWW S`eiWde fa C`fWddaYSfadk Ha* -0 S`V -1( S`V S`k WjbWdf
     _WV[US^ dWbadfe( [X ShS[^ST^W* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*

     9?E5CC@71E@CJ ?@% '-

             BShW kag WhWd e_a]WV+geWV S`k ][`V aX U[YSdWffW( U[YSd( b[bW ad afZWd faTSUUa bdaVgUf8 CX
     ea( b^WSeW efSfW6

            S*      MZW fkbW S`V TdS`V aX bdaVgUf e_a]WV+geWV7 [X U[YSdWffWe iWdW e_a]WV( efSfW iZWfZWd
                    fZW bSdf[Ug^Sd TdS`V iSe X[^fWdWV ad g`X[^fWdWV7

            T*      MZW Sbbdaj[_SfW VSfW ad SYW TWYg`7

            U*      MZW `g_TWd aX U[YSde( U[YSdWffWe ad b[bW Tai^e e_a]WV bWd VSk7

            V*      MZW VSfW aX UWeeSf[a`7 [X Sbb^[UST^W7

            W*      MZW dWSea` Xad efabb[`Y7 S`V

            X*      PZWfZWd S`k bZke[U[S` ad _WV[US^ bWdea``W^ WhWd SVh[eWV kag fa efab e_a][`Y* CX
                    ea( iZW`8

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             IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk [` [fe W`f[dWfk TWUSgeW [f eWW]e [`Xad_Sf[a`
     iZ[UZ [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W Wh[VW`UW*
     LgT\WUf fa eS[V aT\WUf[a` S`V i[fZagf iS[h[`Y eS_W6 J^S[`f[XXe efSfW fZSf fZW [`Xad_Sf[a` eagYZf [e
     UgddW`f^k g`]`ai`* J^S[`f[XXe i[^^ egbb^W_W`f [X S`V iZW` SVV[f[a`S^ [`Xad_Sf[a` TWUa_We
     ShS[^ST^W*

     9?E5CC@71E@CJ ?@% '.

            BSe S`k bWdea` iZa ZSe ^[hWV i[fZ kag WhWd e_a]WV U[YSdWffWe8 CX ea( b^WSeW efSfW6

            S*      HS_W aX bWdea` S`V dW^Sf[a`eZ[b fa kag7

            T*      MZW fkbW S`V TdS`V aX bdaVgUf e_a]WV+geWV7 [X U[YSdWffWe iWdW e_a]WV( efSfW
                    iZWfZWd fZW bSdf[Ug^Sd TdS`V iSe X[^fWdWV ad g`X[^fWdWV7

            U*      >SfWe iZW` kag ^[hWV i[fZ eS[V bWdea`7 S`V

            V*      Hg_TWd aX U[YSdWffWe bWd VSk*

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            %S)V& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk [` [fe W`f[dWfk TWUSgeW [f eWW]e
     [`Xad_Sf[a` iZ[UZ [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W
     Wh[VW`UW* @gdfZWd( J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se ahWdTdaSV* LgT\WUf fa eS[V aT\WUf[a` S`V
     i[fZagf iS[h[`Y eS_W6

            Ma fZW TWef aX J^S[`f[XXeq ]`ai^WVYW( `aTaVk [` fZW VWUWVW`fqe ZageWZa^V e_a]WV U[YSdWffWe*

     9?E5CC@71E@CJ ?@% '/

            @ad WhWdk UZWef j)dSk ad =M eUS` fZSf kag ZShW g`VWdYa`W( b^WSeW Y[hW fZW Xa^^ai[`Y6

            S*      MZW b^SUW aX fZW WjS_7

            T*      MZW VSfW7

            U*      MZW dWSea` iZk fZW j)dSk ad =M eUS` iSe fS]W`7

            V*      MZW [`fWdbdWf[hW ad V[SY`aef[U dWeg^fe( Ua`U^ge[a`e ad baee[T[^[f[We
                    VWd[hWV Xda_ WSUZ egUZ WjS_[`Sf[a`7 S`V

            W*      MZW `S_W S`V SVVdWee aX fZW bZke[U[S` iZa dWUa__W`VWV ad adVWdWV fZW UZWef j)
                    dSk ad =M eUS`*

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            %S)W& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se ahWdTdaSV S`V `af bdabWd^k
     ^[_[fWV [` f[_W ad eUabW* @gdfZWd J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk fa fZW WjfW`f fZSf [f eWW]e
     Sffad`Wk)U^[W`f S`V+ad Sffad`Wk iad] bdaVgUf bd[h[^WYWV [`Xad_Sf[a` S`V+ad `a`)V[eUahWdST^W
     [`Xad_Sf[a` dWYSdV[`Y WjbWdfe iZ[UZ [e bdafWUfWV Xda_ V[eU^aegdW g`VWd Fag[e[S`S =[h[^ =aVW aX
     JdaUWVgdW -0..( -0.1( -02- S`V -021* J^S[`f[XXe US``af baee[T^k dWUS^^ S^^ aX fZW dWcgWefWV
     [`Xad_Sf[a`* LgT\WUf fa eS[V aT\WUf[a` S`V i[fZagf iS[h[`Y eS_W( b^WSeW eWW S`eiWde fa
     C`fWddaYSfadk Ha* -0 S`V -1* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f S`V+ad S_W`V fZ[e
     dWeba`eW*

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            BShW kag WhWd TWW` fdWSfWV Tk dSV[Sf[a` S`V+ad UZW_afZWdSbk Xad S`k V[eWSeW ad

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     Ua`V[f[a`8 CX ea( b^WSeW efSfW6

        S* MZW fkbWe aX fdWSf_W`f%e&7

        T* PZW` S`V iZWdW fZW fdWSf_W`f%e& iWdW dWUW[hWV7

        U* MZW Ua`V[f[a`%e& Xad iZ[UZ fZW fdWSf_W`f%e& iWdW Y[hW`7

        V* MZW `S_W S`V SVVdWee aX fZW bZke[U[S` iZa dWUa__W`VWV ad adVWdWV fZ[e fdWSf_W`f7 S`V

        W* BShW kag WhWd TWW` hSUU[`SfWV SYS[`ef ba^[a8 <k iZa_( iZW`( S`V iZWdW8

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% (&

            %S)V& J^WSeW eWW S`eiWde fa C`fWddaYSfadk Ha* -0 S`V -1* J^S[`f[XXe TW^[WhW fZSf fZW
     >WUWVW`f dWUW[hWV S ba^[a hSUU[`W( Tgf SdW g`ST^W fa dWUS^^ fZW VWfS[^e aX Tk iZa_( iZW`( ad
     iZWdW* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*

     9?E5CC@71E@CJ ?@% ('

            @ad WhWdk bg^_a`Sdk Xg`Uf[a` fWef fZSf kag ZShW g`VWdYa`W( b^WSeW Y[hW fZW Xa^^ai[`Y6

            S*      MZW b^SUW aX fZW WjS_7

            T*      MZW VSfW7

            U*      MZW dWSea` iZk fZW fWef iSe fS]W`7

            V*      MZW fWUZ`[U[S`qe [_bdWee[a` iZa bWdXad_WV fZW fWef7

            W*      MZW [`fWdbdWf[hW ad V[SY`aef[U dWeg^fe( Ua`U^ge[a`e ad baee[T[^[f[We VWd[hWV Xda_
                    WSUZ egUZ WjS_[`Sf[a`7 S`V

            X*      MZW `S_W S`V SVVdWee aX fZW bZke[U[S` iZa dWUa__W`VWV ad adVWdWV fZW fWef*

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            %S)X& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se ahWdTdaSV S`V `af bdabWd^k
     ^[_[fWV [` f[_W ad eUabW* @gdfZWd J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk fa fZW WjfW`f fZSf [e eWW]e
     Sffad`Wk)U^[W`f S`V+ad Sffad`Wk iad] bdaVgUf bd[h[^WYWV [`Xad_Sf[a` S`V+ad `a`)V[eUahWdST^W
     [`Xad_Sf[a` dWYSdV[`Y WjbWdfe iZ[UZ [e bdafWUfWV Xda_ V[eU^aegdW g`VWd Fag[e[S`S =[h[^ =aVW aX
     JdaUWVgdW -0..( -0.1( -02- S`V -021* J^S[`f[XXe US``af baee[T^k dWUS^^ S^^ aX fZW dWcgWefWV
     [`Xad_Sf[a`* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( b^WSeW eWW S`eiWde fa
     C`fWddaYSfadk Ha* -0 S`V -1* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f S`V+ad S_W`V fZ[e
     dWeba`eW*

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            LWbSdSfW^k ^[ef i[fZ dWebWUf fa kagd U^S[_ aX [`\gdk ad [^^`Wee Xad iZ[UZ kag eWW] VS_SYWe6

            S*      ?hWdk [^^ ZWS^fZ WXXWUf USgeWV ad Ua`fd[TgfWV fa Tk SeTWefae WjbaegdW7

            T*      >SfW S`V f[_W aX V[SY`ae[e aX eS[V [^^ ZWS^fZ WXXWUf%e&7

            U*      MZW [VW`f[fk aX fZW V[SY`ae[`Y bZke[U[S` S`V S`k bZke[U[S` iZa W[fZWd Ua`UgddWV [`
                    fZW V[SY`ae[e ad dWh[WiWV S`k dSV[aYdSbZe( dSV[aYdSbZ[U dWbadfe ad afZWd V[SY`aef[U
                    fWefe Ua`UWd`[`Y fZW V[SY`ae[e7

            V*      MZW _WfZaV S`V [`Xad_Sf[a` gba` iZ[UZ egUZ V[SY`ae[e iSe TSeWV7



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            W*      MZW [VW`f[fk aX WSUZ S`V WhWdk ZWS^fZ USdW bdah[VWd( Zaeb[fS^( _WV[US^ [`ef[fgf[a`(
                    ^STadSfadk S`V bZke[U[S` [`ha^hWV [` S`k bSdf aX egUZ V[SY`ae[e7

            X*      MZW [VW`f[fk aX WSUZ S`V WhWdk bWdea`( [`U^gV[`Y dW^Sf[hWe aX kagde( W_b^akWde( ad
                    S`ka`W SUf[`Y [` fZW J^S[`f[XXeq TWZS^X( fa iZa_ egUZ V[SY`ae[e iSe _SVW ]`ai`(
                    [`U^gV[`Y fZW VSfW( f[_W S`V b^SUW aX egUZ V[eU^aegdW( S`V fZW `S_W( SVVdWee S`V
                    bZa`W `g_TWd aX S`ka`W i[f`Wee[`Y eS[V V[eU^aegdW7

            Y*      >WeUd[TW [` VWfS[^ fZW ebWU[X[U UagdeW%e& aX fdWSf_W`f ad fZWdSbk( [`U^gV[`Y S`k
                    _WV[USf[a` bdWeUd[TWV Se S dWeg^f aX WSUZ egUZ V[SY`ae[e( S`V fZW `S_W( SVVdWee S`V
                    fW^WbZa`W `g_TWd aX WSUZ bdWeUd[T[`Y bZke[U[S`7

            Z*      MZW [VW`f[fk aX kagd W_b^akWd Sf fZW f[_W aX fZW V[SY`ae[e7 S`V

            [*      CX eS[V V[SY`ae[e dWeg^fWV [` S`k bdWeUd[TWV ad dWUa__W`VWV UZS`YW [` kagd
                    aUUgbSf[a`( TWZSh[ad( ^[XW)efk^W( ad iad][`Y ZST[fe ad Ua`V[f[a`e S`V efSfW6

                    -*      HSfgdW( WjfW`f S`V WjSUf Ua`fW`f aX egUZ bdWeUd[bf[a` ad dWUa__W`VSf[a`7

                    .*      Qagd dWeba`eW fa eS_W S`V dWSea`e Xad egUZ dWeba`eW( bSdf[Ug^Sd^k efSf[`Y S`k
                            dWSea`e Xad XS[^gdW fa Ua_b^k Xg^^k i[fZ egUZ bdWeUd[bf[a` ad
                            dWUa__W`VSf[a`e*

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              %S)X& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWd^k TdaSV S`V
     g`Vg^k TgdVW`ea_W Se iadVWV* J^S[`f[XXe XgdfZWd aT\WUf fa fZ[e C`fWddaYSfadk fa fZW WjfW`f fZSf [e
     eWW]e Sffad`Wk)U^[W`f S`V+ad Sffad`Wk iad] bdaVgUf bd[h[^WYWV [`Xad_Sf[a` S`V+ad `a`)
     V[eUahWdST^W [`Xad_Sf[a` dWYSdV[`Y WjbWdfe iZ[UZ [e bdafWUfWV Xda_ V[eU^aegdW g`VWd Fag[e[S`S
     =[h[^ =aVW aX JdaUWVgdW -0..( -0.1( -02- S`V -021* ;VV[f[a`S^^k( J^S[`f[XXe aT\WUf fa badf[a`
     %X& aX fZ[e C`fWddaYSfadk TWUSgeW _gUZ aX fZW [`Xad_Sf[a` eagYZf [e `af dW^WhS`f( ad dWSea`ST^k
     US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W Wh[VW`UW* J^S[`f[XXe US``af baee[T^k dWUS^^ S^^ aX
     fZW dWcgWefWV [`Xad_Sf[a`* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe
     dWeba`V Se Xa^^aie6

             >WUWVW`f iSe V[SY`aeWV i[fZ SeTWefae)dW^SfWV ^g`Y US`UWd [` ;bd[^ .,-2* ;VV[f[a`S^^k(
     b^WSeW eWW S`eiWde fa C`fWddaYSfad[We Ha* -0 S`V -1* @ad XgdfZWd [`Xad_Sf[a`( b^WSeW eWW
     J^S[`f[XXeq WjbWdf _WV[US^ dWbadf%e&( SffSUZWV ZWdWfa [X ShS[^ST^W( [` iZ[UZ fZW dW^WhS`f( `a`)
     bd[h[^WYWV [`Xad_Sf[a` eagYZf [e TW[`Y bdah[VWV fa S^^ >WXW`VS`fe( S`V S^^ S_W`V_W`fe S`V
     egbb^W_W`fe fZWdWfa* ;^ea( eWW fZW =Wdf[X[USfW aX >WSfZ SffSUZWV ZWdWfa* J^S[`f[XXe dWeWdhW fZW
     d[YZf fa egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*

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            Nba` iZSf VSfW V[V kag X[def eWW S bZke[U[S` dWYSdV[`Y fdWSf_W`f aX S`k ek_bfa_e ad
     Ua`V[f[a`e VWeUd[TWV [` fZW bdWUWV[`Y C`fWddaYSfadk8 A[hW fZW `S_W S`V SVVdWee aX fZW X[def
     bZke[U[S` fZW J^S[`f[XXe eSi S`V S^^ egTeWcgW`f bZke[U[S`e fZSf fZWk ZShW eWW` ad Ua`eg^fWV [`
     Ua``WUf[a` i[fZ fZW[d V[SY`ae[e*

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             IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW S`V S_T[Ygage* J^S[`f[XXe
     XgdfZWd aT\WUf fa fZ[e C`fWddaYSfadk fa fZW WjfW`f fZSf [f eWW]e bd[h[^WYWV [`Xad_Sf[a` S`V+ad `a`)
     V[eUahWdST^W [`Xad_Sf[a` dWYSdV[`Y WjbWdfe iZ[UZ [e bdafWUfWV Xda_ V[eU^aegdW g`VWd Fag[e[S`S
     =[h[^ =aVW aX JdaUWVgdW -0..( -0.1( -02- S`V -021* J^S[`f[XXe US``af baee[T^k dWUS^^ S^^ aX fZW
     dWcgWefWV [`Xad_Sf[a`* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe dWeba`V
     Se Xa^^aie6

           J^WSeW eWW S`eiWde fa C`fWddaYSfad[We Ha* -0 S`V -1* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*

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     9?E5CC@71E@CJ ?@% (*

            Nba` iZSf VSfW iWdW kag SVh[eWV Tk S bZke[U[S` fZSf fZW ek_bfa_e ad Ua`V[f[a`e
     VWeUd[TWV [` ;`eiWd fa C`fWddaYSfadk Ha* .. dWeg^fWV Xda_ kagd S^^WYWV WjbaegdW fa SeTWefae(
     SeTWefae)Ua`fS[`[`Y bdaVgUfe( S`V+ad S`k afZWd ZSd_Xg^ egTefS`UWe iZ[UZ USgeWV ad _Sk ZShW
     USgeWV fZW Ua`V[f[a`%e& ad ek_bfa_%e&8 J^WSeW bdah[VW fZW `S_W S`V SVVdWee aX fZW bZke[U[S`
     _S][`Y fZW V[SY`ae[e VWeUd[TWV STahW*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% (*

           LWW S`eiWde fa C`fWddaYSfadk Ha*-0( -1( .. S`V ./* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*

     9?E5CC@71E@CJ ?@% (+

            BSe fZW bZke[U[S`%e& [VW`f[X[WV [` S`eiWd fa C`fWddaYSfadk Ha* .. TWW` bS[V Xad fZW
     eWdh[UWe iZ[UZ dWeg^fWV [` fZW V[eUahWdk aX J^S[`f[XXqe ek_bfa_e8 CX ea( iZW` S`V Tk iZa_8 CX
     `af( b^WSeW efSfW iZWfZWd bSk_W`f aX fZW bZke[U[S`qe XWWe [e Ua`f[`YW`f gba` fZW J^S[`f[XXqe
     dWUahWdk [` fZ[e ^[f[YSf[a`*

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             IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWdTdaSV( [f [e S h[a^Sf[a` aX
     fZW Ua^^SfWdS^ eagdUW dg^W( S`V eWW]e [`Xad_Sf[a` iZ[UZ [e `af dW^WhS`f `ad dWSea`ST^k US^Ug^SfWV
     fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W Wh[VW`UW* J^S[`f[XXe XgdfZWd aT\WUf fa fZ[e C`fWddaYSfadk fa
     fZW WjfW`f [f US` TW Ua`efdgWV fa eWW] bd[h[^WYWV [`Xad_Sf[a` dWYSdV[`Y J^S[`f[XXeq dWfS[`WV
     WjbWdfe* LgT\WUf fa eS[V aT\WUf[a` S`V i[fZagf iS[h[`Y eS_W6

             Ha bSk_W`fe Xad _WV[US^ fdWSf_W`f Xad bZke[U[S`e iWdW Ua`f[`YW`f gba` fZW agfUa_W aX
     fZ[e ^Sieg[f* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f S`V+ad S_W`V fZ[e ;`eiWd*

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     bSdf`WdeZ[be ad bdaXWee[a`S^ UadbadSf[a`e& W`fWdWV [`fa S`k Ua`fdSUf( id[ffW` ad afZWdi[eW(
     bgdegS`f fa fZW fWd_e aX iZ[UZ kag iWdW WjS_[`WV8 CX ea( VWeUd[TW [` VWfS[^ fZW fWd_e S`V
     Ua`V[f[a`e aX egUZ Ua`fdSUf( [`U^gV[`Y fZW VSfW aX fZW Ua`fdSUf( fZW fWd_e aX fZW Ua`fdSUf S`V
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     fZW Ua^^SfWdS^ eagdUW dg^W( S`V eWW]e [`Xad_Sf[a` iZ[UZ [e `af dW^WhS`f `ad dWSea`ST^k US^Ug^SfWV
     fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W Wh[VW`UW* J^S[`f[XXe XgdfZWd aT\WUf fa fZ[e C`fWddaYSfadk fa
     fZW WjfW`f [f US` TW Ua`efdgWV fa eWW] bd[h[^WYWV [`Xad_Sf[a` dWYSdV[`Y J^S[`f[XXeq dWfS[`WV
     WjbWdfe* LgT\WUf fa eS[V aT\WUf[a` S`V i[fZagf iS[h[`Y eS_W6 `a*

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             J^WSeW efSfW S^^ _WV[USf[a`%e& bdWeUd[TWV fa J^S[`f[XX Se S dWeg^f aX fZW V[SY`ae[e i[fZ fZW
     [`\gdk S^^WYWV [` fZ[e eg[f( S`V S`k afZWd _WV[USf[a`( iZ[UZ J^S[`f[XXe ZShW geWV Vgd[`Y fZW bSef
     fW` kWSde [` Ua``WUf[a` i[fZ S`k [`\gdk( Ua_b^S[`f ad [^^`Wee* C` dWeba`eW fa fZ[e C`fWddaYSfadk(
     b^WSe efSfW i[fZ dWYSdV fa WSUZ fkbW aX _WV[USf[a`6

            S*      MZW VaUfad iZa bdWeUd[TWV fZ[e _WV[USf[a`7

            T*      MZW Ua`V[f[a` Xad iZ[UZ [f iSe bdWeUd[TWV7

            U*      MZW [`U^ge[hW VSfWe Xad iZ[UZ [f iSe fS]W`+bdWeUd[TWV7



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            V*      MZW VaeW S_ag`f Xad WSUZ _WV[USf[a`*

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             %S)V& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se ahWdTdaSV( g`Vg^k TgdVW`ea_W
     S`V fa fZW WjfW`f [f eWW]e [`Xad_Sf[a` fZSf [e `af dW^WhS`f `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW
     V[eUahWdk aX SV_[ee[T^W Wh[VW`UW* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W(
     J^S[`f[XXe dWeba`V Se Xa^^aie6
            J^S[`f[XXe US``af baee[T^k dWUS^^ S^^ aX fZW dWcgWefWV [`Xad_Sf[a`* J^WSeW eWW S`eiWde fa
     C`fWddaYSfad[We Ha* -0 S`V -1* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f S`V+ad S_W`V fZ[e
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             >a kag ad V[V kag egXXWd Xda_ S`k bg^_a`Sdk V[eWSeW( [`U^gV[`Y Tgf `af ^[_[fWV fa
     Tda`UZ[f[e( b`Wg_a`[S( ba^[a( =IJ>( UZWef fdSg_S( SefZ_S( fgTWdUg^ae[e( W_bZkeW_S ad
     S^^WdY[We8 CX ea( b^WSeW efSfW6

        S* >SfW S`V f[_W aX egUZ V[SY`ae[e7

        T* CVW`f[fk aX fZW V[SY`ae[`Y S`V S`k Ua`Ugdd[`Y bZke[U[S`7

        U* MZW _WfZaV S`V [`Xad_Sf[a` gba` iZ[UZ egUZ V[SY`ae[e iSe TSeWV7

        V* MZW [VW`f[fk aX WSUZ S`V WhWdk Zaeb[fS^( _WV[US^ [`ef[fgf[a`( ^STadSfadk( bZke[U[S`( `gdeW ad
           ^STadSfadk fWUZ`[U[S` [`ha^hWV [` S`k bSdf aX egUZ V[SY`ae[e7

        W* MZW [VW`f[fk aX WSUZ S`V WhWdk bWdea`( [`U^gV[`Y dW^Sf[hWe aX fZW J^S[`f[XXe( W_b^akWde ad
           S`k SUf[`Y a` fZW J^S[`f[XXeq TWZS^X( fa iZa_ egUZ V[SY`ae[e iSe _SVW ]`ai`( [`U^gV[`Y
           fZW VSfW( f[_W S`V b^SUW aX egUZ V[eU^aegdW( S`V fZW `S_W( SVVdWee S`V bZa`W `g_TWd aX
           S`ka`W i[f`Wee[`Y eS[V V[eU^aegdW7

        X* >WeUd[bf[a` [` VWfS[^ aX fZW ebWU[X[U UagdeW%e& aX fdWSf_W`f ad fZWdSbk( [`U^gV[`Y S`k
           _WV[USf[a` bdWeUd[TWV Se S dWeg^f aX egUZ V[SY`ae[e( S`V fZW `S_W( SVVdWee( S`V
           fW^WbZa`W `g_TWd aX WSUZ bdWeUd[T[`Y bZke[U[S`7

        Y* MZW [VW`f[fk aX kagd W_b^akWd Sf fZW f[_W aX fZW V[SY`ae[e7 S`V

        Z* CX fZW eS[V V[SY`ae[e dWeg^fWV [` S`k bdWeUd[TWV ad dWUa__W`VWV UZS`YW [` kagd
           aUUgbSf[a`( TWZSh[ad( ^[XWefk^W( ad iad][`Y ZST[fe ad Ua`V[f[a`e S`V efSfW6

                 -* HSfgdW( WjfW`f S`V WjSUf Ua`fW`f aX egUZ bdWeUd[bf[a` ad dWUa__W`VSf[a`7

                 .* J^S[`f[XXqe dWeba`eW fa eS_W S`V dWSea`e Xad egUZ dWeba`eW7 bSdf[Ug^Sd^k efSf[`Y
                    S`k dWSea`e Xad XS[^gdW fa Ua_b^k Xg^^k i[fZ egUZ bdWeUd[bf[a`e ad
                    dWUa__W`VSf[a`e*

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     ZSdSee[`Y S`V abbdWee[hW* ;VV[f[a`S^^k( J^S[`f[XXe aT\WUf fa badf[a`e aX fZ[e C`fWddaYSfadk Se [f
     eWW]e [`Xad_Sf[a` iZ[UZ [e `af dW^WhS`f( ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX
     SV_[ee[T^W Wh[VW`UW* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk fa fZW WjfW`f [f eWW]e bd[h[^WYWV
     [`Xad_Sf[a` dWYSdV[`Y Ua`eg^f[`Y WjbWdfe ad Sffad`Wk)iad] bdaVgUf* LgT\WUf fa eS[V aT\WUf[a`e
     S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe dWeba`V Se Xa^^aie6

             J^S[`f[XXe US``af baee[T^k dWUS^^ S^^ aX fZW dWcgWefWV [`Xad_Sf[a`* C` S` WXXadf fa
     dWSea`ST^k dWeba`V( b^WSeW eWW S`eiWde fa C`fWddaYSfadk Ha* -0 S`V -1* J^S[`f[XXe dWeWdhW fZW
     d[YZf fa egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*

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             BSe S` [__WV[SfW XS_[^k _W_TWd( [`U^gV[`Y _afZWd( XSfZWd( YdS`VbSdW`fe( ebageW ad
     e[T^[`Y aX J^S[`f[XXe WhWd TWW` V[SY`aeWV i[fZ S`k US`UWd( USdU[`a_S( eSdUa_S( _WeafZW^[a_S(
     _S^[Y`S`Uk ad S`k bg^_a`Sdk V[eWSeW8 CX kWe( b^WSeW [VW`f[Xk fZW bWdea` S`V fZW V[eWSeW%e&*

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           IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se ahWdTdaSV S`V TWUSgeW fZW
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     SV_[ee[T^W Wh[VW`UW* J^S[`f[XXe Va `af ZShW fZW dWcgWefWV [`Xad_Sf[a`* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*

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     [VW`f[Xk fZW Xa^^ai[`Y [`Xad_Sf[a` Xad WSUZ bdaUWVgdW bWdXad_WV6

             S*      MZW `S_W S`V SVVdWee aX fZW aXX[UW ad Zaeb[fS^ iZWdW egUZ bdaUWVgdWe iWdW
                     bWdXad_WV7

             T*      KWSea`e Se fa iZk egUZ bdaUWVgdWe iWdW bWdXad_WV7

             U*      MZW VSfW%e& a` iZ[UZ egUZ bdaUWVgdWe iWdW bWdXad_WV7

             V*      MZW [`Xad_Sf[a` dWbadfWV fa J^S[`f[XXe Xda_ _WV[US^ bdSUf[f[a`Wde Se S dWeg^f aX
                     egUZ bdaUWVgdWe7

             W*      MZW bWdea`%e& iZa bWdXad_WV egUZ bdaUWVgdW S`V fZW bWdea`%e& iZa _SVW egUZ
                     X[`V[`Ye7

             X*      MZW ^aUSf[a` aX S`k f[eegW eS_b^W ad S`k afZWd bZke[US^ Wh[VW`UW aTfS[`WV [` fZW
                     bWdXad_S`UW aX egUZ bdaUWVgdWe7 S`V

             Y*      MZW ^aUSf[a` S`V UgefaV[S` aX S`k dWbadfe ad id[ffW` X[`V[`Ye aX S`k egUZ
                     bdaUWVgdWe*

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            %S)Y& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se ahWdTdaSV S`V TWUSgeW fZW
     [`Xad_Sf[a` eagYZf [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX
     SV_[ee[T^W Wh[VW`UW* J^S[`f[XXe XgdfZWd aT\WUf fa fZ[e dWcgWef fa fZW WjfW`f [f eWW]e bd[h[^WYWV `a`)
     V[eUahWdST^W [`Xad_Sf[a` dWYSdV[`Y WjbWdfe* LgT\WUf fa eS[V aT\WUf[a` S`V i[fZagf iS[h[`Y
     eS_W6 b^WSeW eWW S`eiWde fa C`fWddaYSfadk Ha* -0 S`V -1* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*

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            CX kag SdW U^S[_[`Y [` fZ[e SUf[a` ^aef iSYWe( XgfgdW ^aef iSYWe ad XgfgdW ^aee aX WSd`[`Ye
     Tk [_bS[d_W`f aX WSd`[`Y USbSU[fk( b^WSeW efSfW fZW S_ag`f aX egUZ ^aee aX WSd`[`Ye S`V fZW
     VWfS[^WV TSe[e gba` iZ[UZ kag Ua_bgfWV fZSf S_ag`f*

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            Haf Sbb^[UST^W* J^S[`f[XXe dWeWdhW fZW d[YZf fa S_W`V S`V+ad egbb^W_W`f fZ[e dWeba`eW*

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             CX S`k aX kagd [__WV[SfW XS_[^k _W_TWde( [`U^gV[`Y _afZWd( XSfZWd( YdS`VbSdW`fe( ebageW( ad
     e[T^[`Ye ZShW WhWd TWW` W_b^akWV Tk S`k aX fZW >WXW`VS`fe [` fZ[e SUf[a`( b^WSeW [VW`f[Xk S`V
     VWeUd[TW fZW VSfW( ^aUSf[a`( S^^ egbWdh[eade S`V fZW Vgf[We Xad WSUZ bWdea`qe W_b^ak_W`f*

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     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% )(

           Ma fZW TWef aX J^S[`f[XXeq bdWeW`f ]`ai^WVYW( `af Sbb^[UST^W* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*

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            >[V kagd \aT Vgf[We WhWd [`ha^hW fWSd[`Y agf [`eg^Sf[a` ad afZWd _SfWd[S^e iZ[UZ S^^WYWV^k
     Ua`fS[`WV SeTWefae8 CX ea( b^WSeW efSfW Xad WSUZ egUZ W_b^ak_W`f6

            S*      HS_W( SVVdWee( fW^WbZa`W `g_TWd aX W_b^akWd7

            T*      HS_W S`V ^aUSf[a` aX \aT e[fW%e&7

            U*      >SfWe aX egUZ W_b^ak_W`f bWd[aV%e&7

            V*      >WfS[^WV \aT VWeUd[bf[a` S`V VWeUd[bf[a` aX iad] _WfZaVe S`V fWUZ`[cgWe7 S`V

            W*      MZW _S`gXSUfgdWd%e& aX fZW [`eg^Sf[a` bdaVgUf%e& kag dW_ahWV*

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     [`Xad_Sf[a` iZ[UZ [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX
     SV_[ee[T^W Wh[VW`UW* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWd^k TdaSV S`V
     g`Vg^k TgdVW`ea_W* P[fZagf iS[h[`Y fZWeW aT\WUf[a`e( J^S[`f[XXe dWeba`V Se Xa^^aie6

             J^WSeW eWW J^S[`f[XXeq bWf[f[a` Xad VS_SYWe* J^S[`f[XXe i[^^ WjUZS`YW i[f`Wee S`V WjZ[T[f
     ^[efe bgdegS`f fa fZW =agdfqe LUZWVg^[`Y IdVWd* J^WSeW eWW ;`eiWd fa C`fWddaYSfadk Ha* 0 S`V
     eWW S`k fWef[_a`k fa TW Y[hW` Tk J^S[`f[XXe S`V+ad >WUWVW`fqe Ua)iad]Wde [` fZ[e USeW( h[S
     VWbae[f[a` ad afZWdi[eW* J^WSeW S^ea eWW >WUWVW`fqe LaU[S^ LWUgd[fk ?Sd`[`Ye LfSfW_W`f iZ[UZ
     [e SffSUZWV* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW*

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             >[V kag WhWd iad] Se S eS`VT^SefWd( eS`VT^SefWdqe ZW^bWd( iW^VWd ad iW^VWdqe ZW^bWd8 CX
     ea( b^WSeW efSfW iZWdW S`V iZW` eS[V SUf[h[fk faa] b^SUW*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% )*

            J^WSeW eWW ;`eiWd fa C`fWddaYSfadk Ha* //*

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           LfSfW iZWfZWd S`k dWeb[dSfadk bdafWUf[hW Wcg[b_W`f( dWeb[dSfade( Vgef _Se]e S`V+ad ZaaVe
     iWdW _SVW ShS[^ST^W fa kag Xad geW Vgd[`Y S`k \aT fZSf kag WhWd bWdXad_WV* CX S`k egUZ
     Wcg[b_W`f iSe _SVW ShS[^ST^W( efSfW6

             S*     MZW `S_W aX WSUZ XSU[^[fk Sf iZ[UZ egUZ Wcg[b_W`f iSe ShS[^ST^W7

             T*     >WeUd[TW [` VWfS[^ fZW fkbW aX Wcg[b_W`f %[`U^gV[`Y _aVW^ `g_TWd S`V
                    _S`gXSUfgdWd& geWV ad ShS[^ST^W( S`V iZWdW egUZ Wcg[b_W`f iSe ^aUSfWV S`V+ad
                    efadWV7

             U*     PZWfZWd kag iWdW Y[hW` [`efdgUf[a`e Xad fZW geW aX egUZ Wcg[b_W`f( S`V [X ea(
                    fZW `S_W S`V dS`] aX fZW bWdea` Y[h[`Y egUZ [`efdgUf[a`e7

             V*     MZW VSfW fZW iad] iSe bWdXad_WV S`V iZW` egUZ Wcg[b_W`f iSe ShS[^ST^W7

             W*     MZW `SfgdW S`V WjfW`f aX fZW iad] bWdXad_WV iZW` egUZ Wcg[b_W`f iSe

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                     ShS[^ST^W7

             X*      Qagd Vgf[We [` Ua``WUf[a` i[fZ WSUZ egUZ \aT7 S`V

             Y*      PZWfZWd kag geWV S`V+ad iadW fZW ShS[^ST^W dWeb[dSfadk bdafWUf[hW Wcg[b_W`f(
                     S`V [X `af( iZk*

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           %S)Y& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se g`dWSea`ST^k hSYgW* P[fZagf
     iS[h[`Y fZ[e aT\WUf[a`( J^S[`f[XXe dWeba`V Se Xa^^aie6

            Ma fZW TWef aX J^S[`f[XXeq ]`ai^WVYW( >WUWVW`f iSe `af bdah[VWV dWeb[dSfadk bdafWUf[a`
     Xad fZW bgdbaeW aX bdWhW`f[`Y WjbaegdW fa SeTWefae bdaVgUfe* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*

     9?E5CC@71E@CJ ?@% ),

            J^WSeW efSfW fZW Xg^^ `S_W( SVVdWee S`V fW^WbZa`W `g_TWd aX WSUZ egUZ i[f`Wee gba`
     iZa_ kag dW^k fa _S]W fZW Ua`fW`f[a` fZSf kag geWV dWeb[dSfadk Wcg[b_W`f _S`gXSUfgdWV
     S`V+ad V[efd[TgfWV Tk WSUZ _S`gXSUfgdWd*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% ),

            IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se g`dWSea`ST^k hSYgW* P[fZagf iS[h[`Y
     fZWeW aT\WUf[a`e( J^S[`f[XXe dWeba`V Se Xa^^aie6

            J^WSeW eWW ;`eiWd fa C`fWddaYSfadk Ha* /1* >[eUahWdk [e Ua`f[`g[`Y* J^S[`f[XXe i[^^
     [VW`f[Xk fZW[d i[f`WeeWe Sf egUZ f[_W fZW =agdf dWcg[dWe S`V+ad bgdegS`f fa fZW =agdf LUZWVg^[`Y
     IdVWd fa TW W`fWdWV [` fZ[e USeW* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW*

     9?E5CC@71E@CJ ?@% )-

            J^WSeW efSfW fZW `S_W( SVVdWee S`V fW^WbZa`W `g_TWd aX S`k S`V S^^ bWdea`e iZa_ kag
     ZShW dWSea` fa TW^[WhW baeeWee WjbWdf[eW [` fZW X[W^V aX dWeb[dSfadk bdafWUf[a` S`V i[fZ iZa_
     kag ZShW V[eUgeeWV fZW USeW S`V iZa_ kag _Sk US^^ Sf fZW fd[S^*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% )-

            IT\WUf[a`* MZ[e C`fWddaYSfadk [e bdW_SfgdW( hSYgW( S`V ebWUg^Sf[hW* >[eUahWdk [e
     a`Ya[`Y* ;VV[f[a`S^^k( Sf fZ[e efSYW aX fZW bdaUWWV[`Ye( J^S[`f[XXe ZShW `af VWfWd_[`WV iZ[UZ
     i[f`WeeWe i[^^ TW US^^WV fa fWef[Xk7 J^S[`f[XXe i[^^ [VW`f[Xk fZW[d i[f`WeeWe Sf egUZ f[_W fZW =agdf
     dWcg[dWe S`V+ad bgdegS`f fa fZW =agdf LUZWVg^[`Y IdVWd* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f fZ[e dWeba`eW*

     9?E5CC@71E@CJ ?@% ).

            J^WSeW VWeUd[TW [` VWfS[^ S^^ VaUg_W`fSf[a` Tk _S`gXSUfgdWd S`V bdaVgUf( [`U^gV[`Y Tgf
     `af ^[_[fWV fa( bgdUZSeW adVWde( [`ha[UWe( eS^We ^[fWdSfgdW( WfU*( kag ad kagd Sffad`Wk ZShW
     dWh[WiWV S`V gba` iZ[UZ kag ad kagd Sffad`Wk dW^k [` adVWd fa _S]W fZW Ua``WUf[a` dWYSdV[`Y
     kagd geW( [X S`k( aX dWeb[dSfadk bdafWUf[hW Wcg[b_W`f _S`gXSUfgdWV Tk S`k >WXW`VS`f ZWdW[`*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% ).

             IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se ahWdTdaSV( hSYgW( S`V ebWUg^Sf[hW* C`
     S` WXXadf fa dWSea`ST^k dWeba`V( fa fZW TWef aX J^S[`f[XXeq ]`ai^WVYW( >WUWVW`f iSe `WhWd
     bdah[VWV dWeb[dSfadk bdafWUf[a` Xad fZW bgdbaeW aX bdWhW`f[`Y WjbaegdW fa SeTWefae bdaVgUfe*
     J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*




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     9?E5CC@71E@CJ ?@% )/

            J^WSeW [VW`f[Xk S`k [`efdgUf[a`e Y[hW` fa kag Tk kagd W_b^akWd%e& ad bdW_[eWe ai`Wde
     Ua`UWd`[`Y fZW abWdSf[a`( geW S`V+ad _S[`fW`S`UW aX S`k dWeb[dSfadk bdafWUf[hW Wcg[b_W`f(
     STdSe[hW T^Sef[`Y Wcg[b_W`f( SeTWefae( SeTWefae)Ua`fS[`[`Y bdaVgUfe( e[^[US( e[^[US)Ua`fS[`[`Y
     bdaVgUfe S`V+ad eS`V T^Sef ZaaVe S`V [VW`f[Xk fZW Xg^^ `S_We S`V SVVdWeeWe aX S^^ bWdea`%e& iZa
     bdah[VWV egUZ [`efdgUf[a`e*

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           IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se ahWdTdaSV( hSYgW S`V ebWUg^Sf[hW*
     P[fZagf iS[h[`Y fZWeW aT\WUf[a`e( J^S[`f[XXe dWeba`V Se Xa^^aie6

            J^WSeW eWW ;`eiWd fa C`fWddaYSfadk Hae* / S`V /1( S`V eWW fZW fWef[_a`k Y[hW` ad fa TW
     Y[hW` Tk J^S[`f[XXe S`V+ad >WUWVW`fqe Uaiad]Wde [` fZ[e USeW( h[S VWbae[f[a` ad afZWdi[eW*
     @gdfZWd( V[eUahWdk [e Ua`f[`g[`Y S`V J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW*

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             @ad WSUZ bdaVgUf S`V Wcg[b_W`f fZSf kag Ua`fW`V iSe VWXWUf[hW S`V+ad afZWdi[eW
     ZSd_Xg^ S`V+ad WSUZ _S``Wd [` iZ[UZ kag Ua`fW`V fZSf S >WXW`VS`f XS[^WV fa bdabWd^k iSd`(
     b^WSeW [VW`f[Xk fZW S^^WYWV VWXWUf+XS[^gdW fa iSd` Tk ebWU[X[U _S`gXSUfgdWd S`V bdaVgUf( Wjb^S[`
     Zai fZW S^^WYWV VWXWUf+XS[^gdW fa iSd` WjbaeWV kag fa [`\gd[age ad ZSd_Xg^ egTefS`UWe( S`V
     [VW`f[Xk S`k [`V[h[VgS^%e& iZa ZSe [`Xad_Sf[a` Ua`UWd`[`Y fZW S^^WYWV VWXWUf+XS[^gdW fa iSd`*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% *&

            IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( S_T[Ygage( ahWdTdaSV S`V
     g`Vg^k TgdVW`ea_W* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se bdW_SfgdW7 V[eUahWdk [e `af kWf
     Ua_b^WfWV* LgT\WUf fa S`V i[fZagf iS[h[`Y fZWeW aT\WUf[a`e6

             J^WSeW eWW J^S[`f[XXeq JWf[f[a` Xad >S_SYWe* J^WSeW S^ea eWW J^S[`f[XXeq P[f`Wee F[ef( S`V
     S`k egbb^W_W`fe S`V+ad S_W`V_W`fe fZWdWfa( [` iZ[UZ fZW [`Xad_Sf[a` eagYZf i[^^ TW bdah[VWV
     Sf egUZ f[_W fZW =agdf dWcg[dWe S`V+ad [` SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd fa TW W`fWdWV [`
     fZ[e USeW* J^S[`f[XXe dWXWd >WXW`VS`f fa fZW fWef[_a`k Y[hW` ad fa TW Y[hW` Tk J^S[`f[XXe S`V +ad
     >WUWVW`fqe Uaiad]Wde( h[S VWbae[f[a` ad afZWdi[eW( [` fZ[e USeW* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f fZ[e dWeba`eW fa fZ[e C`fWddaYSfadk*

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             CX kag S^^WYW fZSf S`k >WXW`VS`f h[a^SfWV S`k dWYg^Sfadk dWcg[dW_W`fe( UWdf[X[USf[a` efS`VSdVe(
     ad eSXWfk UaVWe( Se S` W^W_W`f aX `WY^[YW`UW ad S USgeS^^k dW^SfWV fa S`k S`V S^^ U^S[_e _SVW Tk kag(
     Xad WSUZ egUZ h[a^Sf[a`e eWf XadfZ6

            S*      @g^^ S`V Ua_b^WfW VWeUd[bf[a` aX WSUZ UaVW S^a`Y i[fZ WSUZ S`V WhWdk Sbb^[UST^W
                    eWUf[a` ad bdah[e[a` aX WSUZ UaVW iZ[UZ kag U^S[_ iSe h[a^SfWV S`V Tk iZ[UZ
                    _S`gXSUfgdWd Xad iZ[UZ bdaVgUf7

            T*      >WeUd[TW fZW _S``Wd [` iZ[UZ WSUZ egUZ eWUf[a` ad bdah[e[a` [`ha^hWV [` WSUZ
                    h[a^Sf[a`7 S`V

            U*      CVW`f[Xk fZW `S_W S`V SVVdWee aX fZW bWdea`e S^^WYWV^k [`ha^hWV [` WSUZ h[a^Sf[a`7
                    S`V

            W*      LWf XadfZ S VSfW S`V ^aUSf[a` Xad WSUZ egUZ S^^WYWV h[a^Sf[a`*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% *'

            IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk TWUSgeW [f US^^e Xad S ^WYS^ Ua`U^ge[a`*
     @gdfZWd( J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( S_T[Ygage( ahWdTdaSV S`V g`Vg^k

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     TgdVW`ea_W* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se bdW_SfgdW7 V[eUahWdk [e `af kWf
     Ua_b^WfWV* LgT\WUf fa S`V i[fZagf iS[h[`Y fZWeW aT\WUf[a`e6

            C` Fag[e[S`S( S efSfgfadk Vgfk [e [_baeWV a` WhWdk W_b^akWd fa Xgd`[eZ S dWSea`ST^k eSXW
     W_b^ak_W`f* See F;* K?O* LM;M* ;HH* m ./6-/ %.,-0&7 see also Becknell v. Northrop Grumman Ship
     Systems, Inc., Ha* .,,5)=)54.( .,,5 PF 1223252( '. %FS* ;bb* 0 =[d* .,,5&*
             C` SVV[f[a`( eWW J^S[`f[XXeq JWf[f[a` Xad >S_SYWe* J^WSeW S^ea eWW J^S[`f[XXeq P[f`Wee F[ef(
     S`V S`k egbb^W_W`fe S`V+ad S_W`V_W`fe fZWdWfa( [` iZ[UZ fZW [`Xad_Sf[a` eagYZf i[^^ TW
     bdah[VWV Sf egUZ f[_W fZW =agdf dWcg[dWe S`V+ad [` SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd fa TW
     W`fWdWV [` fZ[e USeW* J^S[`f[XXe dWXWd >WXW`VS`f fa fZW fWef[_a`k Y[hW` ad fa TW Y[hW` Tk J^S[`f[XXe
     S`V +ad >WUWVW`fqe Uaiad]Wde( h[S VWbae[f[a` ad afZWdi[eW( [` fZ[e USeW* J^S[`f[XXe dWeWdhW fZW
     d[YZf fa egbb^W_W`f fZ[e dWeba`eW fa fZ[e C`fWddaYSfadk*

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             CX kag Ua`fW`V fZSf fZW bdaj[_SfW USgeW aX fZW S^^WYWV [`\gd[We S`V VS_SYWe SdaeW agf aX fZW
     TdWSUZ Tk S`k >WXW`VS`f( aX S`k adS^ ad id[ffW` WjbdWeeWV iSddS`f[We i[fZ dWebWUf fa fZW S^^WYWV^k
     VWXWUf[hW bdaVgUfe dWXWddWV fa [` kagd JWf[f[a` ad [` kagd dWeba`eWe fa fZWeW C`fWddaYSfad[We( Se fa WSUZ
     egUZ S^^WYWV TdWSUZ eWf XadfZ6

                  S* MZW `SfgdW aX fZW S^^WYWV TdWSUZ aX WjbdWeeWV iSddS`f[We Tk _S`gXSUfgdWd S`V
                     bdaVgUf7

                  T* MZW `S_W( SVVdWee S`V \aT f[f^W aX S`k bWdea` S^^WYWV^k Xgd`[eZ[`Y S` adS^ iSddS`fk7

                  U* MZW egTefS`UW( [` VWfS[^( aX WSUZ egUZ S^^WYWV iSddS`fk7 S`V

                  V* MZW `S_W S`V SVVdWee aX WSUZ bWdea` bdWeW`f iZW` S`k adS^ iSddS`fk iSe Xgd`[eZWV*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% *(

            IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( S_T[Ygage( ahWdTdaSV S`V
     g`Vg^k TgdVW`ea_W* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se bdW_SfgdW7 V[eUahWdk [e `af kWf
     Ua_b^WfWV* LgT\WUf fa S`V i[fZagf iS[h[`Y fZWeW aT\WUf[a`e6

            C` Fag[e[S`S( S efSfgfadk Vgfk [e [_baeWV a` WhWdk W_b^akWd fa Xgd`[eZ S dWSea`ST^k eSXW
     W_b^ak_W`f* See F;* K?O* LM;M* ;HH* m ./6-/ %.,-0&7 see also Becnel v. Northrop Grumman Ship
     Systems, Inc., Ha* .,,5)=)54.( .,,5 PF 1223252( '. %FS* ;bb* 0 =[d* .,,5&*

             J^WSeW eWW J^S[`f[XXeq JWf[f[a` Xad >S_SYWe* J^WSeW S^ea eWW J^S[`f[XXeq P[f`Wee F[ef( S`V
     S`k egbb^W_W`fe S`V+ad S_W`V_W`fe fZWdWfa( [` iZ[UZ fZW [`Xad_Sf[a` eagYZf i[^^ TW bdah[VWV
     Sf egUZ f[_W fZW =agdf dWcg[dWe S`V+ad [` SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd fa TW W`fWdWV [`
     fZ[e USeW* J^S[`f[XXe dWXWd >WXW`VS`f fa fZW fWef[_a`k Y[hW` ad fa TW Y[hW` Tk J^S[`f[XXe S`V +ad
     >WUWVW`fqe Uaiad]Wde( h[S VWbae[f[a` ad afZWdi[eW( [` fZ[e USeW* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f fZ[e dWeba`eW fa fZ[e C`fWddaYSfadk*

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             CX kag( ad S`ka`W SUf[`Y a` kagd TWZS^X( ZShW USgeWV S`k bdaVgUfe S`V+ad dWeb[dSfad(
     _Se]( ZaaV ad afZWd dWeb[dSfadk VWh[UW S`V+ad STdSe[hW T^Sef[`Y bdafWUf[a` VWh[UW geWV Tk kag(
     ad aX S fkbW geWV Tk kag fa TW fWefWV( [`ebWUfWV ad WhS^gSfWV( b^WSeW efSfW Xad WSUZ egUZ fWef(
     [`ebWUf[a` ad WhS^gSf[a`6

             S*       MZW VSfW [f iSe _SVW7

             T*       MZW `S_W aX fZW _S`gXSUfgdWd aX WSUZ egUZ bdaVgUf S`V+ad VWh[UW7

             U*       MZW _aVW^ `g_TWd S`V `S_W aX WSUZ egUZ bdaVgUf S`V+ad VWh[UW7


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             V*      ; VWeUd[bf[a` aX fZW fWef7

             W*      MZW `S_W( SVVdWee( \aT f[f^W S`V W_b^akWd aX WSUZ bWdea` bSdf[U[bSf[`Y [` S`V+ad
                     Ua`VgUf[`Y egUZ fWefe7

             X*      MZW dWeg^fe aX fZW fWefe7 S`V

             Y*      MZW `S_W( SVVdWee( \aT f[f^W S`V W_b^akWd aX WSUZ S`V WhWdk bWdea` ]`ai` fa
                     ZShW S Uabk aX S`k dWbadf eWff[`Y XadfZ fZW dWeg^fe aX fZW fWef*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% *)

             %S)Y& IT\WUf[a`* J^S[`f[XXe aT\WUfe fa fZ[e C`fWddaYSfadk fa fZW WjfW`f fZSf [f eWW]e Sffad`Wk)
     U^[W`f S`V+ad Sffad`Wk iad] bdaVgUf bd[h[^WYWV [`Xad_Sf[a` S`V+ad `a`)V[eUahWdST^W [`Xad_Sf[a`
     dWYSdV[`Y WjbWdfe iZ[UZ [e bdafWUfWV Xda_ V[eU^aegdW g`VWd Fag[e[S`S =[h[^ =aVW aX JdaUWVgdW
     -0..( -0.1( -02-S`V -021* ;VV[f[a`S^^k( J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se bdW_SfgdW*
     LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe dWeba`V Se Xa^^aie6

             J^WSeW eWW J^S[`f[XXeq JWf[f[a` Xad >S_SYWe* J^WSeW S^ea eWW J^S[`f[XXeq P[f`Wee F[ef( S`V
     S`k egbb^W_W`fe S`V+ad S_W`V_W`fe fZWdWfa( [` iZ[UZ fZW [`Xad_Sf[a` eagYZf i[^^ TW bdah[VWV
     Sf egUZ f[_W fZW =agdf dWcg[dWe S`V+ad [` SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd fa TW W`fWdWV [`
     fZ[e USeW* J^S[`f[XXe dWXWd >WXW`VS`f fa fZW fWef[_a`k Y[hW` ad fa TW Y[hW` Tk J^S[`f[XXe S`V+ ad
     >WUWVW`fqe Ua)iad]Wde( h[S VWbae[f[a` ad afZWdi[eW( [` fZ[e USeW* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f fZ[e dWeba`eW fa fZ[e C`fWddaYSfadk*

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             P[fZ dWebWUf fa WSUZ _S`gXSUfgdWd S`V+ad egbb^[Wd aX WSUZ ZSd_Xg^ egTefS`UW ad bdaVgUf
     fa iZ[UZ kag U^S[_ fa ZShW TWW` WjbaeWV iZ[UZ USgeWV ad bafW`f[S^^k Ua`fd[TgfWV fa S`k [`\gdk
     ad [^^`Wee Xad iZ[UZ kag eWW] Ua_bW`eSf[a` [` fZ[e eg[f( b^WSeW [VW`f[Xk Tk `S_W( SVVdWee S`V
     fW^WbZa`W `g_TWd S^^ i[f`WeeWe USbST^W aX [VW`f[Xk[`Y WSUZ egUZ bdaVgUf( ebWU[Xk[`Y WSUZ
     i[f`Wee Tk bdaVgUf( _S`gXSUfgdWd S`V+ad egbb^[Wd*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% **

            IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( S_T[Ygage( ahWdTdaSV S`V
     g`Vg^k TgdVW`ea_W* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se bdW_SfgdW7 V[eUahWdk [e `af kWf
     Ua_b^WfWV* LgT\WUf fa S`V i[fZagf iS[h[`Y fZWeW aT\WUf[a`e6

             J^WSeW eWW J^S[`f[XXeq JWf[f[a` Xad >S_SYWe* J^WSeW S^ea eWW J^S[`f[XXeq P[f`Wee F[ef( S`V
     S`k egbb^W_W`fe S`V+ad S_W`V_W`fe fZWdWfa( [` iZ[UZ fZW [`Xad_Sf[a` eagYZf i[^^ TW bdah[VWV
     Sf egUZ f[_W fZW =agdf dWcg[dWe S`V+ad [` SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd fa TW W`fWdWV [`
     fZ[e USeW* J^S[`f[XXe dWXWd >WXW`VS`f fa fZW fWef[_a`k Y[hW` ad fa TW Y[hW` Tk J^S[`f[XXe S`V +ad
     >WUWVW`fqe Uaiad]Wde( h[S VWbae[f[a` ad afZWdi[eW( [` fZ[e USeW* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f fZ[e dWeba`eW fa fZ[e C`fWddaYSfadk*

     9?E5CC@71E@CJ ?@% *+

            @ad WSUZ aX fZW _S`gXSUfgdWde S`V+ad egbb^[Wde [VW`f[X[WV [` fZW bdWh[age fia
     C`fWddaYSfad[We( b^WSeW XgdfZWd ebWU[Xk fZW [`eg^Sf[a` fkbW S`V TdS`V `S_W( Se iW^^ Se fZW [VW`f[fk
     aX WhWdk XSU[^[fk+b^S`f iZWdW fZW i[f`Wee ZSe ]`ai^WVYW fZSf fZW J^S[`f[XXe iSe WjbaeWV*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% *+

            IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( S_T[Ygage( ahWdTdaSV S`V
     g`Vg^k TgdVW`ea_W* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se bdW_SfgdW7 V[eUahWdk [e `af kWf
     Ua_b^WfWV* LgT\WUf fa S`V i[fZagf iS[h[`Y fZWeW aT\WUf[a`e6

            J^WSeW eWW J^S[`f[XXeq JWf[f[a` Xad >S_SYWe* J^WSeW S^ea eWW J^S[`f[XXeq P[f`Wee F[ef( S`V
     S`k egbb^W_W`fe S`V+ad S_W`V_W`fe fZWdWfa( [` iZ[UZ fZW [`Xad_Sf[a` eagYZf i[^^ TW bdah[VWV

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     Sf egUZ f[_W fZW =agdf dWcg[dWe S`V+ad [` SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd fa TW W`fWdWV [`
     fZ[e USeW* J^S[`f[XXe dWXWd >WXW`VS`f fa fZW fWef[_a`k Y[hW` ad fa TW Y[hW` Tk J^S[`f[XXe S`V +ad
     >WUWVW`fqe Uaiad]Wde( h[S VWbae[f[a` ad afZWdi[eW( [` fZ[e USeW* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f fZ[e dWeba`eW fa fZ[e C`fWddaYSfadk*

     9?E5CC@71E@CJ ?@% *,

            J^WSeW bdah[VW fZW TSe[e Xad kagd Ua`fW`f[a` fZSf fZW J^S[`f[XXe iWdW WjbaeWV fa SeTWefae)
     Ua`fS[`[`Y bdaVgUfe _S`gXSUfgdWV Tk fZW _S`gXSUfgdWde S`V+ad egbb^[Wde ^[efWV [` J^S[`f[XXeq
     JWf[f[a`%e&( S`V Xad WSUZ _S`gXSUfgdWd S`V+ad egbb^[Wd( VWeUd[TW fZW Wh[VW`UW iZ[UZ egbbadfe
     kagd TSe[e*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% *,

            IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( S_T[Ygage( ahWdTdaSV S`V
     g`Vg^k TgdVW`ea_W* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se bdW_SfgdW7 V[eUahWdk [e `af kWf
     Ua_b^WfWV* LgT\WUf fa S`V i[fZagf iS[h[`Y fZWeW aT\WUf[a`e6

           MZW SeTWefae)Ua`fS[`[`Y bdaVgUf _S`gXSUfgdWde ^[efWV Se >WXW`VS`fe [` fZW JWf[f[a` Xad
     >S_SYWe egbb^[WV SeTWefae)Ua`fS[`[`Y bdaVgUfe fa >WUWVW`fqe b^SUW aX iad] Sf fZW Jadf aX HWi
     Id^WS`e*

             J^WSeW eWW J^S[`f[XXeq JWf[f[a` Xad >S_SYWe* J^WSeW S^ea eWW J^S[`f[XXeq P[f`Wee F[ef( S`V
     S`k egbb^W_W`fe S`V+ad S_W`V_W`fe fZWdWfa( [` iZ[UZ fZW [`Xad_Sf[a` eagYZf i[^^ TW bdah[VWV
     Sf egUZ f[_W fZW =agdf dWcg[dWe S`V+ad [` SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd fa TW W`fWdWV [`
     fZ[e USeW* J^S[`f[XXe dWXWd >WXW`VS`f fa fZW fWef[_a`k Y[hW` ad fa TW Y[hW` Tk J^S[`f[XXe S`V +ad
     >WUWVW`fqe Uaiad]Wde( h[S VWbae[f[a` ad afZWdi[eW( [` fZ[e USeW* J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f fZ[e dWeba`eW fa fZ[e C`fWddaYSfadk*

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             CX [` kagd b^WSV[`Ye kag S^^WYW fZSf UWdfS[` bdW_[eWe >WXW`VS`f%e& SdW ^[ST^W fa kag Xad
     XS[^gdW fa WjWdU[eW dWSea`ST^W USdW fa bdafWUf kag Xda_ fZW XadWeWWST^W VS`YWde SeeaU[SfWV i[fZ
     WjbaegdW fa SeTWefae ad afZWd ZSd_Xg^ egTefS`UWe S`V+ad fa ]WWb fZW bdW_[eWe eSXW Xad [fe
     [`h[fWWe S`V+ad fZSf bdW_[eWe >WXW`VS`f ]`Wi ad eZag^V ZShW ]`ai` aX fZW g`dWSea`ST^W d[e] aX
     ZSd_ [`ZWdW`f [` WjbaegdW fa SeTWefae ad afZWd ZSd_Xg^ egTefS`UWe Tgf XS[^WV fa bdafWUf kag Xda_
     eS[V d[e] aX ZSd_( b^WSeW VWeUd[TW WSUZ S`V WhWdk XS[^gdW a` WSUZ bdW_[eWe >WXW`VS`fqe bSdf7 fZW
     VSfW WSUZ egUZ XS[^gdW aUUgddWV7 fZW VS`YWd ad ZSd_ [`ha^hWV7 fZW ebWU[X[U ZSd_Xg^ egTefS`UW
     [`ha^hWV S`V efSfW [` VWfS[^ fZW _WSegdWe iZ[UZ kag( kagd WjbWdfe ad i[f`WeeWe Ua`fW`V WSUZ
     bdW_[eWe >WXW`VS`f eZag^V ZShW fS]W` S`V fZW fWUZ`a^aYk [f eZag^V ZShW geWV fa _S]W fZW
     bdW_[eWe eSXW Xad J^S[`f[XXe%e&7 S`V fZW `S_W( SVVdWee( fW^WbZa`W `g_TWd S`V aUUgbSf[a` aX S`k
     i[f`Wee gba` iZ[UZ kag _Sk dW^k fa egbbadf kagd S^^WYSf[a`e*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% *-

            IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( S_T[Ygage( ZSdSee[`Y(
     ahWdTdaSV( ebWUg^Sf[hW S`V g`Vg^k TgdVW`ea_W* @gdfZWd( J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk fa
     fZW WjfW`f fZSf [e eWW]e Sffad`Wk)U^[W`f S`V+ad Sffad`Wk iad] bdaVgUf bd[h[^WYWV [`Xad_Sf[a`
     S`V+ad `a`)V[eUahWdST^W [`Xad_Sf[a` dWYSdV[`Y WjbWdfe iZ[UZ [e bdafWUfWV Xda_ V[eU^aegdW g`VWd
     Fag[e[S`S =[h[^ =aVW aX JdaUWVgdW -0..( -0.1( -02- S`V -021* J^S[`f[XXe S^ea aT\WUf fa fZ[e
     C`fWddaYSfadk Se eWW][`Y Sffad`Wk iad] bdaVgUf fa fZW WjfW`f [f eWW]e [`Xad_Sf[a` agfe[VW fZW
     eUabW aX J^S[`f[XXeq bWdea`S^ ]`ai^WVYW S`V aTfS[`WV Tk J^S[`f[XXe Sffad`Wke fZdagYZ ^[f[YSf[a`*
     ;VV[f[a`S^^k( J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se bdW_SfgdW* LgT\WUf fa eS[V aT\WUf[a`e S`V
     i[fZagf iS[h[`Y eS_W( J^S[`f[XXe dWeba`V Se Xa^^aie6

             J^WSeW eWW J^S[`f[XXeq JWf[f[a`( P[f`Wee F[ef( S`V S`k egbb^W_W`fe S`V+ad S_W`V_W`fe
     fZWdWfa( [` iZ[UZ fZW [`Xad_Sf[a` eagYZf i[^^ TW bdah[VWV Sf egUZ f[_W fZW =agdf dWcg[dWe S`V+ad
     [` SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd fa TW W`fWdWV [` fZ[e USeW* J^S[`f[XXe dWXWde >WXW`VS`f fa
     fZW fWef[_a`k Y[hW` ad fa TW Y[hW` Tk J^S[`f[XXe S`V +ad >WUWVW`fqe Uaiad]Wde( h[S VWbae[f[a` ad

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     afZWdi[eW( [` fZ[e USeW* J^WSeW S^ea eWW S^^ aX J^S[`f[XXeq V[eUahWdk S`V egbb^W_W`fS^ V[eUahWdk
     dWeba`eWe [` fZ[e USeW* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW fa fZ[e
     C`fWddaYSfadk*

     9?E5CC@71E@CJ ?@% *.

             CVW`f[Xk Tk Xg^^ `S_W( UgddW`f ad ^Sef ]`ai` SVVdWee S`V fW^WbZa`W `g_TWd WhWdk
     [`V[h[VgS^ ]`ai` fa kag ad kagd Uag`eW^ `af S^dWSVk [VW`f[X[WV [` dWeba`eW fa S`k aX fZW
     bdWUWV[`Y C`fWddaYSfad[We iZa US` Y[hW S`k fWef[_a`k iZSfeaWhWd dW^WhS`f fa kagd U^S[_e
     SYS[`ef WSUZ b^SUW aX W_b^ak_W`f ad iad]e[fW iZWdW kag ZSV ]`ai` aX bafW`f[S^ WjbaegdW fa
     SeTWefae ad afZWd ZSd_Xg^ egTefS`UWe ad S`k WjWUgf[hW aXX[UWd ad [`egdWd aX fZSf W_b^akWd ad
     iad]e[fW( [`U^gV[`Y Tgf `af ^[_[fWV fa S`k fWef[_a`k iZ[UZ [e dW^WhS`f fa iad][`Y Ua`V[f[a`e Sf
     fZSf W_b^akWd ad iad]e[fW S`V ZW TSe[e Xad fZW S^^WYWV ^[ST[^[fk aX S`k WjWUgf[hW aXX[UWd(
     W_b^akWW ad [`egdWd aX fZSf W_b^akWd ad iad]e[fW7 iZWfZWd ad `af eS[V [`V[h[VgS^ i[^^ TW US^^WV
     Sf fZW fd[S^ aX fZ[e _SffWd Se S i[f`Wee*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% *.

             IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWdTdaSV S`V g`Vg^k
     TgdVW`ea_W* @gdfZWd( J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk fa fZW WjfW`f fZSf [e eWW]e Sffad`Wk)
     U^[W`f S`V+ad Sffad`Wk iad] bdaVgUf bd[h[^WYWV [`Xad_Sf[a` S`V+ad `a`)V[eUahWdST^W [`Xad_Sf[a`
     dWYSdV[`Y WjbWdfe iZ[UZ [e bdafWUfWV Xda_ V[eU^aegdW g`VWd Fag[e[S`S =[h[^ =aVW aX JdaUWVgdW
     -0..( -0.1( -02- S`V -021* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se eWW][`Y Sffad`Wk iad]
     bdaVgUf fa fZW WjfW`f [f eWW]e [`Xad_Sf[a` agfe[VW fZW eUabW aX J^S[`f[XXeq bWdea`S^ ]`ai^WVYW
     S`V aTfS[`WV Tk J^S[`f[XXe Sffad`Wke fZdagYZ ^[f[YSf[a`* ;VV[f[a`S^^k( J^S[`f[XXe aT\WUf fa fZ[e
     C`fWddaYSfadk Se bdW_SfgdW* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe
     dWeba`V Se Xa^^aie6

             J^WSeW eWW J^S[`f[XXeq P[f`Wee F[ef( S`V S`k egbb^W_W`fe S`V+ad S_W`V_W`fe fZWdWfa( [`
     iZ[UZ fZW [`Xad_Sf[a` eagYZf i[^^ TW bdah[VWV Sf egUZ f[_W fZW =agdf dWcg[dWe S`V+ad [`
     SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd fa TW W`fWdWV [` fZ[e USeW* J^S[`f[XXe dWXWde >WXW`VS`f fa
     fZW fWef[_a`k Y[hW` ad fa TW Y[hW` Tk J^S[`f[XXe S`V +ad >WUWVW`fqe Uaiad]Wde( h[S VWbae[f[a` ad
     afZWdi[eW( [` fZ[e USeW* J^WSeW S^ea eWW S^^ aX J^S[`f[XXeq V[eUahWdk S`V egbb^W_W`fS^ V[eUahWdk
     dWeba`eWe [` fZ[e USeW* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW fa fZ[e
     C`fWddaYSfadk*

     9?E5CC@71E@CJ ?@% */

              J^WSeW [VW`f[Xk S^^ fWef[_a`k( [`U^gV[`Y ab[`[a` fWef[_a`k fZSf kag dWSea`ST^k WjbWUf fa
     W^[U[f Sf fd[S^* C` Va[`Y ea( b^WSeW [VW`f[Xk fZW i[f`Wee Y[h[`Y fZW fWef[_a`k( fZW egT\WUf _SffWd a`
     iZ[UZ fZW i[f`Wee [e WjbWUfWV fa fWef[Xk S`V fZW egTefS`UW aX fZW XSUfe fa iZ[UZ fZW i[f`Wee [e
     WjbWUfWV fa fWef[Xk*

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             IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWdTdaSV S`V g`Vg^k
     TgdVW`ea_W* @gdfZWd( J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk fa fZW WjfW`f fZSf [e eWW]e Sffad`Wk)
     U^[W`f S`V+ad Sffad`Wk iad] bdaVgUf bd[h[^WYWV [`Xad_Sf[a` S`V+ad `a`)V[eUahWdST^W [`Xad_Sf[a`
     dWYSdV[`Y WjbWdfe iZ[UZ [e bdafWUfWV Xda_ V[eU^aegdW g`VWd Fag[e[S`S =[h[^ =aVW aX JdaUWVgdW
     -0..( -0.1( -02- S`V -021* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se eWW][`Y Sffad`Wk iad]
     bdaVgUf fa fZW WjfW`f [f eWW]e [`Xad_Sf[a` agfe[VW fZW eUabW aX J^S[`f[XXeq bWdea`S^ ]`ai^WVYW
     S`V aTfS[`WV Tk J^S[`f[XXe Sffad`Wke fZdagYZ ^[f[YSf[a`* ;VV[f[a`S^^k( J^S[`f[XXe aT\WUf fa fZ[e
     C`fWddaYSfadk Se bdW_SfgdW* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe
     dWeba`V Se Xa^^aie6

             J^WSeW eWW J^S[`f[XXeq P[f`Wee F[ef( S`V S`k egbb^W_W`fe S`V+ad S_W`V_W`fe fZWdWfa( [`
     iZ[UZ fZW [`Xad_Sf[a` eagYZf i[^^ TW bdah[VWV Sf egUZ f[_W fZW =agdf dWcg[dWe S`V+ad [`
     SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd fa TW W`fWdWV [` fZ[e USeW* J^S[`f[XXe dWXWde >WXW`VS`f fa
     fZW fWef[_a`k Y[hW` ad fa TW Y[hW` Tk J^S[`f[XXe S`V +ad >WUWVW`fqe Uaiad]Wde( h[S VWbae[f[a` ad

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     afZWdi[eW( [` fZ[e USeW* J^WSeW S^ea eWW S^^ aX J^S[`f[XXeq V[eUahWdk S`V egbb^W_W`fS^ V[eUahWdk
     dWeba`eWe [` fZ[e USeW* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW fa fZ[e
     C`fWddaYSfadk*

     9?E5CC@71E@CJ ?@% +&

            CVW`f[Xk WhWdk WjbWdf kag S`V+ad kagd Uag`eW^ ZShW Ua`eg^fWV S`V+ad dWfS[`WV [`
     Ua``WUf[a` i[fZ fZ[e USeW( iZWfZWd ad `af egUZ WjbWdf i[^^ TW geWV Se S i[f`Wee Sf fZW fd[S^(
     [`U^gV[`Y S^^ bSfZa^aY[efe iZa ZShW WjS_[`WV kag ad dWh[WiWV S`k aX kagd bSfZa^aYk ad
     Sgfabek ebWU[_W`e* @ad WSUZ egUZ WjbWdf %S& efSfW fZW VSfW a` iZ[UZ WSUZ egUZ WjbWdf iSe X[def
     Ua`eg^fWV S`V+ad dWfS[`WV7 %T& fZW YW`WdS^ egT\WUfe a` iZ[UZ fZW WjbWdf iSe Ua`eg^fWV7 %U&
     iZWfZWd WSUZ egUZ WjbWdf ZSe ad i[^^ Ua`VgUf S`k fWefe a` S`k bSfZa^aYk ebWU[_W`e ad a` S`k
     SeTWefae7 S`V %V& Xad S^^ fWefe Ua`VgUfWV efSfW fZW dWeg^fe aX eS[V fWefe*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% +&

             IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se hSYgW( ahWdTdaSV S`V g`Vg^k TgdVW`ea_W*
     @gdfZWd( J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk fa fZW WjfW`f fZSf [e eWW]e Sffad`Wk)U^[W`f S`V+ad
     Sffad`Wk iad] bdaVgUf bd[h[^WYWV [`Xad_Sf[a` S`V+ad `a`)V[eUahWdST^W [`Xad_Sf[a` dWYSdV[`Y WjbWdfe
     iZ[UZ [e bdafWUfWV Xda_ V[eU^aegdW g`VWd Fag[e[S`S =[h[^ =aVW aX JdaUWVgdW -0..( -0.1( -02- S`V
     -021* J^S[`f[XXe S^ea aT\WUf fa fZ[e C`fWddaYSfadk Se eWW][`Y Sffad`Wk iad] bdaVgUf fa fZW WjfW`f [f
     eWW]e [`Xad_Sf[a` agfe[VW fZW eUabW aX J^S[`f[XXe bWdea`S^ ]`ai^WVYW S`V aTfS[`WV Tk J^S[`f[XXeq
     Sffad`Wke fZdagYZ ^[f[YSf[a`* ;VV[f[a`S^^k( J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se bdW_SfgdW* LgT\WUf
     fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe dWeba`V Se Xa^^aie6

             J^WSeW eWW J^S[`f[XXeq P[f`Wee F[ef( S`V S`k egbb^W_W`fe S`V+ad S_W`V_W`fe fZWdWfa( [`
     iZ[UZ fZW [`Xad_Sf[a` eagYZf i[^^ TW bdah[VWV Sf egUZ f[_W fZW =agdf dWcg[dWe S`V+ad [`
     SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd fa TW W`fWdWV [` fZ[e USeW* J^S[`f[XXe dWXWde >WXW`VS`f fa
     fZW fWef[_a`k Y[hW` ad fa TW Y[hW` Tk J^S[`f[XXe S`V +ad >WUWVW`fqe Uaiad]Wde( h[S VWbae[f[a` ad
     afZWdi[eW( [` fZ[e USeW* J^WSeW S^ea eWW S^^ aX J^S[`f[XXeq V[eUahWdk S`V egbb^W_W`fS^ V[eUahWdk
     dWeba`eWe [` fZ[e USeW* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW fa fZ[e
     C`fWddaYSfadk*

     9?E5CC@71E@CJ ?@% +'
             LfSfW iZWfZWd kag( W[fZWd V[dWUf^k ad fZdagYZ Uag`eW^( ZShW Sf S`k f[_W eWff^WV( _SVW S`
     SYdWW_W`f fa eWff^W ad dWSUZWV S`k g`VWdefS`V[`Y %W[fZWd fW`fSf[hW ad X[`S^& i[fZ S`k >WXW`VS`f
     [` fZW STahW)USbf[a`WV _SffWd( ad i[fZ S`k `a`)bSdfk( dWYSdV[`Y W[fZWd fZW g^f[_SfW agfUa_W aX
     agd U^S[_e SYS[`ef egUZ >WXW`VS`f ad `a`)bSdfk( [`U^gV[`Y S^^ eWff^W_W`f SYdWW_W`fe S`V+ad
     U^S[_e egT_[ee[a`e i[fZ S`k U^S[_e dWea^gf[a` adYS`[lSf[a` aX S`k TS`]dgbf W`f[f[We* Qagd
     S`eiWd ebWU[X[US^^k eZag^V [`U^gVW SYdWW_W`fe ad g`VWdefS`V[`Ye [` iZ[UZ kag SYdWW fa iS[hW
     U^S[_e SYS[`ef S`k bSdf[U[bSf[`Y >WXW`VS`f ad `a`)>WXW`VS`f %Xad WjS_b^W S U^S[_ Xad bg`[f[hW
     VS_SYWe& ad [` iZ[UZ S`k bSdf[U[bSf[`Y >WXW`VS`f ad `a`)>WXW`VS`f SYdWWe `af fa dS[eW a`W ad
     _adW VWXW`eWe ad `af fa Ua`fWef UWdfS[` W^W_W`fe aX S^^WYWV ^[ST[^[fk( ad [` iZ[UZ fZW bSdf[U[bSf[`Y
     bSdf[We SYdWW fa _[`[_g_ S`V _Sj[_g_ S_ag`fe aX Ua_bW`eSfadk ^[ST[^[fk( ad [` iZ[UZ fZW
     bSdf[U[bSf[`Y bSdf[We SYdWW `af fa V[eU^aeW fZW fWd_e aX egUZ SYdWW_W`fe ad g`VWdefS`V[`Ye*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% +'
             IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZW iZa^WeS^W V[eU^aegdW aX eWff^W_W`f SYdWW_W`fe Se
     [ddW^WhS`f* J^S[`f[XXe XgdfZWd aT\WUf fa fZ[e C`fWddaYSfadk fa fZW WjfW`f [f eWW]e Sffad`Wk iad])
     bdaVgUf bd[h[^WYWV S`V Ua`X[VW`f[S^ [`Xad_Sf[a`* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y
     eS_W( J^S[`f[XXe dWeba`V Se Xa^^aie6

            J^S[`f[XXe efSfW fZSf Se aX fZW VSfW aX X[^[`Y fZWeW V[eUahWdk dWeba`eWe( fZWk ZShW `af _SVW
     S`k SYdWW_W`f%e& VWeUd[TWV [` fZ[e C`fWddaYSfadk* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f S`V
     S_W`V fZ[e ;`eiWd*

     9?E5CC@71E@CJ ?@% +(
             CX kagd S`eiWd fa fZW bdWUWV[`Y C`fWddaYSfadk [e S`kfZ[`Y afZWd fZS` S` g`cgS^[X[WV

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     `WYSf[hW( fZW` eWbSdSfW^k Xad WSUZ egUZ SYdWW_W`f ad g`VWdefS`V[`Y6

            S*      CVW`f[Xk S^^ bSdf[We dW^WSeWV7

            T*      CVW`f[Xk S^^ bSdf[We YdS`f[`Y fZW dW^WSeW7

            U*      LfSfW fZW VSfW ad Sbbdaj[_SfW VSfW a` iZ[UZ fZW SYdWW_W`f iSe _SVW aX fZW
                    g`VWdefS`V[`Y dWSUZWV7

            V*      CVW`f[Xk S^^ e[Y`Sfad[We fa fZW SYdWW_W`f7

            W*      CVW`f[Xk S^^ U^S[_e UahWdWV Tk fZW dW^WSeW7

            X*      CVW`f[Xk S^^ bWdea`e iZa ]`Wi aX fZW SYdWW_W`f ad g`VWdefS`V[`Y bd[ad fa fZW
                    VSfW aX kagd S`eiWde fa fZWeW C`fWddaYSfad[We7

            Y*      LfSfW WSUZ S`V WhWdk fWd_ ad bdah[e[a` aX fZW SYdWW_W`f ad g`VWdefS`V[`Y(
                    [`U^gV[`Y %i[fZagf ^[_[fSf[a`& fZW S_ag`f fa TW bS[V S`V dWUW[hWV7 [X fZW S_ag`f
                     [e Ua`f[`YW`f( WSUZ XSUfad iZ[UZ [e Sbb^[UST^W fa X[j[`Y fZW S_ag`f7 fZW
                    _Sj[_g_ S_ag`f g^f[_SfW^k fa TW bS[V S`V dWUW[hWV7 fZW _[`[_g_ S_ag`f
                    g^f[_SfW^k fa TW bS[V S`V dWUW[hWV7 WSUZ S`V WhWdk U^S[_ iS[hWV7 WSUZ S`V WhWdk
                    VWXW`eW iS[hWV7 WSUZ S`V WhWdk SYdWW_W`f ad g`VWdefS`V[`Y ad g`VWdefS`V[`Y
                    dWYSdV[`Y V[eU^aegdW ad `a`V[eU^aegdW aX fZW g`VWd^k[`Y SYdWW_W`f ad
                    g`VWdefS`V[`Y7 S`V

            Z*      CVW`f[Xk WSUZ VaUg_W`f fZSf Ua`ef[fgfWe Wh[VW`UWe( Ua`fS[`e( [`UadbadSfWe( dWXWde
                    fa( VWeUd[TWe( V[eUgeeWe( ad afZWdi[eW dW^SfWe fa fZW SYdWW_W`f ad g`VWdefS`V[`Y*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% +(

             %S)Z& IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZW iZa^WeS^W V[eU^aegdW aX eWff^W_W`f SYdWW_W`fe Se
     [ddW^WhS`f* J^S[`f[XXe XgdfZWd aT\WUf fa fZ[e C`fWddaYSfadk fa fZW WjfW`f [f eWW]e Sffad`Wk iad])
     bdaVgUf bd[h[^WYWV S`V Ua`X[VW`f[S^ [`Xad_Sf[a`* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y
     eS_W( J^S[`f[XXe dWeba`V Se Xa^^aie6

           LWW KWeba`eW fa C`fWddaYSfadk Ha* 1-* J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f S`V+ad
     S_W`V fZW dWeba`eW fa fZ[e C`fWddaYSfadk*

     9?E5CC@71E@CJ ?@% +)

             J^WSeW efSfW iZWfZWd kag ZShW WhWd Y[hW` VWbae[f[a` fWef[_a`k Se S J^S[`f[XX( >WXW`VS`f(
     ad i[f`Wee [` Ua``WUf[a` i[fZ S`k ^Sieg[f* CX ea( b^WSeW [VW`f[Xk iZ[UZ USeW `g_TWd S`V
     \gd[eV[Uf[a` kag YShW VWbae[f[a` fWef[_a`k Se iW^^ Se fZW VSfW aX eS[V fWef[_a`k*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% +)

            IT\WUf[a`* MZ[e C`fWddaYSfadk [e `af dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX
     SV_[ee[T^W Wh[VW`UW* LgT\WUf fa eS[V aT\WUf[a` S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe dWeba`V Se
     Xa^^aie6

            J^S[`f[XXe SdW `af [` baeeWee[a` aX fZW [`Xad_Sf[a` Sf fZ[e f[_W* J^S[`f[XXe dWeWdhW fZW d[YZf
     fa egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*

     9?E5CC@71E@CJ ?@% +*

             J^WSeW [VW`f[Xk S`V SU]`ai^WVYW fZW X[def VSfW a` iZ[UZ kag iWdW bgf a` `af[UW fZSf
     SeTWefae)Ua`fS[`[`Y bdaVgUfe _[YZf TW ZSd_Xg^ fa kagd ZWS^fZ( S`V [VW`f[Xk fZW eagdUW aX egUZ
     `af[UW*
     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% +*


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             IT\WUf[a`* OSYgW( S_T[Ygage( S`V US^^e Xad ^WYS^ Ua`U^ge[a`* LgT\WUf fa eS[V aT\WUf[a`
     S`V i[fZagf iS[h[`Y eS_W( >WXW`VS`fe `WhWd fa^V( USgf[a`WV( ad iSd`WV >WUWVW`f [` S`k
     _S``Wd STagf fZW VS`YWdage S`V VWSV^k WXXWUfe aX [`ZS^[`Y h[e[T^W S`V [`h[e[T^W SeTWefae Vgef*
     J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f S`V+ad S_W`V fZ[e dWeba`eW*

     9?E5CC@71E@CJ ?@% ++

         JgdegS`f fa LWUf[a` --- aX fZW GWV[USdW( GWV[US[V S`V L=BCJ ?jfW`e[a` ;Uf aX .,,3
     %GGL?;&( b^WSeW bdah[VW fZW Xa^^ai[`Y [`Xad_Sf[a`6

            S*     >WUWVW`fqe Xg^^ `S_W %Se [f SbbWSde a` Z[e LaU[S^ LWUgd[fk USdV&7

            T*     >WUWVW`fqe BWS^fZ C`egdS`UW =^S[_ Hg_TWd %BC=H&( [X Sbb^[UST^W7

            U*     LfSfW iZWfZWd >WUWVW`f dWUW[hWV LaU[S^ LWUgd[fk >[eST[^[fk TW`WX[fe* CX ea( b^WSeW
                   [VW`f[Xk fZW VSfWe fZSf >WUWVW`f dWUW[hWV LaU[S^ LWUgd[fk >[eST[^[fk TW`WX[fe7

            V*     LfSfW iZWfZWd >WUWVW`f iSe V[SY`aeWV i[fZ ?`V LfSYW KW`S^ XS[^gdW7

            W*     LfSfW iZWfZWd >WUWVW`f iSe V[SY`aeWV i[fZ Fag AWZd[Yqe V[eWSeW7

            X*     LfSfW iZWfZWd >WUWVW`f iSe W^[Y[T^W fa dWUW[hW( iSe dWUW[h[`Y( ad WhWd dWUW[hWV
                   TW`WX[fe g`VWd GWV[USdW( GWV[US[V( L=BCJ ad S`k e[_[^Sd bdaYdS_( S`V [X ea( fZW
                   VSfW a` iZ[UZ >WUWVW`f X[def TWUS_W W^[Y[T^W fa dWUW[hW egUZ TW`WX[fe*

     C5DA@?D5 E@ 9?E5CC@71E@CJ ?@% ++

            IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se ahWdTdaSV S`V TWUSgeW fZW
     [`Xad_Sf[a` eagYZf [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX
     SV_[ee[T^W Wh[VW`UW( [e bdW_SfgdW S`V h[a^SfWe fZW Ua^^SfWdS^ eagdUW dg^W* LgT\WUf fa eS[V
     aT\WUf[a` S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe egT_[f fZW Xa^^ai[`Y ]`ai` [`Xad_Sf[a`6

            S*     DaZ` <d[`VW^^ %VWUWSeWV&*

            T*     0/5)3.)253/);*

            U*     QWe( i[^^ egbb^W_W`f*

            V*     Ha*

            W*     Ha*

            X*     N`]`ai`* P[^^ egbb^W_W`f*

     9?E5CC@71E@CJ ?@% +,

             JgdegS`f fa LWUf[a` --- aX fZW GWV[USdW( GWV[US[V S`V L=BCJ ?jfW`e[a` ;Uf aX .,,3
     %GGL?;&( b^WSeW bdah[VW fZW Xa^^ai[`Y [`Xad_Sf[a` Xad WSUZ J^S[`f[XXe %oU^S[_S`fp&( iZa ZSe
     X[^WV eg[f a` TWZS^X aX >WUWVW`f6

            S*     @g^^ `S_W S`V VSfW aX T[dfZ Xad WSUZ U^S[_S`f7

            T*     KW^Sf[a`eZ[b aX WSUZ U^S[_S`f fa >WUWVW`f7

            U*     LaU[S^ LWUgd[fk `g_TWd Xad WSUZ J^S[`f[XX7

            V*     >SfW aX T[dfZ Xad WSUZ U^S[_S`f7

            W*     ;VVdWee S`V JZa`W `g_TWd Xad WSUZ U^S[_S`f7


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           X*     BC=H Xad WSUZ GWV[USdW W^[Y[T^W U^S[_S`f7 S`V

           Y*     MZW fSj [VW`f[X[USf[a` `g_TWd Xad U^S[_S`feq dWbdWeW`fSf[hW %Sffad`Wk&*

           Z*     LfSfW iZWfZWd J^S[`f[XXe [e W^[Y[T^W fa dWUW[hW( [e dWUW[h[`Y( ad ZSe dWUW[hWV
                  TW`WX[fe g`VWd GWV[USdW( GWV[US[V( L=BCJ ad Sk e[_[^Sd bdaYdS_( S`V [X ea( fZW
                  VSfW a` iZ[UZ J^S[`f[XXe X[def TWUS_W W^[Y[T^W fa dWUW[hW egUZ TW`WX[fe*

           [*     MZW [VW`f[fk aX S`k U^S[_S`f fZSf bdWeW`f^k dWUW[hWe( ZSe Sbb^[WV Xad( ad ZSe TWW`
                  VW`[WV LaU[S^ LWUgd[fk >[eST[^[fk C`egdS`UW7

           \*     @ad WSUZ U^S[_S`f bdWeW`f^k dWUW[h[`Y LaU[S^ LWUgd[fk >[eST[^[fk C`egdS`UW( b^WSeW
                  [VW`f[Xk fZW VSfW iZW` fZW U^S[_S`f X[def TWYS` dWUW[h[`Y egUZ TW`WX[fe*

           ]*     MZW [VW`f[fk aX S`k U^S[_S`f fZSf ZSe TWW` V[SY`aeWV i[fZ ?`V LfSYW KW`S^
                  >[eWSeW7

           ^*     MZW [VW`f[fk aX S`k U^S[_S`f fZSf ZSe TWW` V[SY`aeWV i[fZ Fag AWZd[Yqe
                  V[eWSeW7

           _*     MZW [VW`f[fk aX S`k U^S[_S`f fZSf [e both _S[`fS[`[`Y S U^S[_ Xad ^aee aX
                  Ua`eadf[g_ S`V [e GWV[USdW W^[Y[T^W*

     1?DH5C E@ 9?E5CC@71E@CJ ?@% +,

            IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e C`fWddaYSfadk Se ahWdTdaSV S`V TWUSgeW fZW
     [`Xad_Sf[a` eagYZf [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX
     SV_[ee[T^W Wh[VW`UW( [e bdW_SfgdW S`V h[a^SfWe fZW Ua^^SfWdS^ eagdUW dg^W* LgT\WUf fa eS[V
     aT\WUf[a` S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe egT_[fe fZW Xa^^ai[`Y ]`ai` [`Xad_Sf[a`6

           S)X*   KWXWd fa S`eiWd fa C`fWddaYSfadk Ha* -*
           Y*     .,),0-,5,1
           Z)^*   Haf Sbb^[UST^W*
           _*     Ha`W*




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                            C5BF5DED 6@C AC@4F3E9@? @6 4@3F>5?ED

     C5BF5DE 6@C AC@4F3E9@? ?@% '
            J^WSeW bdaVgUW S`k S`V S^^ _WV[US^ dWbadfe( dWUadVe( `afWe( UZSdfe( id[ffW`
     VaUg_W`fSf[a`( UZWef ad bg^_a`Sdk j)dSke( X[^_e( =M eUS`e ad fWef dWeg^fe Ua`UWd`[`Y S`k
     WjS_[`Sf[a`( eUdWW`[`Y fWef[`Y S`V+ad fdWSf_W`f Xad S`k [`\gdk( [^^`Wee ad V[eWSeW [` fZW
     baeeWee[a` aX kag ad kagd Uag`eW^*
     C5DA@?D5 E@ C5BF5DE ?@% '

             IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e KWcgWef Xad JdaVgUf[a` Se ahWdTdaSV( hSYgW S`V
     g`Vg^k TgdVW`ea_W S`V [` h[a^Sf[a` aX FS* =aVW aX =[h[^ JdaUWVgdW ;df[U^We -0.. S`V -0.4*
     J^S[`f[XXe aT\WUf fa fZ[e dWcgWef fa fZW WjfW`f fZSf [f eWW]e bd[h[^WYWV [`Xad_Sf[a` dWYSdV[`Y
     dWfS[`WV WjbWdfe bdafWUfWV Xda_ V[eU^aegdW* P[fZagf iS[h[`Y fZWeW aT\WUf[a`e( J^S[`f[XXe dWeba`V
     Se Xa^^aie6

             J^WSeW eWW SffSUZWV _WV[US^ dWUadVe* LZag^V >WXW`VS`fe i[eZ fa aTfS[` >WUWVW`fqe
     _WV[US^ dWUadVe [`VWbW`VW`f^k( J^S[`f[XXe i[^^ dWh[Wi S`k Ua_b^WfWV BCJ;;)Ua_b^[S`f
     SgfZad[lSf[a`e fZSf SdW _WV[US^ bdah[VWd ebWU[X[U eW`f fa fZW_ %fZdagYZ Uag`eW^& Tk >WXW`VS`fe*
     CX SUUWbfST^W g`VWd Sbb^[UST^W efSfW S`V XWVWdS^ ^Sie( J^S[`f[XX%e& i[^^ e[Y` fZW SgfZad[lSf[a`e S`V
     dW_[f Xad >WXW`VS`fqe geW*

     C5BF5DE 6@C AC@4F3E9@? ?@% (

            J^WSeW bdaVgUW Uab[We aX S^^ XWVWdS^ S`V efSfW [`Ua_W fSj dWfgd`e S`V S^^ SffSUZ_W`fe X[^WV
     fZWdWfa Tk kag W[fZWd \a[`f^k ad eWbSdSfW^k( Xad fZW ^Sef fW` %-,& kWSde*

     C5DA@?D5 E@ C5BF5DE ?@% (

            IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e KWcgWef Xad JdaVgUf[a` fa fZW WjfW`f [f eWW]e
     [`Xad_Sf[a` iZ[UZ [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX
     SV_[ee[T^W Wh[VW`UW* P[fZagf iS[h[`Y fZWeW aT\WUf[a`e( J^S[`f[XXe dWeba`V Se Xa^^aie6 J^S[`f[XXe
     i[^^ egbb^W_W`f*

     C5BF5DE 6@C AC@4F3E9@? ?@% )

            J^WSeW bdaVgUW Uab[We aX S^^ dWUadVe dWYSdV[`Y kagd eWdh[UW [` fZW _[^[fSdk ad afZWd
     TdS`UZ aX fZW Sd_WV XadUWe*

     C5DA@?D5 E@ C5BF5DE ?@% )
     IT\WUf[a`* J^S[`f[XXe aT\WUf fa fZ[e KWcgWef Xad JdaVgUf[a` fa fZW WjfW`f [f eWW]e [`Xad_Sf[a`
     iZ[UZ [e `af dW^WhS`f( `ad dWSea`ST^k US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W Wh[VW`UW*
     P[fZagf iS[h[`Y fZWeW aT\WUf[a`e( J^S[`f[XXe dWeba`V Se Xa^^aie6 J^S[`f[XXe dWeWdhW fZW d[YZf fa
     egbb^W_W`f fZ[e dWeba`eW*

     C5BF5DE 6@C AC@4F3E9@? ?@% *

             J^WSeW bdaVgUW Uab[We aX S^^ VaUg_W`fe dW^SfWV fa iad]Wdeq Ua_bW`eSf[a` TW`WX[fe ad
     V[eST[^[fk TW`WX[fe iZ[UZ kag _Sk ZShW dWUW[hWV*

     C5DA@?D5 E@ C5BF5DE ?@% *

             J^S[`f[XXe aT\WUf fa fZ[e KWcgWef Xad JdaVgUf[a` Se ahWdTdaSV* J^S[`f[XXe aT\WUf fa fZ[e
     KWcgWef Xad JdaVgUf[a` fa fZW WjfW`f [f eWW]e [`Xad_Sf[a` iZ[UZ [e `af dW^WhS`f( `ad dWSea`ST^k
     US^Ug^SfWV fa ^WSV fa fZW V[eUahWdk aX SV_[ee[T^W Wh[VW`UW* P[fZagf iS[h[`Y fZWeW aT\WUf[a`e(
     J^S[`f[XXe dWeba`V Se Xa^^aie6 N`]`ai`( J^S[`f[XXe dWeWdhW fZW d[YZf fa egbb^W_W`f fZ[e dWeba`eW*




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     bdaUWee[`Y W`f[fk( fdgef( TS`]dgbfUk fdgef ad U^S[_ XSU[^[fk %[`U^gV[`Y Tgf `af ^[_[fWV fa fZW
     =^S[_e KWea^gf[a` GS`SYW_W`f =adbadSf[a`& i[fZ dWebWUf fa S`k aUUgbSf[a`S^ [`\gdk( [^^`Wee ad
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     dWfS[`WV WjbWdfe bdafWUfWV Xda_ V[eU^aegdW* P[fZagf iS[h[`Y fZWeW aT\WUf[a`e( J^S[`f[XXe dWeba`V
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            J^WSeW eWW KWeba`eW fa KWcgWef Ha* / S`V fZW SgfZad[lSf[a`e SffSUZWV ZWdWfa*

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     dWcgWef Se bdW_SfgdW* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe
     dWeba`V Se Xa^^aie6

            >[eUahWdk [e a`Ya[`Y Sf fZ[e f[_W S`V fZWdWXadW fZWeW VWbae[f[a`e ZShW `af TWW`
     fS]W`* J^S[`f[XXe i[^^ [VW`f[Xk fZW[d WjbWdf S`V XSUf i[f`WeeWe Sf egUZ f[_W Se fZW =agdf
     dWcg[dWe S`V+ad [` SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd SVabfWV [` fZ[e USeW*

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            J^WSeW [VW`f[Xk S`k VaUg_W`fSdk Wh[VW`UW iZ[UZ kag _Sk ad i[^^ geW Sf fZW fd[S^ aX fZ[e
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            S*     MZW `SfgdW aX fZW VaUg_W`f7

            T*     MZW `S_W S`V SVVdWee aX fZW bWdea` ZSh[`Y baeeWee[a` aX fZW ad[Y[`S^ S`V+ad S`k
                   Uab[We fZWdWaX7

            U*     MZW egTefS`UW aX fZW XSUfe iZ[UZ kag [`fW`V fa WefST^[eZ i[fZ fZW [`fdaVgUf[a` aX fZSf
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            V*     MZW `S_W S`V SVVdWee aX fZW bWdea` kag [`fW`V fa ZShW [VW`f[Xk fZW VaUg_W`f Sf fZW
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     fa fZW WjfW`f [f eWW]e [`Xad_Sf[a` agfe[VW fZW eUabW aX J^S[`f[XXeq bWdea`S^ ]`ai^WVYW S`V
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     dWcgWef Se bdW_SfgdW* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe
     dWeba`V Se Xa^^aie6

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     fS]W`* J^S[`f[XXe i[^^ [VW`f[Xk fZW[d WjbWdf S`V XSUf i[f`WeeWe Sf egUZ f[_W Se fZW =agdf
     dWcg[dWe S`V+ad [` SUUadVS`UW i[fZ fZW LUZWVg^[`Y IdVWd SVabfWV [` fZ[e USeW*

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     dWcgWef Se bdW_SfgdW* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe
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     J^S[`f[XXe i[^^ [VW`f[Xk fZW[d WjZ[T[fe Sf egUZ f[_W Se fZW =agdf dWcg[dWe S`V+ad [` SUUadVS`UW i[fZ
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     dWcgWef Se bdW_SfgdW* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe
     dWeba`V Se Xa^^aie6

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     W_b^ak_W`f Sf S`k e[fW iZWdW ZW ZSV ad Uag^V ZShW ZSV SeTWefae WjbaegdW* %MZ[e dWcgWef
     [`U^gVWe Tgf [e `af ^[_[fWV fa S`k bWdea`S^ V[Sd[We ad iad] ^aYe fZSf >WUWVW`f _Sk ZShW
     bWdea`S^^k ]Wbf Tgf VaWe `af dWcgWef S`k VaUg_W`fSf[a` bdWbSdWV Tk fZW J^S[`f[XXe S`V fZW[d
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     dWcgWef Se bdW_SfgdW* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe
     dWeba`V Se Xa^^aie6

             >[eUahWdk [e a`Ya[`Y Sf fZ[e f[_W S`V fZWdWXadW( WjZ[T[fe ZShW `af kWf TWW` [VW`f[X[WV*
     J^S[`f[XXe i[^^ [VW`f[Xk WjZ[T[fe Sf egUZ f[_W Se fZW =agdf dWcg[dWe S`V+ad [` SUUadVS`UW i[fZ fZW
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     `SfgdW aX fZW bdaVgUfe( b^WSeW bdaVgUW S^^ VaUg_W`fe S`V Wh[VW`UW iZ[UZ iag^V WefST^[eZ fZW
     S^^WYSf[a`e [` kagd JWf[f[a` fZSf >WXW`VS`fe ZSV ]`ai^WVYW aX fZW XS^e[fk S`V Ua`UWS^WV S`V
     egbbdWeeWV fZW fdgfZ STagf fZW VS`YWdage `SfgdW aX fZW bdaVgUfe i[fZ fZW [`fW`f fa [`VgUW
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     aTfS[`WV Tk J^S[`f[XXe Sffad`Wke fZdagYZ ^[f[YSf[a`* ;VV[f[a`S^^k( J^S[`f[XXe aT\WUf fa fZ[e
     dWcgWef Se bdW_SfgdW* LgT\WUf fa eS[V aT\WUf[a`e S`V i[fZagf iS[h[`Y eS_W( J^S[`f[XXe
     dWeba`V Se Xa^^aie6

             >[eUahWdk [e a`Ya[`Y Sf fZ[e f[_W S`V fZWdWXadW( WjZ[T[fe ZShW `af kWf TWW` [VW`f[X[WV*
     J^S[`f[XXe i[^^ [VW`f[Xk WjZ[T[fe Sf egUZ f[_W Se fZW =agdf dWcg[dWe S`V+ad [` SUUadVS`UW i[fZ fZW
     LUZWVg^[`Y IdVWd SVabfWV [` fZ[e USeW*

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     i[fZ fZW eUZWVg^[`Y adVWd W`fWdWV Tk fZW =agdf [` fZ[e USeW S`V fZW VWSV^[`We fZWdW[`*

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                                       MW^WbZa`W6 %1,0& /,0)0///
                                       @SUe[_[^W6 %1,0& /.0),2.5
                                       F=ZWW]9fZWUZWW]^SiX[d_*Ua_

                                            );`V)

                                       GW^[eeS LUZabXWd( CF <Sd Ha* 2.4154.
                                       PHV Pending
                                        G[UZSW^ B[TWk( CF <Sd Ha* 2.420,-
                                       PHV Pending
                                       DWS` G[UZW^ FWUa[`fdW( CF <Sd HI* 2/,351/
                                       PHV Pending
                                       I`W =agdf LfdWWf
                                       ;^fa`( CF 2.,,.
                                       MW^6 %2-4& .15)....
                                       @SUe[_[^W6 %2-4& .15)..1-
                                       _eUZabXWd9e[__a`eX[d_*Ua_
                                       _Z[TWk9e[__a`eX[d_*Ua_
                                       \W^Ua[`fdW9e[__a`eX[d_*Ua_


                                       1EE@C?5J 6@C A=19?E966D




                                  33
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                                     35CE96931E5 @6 D5CG935

            C ZWdWTk UWdf[Xk fZSf S Uabk aX fZW STahW S`V XadWYa[`Y ZSe TWW` eWdhWV gba` S^^ ]`ai`

     Uag`eW^ aX dWUadV h[S a`W ad _adW aX fZW Xa^^ai[`Y _WfZaVe( [` SUUadVS`UW i[fZ fZW Fag[e[S`S =aVW

     aX =[h[^ JdaUWVgdW6 Tk VWbae[f[`Y eS_W [` fZW N*L* GS[^( bdabWd^k SVVdWeeWV S`V baefSYW bdWbS[V7 Tk

     =Wdf[X[WV GS[^7 W^WUfda`[U _S[^7 S`V+ad XSUe[_[^W fdS`e_[ee[a` fZ[e fZW RR.,fZRRRR VSk aX

     R>WUW_TWdRRRR( .,-5*



                                                          RRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRR
                                                          FCH>L?Q =B??E




                                                     34
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                                   A=19?E966DP 5I8929ED


       -* >WUWVW`f DaZ` <d[`VW^^qe LaU[S^ LWUgd[fk KWUadVe7 S`V
       .* >WUWVW`f DaZ` <d[`VW^^qe >WSfZ =Wdf[X[USfW7 S`V
       /* G[eUW^^S`Wage SgfZad[lSf[a`e




                                                 35
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                           18@B7!=C<14@/!                                                                                                                     AB0B4!58;4!=C<14@/!+)*.()++())+,+!
                           ?@>@?@ION!I<H@!               %G<NO(!ADMNO(!HD??G@(!NPAADS&!                           =DMOC)$!      K<O@!JA!?@<OC!                              ODH@!JA!

                           =MDI?@GG!EM!       EJCI!>CGJMJPN!                                           ,3+-{+-503!                                                          ,5!,,!<H!
                           KG<>@! JA!=DMOC! %>DT(!NO<O@(!>JPIOMT&!                                     N@S! "!                 NJ>D<G!N@>PMDOT!IPH=@M*!                     <B@!

2514233!                   I@R!JMG@<IN(!G<!PIDO@?!NO<O@N!
                           ?@>@?@ION!<GD<N!I<H@%N&! %G<NO(!ADMNO(!HD??G@(!NPAADS&6!
                                                                                                       H<G@!                                 !                              3-!T@<MN!


                           M@ND?@I>@!JA!?@>@?@IO! %NOM@@O!<??M@NN7!>bOThNO<O@]UDK+VBJf\S>JPIOMT&!                                                    +QDOCDI!>DOT!          K<MDNC+>JPIOT*!
                           15*-247OM<INHDOO@M!               G<>JH=@*!G<!3,001!PIDO@?!NO<O@N!                                                        IJ!                        O<HH<IT!

      ?4@A>=0;!            @Q@M!      P*N*!<MH@?!AJM>@N;6!                                             J>>PK<ODJI!                                   DI?PNOMT!JA*!J>>PK<ODJI!

                           T@N!                                                                        NPK@MQDNJM!
                           H<MDO<G!NO<OPN!                                                                                     I<H@!JA!NPMQDQDIB!NKJPN@! %G<NO(!ADMNO(!HD??G@(!NPAADS&!

                           H<MMD@?!                                                                                            K@G<TJ(!><MJGTI!
                           A<OC@M+K<M@IO!I<H@!              %G<NO(!ADMNO*!HD??G@(! NPAADS&!            A<OC@M+K<M@IO!KG<>@!JA!=DMOC! %>DOT(!NO<O@(*>JPIOMT&!
                           =MDI?@GG!NM!       EJCI!>CGJMJPN!                                           ]hb@R!JM G@<IN(!G<!PIDO@?!NO<O@N!
                           HJOC@M+K<M@IO!I<H@!               %G<NO(!ADMNO)HD??G@VNPAADS&V!             HJOCqM+K<M@IO6KG<>@!JA!                   %>DOT(!NO<O@(!>JPIOMT&*!
                                                     !                                                                       PIDO@?!NO<O@N!
                           DIAJMH<ION!I<H@!              %G<NO(!ADMNO(!HD??G@(!NPAADS&!                ]j@G<ObJ]jNCbK$jJ!    ?@>@?@IO!               DIAJMH<ION!<??M@NN!
                           =MDI?@GG(!><MJGTI!K@G<TJ!                                                   RDA@!                                         15-24!OM<INHDOO@M!M?*! G<>JH=@(!G<!3,001!
                                                                                                                                                     PIDO@?!NO<O@N!
                           @?P><ODJI6!CDBC!N>CJJG!BM<?P<O@(!JM!B@?!>JHKG@O@?!
                           JA!CDNK<ID>!JMDBDI;6!IJ(!IJONK<IDNC+CDNK<ID>+G<O-IJ!
                           M<>@$!RCDO@!

      340B7!8=5>!          KG<>@*JA!?@<OC!                                                                                     A<>DGDOT!I<H@$!

                           ?@>@?@ION*!CJH@!
                           A<>DGDOT!<??M@NN! %NOM@@O!<??M@NN(!>DOT(!NO<Oz7!UDK!>J?@(!>JPIOMT&!                                                                              K<MDNC+>JPIOT!
                           15-24!OM<INHDOO@M!                G<>JH=@(!G<!3,001!PIDO@?!NO<O@N!                                                                               NO*!O<HH<IT!

     38A?>A8B8>=!          H@OCJ?!JA!?DNKJNDODJI!                                                                              KG<>@!JA!?DNKJNDODJI!
                           =PMD<G!                                                                                             NJPOC@<NO!GJPDND<I<!Q@O@M<IN!>@H@O@MT!
                           KG<>@!*JA!?DN KJNDODJI! p>DOT)NO<O@(!>JPIOMT&!                                                                                                   ?<O@!JA!?DNKJNDODJI!
                           NGD?@GG(!G<!PIDO@?!NO<O@N!                                                                                                                       L3+-,+.,-5!

   5C=4@0;!5028;8BE!       API@M<G!A<>DGDOT!I<H@!                                                      <??M@NN!JA!API@M<G!A<>DGDOT!

                           CJI<F@M!API@M<G!CJH@!                                                       -31-!B<PN@!=GQ?*!         NGD?@GG(!G<!3,02,!PIDO@?!NO<O@N!
                           I<H@!JA!API@M<G!?DM@>OJM!%G<NO(!ADMNO(!HD??G@(!NPAADS&!                     GD>@IN@!IPH=@M!                               >JMJI@M!IJODAD@?;!

                           BPDGGJMT(!AJNO@A!
                           NDBI<OPM@!        API]ZM<G!?DM@>OJM!                                                                                       &<O@!
                                                                                                                                                      3--+.,-5!

    <43820;!8=5>!          H<II@M*JA)?@<OC!

                                                                                                       IJO!<KKGD><=G@!
                           ?D?!OJ=<>>J!PN<B@!>JIOMD=PO@!OJ!?@<OC;!                                     PIFIJRI!
                                   @dj\h!j_\!Z_X`d!e]!\l\dji! [`i\Xi\i(!`dakh`\i(!eh!Zedf]`ZXj`edi! j_Xj![`h\Zjbo!ZXki\[!j_\![\Xj_*!?J!IJO!\dj\h!j\hhh`dXb!\l\dji!ikZ_! <KKMJSDH<O@!DIO@MQ<G6!
   20CA4!>5!340B7!         Xi!ZXh[`XZ!Xhh\ij(!h\if`hXjeho!Xhh\ij(!eh!l\djdZkbXh(]`YdCXj`edm`j_ekj6i_emRV&VfEJb]b^o*!?J!IJO!<==M@QD<O@*!                                 Jdi\j!je!?\Xj_))
                           DHH@?D<O@!><PN@! %A`dXb![`i\Xi\!eh!Zed[`j`ed!h\ikbj`d^!        [\Xj_&!      X! H<b]LI<IO!><I>@M!JA!OC@$>JII@>ODQ@!<I?!NJ AO!
                                                                                              w!       j`iik\i!
                           N\gk\dj`Xbbo!b`ij!Zed[`j`edi(! Xdo()b\X[`d^!je!j_\!ZXkiV!`ij\8E!

                           @dj\h!j_\!PI?@MGTDIB!><PN@!%[`i\Xi\!eh!Ddakhoj_Xj!`d`j`Xj\[!j_\!
                           \l\dji!h\ikbj`d^! [\Xj_&!G<NO!



                          K<MODD*)!@dj\h!ej_\h!i`^d`]`ZXdj!Zed[`j`edi!              jeV[\Xj_!                                  ZXki\(!^`l\d! K<MO!



                           R<N!<I!<POJKNT!K@MAJMH@?;!                                                                          A-I?DI,N!P#@?OI!?@O@MHDIDIB!><PN@;!
                          IJ!                                                                                                  IJO!<KKGD><=G@!

       DIEPMT)DIAJMH<ODJI! KG<>@!JA!DIEPMT!                                                                       DIEPMT!      ODH@!JA!DIEPMT!       DIEPMT!<ORJMF!            OM<INKJMO<ODJI!
                                                                                                                                                                            DIEPMT(!NK@>DAT6!


                          GJ><ODJI!JA!DIEPMT! %NOM@@O!<??M@NN(!>DOT(!NO<O@(!UDK*>J?@(!>JPIOMT&)*)                                                                           K<MDNC+>JPIOT!


                          ?@N>MD=@!CJR!DIEPMT!J>>PM@?!



      24@B8584@!           >@MODAT!OC<O! <OO@I?@?!OC@!?@>@?@IO!AMJH!1+.N+.,-5!OJ3+2+.,-5!<I?!OC<O!?@<OC!J>>PM@?!JI!OC@!?<ON!<I?!CJPM!NO<O@?!<I?!?P@!OJ!OC@!><PN@!
                          %N&!<I?!H<II@M!NO<O@?*!
                          NDBI<OPM@!JA!>@MODAD@M6!                                                                                                   ?<O@)                  3+-,+.,-5!
                          >@MO-AD@M*I<H@!        %G<NO(!ADMNO(!HD??G@(!NPAADS&!                        ?PM<IO@(*G<PM@I>@!
                          >@MODAD@M!ODOG@6!>@MODATDIB!KCTND>D+R!
                          >@MODAD@M!<?KM@NN!              %NOM@@O7<??M@NN(!>DOT+NO<O@]UD192>?4'!
                          %&$#!               #$"!                    -)))+!                    M M!                 "!
                          =PMD<GOM<INDO!K@MHDO!                                                        K<MDNC!     DNNP@!      ?<O@!JA!DNNP@(!      ?<O@!AEG@?!RDOC!M@BDNOM<M! *!

                           /-531/!                                                                     JMG@<IN!                ,3+,4+.,-5!           3+--+.,-5!


     M@BDNOM<M!           NDBI<OPM@!JA!M@BDNOM<M!                                                      ?@Q-I!B@JMB@!0\!i`^d'!

                          DNNP@?!=T6!>heZ_\j(!FXj_b\\d!                                                                       Diik\[!Jd6!4+.2+.,-5!06,,605!




                                                                                 D!>@MODAT! OC<O!OCDN! DN!<!O MP@! <I?! >JMM@>O! >JKT! JA! <!> @MODAD><O@!
                                                                                 JM! ?J>PH@IO! M@BDNO@M@?! RDOC! OC@! QDO<G! M@>JM?N! M@BDNOMT! JA!
                             ,,2514233!                                          OC@!NO<O@!JA!GJPDND<I<(!KPMNP<IO!OJ!GN<! M*N(0,6/.(!@O!N@L*!

                         w$<!MFD$MJ?P>ODJI!%9b7! DDPN!?J>PHFIO!DN*QJD`E<ID&!DIQ<D*`b9*!
                           ?J!IJO!<>>@KO!
                                                                                                                                34D8=%A9F>@64&!
                                                                                                                               AB0B4!@468AB@0@!
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                            EXHIBIT 1




                                                             UUC.111112
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                                                             UUC.111113
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                                                             UUC.111114
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                                                             UUC.111115
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                                                             UUC.111116
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                                                             UUC.111117
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                                                             UUC.111118
       Case 2:21-cv-00216-NJB-DMD Document 1-2EXHIBIT  3
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      %76,24-9%6-21!*24!4)/)%5)!2*!0)(-'%/!4)'24(5!%1(!3%6,2/2+8!53)'-0)15"!5/-()5"!
                                      &/2'.5"!)6'!

A=0!

?60!

            5=@0!                                     5=30!

            5=50!                                     @RFLDO!@HFXULW\!<R0!

9!DXWKRUL]H!WKH!DERYH&QDPHG!LQGLYLGXDO!RU!RUJDQL]DWLRQ!WR!GLVFORVH!WKH!DERYH&QDPHG! KHDOWK!LQIRUPDWLRQ%!DV!GHVFULEHG!EHORZ%!WR!
WKH!IROORZLQJ!UHFLSLHQWV0!_____________________________________%!IRU!WKH!SXUSRVH!RI!WKH!DERYH&QDPHG!LQGLYLGXDOV!
DVEHVWRV!SHUVRQDO! LQMXU\!FODLP'!

AKH!LQIRUPDWLRQ!WR!EH!XVHG!DQG!RU!GLVFORVHG!LV!DV!IROORZV0!

       2OO!UHFRUGV%!UHSRUWV%!WHVW!UHVXOWV!RU!RWKHU!GRFXPHQWV!FRQFHUQLQJ!WKH!PHGLFDO!FDUH%!WUHDWPHQW%!DQG!H[DPLQDWLRQ!RI!WKH!DIRUHPHQWLRQHG!
       SHUVRQ1!

+'!    2OO!SDWKRORJ\%!RULJLQDO!WLVVXH!EORFNV%!RULJLQDO!WLVVXH!VOLGHV%!UHFRUGV%!VHOI!KLVWRULHV%!KLVWRFKHPLFDO!DQG!LPPXQRFKHPLFDO!UHSRUWV%!
       DXWRSV\!UHSRUWV%!WHVW!UHVXOWV! RWKHU!GRFXPHQWV!FRQFHUQLQJ!WKH!PHGLFDO!FDUH%!WUHDWPHQW%!DQG!H[DPLQDWLRQ!RI!WKH!DIRUHPHQWLRQHG!
       SHUVRQ1!

,'!    4RSLHV!RI!DOO!FRUUHVSRQGHQFH!FRQFHUQLQJ!WKH!PHGLFDO!FDUH%!WUHDWPHQW%!H[DPLQDWLRQ%!RU!SK\VLFDO!FRQGLWLRQ!RI!WKH!DIRUHPHQWLRQHG!
       SHUVRQ1!

-'!    4RSLHV!RI!ELOOV!RU!VWDWHPHQWV!RI!VHUYLFHV!UHQGHUHG!IRU!VXFK!VHUYLFHV1!

.'!    C&UD\!ILOPV%! ;?9!ILOPV%! 4A!ILOPV! DQG!DOO!RWKHU!LPDJLQJ!ILOPV'!

9!X QGHUVWDQG!WKDW!WKH!LQIRUPDWLRQ!LQ!WKH!      KHDOWK!UHFRUG!PD\! LQFOXGH!LQIRUPDWLRQ!UHODWLQJ!WR!VH[XDOO\!WUDQVPLWWHG!GLVHDVH%!DFTXLUHG!
LPPXQRGHILFLHQF\!V\QGURPH!#295@$%!RU!KXPDQ!LPPXQRGHILFLHQF\!YLUXV!#89B$%!AXEHUFXORVLV%!DQG!JHQHWLF!WHVWLQJ'! 9W!PD\!DOVR!LQFOXGH!
LQIRUPDWLRQ!DERXW!EHKDYLRUDO!RU!PHQWDO!KHDOWK!VHUYLFHV%!RU!WUHDWPHQW!IRU!DOFRKRO!RU!GUXJ!DEXVH'!

9!X QGHUVWDQG!WKDW!DXWKRUL]LQJ!WKH!GLVFORVXUH!RI!    KHDOWK!FDUH!LQIRUPDWLRQ!LV!YROXQWDU\'! 9!FDQ!UHIXVH!WR!VLJQ!WKLV!DXWKRUL]DWLRQ'! 9!QHHG!QRW!
VLJQ!WKLV!IRUP!LQ!RUGHU!WR!DVVXUH!WUHDWPHQW'! 9!XQGHUVWDQG!WKDW!9!PD\!LQVSHFW!RU!FRS\!WKH!LQIRUPDWLRQ!WR!EH!XVHG!RU!GLVFORVHG%!DV!SURYLGHG!LQ!
-.!47?!*/-'.+-'! 9!XQGHUVWDQG!WKDW!DQ\!GLVFORVXUH! LQIRUPDWLRQ!FDUULHV!ZLWK!LW!WKH!SRWHQWLDO!IRU!DQ! XQDXWKRUL]HG!UH&GLVFORVXUH! WKH!
          KHDOWK!LQIRUPDWLRQ!E\!WKH!UHFLSLHQW%!UHVXOWLQJ!LQ!WKH!KHDOWK!LQIRUPDWLRQ!QR!ORQJHU!EHLQJ!SURWHFWHG!E\!IHGHUDO!FRQILGHQWLDOLW\!UXOHV'!

2!FRS\!RI!     FRQVHQW!DQG!D!QRWDWLRQ!DV!WR!DQ\!DFWLRQ!WDNHQ!WKHUHRQ!LV!WR!EH!HQWHUHG!LQ!WKH!           UHFRUG'! 9!XQGHUVWDQG!WKDW!9!KDYH!WKH!
ULJKW!WR!UHYRNH!    DXWKRUL]DWLRQ!DW!DQ\!WLPH'! 9!XQGHUVWDQG!WKDW!LI!9!UHYRNH!WKLV!DXWKRUL]DWLRQ!9!PXVW!GR!VR!LQ!ZULWLQJ!E\!VHQGLQJ!
SUHVHQWLQJ!P\!ZULWWHQ!UHYRFDWLRQ!WR!WKH!>ULYDF\!4RQWDFW!RI!WKH!KHDOWK!FDUH!SURYLGHU!QDPHG!DERYH'! 9!XQGHUVWDQG!WKDW!WKH!UHYRFDWLRQ!
DXWKRUL]DWLRQ!ZLOO!QRW!DSSO\!WR!WKH!H[WHQW!WKDW!WKH!KHDOWK!FDUH!SURYLGHU!KDV!WDNHQ!DFWLRQ!LQ!UHOLDQFH!WKHUHRQ'! 9!XQGHUVWDQG!WKDW!LI!WKH!
DXWKRUL]DWLRQ!ZDV!REWDLQHG!DV! FRQGLWLRQ!RI!REWDLQLQJ!LQVXUDQFH!FRYHUDJH%!RWKHU!ODZ!SURYLGHV!WKH!LQVXUHU!ZLWK!WKH!ULJKW!WR!FRQWHVW! FODLP!
XQGHU!WKH!SROLF\! WKH!SROLF\!LWVHOI'!

2!SKRWRVWDWLF!FRS\!RI!WKLV!2XWKRUL]DWLRQ!VKDOO!EH!FRQVLGHUHG!DV!HIIHFWLYH!DQG!YDOLG!DV!WKH!RULJLQDO'! 9Q!WKH!DEVHQFH!RI!DQ!H[SUHVV!UHYRFDWLRQ%!
WKH!DXWKRULW\!JUDQWHG! XQGHU!WKLV!DXWKRUL]DWLRQ!VKDOO!UHPDLQ!LQ!HIIHFW!IRU!RQH!\HDU!IURP!WKH!GDWH!VHW!IRUWK! EHORZ'!
6@AH!;JI@EGAN;IAED!=E>H!DEI!L;AK>!CM!=E<IEG$F;IA>DI! FGAKAB>?>#!

AKH!FRYHUHG!HQWLW\! PD\!QRW!ZLWKKROG(FRQGLWLRQ!WUHDWPHQW%!SD\PHQW%!HQUROOPHQW!RU!HOLJLELOLW\!IRU!EHQHILWV!RQ!REWDLQLQJ!WKH!DXWKRUL]DWLRQ!
RU!LI!WKH!SDWLHQW!UHIXVHV!WR!VLJQ!WKLV!DXWKRUL]DWLRQ'!AKH!XQGHUVLJQHG!KDV! ULJKW!WR!UHFHLYH!D!FRS\!RI!WKLV!DXWKRUL]DWLRQ'!

9!KHUHE\!DXWKRUL]H!DWWRUQH\V! ______________ !WR!VSHDN!WR!P\!KHDOWKFDUH!SURIHVVLRQDOV!SULYDWHO\!RU!WR!WDNH!WHVWLPRQ\!DW!
GHSRVLWLRQ! WULDO!DV!PD\!EH!UHTXHVWHG'!

-42!5839<7.>598!<2;?2=>21!/A!>45=!.?>49<5B.>598!3.66=!@5>458! ##'%"&#$!93!>42!*2.6>4!+8=?<.802!,9<>./565>A!.81!)009?8>./565>A!)0>!93!#(('"!

AKH!XQGHUVLJQHG!IXUWKHU!DJUHHV!WR!ZDLYH!DQ\!WLPH!OLPLWDWLRQV!UHTXLUHG!E\!WKH!DERYH!SURYLGHU!ZLWK!UHVSHFW!WR!WKHLU!UHFHLSW!RI!WKLV!
DXWKRUL]DWLRQ!DQG!WKH!GDWH!RQ!ZKLFK!WKH!DXWKRUL]DWLRQ!IRU!UHFRUGV!ZDV!VLJQHG'!

            52A65!WKLV!                  GD\!RI!                                  '`+)'!

                                                                                 "!
                                                                                                @LJQDWXUH!RI!SDWLHQW!
                                                                           24!

                                                                                              #UHODWLRQVKLS!WR!SDWLHQW$!
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                   ,3+!
           Uk!


                                            E8DH8FG!C8EG4=A=A;!GB!@=?=G4EJ!E86BE7F!
E Q]a Q_` _!R^[Y!bQ`Q^MZ_![^ !P QOQM_QP!bQ`Q ^MZ#_!ZQd`'[R'W UZ!Y Me !N Q!_aNYU``QP![ZXUZ Q!N e!a_UZS!OIQ`EQO _!M`!TR`\&0)c `bc&q^OT UbO_&S[b )bQ`Q^1Z_)YUXU`5^e '_O^bUOQ'^QO[^P _)!
                   f[X!UXef!              b^XTeX!                                                                                 f[\e!

                          F86G=BA"!'!=A9BE@4G=BA!A88787!GB!?B64G8!E86BE7F!"<MJGCKB!;K!FM=B!CG@HJF;LCHG!;K!IHKKC<E?%#!
* (! A4@ 8!HF87!7HE=A;!F8EI=68!                       RU^_`&!                        +(! F B6 =4?!F 86HE=GJ!               ,(! 74G8!B 9 !5=EG<! -(! C?468!B 9 !5=EG<!

  Brindell, John                                                                     XXX-XX-XXXX                           07/16/1947                             New Orleans, LA
. (! F8EI=68&!C4FG!4 A7 !CE8F8AG!#0LO!?K!CDDCAQGSC!OCALOBP!PC?OAF%!GQ!GP!GJMLOQ?KQ!QF?Q! ,33!PCOSGAC! @C! PFLTK!@CILT'$!




                           United States Navy                                                                                  `! `!
U)! I<J<IM<!


V)!
      E7K@FE7C!
      >L7I;!

/(! =F!G<=F!C 8EFBA!7 8684F873!                      AB!                  J8F!'!           MOLSGBC! .?QC!LD! .C?QF!GD!                GP!
0 (! 7=7!G<=F!C8EFBA! E8G=E8!9E B@!@=?=G4EJ!F8EI=683!
                                           F86G=BA!==! =A9BE@4G=BA! 4A7)BE! 7B6H@8AGF!E8DH8FG87!
*(! 6<86>!G < 8 !=G8@$F%!JBH!4 E 8 ! E8BH8FG* A;2!

        77!9[ ^ Y !+*- ![^!Q]aUbMXQZ`(! J QM^$_%!UZ!cTUOT !                U__aQP!     bQ`Q^M Z2!
                                                                                                    7!
                                                    \`!           ,,,'!        4Z! HA78?8G87! 77+*-!                                             `[!PQ`Q^YUZQ!QXUSUNUXU`e!R[^!
                    T!


        )CL! 72+,0,6,+!             OCEE! <?!K?GL!720,55! 837! 54,*/-8! )! +,0,6,+!*348! <Q!                                          <HP(!                T! 78?8G87!

        @QPUOMX!EQO[^P_!                                                                                                   /-!                                       QFC! 0,-232;>!
        .,;/!       ?KB!            DLO!/,-1!                   1756!@C! MOLSGBCB+!



        B`TQ^!
+(! CHECBF82!                                                                                                                   \f!
        \`! T!                                             \`!                                                 fa!



                 [XdX5!

                                                          F86G=BA!===!'!E8GHEA!477E8FF!4A7!F=;A4GHE8!

*(! E8DH8FG8E!A4@82!
                                                                                     \`!                                                                             KM<FCL!     H@!
          ,'!                                                                                                  )IIHCGLF?GL#!                                                           =HIQ!H@!
                                                                                     7OLLD!LD!                                 0?LL?J!      4HO?J!H@!)LLHJG?Q#!
          +?;LB%! 9CC!GQCJ!       LK!

                                 #8CI?QGLKPFGM!QL!BCAC?PCB!SCQCO?K$!                                                                           #9MCAGDV!QVMC!LD!6QFCO$!
  ,(! F8A7!=A9 BE@4G=BA)7B6H@ 8AGF!GB2!                                                              -(! 4HG<BE=K4G=BA!F =;A4 GH E8 2! PQOXM^Q!$[ ^!O Q^ `URe&!bQ^URe&![ ^ !
  #7IC?PC! MOGKQ!LO!QVMC'! 9CC! GQCJ! *!                                                             _`M`Q%!aZPQ^!\QZMX`e![R!\Q^Va^e!aZPQ ^!`T Q !XMc_![R!`T Q!H Z U`QP !F`M`Q_![R!
                                                                                                     4YQ^UOM!`TM`! `TQ!UZR[^YM`U[Z!UZ !`TU_!FQO`U[Z!===!U_!`^ aQ !MZP!O[^^QO`!MZP!
                                                                                                     `TM`! Ma `T[^UfQ! `TQ!      [R!`TQ! ^Q]aQ_`QP! UZR[^YM`U[Z(!#9CC!              LO!
                                                                                                         LK!                                =GQFLRQ! QFC!
                                                                                                        QFC!SCQCO?K%!                       SCQCO?K%!

                                                                                                                                   @C!                     QFC!       GP!        5L!
                                                                                                         PGEK?QROC! GP!        GD!QFC!          GD! DLO!                    $!




                                                                                                          FUSZM`a^Q4Q]aU^QP!                                                           7M`Q!
  &!K [\e!Yad_! \e!ThT\^TU^X!Tf! BLLI(&&OOO%;J=BCN?K%AHN&N?L?J;GK&FCCCL;JQ$K?JNC=?$
  J?=HJLEK&KL;G>;JCC$@HJF$'!53%/CLCGE!a`!f[X!ETf\a`T^!7 dV[\hXe!T`W!
  IXVadWe!7W_\`\efdTf\a`!$E7I7%!iXU!           &!
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8UXS!<<-$+&*&$1)!$*-',*+0%!                                                                                           ?HNL!,!UM!.!
                  ;09>0<=!17;!<7.3-4!<0.>;3=?!0-;6362!3617;5-=376!
+(! ?XU\PKL!_U[X!THSL!HY!PZ!HVVLHXY!UT!_U[X!SUYZ!XLJLTZ!AUJPHR!ALJ[XPZ_!JHXK!UX!ZOL!THSL!UM!ZOL!PTKP\PK[HR!]OUYL!
    LHXTPTNY!_U[!HXL!XLW[LYZPTN(!

8PXYZ!=HSL1!        J   O H N                                                                                   <PKKRL!9TPZPHR1!

;HYZ!=HSL1!          B R I       N D E L L
AUJPHR!ALJ[XPZ_!=[SILX!$AA=%! 4      3 9       7 2         6 9 7 3           >TL!AA=!VLX!XLW[LYZ!

6HZL!UM!4PXZO1!                                                6HZL!UM!6LHZO1!   04/17/2019
                  07/16/1947
>ZOLX!=HSL$Y%!CYLK!
<HPKLT!=HSL%!
,(!DOHZ!QPTK!UM!LHXTPTNY!PTMUXSHZPUT!KU!_U[!TLLK2!$5OUUYL!760!UM!ZOL!MURRU]PTN!Z_VLY!UM!LHXTPTNY!UX!AA3!S[YZ!XLZ[XT!
    ZOPY!XLW[LYZ(%!
   3LBGEPBA!<L@LBGBHL!IC!0@JHEHDK!",'%&&!
                                                                          FLHX$Y%!@LW[LYZLK1!                   ZU!
   $9TJR[KLY!ZOL!THSLY!HTK!HKKXLYYLY!UM!LSVRU_LXY%!
   9M!_U[!JOLJQ!ZOPY!IU^&!ZLRR![Y!]O_!_U[!TLLK!ZOPY!                      FLHX$Y%!@LW[LYZLK!                    ZU!
   PTMUXSHZPUT!ILRU](!
                                                                                  5OLJQ!ZOPY!IU^!PM!_U[!]HTZ!ZOL!LHXTPTNY!
                                                                                  PTMUXSHZPUT! .0;=3130/!MUX!HT!HKKPZPUTHR!
                                                                                  "-.(**!MLL(!

   .BJLECEBA!?B@JFO!=IL@FK!IC!0@JHEHDK!"()%&&!
                                                                          FLHX$Y%!@LW[LYZLK1!                   ZU!
   $6ULY!TUZ!PTJR[KL!ZOL!THSLY!HTK!HKKXLYYLY!UM!
   LSVRU_LXY%FLHXR_!LHXTPTNY!ZUZHRY!HXL!8@77!ZU!ZOL!V[IRPJ!PM!_U[!                                              ZU!
                                                                          FLHX$Y%!@LW[LYZLK1!
   KU!TUZ!XLW[PXL!JLXZPMPJHZPUT(!BU!UIZHPT!8@77!_LHXR_! ZUZHRY!UM!
   LHXTPTNY&!\PYPZ!U[X!]LIYPZL!HZ!]]](YYH(HU\)S_HJJU[TZ(!
-(!9M!_U[!]U[RK!RPQL!ZOPY!PTMUXSHZPUT!KBHL!LI!KIGBIHB!BFKB#!VRLHYL!MPRR!PT!ZOL!PTMUXSHZPUT!ILRU](!
        H[ZOUXP`L!ZOL!AUJPHR!ALJ[XPZ_!3KSPTPYZXHZPUT!ZU!XLRLHYL!ZOL!LHXTPTNY!PTMUXSHZPUT!ZU1!

   =HSL!

    3KKXLYY!                                                                                                      AZHZL!

    5PZ_!                                                                                           G9?!5UKL!

   HS!ZOL!PTKP\PK[HR!ZU!]OUS!ZOL!XLJUXK!VLXZHPTY!$UX!H!VLXYUT!H[ZOUXP`LK!ZU!YPNT!UT!ILOHRM!UM!ZOHZ!PTKP\PK[HR%(!
  [TKLXYZHTK!ZOHZ!HT_!MHRYL!XLVXLYLTZHZPUT!ZU!QTU]PTNR_!HTK!]PRRM[RR_!UIZHPT!PTMUXSHZPUT!MXUS!AUJPHR!ALJ[XPZ_!XLJUXKY!PY!
  V[TPYOHIRL!I_!H!MPTL!UM!TUZ!SUXL!ZOHT!"/&***!UX!UTL!_LHX!PT!VXPYUT(!
                                                                                   55+!FLJK!IA?AEMA!KDEJ!BHIF!NEKDEG!()'!@=OJ!BIHF!
        <EDH@LMJB!-6/!8JEHLBA!6@GB!IC!3HAENEAM@F!IJ!4BD@F!2M@JAE@H!                KDA!@=KA!JECGA@!

                                                                                   6HZL!
                   .$!9<&6&!                                            /.02&!
@LRHZPUTYOPV!$PM!H VVRPJHIRL&!_U[!S[YZ!HZZHJO!VXUUM%!                               6H_ZPSL!?OUTL1!

3KKXLYY!                                                                                                         AZHZL!

5PZ_!                                                                                           G9?!5UKL!

DPZTLYYLY!S[YZ!YPNT!ZOPY!MUXS!>=;F!PM!ZOL!HIU\L!YPNTHZ[XL!PY!I_!SHXQLK!$E%(!9M!YPNTLK!I_!SHXQ!$E%&!Z]U!]PZTLYYLY!ZU!ZOL!
YPNTPTN!]OU!QTU]!BOL!YPNTLL!S[YZ!YPNT!ILRU]!HTK!VXU\PKL!ZOLPX!M[RR!HKKXLYYLY(!?RLHYL!VXPTZ!ZOL!YPNTLL#Y!THSL!TL^Z!ZU!ZOL!
SHXQ!$E%!UT!ZOL!YPNTHZ[XL!RPTL!HIU\L&!
+(!APNTHZ[XL!UM!DPZTLYY!                                             ,(!APNTHZ[XL!UM!DPZTLYY!

3KKXLYY!"3LF>AI!=G@!5KIAAK%!-EKO%!5K=KA!=G@!;04!-H@A#!               3KKXLYY!"3LF>AI!=G@!5KIAAK%!-EKO%!5K=KA!=G@! ;04!-H@A#!
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                        $21*./+3$1+.-!)./!/(,($0(!.)!2-+.-!/(&./'0!



      1.#!

      /(#!



      '4>6!<7!%9=>8#!

      0<594;!065?=9>@!-<"#!

             >MR!?OC!FCOC@V!?RQFMOGWCB!?LB!BGOCAQCB!QM!OCJC?PC!?LB!NOMSGBC!QM!______________     !
___________  !MO!GQP!OCNOCPCLQ?QGSCP$!QFC!DMJJMTGLE!BMARKCLQP$!GLAJRBGLE!@RQ!LMQ!JGKGQCB!QM!?JJ!
     CJCAQOMLGA?JJV!MO!AMKNRQCO!PQMOCB!MO!ECLCO?QCB!OCAMOBP2!

                 )&!    4NNJGA?QGML!DMO!KCK@COPFGN3!
                 *&!    >C?OJV!GLAMKC!GLAJRBGLE!LRK@CO!MD!FMROP'B?VP!TMOICB!NCO!VC?O3!
                 +&!    9?KCP!?LB!?BBOCPPCP!MD!?LV!?LB!?JJ!CKNJMVCOP$!JMA?QGMLP!MD!TMOIPGQCP!
                        GLAJRBGLE!?LV!HM@!?LB'MO!TMOI!JMEP3!
                 ,&!    4JJ!NCLPGML!OCJ?QCB!GLDMOK?QGML!GLAJRBGLE!BMARKCLQP!PFMTGLE!NCLPGML!
                        AMLQOG@RQGMLP!@V!CKNJMVCOP3!
                 -&!    6MARKCLQ?QGML!MD!?LV!QO?GLGLE!N?OQGAGN?QGML!?LB!GLDMOK?QGML!OCE?OBGLE!
                        QO?GLGLE!K?QCOG?JP!MO!QO?BC!JGQCO?QROC!OCACGSCB3!
                 .&!    ;CAMOBP!MD!?LV!EOGCS?LACP!DGJCB!MO!AJ?GKP!K?BC!DMO!TMOI%OCJ?QCB!GLHROGCP3!
                 /&!    ;CAMOBP!MD!?JJ!AJ?GKP!DMO!FC?JQF$!?AAGBCLQ$!NCLPGML!MO!BGP?@GJGQV!@CLCDGQP3!
                 0&!    4JJ!OCAMOBP!NCOQ?GLGLE!QM!?LV!AJ?GK!DMO!GLHROGCP!?JJCECBJV!BRC!QM!CUNMPROC!QM!
                        ?P@CPQMP!MO!MQFCO!K?QCOG?JP!GL!QFC!AMROPC!MD!FGP'FCO!CKNJMVKCLQ3!
                 1&!    4JJ!KCBGA?J!OCNMOQP!?LB!OCAMOBP$!GLDGOK?OV!OCAMOBP$!OCQROL!QM!TMOI!PJGNP$!
                        KCBGA?J!CUARPCP!?LB!?AAGBCLQ!OCNMOQP3!?LB!
                 )(&!   ;CNMOQP!NCOQ?GLGLE!GL!?LV!K?LLCO!QM!?LV!FC?JQF!PAOCCLGLE!MO!CBRA?QGML?J!
                        PCPPGMLP!GL!TFGAF!QFC!?DMOCKCLQGMLCB!NCOPML!N?OQGAGN?QCB!OCE?OBGLE!FGP'FCO!
                        AJ?GKCB!CUNMPROC!QM!?P@CPQMP!MO!MQFCO!K?QCOG?JP!MO!AMLBGQGMLP!BROGLE!QFC!
                        AMROPC!MD!FGP'FCO!CKNJMVKCLQ&!

             5MNGCP!MD!QFC!?@MSC%OCDCOCLACB!K?QCOG?JP!PFMRJB!@C!LRK@COCB&! 4!NFMQMPQ?QGA!
      AMNV!MD!QFGP!4RQFMOGW?QGML!PF?JJ!@C!AMLPGBCOCB!?P!CDDCAQGSC!?LB!S?JGB!?P!QFC!MOGEGL?J&!

      64=76!QFGP!                       B?V!MD!                  *(!

                                                                       "!
                                                                             <GEL?QROC!MD!N?QGCLQ!
                                                                 ./!

      "<GEL?Q!          CAG?J!4BKGLGPQO?QMO!DMO!QFC!7PQ?QC!MD!              "OCJ?QGMLPFGN!QM!N?QGCLQ#!
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                                   >h\dj!?,!NjX^^i*!I,@,!
                                  @`fbecXj*!                  e]!LXj_ebe^o!

                                            H`b\!

                                       H`jjb\!MeZa*!

                                                    '3./(!

                                                '3./(!




MA8!                    '@K>!           /725(!




Tek!              ]eh!co!                                              e]! Ih,!




L=ODKHKCT!MALKMON8!

         ]hec!                                         Q=! I?! 'NLJK!                          =fh`b!     0./7(!
                                                                    fei`j`l\!
?b`d`ZXb!
                        h\l`\m\[! Yo!                        LXj_ebe^o!                   m_e!
                                     O_\o!
                                                                              fei`j`l\! ]eh!
       ?G!               ]eZXb! fei`j`l\!                ]eh! @0!                                   m`j_! NI=,!
             m\h\!                          ]eh! AI=*!OOB/*!NO=O!              ?@12*!                   ?G!
RO/*!            NKS!                          >=L!




                                                                                  +413/022#,"-.*$%"$$$$$%!
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L=ODKHKCT!I=OAME=HN8!

E! h\Z\`l\[!         PN>! @h`l\!                                                                                                         e]!
                                              m\h\!                                                                 e]!
                                                                b`a\!             e]!                                         mXbb!
               e]!                                                                       e]!
bem\h!                                         b\]j!                                                                              e]!
         mXbb!

/!h\Z\`l\[!                                               m`j_!                       e]!                                          ]`n\[!
                                        e]!                                                                    mXbb!
                                   \nj\di`l\bo! `dlebl\[! Yo!
m\h\!                                                           e]!
                       mXbb!
                      Je!                                                 m\h\!                                      =!                 Zc!
                                                                        b\]j!               =bl\ebXh!
                                                            e]!                                m\h\!                                       E!
                                 ]eh!                      ]ebbemi8!                                                                    b\]j!
                                                                                       b`l\h*!

=]j\h!                                                                     E!                      D%A!
                                                                                                   I`ZheiZef`Z!
                                                        Z\bb!                    \nj\di`l\bo!`dlebl`d^!
                 mXbb,!                         m\h\!


                                                          m\h\!
                           e]!                                                                            ZebbX^\d!
                             Z\bbi,!                                                                                mXbb!
                      =!                                                                                                  b\]j!
                                                                =bl\ebXh!
                       e]!                                                                               e]!
=bl\ebXh!                                                                                               Xbl\ebXh!
                                  eh!                                           e]!                                  c`b[! coeZoj\!
                                        e]!                            c`b[!                                                      e]!
           m\h\!                                                 e]!            b`l\h!                 c`b[!

'!



                                                                                                       +413/022#,"-.*$%"$$$$$&!
     Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 188 of 565


                                                    Je!                         m\h\!                     e]!
                                                                       e]!                           ]eZXb!
                   e]!                                          ]eh!

E!                                                               e]!
          fei`j`l\!                     ]eh! ?=I!               fei`j`l\!            ]eh!
fei`j`l\!                ]eh! C=O=1*!               fei`j`l\!           ]eh!                      fei`j`l\!
            ]eh!         @0!                                                 ]eh! RO/*!OOB/*!      L=S!
D>IA/*!?G!               IK?!             ?A=*!




Q!        ] & #!
                               )$-2$!
                                    -*"|&-!
            &l!            v-)! ,]&+,!

     )!




EcX^\!      'D%A(!                                    EcX^\!0!'?=I3,0(!




(!



                                                                                   +413/022#,"-.*$%"$$$$$'!
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 189 of 565




  EcX^\!   'ZXbh\j`d`d(!            EcX^\!              'C=O=1(!




                                                             v! ,!   E+


                                                                                      h)+2+! +l!
                                            %!
                                                       A!                                           w!


                                                        j!



                                                                      v!

                                     <<<!
                                                 lh!                        +


                                                                           l]!                 &!


                                                                                 &!          ]! +




                                                  0!
                                                                           &F,,&!


                                                                                                    --&! +!
                                                                                                              WQU!



  EcX^\!   'I\iej_\b`d(!            EcX^\!              '@02.(!




                                                                          +413/022#,"-.*$%"$$$$$(!
     Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 190 of 565


           co!h\l`\m!e]!                   co!             ]ebbemi8!




     +! .@8;1@D!.95C@19!-1986<1<B!
     +!            >95C@19!
     +!       9=21@!




E! m`bb!               eh!                               `]!




                                     ?,!         I,@,!




)!



                                                           +413/022#,"-.*$%"$$$$$)!
    Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 191 of 565


                                      @i]ek!A-!PkY__j+!K-B-!
                                      BagcfdYk+!                   f^!NYk`fcf_p!

                                                Jac]!

                                           Jakkc]!Of[b+!

                                                        (4/0)!

                                                    (4/0)!




Mia_aeYc!

                                                        (i]ma]n!



OC9!                      (BM@!              0836)!




Vfl!               ^fi!dp!                                                  f^! Ki-!




N?QFMJMEV!OCNMOQP9!

         ^ifd!                                             S?! KA! (PNLM!                       ?giac!     1/08)!
                                                                         gfjakam]!
Acaea[Yc!
                          i]ma]n]\!    Zp!                         NYk`fcf_p!                  n`f!
                                                                                                         [fccY_]e!
                                                                 gfjakam]!^fi!                           AI!
       ^f[Yc! gfjakam]!           ^fi! B1!                                             PK?-!                   n]i]!
                      ^fi! CK?+!QQD0+!PQ?Q!                AB23+!                  AI!         TQ0+!           PMU!
                     @?N!




                                                                                       +413/022#,"-.*$&"$$$$$%!
      Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 192 of 565


N?QFMJMEV!K?QCOG?JP9!

G!i ][]am]\!                                           "P!                   Qnf!                 n]i]!i][]am]\!
                     F&C! n`ac]!                                   n]i]!                         Ka[ifj[fga[!
                                     aemfcm]\!Zp!                                       []cc!                                   n]i]!
                                                                                                                      f^!


f^!

G! i][]am]\!      RP@!Biam]!                                                                                                         f^!
                                      n]i]!                                                                     f^!
                                                           cab]!            f^!                                         nYcc!
               f^!                                                                f^!
cfn]i!                                  c]^k!                                                                                f^!
         nYcc!

0!i][]am]\!                                        nak`!                   f^!                                              ^ao]\!
                               f^!                                                                      nYcc!
                          ]ok]ejam]cp! aemfcm]\! Zp!                                                                            n]i]!
                                                 f^!
         nYcc!                                                                                                                     Lf!
                                          n]i]!                                            ?!               [d!
                                         c]^k!           ?cm]fcYi!
                              f^!                  n]i]!                                           G!                              ^fi!
                     ^fccfnj9!                                                           c]^k!
                                     cam]i+!

?^k]i!                                                               G!                          F&C!
                                                                                                 Ka[ifj[fga[!
                                                   []cc!                   ]ok]ejam]cp!aemfcmae_!
                 nYcc-!                  n]i]!


                                                        n]i]!
                     f^!                                                                 [fccY_]e!
                                                                                            nYcc!


&!



                                                                                                  +413/022#,"-.*$&"$$$$$&!
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?!                                                                         c]^k!                           YZfm]+!
                        ?cm]fcYi!                                                                     f^!
                                                 f^!                               ?cm]fcYi!
                                                  Ycm]fcYi!                                                      fi!
                                   f^!                   dac\! dpf[pk]!                                          f^!
                     dac\!                                           f^!                  n]i]!
            f^!      cam]i!              dac\!                                                      fi!
Lf!                                n]i]!                       f^!
                             f^!                                ^f[Yc!                        f^!
                      ^fi!

                                                               f^!
         gfjakam]!                   ^fi! A?K!                gfjakam]!                ^fi!
gfjakam]!              ^fi! E?Q?2+!              gfjakam]!               ^fi!                             gfjakam]!
            ^fi!       B1!                                                 ^fi! TQ0+!QQD0+!               N?U!
F@KC0+!AI!              KMA!             AC?+!




GdY_]!      (F&C)!                                 GdY_]!1!(A?K4-1)!




'!



                                                                                     +413/022#,"-.*$&"$$$$$'!
Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 194 of 565




  GdY_]!   ([Yci]kaeae)!            GdY_]!                (E?Q?2)!




                                                     p!




                                            a,*"+!             "--''!

                                      -!
                                      w!



                                                                                  o<,!^k!




                                                                        =!




                                                'm!          w-a, ' ^ ,

                                           S!
                                                      #++!
                                    ?! $47!
  GdY_]!   (K]jfk`]cae)!            GdY_]!                (B13/)!




                                                                        +413/022#,"-.*$&"$$$$$(!
     Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 195 of 565


          dp!i]ma]n!f^!                    dp!            ^fccfnj9!

                        (P!

     ,! ,<46-<@!,51?<-5!+-5427-7>!




     ,! ,<46-<@!,51?<-5!+-5427-7>!
     ,!            951?<-5!
     ,!       58.-<!




G!nacc!           fi!                               a^!




                                     A-!         K-B-!




(!



                                                          +413/022#,"-.*$&"$$$$$)!
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                         Deposition of
                        Raymond Kain


                       Date: January 29, 2021

   Case: Carolyn Brindell, et al. v. Carlisle Industrial Brake and
                      Friction, Inc., et al.

                            No. 2019-9716


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                                                                  Page 1
       CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                         STATE OF LOUISIANA


       NO. 2019-9716                               DIVISION "N"

                    CAROLYN BRINDELL, ET AL.,

                               VERSUS

       CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC.,
                          ET AL.,




         REMOTE VIDEOTAPED DEPOSITION OF RAYMOND KAIN




                   Taken on behalf of Plaintiff
                         January 29, 2021



                    Karen R. Shales, CCR, RPR
                   Certified Shorthand Reporter
                       License No. 2017007




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  1       INDEX OF EXAMINATION                                        1         APPEARING TELEPHONICALLY: The
  2                                                                       Defendant, First State Insurance Company, was
                                                                      2   represented by Mr. James Holmes, of the law firm
  3                   Page Line                                           of Christovich & Kearney, LLP, 601 Poydras
  4    EXAMINATION BY MR. HIBEY............ 9   3                     3   Street, Suite 2300, New Orleans, Louisiana 70130.
       EXAMINATION BY MR. KINLER........... 36 15                     4
  5    EXAMINATION BY MS. SENTER........... 90 19                               APPEARING TELEPHONICALLY: The
       EXAMINATION BY MR. HART............. 147 11                    5   Defendant, Lufkin Industries, Inc., was
                                                                          represented by Ms. Jamie Zanovec, of the law firm
  6    EXAMINATION BY MS. BAXTER........... 165 22                    6   of Courington Kiefer Sommers Marullo & Matherne,
       EXAMINATION BY MS. DETO............. 170 22                        LLC, 616 Girod Street, New Orleans, Louisiana
  7    EXAMINATION BY MR. HARRISON......... 185 12                    7   70130.
       EXAMINATION BY MR. LASSUS........... 194 22                    8
  8    EXAMINATION BY MS. ZANOVEC.......... 197 12                             APPEARING TELEPHONICALLY: The
                                                                      9   Defendant, Pneumo Abex, LLC, was represented by
       EXAMINATION BY MS. SENTER........... 210 11                        Mr. William Harrison, of the law firm of Deutsch
  9    EXAMINATION BY MS. BAXTER........... 238 19                   10   Kerrigan, LLP, 755 Magazine Street, New Orleans,
       EXAMINATION BY MR. KINLER........... 242 13                        Louisiana 70130.
 10    EXAMINATION BY MS. BAXTER........... 245    8                 11
 11                                                                  12        APPEARING TELEPHONICALLY: The
 12          INDEX OF EXHIBITS                                            Defendant, Strick Trailers, was represented by
                                                                     13   Ms. Kay Baxter, of the law firm of Foley &
 13                                                                       Mansfield, 650 Poydras Street, Suite 2450, New
 14    Kain Exhibit Notice of                                        14   Orleans, Louisiana 70130.
       No. 1        Deposition......... 34 23                        15
 15    Kain Exhibit                                                             APPEARING TELEPHONICALLY: The
       No. 2        Affidavit.......... 34 24                        16   Defendant, Carlisle Industrial Brake and
                                                                          Friction, Inc., was represented by Ms. Magali
 16                                                                  17   Puente, of the law firm of Frilot, LLC, 1100
 17                                                                       Poydras Street, Suite 3700, New Orleans,
 18                                                                  18   Louisiana 70163.
 19                                                                  19
 20                                                                             APPEARING TELEPHONICALLY: The
 21                                                                  20   Defendant, Taylor-Seidenbach, Inc., was
                                                                          represented by Mr. Edward Lassus, of the law firm
 22                                                                  21   of Hailey McNamara Hall Larmann & Papale, LLP,
        (Exhibit No. 2 not attached to transcript at time                 One Galleria Boulevard, Suite 1400, Metairie,
 23     of production.)                                              22   Louisiana 70001.
 24                                                                  23
 25                                                                  24
                                                                     25


                                                            Page 3                                                             Page 5
  1                                                                   1          APPEARING TELEPHONICALLY: The
       CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS                      Defendant, CRA Trailers, Inc., f/k/a Racine
  2                                                                   2    Trailers, Inc., was represented by Ms. Amanda
               STATE OF LOUISIANA                                          Deto-Sloan, of the law firm of Manning Gross &
  3                                                                   3    Massenburg, LLP, 365 Canal Street, Suite 3000,
  4                                                                        New Orleans, Louisiana 70130.
       NO. 2019-9716               DIVISION "N"                       4
  5                                                                   5         APPEARING TELEPHONICALLY: The
  6        CAROLYN BRINDELL, ET AL.,                                       Defendant, Eaton Corporation, was represented by
  7            VERSUS                                                 6    Ms. Meghan Senter, of the law firm of Manning
  8    CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC.,
               ET AL.,
                                                                           Gross & Massenburg, LLP, 365 Canal Street, Suite
  9                                                                   7    3000, New Orleans, Louisiana 70130.
 10                                                                   8
             REMOTE VIDEOTAPED DEPOSITION OF                                     APPEARING TELEPHONICALLY: The
 11   RAYMOND KAIN, produced, sworn, and examined on                  9    Defendant, Utility Trailer Manufacturing Co., was
      behalf of Plaintiff, January 29, 2021, between                       represented by Mr. Joseph Hart, IV, of the law
 12   the hours of 9:09 a.m. Central Standard Time and               10    firm of Pugh Accardo, 1100 Poydras Street,
      2:08 p.m. Central Standard Time, of that day,                        Suite 3300, New Orleans, Louisiana 70163.
 13   taken before Karen R. Shales, Certified Shorthand              11
      Reporter.                                                      12          APPEARING TELEPHONICALLY: The
 14                                                                        Defendant, Eagle, Inc., was represented by
 15                                                                  13    Mr. Douglas Kinler, of the law firm of Simon,
              APPEARANCES                                                  Peragine, Smith & Redfearn, LLP, 1100 Poydras
 16                                                                  14    Street, 30th Floor, New Orleans, Louisiana
 17         APPEARING TELEPHONICALLY: The Plaintiffs                       70163.
      were represented by Mr. Michael Hibey, of the law              15
 18   firm of Simmons Hanly Conroy, One Court Street,                16
      Alton, Illinois 62002.                                         17       Also Present: Mr. Scott Sill, Videographer
 19                                                                  18
 20         APPEARING TELEPHONICALLY: The                            19
      Plaintiffs were represented by Ms. Lindsey Cheek,              20
 21   of the law firm of The Cheek Law Firm, 650
                                                                     21
      Poydras Street, Suite 2310, New Orleans,
 22   Louisiana 70130.                                               22
 23                                                                  23
 24                                                                  24
 25                                                                  25



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  1            IT IS HEREBY STIPULATED AND AGREED          1   responsiveness of the answer. Is that okay?
  2   by and between Counsel for the Plaintiff and         2           MR. HIBEY: Sure.
  3   Counsel for the Defendants, that this deposition     3           MR. KINLER: Okay. Thank you.
  4   may be taken in shorthand by KAREN R. SHALES, a      4           MR. HART: Probably should put on the
  5   Certified Shorthand Reporter, and afterwards         5   record that everybody consents to the witness
  6   transcribed into typewriting, and the signature      6   being sworn remotely just to have that covered.
  7   of the witness is not waived by agreement of         7           Does anybody object?
  8   counsel and the witness.                             8           MR. HIBEY: No. Thank you.
  9                                                        9           Kay, are you back on line?
 10                O-O-O                                  10           MS. BAXTER: I dialed in from my
 11                                                       11   phone. Can you hear me?
 12           THE VIDEOGRAPHER: This is the               12           MR. HIBEY: Yes, we can hear you.
 13   videotaped deposition of Raymond Kain. Today's      13           MS. BAXTER: Wonderful.
 14   date is January 29, 2021. The time is 9:09 a.m.     14           MR. HIBEY: He said that your client
 15   Central Standard Time. We are now on the record.    15   is solely responsible for everything while you
 16   All attorneys present will be indicated on the      16   were gone.
 17   stenographic record.                                17           MS. BAXTER: Good luck. I love a
 18           The court reporter will now swear in        18   sense of humor.
 19   the witness.                                        19           MR. HIBEY: All right, guys.
 20           (Witness sworn.)                            20               RAYMOND KAIN,
 21           MS. BAXTER: I have no volume. I             21   of lawful age, being produced, sworn and examined
 22   cannot hear the witness.                            22   on the part of the Plaintiffs, and after
 23           MR. HIBEY: Mr. Kain -- is he sworn          23   responding "Yes" to the oath administered by the
 24   in?                                                 24   court reporter, deposes and says:
 25           THE COURT REPORTER: Yes.                    25


                                                 Page 7                                               Page 9
  1           MR. HIBEY: All right. I don't know           1            ************
  2   who's trying to state that they can't hear the       2                [EXAMINATION]
  3   witness. Can they hear nothing? They can't hear      3   QUESTIONS BY MR. HIBEY:
  4   me.                                                  4       Q. Mr. Kain, I think we're going to get
  5           MR. KINLER: Mike, is this you, Mike          5   started now, so here's the deal. I'm going to
  6   Hibey?                                               6   ask you some questions and then some defense
  7           MR. HIBEY: Yes.                              7   attorneys are going to ask you some questions.
  8           MR. KINLER: Hey, Mike. Doug Kinler.          8   I'm going to try to be as quick as I can so I'll
  9   That's Kay Baxter.                                   9   get right to it.
 10           MR. HIBEY: All right. I'm assuming          10           I need you to first identify
 11   Kay cannot hear me right now either.                11   yourself, tell us your name, address and date of
 12           THE VIDEOGRAPHER: No, but it sounds         12   birth.
 13   like she's calling in, so give her a couple of      13       A. My name is Raymond Michael Kain,
 14   seconds.                                            14   K-a-i-n. My address is 59512 Transmitter Road,
 15           MR. HIBEY: Okay. Mr. Kain, we're            15   Lacombe, Louisiana 70445 ZIP. And my age is
 16   just going to hold tight one minute here. Sorry     16   August 2nd -- the 22nd, 1949.
 17   about the delay.                                    17       Q. Thank you. Mr. Kain, we're here
 18           MR. KINLER: Mike, while we're               18   today in a case arising out of the death of John
 19   waiting -- this is Doug Kinler again. While         19   Brindell.
 20   we're waiting for Kay, can we make an agreement     20           Did you know Mr. Brindell?
 21   that one -- objection by one is good for all, is    21       A. I sure did.
 22   that good with you?                                 22       Q. Okay. How is my reception? Can you
 23           MR. HIBEY: That is.                         23   hear and see me okay?
 24           MR. KINLER: And all objections are          24       A. Pretty much, but the hearing
 25   reserved except to form of the question and         25   sometimes kind of delayed and broke up a little


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  1   bit.                                                 1       A. Well, we used to jack it up first and
  2       Q. Now, I'm having a little bit of a             2   then we'd pull all the tires off, all the wheels.
  3   delay when you speak as well, so if it gets too      3   That's the hub and all. And then we take the
  4   bad to where you cannot understand me, please let    4   brake shoes off. And after that, we take a
  5   me know.                                             5   blowoff tip with an air gun and we blow all the
  6       A. Okay.                                         6   dust and everything out and all out inside the
  7       Q. All right. Did you work with                  7   drum and the hub. And then we would replace the
  8   Mr. Brindell?                                        8   brake shoes and the parts that go with it.
  9       A. Yes, I did.                                   9       Q. When you used that air hose to blow
 10       Q. Where did you work with Mr. Brindell?        10   out the dust, what were you actually blowing?
 11       A. Puerto Rican Marine Management.              11       A. Dust, I guess, brake dust from when
 12       Q. When did you work there at Puerto            12   the brakes went against the drum to stop, they
 13   Rico Marine Management?                             13   would wear down and it made dust.
 14       A. Oh, Lord. I worked from November the         14       Q. When you used the air to blow the
 15   13th, 1971, and all the way until they closed       15   dust, what were the work conditions like in the
 16   down and I don't remember the date of that.         16   environment where you were working?
 17       Q. Okay. Did they close down sometime           17       A. A dust storm. All the dust started
 18   in the '80s, '90s or later?                         18   coming out there and blowing all around. In
 19       A. Oh, I'd say it was in the -- oh, I           19   fact, sometimes we'd have to even move out of the
 20   guess -- Lord, it might have been in the '90s.      20   way for the (indiscernible) --
 21   Probably late '90s or maybe beginning of 2000. I    21       Q. Could you see brake dust in the air?
 22   don't know.                                         22       A. Yeah.
 23       Q. Okay. Well --                                23           DEFENSE COUNSEL: Object to form.
 24       A. I don't know the exact close date.           24   BY THE WITNESS:
 25       Q. The good news is it doesn't really           25       A. Yeah.


                                            Page 11                                                 Page 13
  1   matter because Mr. Brindell wasn't working there     1   BY MR. HIBEY:
  2   then.                                                2        Q. Did you breathe any of that brake
  3            Mr. Brindell worked at Puerto Rico          3   dust?
  4   Marine Management between 1976 and 1981, so that     4        A. Sure. We had to. I mean, it was
  5   is the time period that I want to focus on.          5   there. You would breathe it.
  6   Okay?                                                6        Q. And what about Mr. Brindell, was he
  7        A. Fine with me.                                7   present when the brake dust was in the air?
  8        Q. All right. During the time period            8            DEFENSE COUNSEL: Object to form.
  9   that Mr. Brindell worked at Puerto Rico Marine,      9   BY THE WITNESS:
 10   did you ever work with him?                         10        A. Sure.
 11        A. Yes.                                        11   BY MR. HIBEY:
 12        Q. Okay. Can you describe for us during        12        Q. What was he doing in that
 13   that time period, 1976 to 1981, what was your       13   environment?
 14   job, what were your duties and what were your       14        A. He was helping us.
 15   responsibilities?                                   15        Q. All right. Between 1976 and 1981,
 16        A. Well, I was a mechanic and we did bad       16   can you give us all a sense for the frequency or
 17   chassis, trailers and that's what we did. We did    17   infrequency with which you personally performed
 18   brake jobs, everything to a chassis.                18   brake jobs?
 19        Q. All right. And what did Mr. Brindell        19        A. Oh, Lord. We did so many brake jobs,
 20   do?                                                 20   I couldn't, you know, tell you how many.
 21        A. He would work out there with us.            21   That's -- that's what my -- our job was.
 22        Q. During that time period 1976 to 1981,       22        Q. If we wanted to break it down and
 23   can you describe for all of us here today how you   23   just look at a typical day, could you give us a
 24   performed a brake job on a trailer at Puerto Rico   24   sense for how many brake jobs you performed on
 25   Marine?                                             25   trailers at Puerto Rico Marine in one day between


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  1   1976 and 1981, a typical day?                        1   on the particular brands or manufacturers of
  2       A. Oh, probably one a day. I mean, it            2   brakes that you recall working with. Okay?
  3   takes time to do that. I mean, brake -- maybe        3           So my first question is, you
  4   one complete and start another one.                  4   mentioned that there was four brake assemblies
  5       Q. All right. And when you say one               5   and two axles on these chassises and trailers
  6   complete, are we talking about multiple brakes       6   that you were working on?
  7   for a full like trailer chassis system?              7       A. Right.
  8           DEFENSE COUNSEL: Object to the form.         8       Q. Do you recall who manufactured the
  9   BY THE WITNESS:                                      9   axles?
 10       A. It was the brakes and the trailer            10       A. Yes, I do. Fruehauf, Eaton and
 11   system, you mean -- what -- I didn't understand     11   Rockwell.
 12   that question.                                      12       Q. All right. And do you recall who
 13   BY MR. HIBEY:                                       13   manufactured the brakes that were used on the
 14       Q. Yeah, that's fine. I'm sorry.                14   Fruehauf axles?
 15           What I'm -- what I'm trying to              15       A. Probably Fruehauf.
 16   understand is when -- when you're saying you're     16           DEFENSE COUNSEL: Object to the form.
 17   doing a brake job a day, that actually isn't just   17   BY MR. HIBEY:
 18   one brake. It's the full chassis or trailer?        18       Q. Do you recall who manufactured the
 19       A. Four wheels.                                 19   brakes for the Eaton axles?
 20       Q. Right. And that would be then four           20           DEFENSE COUNSEL: Object to form.
 21   different brake assemblies?                         21           DEFENSE COUNSEL: Object to form.
 22       A. Right.                                       22           MR. HIBEY: What's the form
 23           DEFENSE COUNSEL: Object to form.            23   objection?
 24   BY THE WITNESS:                                     24           DEFENSE COUNSEL: Vague.
 25       A. Two axles.                                   25           MR. HIBEY: What's vague about it?


                                            Page 15                                                 Page 17
  1   BY MR. HIBEY:                                        1   He said that he worked with Eaton axles and I'm
  2       Q. All right. And just diving in for a           2   asking him which brakes he used on the Eaton
  3   second into the location of this work, this work     3   axles.
  4   was taking place in some type of a mechanic's        4           DEFENSE COUNSEL: What are you
  5   shop, true?                                          5   referring to specifically when you say brake?
  6       A. Correct.                                      6           MR. HIBEY: Okay. I will ask him.
  7           DEFENSE COUNSEL: Object to the form.         7   BY MR. HIBEY:
  8   BY MR. HIBEY:                                        8       Q. Going back to the Fruehauf axles,
  9       Q. I'm sorry your answer was correct,            9   were there brakes that were incorporated into the
 10   yes?                                                10   Fruehauf axle system?
 11       A. Yes.                                         11       A. Yes.
 12       Q. Okay. So can you please describe for         12       Q. Okay. And did you have to use brakes
 13   us the shop where the brake work that you were      13   on the Fruehauf axles?
 14   performing was taking place between 1976 and        14       A. Yeah.
 15   1981?                                               15       Q. Okay. What -- what did the brakes
 16       A. Well, it was a four-stall shop and           16   look like on the Fruehauf axles?
 17   they had trailer work going on in all four stalls   17       A. Well, it's a shoe-looking thing.
 18   or chassis work, brake jobs.                        18   They call them brake shoes. It's kind of rounded
 19       Q. All right. Thank you.                        19   like this, half rounded, and they got brake pads
 20           And so you were not the only person         20   that are stapled or riveted onto the top of the
 21   during this time period performing brake jobs?      21   metal shoes --
 22       A. No.                                          22       Q. Okay.
 23           DEFENSE COUNSEL: Object to form.            23       A. The shoes or attached to the axle.
 24   BY MR. HIBEY:                                       24       Q. Do you consider the brake shoes part
 25       Q. So now I just want to briefly touch          25   of an assembly system that would be incorporated


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   1   and used with the axles?                             1           If you could give us a sense for --
   2       A. Yes.                                          2   during the times when you removed Fruehauf brake
   3       Q. And whose brake shoes did you use on          3   shoes, can you tell us a number of times that you
   4   the Fruehauf axles?                                  4   did remove Fruehauf brake shoes in a dusty
   5       A. I guess Fruehauf shoes.                       5   situation at Puerto Rico Marine between '76 and
   6       Q. And whose brake shoes did you use on          6   '81?
   7   the Eaton axles?                                     7        A. Oh, I couldn't tell you.
   8       A. Eaton.                                        8           DEFENSE COUNSEL: Object to the form.
   9       Q. And whose brake shoes did you use on          9   BY THE WITNESS:
  10   the Rockwell axles?                                 10        A. I couldn't tell you. We did so many.
  11       A. Rockwell.                                    11   BY MR. HIBEY:
  12           MR. HIBEY: And for the record, he           12        Q. All right. What would --
  13   said Rockwell. Did that get picked up?              13        A. I did so many.
  14           THE COURT REPORTER: Yes.                    14        Q. What would be your best estimate of
  15   BY MR. HIBEY:                                       15   the times that you were in dusty conditions from
  16       Q. Now, within these shoes there were           16   removing Fruehauf brake shoes at Puerto Rico
  17   pads and linings, correct?                          17   Marine?
  18           DEFENSE COUNSEL: Object to form.            18        A. Oh, probably all day.
  19   BY THE WITNESS:                                     19        Q. All right. And in terms of a number
  20       A. Well, the brake lining is the pad --         20   of times over the course of, say, 1976 to 1981,
  21   BY MR. HIBEY:                                       21   can you estimate, was that -- just in terms of
  22       Q. Okay.                                        22   number, how many times do you think that was?
  23       A. -- that goes on top of the shoe.             23        A. Plenty. A whole bunch.
  24       Q. All right. And the linings were --           24        Q. Okay.
  25   how were the linings attached to the shoes, if at   25        A. It was -- you know, there's no way I


                                            Page 19                                                  Page 21
   1   all?                                                 1   could explain that. You know, there's no way I
   2       A. Rivets.                                       2   could tell a number.
   3       Q. I'm sorry. I couldn't hear you.               3       Q. Okay. And so some people will hear
   4       A. Rivets.                                       4   that and they'll say well, he doesn't know the
   5       Q. All right. You said rivets twice and          5   number, and I want -- I want you to be as exact
   6   neither time did I hear it, I -- the full word, I    6   as you can.
   7   don't think, but is that correct you said rivets?    7           When you're saying I can't tell the
   8       A. Right.                                        8   number, it's because it was too many times to
   9       Q. All right. Now, what was worn down            9   count; isn't that true?
  10   and releasing dust during the brake changing        10       A. That's true.
  11   process?                                            11           DEFENSE COUNSEL: Object to the form.
  12           DEFENSE COUNSEL: Object to form.            12           DEFENSE COUNSEL: Object to form,
  13           DEFENSE COUNSEL: Objection --               13   misstates testimony.
  14   BY THE WITNESS:                                     14           DEFENSE COUNSEL: Totally leading.
  15       A. It was the shoe.                             15   BY MR. HIBEY:
  16   BY MR. HIBEY:                                       16       Q. All right. And so in terms of a
  17       Q. Okay.                                        17   number, if you had to put a number on it, would
  18       A. The lining.                                  18   it be more than 100 times?
  19       Q. The lining attached to the shoe.             19           DEFENSE COUNSEL: Object to form,
  20   Okay.                                               20   asked and answered.
  21           And is that where the dust came from?       21   BY THE WITNESS:
  22       A. Right.                                       22       A. Yes, it would be.
  23           DEFENSE COUNSEL: Object to form.            23   BY MR. HIBEY:
  24   BY MR. HIBEY:                                       24       Q. Okay. And where would you draw the
  25       Q. All right. Let me ask you this.              25   line? Would it be more than several hundred


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  1   times or would it be less than several hundred       1           MR. HIBEY: Great. Okay.
  2   times?                                               2           DEFENSE COUNSEL: But by all means,
  3           DEFENSE COUNSEL: Object to form.             3   go ahead.
  4   BY THE WITNESS:                                      4   BY MR. HIBEY:
  5       A. It probably would be more.                    5       Q. Mr. Kain, sorry about that
  6           DEFENSE COUNSEL: Form.                       6   interruption.
  7   BY MR. HIBEY:                                        7           If possible, can you tell us how many
  8       Q. All right. Same thing as it relates           8   times you believe you were in dusty conditions
  9   to the Eaton axles in the Eaton shoes that you       9   from working with Eaton shoes at Puerto Rico
 10   were talking about, could you tell us, was it       10   Marine between 1976 and 1981?
 11   more or less than a hundred times that you were     11           DEFENSE COUNSEL: Object to form.
 12   in dusty conditions from blowing out brake dust     12           DEFENSE COUNSEL: Object to the form.
 13   from Eaton axles and Eaton shoes?                   13   BY THE WITNESS:
 14       A. I'm sure it was.                             14       A. We had a whole -- worked a lot like
 15           DEFENSE COUNSEL: Objection, form.           15   that.
 16           DEFENSE COUNSEL: Object to form.            16   BY MR. HIBEY:
 17           MR. HIBEY: Okay. We only need one           17       Q. And if you had to put a number on it,
 18   objection and there is no form objection even       18   what would be the range of days between -- over
 19   proper there. So if you all can just do it one      19   the course of five or six years?
 20   at a time --                                        20           DEFENSE COUNSEL: Object to form.
 21           DEFENSE COUNSEL: Form objection --          21   BY THE WITNESS:
 22           MR. HIBEY: -- or you can have a             22       A. I can say -- I can't give you a
 23   running form objection to the question. I don't     23   number. I can just tell you it was a whole
 24   care.                                               24   bunch.
 25           DEFENSE COUNSEL: Mike, our agreement        25


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  1   does not permit you to consistently ask leading      1   BY MR. HIBEY:
  2   questions. You need to ask --                        2       Q. Okay.
  3            MR. HIBEY: That's not a leading             3       A. A lot.
  4   question. It's not a leading question. It has        4       Q. And that leads to just one final
  5   two options, more or less.                           5   question.
  6            DEFENSE COUNSEL: Mike, I think part         6           When you say a whole bunch, a lot,
  7   of the problem -- I know that you're getting         7   can you be a little more precise or exact what
  8   frustrated with the multiple objections. I think     8   you mean by that?
  9   part of the problem is the platform. There's a       9           DEFENSE COUNSEL: Object to form.
 10   delay and we're trying to make sure our             10   BY THE WITNESS:
 11   objections are lodged.                              11       A. I mean, it -- you know, it was -- you
 12            If you would consider agreeing to          12   know, we did it every day.
 13   reserving all objections including as to form, we   13   BY MR. HIBEY:
 14   might be able to forgo this.                        14       Q. Okay. Thank you.
 15            MR. HIBEY: I don't think you guys          15           Lastly, with respect to the Rockwell
 16   are going to stop, so I'm not going to agree to     16   axles and the Rockwell shoes, can you please give
 17   that. But I'm going to agree to the fact that       17   us a range of times, if at all, that you were
 18   when it's not a leading question, I don't need      18   present and in dusty conditions from blowing out
 19   five objections saying it is just because you       19   brake dust from Rockwell shoes and axles?
 20   don't like the question.                            20           DEFENSE COUNSEL: Object to the form.
 21            DEFENSE COUNSEL: Well, Mike, I can't       21   BY THE WITNESS:
 22   see who else is objecting. Nobody can see who       22       A. We -- we did it -- we did them every
 23   else is objecting, so we're all going to keep       23   day. They had four stalls there and dust was
 24   making objections. It's not going to solve the      24   blowing all around in there.
 25   problem.                                            25   BY MR. HIBEY:


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  1       Q. All right. Now --                             1   BY THE WITNESS:
  2           DEFENSE COUNSEL: Object to the form.         2        A. Utility, yeah.
  3   BY MR. HIBEY:                                        3   BY MR. HIBEY:
  4       Q. -- how often was Mr. Brindell present         4        Q. All right. All of these various
  5   in those dusty conditions from work on Fruehauf      5   brands of trailers, what type of brake work did
  6   shoes?                                               6   you perform on them?
  7           DEFENSE COUNSEL: Object to the form.         7        A. Brake jobs.
  8   BY THE WITNESS:                                      8        Q. Did you perform brake jobs similarly
  9       A. Pretty -- pretty -- pretty often.             9   to what you discussed at the beginning of this
 10   BY MR. HIBEY:                                       10   deposition?
 11       Q. What does that mean?                         11        A. Yes.
 12       A. A couple times a week anyway.                12        Q. Was it the same process wherein you
 13       Q. All right. And would your answer --          13   had to jack it up, take the wheels off, remove
 14   would your answer be the same for the dusty         14   the hub, remove the brake shoes, blow out the
 15   conditions created from working on Eaton shoes?     15   dust and replace the brake shoes?
 16           DEFENSE COUNSEL: Object to form.            16        A. Exactly.
 17           DEFENSE COUNSEL: Object to form.            17            DEFENSE COUNSEL: Object to form.
 18   BY THE WITNESS:                                     18            DEFENSE COUNSEL: Object to form.
 19       A. Same thing.                                  19   BY MR. HIBEY:
 20   BY MR. HIBEY:                                       20        Q. All right. And with respect to each
 21       Q. All right. And what about -- what            21   of those brands of trailers that you've
 22   about for the Rockwell shoes?                       22   mentioned, which includes now Lufkin, Fruehauf,
 23       A. Probably just as much. I mean, he            23   Great Dane, Wilson, Strick and Utility, could you
 24   was down there with us.                             24   tell us if any of those were trailers that you
 25       Q. All right. Thank you.                        25   worked on more frequently or less frequently or

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  1            Now, last piece I want to ask you           1   would there be a way for you to kind of organize
  2   about as it relates to brake work in the mechanic    2   that for us in any manner?
  3   shop is we talked about the axles and the shoes.     3            DEFENSE COUNSEL: Object to form.
  4   The next area I want to cover is the chassis and     4   BY THE WITNESS:
  5   trailers themselves.                                 5        A. Now, we just -- you know, we just
  6            Do you recall the manufacturers or          6   worked on them like when they was what we needed.
  7   the brand names of any of the trailers that you      7   Now, I think we had more Fruehauf than we had
  8   guys worked on?                                      8   anything.
  9        A. Oh, we had Lufkin, Fruehauf, Great           9   BY MR. HIBEY:
 10   Dane. I can't remember them all right now, but      10        Q. All right. And then earlier we were
 11   that's some of them that we worked on.              11   talking about three different brands of axles and
 12        Q. All right. And I'm going to ask you         12   three different brands of shoes that you
 13   about a few others.                                 13   associated with those axles.
 14            Did you work on any Wilson trailers?       14            Are you able to associate particular
 15        A. Yes.                                        15   axles with particular trailers? So, for example,
 16            DEFENSE COUNSEL: Object to form.           16   could you tell us whether or not, say, the Lufkin
 17   BY MR. HIBEY:                                       17   trailers had Eaton, Rockwell or Fruehauf axles?
 18        Q. Did you work on any Strick trailers?        18        A. It would probably have --
 19            DEFENSE COUNSEL: Objection, form.          19            DEFENSE COUNSEL: Object to form.
 20   BY THE WITNESS:                                     20   BY THE WITNESS:
 21        A. Strick, yeah.                               21        A. It would probably have the Rockwell
 22   BY MR. HIBEY:                                       22   axle.
 23        Q. And did you work on any Utility             23   BY MR. HIBEY:
 24   trailers?                                           24        Q. Okay. And what about -- I'm assuming
 25            DEFENSE COUNSEL: Object to form.           25   a Fruehauf trailer, what kind of axles did those


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  1    have?                                                1   affidavit that everyone in this case has had a
  2         A. Fruehauf, they had their own axles.          2   chance to take a look at.
  3         Q. All right. What about Great Dane             3            Do you recall signing a document
  4    trailers, do you know what kind of axles they        4   in -- that was used, I guess, in this case, but
  5    had?                                                 5   it was signed, I think, remotely back a couple
  6         A. It could be --                               6   months ago arising out of a -- statements of your
  7             DEFENSE COUNSEL: Object to form.            7   work with Mr. Brindell.
  8    BY THE WITNESS:                                      8            Do you remember that document?
  9         A. It could be either Rockwell or Eaton.        9       A. I do.
 10    BY MR. HIBEY:                                       10       Q. Okay. And it was an affidavit that
 11         Q. And what about Wilson trailers, do          11   was actually -- it looks like it was signed on
 12    you know whose axles were underneath the Wilson     12   the 29th of April 2020.
 13    trailers?                                           13            And have you had a chance to take a
 14         A. Oh, Rockwell or Eaton because they --       14   look at that document again recently?
 15    they didn't make their own axles. They bought       15       A. Not really recently, but I read it.
 16    axles.                                              16   I know what it said.
 17         Q. What about Strick trailers, do you          17       Q. Okay. Well, I'm going to go ahead
 18    know whose axles were underneath the Strick         18   and --
 19    trailers?                                           19       A. I got a copy of it.
 20         A. Probably, like I said, the same two,        20       Q. All right. Well, do you want -- I
 21    either -- you know, the only one that had the       21   can show you the document real quick. We can
 22    Fruehauf axle was the Fruehauf trailer because      22   take a look at it together.
 23    they made their own axles and their own trailers    23            DEFENSE COUNSEL: I've got to object.
 24    and everything.                                     24   He should not be shown this document before it's
 25         Q. Okay. And lastly for Utility, would         25   being examined regarding his recollection of the

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   1   you agree they did not have -- you don't believe     1   document. It can't be used to refresh his
   2   they had Fruehauf axles?                             2   recollection in the absence of being asked the
   3         A. No.                                         3   questions first.
   4         Q. And what axles do you think Utility         4            MR. HIBEY: It's not being used to
   5   trailers had?                                        5   refresh his recollection. It's being used for
   6             DEFENSE COUNSEL: Object to form.           6   him to identify it.
   7   BY THE WITNESS:                                      7            DEFENSE COUNSEL: Okay. Can I have
   8         A. Like I said, either Eaton or                8   a --
   9   Rockwell.                                            9   BY MR. HIBEY:
  10   BY MR. HIBEY:                                       10        Q. Mr. Kain --
  11         Q. Okay. All right. Mr. Kain, I may           11            DEFENSE COUNSEL: -- continuing
  12   come back and ask you some questions later on       12   objection to all -- all questions regarding the
  13   about the axles, brakes and trailers, but I don't   13   affidavit so that I can be quiet during your
  14   want to overdo it, so I think that's all I'm        14   examination?
  15   going to ask you on that stuff for right now and    15            MR. HIBEY: No, you can't.
  16   I'll let these defense attorneys bother you about   16            DEFENSE COUNSEL: Okay. Fine.
  17   some of that in a minute. And if they don't         17   BY MR. HIBEY:
  18   bother you too much, I'll come back at the end      18        Q. Mr. Kain, I'm showing you what is --
  19   and finish up.                                      19   at the top here it says Affidavit.
  20             There's one other area that I wanted      20            Can you see that document?
  21   to cover with you and it relates to work outside    21        A. Yes, sir, I can.
  22   of the mechanic shop down there at Puerto Rico      22        Q. All right. And down here at the
  23   Marine, okay, and we'll just briefly touch on       23   bottom, I've scrolled down, that's your signature
  24   that.                                               24   notarized --
  25             You previously provided a signed          25        A. That's my signature.


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  1       Q. All right. Mr. Kain, have you had a           1   Taylor-Seidenbach performing maintenance work
  2   chance to take a look at this document since         2   and/or insulation repair work onboard these same
  3   you've signed it?                                    3   ships at the Port of New Orleans?
  4       A. Oh, yeah. Quite a few times.                  4       A. Yes.
  5       Q. All right. Is this document                   5            DEFENSE COUNSEL: Object to form.
  6   accurate?                                            6            DEFENSE COUNSEL: Object to form.
  7           DEFENSE COUNSEL: Object to the form.         7            MR. HIBEY: All right. Mr. Kain, I
  8           DEFENSE COUNSEL: Object to form.             8   do not have any other questions for you at this
  9   BY THE WITNESS:                                      9   time. Thank you.
 10       A. Yes, as far as I'm concerned.                10            MR. KINLER: This is Doug Kinler. I
 11   BY MR. HIBEY:                                       11   can go if everybody's good with that.
 12       Q. Okay. And is this document based on          12            MR. HIBEY: Go ahead, Doug.
 13   your personal knowledge and information?            13            MR. KINLER: Thank you, Mike.
 14           DEFENSE COUNSEL: Object to the form.        14               [EXAMINATION]
 15   BY THE WITNESS:                                     15   QUESTIONS BY MR. KINLER:
 16       A. Exactly.                                     16       Q. Mr. Kain, I'm turning on my camera.
 17           MR. HIBEY: All right. I'm going to          17   Can you see me? I'm waving.
 18   take this down.                                     18       A. Yes, I sure can.
 19           We will mark the affidavit as               19       Q. Okay. I've never done a deposition
 20   Exhibit 2 to this deposition. We'll mark the        20   with this format, so I can't see anybody else
 21   notice of deposition as Exhibit 1 to the            21   other than you. But if for any reason you
 22   deposition.                                         22   don't --
 23           (Kain Exhibit No. 1 marked.)                23            MR. HIBEY: Doug, we've done this
 24           (Kain Exhibit No. 2 marked.)                24   before, you and I.
 25                                                       25            MR. KINLER: On this format?

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  1   BY MR. HIBEY:                                        1           MR. HIBEY: Yes, sir. I wish I could
  2       Q. All right. Hey, Mr. Kain, can you             2   see you, but I can't.
  3   see me again?                                        3           MR. KINLER: Okay. Was that the
  4       A. What's that?                                  4   Deaville case?
  5       Q. All right. Can you see me again?              5           MR. HIBEY: Yes, it was.
  6       A. Yes, I can.                                   6           MR. KINLER: Okay. I didn't realize
  7       Q. All right. So what I wanted to ask            7   that. All right. Well, I guess with the world
  8   you is, were there ever any occasions out at         8   we're living in now, my memory is kind of shot.
  9   Puerto Rico Marine between 1976 and 1981 when you    9           MR. HIBEY: Quite a few months ago.
 10   and Mr. Brindell had to perform container           10   It was last year now. It's crazy.
 11   maintenance work onboard ships at the Port of New   11           MR. KINLER: Absolutely. Time
 12   Orleans?                                            12   doesn't mean anything anymore now, you know?
 13       A. Yes.                                         13   BY MR. KINLER:
 14       Q. All right. And when you performed            14       Q. Okay. Mr. Kain. Can you hear me
 15   this work onboard ships at the Port of New          15   okay, sir?
 16   Orleans, do you ever recall seeing other            16       A. Yes, I can.
 17   contractors performing maintenance work or          17       Q. All right. I'm going to ask you just
 18   insulation work on those same ships?                18   a few questions and I hope I don't take too much
 19       A. Yes.                                         19   of your time, but if you just don't mind bearing
 20       Q. All right. And are you familiar with         20   with me. Okay?
 21   the name Eagle or Taylor-Seidenbach?                21       A. Sure.
 22       A. Yes.                                         22       Q. All right. I want to first off start
 23           DEFENSE COUNSEL: Object to the form.        23   with you said that you started at Puerto Rico
 24   BY MR. HIBEY:                                       24   Marine.
 25       Q. And do you recall seeing Eagle and/or        25           Can I just -- if I call it Puerto


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   1   Rico Marine, do you understand what I'm talking      1           So if you can tell me from the time
   2   about?                                               2   you graduated high school until you started at
   3       A. Right.                                        3   Puerto Rico Marine, can you tell me what type of
   4       Q. Okay. You started there in 1971; is           4   jobs you had?
   5   that right?                                          5       A. Welding.
   6       A. Right.                                        6       Q. Okay. And what -- what type of
   7           MR. KINLER: I tell you what,                 7   locations were you doing welding?
   8   everybody, if you don't mind, I'm hearing a lot      8       A. I worked for Avondale Shipyard --
   9   of coughing and things. Can everybody possibly       9       Q. Okay.
  10   mute their microphones because I don't know if      10       A. -- for a while.
  11   Mr. Kain is hearing me.                             11       Q. Okay.
  12           DEFENSE COUNSEL: My apologies.              12       A. And then I went to work for -- I went
  13           MR. KINLER: No worries, thank you.          13   to work for Fruehauf trailers down a ways
  14   BY MR. KINLER:                                      14   Shrewsbury Road in Jefferson Parish.
  15       Q. Okay. So -- I don't recall if you            15       Q. Okay.
  16   answered the question, but you started at Puerto    16       A. And that's where I started doing
  17   Rico Marine in '71, correct?                        17   brake work and everything.
  18       A. (Audio disruption.)                          18       Q. So Fruehauf had an office or
  19       Q. I'm not hearing you, Mr. Kain.               19   something in Jefferson Parish?
  20       A. Correct.                                     20       A. Down a ways Shrewsbury Road they had
  21       Q. Okay. You were born in 1949, so you          21   a shop.
  22   were about 22 years old when you started at         22       Q. Okay. And, you know, I didn't tell
  23   Puerto Rico Marine?                                 23   you this, Mr. Kain. I represent Eagle, so I'm
  24       A. Correct.                                     24   eventually going to have some questions about
  25       Q. All right. Can you tell me, where            25   that. Okay? I should have told you that from


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  1    did you grow up?                                     1   the get-go. Okay?
  2        A. Metairie, Louisiana.                          2       A. All right.
  3        Q. Okay. Where did you go to high                3       Q. All right. So let me go back.
  4    school?                                              4            Avondale, can you tell me were you
  5        A. East Jefferson.                               5   working directly for Avondale?
  6        Q. What year did you graduate?                   6       A. Yeah.
  7        A. Oh, I think it was around '69, '68,           7       Q. Was that your first job out of high
  8    something like that.                                 8   school?
  9        Q. Well, if you were born in '49, do you         9       A. Right.
 10    think you were around maybe 18 years old when you   10       Q. Okay. And how long do you think you
 11    graduated?                                          11   worked at Avondale for?
 12        A. No. I was 20.                                12       A. Not real long. Maybe a month.
 13        Q. You were 20 when you graduated.              13       Q. Okay.
 14    Okay.                                               14       A. And then Fruehauf called me because I
 15            Did you have any other education            15   had put in an application at Fruehauf.
 16    beyond East Jefferson High School?                  16       Q. Okay. And how long did you work for
 17        A. No.                                          17   Fruehauf?
 18        Q. Okay. What did you do after you              18       A. Three and a half years.
 19    graduated from high school? Did you start           19       Q. Okay. And is that how you learned
 20    working or did you go into the military or --       20   how to work on trailers and doing these brake
 21        A. No. I started working.                       21   jobs and things like that that we've talked about
 22        Q. Okay. Can you tell me -- I don't             22   earlier today?
 23    have any of your work records, so I want to try     23       A. Right.
 24    to get some background on you, what you did         24       Q. It didn't pick up. Can you say the
 25    before you started at Puerto Rico Marine.           25   answer again, please?


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  1       A. That's how I learned how to work on           1       A. Yes, I do. He worked with us.
  2   that.                                                2       Q. Okay. Very good.
  3       Q. Okay. When you were in high school,           3           Are you aware that Mr. Polito gave a
  4   did you do any auto mechanic work or anything        4   deposition in Mr. Brindell's case?
  5   like that, did you know about how to change          5       A. No.
  6   brakes or anything like that?                        6       Q. Okay. So you've never read that
  7       A. No.                                           7   deposition?
  8       Q. Okay. All right. So Fruehauf for              8       A. (Audio disruption.)
  9   three and a half years and then what happened?       9       Q. I'm sorry. It didn't pick up. Can
 10   Did you start working at Puerto Rico or did you     10   you say it again?
 11   have another job?                                   11       A. No, I haven't. I haven't even talked
 12       A. Exactly.                                     12   to Keith.
 13       Q. And so it is correct you went from           13       Q. Okay. You mentioned that -- well,
 14   Fruehauf to Puerto Rico?                            14   let me ask you this.
 15       A. That's correct.                              15           Is the first time that you met
 16       Q. Okay. And then you stayed at Puerto          16   Mr. Brindell is when he started working at Puerto
 17   Rico until it closed, you said, sometime in the     17   Rico Marine in '76?
 18   '90s or maybe a little later.                       18       A. Oh, no.
 19       A. Yes.                                         19       Q. Okay. When did you meet him?
 20       Q. Did you retire after that or did you         20       A. I got Jack the job.
 21   do any additional work?                             21       Q. I'm sorry. Say that again.
 22       A. No. I went to work and -- in fact,           22       A. I got Jack the job.
 23   when they closed and everything, I went to work     23       Q. You got Mr. Brindell the job?
 24   with a friend of mine doing siding.                 24       A. Yes.
 25       Q. Okay.                                        25       Q. Okay. How did you know Mr. Brindell?

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  1       A. And then I wound up going back -- I           1   When is the first time you met him?
  2   don't remember when it was, but I wound up going     2       A. When we was kids.
  3   back to New Orleans Depot doing trailer and brake    3       Q. All right. Did you all grow up
  4   work again.                                          4   together?
  5       Q. Okay. Are you retired today?                  5       A. For a while and then they moved --
  6       A. Yes, I am.                                    6   his parents moved to St. Louis.
  7       Q. When did you fully retire?                    7       Q. Okay. Did Mr. Brindell move to
  8       A. I was 55 years old when I retired.            8   St. Louis as well?
  9   The union doctor said I couldn't do that kind of     9       A. Oh, yeah. He was a kid. He went
 10   work anymore.                                       10   with his parents.
 11       Q. And why is that?                             11       Q. Okay. Where did y'all -- when you
 12       A. Well, my back --                             12   knew him as a child, where were y'all living?
 13       Q. Okay.                                        13       A. In Metairie.
 14       A. -- my shoulders.                             14       Q. Okay. Do you know how long
 15       Q. I'm just taking notes as you're              15   Mr. Brindell was in St. Louis for?
 16   talking. So -- all right. Let me ask you this.      16       A. No, because when he came back, he
 17           Are you represented by an attorney?         17   moved out in Kenner and I didn't talk to him for
 18   Do you have an attorney?                            18   a long time. In fact, he went in the Navy and
 19       A. No.                                          19   when he came out of the Navy is when I came -- I
 20       Q. No, sir. Very good.                          20   wound up talking to him again because he moved
 21           Have you ever been diagnosed with an        21   back in Metairie close to where I was living.
 22   asbestos-related disease?                           22       Q. Okay. Do you recall were y'all
 23       A. I've never been tested.                      23   adults by that time, young adults?
 24       Q. Okay. All right. Do you know a man           24       A. Yeah.
 25   by the name of Jay Keith Polito or Polito?          25       Q. All right. So you're aware that


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  1   Mr. Brindell served in the Navy?                     1   something?
  2       A. Right.                                        2       Q. I don't know.
  3       Q. Do you know anything about his naval          3       A. I don't know either. I don't know.
  4   service at all?                                      4       Q. All right. The address is --
  5       A. Not really, other than he went to             5       A. Because I remember the name Michelli,
  6   Vietnam.                                             6   but I thought that was for scales or -- you know,
  7       Q. Okay. Do you know -- I have here              7   calibrating scales or something.
  8   Mr. -- I'm looking at Mr. Brindell's Social          8       Q. Okay. The address for that company
  9   Security earnings statement. It lists all of his     9   is out of Harahan, Louisiana.
 10   jobs that he had. It lists his time in the Navy     10            Does that help you at all trying --
 11   and, of course, it lists his time for Puerto Rico   11       A. No.
 12   Marine.                                             12       Q. Okay. How about a company in '68
 13           Let me just ask you just about a            13   called Bar, B-a-r, Equipment, have you ever heard
 14   couple of these other employers to see if you       14   of that?
 15   know anything about them, maybe Mr. Brindell told   15       A. No.
 16   you about these. Okay? Let me just --               16       Q. Okay. There's a company in '74 and
 17       A. I know he worked for -- I knew he            17   '75. It looks like he worked for about a year
 18   worked for some kind of amusement company, like,    18   and a half. I guess these are initials, RIH,
 19   you know, working on pinball machines and stuff     19   Incorporated.
 20   like that.                                          20            Have you ever heard of that company?
 21       Q. Sure. I see he worked for TAC                21       A. No.
 22   Amusement from '69 to '72. That's where you         22       Q. Okay. And then after he left Puerto
 23   recall he worked on pinball machines and things?    23   Rico Marine in '81, he worked for a large part of
 24       A. Yeah.                                        24   the 1980s for a company called Flexi-Van Leasing.
 25       Q. Did he tell you that?                        25            Do you know anything about that?


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  1        A. Yeah.                                        1       A. I knew about that.
  2        Q. Okay. He also worked from '72 to '74         2       Q. What did he do for that, do you know?
  3   for Wurlitzer Distributing Corporation.              3       A. I think he used to write up damage on
  4           Do you know anything about that?             4   equipment.
  5        A. Yeah. He had said something, but             5       Q. Okay. Was that -- was that a job in
  6   it -- what was -- that was a music place or          6   the New Orleans area, do you know?
  7   something too?                                       7       A. Yeah. I think that was by the
  8        Q. You know, I know Wurlitzer is a              8   railroad yard or somewhere.
  9   manufacturer of like pianos and stuff. I think       9       Q. Okay. In the late '80s he worked for
 10   that's what they do. So I don't know if that is     10   Frenchman Truck & Trailer.
 11   what it is.                                         11           Do you know anything about that?
 12        A. It might have been jukeboxes.               12       A. No.
 13        Q. Okay. Do you know what he did -- do         13       Q. Okay. Late '80s and into 1990 he
 14   you know what he did for that company?              14   worked for a company called CSX Services.
 15        A. What's that?                                15           Do you know anything about that?
 16        Q. Do you know what he did for that            16       A. Yes. That's a railroad. I guess he
 17   company?                                            17   wrote up equipment there too.
 18        A. No. We didn't get into talking about        18       Q. Did you ever talk to him about his
 19   jobs.                                               19   job for that company?
 20        Q. Okay. Let me just give you a couple         20       A. No.
 21   more names. He worked for a company called G.T.     21       Q. Okay. And then it looks like he
 22   Michelli, M-i-c-h-e-l-l-i, for a short time in      22   worked in the early '90s for Wadleigh,
 23   '68 and '69.                                        23   W-a-d-l-e-i-g-h, Offshore, Incorporated.
 24           Have you ever heard of that company?        24           Do you know anything about that
 25        A. Yes, I did. That was what, scales or        25   company?


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  1      A. No.                                            1       A. No.
  2      Q. Okay. And then from '91 to '94 he              2       Q. All right. And then the last -- two
  3   worked for Caronnas, C-a-r-o-n-n-a-s, Seafood?       3   more. Excel, E-x-e-l, Incorporated, from 2006 to
  4      A. He owned it.                                   4   2010.
  5      Q. Okay. Was that a restaurant?                   5           Do you know anything about that?
  6      A. It was a seafood -- not a restaurant,          6       A. No.
  7   but they sold seafood.                               7       Q. All right. And then from 2008 and
  8      Q. Okay. And then from '95 until 2002             8   2009 he worked for Prudential Insurance Company
  9   he worked for a company Slidell Equipment            9   of America.
 10   Company --                                          10           Do you know what he did for that
 11      A. Oh, yeah. That was --                         11   company?
 12      Q. I'm sorry. Go ahead.                          12       A. No. I didn't know he worked for an
 13      A. That was selling -- they would --             13   insurance company.
 14   they would re -- he worked for the company, they    14       Q. Okay. All right. So did you remain
 15   would go get -- like a restaurant was selling out   15   personal friends with Mr. Brindell after your
 16   and they would go buy all the equipment and then    16   employment at Puerto Rico Marine?
 17   bring it back there and they'd redo it and get it   17       A. Yeah.
 18   ready and resell it.                                18       Q. Okay. Did y'all get together and
 19      Q. Okay. Just a couple more.                     19   socialize?
 20          Pavalor, P-a-v-a-l-o-r,                      20       A. Yeah. We used to fish and all, hunt
 21   Merchandising, he worked for that company in 2000   21   together.
 22   and 2001.                                           22       Q. Okay. Let me ask you -- let me ask
 23          Do you know anything about that              23   you about the affidavit. Okay?
 24   company?                                            24           I understand that you signed this
 25      A. No, sir.                                      25   affidavit on April 29th, 2020.

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  1       Q. Okay. 2002 and 2003, Mr. Brindell             1        A. Correct.
  2   worked for New Orleans Depot Services.               2       Q. My question for you is, when were you
  3           Do you know anything about that?             3   first contacted about this case?
  4       A. Yes.                                          4        A. Oh, man. I don't know.
  5       Q. Can you tell me what that is?                 5       Q. Do you -- using the date of your
  6       A. I was working there after I -- after          6   affidavit as a reference point, can you tell me
  7   I left PRMMI, Puerto Rico Marine.                    7   how far back before you signed this affidavit
  8       Q. Did y'all work together at this               8   that you were contacted?
  9   company?                                             9        A. Oh, I don't think -- I think it was
 10       A. Yes.                                         10   right in that time, within a week of that time.
 11       Q. Okay. Well, tell me about that.              11       Q. Okay. And who contacted you,
 12   What did y'all do?                                  12   Mr. Kain?
 13       A. Well, I was a mechanic. Jack was             13        A. I think it was Mike. Mike was the
 14   writing up the equipment coming in for damage.      14   one that contacted.
 15       Q. Okay. What type of equipment are you         15       Q. Mr. Hibey who just questioned you
 16   talking about?                                      16   earlier?
 17       A. Chassis.                                     17        A. Yes.
 18       Q. Okay. Do you recall about how long           18       Q. Okay. And you understand that that's
 19   Mr. Brindell worked for this company?               19   Mr. Brindell and the family's lawyer, do you
 20       A. Not really. He didn't work that long         20   understand that?
 21   because he got laid off.                            21        A. I understand that now, yeah.
 22       Q. Okay. The next employer is Venture,          22       Q. Yes, sir. Okay.
 23   V-e-n-t-u-r-e, Logistics from 2003 to 2005.         23           So how did Mr. Hibey contact you?
 24           Do you know anything about that             24   Was it by phone?
 25   company?                                            25        A. Yes. But Jack's older son called me


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  1   first and asked me if I would talk to this           1   would sign that affidavit and I said, yeah. He
  2   lawyer.                                              2   explained -- kind of explained what was going on
  3       Q. Okay.                                         3   and that was it.
  4       A. And I said, yeah, because I -- you            4        Q. Okay. Did he ask you -- you have two
  5   know, that's his son, little Jack or John.           5   company names in this affidavit, Eagle and
  6       Q. Do you recall about how much time             6   Taylor-Seidenbach.
  7   passed between your phone call with                  7           Did he ask you specifically about
  8   Mr. Brindell's son and the time that you executed    8   those companies?
  9   this affidavit? Was it just a matter of a week?      9        A. Well, he asked me if they had
 10       A. It didn't -- about a week, yeah. All         10   companies that did any kind of work on the ship
 11   that went down at one time.                         11   and I told him, yeah, they had another truck that
 12       Q. Okay. So Mr. Hibey called you on the         12   used to pull up -- it was a truck pull up and
 13   phone?                                              13   sometimes it was pulling a welder machine and
 14       A. Right.                                       14   sometimes it was pulling a big compressor. But I
 15       Q. Okay. Can you tell me how many               15   never got involved with all of that because that
 16   conversations you had with Mr. Hibey either by      16   wasn't my job. But when I would go back there --
 17   phone or some other method?                         17   if I had to go on a ship or something, I go back
 18       A. One.                                         18   there and you would see this pulled up by the
 19       Q. And let me ask you this. Let's do it         19   ship and they was working on it.
 20   before you executed the affidavit, let's take       20        Q. This compressor company you're
 21   that time period, how many times did you speak to   21   talking about?
 22   Mr. Hibey?                                          22        A. It was a repair. They did all of
 23       A. Let me say I talked to him when they         23   that on the ship, I guess.
 24   got me to do that and then when -- when he told     24        Q. Okay.
 25   me we was going to do this today with this thing    25        A. They did welding. They did, I guess,


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  1   here. Twice.                                         1   everything that had to be done on a ship.
  2       Q. Two times. Very good.                         2        Q. All right. And you don't know the
  3           Did you speak to anyone else at              3   name of that company, you can't recall?
  4   Mr. Hibey's law office?                              4        A. The what?
  5       A. No.                                           5        Q. You can't recall --
  6       Q. So the only person you've spoken to           6        A. The name --
  7   regarding this case as far as an attorney is         7        Q. You're talking about a company that
  8   Mr. Hibey?                                           8   did compressor work and welding on ships.
  9       A. Yes.                                          9        A. Sure.
 10       Q. And y'all had two conversations?             10        Q. Do you know the name of that company?
 11       A. Right.                                       11        A. Not really.
 12       Q. Okay. I'm sorry. Were you finished?          12        Q. All right. So what I want to ask you
 13       A. Yeah, I'm finished.                          13   then is did Mr. Hibey tell you about the names --
 14       Q. Okay. All right. So let's talk               14   tell you the names Eagle and Taylor-Seidenbach?
 15   about the first time that y'all spoke and that      15        A. Well, that was a truck that was
 16   was before you executed this affidavit. Okay?       16   pulled up on the road and I seen -- on the wharf
 17       A. Uh-huh.                                      17   up there, but I'm pretty sure that was the name
 18       Q. All right. Can you tell me -- I want         18   that was on there.
 19   to know about the conversation. Can you tell me     19        Q. Which name are you talking about?
 20   what Mr. Hibey told you?                            20        A. Eaton -- Eagle.
 21       A. He just asked me a few questions             21        Q. Okay. So you said you saw a truck on
 22   about work and what happened.                       22   a wharf and you think it had the name Eagle on
 23       Q. Okay.                                        23   it?
 24       A. He never -- he never told me                 24        A. Right. I didn't -- I didn't really
 25   anything, you know, and then he asked me if I       25   pay a lot of attention to it. I mean, that's --


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  1   that's really -- that sounds familiar to me, you    1   he knew the work, he would help us so we could
  2   know, with the Eagle and all like that. But --      2   get out of there and punch out and go home.
  3   because I'm not -- yeah, I kind of remember         3        Q. And you're talking about the mechanic
  4   seeing it on the door. It had an insignia or        4   work?
  5   something on the door.                              5        A. Right.
  6       Q. Okay. Do you know anything else              6        Q. Okay. Do you think -- you know,
  7   about that company other than that you think you    7   Mr. Polito's recollection was that at least by
  8   may have saw a truck with an insignia on a door?    8   late '79, at that point Mr. Brindell was a
  9       A. Yes. They work on the -- they                9   supervisor.
 10   work -- they work on the ship.                     10            Do you agree with that or disagree
 11       Q. All right. So I'm going to talk to          11   with that?
 12   you about that in a second. Let -- I'll get back   12        A. I really couldn't answer that because
 13   to that in one second.                             13   I don't know, you know, when he -- when he took
 14            Let me ask you, when Mr. Polito           14   that job.
 15   was -- gave a deposition, and you know who         15        Q. Okay. Mr. Polito's recollection of
 16   Mr. Polito is, correct?                            16   seeing Mr. Brindell -- when he saw Mr. Brindell
 17       A. Right.                                      17   there, he said that Mr. Brindell wore a coat and
 18       Q. Okay. He said that he worked at             18   tie to work.
 19   Puerto Rico Marine from the latter part of '79     19            Do you recall that?
 20   and then through the '80s. And so my -- what he    20        A. Jack never wore a coat and tie unless
 21   was questioned about was during the time frame     21   he had to go -- unless he had to go to a meeting.
 22   that he worked with Mr. Brindell there, so that    22        Q. Okay. So when he was a supervisor,
 23   would have been from '79 to '81.                   23   you don't recall Mr. Brindell coming to work in a
 24            Do you understand that?                   24   coat and tie and walking around the area with a
 25       A. Yeah.                                       25   tie, shirt and slacks? You don't recall that?


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  1       Q. Okay. What Mr. Polito said was               1       A. No. And, like I said, unless he was
  2   during that time frame, that Mr. Brindell was a     2   going to a meeting. Jack was half the time on
  3   supervisor at Puerto Rico Marine.                   3   the floor with us.
  4            Do you recall that?                        4       Q. Do you recall if he had an office
  5       A. Yes.                                         5   when he was a supervisor?
  6       Q. Okay. When Mr. -- you said you               6       A. Yes, he had an office.
  7   helped him get a job at Puerto Rico Marine.         7       Q. Okay.
  8       A. Right.                                       8       A. He didn't stay there.
  9       Q. Did -- when Mr. -- when Mr. Brindell         9       Q. Mr. Polito gave a pretty good
 10   was hired in '76, did -- was he hired on as a      10   geographic description of the Puerto Rico Marine
 11   supervisor?                                        11   terminal, and I'm not going to run through that
 12       A. No. He was hired on as a mechanic.          12   with you again. But what Mr. Polito said was
 13       Q. Okay.                                       13   that from the water's edge -- well, let me
 14       A. Worked his way up.                          14   backtrack.
 15       Q. I'm sorry?                                  15            The terminal was located on the
 16       A. He worked his way up.                       16   Industrial Canal, correct?
 17       Q. Okay. Tell me how long did he work          17       A. Right.
 18   as a mechanic before he went into a supervisor     18       Q. Okay. So what Mr. Polito said was
 19   role, if you can recall?                           19   that from the water's edge until you got
 20       A. Oh, Lord. Four or five years, I             20   to the -- he called them the shops, it was about
 21   guess. But he was exposed to it after that         21   2,000 yards.
 22   because like if we worked overtime, he had to be   22            Does that sound right to you?
 23   there and he wasn't on the clock like we was. He   23       A. I want to say that was an 80-acre
 24   had to be there while we was working. So what he   24   tract of land.
 25   would do is come down there and help us because    25       Q. 80 acres? Were there -- were there


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  1   roads leading from the shop to the water?            1   other one now, but there was three of them all
  2       A. Well, they had asphalt -- the whole           2   the same size, all built the same way.
  3   yard back there was asphalt and it was striped       3       Q. Okay. I guess these were large cargo
  4   off for chassis -- I mean, for trailers that was     4   ships; is that right?
  5   going to go on the ship.                             5       A. Right.
  6       Q. Gotcha. Okay. How many --                     6       Q. Okay. And --
  7           MR. KINLER: I'm hearing some noise           7       A. Containerized. It's containerized
  8   here. I wonder if everybody can possibly mute        8   shipping.
  9   their phones. I'm getting a lot of noise.            9       Q. Containerized shipping. Okay.
 10   BY MR. KINLER:                                      10           Do you know how old the ships were?
 11       Q. How many docks did Puerto Rico Marine        11       A. Old.
 12   have? Was it just -- was it just one dock or was    12       Q. Okay.
 13   it multiple?                                        13       A. They were old. I don't know how old,
 14       A. Oh, we only had one dock in New              14   but they was old.
 15   Orleans.                                            15       Q. So you said that -- and I may have
 16       Q. Okay.                                        16   written this down wrong. One of the names of the
 17       A. On the Industrial Canal.                     17   ship, you said Mae West, is that what you said?
 18       Q. All right. And how many ships could          18       A. Oh, no. Ponce --
 19   be moored to that dock at one time?                 19       Q. Ponce?
 20       A. Well, they only moored one at one            20       A. -- and Mayaguez.
 21   time because they could only unload one at one      21       Q. Mayaguez. Do you know how to spell
 22   time.                                               22   that?
 23       Q. Gotcha. Okay. So at any given time,          23       A. No.
 24   the most -- the most ships that were there would    24       Q. Okay. All right. So they were
 25   have been one if a ship was there?                  25   containerized ships. Mr. Polito described that

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  1       A. One.                                          1   to get the trailers on, there were two methods.
  2       Q. All right. Gotcha. Okay. I'm just             2   Either they were driven on -- do you recall?
  3   checking things off my notes, Mr. Kain.              3       A. Yes, but that's a different ship.
  4            And I'll tell you, Mr. Kain, if you         4   That's when they went RoRo. What I'm talk --
  5   ever -- if you need to take a break or, you know,    5   what we was talking about was LoLo. They pick it
  6   stretch your legs, you just let me know. Okay?       6   up and put it on -- the container and put it on
  7       A. All right.                                    7   the ship. They stack them. The RoRo boat, they
  8       Q. All right. Let's talk about the               8   had two ramps and they drove the whole trailer up
  9   ships themselves.                                    9   on the ship.
 10            Who owned the ships that were sending      10       Q. Okay. Is that one of these three
 11   the trailers out to Puerto Rico and then back,      11   ships that you talked about, one of those was --
 12   who owned those ships?                              12       A. No. They -- whatever they --
 13       A. The Puerto Rican government.                 13   whenever they changed that ship -- I mean, that
 14       Q. Okay. Can you tell me -- because I           14   operation from LoLo to RoRo, they just kept the
 15   don't know anything about this at all, Mr. Kain.    15   names of the ships but a different ship because
 16   Can you tell me how large of a ship they were?      16   you had to have a different vessel to drive the
 17   Were they different sizes or...                     17   trailer onto the ship.
 18       A. No. They had three of them. They             18       Q. All right. Let me ask you -- let me
 19   were -- I think they had like a thousand            19   kind of narrow it down. Let me ask you
 20   containers.                                         20   specifically about the '76 to '81 time frame.
 21       Q. Okay. So they were dealing with              21   That's when Mr. Brindell worked there.
 22   pretty much three different ships?                  22            Do you recall the type of ships that
 23       A. Yeah, but only one at a time. We had         23   would have been either taking out cargo or
 24   three large ships. It was Mayaguez, the Ponce       24   bringing it back onto that dock?
 25   and -- and let me think. I can't think of the       25       A. It worked both ways anyway.


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  1       Q. Say it again?                                 1       Q. Okay. I'm just checking things off
  2       A. It went both ways anyway. They                2   my notes, Mr. Kain, just if you don't mind
  3   load -- when the ship came in, they took off         3   bearing with me.
  4   loads and they put loads on. So it went both         4           Mr. Polito, when he was asked -- he
  5   ways. It wasn't just empties coming in. It           5   mentioned your name and he said that you were the
  6   was -- well, it was empties, but they had loads      6   shop foreman when he worked there.
  7   on the boat too. But everything that went back       7           Does that make sense to you?
  8   on that boat was loads.                              8       A. Lead mechanic.
  9       Q. Sure. And did they have -- between            9       Q. Lead mechanic. Okay.
 10   '76 and '81, did Puerto Rico Marine also use the    10           All right. So let's talk about the
 11   type of ship, and I don't recall exactly what you   11   affidavit. Okay?
 12   called it, but the type that you would drive on     12       A. Uh-huh.
 13   the trailers? Was that used between '76 and '81?    13       Q. So you spoke to Mr. Hibey prior to
 14       A. I'm not sure. It might have been             14   executing the affidavit.
 15   close to the end because I don't remember when      15           Did you write this affidavit
 16   they did that, really.                              16   yourself, meaning did you sit at a computer and
 17       Q. Okay. But they -- and on the ships           17   type this out?
 18   where the trailers were stacked, I guess I'm        18       A. Oh, no.
 19   assuming they were stacked with some type of        19       Q. Okay. Who did that, do you know?
 20   crane?                                              20       A. No, I really don't know because it
 21            DEFENSE COUNSEL: Object to the form.       21   was -- well, it was done on a computer. I'm
 22   BY THE WITNESS:                                     22   sorry.
 23       A. Yes, a big -- two big --                     23       Q. Okay. Was it done on your computer,
 24            DEFENSE COUNSEL: His testimony is          24   you typed it yourself or did -- was it sent to
 25   these were containers, not trailers.                25   you?


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  1   BY MR. KINLER:                                       1       A. No, no. I don't even know how to use
  2       Q. I'm sorry. Containers.                        2   a computer.
  3       A. Containers, right.                            3       Q. Okay. Do you own a computer?
  4       Q. And were they stacked by a crane?             4       A. My wife does. I don't -- I don't use
  5       A. (Audio disruption.)                           5   it.
  6       Q. You didn't come through, Mr. Kain.            6       Q. Understood. Do you know how the
  7   I'm sorry.                                           7   affidavit got to your house? Was it e-mailed to
  8       A. Yes, they were stacked with a crane.          8   you? Was it mailed to you, do you recall?
  9       Q. All right. Now, Mr. Polito recalled           9       A. No. I think it was -- it was done on
 10   when he was working for Puerto Rico Marine that     10   one of these little laptop-looking things like
 11   there would be one ship per week that came in.      11   this.
 12           Is that your recollection?                  12       Q. Okay. So let's -- I'm going to ask
 13       A. (Nonverbal response.)                        13   you a little bit about some of the -- there's
 14       Q. You have to say it out loud. I'm             14   eight paragraphs in your affidavit.
 15   sorry.                                              15           You said you have it in front of you?
 16       A. Yes, that's one ship a week.                 16       A. What's that?
 17       Q. One ship a week. Okay.                       17       Q. Do you have the affidavit with you
 18           And Mr. Polito testified that the           18   there, Mr. Kain?
 19   ships were loaded -- the ship was loaded and        19       A. No. I can go get it.
 20   unloaded on the weekends.                           20       Q. That's okay. It's very short, so I
 21           Is that your recollection?                  21   can read it to you.
 22       A. Friday and Saturday, yes.                    22           So on paragraph 3 of the affidavit,
 23       Q. Okay.                                        23   you said when John Brindell, the plaintiff,
 24       A. Sometimes Sunday. It depended, you           24   started -- first started working at Puerto Rico,
 25   know. They run late sometimes.                      25   you and Mr. Brindell performed container


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  1   maintenance work.                                    1       Q. And that -- and those were the areas
  2      A. Yes.                                           2   where if you and Mr. Brindell had to go on a ship
  3      Q. Okay. And you said that involved               3   to do welding work, that's where y'all would be
  4   welding.                                             4   doing it?
  5      A. Right.                                         5       A. We would -- like we would go down in
  6      Q. What type of welding, can you tell             6   there or something -- a lot of times we would
  7   me, were you doing on containers?                    7   ride the spreader bar down in there into the
  8      A. We had MIG guns. For steel                     8   hold. And then we'd get down there and get
  9   containers we had MIG guns. On aluminum              9   the -- you know, the -- whatever we had to do to
 10   containers we -- we usually patched them or we      10   get the box out of there and then we would come
 11   would replace the whole sheet or whatever it        11   back out.
 12   needed.                                             12       Q. Between 1976 and 1981, can you
 13      Q. Okay. And was this because the                13   estimate for me how many times you think you saw
 14   containers were damaged in some way, is that why    14   Mr. Brindell actually going on a ship to do weld
 15   you were always doing welding?                      15   or maintenance work -- I'm sorry, container
 16      A. Exactly, because that's what we did           16   maintenance work?
 17   was patch chassis and containers and everything.    17       A. Four or five times, five or six times
 18      Q. Okay.                                         18   maybe.
 19      A. But the four front shop, the four             19       Q. During that five-year period?
 20   mechanics shop in the front was the chassis shop,   20       A. Yeah.
 21   they called it. And we did mostly chassis work      21           DEFENSE COUNSEL: Doug, at what site?
 22   unless they got short of containers and they        22           MR. KINLER: I'm confused by your
 23   needed some to go out on the road to be             23   question.
 24   dispatched.                                         24           DEFENSE COUNSEL: The Port of New
 25      Q. Okay. Now, you said in your                   25   Orleans or Industrial Canal?


                                            Page 71                                                 Page 73
  1   affidavit that at times you and Mr. Brindell did     1   BY THE WITNESS:
  2   this container maintenance work onboard a ship.      2       A. Oh, that was part -- was part of the
  3       A. No, we had a -- sometimes we had to           3   Port of New Orleans, but it was the Industrial
  4   go in there and -- like if the ship broke            4   Canal.
  5   apart -- I mean, the container kind of broke         5   BY MR. KINLER:
  6   apart or something where they couldn't get it out    6       Q. All of you --
  7   of the cell, you see they used to put them things    7       A. It's where the ship channel came
  8   underneath in the hold down in the -- in the         8   in -- the ship channel came into the Industrial
  9   ship. And where something happened to it where       9   Canal.
 10   we couldn't -- you know, couldn't get it out,       10       Q. And all of your work for Puerto Rico
 11   we'd have to go down in there and see what we had   11   Marine and Mr. Brindell's work for Puerto Rico
 12   to do before the spreader bar could pull it out,    12   Marine was on the Industrial Canal, correct?
 13   you know, on the crane, the crane, the thing that   13       A. Right.
 14   picked it up.                                       14       Q. All right. And that's in New
 15       Q. Okay. And this was -- this was done          15   Orleans, right? That's in New Orleans, correct?
 16   in the holds of the ship?                           16       A. Right.
 17       A. Yes.                                         17       Q. Okay.
 18       Q. Okay. And that's where the                   18           DEFENSE COUNSEL: Thank you, Doug.
 19   containers were stored?                             19           MR. KINLER: Sure.
 20       A. Well, they stored -- they stored them        20   BY MR. KINLER:
 21   under that and on top of that. They put the         21       Q. So between '76 and '81 just to
 22   hatch covers on and stack them up there.            22   confirm, you said you think you saw Mr. Brindell
 23       Q. Okay. So the containers were stored          23   go on a ship to do weld or maintenance work maybe
 24   in the hold as well as on the top deck?             24   five or six times, correct?
 25       A. Exactly.                                     25       A. Correct. Well --


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  1       Q. Okay.                                         1        Q. Okay. All right. So other than
  2       A. You know, he would go in there and            2   doing welding maintenance work on containers on
  3   see what was going on, you know. I don't know --     3   the ships, you know, either in the holds or on
  4   you know, it depends on if you have to do            4   the deck as well as going on a ship to check on
  5   maintenance on them down in there. But you'd         5   containers in the hold, do you recall any other
  6   have to go down there and shore them up or           6   instance where Mr. Brindell went on a ship?
  7   something to get them out.                           7        A. I can't remember what type of ship it
  8       Q. Okay. And that's either in the holds          8   was. It was -- I think it was a LoLo ship. But
  9   of the ship or on the top deck, correct?             9   I can remember that when they had a work stoppage
 10       A. No. Mostly in the hold.                      10   with the longshoremen with a -- with a strike,
 11       Q. Mostly in the holds. Fine. Okay.             11   they shut the ship down. And Jack being a
 12           All right. Paragraph 4 in your              12   supervisor had to go down in there every day and
 13   affidavit you said, in addition, beyond container   13   check the engine room and all of that kind of
 14   maintenance work, at times and for various          14   stuff to make sure because they shut it down.
 15   reasons John and I -- John being Mr. Brindell --    15            The only thing they kept was just a
 16   were onboard ships on the Port of New Orleans.      16   little bit of power to where the screw would keep
 17           What reason would you guys have to be       17   turning because they said if they shut it -- they
 18   onboard a ship at Puerto Rico Marine other than     18   shut it down, the packing around -- you know, the
 19   doing container maintenance work?                   19   screw is the propeller -- I mean, the shaft. If
 20       A. Well, we went down in there and              20   they shut it down, the packing, it would start
 21   checked on containers and everything there.         21   leaking when they started it up again.
 22   Sometimes we had to go down there and find a        22            So he went down there in the engine
 23   container that was on the boat.                     23   room and walked all around there, checked
 24       Q. Okay. Give me an idea, how long              24   everything out because they had -- they had shore
 25   would it take to do that?                           25   power on it then. They had electricity off the


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  1       A. It's hard to say. Maybe an hour.              1   dock and they had lights down there and he'd have
  2       Q. So y'all were going into the holds to         2   to go check the engine room and all like that,
  3   check on containers?                                 3   check the bilge in the ship, everything like
  4       A. Right.                                        4   that.
  5       Q. All right. Between '76 and '81, can           5       Q. Okay. And so if I understand you
  6   you estimate for me how many times you saw           6   correctly, this was during a work stoppage, so
  7   Mr. Brindell going on a ship to check a -- into      7   were the ships empty?
  8   the hold of a ship to check on a container?          8       A. No. They might have had -- they
  9       A. I'm not -- I'm not sure because I was         9   might have had containers -- the only thing that
 10   in the shop. He'd just jump in the pickup truck     10   they would have had to take off even in a work
 11   and go to the back.                                 11   stoppage is if they had refrigerated containers
 12       Q. Okay.                                        12   on there which are perishable, and then they had
 13       A. So I -- I really can't say how many          13   to take it off. And then after that, all other
 14   times I really seen him go in there.                14   cargo had to stay on the boat.
 15       Q. All right. Did you ever personally           15       Q. Okay. And so during this work
 16   go with him, Mr. Brindell, on a ship --             16   stoppage -- how long was the work stoppage, do
 17       A. Yes.                                         17   you know?
 18       Q. -- to check a container?                     18       A. Oh, Lord. I guess about -- sometimes
 19       A. Yes.                                         19   a month, sometimes six weeks.
 20       Q. All right. Can you tell me how many          20       Q. Were there more than one?
 21   times you think you did that between '76 and '81?   21       A. No, that I remember.
 22       A. About six, seven times.                      22       Q. Okay. And you're fairly certain that
 23       Q. Okay. And generally each one of              23   this work stoppage occurred while Mr. Brindell
 24   those times would maybe last about an hour?         24   was working there sometime between '76 and '81?
 25       A. I'd say roughly.                             25       A. Yeah. I know I remember him going


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  1   down in the hold of the ship to check all that.      1   the hold or if they went down into the engine
  2       Q. Okay. Did you go with him?                    2   room, I don't know what they was doing down in
  3       A. One time.                                     3   there. I do know one time they came and fixed
  4       Q. One time you did?                             4   the boiler.
  5       A. Yeah.                                         5       Q. Okay. So this sounds like some type
  6       Q. Okay. All right. And so if there              6   of mechanical contractor, correct?
  7   were containers on the ship during this work         7       A. It wasn't with our company. I know
  8   stoppage, he was just going down there to check      8   that.
  9   on them and make sure everything was okay?           9       Q. Okay.
 10       A. Well, yeah. He checked mostly the            10       A. And I'm sure that was that truck
 11   engine room and all that.                           11   Eagle or whatever it was.
 12       Q. Okay. And like you said --                   12       Q. Okay. Do you know what kind of
 13       A. All that kind of stuff.                      13   company Eagle is?
 14       Q. All right. And I take it with the            14       A. No, other than maybe they -- they do
 15   boat sitting there, there's nobody else working     15   the work on a -- on a -- you know, like on a ship
 16   on the boat. The boat was empty other than          16   and everything.
 17   containers?                                         17       Q. I'm going to tell you that Eagle
 18       A. Right. They didn't have anybody on           18   didn't do any mechanical work.
 19   the boat and nobody was working.                    19           Do you have any reason to dispute
 20       Q. All right. Okay. Any other                   20   that?
 21   instances that you can recall that Mr. Brindell     21       A. I would say it was maybe -- maybe
 22   worked -- or went onboard a ship other than what    22   they was doing boiler work.
 23   we talked about?                                    23       Q. Okay.
 24       A. Not really.                                  24       A. But they had a -- like I said, they
 25       Q. All right. Very good. Okay.                  25   had one truck that used to come around and they


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  1           So we talked about -- let me see.            1   would do like welding and stuff, and another
  2   Let me look at your affidavit. Okay.                 2   truck, they would come around with a compressor
  3           You talked about additional                  3   on it. And sometimes these guys was wearing
  4   maintenance work being performed on the ships.       4   white suits.
  5   That's in paragraph 5. I want you to tell me         5       Q. Okay.
  6   about that.                                          6       A. So that's the best I can, you know,
  7           What are you referencing when you            7   figure out. I figure the trucks was all the
  8   said you saw maintenance work happening on a         8   same, same company. I didn't -- you know.
  9   ship?                                                9       Q. Okay.
 10       A. Well, that's when that truck would           10       A. I didn't really pay attention to them
 11   come around there pulling either a weld machine     11   people.
 12   or a compressor, and they would go on -- they       12       Q. Okay. And you said that you saw
 13   would -- they would pull their welding leads up     13   maybe this company doing rail -- working on the
 14   on the boat and all, and like if a railing was      14   rails, repairing the rails on the ship?
 15   broke, they would fix that or I've seen them down   15       A. Yes.
 16   here -- I know they went down there doing them      16       Q. Okay.
 17   already.                                            17       A. Welding on the rails.
 18       Q. Okay.                                        18       Q. As far as -- I'm sorry. Go ahead.
 19       A. And I don't know what they was doing         19       A. Or it's like something else on a ship
 20   down there, but on the outside I could see like     20   needed welding.
 21   they was welding up -- welding up a railing that    21       Q. Okay. And as far as if this company
 22   might have been broke, hit by, you know, a          22   did work in the engine rooms, you didn't see what
 23   container when they was taking it off. You know,    23   they were doing, correct, because you never were
 24   I could see them doing that.                        24   down there, correct?
 25           But as far as when they went down in        25       A. No.


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  1       Q. All right. Very good.                         1       Q. And you can't tell me -- swear under
  2       A. Well, like I said, they did come              2   oath to a jury that that dust contained asbestos,
  3   wearing white suits and all, jumpsuits and all       3   can you?
  4   like that over their regular clothes when they       4       A. No.
  5   went on the ship.                                    5       Q. Okay. Did you ever see this company
  6       Q. Okay. This company that you're                6   you're talking about doing any insulation work on
  7   talking about, can you tell me between 1976 and      7   the ships -- on the ship, rather?
  8   1981 how many times you think you saw this           8       A. No, I never did see it, but I know
  9   company on a ship?                                   9   they put masks on and all when they was working
 10       A. Three or four times.                         10   on it.
 11       Q. Okay. Did you ever see this company,         11       Q. So when you said in your affidavit
 12   this mechanical company you're talking about        12   that Eagle and Taylor-Seidenbach were doing
 13   doing work in the holds of the ship?                13   insulation repair work, you don't know that, do
 14       A. Yeah.                                        14   you?
 15       Q. And they were doing welding work             15       A. No, not really. But they -- they
 16   according to you; is that right?                    16   used to go on the ship with stuff and all and I
 17       A. Well, I'm not even sure about that           17   don't know.
 18   now.                                                18       Q. Okay. And would you recall --
 19       Q. Okay.                                        19       A. I know one thing, that all of the --
 20       A. Because they -- there might have been        20   all of the steam lines on that boat had to be
 21   two companies that had them trucks out there. I     21   checked and wrapped with insulation.
 22   don't know.                                         22       Q. Okay.
 23       Q. All right.                                   23       A. Because Jack Brindell told me --
 24       A. But I know some did -- some did              24            DEFENSE COUNSEL: Object to the
 25   welding. Some did with the air compressor,          25   nonresponsive portion.


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  1   whatever they did.                                   1   BY THE WITNESS:
  2        Q. Okay. You say in your affidavit that         2       A. -- that's the only reason he used to
  3   you saw airborne asbestos dust from the work of      3   go on the ship to check the steam lines.
  4   Eagle and Taylor-Seidenbach.                         4   BY MR. KINLER:
  5            My question to you is, you don't have       5       Q. And that's when the ships were empty,
  6   any personal knowledge regarding asbestos, do        6   right?
  7   you, and what did or didn't contain asbestos?        7       A. Pretty much.
  8        A. No. I don't even know what asbestos          8       Q. Yeah, Okay.
  9   was.                                                 9       A. Not completely empty because they
 10        Q. Very good.                                  10   never did empty -- completely empty them boats.
 11        A. I didn't know what that was.                11       Q. I'm sorry. Empty meaning that there
 12        Q. So when you're saying in this               12   were no -- there was no work taking place when he
 13   affidavit you saw asbestos dust, you can't attest   13   was on the ship to check --
 14   to that, you can't swear to that, can you?          14       A. Right, right.
 15        A. Well, I can tell you this. It was           15       Q. -- during the work stoppage, correct?
 16   dust.                                               16       A. Right. He'd go down in there to
 17        Q. Okay.                                       17   check.
 18        A. I'm not sure about if it was asbestos       18       Q. All right. So what you saw these
 19   or what, but it was dust. And I don't know where    19   outside contractors doing was welding work and
 20   all that dust would come from. Maybe                20   some type of work with compressors; is that
 21   that's because -- maybe that's when they had that   21   right?
 22   compressor. I don't know.                           22       A. That's complete right.
 23        Q. All right. So you don't know the            23       Q. All right. And you can't say these
 24   source of the dust, correct, that you saw?          24   companies were doing insulation work, can you?
 25        A. No, not really.                             25       A. I never -- I didn't see it. I can't


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  1   say they wasn't doing it. I just said I never        1       A. I don't know what you're talking
  2   seen it.                                             2   about, no.
  3       Q. Never saw it happen?                          3       Q. Okay. That's fine.
  4       A. I know Jack went down in there to             4            And when you were working at Puerto
  5   check all that stuff.                                5   Rico Marine, did you ever -- did you know
  6       Q. That was during the work stoppage,            6   anything about asbestos at all?
  7   correct?                                             7       A. No.
  8       A. No. That -- even when they was                8       Q. All right. So in paragraph 7 when
  9   working the boat, they would go down in the          9   you said John, meaning Mr. Brindell, and I,
 10   engine room and all that.                           10   yourself, saw airborne asbestos dust from the
 11       Q. Why would Mr. Brindell ever have to          11   work of Eagle and Taylor-Seidenbach, that's not
 12   go into an engine room?                             12   true, is it? You can't attest to that, can you?
 13       A. Why what?                                    13            MR. HIBEY: Objection, form.
 14       Q. Why would Mr. Brindell ever have to          14   BY THE WITNESS:
 15   go into an engine room other than you told us       15       A. I can say that it was dust flying.
 16   about during the work stoppage to check on          16   Now, I don't know what the dust was, but that's
 17   things?                                             17   all I can say. I don't...
 18       A. I think he checked them steam lines,         18   BY MR. KINLER:
 19   especially after them people were working on        19       Q. Very good.
 20   them, the boiler and all that.                      20            And you never saw either one of these
 21       Q. During the work stoppage?                    21   companies doing any insulation work on the ships,
 22       A. No. Whenever that ship come in and           22   correct? It was welding work and compressor
 23   had some kind of problem, if they had a problem     23   work?
 24   with the engine room or something like that, they   24       A. That's the only thing I seen that was
 25   would -- if they needed it, they would bring        25   on the deck. I don't know what went on under the


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  1   people in.                                           1   deck of the ship or in the engine room or
  2       Q. Okay. And why would Mr. Brindell              2   whatever. But I know one of them companies used
  3   ever go into an engine room? He was a mechanic       3   to go in the engine room pretty often.
  4   like you were. Why would he do that?                 4         Q. But you can't tell me which one?
  5       A. He might have been a supervisor then.         5         A. No.
  6       Q. Okay.                                         6         Q. And you were never around that?
  7       A. I know he went down there when he was         7         A. I worked in the shop in the front.
  8   a supervisor because the office made him go in       8         Q. Yes, sir. Let me check my notes,
  9   there. The terminal manager made him go down         9   Mr. Kain. I think I'm almost done.
 10   there and check it after them people worked in      10             Do you need to take a break?
 11   there.                                              11         A. No. I'm good.
 12       Q. Okay. Just checking my notes,                12         Q. Okay. Let me check my notes to see
 13   Mr. Kain.                                           13   if I'm just about done.
 14           So you don't have any personal              14             MR. KINLER: I tell you what. Just
 15   knowledge that either one of these companies that   15   to save time, Mr. Kain, I'll let somebody else
 16   you've listed on this affidavit ever handled        16   ask you some questions and I'll review my notes.
 17   asbestos materials at Puerto Rico Marine, do you?   17   And if I have a few additional questions after,
 18           MR. HIBEY: Objection, form.                 18   I'll follow up with you just briefly before we
 19   BY THE WITNESS:                                     19   conclude. Okay?
 20       A. Not really.                                  20             THE WITNESS: All right.
 21   BY MR. KINLER:                                      21             MR. KINLER: Thank you for your time.
 22       Q. Very good.                                   22             THE WITNESS: Okay.
 23           Do you know when asbestos was taken         23             MR. KINLER: I don't know if y'all
 24   out of thermal insulation? Do you have that kind    24   want to take a break or a quick bathroom break or
 25   of knowledge?                                       25   anything?


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  1           MS. SENTER: Hey, this is Meghan              1   just make sure all of our answers are out loud.
  2   Senter. I'm going to have some questions. But        2   All right?
  3   we've been going a little over an hour and a         3        A. All right.
  4   half. I could use a comfort break if that's all      4        Q. Okay. And then I'm going to try and
  5   right.                                               5   do my very best to not interrupt you because
  6           THE WITNESS: Fine with me.                   6   there's a small delay. Okay?
  7           MR. KINLER: Y'all want to take               7        A. All right.
  8   ten minutes?                                         8        Q. Okay. And if at any point -- I know
  9           MS. SENTER: Yeah, let's take ten             9   we just took a break, but if at any point you
 10   minutes and we'll come right back. Okay?            10   need another break, let me know. Okay?
 11           THE VIDEOGRAPHER: The time is               11        A. Sure.
 12   10:38 a.m. Central Standard Time. We are now off    12        Q. Okay. So I wanted to back up a
 13   the record.                                         13   little bit. We covered a lot of ground earlier
 14           (Break taken.)                              14   with Mr. Mike and Mr. Doug.
 15           THE VIDEOGRAPHER: The time is               15             When you first hired on at Puerto
 16   10:48 a.m. Central Standard Time. We are now        16   Rico Marine, what was your actual job title?
 17   back on the record.                                 17        A. Mechanic.
 18               [EXAMINATION]                           18        Q. Mechanic?
 19   QUESTIONS BY MS. SENTER:                            19        A. Yes.
 20       Q. Hi, Mr. Kain. My name is Meghan. We          20        Q. How many other mechanics were there?
 21   met just a moment ago.                              21        A. At that time, five.
 22       A. How you doing?                               22        Q. Do you remember their names?
 23       Q. Are you ready to continue?                   23        A. Yeah. Lester Busch, he's deceased
 24       A. I'm ready.                                   24   now. And there was Willy Hutcherson and they had
 25       Q. Okay. I'm going to go over just a            25   George Schremp (phonetic), he's deceased, and


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  1   couple of ground rules. All right?                   1   Marshall Elsie.
  2         A. All right.                                  2        Q. And you were the fifth?
  3         Q. Okay. The first -- the first ground         3        A. Right.
  4   rule is that -- hold on just one moment. I'm so      4        Q. Mr. Hutcherson that you mentioned, is
  5   sorry. That would be one of the work from home       5   he still living?
  6   challenges. I apologize. Thank you for the           6        A. I have no clue. I haven't seen him
  7   small break.                                         7   in years. And I think -- no. And Marshall Elsie
  8         A. That's okay. I have a five-year-old         8   died.
  9   granddaughter running around here.                   9        Q. Who was your supervisor when you
 10         Q. The first thing is I know with             10   first hired on at Puerto Rico Marine?
 11   technology it can be difficult. So if you don't     11        A. Let me think. Donald Highbrook
 12   hear my question or if you don't understand it,     12   (phonetic). He's dead.
 13   please let me know. Okay?                           13        Q. Can you spell -- can you spell his
 14         A. Sure.                                      14   last name for me?
 15         Q. If you let me know that you don't          15        A. I don't know how they spelled his
 16   understand it, I'll try and ask it a different      16   last name. But he -- he died just a few months
 17   way or restate it so you do. All right?             17   ago.
 18         A. All right.                                 18        Q. When Mr. Brindell hired on with you
 19         Q. If I do ask a question and you answer      19   in 1976, how many mechanics were there?
 20   it, I'm going to go ahead and assume that you did   20        A. Oh, man. There was like 43. Let me
 21   understand my question. Is that fair?               21   explain something to you for a minute. When I
 22         A. That's fair.                               22   first hired on, it was called Gulf Puerto Rican
 23         Q. Okay. And you're doing a really good       23   Lines and we was on Jordan Road on the Industrial
 24   job right now, but just to make sure for            24   Canal. And then as time went on, we moved from
 25   Ms. Karen who's taking everything down, let's       25   Jordan Road to France Road where our terminal was


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  1   at then, and they got bigger ships.                  1   did on the chassis earlier.
  2           The first ships that they had was            2           And I wanted to ask what other type
  3   self-loading ships. They had their own cranes on     3   of work did you do between 1976 and 1981 when you
  4   the ship that go out, come in, and that's what --    4   were at Puerto Rico Marine?
  5   why there was only a few mechanics in the            5       A. No other work.
  6   beginning. We had smaller ships and everything.      6       Q. Well, for instance -- I'm sorry.
  7           And then when we moved to the                7           You talked about repair work on the
  8   other -- the other terminal, then it was bigger      8   containers and I wanted to ask you specifically
  9   and then they started adding mechanics. We got       9   what type of repair work did you do?
 10   bigger ships.                                       10       A. On the chassis? Brake jobs.
 11       Q. Okay. So I'm not going to ask you            11       Q. On the containers when you were
 12   the name of all 43 mechanics that were there in     12   talking about --
 13   1976. I think we'd be here for a little while.      13       A. The shop was a chassis shop.
 14   But do you keep in touch with any of the            14       Q. Okay.
 15   mechanics that were there in 1976?                  15       A. The back shop was a container shop.
 16       A. No, not really. Jack was the only            16   We worked on the chassis. The only time we
 17   one. We used to hunt and fish together.             17   worked on containers when was they needed
 18           (Technical disruption.)                     18   equipment to go out and we -- they would make us
 19           MS. SENTER: Can y'all hear me again?        19   start working on a few containers.
 20   BY MS. SENTER:                                      20       Q. How --
 21       Q. Okay. So I had asked just to confirm         21       A. But most of the time it was chassis.
 22   that when you say Jack, you're talking about John   22       Q. Okay. How often did you have to do
 23   Brindell, right?                                    23   any of the work on the containers?
 24       A. Right.                                       24       A. Not real often.
 25       Q. He went by Jack?                             25       Q. Would you be able to estimate how


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  1        A. Yeah.                                        1   many times in a month?
  2        Q. Okay. And I just want to be clear            2        A. Maybe three times, but we'd only do
  3   because you just explained something to us that      3   it like in the afternoon like when we worked
  4   there was kind of an upscale in the number of        4   overtime. They wouldn't cut us off the chassis.
  5   employees at Puerto Rico Marine by the time          5   They would make us work overtime to repair
  6   Mr. Brindell had gotten there because y'all were     6   containers.
  7   working on some bigger ships?                        7        Q. And when you say repair the
  8        A. Working off of bigger ships. Bigger          8   containers, what specifically did you have to do?
  9   ships came in and unloaded more equipment.           9        A. Oh, they could have a hole in them,
 10        Q. All right.                                  10   roof leaking, we had to seal a roof, patch a hole
 11        A. And that was our job to take care of        11   in the side, stuff like that. Hole in the floor,
 12   the equipment.                                      12   fix a hole in the floor.
 13        Q. Right.                                      13        Q. How would you go about fixing a hole
 14        A. Which our concern was about the             14   in a container?
 15   containers.                                         15        A. Well, you -- we put a patch on it
 16        Q. The containers?                             16   with a rivet. Rivet it on. Or if it was a metal
 17        A. And the chassis because they had to         17   one, we would weld it.
 18   have the chassis to put the containers on.          18        Q. And is that when you were talking
 19        Q. Okay.                                       19   about using the MIG guns earlier?
 20        A. That was their wheels.                      20        A. Exactly.
 21        Q. Right. Okay. So you kind of took me         21        Q. Did you use welding rods associated
 22   in nicely to what I wanted to ask you. We talked    22   with those MIG guns?
 23   a little bit about some of the work that you've     23        A. No, it was a wire. Now, we --
 24   done and you talked about doing repair work on      24   sometimes I did use a stick with an electrode,
 25   the containers and then some of the work that you   25   you know, a rod or a rod with a -- that you weld


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  1   with, regular welder.                                1       A. They were all sister ships.
  2       Q. Do you know who made the welding rods         2       Q. Okay. And I believe you said that
  3   that you used sometimes?                             3   one ship docked a week; was that right?
  4       A. The kind of rods?                             4       A. Exactly.
  5       Q. Yeah. Do you know who made them?              5       Q. Were they on like a rotating
  6       A. Not really.                                   6   schedule?
  7       Q. Did Mr. Brindell ever have to do any          7       A. Right. They would have to go from
  8   of the welding on the containers?                    8   New Orleans to maybe Jacksonville -- well, when
  9       A. Well, he did with the MIG gun because         9   they left New Orleans, they went to Puerto Rico.
 10   the MIG gun is kind of easy to use.                 10   Then it would leave Puerto Rico and go to
 11       Q. When you were doing the welding, did         11   Jacksonville. And then it'd go back to Puerto
 12   you use any sort of protective equipment like       12   Rico and then it would go back to Charleston.
 13   gloves or blankets?                                 13   And, meanwhile, them other ships was going
 14       A. Well, I had gloves and I had a               14   around.
 15   welding shield, which I bought.                     15       Q. Okay.
 16       Q. How about Mr. Brindell, did he use           16       A. That way we had one ship a week.
 17   gloves and a shield?                                17       Q. How longs -- how long were the ships
 18       A. Oh, yeah.                                    18   in port for you?
 19       Q. Do you know who made the gloves that         19       A. About 24 hours. That's what it would
 20   Mr. Brindell used when he was welding?              20   take to work a boat.
 21       A. No.                                          21       Q. Were you ever responsible for
 22       Q. And just so we're clear, a lot of the        22   unloading the cargo out of the containers?
 23   questions that I'm going to ask are going to be     23       A. No, no. We just repaired them, the
 24   very specific and you might not know and I don't    24   chassis and the containers.
 25   know is a fine answer. Don't feel bad. It's         25       Q. Okay. And so I just wanted to be


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  1   testing your memory a little bit here. Okay?         1   clear. I'm looking at my notes to try to make
  2       A. All right.                                    2   sure I don't go over a whole bunch of stuff that
  3       Q. Now, we had talked about a little bit         3   you already did.
  4   the increase in work, right, the bigger ships        4           But when those ships were docked and
  5   that started coming in.                              5   when Mr. Brindell was a supervisor, you said he
  6       A. Right.                                        6   had to go in and check on various parts of the
  7       Q. And I know you told Mr. Kinler                7   ship, right?
  8   earlier and I just -- I don't know if it was just    8       A. Only --
  9   me, if I couldn't hear it. What were the names       9           DEFENSE COUNSEL: Object to the form.
 10   of the ships that would come in between 1976 and    10   BY THE WITNESS:
 11   1981?                                               11       A. Only if they had a problem. If it
 12       A. The Mayaguez, the Ponce and                  12   was just a normal ship come in, no. If they had
 13   Aguadilla.                                          13   to work on a ship, yes.
 14       Q. Okay. The Mayaguez, the Ponce and            14   BY MS. SENTER:
 15   the Aguadilla?                                      15       Q. How often when a ship docked would
 16       A. It's all names of Puerto Rican               16   there be a problem that would cause Mr. Brindell
 17   cities.                                             17   to have to go onto it to check something?
 18       Q. And you said that -- who owned those         18           MR. KINLER: Objection, form.
 19   ships?                                              19           MR. HIBEY: Objection, asked and
 20       A. The Puerto Rican government.                 20   answered.
 21       Q. And I think you said that the ships          21   BY THE WITNESS:
 22   held over a thousand containers; was that right?    22       A. Once or twice a month.
 23       A. Right.                                       23   BY MS. SENTER:
 24       Q. Each of them held over a thousand            24       Q. I'm sorry?
 25   containers?                                         25       A. Once or twice a month.


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  1        Q. And I understood your testimony              1   supervisor.
  2   earlier that you -- you personally went with him     2           Other than his job as a supervisor
  3   at least six or seven times to check on things,      3   and as a mechanic, do you recall Mr. Brindell
  4   but --                                               4   ever holding any other job with Puerto Rico
  5        A. Yes.                                         5   Marine?
  6        Q. -- your -- your recollection is that         6       A. Yes.
  7   once or twice a month when a ship was in dock        7       Q. What else did he do?
  8   while Mr. Brindell was a supervisor, he'd have to    8       A. He was a parts man, to give us all
  9   go on and check on something?                        9   the brake shoes.
 10        A. Right.                                      10       Q. Other than a mechanic, a parts man
 11            DEFENSE COUNSEL: Object to form.           11   and a supervisor, did Mr. Brindell hold any other
 12   BY MS. SENTER:                                      12   positions?
 13        Q. Okay. And I'm going to ask a                13       A. No.
 14   clarifying question and this might be just be me    14       Q. When was Mr. Brindell the parts man
 15   not knowing, but did you say a LoLo ship earlier?   15   at Puerto Rico Marine?
 16        A. Well, that's what the containerized         16       A. Well, he started as a mechanic. He
 17   ship is, LoLo. That's they pick it up and put it    17   worked with us as a mechanic and then they had
 18   on.                                                 18   a -- because of his past, he had worked in some
 19        Q. Okay. And then you distinguished            19   part rooms, and they moved him into the parts
 20   that between a RoRo ship?                           20   room to help this other guy.
 21        A. RoRo is when they drive the trailer         21       Q. Do you know where previously he had
 22   and everything on there. They put ramps -- hook     22   worked as a parts man?
 23   the ramps up on the ship and run it up. But you     23       A. I want to say it was at that
 24   can't use -- you can't use a LoLo ship and a RoRo   24   Wurlitzer or something. They -- he did -- he did
 25   ship together. They got to be one -- one's got      25   like mechanic work there or whatever they did on


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  1   to be a RoRo and one's got to be a LoLo.             1   them -- whatever them -- jukebox or whatever.
  2       Q. Okay. Now, when you got Mr. Brindell          2   But he also had to do parts and all because they
  3   his job at Puerto Rico Marine, do you recall what    3   used to sell parts for them things and all too.
  4   his job title was specifically?                      4   I do know that much.
  5       A. Mechanic.                                     5       Q. You said that they had moved him into
  6       Q. Just mechanic?                                6   the parts room to help the guy who was there.
  7       A. Mechanic.                                     7       A. Yeah, to give him a break because he
  8       Q. Okay. And I know you eventually               8   was the only parts man.
  9   became lead mechanic, right?                         9       Q. What was his name?
 10       A. Right.                                       10       A. A ship -- ma'am?
 11       Q. When --                                      11       Q. What was the other parts man's name?
 12       A. Well, then I was lead mechanic               12       A. Tommy Smith.
 13   already.                                            13       Q. Is Mr. Smith still living?
 14       Q. Okay. And that was going to be my            14       A. Oh, I don't know. I haven't seen him
 15   question.                                           15   in years.
 16           How long after you started at Puerto        16       Q. Where did Mr. Smith live?
 17   Rico Marine did you become lead mechanic?           17       A. I think he lived in New Orleans
 18       A. About five years.                            18   somewhere.
 19       Q. Other than mechanic and lead                 19       Q. And you haven't kept in touch with
 20   mechanic, did you ever hold any other job titles    20   him?
 21   with Puerto Rico Marine?                            21       A. No, I don't -- I don't -- I don't see
 22       A. No, no.                                      22   them guys anymore.
 23       Q. And Mr. Brindell, he was hired on as         23       Q. When's the last time --
 24   a mechanic. And I know Mr. Kinler asked you if      24       A. I live on the north side of the lake
 25   you could recall how long it took him to become a   25   now.


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  1        Q. I'm sorry?                                   1   a big office.
  2        A. I live on the north side of the lake.        2       Q. Did he have to like work out the
  3   I'm about 50 miles away from him.                    3   schedule on who was going to work on any given
  4        Q. Right. When's the last time that             4   day?
  5   you've spoken with anybody from Puerto Rico          5       A. No, no, because we all worked -- we
  6   Marine?                                              6   all worked pretty much the same. And when it
  7        A. Jack was the last person.                    7   came, we was human. When it came to overtime on
  8        Q. And when did you last speak with             8   the ship -- because they used to use different
  9   Jack?                                                9   people on the ship like that, you know, because
 10        A. Before he died. A year ago.                 10   we worked for 24 hours. So we had to take and
 11        Q. Okay. So we talked about                    11   rotate the crew. And that was left up to the
 12   Mr. Brindell had moved from a mechanic to a parts   12   shop steward because he was the one that made the
 13   man. Do you recall when that change happened?       13   rotation on that overtime because unless
 14        A. Not really because we still                 14   everybody was working, they would put a rotation
 15   considered him as a mechanic. He'd come out         15   and he made the rotation up. Jack had nothing to
 16   there and do work. But like if the other guys --    16   do with that.
 17   if the other man was sick or something that day,    17       Q. The shop steward made the rotation?
 18   he would work the parts room. But -- and if we      18       A. Right.
 19   needed anything in the shop, he would go get it     19       Q. Who was your shop steward?
 20   and bring it out to us.                             20       A. Oh, we used to call him Choo Choo.
 21        Q. Okay. So I want to talk a little bit        21   His real name was Ronnie -- Ronnie Gillian,
 22   more about the work that y'all did as mechanics,    22   Gillant, Gillent.
 23   but I want to just make sure I have kind of a       23       Q. And you said y'all were union. Which
 24   clear time line.                                    24   union were you a member of?
 25           When Mr. Brindell hired on, he was a        25       A. ILA and that's International and we


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  1   mechanic, then he became a parts man, and then he    1   was -- our local was 2036, the mechanic's union.
  2   became a supervisor, correct?                        2   We weren't longshoremen, but we was all in the
  3       A. Right.                                        3   same International, ILA.
  4       Q. Okay. Are you able to say between             4       Q. Was Mr. Brindell a part of that union
  5   1976 and 1981 how long Mr. Brindell spent as a       5   as well?
  6   mechanic, with the job title mechanic?               6       A. I want to say if he was -- when he
  7       A. All the way until he went to                  7   was a mechanic, he had to be. But after he got
  8   supervisor. And even after supervisor he'd come      8   to be -- after he got to be management, he
  9   there and work with us.                              9   couldn't be in it no more because supervisors
 10       Q. What were his -- what was the                10   can't.
 11   difference in job duties between mechanic and       11       Q. Okay. So when Mr. -- when
 12   supervisor?                                         12   Mr. Brindell hired on as a mechanic, you said he
 13       A. What was the difference in the job?          13   had to be in the mechanic's union?
 14       Q. Yes.                                         14       A. Right. Well, after 30 days
 15       A. He had more authority. He could --           15   probation -- you know, probation because they --
 16   he was under the maintenance department, but he     16   you know, before they could join the union.
 17   had more -- he had more authority. He could do      17       Q. Uh-huh. Did you go to union
 18   -- he could tell a mechanic what they needed to     18   meetings?
 19   do.                                                 19       A. Ma'am?
 20       Q. Did he have to go to meetings?               20       Q. Did you go to union meetings?
 21       A. Sometimes he did.                            21       A. Yes, ma'am, I did.
 22       Q. Did he have to keep up with any sort         22       Q. Did Mr. Brindell go with you?
 23   of office work?                                     23       A. Yes, I'm sure he would -- well, he
 24       A. Some upstairs. Some upstairs. He             24   would be there. I'll tell you that.
 25   had an office. Well, he had a desk, you know, in    25       Q. How often did you go to meetings?


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  1       A. They was only once a month. But I            1       Q. You did?
  2   didn't make them all now. Sometimes I had to        2       A. Yes. I was the lead mechanic.
  3   work.                                               3       Q. How many people would you say that
  4       Q. Did you get any sort of newsletters          4   you trained how to do their job?
  5   or mail from the union?                             5       A. Oh, wow. I guess about -- about ten.
  6       A. Never got it directly. They would            6       Q. Do you know why Mr. Brindell decided
  7   put something on a bulletin board at work.          7   to move from being a mechanic to being a
  8       Q. What sort of things did they post on         8   supervisor?
  9   the bulletin board at work?                         9       A. No, ma'am. I never could figure that
 10       A. When the next meeting was, what they        10   out myself. I mean, that was a cut in pay
 11   was going to discuss and stuff like that.          11   because you went from -- it was a cut in pay for
 12       Q. Now, when you hired on in 1971, do          12   him. You went from the mechanic's pay, you know,
 13   you recall there ever being any discussion at      13   hourly pay to a salary. I never could -- but
 14   Puerto Rico Marine about OSHA?                     14   they had other guys that did the same thing too
 15       A. Oh, I've heard about them, yeah.            15   and I couldn't figure that.
 16       Q. When you first hired on in 1971, what       16       Q. Were the hours better?
 17   do you recall being discussed at Puerto Rico       17       A. No. They got to work overtime and
 18   Marine about OSHA?                                 18   didn't get paid. That's why when we was doing
 19       A. Oh, that they -- they had                   19   brake jobs downstairs on overtime, Jack would
 20   restrictions and stuff that they had to do. We     20   come down and work with us just to get us out of
 21   didn't get much about that.                        21   there quicker because he wanted to go home.
 22       Q. Do you recall whether between 1971          22       Q. All right. So you talked a little
 23   when you first hired on and 1976 when              23   bit earlier about -- with Mr. Hibey about the
 24   Mr. Brindell hired on there being any change in    24   work that you would do on the chassis on the
 25   your work practices at Puerto Rico Marine?         25   containers, correct?


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  1       A. No.                                          1       A. Right.
  2       Q. Did anybody from Puerto Rico Marine          2       Q. I want -- I want to ask just some
  3   ever teach you how to perform your job as a         3   kind of basic background questions. Okay?
  4   mechanic?                                           4       A. All right.
  5       A. No.                                          5       Q. The containers that you were working
  6       Q. Did you have safety meetings at              6   on, the chassis, who owned those?
  7   Puerto Rico Marine?                                 7       A. Who owned them?
  8       A. What's that?                                 8       Q. Yes.
  9       Q. I said did you have safety meetings          9       A. The company.
 10   at Puerto Rico Marine?                             10       Q. Which company?
 11       A. No, no.                                     11       A. Puerto Rico Marine, Puerto Rican
 12       Q. You laugh. Why are you laughing at          12   government.
 13   that question?                                     13       Q. When they would come in to you to be
 14       A. Just -- no safety meetings.                 14   worked on, did they have any sort of maintenance
 15       Q. Was there anybody in charge of safety       15   log that came with them?
 16   at Puerto Rico Marine?                             16       A. No, no, no. When they -- in the shop
 17       A. No.                                         17   they worked off of a computer sheet and it was
 18       Q. When you first hired on at Puerto           18   deadline equipment, which means out of service.
 19   Rico Marine, did you already know how to do the    19   And we would take them and pick them off of there
 20   job that you were hired to do?                     20   and work on that.
 21       A. Yes, I did.                                 21           Now, that's the containers only. The
 22       Q. And when Mr. Brindell hired on in           22   chassis, we had a chassis pit on the side of my
 23   1976, do you recall who taught him how to do his   23   shop where we worked because that was the
 24   job?                                               24   deadline chassis and we'd just go out there and
 25       A. Me.                                         25   try and fix the easiest ones first, you know.


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  1       Q. All right. I'm going to have to ask           1   to be welded.
  2   you to explain that a bit more for me.               2       Q. Okay. So we talked about -- you
  3           When you say that you were working on        3   talked about working on brakes earlier, but you
  4   deadline chassis, what does that mean?               4   said they also could have needed seals replaced,
  5       A. That means they putting out of                5   they could have needed more oil in the wheels,
  6   service. They can't be used until we fix it,         6   they could have been missing --
  7   brake jobs and no telling what else. Most of         7       A. No, no. When you replace the seal,
  8   that -- them old chassis, the brakes was locking     8   you got to put oil back in the wheel.
  9   up on them. It was '66 model Fruehauf chassis,       9       Q. Okay. So if you replaced the seal,
 10   most of them, 1966.                                 10   you would have had to put oil in there too.
 11       Q. Okay. And you said those deadline            11       A. Right.
 12   chassis were over in the chassis pit on the side?   12       Q. They could have been missing a twist
 13       A. On the side we had -- on the side of         13   lock?
 14   the shop we had a parking lot over there --         14       A. Right.
 15       Q. Okay.                                        15       Q. Could have had to change a relay
 16       A. -- with all of them.                         16   valve. You could have had to fix some lights.
 17       Q. And you said you tried to work on the        17   You could have had to repair a cracked frame --
 18   deadline chassis first?                             18       A. Right.
 19       A. Well, that's the only ones you worked        19       Q. -- by welding it.
 20   on. We tried to work on the easiest ones first      20       A. Correct.
 21   to get them off the deadline.                       21       Q. Any other thing sitting here today
 22       Q. Okay. So you were only ever working          22   that you can think of that you've done to repair
 23   on chassis that were taken out of service because   23   those chassis while you were at Puerto Rico
 24   they couldn't be used; is that --                   24   Marine?
 25       A. Right, they couldn't use them to go          25       A. We put rear -- rear bolsters on them

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  1   on the road.                                         1   because the other bolsters were bent down. We
  2       Q. Okay. And you tried to work on the            2   put goosenecks on them. That's where you hook it
  3   easiest ones first to get them back on the road?     3   up to the tractor, support legs that holds it up.
  4       A. Right. Some of them just had a                4        Q. So there were a lot of reasons --
  5   leaking seal and you had to pull the wheel off       5   from what I'm hearing from you, there were a lot
  6   and clean it all up, blow it all down with the       6   of reasons that one of those chassis could be out
  7   thing and all and put a new seal in it and put it    7   of service; is that right?
  8   back on and then put more oil in the wheels.         8        A. Right.
  9       Q. Okay. And I know that you                     9        Q. And your job was -- as mechanics was
 10   mentioned -- you mentioned working on brakes        10   to fix whatever it was that was broken, right?
 11   earlier, but you also just told me that sometimes   11        A. Right. Well, when we put that
 12   you might need to repair a seal or put more oil     12   chassis in the shop, we went completely through
 13   on there.                                           13   it, fixed everything. Lights, everything. When
 14            What were other things that you might      14   it went out of there, it was ready for the road.
 15   need to do to a chassis to put it back into         15        Q. All right. So walk me through if you
 16   service?                                            16   would go out to the chassis pit, you'd pick out
 17       A. It could have had a -- oh, man. It           17   one of those deadline chassis that you needed to
 18   could have been anything. It could have been        18   repair and bring it to the shop. What was the
 19   missing a twist lock. It could be the relay         19   standard practice once that chassis got into the
 20   valve on it. That goes with the brakes. It          20   shop?
 21   could be the lights, could have problem with        21        A. Well, the first thing was you checked
 22   lights.                                             22   out the brake system. If the shoes were frozen
 23       Q. Anything else that you can recall?           23   and if they had a frozen shoe or something, we
 24       A. Oh, man, everything -- all kind of           24   pull it out and did a complete brake job. Or if
 25   stuff. Could have cracks in the frame that have     25   the brake shoe pads was down -- worn down too


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  1   much, we took them off, changed them. And then       1   we had an inspection lane, we had a mechanic shop
  2   we had to check the equalizers for the springs       2   and we had refrigeration men working in the yard
  3   and all like that.                                   3   on refrigerated units.
  4           And then after we did all of the big         4       Q. Okay. And how many of those
  5   stuff like that, the main stuff, then we would go    5   mechanics were in the front shop with you?
  6   back and fix the lights and all like that and        6       A. Eight because we had four stalls, two
  7   then grease it and get it all ready for the road.    7   mechanics to a stall.
  8           Let me remind you now we got -- some         8       Q. How many times was Mr. Brindell
  9   of these chassis were Fruehauf chassis in 1966       9   working in your stall?
 10   now. Most of them brake shoes were locked up.       10       A. Pretty much every time. Like I said,
 11   They was -- you couldn't hardly move them. We       11   me and Jack was friends, so he would want to come
 12   would have to go out there and get underneath       12   help me out.
 13   there with a chisel and a maul and pry the brake    13       Q. Is there anybody else that you
 14   shoe up before we could get it in the shop. We      14   remember working with in your stall other than
 15   didn't have no new equipment. Everything they       15   Mr. Brindell?
 16   bought was old. It was used. It was all old         16       A. Oh, yeah. They had Charlie Brown.
 17   Seatrain equipment.                                 17       Q. So sometimes you worked with Charlie
 18       Q. Before you ever got to any one of            18   Brown?
 19   these deadline chassis that you were repairing,     19       A. Or he worked with me.
 20   would there be any way for you to know what work    20       Q. Do you recall Mr. Brindell working in
 21   had been done on them before you put hands on       21   anybody else's stall, working with anybody else
 22   them?                                               22   in a different stall other than you?
 23       A. No, no. Believe me, I don't think            23       A. Oh, yeah.
 24   there was any work done to them.                    24       Q. Who else did he work with?
 25       Q. Now, the chassis that you were               25       A. He would go work with Keith Polito


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  1   repairing, I know you've mentioned Fruehauf a few    1   and DJ.
  2   times.                                               2       Q. How -- and I know you're saying
  3           Do you really only recall Fruehauf           3   that -- that pretty much every time Mr. Brindell
  4   chassis in that deadline chassis pit?                4   was working with you, but you're also telling me
  5       A. Oh, no.                                       5   that you worked with Charlie Brown and
  6       Q. All right. I'm going to ask you a             6   Mr. Brindell worked with two other mechanics.
  7   very specific question. Okay?                        7            So are you able to break down how
  8       A. All right.                                    8   much of the time Mr. Brindell was with you?
  9       Q. How many times when you were working          9       A. Most of the time he'd be with me.
 10   on a chassis at Puerto Rico Marine was              10   But like if Charlie Brown was in my stall, he'd
 11   Mr. Brindell working side by side with you?         11   go work with somebody else. It didn't mean it
 12       A. Pretty much. Pretty much. When he            12   had to be with just me. There was three other
 13   was a mechanic, he was down there all the time      13   stalls you could go get, anybody that needed
 14   and he -- you know, he liked doing the work.        14   help.
 15       Q. I'm sorry?                                   15       Q. Right. Okay. Now, when you're
 16       A. He liked doing that kind of work.            16   working on a stall or you're working in your
 17       Q. Right. And I'm asking you kind of a          17   stall on one chassis; is that right?
 18   very specific question. I understand that there     18       A. That's what?
 19   was the shop, right, where there were about 43      19       Q. If you're working in a stall, you're
 20   different mechanics, working, right?                20   only working on one chassis, right?
 21       A. No, not all in that shop.                    21       A. Right. It fits only one chassis to a
 22       Q. Okay.                                        22   stall.
 23       A. It was all over.                             23       Q. Okay. And so while you're working on
 24       Q. How many were in --                          24   your chassis, somebody else is doing other work
 25       A. We had the front shop, a back shop,          25   in the other stalls, right?


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  1       A. The next stall, yes, and the next             1   about one type of axle right now. Okay?
  2   stall and the next stall.                            2            You mentioned earlier Eaton axles.
  3       Q. Right.                                        3       A. Right.
  4       A. There was always something going on           4       Q. Okay. Out of the three axles that
  5   in them four stalls.                                 5   you identified, can you tell me what percentage
  6       Q. Okay. My point being, you're doing            6   of the time you personally worked on Eaton axles?
  7   the work in your stall, right?                       7       A. No, I really can't tell you, but I
  8       A. Right.                                        8   know it was a good many of them. You know, I
  9       Q. And so you weren't -- you weren't             9   couldn't give you a percentage on that because,
 10   fussing with what the people were doing in the      10   you know, too much.
 11   other stalls?                                       11       Q. And I want to ask a similar question
 12       A. Well, I was the lead mechanic. I had         12   about Mr. Brindell.
 13   to go check and make sure people was doing stuff,   13            Are you able to say how often as a
 14   you know --                                         14   mechanic Mr. Brindell would have worked on an
 15       Q. Okay.                                        15   Eaton axle?
 16       A. -- and doing it right.                       16       A. Pretty much. Plenty.
 17       Q. Okay. So you would float around as           17       Q. I'm sorry. Like Mr. Kinler, I'm also
 18   the lead mechanic to check on other people's        18   taking notes so I don't -- I don't or I try not
 19   work?                                               19   to repeat myself.
 20       A. Not all the time, but I did. But             20            You said -- I understand you're
 21   most of the time I was -- I was working on --       21   saying plenty and I just want to make sure, you
 22   with the chassis. I had a good crew. They           22   identified three different axles, right?
 23   hardly ever -- they hardly ever had -- you know,    23       A. Right.
 24   wasn't working. The thing was sometimes they        24       Q. So it wasn't as though Mr. Brindell
 25   would have a problem making a decision and I        25   was working on Eaton axles all the time, right?

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  1   would go over there and help them make a decision    1       A. No. We just -- we -- whatever that
  2   or something, a repair or whatever. It could         2   chassis had when we pulled it in that needed a
  3   have been anything.                                  3   brake job, that's what we did to it.
  4       Q. Mr. Kain, just because we're on video         4       Q. How did you know that any of the
  5   and we just saw -- who else is -- who else is in     5   axles that you were working on or that
  6   your house with you today?                           6   Mr. Brindell worked on, more specifically, were
  7       A. Nobody. Just my wife and the dog.             7   Eaton axles?
  8   They was in the other room. She come through         8       A. They had a tag on it --
  9   here to get something. I'm in the kitchen.           9       Q. Can you describe that for me?
 10       Q. Okay.                                        10       A. On the axle itself, it had a tag.
 11       A. And she just got -- and she got me a         11       Q. Can you describe the tag for me?
 12   Coke.                                               12       A. Just a tag. Some of them were
 13       Q. Okay. So you talked a little bit             13   square. Some of them was oblong, you know, like
 14   about -- I think what kind of stuck out in your     14   that.
 15   mind about some of the deadline chassis that you    15       Q. Do you recall what color they were?
 16   had to repair, right, with the freezing up          16       A. Them old chassis, they wasn't silver
 17   brakes?                                             17   after that. It wasn't even writing on it. It
 18       A. Right.                                       18   was stamped. A lot of it was stamped with the
 19       Q. And you were specifically associating        19   serial numbers and all. But you could still read
 20   those with the 1966 chassis?                        20   the names on them.
 21       A. Right.                                       21       Q. Do you know what color the tag would
 22       Q. I'm going to ask --                          22   have been initially?
 23       A. They were the first chassis we had to        23       A. No.
 24   work with.                                          24       Q. Did you ever --
 25       Q. I'm going to specifically ask you            25       A. Might have been silver because they


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  1   was mostly like a silver color and -- but            1   over on the other side.
  2   sometimes they even -- when they sprayed axles,      2           In fact, when the longshoremen was
  3   they sprayed over the tag, but you could always      3   working the ship, if they run across one that had
  4   read it, take a wire brush and clean it up.          4   problems, they'd bring it to the front shop if
  5        Q. You said you could read the writing          5   they couldn't take a container.
  6   that was stamped on there.                           6       Q. When you needed to get parts for an
  7            What did the writing say?                   7   Eaton axle, right, what would you say? What
  8        A. It said the name and then they would         8   would you tell the parts guy?
  9   have, I guess, like a serial number or something     9       A. I told him I needed parts for this
 10   on them. I never really paid that much attention    10   trailer -- this chassis and he'd ask me what it
 11   to it, just mainly the name of the axle.            11   was and I'd tell him.
 12        Q. Why would you pay attention to the          12       Q. What information other than the name
 13   name of the axle?                                   13   of the axle did the parts man need?
 14        A. Because to get the brake shoes that         14       A. That's it, because he matched -- he
 15   go with the axle and the parts because you had      15   matched it up with the parts we bought. You
 16   other parts that went on there.                     16   know, you don't -- you go get parts for your car,
 17        Q. You said the name was on there. Can         17   you're going to get it for your car, the right
 18   you spell the name for me?                          18   car, not another car.
 19        A. What you talking about, Eaton?              19       Q. Did you ever have to give him a
 20        Q. Yeah.                                       20   serial number?
 21        A. E-a-t-h-e-o-n.                              21       A. No.
 22        Q. Do you remember what kind of                22       Q. Did you ever have to give him a year?
 23   lettering it was written in, what the letters       23       A. No. He'd come and look.
 24   looked like?                                        24   Sometimes -- break time, if he had a problem
 25        A. It was kind of -- I don't know, kind        25   getting the parts, he'd go -- he would come and


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  1   of -- the E was kind a little fancy than the rest    1   look at the thing. I didn't -- you know, the
  2   of it was.                                           2   chassis. I never told him -- you know, we didn't
  3        Q. Now, you described for us that it was        3   discuss it, no. He'd go get what he needed for
  4   difficult to see what was on the chassis because     4   us to do it. He was the parts man.
  5   they were old and they were worn down, they might    5       Q. Did you ever order parts yourself for
  6   have been sprayed over.                              6   Puerto Rico Marine?
  7           Did you ever see an original Eaton           7       A. No.
  8   axle or were they all on the old chassis?            8       Q. Do you know where any of the parts
  9        A. Oh, they was -- we did work on some          9   that Puerto Rico Marine got for you to use, do
 10   newer stuff, but the -- you know, the main thing    10   you know where they came from?
 11   was, you know, if we did a brake job, we brought    11       A. No.
 12   it in. If it needed work on it, we brought it       12       Q. On an Eaton axle, can you describe
 13   in. So we --                                        13   for me what the brake assembly looked like?
 14        Q. Right. And --                               14       A. Yeah. It pretty much looks the same
 15        A. But I never paid that much attention        15   as all of them. They got the brake shoe on the
 16   to the tags on them or anything. All we looked      16   top and on the bottom. They got a camshaft comes
 17   to see what kind of axle it was and we go get --    17   in here, they got a spring that holds the two
 18   tell the parts man and he would get the parts.      18   shoes together on the camshaft and it turns.
 19        Q. All right. And so just so I'm clear,        19   That's what opens it up and closes it.
 20   the work that y'all were doing, that you            20           On this side you got two anchor pins
 21   described doing with Mr. Brindell with Mr. Hibey,   21   that go in a spider on the thing that hold them
 22   that was all on the old deadline chassis, right?    22   back here. To take them off, you got to take the
 23        A. No. We did all chassis. They did            23   clips off and then you got to knock the drive --
 24   have newer ones in there that was deadlined. But    24   drive the anchor pins out and then you can pull
 25   anything that was deadlined we put in the stack     25   the shoes off. But plenty of times them brake


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  1   shoes are -- them anchor pins will be frozen up      1        A. All right. A shoe is made with a top
  2   and you got -- you know, you've got to drive them    2   part and underneath that holds the metal on
  3   out.                                                 3   there, they got a thing that comes down, one on
  4       Q. When you were removing or changing            4   each side that the roller goes in by the
  5   the brakes on an Eaton axle, was there any           5   equalizer that turns it, and then there's -- on
  6   writing on -- on the brake shoes themselves?         6   the other side where the anchor pins goes
  7       A. Yeah, they had writing on brake               7   through. So right on the side there, it was
  8   shoes.                                               8   about that wide that they would put a tag on it,
  9       Q. Where?                                        9   one side or the other.
 10       A. Well, sometimes they had like a paper        10        Q. So the paper tag that you're talking
 11   tag that stuck on the side of the shoe -- not the   11   about on the shoes that you removed, that was on
 12   outer shoe, the metal part, the part that went      12   the metal part, not the liner, right?
 13   around on the thing or to the -- you know, the      13        A. Right. They wouldn't put it on the
 14   eyes and the camshaft.                              14   liner.
 15       Q. A paper tag?                                 15        Q. Right. So could you ever see any
 16       A. Yeah.                                        16   words on the liner on the brake shoe that you
 17       Q. What did the paper tag say?                  17   removed from an Eaton axle?
 18       A. What kind of axles it -- what kind of        18        A. The liner itself?
 19   tag -- I mean, shoes and stuff it was.              19        Q. Yeah.
 20       Q. Now, you mentioned earlier with              20        A. Sometimes they had -- on the side
 21   Mr. Hibey that you might have to change -- you      21   they would have some numbers or something. But
 22   might have to put on new linings.                   22   I -- we never -- we never paid all that attention
 23           Do you remember that?                       23   to it, you know what I mean? We put them on.
 24       A. No, you don't put on new linings.            24   The parts man was the one that had to do that.
 25   You have to get the whole brake shoe. I didn't      25   He had -- he was supposed to match it up with


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  1   put no linings on. You put the whole brake shoe      1   what we need.
  2   on. The brake shoe comes with the lining.            2       Q. How about on the new liners when you
  3        Q. Okay. So when you were taking off            3   were installing new brakes, do you recall ever
  4   the brake shoe from an Eaton axle, were you ever     4   seeing any names on the liners on the new brakes?
  5   able to read the writing on the paper tag on --      5       A. Yes, they had.
  6   for the brake shoe that you were removing?           6       Q. What were those names?
  7        A. Yeah, yeah.                                  7       A. It would be Eaton if that's what we
  8        Q. Okay. The brake shoe that you were           8   was working on.
  9   removing, do you recall what that tag said?          9       Q. You specifically recall the liner on
 10        A. What kind of -- what kind of shoe it        10   a brake that you were installing on an Eaton axle
 11   was.                                                11   said Eaton?
 12        Q. And I'm asking specifically what did        12       A. Yeah.
 13   it say?                                             13       Q. How many times do you remember
 14        A. Eaton.                                      14   Mr. Brindell helping you with a brake job on an
 15        Q. And these are on the brake shoes that       15   Eaton axle?
 16   you were removing?                                  16       A. Oh, pretty often. Plenty.
 17        A. Yeah.                                       17       Q. When you guys were working together,
 18        Q. How about on the ones that you were         18   repairing any of the chassis, how did you divide
 19   installing, do you recall --                        19   up the work?
 20        A. Yeah.                                       20       A. We didn't divide it up. We just one
 21        Q. What did they say?                          21   get on one side and one get on the other side.
 22        A. Eaton.                                      22       Q. Would you be working on opposite
 23        Q. Where's -- I'm just trying to               23   sides of the chassis?
 24   visualize on the brake shoe itself, where was the   24       A. Sometimes. Sometimes we work
 25   paper tag located?                                  25   together. Sometimes you could have a hard time


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  1   pulling a wheel off and, you know, we would get      1        Q. I'm pretty sure I know the answer,
  2   together to pull the wheel off. But the chassis      2   but I'm going to ask it just to be sure.
  3   would be jacked up on jack stands so we could        3             Do you recall any of the serial
  4   pull all wheels -- all four wheels off at one        4   numbers associated with any of the Eaton axles?
  5   time and clean it all up.                            5        A. I probably wouldn't even remember if
  6       Q. I think you told me earlier, I just           6   I -- if I looked at them.
  7   want to make sure.                                   7        Q. That's fair.
  8           How many anchor pins were on the             8        A. That's a long time ago.
  9   Eaton brakes that you were changing? Did you say     9        Q. I want to make sure I ask this
 10   it was two anchor pins?                             10   correctly, okay, so it's a really specific
 11       A. Right. You're saying on each --              11   question.
 12   that's only on one side, one axle. You got a top    12        A. All right.
 13   brake shoe, a bottom brake shoe. You got two        13        Q. Can you say -- or were you ever
 14   anchor pins, one on the top and one on the bottom   14   present for a time when Mr. Brindell would have
 15   here. And on the front you got rollers, one         15   done a first time brake job on an Eaton axle?
 16   roller, two rollers altogether.                     16   And what I mean by that is he was the very first
 17       Q. Do you remember the linings on the           17   mechanic to ever change the brakes on an Eaton
 18   Eaton -- the linings that you associate with the    18   axle.
 19   Eaton brakes, were they tapered?                    19        A. Oh, I'm sure I was present when he
 20       A. Right. You got a taper to one side           20   did it because I was working with him, teaching
 21   and a taper to the other side and your high is in   21   him.
 22   the middle at the top.                              22        Q. Right. And no, no, no. My point
 23       Q. So you recall the Eaton brakes being         23   being that the brakes were the first ones -- the
 24   tapered?                                            24   first change on that specific axle.
 25       A. Tapered, right.                              25        A. Yes.

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  1       Q. Do you recall how any of the brake            1       Q. When do you think that happened?
  2   shoes that you associate with Eaton came             2       A. When do I think it happened?
  3   packaged?                                            3       Q. Uh-huh.
  4       A. Oh, I didn't get to see all that.             4       A. In the beginning when he first
  5   All they gave us was brake shoes out of the parts    5   started.
  6   room. I never seen -- I didn't know how they         6       Q. I think we might be having a
  7   come in the parts room. They might have came in      7   disconnect.
  8   a great big crate. I have no idea. We had a          8           Are you saying you think you were
  9   window to go to to get parts.                        9   there the first time Mr. Brindell ever changed a
 10       Q. Do you know any of the years of              10   brake on an Eaton axle generally --
 11   manufacture of any of the Eaton axles that you      11       A. No.
 12   would have worked on?                               12       Q. -- his first brake job?
 13       A. Yeah. They -- I imagine -- you know,         13       A. No.
 14   I mean, we looked at them and all like that, you    14       Q. Okay. What makes you think that
 15   know, but we never really paid that much            15   Mr. Brindell was the first mechanic to change a
 16   attention to it. But I know there was no '66.       16   brake on a specific Eaton axle?
 17   They could have been, you know, '70s or something   17       A. What makes me think that? Because --
 18   like that.                                          18       Q. Yes.
 19       Q. Right. And so my question was just           19       A. -- he worked with me and I know we
 20   more specific.                                      20   didn't pick out just certain jobs. We just
 21           The Eaton axles that you and                21   worked on what we had coming in.
 22   Mr. Brindell worked on, do you know the exact       22       Q. Okay. Help me to understand which
 23   year of manufacture of any of those axles?          23   axles you think that you and Mr. Brindell worked
 24       A. No. I never did pay attention to             24   on that you were the very first mechanic to ever
 25   that.                                               25   change those brakes.


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  1        A. I don't understand the question.             1   the service histories of any of the chassis that
  2        Q. Okay. Let me see if I can run it             2   you worked on, correct?
  3   through this way.                                    3        A. No, because they never kept records
  4           If you get a car, right, you buy a           4   on chassis, containers or anything.
  5   car new?                                             5        Q. Okay. So because you don't know the
  6        A. Yeah.                                        6   condition that they were purchased personally and
  7        Q. You own that car, you're the one             7   because you don't know the service history of any
  8   doing all the maintenance on it, right?              8   of the chassis that you worked on, are you making
  9        A. Right.                                       9   an assumption that you were the first person to
 10        Q. You know the service history, right?        10   change any brakes?
 11        A. Right.                                      11        A. Oh, no. I wouldn't say that I was
 12        Q. So the first time you change the            12   the first person that ever did that.
 13   brakes on your car that you bought and you          13        Q. Okay. And that's --
 14   maintain the service history, you know you're the   14        A. I more than likely was. We -- some
 15   first mechanic to have ever changed those brakes,   15   of this stuff, I'm telling you.
 16   right?                                              16        Q. Right. And so what I'm trying to
 17        A. Right.                                      17   get, sir, is your -- the best knowledge that you
 18        Q. Okay. The axles that were at Puerto         18   have with your personal knowledge. So let me ask
 19   Rico Marine, you said you didn't know the service   19   it again to make sure that you and I are on the
 20   history of any of the axles that you worked on,     20   same page.
 21   right?                                              21            The Eaton axles that you worked on
 22        A. Right, we didn't know.                      22   with Mr. Brindell, you don't know the service
 23        Q. Right. So the axles that you worked         23   history of any of those Eaton axles before you
 24   on, since you didn't know the service history and   24   put hands on them, right?
 25   they came to you damaged, they were old, they       25        A. Right.

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  1   were out of service, are you able to say that        1        Q. Okay. And you don't know the
  2   nobody had ever changed the brakes on those axles    2   condition of any of the chassis when they were
  3   before?                                              3   first purchased, correct?
  4       A. Yeah.                                         4        A. No.
  5       Q. How?                                          5        Q. That's not correct?
  6       A. When they worn down and they froze            6        A. No. I said that's correct.
  7   up.                                                  7        Q. Okay. So sitting here today with
  8       Q. Is that an assumption that you're             8   that understanding, are you able to say that you
  9   making based on the condition of the brakes?         9   and Mr. Brindell were the first mechanics to ever
 10       A. What I'm telling you is when you get         10   change brakes on any of those Eaton axles?
 11   them -- I know there's nobody because they never    11        A. Yes, yes.
 12   had no mechanics like we did. All that stuff        12        Q. How?
 13   come -- some of that stuff comes from overseas.     13        A. By the condition of the brakes and
 14       Q. Do you know the condition it was in          14   everything under there.
 15   when it was purchased?                              15        Q. I'm sorry. I couldn't hear you.
 16       A. It was brand new probably.                   16        A. By the condition of the brakes and
 17       Q. You say probably. Did you purchase           17   everything under there.
 18   it?                                                 18        Q. Again --
 19       A. We bought all -- Puerto Rico Marine          19        A. I get under one and look at it, all
 20   management bought all of that stuff.                20   rusted and you could tell if them things aren't
 21       Q. Okay. So what I'm asking                     21   serviced.
 22   specifically, did you personally order any of the   22        Q. Okay. And so again, this is where
 23   chassis brand new?                                  23   we're coming back to. You're making an
 24       A. No.                                          24   assumption that you were the first person --
 25       Q. And you personally don't know any of         25           MR. HIBEY: At this point -- at this


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  1   point I'm going to object and we're going to move    1   judge, but he is here to answer questions and you
  2   along. You've asked the question for                 2   do not control the deposition for everyone else.
  3   ten minutes. You've asked it three or four           3           So as I said before, the deposition
  4   times. It's beyond repetitive and it's crossed       4   is now suspended as to you and we will continue
  5   over into harassment.                                5   with another defendant.
  6           So do you have another topic area or         6           MS. SENTER: For the record,
  7   should we move along to another attorney?            7   plaintiff's counsel is not allowed to
  8           MS. SENTER: Well, Mike, the proper           8   unilaterally suspend the deposition to a specific
  9   objection in Louisiana is as to form. So you can     9   defendant. So we'll go ahead and call the judge.
 10   make an objection and I'll continue to ask my       10   If somebody else would like to pick up
 11   questions --                                        11   questioning, but I'm reserving my right to come
 12           MR. HIBEY: I made my objection.             12   back and ask any questions that I choose to.
 13           MS. SENTER: Okay.                           13           MR. HIBEY: Sounds good.
 14           MR. HIBEY: And I'm instructing the          14           We will continue with the counsel for
 15   witness not to answer any further repetitive and    15   Fruehauf.
 16   harassing questions.                                16           Does anyone on the phone have
 17           So at this point do you have another        17   questions for Fruehauf?
 18   topic area?                                         18           MR. HART: I don't think they're a
 19           MS. SENTER: No. I have --                   19   defendant.
 20           MR. HIBEY: You can go ahead and say         20           MR. HIBEY: They are represented by
 21   whatever you need to say for the record, but        21   Kelsey-Hayes and that entity, whoever is in the
 22   we're moving along.                                 22   case for them.
 23           MS. SENTER: We're going to go on a          23           MS. PUENTE: Well, does counsel for
 24   break, Mr. Kain. Why don't you go ahead and you     24   Fruehauf want to take the same break because I
 25   can -- we can go off the record -- we can go off    25   think -- I'm not sure that we all -- we can

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  1   the video record and, Mr. Kain, you can step out     1   dictate who goes next.
  2   of the room.                                         2            MR. HIBEY: Who is on the phone --
  3            THE VIDEOGRAPHER: Mike, are you             3            DEFENSE COUNSEL: I agree.
  4   wanting to go off record?                            4            MR. HIBEY: -- for Kelsey-Hayes?
  5            MR. HIBEY: No, we're not going off          5            MR. HARRISON: This is William
  6   the record. He's here to answer questions.           6   Harrison. I'm on the phone. You don't dictate
  7            MS. SENTER: Well --                         7   the order of the questioning. I will go when I
  8            MR. HIBEY: So continue or -- or we          8   choose.
  9   can just suspend the deposition if that's what       9            MR. HIBEY: Okay. At this time
 10   you feel like you need to do, but we'll do it as    10   Fruehauf is being offered the opportunity to
 11   to your defendant only and continue along.          11   question Mr. Kain. I do not know how much time
 12            MS. SENTER: I'm going to call the          12   Mr. Kain has today or in the future. This is
 13   judge because it is my right right now to ask the   13   your opportunity, Mr. Harrison, if you represent
 14   questions that I would like to ask. I understand    14   them. It is my understanding that you do not
 15   that you disagree, but it is my time for my         15   represent them in this case. Am I wrong?
 16   client to ask questions. So if you'd like --        16            MR. HARRISON: My firm does and I'm
 17            MR. HIBEY: No, it's not. You've            17   on the letterhead, yes.
 18   been going for over an hour. You've asked the       18            MR. HART: Hey, if we're going to do
 19   same question now for over ten minutes. It's        19   this, I want this on the record. This is
 20   repetitive and it's harassing. He's been here       20   all improper.
 21   for now almost three hours. I asked questions       21            MR. HIBEY: This is -- this is all on
 22   for 30 minutes. I turned it over to you all and     22   the record, Jody.
 23   it was an hour with one defendant and now over an   23            MR. HART: Good.
 24   hour with you. This is ridiculous.                  24            MR. HIBEY: I want it on the record.
 25            So you can go ahead and call the           25   This is not improper. I'm trying to move this


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  1    along. I'm asking for an attorney to ask            1   that was in there. It was just more like it was
  2    questions because I don't know how much longer      2   frozen in. I wouldn't say it was -- it all
  3    time we have here today.                            3   depends. It was a little rusty, but no, it
  4             MR. HART: Mike, I'll ask questions.        4   wasn't enough to make that much dust.
  5             MR. HIBEY: And I'm not moving to you       5       Q. Okay. But it would make some dust,
  6    at this time. I'm asking --                         6   right?
  7             MR. HART: It's not your right to           7       A. Very little, believe me, compared to
  8    determine who we move to. I am going to ask         8   what we used to get.
  9    questions now.                                      9       Q. Were there any other parts that would
 10             MR. HIBEY: No. Jody, I'm going to         10   rust within the brake drums?
 11    continue my conversation with Mr. Harrison and     11       A. No, not really.
 12    then you can ask your questions.                   12       Q. Did the chassis used at Puerto Rico
 13             Mr. Harrison, I'm confused because I      13   Marine, were they all the same weight rating to
 14    was specifically told yesterday or earlier this    14   your knowledge?
 15    week that you do not represent Fruehauf in this    15       A. Pretty much because to put a
 16    case. Am I wrong?                                  16   chassis -- you know, to put the container on. I
 17             MR. HARRISON: I'm on the letterhead.      17   think it was -- the weight was like 6900 pounds.
 18    I'm on the signature block.                        18   Now, don't hold to me to that, but I think --
 19             MR. HIBEY: Okay. So it is your role       19       Q. I won't hold you to that.
 20    here to ask questions on behalf of any defendant   20       A. -- that's what I seen on it.
 21    who may hold the liabilities for Fruehauf?         21       Q. Okay. But you think they were
 22             MR. HARRISON: You do not dictate the      22   consistent from chassis to chassis what they
 23    order of the questioning.                          23   could carry?
 24             MR. HIBEY: I'm not trying to dictate      24       A. Right. That's what it was because
 25    it. I'm just trying to confirm that you are        25   they want -- you know, they want to unload that


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   1   speaking for that entity today.                     1   thing and put it on there and they didn't want it
   2           MR. HARRISON: Me or one of my               2   to be overweight.
   3   partners do, yes. And at this time --               3        Q. Okay. When we spoke with Mr. Polito,
   4           MR. HIBEY: Excuse me?                       4   he testified that there would be occasions -- and
   5           MR. HARRISON: -- I'm passing the            5   I don't know if I'm using the right term, you
   6   witness.                                            6   tell me, where the bogies on trailers would be
   7           MR. HIBEY: Okay. Thank you.                 7   replaced.
   8           Jody, go ahead.                             8            Does that word "bogey" have any
   9           MR. HART: Thank you, sir.                   9   meaning to you?
  10               [EXAMINATION]                          10        A. Bogies?
  11   QUESTIONS BY MR. HART:                             11        Q. If it doesn't, that's fine.
  12       Q. Mr. Kain, my name is Jody Hart. Can         12            Would the axles on the trailers
  13   you see me and hear me okay?                       13   sometimes be -- chassis and trailers sometimes be
  14       A. Yes, I can.                                 14   replaced?
  15       Q. Thank you, sir. Let's see where I           15        A. The axles and all?
  16   would like to start.                               16        Q. Yes.
  17           You just mentioned these pins that         17        A. Sure. If it's missing a bearing or
  18   hold the brakes in on one side, correct?           18   something, you've got to replace the axle.
  19       A. Yes.                                        19        Q. Okay. And those axles would come
  20       Q. And you mentioned that they would get       20   complete with brake assemblies on them?
  21   rusty and stuck in there, correct?                 21        A. Most -- most of the time we'd get it
  22       A. Right.                                      22   where all you had to do was put the drums and all
  23       Q. So -- and would -- that rust would          23   back on.
  24   get in the brake drum, correct?                    24        Q. Okay. Would these be -- would you
  25       A. Well, it really wasn't that much rust       25   necessarily put the same brand of axle back on a


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  1   trailer or chassis that --                           1   there.
  2        A. Yes.                                         2        Q. Okay. If they didn't own the
  3        Q. -- had come originally with it?              3   trailers, did y'all work on trailers or only on
  4        A. That's what you put back on.                 4   chassis?
  5        Q. Okay. And I recall that Fruehauf was         5        A. No, we worked on the trailer because
  6   the only one you testified to having the same        6   if it was damaged on a ship -- see, I'll repeat
  7   brand axle, Fruehauf trailers and chassis --         7   this. We were union and in the union contract,
  8        A. Yes, they make their own axles.              8   anybody -- anything damaged by the ILA or the
  9        Q. -- had the Fruehauf axles. And --            9   longshoreman and everything had to be fixed in
 10        A. I worked for Fruehauf so I knew.            10   the shop before it could leave.
 11        Q. Okay. And you said that -- you've           11        Q. Was there an expectation at this
 12   mentioned the '66 model Fruehauf trailers --        12   point in time when y'all were using the
 13        A. Right.                                      13   roll-on/roll-offs that the owners of the trailer
 14        Q. -- at Puerto Rico Marine. When you          14   would bring them to Puerto Rico Marine for
 15   first got there, were all -- well, I keep saying    15   shipping in a workable condition such that the
 16   trailer.                                            16   presumption was that you wouldn't have to work on
 17            Were the Fruehaufs trailers and            17   them?
 18   chassis or just chassis?                            18        A. Well, if it came in in a workable --
 19        A. We had some Fruehauf containers, but        19   workable condition and it got damaged on the
 20   they had -- they had bought out a company, so       20   ship, we worked on them.
 21   when they bought them out, we got all the           21        Q. Okay. And you don't know how long or
 22   containers --                                       22   when you went from LoLos to RoRos?
 23        Q. Okay. Was --                                23        A. No, I don't remember that.
 24        A. -- and trailers.                            24        Q. Okay. And before you went to the
 25        Q. Was that Sealand that you've                25   RoRos and y'all were using just chassis, were all


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  1   referenced earlier?                                  1   the chassis the 1966 Fruehauf model that you
  2        A. No, Seatrain.                                2   discussed earlier?
  3        Q. Seatrain, I'm sorry. Okay.                   3        A. No, no. I wouldn't say all of them
  4            And so while you were with Puerto           4   because they leased chassis too.
  5   Rico Marine or let's just say up to 1981, did        5        Q. Uh-huh.
  6   Puerto Rico Marine ever purchase any brand new       6        A. Different -- different -- like
  7   chassis or trailers to your knowledge?               7   different types of chassis.
  8        A. No.                                          8        Q. Okay. At the beginning of the
  9        Q. They would --                                9   deposition when Mr. Hibey was asking you
 10        A. Not that I know of.                         10   questions, he asked you about the brands of the
 11        Q. Okay. And do you have any feel for          11   trailers and you gave him a couple, and then he
 12   when these trailers from Seatrain, trailers         12   named a couple of additional brands and asked you
 13   and/or chassis were purchased?                      13   if they were there.
 14        A. No.                                         14            My question for you is had he not
 15        Q. Okay. Am I correct in my                    15   named those other brands of trailers, you
 16   understanding that when you first started at        16   wouldn't have been able to have named them, would
 17   Puerto Rico Marine, that there were no actual       17   you?
 18   trailers, everything was a chassis that a           18        A. No.
 19   container could fit on?                             19        Q. Okay. Did y'all ever replace drums
 20        A. Oh, well, they didn't have any              20   during brake jobs, brake drums?
 21   trailers, but -- in fact, probably never did own    21        A. Drums?
 22   no trailers. When they went RoRo, everything was    22        Q. Yes.
 23   brought in that way. You know, they -- anybody      23        A. Yeah. If the drum's cracked, we
 24   that wanted to ship something that had a trailer,   24   always had to take it off.
 25   they brought it and they drove the thing on         25        Q. Okay. And would it also be -- would


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  1   they crack because they got thin from when they      1        Q. I gotcha. And then am I correct that
  2   were new, compared to when they were new?            2   Mr. Polito's bay was on the opposite side, he was
  3       A. Oh, yeah. Yeah, they cracked from             3   the one against --
  4   that, but they also cracked from heat cracks from    4        A. All the way over.
  5   getting too hot.                                     5        Q. -- the opposite wall? Yeah, okay.
  6       Q. Gotcha. But you all would --                  6   That's what I thought.
  7   sometimes they wouldn't be cracked and you would     7           The chassis pit that you described,
  8   measure the thickness of the drum and it would be    8   did I understand correctly that that was outside
  9   too thin and you'd have to replace it, correct?      9   and was not a part of one of these four bays?
 10       A. Right.                                       10        A. Oh, no, no.
 11       Q. Okay. And that's because the metal           11        Q. No what?
 12   wore away during the use of the brake, right?       12        A. That was outside.
 13       A. Right.                                       13        Q. That was outside.
 14       Q. Okay. And so --                              14           What percentage of your work was done
 15       A. But the brake shoe wears more than           15   at the chassis pit as opposed to inside one of
 16   the drum.                                           16   the four bays?
 17       Q. No doubt about it.                           17        A. Never.
 18       A. It's made like that.                         18        Q. Never?
 19       Q. I'm not arguing with you. I agree.           19        A. We brought it in.
 20           My question is would you at least           20        Q. Okay. What was done --
 21   agree with me that some of that break dust would    21        A. We brought it in.
 22   have been composed of metal from the wear down of   22        Q. What was done at the chassis pit
 23   the drums?                                          23   then? I didn't understand that.
 24       A. No, it wouldn't be that much --              24        A. That was just -- the chassis pit was
 25       Q. But some?                                    25   just where we put the deadline equipment, stuff

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  1        A. -- compared to brake shoes.                  1   that couldn't be used.
  2        Q. Okay. Compared, but some?                    2       Q. Oh, okay. It was like a dump?
  3        A. It's always possible a little bit,           3       A. Exactly.
  4   but it wasn't nothing like the brake dust --         4       Q. Okay. I was picturing something like
  5   brake shoes.                                         5   at an oil change facility where you get down
  6        Q. And did I understand from your               6   under the truck and roll over. I'm sorry.
  7   testimony earlier that the brake shoes when y'all    7       A. No.
  8   were replacing them and you'd go and request them    8       Q. I was very confused there.
  9   from parts, they were specific to the axle?          9           Now, when Mr. Brindell first started
 10        A. Right.                                      10   at Puerto Rico Marine, am I correct that you were
 11        Q. Which bay -- if I'm facing your all's       11   his boss because you were lead mechanic and he
 12   garage where the doors are because there's -- is    12   was a mechanic?
 13   there a door for each bay?                          13       A. Yes.
 14        A. Right.                                      14       Q. And at some point in time he became
 15        Q. So if I'm facing in that direction          15   your boss when you stayed lead mechanic and he
 16   looking at the doors, which bay was yours going     16   became supervisor?
 17   from left to right or right to left, whichever      17       A. Right.
 18   you prefer?                                         18       Q. We're losing your sound.
 19        A. Well, it was the first one by the           19           Madam Court Reporter, can you hear?
 20   parts room.                                         20   I can tell what he's saying, but I can't hear it.
 21        Q. Was that on the left?                       21       A. Yeah, that was right.
 22        A. Looking at it, it would have been --        22       Q. Okay. When you were Mr. Brindell's
 23   well, if you're looking at it from this way from    23   boss, did you ever stop him from doing anything
 24   the front, it would be the right. If you're         24   that you considered to be unsafe?
 25   looking it at the back, it would be left.           25       A. No.


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  1       Q. When he was your boss, did he ever            1        A. No, no, nothing like that. That was
  2   stop you from doing anything unsafe?                 2   all insulated containers.
  3       A. No.                                           3        Q. Uh-huh. What percentage do you think
  4       Q. If you had seen Mr. Brindell do               4   of the containers that y'all -- that were handled
  5   something that you considered unsafe, would you      5   at Puerto Rico Marine were insulated refrigerated
  6   have stopped him?                                    6   versus regular old dry containers?
  7       A. I would of.                                   7        A. The majority was the dry. I guess
  8       Q. Pardon me?                                    8   they had maybe 200 of the refrigerated trailers.
  9       A. Yes, I would of.                              9        Q. Okay. When you first got to Puerto
 10       Q. And if he had seen you doing                 10   Rico Marine and you've already told us they had
 11   something unsafe, would you have expected him to    11   '66 model Fruehaufs, were there any other brands
 12   stop you?                                           12   of trailers that you can specifically recall that
 13       A. Yes.                                         13   were present when you started?
 14       Q. Because y'all wanted to take care of         14        A. They had brands of chassis, I'm sure,
 15   one another. I mean, everybody had                  15   but Gindy, I think they had some Gindy chassis.
 16   responsibility towards one another, correct?        16        Q. Uh-huh. Any others?
 17       A. Right. We would have did that for            17        A. No, not that I really remember.
 18   anybody in the shop.                                18        Q. So you think the chassis were all
 19       Q. Sure. Okay. The -- switching                 19   Fruehaufs and Gindys?
 20   subjects because I'm bouncing around so if I        20        A. Most, yeah.
 21   confuse you, let me know.                           21        Q. Okay. And whenever the trailers
 22           The three names of the ships, am I          22   started, whenever you went to the RoRo ships,
 23   correct that one was Aguadilla, which was           23   what were the first trailers that you recall
 24   A-g-u-a-d-i-l-l-a?                                  24   having worked on while you were at Puerto Rico
 25       A. I guess it was, yeah. I don't                25   Marine?


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  1   have -- I don't know.                                1       A. Oh, man. We worked on all of them.
  2       Q. The one that I really had a hard time         2   I mean, anything that came through there, we
  3   understanding was the one that started with an M.    3   worked on them. I mean, that was our job.
  4   Was that Mur --                                      4       Q. Was there a predominant manufacturer
  5       A. Mayaguez.                                     5   of trailers amongst the trailers as opposed to
  6       Q. Do you have any --- how do you best           6   the chassis once y'all went to the RoRo ships?
  7   spell it?                                            7       A. Well, the RoRo ships, like I said,
  8       A. I don't know. That's one of the --            8   they could take any kind of chassis. You know,
  9   that three ships was named after cities in Puerto    9   we even shipped -- we even shipped a zoo over
 10   Rico.                                               10   there one time --
 11       Q. Uh-huh.                                      11       Q. Wow.
 12       A. Ponce, you had the Mayaguez, and you         12       A. -- with animals and everything in it.
 13   had Aguadilla.                                      13   I mean, we didn't look at them kind of, you know,
 14       Q. Okay. When I looked up cities in             14   trailers.
 15   Puerto Rico after you testified to that, the M      15       Q. So you can't tell me what brands
 16   name that I found was Moravis, M-o-r-a-v-i-s. Is    16   would have been the first RoRo -- or trailers
 17   that not right?                                     17   that you worked on when you went to RoRo ships?
 18       A. Never heard of it.                           18       A. No.
 19       Q. Okay. Fair enough. Fair enough.              19       Q. No?
 20            Did you ever work on -- did you and        20       A. No.
 21   Mr. -- did Mr. Brindell ever work on any            21       Q. Okay. Did Mr. Brindell -- you had
 22   refrigerated containers?                            22   mentioned that you understood from some of his
 23       A. No.                                          23   other jobs, including the one that y'all worked
 24       Q. Not even for sidewall repairs or             24   on together at New Orleans Depot Services, that
 25   anything like that?                                 25   part of his job there was to write up damage


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  1   reports.                                             1        Q. You are not referring to what we
  2            Did I understand that correctly?            2   would traditionally refer to as a semi-trailer
  3        A. Yes. That's what he did. He wrote            3   that's an enclosed box of some sort?
  4   up damage reports.                                   4        A. No. This is -- a chassis is what the
  5        Q. Did he have a responsibility for             5   container goes on, the wheels -- and it can come
  6   writing up damage reports with Puerto Rico           6   off after it's loaded.
  7   Marine?                                              7            MR. HART: Gotcha. Sir, I really
  8        A. No.                                          8   appreciate your time. I may have some follow-ups
  9        Q. Was there somebody who did?                  9   later, but I think that's all I have, and thank
 10        A. Yeah, we had the inspection lane.           10   you again.
 11        Q. Oh. Gotcha.                                 11            THE WITNESS: Thank you.
 12        A. We had to inspect the trailer coming        12            MR. HIBEY: All right. Let's keep
 13   in and inspect one going out.                       13   going unless you want to take a break, Mr. Kain.
 14        Q. When y'all would change brakes on a         14   Would you like to take a break?
 15   chassis or a trailer and you used the compressed    15            THE WITNESS: No, I'm ready unless
 16   air to blow out the dust, how many seconds would    16   y'all want to take a break.
 17   it take to blow out a wheel?                        17            MR. HIBEY: All right. Mr. Harrison,
 18        A. Oh. A minute.                               18   are you ready to ask questions for Kelsey-Hayes
 19        Q. One minute?                                 19   at this time?
 20        A. And then you had to blow the axles,         20            MR. HARRISON: No.
 21   blow the dust all off the axles and everything      21            MR. HIBEY: All right. Is there
 22   like that.                                          22   someone else who would like to ask questions at
 23        Q. Would that all be during that               23   this time?
 24   one minute?                                         24            MS. DETO: Yes. This is Amanda Deto.
 25        A. No. It would be a little longer.            25   I would like to, but I'd ask that we take a

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  1   Sometimes --                                         1   ten-minute comfort break.
  2        Q. Another 30 seconds?                          2           MR. HIBEY: Mr. Kain, would you like
  3        A. Say a minute and a half to do a              3   to take a ten-minute comfort break?
  4   wheel.                                               4           THE WITNESS: It doesn't matter to
  5        Q. Okay. That's fair. I might be done.          5   me.
  6   Give me one second.                                  6           MR. HIBEY: All right. I guess we'll
  7           Were you ever offered the job of             7   take a ten-minute comfort break. Who is that on
  8   supervisor at Puerto Rico Marine?                    8   the line who's ready to go when we return?
  9        A. Yes, I was.                                  9           MS. DETO: Yes. This is Amanda Deto.
 10        Q. And you turned it down?                     10   Thanks.
 11        A. Right.                                      11           MR. HIBEY: All right. We'll be back
 12        Q. Was that at the same time or before         12   in ten minutes, Mr. Kain. Sorry about the delay.
 13   or after Mr. Brindell was offered that job?         13           THE WITNESS: All righty.
 14        A. Right after. I mean right before.           14           THE VIDEOGRAPHER: The time is
 15   They offered it to me and then they offered it to   15   12:23 p.m. Central Standard Time. We're going
 16   Jack.                                               16   off the record.
 17        Q. Okay. And this might be my last             17           (Break taken.)
 18   question. I want to make sure we're using the       18           THE VIDEOGRAPHER: The time is
 19   same terminology because you know more about this   19   12:30 p.m. Central Standard Time. We are now
 20   stuff than I do.                                    20   back on the record.
 21           When you say chassis during the             21               [EXAMINATION]
 22   course of this deposition, what you're referring    22   QUESTIONS BY MS. BAXTER:
 23   to is something that a container is placed onto,    23       Q. Good afternoon, Mr. Kain. My name is
 24   correct?                                            24   Kay Baxter. Can you hear me all right?
 25        A. Right.                                      25        A. Yes, ma'am. Good afternoon.


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   1       Q. Okay. Very good.                              1   government.
   2           First of all, I'd love to say that I         2       Q. Okay. And those answers are taking
   3   absolutely love your crab plate back there in the    3   care of a bunch of my questions, so that's very
   4   background. Love it, love it, love it.               4   good. All right. Let me look here at my other
   5           All right. I'm going to be jumping           5   notes for half a second. Checking them off.
   6   around with some of my questions --                  6   Some of these were already asked, so it's making
   7       A. All right.                                    7   my questions go a lot faster.
   8       Q. -- and the first is when you and --           8           Would you agree with me that all of
   9   -- and let me ask this. Do you pronounce his         9   your work and all of Mr. Brindell's work was
  10   name Brindell or Brindell?                          10   directed by Puerto Rico Marine?
  11       A. Brindell.                                    11       A. Yes.
  12       Q. Okay, Brindell. Thank you so much.           12       Q. All right. I want to talk to you
  13           When you and Mr. Brindell were on any       13   about trailers for just a second. I know you
  14   of these Puerto Rican owned vessels, were you       14   said you changed brakes on trailers?
  15   ever working around stevedores?                     15       A. Right.
  16       A. Yes, yeah.                                   16       Q. What -- what other type of work had
  17       Q. Okay. And do you know who -- who             17   to be done on trailers?
  18   employed those stevedores?                          18       A. You talking about a trailer or a
  19       A. Who what? What's that? Who did               19   chassis?
  20   what?                                               20       Q. What's the difference?
  21       Q. Who employed them?                           21       A. A chassis has got the wheels and a
  22       A. I don't understand the question.             22   trailer has got a container like on it.
  23       Q. Okay. Do you know who employed the           23       Q. Okay. So what kind of work did you
  24   stevedores that you and Mr. Brindell worked         24   have to do on a trailer?
  25   around?                                             25       A. Well, we fixed holes in the side and

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  1         A. Oh, yeah. It was -- well, it was ILA         1   stuff like that.
  2    employees, but it was -- I can't think of the        2       Q. I'm sorry, but you've got to tell me
  3    name of it now. They was -- oh, man. But they        3   what stuff like that means.
  4    was Local 3000. I'll tell you that.                  4       A. Repairing it, you know, whatever --
  5         Q. Okay.                                        5   leaks, roof leaking or something like that or a
  6         A. And they -- PRMMI just hired -- well,        6   door might need to be greased or something so we
  7    Puerto Rico Marine, PRMMI is all the same thing.     7   could open and close it.
  8    They hired them out of the hall.                     8       Q. Okay. So that's just metal work,
  9         Q. Okay.                                        9   right?
 10         A. And they came with -- they came with        10       A. Right.
 11    their, you know, supervisors and all that, you      11       Q. Okay. Now, I represent Strick
 12    know, their bosses and all.                         12   Trailer.
 13         Q. Okay. They were other union people,         13       A. All right.
 14    but they weren't employees of Puerto Rico Marine;   14       Q. So is that just a metal container?
 15    is that true?                                       15       A. No.
 16         A. That's true.                                16       Q. Okay.
 17         Q. Okay. Do you know the age of any of         17       A. No, we got Strick chassis too.
 18    the Puerto Rican Marine ships, those three ships?   18       Q. All right. Now, tell me what a
 19         A. No, no.                                     19   Strick chassis is.
 20         Q. Did you and Mr. Brindell ever have to       20       A. That's a chassis that they put the
 21    work on any ships that were not owned by Puerto     21   containers on that come off the ship.
 22    Rican Marine?                                       22       Q. Okay. So then that takes care of
 23         A. No, we never worked on a ship and           23   more of my questions. I've got that because
 24    Puerto Rico Marine -- the only ship that was in     24   you've already told us what can go wrong on a
 25    there was one that belonged to Puerto Rican         25   chassis, so I've got that.


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  1           Do you know if Puerto Rican Marine           1   the fall.
  2   ever used refurbished brakes on the chassis?         2       Q. Any -- any type of year estimate or
  3       A. No.                                           3   just don't know?
  4       Q. Okay.                                         4       A. No, I just don't know.
  5       A. No, because I wasn't in the parts             5       Q. Okay. And when is the last time you
  6   room.                                                6   recall seeing a Great Dane trailer?
  7           MS. BAXTER: Okay. Mr. Kain, I                7       A. Whenever they stopped the RoRo vessel
  8   believe that's all my questions for right now,       8   and went back to LoLo.
  9   but I'm going to reserve my right to come back       9       Q. And do you have any time estimate of
 10   and talk to you a little bit more if I need to.     10   that?
 11   But I really appreciate your time today.            11       A. No, that was -- I would say the RoRo
 12           THE WITNESS: Okay.                          12   vessel was only on for maybe eight years.
 13           MS. BAXTER: Thank you, sir.                 13       Q. Eight years. Okay.
 14           THE WITNESS: Thank you.                     14           Now, can you tell me what work you
 15           MS DETO: Good afternoon. I can jump         15   did on a Great Dane trailer?
 16   in unless anybody has any preference?               16       A. Whatever needed to have done.
 17           MR. HIBEY: Is this Amanda? Are you          17       Q. Okay. And can you describe that for
 18   ready to go?                                        18   me?
 19           MS. DETO: Yeah. Yep.                        19       A. Well, if it had brake problems, we
 20           MR. HIBEY: Go ahead. Thanks.                20   did brake problems. If it had light problems, we
 21               [EXAMINATION]                           21   did light problems. If it had damage to the
 22   QUESTIONS BY MS. DETO:                              22   trailer, we did the -- fixed the damage.
 23       Q. Good afternoon, Mr. Kain. Thanks for         23       Q. Okay. I'm maybe a little confused.
 24   your time. I'm hopeful to not take too much of      24   I thought you had said earlier that you did not
 25   it. My name is Amanda Deto. I've been listening     25   do brake jobs on trailers.


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  1   along this morning trying to follow my notes, so     1       A.    We did brake jobs on everything.
  2   I should be able to streamline a bunch of this.      2            MR. HIBEY: Yeah, I'm going to
  3            If at any point you can't understand        3   object. That completely misstates testimony. If
  4   me, can you please let me know?                      4   that was said or came across at some point,
  5       A. Sure.                                         5   that's crazy. That's what this deposition is
  6       Q. And I do tend to talk a little quick.         6   about is brake jobs on trailers.
  7   I am conscious of it, so I'll try to slow down.      7            MS. DETO: Okay. Mike, you can
  8   But if you do answer any of my questions, it's --    8   object to form, but -- okay. Thank you.
  9   I'm going to assume that you understood them; is     9            MS. BAXTER: I join the objection.
 10   that fair?                                          10   BY MS. DETO:
 11       A. Yes.                                         11       Q. Do you recall ever reviewing -- oh,
 12       Q. Okay. Now, earlier in the deposition         12   sorry. Is someone trying to speak?
 13   when you were speaking with Mike, you mentioned     13            MS. BAXTER: This is Kay. I just
 14   Great Dane trailers --                              14   wanted to clarify that I'm joining your objection
 15       A. Yes.                                         15   to his speaking objection.
 16       Q. -- correct?                                  16            MS. DETO: Thanks, Kay.
 17       A. Yes.                                         17   BY MS. DETO:
 18       Q. When is -- when is the first time you        18       Q. Mr. Kain, did you ever review any
 19   recall seeing a Great Dane trailer at Puerto Rico   19   manuals from any trailer manufacturer --
 20   Marine?                                             20       A. No.
 21       A. When they started the RoRo vessel.           21       Q. Did you say no?
 22       Q. Okay. And can you remind me what             22       A. No.
 23   year that was again or your best estimate?          23       Q. I'm sorry. I'm having some
 24       A. Man, I couldn't really remember that.        24   difficulty hearing. Okay.
 25   I couldn't tell you if it was in the summer or      25            And did you ever see any paperwork or


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  1   anything about the ownership or -- the ownership    1   would say Great Dane and it would have a serial
  2   of any of the trailers?                             2   number and all of that kind of stuff on it,
  3        A. No.                                         3   manufacture date and everything. But I never
  4        Q. Okay. You don't know who owned any          4   paid attention to none of that.
  5   of the Great Dane trailers, correct?                5        Q. Okay. So you can't recall of -- I'm
  6        A. No, we -- that wasn't our -- you            6   sure I know the answer to this -- any of the
  7   know, our business or anything.                     7   serial numbers?
  8        Q. Okay. I'm so sorry. I had -- could          8        A. No.
  9   you repeat your answer?                             9        Q. Okay. Or any of the -- you think you
 10        A. We didn't -- we didn't have no             10   just mentioned the manufacturer date?
 11   business looking at who owned it. They didn't      11        A. Yes, but I never did check all that.
 12   show us that. We knew it was a Great Dane          12   Only the parts man would check that because if we
 13   trailer by the name on the side of it or the tag   13   needed a part for it like a nose rail or
 14   they had on it.                                    14   something like that, he would come out and write
 15        Q. Sure. And can you describe that for        15   all that down and then he would order it from
 16   me --                                              16   Great Dane.
 17        A. What, the tag?                             17        Q. He would order what from Great Dane?
 18        Q. -- how you knew it was a Great Dane        18        A. Whatever -- any part we needed. Like
 19   trailer?                                           19   a nose rail or something like that, like it was
 20        A. You want to know the tag?                  20   damaged where the nose rail went in or a piece of
 21        Q. Sure. Let's start there.                   21   top rail, something like that, he would -- then
 22        A. It was -- in fact, they was metal          22   he would come get all of that. We didn't fool
 23   tags. I'd say they was about 18 inches long and    23   with that.
 24   they was -- they was riveted to the side of the    24        Q. Okay. So a nose rail or a top rail.
 25   trailer.                                           25           Okay. You don't know if any of the


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  1       Q. Okay. And where would that be                1   Great Dane trailers were leased, correct?
  2   riveted?                                            2       A. Leased, no.
  3       A. Mostly in the front. Some of them            3       Q. Leased?
  4   was in the rear. Sometimes they even had a          4       A. No.
  5   sticker on the back door.                           5       Q. And you don't have any information
  6       Q. Okay. And can you describe for me            6   about where any Great Dane trailer came from
  7   the tag? Was there any writing on the tag?          7   originally?
  8       A. Yeah, it said the name of the                8       A. No, because like I said, any shipper
  9   trailer, yeah.                                      9   could get a Great -- would get a Great Dane
 10       Q. Okay. And what did it say                   10   trailer or whatever and they would ship their
 11   specifically?                                      11   cargo through us. And like I said before, any --
 12       A. What did it say? I mean, it said the        12   they inspected coming in and any trailer that
 13   name of the trailer, who made the trailer and --   13   came off the ship, if it was damaged in the port,
 14       Q. Sure. Maybe I should -- oh, go              14   it had to be repaired by us.
 15   ahead, sir. Sorry. I didn't mean to cut you off    15       Q. Okay. Now, can you estimate for me
 16   there.                                             16   the size of a Great Dane trailer?
 17       A. All right.                                  17       A. They had 40-foot. They had 45-foot.
 18       Q. Maybe we're kind of speaking around         18       Q. 40-foot, 45-foot. Okay.
 19   each other.                                        19           And I believe just looking at my
 20           In regards to specifically the Great       20   notes you mentioned a sticker. Can you describe
 21   Dane -- any Great Dane trailer, what would the     21   for me any stickers you recall?
 22   tag say?                                           22       A. Just there was like a Great Dane
 23       A. Well, it would say Great Dane and           23   sticker on the back door, just stating that, you
 24   mostly that was the name what they said. And if    24   know, Great Dane trailer.
 25   you looked around, you'd find a tag on it that     25       Q. Okay. Just to clarify, the sticker


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   1   said Great Dane Trailers?                           1       A. That's -- the nose rail is at the
   2       A. Right. Or Great Dane anyway.                 2   front and the top and the side -- side rail is
   3       Q. Okay. Do you remember the size of            3   the ones that go down each side from the front to
   4   the sticker?                                        4   the back.
   5       A. It was -- it was I guess about a foot        5       Q. Okay. Now, did you do any welding on
   6   long, something like that, about maybe              6   any Great Dane trailers?
   7   three inches wide.                                  7       A. No. They mostly was all aluminum
   8       Q. Sure. And you said it was located on         8   boxes, you know, aluminum trailers.
   9   the rear?                                           9       Q. Okay. Did you change any lights on
  10       A. On the rear door. They'd stick it on        10   any Great Dane trailers?
  11   the door.                                          11       A. Sure.
  12       Q. Okay. Do you recall the license             12       Q. How many times would you estimate
  13   plates of any Great Dane trailers?                 13   doing that?
  14       A. No, I sure don't.                           14       A. How many times?
  15       Q. I know. I'm sorry. Some of these            15       Q. Yes.
  16   questions may seem a little silly. We just have    16       A. I have no clue really. I couldn't
  17   to ask. I'm sorry.                                 17   really tell you. I couldn't tell you how many
  18           So that's no?                              18   lights I used. I mean, we didn't write all that
  19       A. No, I never did look at it.                 19   down or anything.
  20       Q. Okay. And you don't know how many           20       Q. Okay. And did you also do any wiring
  21   miles were on any Great Dane trailers?             21   work on any Great Dane trailer?
  22       A. No. There's no way in the world I           22       A. Well, if a wire was missing, we might
  23   would know that.                                   23   put some wire in it to make -- you know, to
  24       Q. And I believe I know the answer to          24   work -- to get the light to work.
  25   this, but you don't know the maintenance history   25       Q. Okay. And do you have any estimate


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  1    for any trailers including Great Dane that you      1   of how frequently you would have done that?
  2    had worked on, correct?                             2        A. What's that?
  3         A. Exactly. I knew -- we didn't know           3        Q. I'm sorry about that. Can you hear
  4    anything about it.                                  4   me okay?
  5         Q. Okay. And you don't know -- I               5        A. I can hear you all right.
  6    believe you told us about the parts man. You        6        Q. Okay. Do you have any estimate of
  7    don't know if any of the parts on any Great Dane    7   how frequently you would have done any of that
  8    trailer would have been original to the trailer,    8   wiring work on a Great Dane trailer?
  9    correct?                                            9        A. No, ma'am. I can't tell you how many
 10         A. Oh, yes, it would have to be.              10   times we did that because -- you know, put it
 11         Q. And can you clarify what you mean by       11   this way. How many times I did it? I don't know
 12    that?                                              12   because we had four other bays there. You know,
 13         A. Yes, it would have to be original          13   if they had problems, they didn't come tell me
 14    parts. That's why the parts man would come get     14   they got wiring problems. They fixed it.
 15    the serial number and everything, model number     15        Q. Sure. And did you ever do any work
 16    and everything and order parts.                    16   on landing gears on a Great Dane trailer?
 17         Q. And what parts are you describing,         17        A. I'm sure -- I'm sure we did.
 18    sir, just so we're clear?                          18        Q. All right. Now, I'm going to ask you
 19         A. I didn't understand that.                  19   a specific question here.
 20         Q. Sorry about that.                          20            Do you have a specific recollection
 21             I said what parts? Are we talking         21   of Mr. Brindell ever doing work on a Great Dane
 22    about the same -- the nose rails or the top        22   trailer?
 23    rails?                                             23        A. Yeah, sure he did.
 24         A. What parts am I talking about?             24        Q. Okay. When?
 25         Q. Yes.                                       25        A. Whenever -- whenever they came in, we


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  1   had to do it. I couldn't tell you a date or          1       Q. Okay. Now, you wouldn't know the
  2   anything.                                            2   manufacturer of any of the old brake parts that
  3        Q. Okay. So you couldn't tell me the            3   you were removing from a Great Dane trailer,
  4   first time you recall?                               4   correct?
  5        A. I couldn't tell you the first time I         5       A. No, I didn't pay attention to that.
  6   did it.                                              6       Q. Okay. So one moment. Let me look
  7        Q. Sure.                                        7   over -- oh, I'm sorry. Did I cut you off?
  8        A. But I know I did.                            8       A. No.
  9        Q. And what do you specifically recall?         9       Q. Okay. One moment. Let me look over
 10        A. What Mr. Brindell did?                      10   my notes here. Okay. I think I can streamline
 11        Q. Yes.                                        11   this.
 12        A. Probably with the brakes.                   12            You don't know where any of the
 13        Q. Probably with the brakes?                   13   replacement parts, including the brake pads or
 14        A. Yes.                                        14   brake linings, would have come from that you
 15        Q. And why do you say that?                    15   installed or removed on a Great Dane trailer,
 16        A. Because he was always with me when we       16   correct?
 17   went in when they had a problem. And, you know,     17       A. Yeah, the parts room. We got it from
 18   if -- you know, because me and him kind of worked   18   the parts room. The parts man come out there and
 19   together a lot.                                     19   he would match up the parts to the axle.
 20        Q. Okay. So because you guys worked            20       Q. Okay. One moment. Sorry. One
 21   together a lot, that is why you would recall        21   second here. I'm just looking through my notes.
 22   that?                                               22            MS. DETO: I'm going to -- I don't
 23        A. We -- you know, if we had brake             23   want to waste any time. I'm going to look
 24   problems, we jumped on it.                          24   through my notes here and I may have a few
 25        Q. Okay. So you had a general knowledge        25   follow-up questions, but I don't want to waste


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  1   about Mr. Brindell, but can you give me or           1   any time for anyone on the phone.
  2   specify any particular memory?                       2            So thank you for your time and I'll
  3        A. Yes, I guess. Yeah.                          3   look through my notes.
  4            MS. DETO: I'm sorry. I'm getting            4            MR. HIBEY: All right. Is there
  5   some feedback. Could everybody mute their lines?     5   someone else ready to ask questions?
  6   BY MS. DETO:                                         6            MR. HARRISON: Yeah. If no one else
  7        Q. Sorry about that, Mr. Kain. I'm              7   is ready, this is Bill Harrison.
  8   sorry. The feedback is still there. Okay. I'll       8            MR. HIBEY: Thanks, Bill.
  9   go ahead.                                            9            MR. HARRISON: Thank you. Thank you,
 10            You can't specifically recall any          10   Mike.
 11   instance of Mr. Brindell working on a Great Dane    11                [EXAMINATION]
 12   trailer, correct?                                   12   QUESTIONS BY MR. HARRISON:
 13            MR. HIBEY: Objection, form.                13        Q. Mr. Kain?
 14   BY THE WITNESS:                                     14        A. Yes.
 15        A. I can't give you a time and a date,         15        Q. Can you explain to me the fleet, the
 16   but I know he worked on them.                       16   fleet of the trailers and chassis that were at
 17   BY MS. DETO:                                        17   Puerto Rico Marine? And by that what I need
 18        Q. Okay. And would you do any brake            18   clarification on is did Puerto Rican Marine have
 19   jobs on any Great Dane trailer in the same way      19   its own fleet or were these -- or were these
 20   that you've already spoken about to the other       20   trailers and chassis that came in from different
 21   lawyers earlier?                                    21   trucking companies that were bringing in the
 22        A. Yes. If it come off the ship and had        22   containers? Can you explain to me how that
 23   brake problems, we had to fix it before it can go   23   worked?
 24   on the road, whether it was a brake job or          24        A. We had our own fleet over there. We
 25   whatever.                                           25   had our own chassis and our own containers.


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  1       Q. All right. Did you work on any --             1   for their axles. So when they came, they came as
  2   did you work on any -- did you work on any           2   a unit. If we bought -- you know, if we -- we
  3   tractors or trailers or chassis that were not        3   bought it. You know --
  4   owned by Puerto Rican Marine?                        4       Q. Okay. I --
  5       A. Yes, we did. Not the trucks, just             5       A. If we had parts, they were on it.
  6   the chassis and the containers, the cabinets.        6       Q. Okay.
  7       Q. Can you tell me under what                    7       A. You know, like I said before, you
  8   circumstances you would work on the non-Puerto       8   wouldn't put another type of brake shoe on
  9   Rican Marine chassis?                                9   another type of chassis. For one thing, they
 10       A. Well, like I explained before, ILA           10   might not -- it probably wouldn't even fit.
 11   had had a contract with the company that anything   11       Q. Okay. Well, that's what my question
 12   that came off that ship that was damaged by the     12   was aimed at or was going towards, and that is
 13   ILA and all had to be repaired by the ILA before    13   Brand A went on Brand A axles, Brand B went on
 14   they went out, and that's why.                      14   Brand B axles, correct?
 15       Q. Do you know the -- do you know the           15       A. That's the way we did it.
 16   makeup of the brands of the tractors and trailers   16       Q. Okay. Thank you.
 17   that consisted of the non-Puerto Rican Marine       17           All right. Now, when you went to get
 18   fleet?                                              18   the Fruehauf brake that went on the Fruehauf
 19       A. Oh, it was -- oh, heck. They had all         19   axle, my understanding is you went to the parts
 20   kind of tractors -- I mean all kind of trailers.    20   department or the parts window and you told them
 21   Not the tractor, the trailers.                      21   the axle you were working on and they would give
 22           So they had Avondale. Just -- it            22   you the appropriate or correct brake to go on
 23   could be anybody's trailer. It doesn't have to      23   that axle; is that correct?
 24   even be a company --                                24       A. Right, right.
 25       Q. Okay.                                        25       Q. Okay. And when they handed you the


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  1       A. -- you know, like a big company.              1   brake through the window, it was out of the
  2       Q. Right. It could have been a local             2   packaging; is that correct?
  3   company?                                             3       A. Oh, yeah. There was nothing -- it
  4       A. Right.                                        4   wasn't in a package. It was straight brake
  5       Q. Yeah. Or just any company that would          5   shoes, okay. Put them by the job and then they
  6   have been bringing in containers?                    6   give you the boxes of the anchor pins and rollers
  7       A. Well, that would bring -- yeah, it            7   and all that, springs, everything that went with
  8   would bring it in and go on a ship.                  8   the brake job.
  9       Q. Okay.                                         9       Q. So the pins and those kind of things
 10       A. They used what they call time share          10   were in a box that went with the metal shoes?
 11   with -- with different people that could come in    11       A. Right.
 12   and buy a slot on that ship to go out.              12       Q. Is that correct?
 13       Q. Okay. Did you go to TH Harris?               13       A. Just a plain yellow box.
 14       A. No.                                          14       Q. Okay. Well, that's what I was going
 15       Q. Okay. You talked earlier about               15   to ask you.
 16   putting Fruehauf brakes on a Fruehauf axle.         16           For the different brands that you
 17       A. Right.                                       17   described, is there any way to differentiate or
 18       Q. Did you -- whatever you're describing        18   to distinguish one brand's box from another
 19   as a Fruehauf brake, did that go on to any other    19   brand's box, anything jump out at you?
 20   axles?                                              20       A. They probably have parts -- they had
 21       A. We didn't do it that way. I don't            21   the parts numbers on the box.
 22   know if it did, but that ain't the way we did it,   22       Q. Aside from parts numbers, did one
 23   you know.                                           23   brand use a color that was specific to that
 24       Q. Okay. So your recollection --                24   brand?
 25       A. Fruehauf made their own brake shoes          25       A. No.


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  1       Q. Nothing like that? No kind of                 1   shoe?
  2   animal --                                            2        A. On the side of it.
  3       A. No, not that I remember.                      3        Q. On the side of it, are you talking
  4       Q. Okay. But no kind of pictorials like          4   about the side of the metal?
  5   animal pictures or geometric shapes?                 5        A. No, the pad. And they might --
  6       A. Uh-uh.                                        6   sometimes they had it on the shoe too. They had
  7       Q. Well, for example, there was a brake          7   a little paper thing that would -- was on the
  8   made by a company that the brake was known as        8   side of the shoe itself.
  9   Grizzly and it had a bear on it, you know.           9        Q. How was the paper thing affixed to
 10       A. No.                                          10   the shoe?
 11       Q. You don't remember seeing anything           11        A. Glued.
 12   like that?                                          12        Q. And how big was this piece of paper?
 13       A. No.                                          13        A. Oh, I guess about two-inches long by
 14       Q. Okay. So when you get --                     14   an inch wide.
 15       A. I don't remember anything like that.         15        Q. And what was on the paper that made
 16       Q. Okay. So when you get the brake              16   the identification for you?
 17   and -- well, do you first have to identify the      17        A. Mostly was the name of the axle that
 18   axle before you go and tell the window -- the       18   it came off of, what kind of axle.
 19   parts window what you need?                         19        Q. Okay. Now, are you making the
 20       A. No. We take it apart.                        20   assumption that because you got a metal shoe that
 21       Q. Okay.                                        21   had a paper tag that said it was Brand A, are you
 22       A. We pull it all down and then go to           22   assuming that the lining was also Brand A or do
 23   the parts window. They -- they carried most all     23   you have any personal knowledge that the
 24   the parts we needed.                                24   lining --
 25       Q. Okay. And they stocked them there?           25        A. No, I had no knowledge of -- you


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  1       A. Yeah.                                         1   know, of that. If we put it on and it didn't
  2       Q. Okay. Now, once you identified the            2   fit, then we knew something was wrong.
  3   axle and once you identified the parts you needed    3        Q. Okay. But do you know who made the
  4   for the axle to do the job you were doing, how       4   lining on any given brake shoe?
  5   did you communicate that to the parts department?    5           MR. HIBEY: Asked and answered.
  6   Was there a slip of paper or was there a             6   BY THE WITNESS:
  7   requisition or anything like that?                   7        A. The manufacturer or the people, the
  8       A. No.                                           8   people that made the axles.
  9       Q. Nothing. You just went --                     9   BY MR. HARRISON:
 10       A. No.                                          10        Q. Okay. Is that an assumption on your
 11       Q. You just went to the window and              11   part or do you have personal knowledge on that?
 12   verbally told them what you needed?                 12        A. Well, some of them are marked, like I
 13       A. Right. And they would go to the back         13   say, with names on it.
 14   and I'm sure they had a chart or something or if    14        Q. On what?
 15   they problems, they'd look it up on the computer,   15        A. The liners.
 16   and then they'd come back and give us what we       16        Q. Okay. So the name was on the liner
 17   needed.                                             17   as well as on the metal shoe?
 18       Q. Okay. Now, when they handed you the          18        A. Right.
 19   brake shoe, and let's say -- how could you tell     19        Q. On the paper?
 20   on the shoe itself, the metal shoe when they        20        A. Right.
 21   handed it to you, how could you tell that was a     21        Q. All right. So the name would be on
 22   Fruehauf shoe versus an Eaton shoe or some other    22   both?
 23   shoe?                                               23        A. Not on all of them, but most of the
 24       A. It would have a name on it.                  24   time.
 25       Q. All right. Where was the name on the         25        Q. Okay. Now when you --


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  1         A. You could tell if it wasn't the right       1   Puerto Rican Marine, that work took place at the
  2    pad that went on that shoe.                         2   Puerto Rican Marine facility located off the
  3         Q. Because it wouldn't fit when you put        3   Industrial Canal and off France Road --
  4    it into the drum; is that correct?                  4       A. Right.
  5         A. Right.                                      5       Q. -- in New Orleans?
  6         Q. Okay. Now, when -- and I believe            6       A. Exactly.
  7    you've answered this, but do you know where the     7       Q. Okay. And your affidavit, which was
  8    parts person ordered the Fruehauf -- what you       8   marked for identification as Exhibit 2, do you
  9    have identified as the Fruehauf brake shoes?        9   know the document I'm referring to?
 10         A. No, sir. I didn't do any ordering so       10       A. Yes.
 11    I have no idea.                                    11       Q. When that affidavit mentions the Port
 12             MR. HARRISON: All righty. Thank           12   of New Orleans, that is a reference to the Puerto
 13    you, Mr. Kain. I appreciate your time and your     13   Rican Marine facility located off the Industrial
 14    courtesy.                                          14   Canal and France Road in New Orleans, correct?
 15             THE WITNESS: Thank you.                   15       A. Correct.
 16             MR. HARRISON: And I'll reserve any        16       Q. Did you answer the question, sir?
 17    questions if something else comes up.              17   Because I didn't hear it.
 18             Thank you, Mike.                          18       A. Yes, it's correct.
 19             MR. HIBEY: All right. We're rolling       19       Q. Thank you. I'm sorry. I didn't hear
 20    now. Who's next? Anyone?                           20   your response.
 21                 [EXAMINATION]                         21           And the work you described here today
 22    QUESTIONS BY MR. LASSUS:                           22   for Puerto Rican Marine in your deposition, none
 23         Q. Hello. This Ed Lassus. Can you hear        23   of that work took place at any Port of New
 24    me?                                                24   Orleans facility located on the bank of the
 25         A. Yes, I can.                                25   Mississippi River?

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   1       Q. Great.                                       1        A. No. All on France Road on the
   2           Sir, you're 71 years old?                   2   Industrial Canal.
   3       A. Yes. I'll be 72 next month.                  3            MR. LASSUS: Thank you, sir. I have
   4       Q. Are you in -- are you in good general        4   no further questions. You have a good day.
   5   health?                                             5            THE WITNESS: You too.
   6       A. What's that?                                 6            MR. HIBEY: Who else we got?
   7       Q. Are you in good general health?              7   Anybody?
   8       A. Oh, I wouldn't say that.                     8            MS. ZANOVEC: Yes. This is Jamie
   9       Q. Is there any reason --                       9   Zanovec. I have some questions.
  10       A. I wouldn't say I was in good health.        10            MR. HIBEY: Go ahead, please.
  11       Q. You don't plan on leaving the state         11                [EXAMINATION]
  12   of Louisiana any time soon, moving out of the      12   QUESTIONS BY MS. ZANOVEC:
  13   state?                                             13        Q. Sir, can you hear me okay?
  14       A. No.                                         14        A. Yes.
  15       Q. Okay. Is there any reason that you          15        Q. I'm trying to see if I can get the
  16   wouldn't be available to testify at the trial on   16   camera on. I'm sorry. Let me see. Let me see
  17   the merits of this matter?                         17   if that works. If not, I will just ask -- okay.
  18       A. Where? What did you say, sir?               18   Can you see me okay?
  19       Q. You don't have any reason why you           19        A. Yes.
  20   would be unavailable to testify at the trial of    20        Q. Okay. I know it's been a long day.
  21   this case?                                         21   So I appreciate your patience. I don't
  22       A. No, I'd be there.                           22   anticipate this to be very long.
  23       Q. Okay. Sir, am I correct in                  23            All of these trailers you were
  24   understanding that all of the work that you        24   working on, they were all older trailers with a
  25   described here today in your deposition for        25   lot of miles on them, correct?


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  1        A. No, not all of them, no, no.                 1   you've talked about that some too, like changing
  2        Q. Do you have a specific recollection          2   lights, welding the landing gear, welding repairs
  3   of working on any brand new trailers?                3   to the damage of the trailer in addition to brake
  4        A. You broke up just now, ma'am.                4   work?
  5        Q. I know. I'm --                               5       A. Right. We changed axles, everything.
  6             MR. HIBEY: Hey, I'm having a lot of        6       Q. Okay. What type of work do you
  7   issues with your reception.                          7   recall doing on a Lufkin trailer?
  8             Mr. Kain, is everything okay on your       8       A. Oh, fixing it. That's all I can
  9   end?                                                 9   remember. I couldn't tell you exactly what the
 10             THE WITNESS: Yeah, I just keep --         10   damage was, not now.
 11   but it's breaking up here -- I mean, like with      11       Q. Do you recall doing some electrical
 12   the --                                              12   work for a Lufkin trailer?
 13             MS. ZANOVEC: Yeah, me as well. I          13       A. No, ma'am. I can't tell you. We
 14   can barely here anything. Is it better if I pick    14   probably did it. If it needed it, we did it.
 15   it up?                                              15   Any kind of work it needed, we did. Look, this
 16             THE WITNESS: Well, I hear you better      16   is a long time ago for me.
 17   now.                                                17       Q. I understand. And truly I don't
 18             MS. ZANOVEC: Okay. My computer            18   remember what I did last week. So thank you for
 19   audio is messed up so I have to have you on video   19   being patient with me. I just have to ask these
 20   and also my phone.                                  20   questions.
 21             MR. HIBEY: Yeah, I'm not sure if          21           Do you remember performing a brake
 22   it's just that, though, because I was having --     22   job on a Lufkin trailer?
 23   everything's getting a little pixilated. But        23       A. Yes.
 24   let's keep trying.                                  24       Q. Do you remember about how many you
 25             MS. ZANOVEC: Should I -- I'm trying       25   would have done?

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  1   to think if I should just disconnect the video       1        A. Oh, no. I don't -- probably a lot --
  2   and just do phone because sometimes there's a        2        Q. Let's say --
  3   crossover.                                           3        A. -- because if we --
  4   BY MS. ZANOVEC:                                      4        Q. I'm sorry. That's a bad question.
  5        Q. Can you hear me okay, Mr. Kain?              5   Let me just say do you know about how many you
  6        A. I can hear you.                              6   would have done in one month?
  7        Q. Okay. Do you recall the first time           7        A. Oh, no. It depends -- you know, it
  8   between the 1976 to 1981 that you were out at        8   would depend on -- you know, we -- like I said, I
  9   Puerto Rico Marine with Mr. Brindell, do you         9   don't write all that down and I don't remember
 10   remember the first time you worked on a Lufkin      10   all that as much now. You know, years ago I
 11   trailer?                                            11   could have probably told you that.
 12        A. Yeah.                                       12        Q. Okay. I understand. Let me see if
 13        Q. You do?                                     13   we can come at it a different way.
 14        A. I couldn't tell you a date or nothing       14            Can you describe in detail the
 15   like that, but I can remember working on them.      15   sticker or logo on Lufkin trailers?
 16        Q. Okay. And I'm taking notes just so I        16        A. Oh, Lord. Not really. Oh, yeah. It
 17   can not repeat myself.                              17   was a little -- I think a little oblong looking
 18            And I guess you also don't recall the      18   thing and it said Lufkin.
 19   last time you worked on a Lufkin trailer?           19        Q. Okay. And do you know what color?
 20        A. No.                                         20        A. I think it was white with black
 21        Q. Okay. We talked to Mr. Polito               21   letters.
 22   previously, Keith, I think, Polito?                 22        Q. Okay. You never saw any paperwork
 23        A. Yes.                                        23   concerning the ownership or lease of any Lufkin
 24        Q. And he talked about a lot of other          24   trailers, did you?
 25   work that you guys did on trailers, and I think     25        A. No.


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  1        Q. Okay. And you never reviewed any             1   said they would have been Rockwell or Eaton?
  2   manual from Lufkin, correct?                         2        A. I think so.
  3        A. Correct.                                     3        Q. Do you have any specific recollection
  4        Q. Okay. Do you believe there was               4   of which or you just know it would have been one
  5   asbestos anywhere on a Lufkin trailer?               5   of the two?
  6        A. It was -- yes.                               6        A. It would have been one of them
  7        Q. Where do you think the asbestos was?         7   because Fruehauf only put Fruehauf axles on their
  8        A. Oh. In the brake drum -- brake               8   own axle -- on their own trailers. I hardly -- I
  9   shoes.                                               9   don't think I've ever seen a Fruehauf axle on any
 10        Q. Okay. In the brake shoes. But that          10   other trailer unless it was made by Fruehauf now.
 11   would be the only place, correct?                   11   But Lufkin made their own trailers.
 12        A. Right.                                      12        Q. Right. Okay. And Lufkin made the
 13        Q. And you never performed work on a           13   trailer, but they did not make brake pads,
 14   brand new Lufkin trailer, correct?                  14   correct?
 15        A. No.                                         15        A. No. Whoever -- whoever made the axle
 16        Q. No, you did not?                            16   probably did that.
 17        A. I did not.                                  17        Q. Okay. Thank you. Hold on one
 18        Q. Okay. Thank you.                            18   second. Let me just look over my notes.
 19            Do you know the manufacturer of any        19            Okay. And did you ever see anything
 20   of the old brake pads you removed from the Lufkin   20   published or produced by Lufkin that required the
 21   trailer?                                            21   use of asbestos brake pads?
 22        A. Did I ever do what now?                     22        A. No.
 23        Q. Do you know the manufacturer of any         23        Q. Okay. And, Mr. Kain, you never
 24   of the old brake pads you removed from a Lufkin     24   performed a first time brake job on a Lufkin
 25   trailer?                                            25   trailer, did you?


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  1       A. No, not really. I don't know what --          1        A. First time, probably so.
  2       Q. And my understand -- okay. Thank              2        Q. Is that a guess or do you know for
  3   you.                                                 3   certain?
  4            And my understanding from your              4        A. Well, I'm going to tell you that --
  5   conversations with Ms. Deto and Mr. Harrison is      5   I'd say it was probably the first time. I mean,
  6   that when you needed new brakes, you would just      6   I can't be sure of that, but I can, you know --
  7   go to the parts room and he would match the axle     7        Q. And you can't -- sorry, go ahead.
  8   and that's how you would get the brakes and the      8        A. I mean, who knows.
  9   axle to install new, correct?                        9        Q. Okay. And that's what I'm getting
 10       A. Right. If there was any question,            10   at. You don't know the service history of the
 11   the parts man would come out and find the tag and   11   Lufkin trailer, correct?
 12   he would do it.                                     12        A. No.
 13       Q. Okay. So you're not able to identify         13        Q. You never saw any written records
 14   the manufacturer of any of the new brakes you       14   about what mechanical work was performed on a
 15   installed on a Lufkin trailer either?               15   trailer before it came to you, correct?
 16       A. No.                                          16        A. No.
 17       Q. Do you need to take a break?                 17        Q. So you can -- you can sort of make a
 18       A. No, I don't -- I thought I had               18   guess, but you don't know for certain that you
 19   unplugged that phone. No, it's not unplugged.       19   ever performed a first time brake job on a Lufkin
 20   That's my home phone.                               20   trailer, correct?
 21       Q. Okay. It's no problem. If you need           21        A. I can make a guess, but that -- I can
 22   a break, just let me know.                          22   pretty much tell when you bring them in and they
 23       A. All right. I'm ready.                        23   all -- the shoes wore down metal to metal, nobody
 24       Q. Okay. Do you know the manufacturer           24   did that in a long time.
 25   of the axles on the Lufkin trailers? I think you    25        Q. In a long time, but you can't be


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  1   certain it's the first time, correct?                1   get you out of here. Thank you.
  2        A. Correct.                                     2            THE WITNESS: All right.
  3        Q. Okay. Thank you.                             3            MR. HIBEY: All right. We're almost
  4            So we're talking about your work on a       4   there, Mr. Kain.
  5   Lufkin trailer, but we're here about Mr. Brindell    5            Is there someone on the phone who has
  6   -- Brindell, I believe you said, specifically.       6   not asked questions yet that needs to ask
  7        A. Right.                                       7   questions?
  8        Q. So what I would like to know is if           8            MS. SENTER: This is Meghan Senter.
  9   you have a specific recollection of seeing           9   I haven't finishing my questioning and I'm still
 10   Mr. Brindell perform brake work on a Lufkin         10   waiting on a conference with the judge, but I'm
 11   trailer?                                            11   more than willing to pick back up.
 12        A. Yes.                                        12            MR. HIBEY: Sure. Before we do that,
 13        Q. Okay. When would that have been?            13   I just wanted to confirm on the record here, is
 14        A. I misunderstood you.                        14   there anyone on the phone who represents or has
 15        Q. Okay. I'm sorry. Can you tell me            15   liability for the Wilson trailers?
 16   about that job?                                     16            Okay. And so there is no one else on
 17        A. When did what?                              17   the phone at this time that has questions besides
 18        Q. When did you see Mr. Brindell --            18   our good friend Meghan with Eaton; is that
 19        A. When did he do it?                          19   correct?
 20        Q. Yes, sir.                                   20            MS. DETO: I believe I have a few
 21        A. Well, he did it when he was working         21   follow-ups. This is Amanda.
 22   there because -- I don't know what to tell you      22            MS. BAXTER: And this is Kay. I have
 23   because I didn't write nothing down to tell you     23   some follow-ups.
 24   the day or the date, the year or none -- anything   24            MR. HIBEY: Okay, guys. Well,
 25   like that. I mean, you asking me questions I        25   Meghan, why don't we give it another shot and see

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  1   can't answer.                                        1   if we can try to get through your questioning.
  2       Q. Okay. I understand. So you're able            2            What I've said previously is that you
  3   to generally recall Lufkin and performing brake      3   had repeatedly asked the same line of questions
  4   work, but you can't get any more specific with me    4   and if you have found a new way to maybe approach
  5   about the number of times that you think he would    5   it, I will allow that. But we're not going to
  6   have performed that work?                            6   stay on that topic for another ten minutes.
  7       A. I wouldn't --                                 7            And then beyond that, I would hope
  8           MR. HIBEY: Objection.                        8   that you're near the end of your questioning.
  9   BY THE WITNESS:                                      9   Otherwise, I will again cut you off and I will
 10       A. I wouldn't be able to tell you.              10   happily speak with the judge about what has
 11           MR. HIBEY: Objection, form,                 11   happened. But please go ahead now.
 12   misstates testimony.                                12            MS. SENTER: And for the record, this
 13   BY MS. ZANOVEC:                                     13   is --
 14       Q. If you just give me one second to            14            MR. HIBEY: Go ahead. Let's hear it.
 15   look over my notes, Mr. Kain, I think I'm almost    15            MS. SENTER: Oh, actually, let's just
 16   finished.                                           16   take a minute because the court is calling me.
 17           Mr. Kain, you said that you and             17   Hold on.
 18   Mr. Brindell went fishing and hunting outside of    18            MR. HIBEY: Wonderful.
 19   work. I was just curious, did you guys ever         19            All right. While we're waiting on
 20   perform work on any of your personal vehicles       20   Meghan, Mr. Kain, I apologize for the delay here.
 21   together?                                           21   And if she doesn't come back in a minute or two,
 22       A. No.                                          22   we'll just continue without her.
 23           MS. ZANOVEC: Okay. That's all I             23            MS. SENTER: Everyone, the judge's
 24   have for you for now. I'm going to let someone      24   clerk just called me and asked for our case
 25   else go and look over my notes so we can try to     25   number. She's getting ready to call me back. We


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  1   can take a break and wait for the judge or I can     1   it's -- when you look at something like that, you
  2   start asking my questions and we'll have to stop     2   know it's been a -- it never been done.
  3   as soon as the judge calls.                          3        Q. Okay. Right. And so I guess what
  4           MR. HIBEY: I think you should ask            4   I'm trying to understand is you didn't know the
  5   your questions considering there's currently         5   year on any of those Eaton axles, correct?
  6   nothing to put in front of the judge.                6        A. No, we don't -- we didn't check
  7           MS. SENTER: All right. In that I             7   the -- you know, the year on all that.
  8   don't believe it's proper to continue to argue in    8        Q. Right.
  9   front of the witness, I will ask some questions.     9        A. We never -- why check it? I mean, we
 10             [FURTHER EXAMINATION]                     10   checked -- we just match the parts with it.
 11   QUESTIONS BY MS. SENTER:                            11        Q. Right. And so my -- what I'm trying
 12       Q. Mr. Kain?                                    12   to understand is when you're looking at something
 13       A. Yes.                                         13   and you think it's deteriorated or you think that
 14       Q. Are you able to see my video right           14   it's -- you know, it looks like it needs a new
 15   now?                                                15   brake job, right, it looked like it needed to be
 16       A. No.                                          16   changed to you, right?
 17       Q. No? All right. Well, we'll go ahead          17        A. Right.
 18   anyway. You're okay to continue?                    18        Q. How long had passed between when that
 19       A. I'm okay.                                    19   brake was originally put on and when you were
 20       Q. Okay. I would like to ask you to             20   changing it?
 21   understand for myself, you testified earlier when   21        A. How long?
 22   we were -- when we were talking that you believed   22        Q. Yeah.
 23   that Mr. -- that you and Mr. Brindell would have    23        A. There's no telling. I have no clue.
 24   been the first mechanics to change a brake from     24   That brake pad could last ten years if it was
 25   an Eaton axle, and I would like for you to tell     25   never run anywhere.

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  1   me why you think that.                               1      Q. And would it also be possibly that
  2        A. I'm looking at --                            2   somebody had changed it before you and a long
  3            MR. HIBEY: I'll reiterate my                3   time had passed before you got there to change it
  4   objection that this has been asked and answered      4   again?
  5   at least three times, if not more.                   5      A. No, no. That's not -- somebody
  6            But go ahead, Mr. Kain, and answer          6   would -- it would have to be a long, long time.
  7   the question again.                                  7      Q. When did you -- you started at Puerto
  8   BY THE WITNESS:                                      8   Rican Marine in 1971, right?
  9        A. By looking at the condition of the           9      A. Yes.
 10   axle, the brake shoes -- I mean the drum and the    10      Q. That was a yes?
 11   brake shoe, the grooves of the drum, brake shoes,   11      A. Yes.
 12   metal to metal, that would have to be a first       12      Q. Okay. Were you the first employee
 13   time. I don't know who would let a piece of         13   ever at Puerto Rico Marine?
 14   equipment on the highway that long.                 14      A. No.
 15   BY MS. SENTER:                                      15      Q. How long had that company been in
 16        Q. Okay. And so you're saying that             16   business before you started there?
 17   because of the condition of the drum and the        17      A. I have no clue because like I
 18   lining, you think it was the first time it got      18   explained before, when they started out it was
 19   changed, right, from what you observed of the       19   Gulf Puerto Rican Lines and we belonged to the
 20   condition of the brake?                             20   Puerto Rican government and they started out
 21        A. Right.                                      21   small and then they got bigger and they went to
 22        Q. Okay. Do you know on the -- are you         22   France Road.
 23   picturing a specific time in your mind or is this   23           Now, I was the first mechanic hired,
 24   general knowledge?                                  24   but they had other people working. But they was
 25        A. Well, I would say it's -- you know,         25   more or less people that worked on the special


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   1   lane, locking trailers down and all the              1   that back in April, your affidavit didn't contain
   2   containers down that go on the road.                 2   any of that information?
   3       Q. Okay.                                         3       A. I have no clue.
   4       A. I was the first -- first one there to         4       Q. And I think earlier somebody had
   5   start repairing that stuff.                          5   asked you, you know, how you got this affidavit
   6       Q. And before you got there and before           6   and you said it came over on the computer.
   7   you got there to start repairing stuff, you don't    7           Do you remember that?
   8   know what the service history was on any of the      8       A. Well, that's where I gave the
   9   chassis, trailers or axles that came through         9   affidavit and then they -- and it came through
  10   Puerto Rican Marine; is that right?                 10   the copy machine.
  11       A. No, we didn't know it because they           11       Q. Okay. So if you could just kind of
  12   never did keep records for that.                    12   walk me through the process, when you got -- when
  13       Q. How did you know it?                         13   you got a copy of this affidavit, you said it
  14       A. How did I know what?                         14   came through the copy machine?
  15       Q. Well, I just asked if you knew the           15       A. Right.
  16   service history -- I said before you started, you   16       Q. Is that at your house?
  17   didn't know the service history of any of those     17       A. No. It was my daughter's.
  18   pieces of equipment and you said yes, you did.      18       Q. At your daughter's house?
  19   Was that right?                                     19       A. Yes.
  20       A. No, I said no.                               20       Q. So it went to your daughter's house
  21       Q. Okay.                                        21   and she brought it over to you?
  22       A. Because they never kept any records          22       A. Yes.
  23   on anything.                                        23           MS. SENTER: Okay. Hold on just a
  24       Q. Right. Okay. I'd like to ask you             24   moment. The court's calling me. Let's take a
  25   some additional questions about your affidavit.     25   pause here.


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  1         A. Go ahead.                                    1            (Pause in proceedings.)
  2         Q. Now, I heard -- I heard earlier that         2            MS. SENTER: All right. The judge is
  3    you believe the first time that you talked to        3   still on the bench. We're going to keep going.
  4    Mr. Hibey was around the time of this affidavit;     4   BY MS. SENTER:
  5    is that right?                                       5        Q. So when your daughter brought the
  6         A. Right.                                       6   copy of the affidavit over to you, did you read
  7         Q. Okay. And that's in April 2020?              7   it through all the way?
  8         A. I would say that time, around a week         8        A. Yes.
  9    in there, somewhere about a week.                    9        Q. And then after you read it, what did
 10         Q. Okay. Did you tell Mr. Hibey at the         10   you do next?
 11    time that you spoke with him about this affidavit   11        A. Well, then I was on one of these
 12    that you also -- anything about the brake jobs or   12   funny looking things right here and they watched
 13    the trailers that you're telling us today?          13   me sign it.
 14         A. Did I talk to him yesterday, no.            14        Q. Who watched you sign it?
 15         Q. No. I'm sorry. I asked -- I asked           15        A. Whoever -- whoever stamped it, excuse
 16    when you were talking to Mr. Hibey about this       16   me. Because I got another copy later that was
 17    affidavit, the stuff that's in your affidavit       17   the -- you know, where they stamped it.
 18    about the welding work and the maintenance work     18        Q. Did you ever give anybody a copy of
 19    on the containers, did you also tell him about      19   your driver's license?
 20    the work on the chassis that you've talked about    20        A. Driver's license, no.
 21    today?                                              21            MS. CHEEK: This is Lindsey Cheek.
 22         A. Yeah. Some kind of way it come up.          22   This is ridiculous, honestly. Can we go off the
 23    I don't know if he asked me or if I asked him,      23   record? This is Lindsey Cheek.
 24    but it came up.                                     24            MS. SENTER: No.
 25         Q. Do you know why if you talked about         25            MR. HART: No, let's stay on the


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   1   record because there's nothing ridiculous about      1   Mr. Kinler, you said that you were talking
   2   this. It's at the heart of something --              2   specifically about one of the paragraphs where it
   3            MR. HIBEY: Lindsey -- Lindsey and           3   said you saw --
   4   Jody and everyone, let's just finish this, okay?     4           MR. HIBEY: Meghan, if the question
   5   We're fine. The questions have been asked,           5   has already been asked, why are you repeating it?
   6   though. That's the ridiculous part. So it's          6   So I will object that the question is asked and
   7   been asked, it's been presented in various forms.    7   answered, and when you didn't get the answer that
   8            And, Meghan, if you're not aware of         8   you liked, now you're going to ask it a third
   9   that, this isn't his job to explain the whole        9   time. Is that your plan?
  10   case to you. But go ahead and continue to ask       10           MS. SENTER: Mike, the proper
  11   your questions.                                     11   objection is to form. And I have not asked
  12            And Jody, you know the answer to this      12   questions about the affidavit yet. So if you --
  13   stuff. You were the one that was asking about       13           MR. HIBEY: You just did.
  14   it.                                                 14           MS. SENTER: -- would like to
  15            MS. SENTER: Everybody done making          15   continue to make improper objections under the
  16   objections?                                         16   Rules of Procedure in Louisiana, you can and I
  17   BY MS. SENTER:                                      17   will move for sanctions later. But right now is
  18       Q. All right. So my question was did            18   my opportunity to ask questions about this
  19   you ever show anybody a copy of your driver's       19   affidavit. Mr. Kinler and I are not the same
  20   license?                                            20   attorney.
  21       A. The doctor's office maybe.                   21           MR. HIBEY: And the question was
  22       Q. I mean -- I'm sorry. I mean in               22   asked, it was answered.
  23   connection with the affidavit when you were         23           MS. SENTER: I haven't even finished
  24   signing the affidavit.                              24   a question so I don't know what your objection
  25            MR. HIBEY: Here. I am going to             25   is. But if you would like to continue, go for

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   1   object because the answer to this question is a      1   it. You can make your objection and I'll ask my
   2   known question. It was provided to you. It's a       2   question. You're making it harder.
   3   notarized document where he had to show his          3           MR. HIBEY: I'm making my objection.
   4   identification and the video clip was presented      4   I did. I don't know why you're asking me to make
   5   to you or to your firm through the filing of the     5   it again, but I will.
   6   affidavit. So I don't know why you're asking         6           Mr. Kinler asked the question about
   7   him. He can tell you he doesn't know. He can         7   the affidavit. Then you followed up and asked
   8   tell you he doesn't remember. It really doesn't      8   the same question asking him whether he disagreed
   9   matter. It was a notarized document.                 9   with anything in his affidavit. He said no.
  10            MS. SENTER: Was your objection to          10           Previously when he was talking to
  11   form? Did you have another objection?               11   Mr. Kinler, there was some things that came up
  12            MR. HIBEY: My objection is to the          12   that were not all square and that has already
  13   harassment. Please move on and ask a question       13   been discussed. So when you asked it, you were
  14   that's relevant to this case and hasn't already     14   asking a second time. Now you're about to ask a
  15   been disclosed.                                     15   third time.
  16   BY MS. SENTER:                                      16           That is the objection. I don't know
  17        Q. When you read through this affidavit,       17   why I have to explain it to you. I thought it
  18   Mr. Kain, did you see anything in there that you    18   was very obvious.
  19   disagreed with?                                     19           MS. SENTER: You didn't -- I didn't
  20            DEFENSE COUNSEL: Object to form.           20   ask you to explain it. You're the one who's
  21   BY THE WITNESS:                                     21   choosing to --
  22        A. No.                                         22           MR. HIBEY: You did.
  23   BY MS. SENTER:                                      23           MS. SENTER: You can just object to
  24        Q. No. So when we were talking earlier,        24   form, which is the proper procedure in Louisiana.
  25   you -- and I think you were talking to              25           MR. HIBEY: And I did.


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  1   BY MS. SENTER:                                       1       Q. Okay. Did you ever express to
  2       Q. Mr. Kain, we were talking about your          2   Mr. Hibey that you weren't actually sure that any
  3   affidavit and when you were speaking earlier, you    3   of the dust was asbestos?
  4   told Mr. Kinler that you were unsure as to           4       A. No, I never, you know, said -- you
  5   whether any of the dust actually contained           5   know, talked to anybody else about it.
  6   asbestos.                                            6       Q. Did you specifically tell Mr. Hibey
  7           Do you recall that?                          7   that the dust you saw was asbestos?
  8           MR. HIBEY: Objection, form, asked            8           DEFENSE COUNSEL: Object to form.
  9   and answered.                                        9   BY THE WITNESS:
 10           DEFENSE COUNSEL: Objection, form,           10       A. Yeah, I said to me, that's asbestos
 11   asked and answered.                                 11   dust.
 12   BY THE WITNESS:                                     12   BY MS. SENTER:
 13       A. I wasn't sure what?                          13       Q. And why did you think that the dust
 14   BY MS. SENTER:                                      14   onboard the ships was asbestos?
 15       Q. You were asked about one of the              15           DEFENSE COUNSEL: Object to form.
 16   paragraphs that discussed asbestos dust and         16   BY THE WITNESS:
 17   you recall -- you told Mr. Kinler that you didn't   17       A. Because the guys with the suits on
 18   know whether the dust actually contained            18   went down in there and -- you know, they blow
 19   asbestos.                                           19   stuff out and all, the dust and all like that.
 20           Do you remember that?                       20   They had white suits on, they had masks. They
 21           DEFENSE COUNSEL: Same objection.            21   went down there with a compressor and they went
 22           MR. HIBEY: Objection, form, asked           22   to the engine room. And I know all of those
 23   and answered.                                       23   steam lines on that ship were wrapped with
 24           This is now getting repetitive for          24   asbestos. Now I know it. I didn't know it then.
 25   the second time with you, Meghan. I will again      25


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  1   point out that this is not just asked and            1   BY MS. SENTER:
  2   answered. This is objectionable because it is        2        Q. How do you know it now?
  3   repetitive and harassing. You can continue.          3           MS. CHEEK: Meghan, move on. He has
  4            MS. SENTER: Madam Court Reporter,           4   answered these questions repeatedly. Move on.
  5   will you read back my question, please?              5           MS. SENTER: Lindsey, nobody's asked
  6   BY THE WITNESS:                                      6   him that, first of all. And second of all, I
  7        A. To my opinion as far as I can figure,        7   thought Mr. Hibey was appearing for plaintiff's
  8   that's the only thing I can figure that was, you     8   counsel. One person is supposed to appear per
  9   know, asbestos. That's what I figured it was.        9   party, so I don't think that's proper.
 10   It could have been anything, I guess, but I'm       10           But nobody has asked him now how he
 11   almost sure it was asbestos to the best of my       11   knows. I'm trying to find out the basis of his
 12   knowledge anyway.                                   12   knowledge. He's sworn to this in an affidavit.
 13   BY MS. SENTER:                                      13           MR. HIBEY: Hey, Meghan, I don't want
 14        Q. And my question is if you think that        14   to argue with you here, but it has been asked and
 15   it is asbestos, although you say it could have      15   answered, so you can keep going.
 16   been anything?                                      16           MR. KINLER: Doug Kinler, I'll join
 17        A. I really couldn't tell you if it            17   that objection.
 18   really was asbestos, but to the best of my          18           MR. HIBEY: Yeah, because you asked
 19   opinion and knowledge it was.                       19   it, Doug.
 20        Q. Okay. And so when you signed this           20   BY MS. SENTER:
 21   affidavit that said true and correct under          21        Q. Mr. Kain, I'm getting close here.
 22   penalty of perjury, you were giving your opinion.   22   I'm trying to move through.
 23            Is that what I'm understanding?            23           You told us earlier you spoke to
 24        A. I was giving the best of my                 24   Mr. Hibey about the affidavit and another time
 25   knowledge.                                          25   about this deposition, right?


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  1        A. Right.                                       1       Q. No. Have you ever done any research
  2        Q. When did you speak about the                 2   about asbestos?
  3   deposition?                                          3       A. No. I never knew about asbestos
  4        A. About this?                                  4   until they start putting TV commercials on.
  5        Q. Yes.                                         5       Q. When you say you never knew anything
  6        A. Oh, when they brought me this little         6   about asbestos --
  7   thing here to put up so we could have this           7       A. No, I didn't.
  8   conference.                                          8       Q. -- do you mean -- okay.
  9        Q. So you could do the video?                   9           What do you think that you've learned
 10        A. Right, because I don't know how to          10   about asbestos since you started seeing
 11   work this --                                        11   commercials?
 12        Q. And when you --                             12       A. That it's awful.
 13        A. Huh?                                        13       Q. You mentioned earlier that you and
 14        Q. Go ahead. I didn't mean to cut you          14   Mr. Brindell were in the union and you used to
 15   off.                                                15   post bulletins on the board.
 16        A. And he showed me how this works.            16       A. Right.
 17        Q. And did y'all have any conversations        17       Q. Did your union ever warn you about
 18   about the deposition?                               18   asbestos?
 19        A. No, other than he said there was            19       A. No.
 20   going to be people asking me questions because I    20       Q. Did you ever have any training to
 21   said I didn't know -- I didn't know what this was   21   recognize asbestos?
 22   over this thing.                                    22       A. No.
 23        Q. Did you talk about what any of the          23       Q. Do you have any knowledge about what
 24   questions were likely to be?                        24   types of products contained asbestos during any
 25        A. No.                                         25   given time frame?

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  1       Q. Did he ask you about any of the --            1       A. No.
  2   any of the testimony that you might give about       2       Q. Do you know if Mr. Brindell ever had
  3   Mr. Brindell's time at Puerto Rico Marine?           3   any training or education from the union about
  4       A. Yeah.                                         4   asbestos?
  5       Q. And what did -- I'm sorry. What did           5       A. No, he never had anything. None of
  6   Mr. Hibey specifically ask you?                      6   us did. It would have had to go through me first
  7       A. Well, what he -- it was how long I            7   as the lead mechanic.
  8   worked there and who I worked with and what kind     8       Q. As a lead mechanic, you were in
  9   of work we did and all like that.                    9   charge of kind of setting how work went?
 10       Q. Did you make any notes about --              10       A. Right.
 11       A. Did I make --                                11       Q. You mentioned a bit about the process
 12       Q. Did you make any notes during the            12   for changing brakes on a chassis earlier in the
 13   meeting?                                            13   day and you told us that you could do about --
 14       A. No. I knew it all. The only thing I          14   you could -- you could finish working on one
 15   can say, everything I tell you here and             15   chassis.
 16   everything that's the paper I signed, it's all to   16       A. There's some kind of noise in the
 17   the best of my ability and I'm not going to lie     17   background. I can't understand what you're
 18   about nothing like that.                            18   saying.
 19       Q. Did you at any point after anybody           19       Q. All right. I think whoever was
 20   got in touch with you about this case about         20   moving around stopped.
 21   Mr. Brindell, did you go back to try and look       21           We were talking earlier about how
 22   anything up --                                      22   many brake jobs or how many chassis you could
 23       A. No.                                          23   work on in a day, and I think you said you could
 24       Q. -- about the work you had done?              24   finish up working on one chassis in a day and
 25       A. No.                                          25   maybe start another?


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  1       A. Right.                                        1   specific questions just to help my time line,
  2       Q. And my question is when you and I             2   okay, to understand.
  3   talked earlier, you talked about a whole slew of     3           So taking the wheel off, on just one
  4   things that you would do on a chassis to make        4   wheel taking it off would have taken about
  5   sure that it was road ready. Do you remember?        5   30 minutes?
  6            So that one day of working on a             6       A. Just to take it off. That ain't
  7   chassis, that was the whole -- the whole process,    7   changing brake shoes and all.
  8   right, to make sure it was road ready?               8       Q. Right, right. Just to take it off.
  9       A. Right, right.                                 9   Okay.
 10       Q. Okay.                                        10       A. Right.
 11       A. But -- but not all of them had other         11       Q. And then after you've gotten the
 12   than brake jobs. I'm not saying every chassis we    12   wheel off and you were going on, what was the
 13   had to do everything, but it only takes a minute    13   next step?
 14   to plug a light tester in and see if the lights     14       A. You had to knock the seal out, the
 15   come on.                                            15   old seal because you can't use the same seal when
 16       Q. Right.                                       16   you go back.
 17       A. And -- I mean, the brake job was the         17       Q. All right. So when you knocked the
 18   longest.                                            18   seal out, how long did that take?
 19       Q. I understand. I just -- I wanted to          19       A. Not long, but then you got to get the
 20   make sure that I understood that when you say it    20   bearings and inspect the bearings, clean them up
 21   took a day to do a chassis, that included           21   and inspect the bearings, and then you take and
 22   everything that we talked about, right?             22   go into the brake shoes. You'd have to blow it
 23       A. I said it takes a day to do a brake          23   all down with the air hose and everything to get
 24   job.                                                24   everything off so you could see, blow the inside
 25       Q. Okay.                                        25   of the drum out and all the hub around it and


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  1        A. And get the chassis -- where you pull        1   then you had to start pulling off the brake
  2   the chassis out because like I said, we already      2   shoes.
  3   pull the chassis and you had to do a brake job on    3       Q. Right, okay. So I'm trying -- I'm
  4   it and get it out of there. There wasn't nothing     4   trying to pars it down and just be a little bit
  5   else wrong with it.                                  5   quicker here.
  6        Q. You told us all about the steps so I         6            You said you had to inspect the
  7   won't go back through each and every step, but I     7   bearings. How long did it take you to inspect
  8   would like to know about -- I'm going to start       8   the bearings?
  9   out just one wheel, okay, because I understand       9       A. Well, you had to clean them up first
 10   that it's multiple wheels on multiple axles,        10   and then get the oil and everything off so you
 11   right?                                              11   could see them and then you -- I guess another
 12        A. Right.                                      12   30 minutes.
 13        Q. Okay. So for one wheel, how long did        13       Q. Okay. So another 30 minutes for the
 14   it take you to get the wheel off?                   14   bearings.
 15        A. About an hour.                              15            And then after that you said you
 16        Q. Okay.                                       16   would have to start taking off the brakes shoes,
 17        A. Not just to get the wheel off. It           17   right?
 18   might have took 30 minutes to get the wheel off.    18       A. Right.
 19        Q. Okay. So, yeah, I'm going to --             19       Q. How long did it take you to break
 20        A. You got to drain the oil out of the         20   off -- to take off the brake shoes on one wheel?
 21   hub. You got to let the oil drain out. Take the     21       A. I couldn't give you a time on there
 22   hubcap off, you let the oil drain out and you       22   because if the anchor pins are frozen in there,
 23   catch it and it keep it from going all over the     23   you had to use a hammer and a bar to knock them
 24   shop and everything else.                           24   out. You might have even had to heat them. Some
 25        Q. Okay. So I'm going to ask very              25   of them popped right out, some of them don't.


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  1        Q. Okay. After --                               1       Q. And --
  2        A. You can't put a time limit on that.          2       A. And if -- if one mechanic was
  3        Q. Okay. That one is variable. It               3   changing the wheel or the bearing or the brake
  4   depended on the condition?                           4   shoes, the other could go around and check the
  5        A. Right.                                       5   chassis for any other damage --
  6        Q. Okay. After you had the brake shoes          6       Q. Okay.
  7   off and you were cleaning up the drums, how long     7       A. -- like the lights and everything.
  8   did that take you?                                   8       Q. Okay. So like if you were changing
  9        A. Well, I'd say the whole thing took           9   the brakes on a chassis in your bay and
 10   close to two hours.                                 10   Mr. Brindell was with you, while you were
 11        Q. Okay. So the whole --                       11   changing the brakes, he was checking the rest of
 12        A. You had to put the brake shoes back         12   the chassis for other damage?
 13   on.                                                 13       A. Not necessarily, because he would be
 14        Q. Okay. So from start to finish on one        14   helping me get that wheel ready first, but like
 15   wheel took you about two hours?                     15   when we come to a time when you're putting the
 16        A. Yeah.                                       16   oil back in the wheel, it only takes one man to
 17        Q. All right.                                  17   pump oil in there. Now the other man can go
 18        A. Depending -- you know, like I said,         18   check whatever -- can go check whatever, you
 19   depending on them anchor pins.                      19   know, needed to be checked.
 20        Q. Right.                                      20       Q. All right. And then the last part I
 21        A. If the anchor pins come out easy,           21   don't think you answered, and I apologize if you
 22   it's faster. If you've got to beat them out,        22   did and I didn't hear the estimate, but do you
 23   sometimes it takes longer.                          23   know about how long it took you to clean out the
 24        Q. Okay. And then when you're                  24   drum?
 25   putting -- putting the new shoes back on, that's    25       A. Oh, about 15 minutes maybe to get the


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  1   pretty quick, right? After you've gotten             1   oil out of the drum.
  2   everything off and cleaned up, putting them on is    2        Q. How did you get the oil out of the
  3   pretty quick as long as they fit, right --           3   drum?
  4        A. Right.                                       4        A. With a rag.
  5        Q. -- they were the right ones?                 5        Q. You talked about those anchor pins
  6        A. Right. And then you put it back on           6   freezing up. Did you ever use any sort of like
  7   and then you got to go under there and adjust the    7   lubricant or like the no seize or whatever to
  8   brake shoes to the axle just like you do in a car    8   spray on it to get them out?
  9   and all that, and then it takes time, you got to     9        A. Yeah, but that don't work. Like I'm
 10   fill the oil back up.                               10   telling you, we used to have to sometimes heat
 11        Q. Right.                                      11   them up with a torch so you could break them out
 12        A. So you got an oil can with a pump on        12   of there.
 13   it and they got a level line on a sight glass on    13        Q. I'm scrolling through my notes. I'm
 14   the front of what is the hubcap, and you pump it    14   sorry for the pause.
 15   until you see it's at the sight line and then you   15           MS. SENTER: I'm going to finish
 16   got enough in it. But it takes -- because the       16   reviewing my notes, but in the interest of
 17   oil has -- excuse me. The oil has to run down,      17   expediency, why doesn't somebody else jump in.
 18   seek level, and it's thick. It's 90 weight oil.     18           MR. HIBEY: Mr. Kain, this is Mike.
 19        Q. Right. Okay. So start to finish             19   I do think that we've got a few people with some
 20   changing the brakes on one wheel on an axle took    20   brief follow-up, and so we're going to go ahead
 21   you about two hours, right?                         21   and try to let them do that and finish up here in
 22        A. Right.                                      22   the next 30 minutes or so tops. That's the hope.
 23        Q. And you were working two mechanics to       23           THE WITNESS: Okay.
 24   a bay?                                              24           MR. HIBEY: I know Kay, Amanda, I
 25        A. Correct.                                    25   think each of you spoke up and said you might


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                                          January 29, 2021
                                           Page 238                                                 Page 240
   1   have some follow-up. I'm not sure if you still       1   guys and then he said oh, I've got to go take
   2   do.                                                  2   care of this, he stopped helping you to go take
   3            MR. KINLER: Hey, Mike --                    3   care of his own work.
   4            MR. HIBEY: I'll open it up to anyone        4        A. No.
   5   other than you, Doug, for now. Just one second       5        Q. I think this is going to became my
   6   and let's see if anybody else has any questions.     6   last maybe, hopefully fingers crossed.
   7            MS. BAXTER: Yes, this is Kay.               7            I told you before I represent Strick,
   8            MR. HIBEY: Oh, Kay. We didn't hear          8   and can you describe for me what a Strick trailer
   9   you again. Were you trying to speak earlier?         9   or I think maybe you called it chassis looks
  10            MS. BAXTER: It takes a minute for me       10   like?
  11   to find out how to unmute this thing.               11        A. Yes. It's got a name on it.
  12            MR. HIBEY: Probably because you're         12        Q. Okay. And can you tell me what the
  13   doing something else while you're doing this.       13   name looks like?
  14            MS. BAXTER: No, I'm talking notes.         14        A. It's -- it's a thing on the side and
  15            MR. HIBEY: I'm joking. All right,          15   it's got Strick and I think it's black around it
  16   Kay. You're up.                                     16   and Strick is in light or vice-versa.
  17            MS. BAXTER: Thank you so much.             17        Q. Okay. And this will sound equally
  18             [FURTHER EXAMINATION]                     18   silly to you, but do you know the serial number
  19   QUESTIONS BY MS. BAXTER:                            19   of any Strick trailer that you ever saw there at
  20        Q. Mr. Kain, hello again.                      20   Puerto Rican Marine?
  21        A. Hello.                                      21        A. No.
  22        Q. When the attorney for Lufkin was            22        Q. Okay.
  23   asking you questions, she asked you if you could    23        A. No, I -- I wouldn't even remember it
  24   tell how long brakes had been on the Lufkin         24   if I did.
  25   trailer, and you said you could not.                25        Q. I know, but we just have to ask.

                                           Page 239                                                 Page 241
  1            Would that be true for all of the            1           Do you know the model of any Strick
  2    equipment, you couldn't tell us how long any of      2   chassis/trailer that you saw at Puerto Rican
  3    the brakes had been on any of the equipment there    3   Marine?
  4    at Puerto Rican Marine?                              4       A. Oh, man. There was so many chassis
  5        A. Give you a time limit, no.                    5   that went through, thousands. It could have been
  6        Q. Okay. Thank you.                              6   anything.
  7            And my next question is was there            7       Q. Okay. And when you say there were so
  8    ever a job when Mr. Brindell was assisting you or    8   many chassis, you're talking about in general,
  9    another mechanic there at Puerto Rico Marine that    9   not just Strick, right?
 10    he got called off of that job, he had to stop       10       A. Yes, in general. But, you know --
 11    helping you because he got called to do his own     11       Q. And --
 12    job? Do you understand my question?                 12       A. But, you know, it was -- but, you
 13        A. I understand what you're talking             13   know, like trying to remember one type of chassis
 14    about, but when he was a mechanic, he didn't get    14   was -- you know, it's almost impossible.
 15    called off a job.                                   15       Q. Right. Sort of just runs together at
 16        Q. Right. But when -- after he wasn't a         16   this point, right?
 17    mechanic, I thought you said he would sometimes     17       A. Yeah.
 18    help you guys if you needed help --                 18       Q. Do you remember the year that any of
 19        A. That was mostly --                           19   the Strick trailers were made that you saw at
 20        Q. -- when he wasn't a mechanic?                20   Puerto Rico Marine?
 21        A. Yes, but they didn't call him -- they        21       A. No, I don't remember.
 22    didn't call him off. I've never had that            22       Q. Okay.
 23    problem.                                            23       A. They were older chassis. They wasn't
 24        Q. Okay. Well, I was just thinking              24   new.
 25    maybe if he was, you know, helping one of you       25           MS. BAXTER: Right. Okay. Mr. Kain,


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                                        January 29, 2021
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  1   for now that's all my questions. Again, I really    1   seconds?
  2   appreciate your time today. Thank you so much,      2           MR. HIBEY: Sure. You can look
  3   sir.                                                3   through your notes. I will kill some time.
  4           THE WITNESS: Thank you.                     4           Mr. Kain, how are you doing?
  5           MR. HIBEY: All right. Was there             5           THE WITNESS: Back hurts from sitting
  6   anybody else that had follow-up?                    6   so long.
  7           I know, Doug, you've got some               7           MR. HIBEY: Yeah.
  8   questions you want to ask?                          8           THE WITNESS: I have a bad back.
  9           MR. KINLER: I have less than a              9           MR. HIBEY: Mine too.
 10   minute, Mike. I think I have two questions.        10           MS. BAXTER: Hey, I can tell you I
 11           MR. HIBEY: Go for it.                      11   have one more question.
 12             [FURTHER EXAMINATION]                    12           MR. HIBEY: Kay --
 13   QUESTIONS BY MR. KINLER:                           13           MS. BAXTER: I can ask questions for
 14        Q. I put my camera back on, Mr. Kain.         14   one more time if you want.
 15   Can you see me okay?                               15           MR. HIBEY: Well, I guess we can do
 16        A. Yes.                                       16   that. I don't see why not. Is it your practice
 17        Q. Okay. I'm not going to re-ask              17   to always like leave trails of questions behind
 18   anything I asked you when we spoke a few hours     18   so you can just keep coming back again and again
 19   ago. I just want to ask you this generally.        19   and again?
 20           Do you remember you and I spoke about      20           MS. BAXTER: I love it, yeah.
 21   the affidavit. We went through all the             21           MR. HIBEY: You've done this now
 22   paragraphs and I asked you about --                22   multiple times. The model number and series
 23        A. Right.                                     23   number questions that you asked on your follow-up
 24        Q. -- and I asked you about your              24   is not really a follow-up of any kind, is it?
 25   knowledge of asbestos.                             25           MS. BAXTER: Mr. Kain, are you taking


                                          Page 243                                                Page 245
  1            Do you remember that?                      1   a break?
  2        A. Right.                                      2            THE WITNESS: No, I've got to stand
  3        Q. And you were truthful when you              3   up. My back is going out.
  4   answered my questions, weren't you?                 4            MS. BAXTER: You do you what --
  5        A. Yes.                                        5            MR. HIBEY: All right. Let's finish
  6        Q. I'm sorry?                                  6   this up.
  7        A. Yes.                                        7             [FURTHER EXAMINATION]
  8        Q. Okay. And we also talked about the          8   QUESTIONS BY MS. BAXTER:
  9   number of times that you saw Mr. Brindell going     9         Q. My one question is this. Do you know
 10   on ships. Do you remember we talked about all of   10   the mileage of any Strick chassis or trailer you
 11   that, and you were truthful when you answered my   11   worked on?
 12   questions about that, weren't you?                 12         A. No, ma'am.
 13        A. Yes, to the best of my ability.            13            MS. BAXTER: That's it. Thank you.
 14            MR. KINLER: Yes, sir. Okay. That's        14            MR. HIBEY: All right. Mr. Kain, I'm
 15   all I have. Thank you, sir.                        15   going to forego any follow-up. I think that
 16            MR. HIBEY: All right. Is there            16   you've answered plenty of questions today and
 17   anybody else that has any follow-up questions?     17   I'll leave you alone.
 18            MS. DETO: Yes, sir. I'm trying to         18            Amanda, do you have anything at this
 19   go off mute. Can you hear me?                      19   time?
 20            THE WITNESS: Yes.                         20            All right. That concludes the
 21            MS. DETO: Okay, great. This is            21   deposition, everyone.
 22   Amanda just quickly. I'm looking over my notes     22            Mr. Kain, you will have the
 23   here.                                              23   opportunity to read and review the transcript of
 24            Can I just have one second to look        24   this deposition. So we have a court reporter
 25   through my notes, Mike, if you don't mind, 20      25   who's been typing everything up today and due to


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                                                  Raymond Kain
                                                January 29, 2021
                                                 Page 246                                                            Page 248
  1    the fact that it's been remote and at times some      1            REPORTER CERTIFICATE
                                                             2
  2    of your words may not have been transcribed, I'm               I, KAREN SHALES, Certified Shorthand
  3    going to recommend that you do take the               3   Reporter, do hereby certify that there came
                                                                 before remotely,
  4    opportunity to receive a copy of this transcript      4
  5    and take a quick look just to be sure that                           RAYMOND KAIN,
                                                             5
  6    everything is transcribed correctly.                      who was by me first duly sworn; that the witness
  7            So that is your option. If you                6   was carefully examined, that said examination was
                                                                 reported by myself; translated and proofread
  8    choose to waive it you can, but I would recommend     7   using computer-aided transcription, and the above
  9    you take a look at it. What do you think?                 transcript of proceedings is a true and accurate
                                                             8   transcript of my notes as taken at the time of
 10            THE WITNESS: I'll take a look at it.              the examination of this witness.
 11            MR. HIBEY: Sounds good. The                   9
                                                                       I further certify that I am neither
 12    deposition is over. Thank you all.                   10   attorney nor counsel for nor related nor employed
 13            THE VIDEOGRAPHER: The time is 2:08                by any of the parties to the action in which this
                                                            11   examination is taken; further, that I am not a
 14    p.m. Central Standard Time. We are off the                relative or employee of any attorney or counsel
                                                            12   employed by the parties hereto or financially
 15    record.                                                   interested in this action.
 16            (Whereupon signature was not waived          13
                                                                      Dated this 2nd day of February, 2021.
 17    and the witness was excused.)                        14
 18                                                         15
                                                            16
 19                                                                 _______________________________________
 20                                                         17          KAREN SHALES, CCR, RPR
                                                            18
 21                                                         19
 22                                                         20
                                                            21
 23                                                         22
 24                                                         23
                                                            24
 25                                                         25


                                                 Page 247
  1      COMES NOW THE WITNESS, RAYMOND KAIN, and
  2   having read the foregoing transcript of the
  3   deposition taken on January 29, 2021,
  4   acknowledges by signature hereto that it is a
  5   true and accurate transcript of the testimony
  6   given on the date hereinabove mentioned.
  7
  8
  9          _______________________
 10             RAYMOND KAIN
 11
 12
 13           Subscribed to before me this ________
 14   day of _____________________, 2021.
 15
 16
 17
 18           ______________________
 19             [Notary Public]
 20
 21   Case: Brindell vs. Carlisle, et al.
 22   Date Taken: January 29, 2021
 23   Reporter: Karen Shales, CCR, RPR
 24
 25


                                                                            63 (Pages 246 to 248)
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STATE OF LOUISIANA                           )
                                             )
PARISH OF ORLEANS                            )

                                             AFFIDAVIT

I, Raymond Kain, declare that the following is true and correct under penalty of perjury under the laws
of the United States of America:

   1) My name is Raymond Kain. My date of birth is February 22, 1949.

   2) I worked at Puerto Rico Marine Management, Inc. with John Brindell between 1976 and 1981.

   3) When John Brindell first started working at Puerto Rico Marine Management, Inc., John and I
      performed some container maintenance work. Container maintenance work involved welding. At
      times, John Brindell and I performed container maintenance work on board ships at the Port of
      New Orleans.

   4) In addition, beyond container maintenance work, at times and for various reasons, John and I
      were on board ships at the Port of New Orleans.

   5) While John Brindell and I were on board ships at the Port of New Orleans, performing container
      maintenance work or otherwise on the ships, additional maintenance work was performed on the
      same ships and in our work areas.

   6) John and I were present and exposed to asbestos from the maintenance work and insulation
      repair work performed by a variety of contractors, including, but not limited to, Eagle and Taylor
      Seidenbach.

   7) John and I saw airborne asbestos dust from the work of Eagle and Taylor Seidenbach at the Port
      of New Orleans.

   8) I was able to identify these maintenance and insulation workers by their trucks, uniforms, and
      equipment.


Affiant says nothing further.
                                                               ___________________________
                                                               Raymond Kain

Sworn to and subscribed before me on this _29th_ day of __April____, 2020, by Raymond Kain.


                                                               _____________________________
                                                                     NOTARY PUBLIC




                                                 Page 1 of 1
                                                                                         EXHIBIT V
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Chena Burciaga

From:                         Meghan B. Senter
Sent:                         Tuesday, February 2, 2021 3:22 PM
To:                           Chena Burciaga
Cc:                           Tonni A. Keeler; Jeanette Riggins; Amanda L. Deto-Sloan
Subject:                      FW: Brindell v. Carlisle 2019-09716
Attachments:                  Carlisle Subpeona.pdf; Eaton - Brindell Carolyn PLTFF SDT_RFP.pdf; Eaton - Brindell,
                              Carolyn PLTFF 1st ROG.pdf; Eaton Letter.pdf; Eaton Subpeona.pdf; Great Dane - Brindell
                              Carolyn PLTFF SDT_RFP.pdf; Great Dane - Brindell, Carolyn PLTFF 1st ROG.pdf; Great
                              Dane Letter.pdf; Great Dane Subpeona.pdf; Kelsey Hayes - Brindell Carolyn PLTFF
                              SDT_RFP.pdf; Kelsey Hayes - Brindell, Carolyn PLTFF 1st ROG.pdf; Kelsey Hayes
                              Letter.pdf; Kelsey Hayes Subpeona.pdf; Lufkin - Brindell Carolyn PLTFF SDT_RFP.pdf;
                              Lufkin - Brindell, Carolyn PLTFF 1st ROG.pdf; Lufkin Letter.pdf; Lufkin Subpeona.pdf;
                              Utility - Brindell Carolyn PLTFF SDT_RFP.pdf; Utility - Brindell, Carolyn PLTFF 1st
                              ROG.pdf; Utility Letter.pdf; Utility Subpeona.pdf; Wilson - Brindell Carolyn PLTFF
                              SDT_RFP.pdf; Wilson - Brindell, Carolyn PLTFF 1st ROG.pdf; Wilson Subpeona.pdf;
                              Wilson Trailer Co. Letter.pdf; Abex - Brindell Carolyn PLTFF SDT_RFP.pdf; Abex - Brindell,
                              Carolyn PLTFF 1st ROG.pdf; Abex Letter.pdf; Abex Suppeona.pdf; Carlisle - Brindell
                              Carolyn PLTFF SDT_RFP.pdf; Carlisle - Brindell, Carolyn PLTFF 1st ROG.pdf; Carlisle
                              Letter.pdf

Follow Up Flag:               Follow up
Flag Status:                  Completed




From: Tia Krueger <tkrueger@simmonsfirm.com>
Sent: Thursday, December 24, 2020 12:27 PM
To: jadams@deutschkerrigan.com; wharrison@deutschkerrigan.com; bormsby@deutschkerrigan.com;
jhainkel@frilot.com; abowlin@frilot.com; Brown, James H. <JBrown@frilot.com>; mpuentee@frilot.com;
keagan@frilot.com; klong@frilot.com; lmccoy@frilot.com; rhainkel@frilot.com; Jeanette Riggins
<JRiggins@mgmlaw.com>; Chris Massenburg <CMassenburg@mgmlaw.com>; Adam Hays <AHays@mgmlaw.com>;
Meghan B. Senter <msenter@mgmlaw.com>; Vikram S. Bhatia <VBhatia@mgmlaw.com>; Amanda L. Deto-Sloan
<ADeto-Sloan@mgmlaw.com>; K Courington <kcourington@courington-law.com>; jzanovec@courington-law.com; 'd
marullo' <dmarullo@courington-law.com>; Jeffrey M. Burg <jburg@courington-law.com>; Troy N. Bell
<tbell@courington-law.com>; Joseph Hart <jhart@pugh-law.com>; tporteous@pugh-law.com; doser@pugh-law.com
Cc: Melissa Schopfer <mschopfer@simmonsfirm.com>; JM Lecointre <jlecointre@simmonsfirm.com>; Mike Hibey
<mhibey@simmonsfirm.com>; Lindsey A. Cheek <lcheek@thecheeklawfirm.com>; Jeanne St. Romain
<JStromain@thecheeklawfirm.com>; kcheek <kcheek@thecheeklawfirm.com>; Asbestos
<Asbestos@thecheeklawfirm.com>; Don Blydenburgh <dblydenburgh@simmonsfirm.com>; Tia Krueger
<tkrueger@simmonsfirm.com>; Kelley Hotz <khotz@simmonsfirm.com>
Subject: Brindell v. Carlisle 2019-09716

Counselors:

Please see attached regarding the above referenced case.

Thank you,

                                                        1

                                                                                                         EXHIBIT W
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Tia Krueger
Paralegal
618.259.6636
One Court Street, Alton, IL 62002

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                                                         2
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               CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                    STATE OF LOUISIANA

NO. 2019-09716                                SECTION: 8                             DIVISION N

                                CAROLYN BRINDELL, ET AL.

                                             VERSUS

              CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC., ET AL.

FILED:                                        DEPUTY CLERK:

                         PLAINTIFF’S FIRST INTERROGATORIES
                          TO DEFENDANT PNEUMO ABEX, LLC

TO DEFENDANT: PNEUMO ABEX, LLC

BY AND THROUGH ITS COUNSEL OF RECORD:
     William Harrison, Jennifer Adams, Barbara Ormsby
     DEUTSCH KERRIGAN, LLP
     755 Magazine Street
     New Orleans, LA 70130
     jadams@deutschkerrigan.com
     wharrison@deutschkerrigan.com
     bormsby@deutschkerrigan.com

       Plaintiff, by and through his undersigned counsel and pursuant to articles 1422, 1457 and

1458 of the Louisiana Code of Civil Procedure and other applicable rules and law, demands that

within thirty (30) days, Defendant shall answer the attached requests separately and fully in writing

under oath.

Dated: December 24, 2020                              Respectfully Submitted,




                                              By:
                                                    SIMMONS HANLY CONROY LLC
                                                    Melissa Schopfer, admitted pro hac vice
                                                    Jean-Michel Lecointre, admitted pro hac vice
                                                    Michael K. Hibey, admitted pro hac vice
                                                    One Court Street
                                                    Alton, IL 62002
                                                    Telephone: 618-259-2222
                                                    Fax: 618-259-2251
                                                    mschopfer@simmonsfirm.com
                                                    jlecointre@simmonsfirm.com
                                                    mhibey@simmonsfirm.com

                                                      -AND-

                                                    THE CHEEK LAW FIRM LLC
                                                    LINDSEY A. CHEEK, Bar No. 34484



                                                -1-
   Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 264 of 565




                                                  Jeanne L. St. Romain, Bar No. 36035
                                                  650 Poydras Street, Suite 2310
                                                  New Orleans, LA 70130
                                                  Telephone: 504-304-4333
                                                  Fax: 504-324-0629
                                                  LCheek@thecheeklawfirm.com
                                                  JStromain@thecheeklawfirm.com
                                                  asbestos@thecheeklawfirm.com
                                                  COUNSEL FOR PLAINTIFF



                                CERTIFICATE OF SERVICE

       I do hereby certify that on this 24 December 2020 I served a copy of the foregoing pleading

on counsel for all parties to this proceeding by facsimile, by electronic mail, by hand delivery or

by mailing the same by United States mail, properly addressed and first class postage prepaid.




                                               -2-
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                                     GENERAL INSTRUCTIONS

        With respect to all questions, all information is to be divulged which is within the

knowledge, possession or control of the corporation or company to whom these requests are

addressed, as well as the corporation or company's attorneys, investigators, agents, employees or

other representatives. If you cannot answer the following requests in full after exercising due

diligence to secure the full information to do so, then state and answer to the fullest extent possible,

specifying your inability to answer the remainder, stating whatever information or knowledge you

have concerning the unanswered portion and detailing what you did in attempting to acquire the

information.

        A.      Please produce all documents and tangible things as they are kept in the usual

course of business or organize and label them to correspond with the categories or numbered

requests in this set of discovery.

        B.      If any information or material is being withheld under any claim of privilege,

protection, or immunity, please state with specificity the particular privilege, protection, or

immunity asserted.

        C.      If Defendant cannot produce requested information or material because it is not in

Defendant’s possession, custody, or control, please identify the information or material, the reason

the information or material is not in Defendant’s possession, custody, or control, and the entity

currently having possession, custody, or control over the information or material.

        D.      When providing a date, please provide the exact day, month, and year. If the exact

date is not known, please provide the best approximation of the date and clearly note that the date

is an approximation.

        E.      If responsive material is in electronic, magnetic, or digital form, Plaintiff

specifically requests production of such material. Plaintiff requests such material be provided on

CD-ROM.

        F.      In the event a proper and timely objection is filed as to any requested material,

please nevertheless respond to all portions of the request which do not fall within the scope of the

objection. For example, if a request is objected to on the grounds that it is too broad insofar as it

seeks documents covering years Defendant believes are not relevant to this litigation, please

nevertheless produce documents for all years which Defendant concedes are relevant.




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                                   GENERAL DEFINITIONS

        A.      “Defendant,” as used herein, means the entity answering these discovery requests

and any of its merged, consolidated, or acquired predecessors, divisions, joint ventures,

subsidiaries, foreign subsidiaries, foreign subsidiaries of predecessors, parent companies, sister

companies. This definition includes present and former officers, directors, agents, employees, and

all other persons acting or purporting to act on behalf of Defendant, its predecessors, subsidiaries,

and/or affiliates.

                i.     “Predecessors” further means any entity, whether or not incorporated,
                       which had all or some of its assets purchased by Defendant or came to be
                       acquired by Defendant whether by merger, consolidation, or other means.

                ii.    “Subsidiaries” further means any entity, whether or not incorporated, which
                       is or was in any way owned or controlled, in whole or in part by Defendant
                       or its predecessors.

        B.      “Related company” as used herein means any entity in which the named defendant

has or had an interest and which does or has specified, assembled, manufactured, sold, distributed,

installed, removed, repaired, and/or brokered asbestos-containing material.

        C.      “Asbestos-containing material” and/or “asbestos-containing product” as used

herein means raw or processed asbestos and any product which included any form of asbestos as

any part of its composition or ingredients including but not limited to friction material, brake

pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or clutch

components, gaskets, gasket material, engines, axles, tractors, and/or trailers; and/or,

equipment or machinery in or on which an asbestos-containing material as defined above was

incorporated, added, utilized or applied prior to being sold, distributed or installed by defendant.

This term shall also refer to equipment that was originally sold with asbestos-containing material,

and / or has specifications that require asbestos or an asbestos-containing material and equipment

whose manufacturer anticipates or should anticipate the use of asbestos or an asbestos-containing

material in its practical, foreseeable, and/or proper use.

        D.      “Documents”, as used herein, include, without limitation, books, records, notes,

letters, correspondence, memoranda, writings, invoices, purchase orders, contracts, sales ledgers,

recordings, journals or books of account, in possession or control of Defendant or Defendant's

attorneys, investigators, agents, or employees. Such reference to documents includes originals and

copies, microfilms and transcripts made, recorded, produced or reproduced by any means.

"Documents" also includes the content of any applicable computer database.



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       E.      Where used with respect to documents, “identify” means to give the date, title,

origin, author and addressee of the document and the name, address, position or title of the person

who has custody of the document. Whenever identification is requested and Defendant is willing

to produce the documents voluntarily, Defendant may respond by attaching a copy of the

responsive document to the answers to these requests.

       F.      Where used with respect to a person, "identify" means to give the person's name,

employer, title or position with that employer, and business address and last known home address

if the person is no longer so employed. If the person identified is, or has been, an employee,

officer, director or agent of Defendant, also state the period of time during which he/she has been

employed by Defendant, and all positions, titles or jobs that person has held with the Defendant

and the years each position was held.

       G.      The terms, “trade organization” and “trade association,” mean any organization or

association of business, industrial, or governmental entities that were associated and/or met for the

purpose of achieving common goals, exchanging or disseminating information related to common

needs or interests, and/or learning information or facts of interest to the various members of the

organization or association.

       H.      The terms, “plant” and “facility,” mean any location where materials are refined,

converted, chemically altered, changed, assembled, manufactured, constructed, or fabricated as

well as locations where products are fabricated, assembled, or manufactured or prepared for further

fabrication or assembly. This definition also includes office spaces, storage spaces, control rooms,

undeveloped land, and similar areas within the larger plant or facility.

       I.      The term, “manufacture,” means to fabricate, construct, assemble, prepare for

fabrication or assembly, or take any other action prior to completion of a product or material.

       J.      The terms, “medical department,” “safety department,” and “industrial hygiene

department,” mean an individual or a group of individuals working for Defendant, either directly

or in a contractual capacity, whose purpose was or is to provide guidance, assistance, or advice

concerning any aspect of medical health including, but not limited to, the safety of Defendant's

workers and the safety of individuals using or exposed to asbestos or asbestos-containing products.

       K.      The term, “hazards of asbestos,” means any potential or actual asbestos-related

injury, effect, damage, scarring, wound, impairment, or disability of any part of human or non-

human anatomy including, but not limited to, the lungs and associated tissue.



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         L.    The term, “test,” includes, but is not limited to, studies of atmospheric dust samples,

studies of the concentration of asbestos in airborne test samples, studies of the lung conditions of

workers (by x-ray or other means), pulmonary function studies of workers, animal studies,

pathological studies, industrial hygiene studies, risk assessment studies, cost-benefit analyses, and

any other studies concerning health and safety.

         M.    The term, “communication,” means any transmission or exchange of information,

whether oral or written, and whether face to face, by telephone, mail, fax, personal delivery,

electronic means, or otherwise.

         N.    “Premises,” means:

               i.      Real property, as well as any structures or other improvements located on
                       the property; and,

               ii.     A ship or other floating vehicle, vessel, or structure.

         O.    As used herein, “locations and recipients at issue” if and where specifically used

means:

               i.      Port of New Orleans;
               ii.     Puerto Rico Marine Management;
               iii.    Great Dane;
               iv.     Kelsey Hayes;
               v.      Lufkin;
               vi.     Strick;
               vii.    Utility Trailer; and / or,
               viii.   Wilson Trailer.

         P.    The terms, “abate” and “abatement,” mean any removal and/or cleanup of asbestos-

containing products on a premises.

         Q.    The term, “utilize,” when referring to asbestos-containing products and/or asbestos

job site(s) means to install, inspect, apply, maintain, repair, replace, or remove.

         R.    The definitions stated above shall also apply to other grammatical forms of the word

defined, such as singular and plural, masculine and feminine, and various verb tenses.

                                  FIRST INTERROGATORIES

INTERROGATORY NO. 1:                   Identify all sources of information relied upon in formulating

defendant’s responses to these interrogatories (providing a privilege log if necessary), including

records or documents reviewed, records or documents determined to have been destroyed,

document retention policies, persons providing information and/or overseeing the process, and the

person verifying the answers.

         ANSWER:



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INTERROGATORY NO. 2:                    Please identify each and every product and/or material—

regardless of whether Defendant knows it contained asbestos—Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982.

       ANSWER:

INTERROGATORY NO. 3:                    For each product and / or material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982, please state whether Defendant knows

or has reason to believe said product and / or material contained asbestos. If so, for each asbestos-

containing material, please identify:

       a.      The trade name or brand name of the same;

       b.      The type, brand name and percentage of asbestos contained in the material,
               including any changes over time (and/or the elimination of asbestos in the material);

       c.      Each and every source (including manufacturers and distributors) from which
               Defendant and/or any predecessor/related entity obtained each such material;

       d.      The date said product / material was placed on the market, and the inclusive dates
               of its manufacture, sale, and distribution;

       e.      A detailed description of said product / material, including a description of how and
               why it involved the use of asbestos or asbestos-containing products;

       f.      The date Defendant stopped manufacturing, marketing, selling, and/or distributing
               said product / material;

       g.      If applicable, the date said product / material was removed from the market and no
               longer sold or distributed and the reasons therefore;

       h.      The date, if ever, Defendant asbestos no longer utilized asbestos or asbestos-
               containing material in said product / material, and the reasons for no longer doing
               so;

       i.      Whether Defendant ever conducted any testing on asbestos-containing material to
               determine whether it posed any potential asbestos-related hazard to human or non-
               human health;

       j.      The plants or facilities where asbestos and /or asbestos-containing materials were
               manufactured, fabricated, and / or processed by Defendant;

       k.      Those likely to encounter said asbestos and / or asbestos-containing materials (such
               as mechanics); and,

       l.      A description of any hazard communications Defendant placed on asbestos-
               containing materials or its packaging, operating manuals, brochures, catalogs, or
               other related printed material. This description should include the precise language


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               of any such hazard communication, the size of the hazard communication, the
               location on the asbestos-containing material or its packaging where the hazard
               communication was printed, and when the hazard communication was first placed
               on said asbestos-containing material.

       ANSWER:

INTERROGATORY NO. 4:                      Please identify any and all prior claim(s) alleging lung

diseases or death from lung disease, whether directly or indirectly attributed to asbestosis,

mesothelioma, lung cancer, or exposure to asbestos-containing material as defined above, alleging

exposure to asbestos-containing materials allegedly manufactured, sold, distributed, specified,

applied, and / or installed in whole or part by Defendant and / or any predecessor / related entity,

specifically including but not limited to those Defendant and/or any predecessor/related entity

applied, installed, removed and / or replaced in whole or part to/for/at any of the locations and

recipients at issue (as defined above).

       ANSWER:

INTERROGATORY NO. 5:                      Please identify each and every policy, procedure, step,

hazard communication, purported warning, and/or program undertaken, implemented, discussed

and/or contemplated by Defendant and/or any predecessor/related entity intended to protect any

person or persons (including, but not limited to, employees, product end-users and/or by-standers)

in any way from exposure to asbestos, asbestos-containing materials and / or dust therefrom.

       ANSWER:

INTERROGATORY NO. 6:                      Please identify any and all tests of any kind (e.g., air

sampling, laboratory experiments, industrial hygiene surveys, fiber release studies, etc.)

concerning possible or potential health hazards involved in the use or manipulation of, or exposure

to, asbestos-containing materials or ingredients contained therein (including contaminants such as,

for example, tremolite or chrysotile asbestos in talc) conducted b Defendant, any predecessor or

related company, or any person or entity acting on behalf thereof including but not limited to any

insurance company.

       ANSWER:

INTERROGATORY NO. 7:                      Please identify any and all persons or entities that provided

industrial hygiene or similar services or information to, or for the benefit of, Defendant, at any

time from 1925 to date, including, but not limited to, employees of, or anyone retained by, any

predecessor or related company.

       ANSWER:


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INTERROGATORY NO. 8:                   Please describe Defendant’s medical, safety, and industrial

hygiene programs from the Defendant’s inception through the current time, specifically including

but not limited to the date when said department / program was first established and identifying

persons associated with the department (including but not limited to directors, managers,

physicians, nurses, medical personnel, safety engineers, industrial hygienists, and safety

personnel).

       ANSWER:

INTERROGATORY NO. 9:                   Please describe when (approximating if necessary) any

officer, director, and / or employee of Defendant, any predecessor(s) or related company first had

knowledge, information, or belief that exposure to asbestos could have a detrimental effect on

health and how such person obtained such knowledge, information or belief.

       ANSWER:

INTERROGATORY NO. 10:                  Please identify any and all trade organizations, associations,

or other entities to which Defendant, any predecessor or any related company (including any

officers, agents and/or employees thereof) has belonged or in which the same has participated since

1925, including dates of membership and/or participation and a description of each such officer,

agent and/or employee’s involvement with each such organization (e.g., general member, officer

or official of the organization, member of a committee or subcommittee, chair of any committee

or subcommittee, etc.).

       ANSWER:

INTERROGATORY NO. 11:                  Identify any and all periodicals—including but not limited

to scientific, medical and trade periodicals, and corporate newsletters/publications, bulletins, and

notices—that Defendant and/or any predecessor/related entity, employee or agent thereof

subscribed to, received, published, authored, or distributed from 1925 to the present and for each

periodical state the dates of such subscriptions, receipt, publication, authorship, or distribution.

       ANSWER:

INTERROGATORY NO. 12:                  Please identify each of Defendant’s employees, former

employees, or representatives who attended any proceeding, symposium, or conference of a

scientific, medical, or technical nature during which information relating to the hazards of asbestos

or nuisance dust in general was discussed, disseminated, or in any way published (e.g., the effects

of human or nonhuman exposure to asbestos, populations at risk, etc.). For each such person


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identified in the response to this Interrogatory, please also list the proceeding, symposium, or

conference the person attended; provide the date and location of the proceeding, symposium, or

conference; provide the identity of the person within Defendant’s organization who received or

was designated to receive the attending person’s report of the information gathered at such

proceeding, symposium, or conference; and describe the manner in which such reports were made.

       ANSWER:

INTERROGATORY NO. 13:                 Please describe Defendant’s complete corporate history,

including its ownership, sale, acquisition, divestiture, and any mergers, acquisitions,

consolidations, or other similar events involving Defendant at any time during its history.

       ANSWER:

INTERROGATORY NO. 14:                 Please identify any and all communications, including but

not limited to investigations and / or citations, between defendant and OSHA or any other local,

state, or federal governmental agency for any matter related to asbestos and / or asbestos exposure.

       ANSWER:

INTERROGATORY NO. 15:                 If Defendant has asserted any affirmative defenses,

avoidances, theories of alternate causation (including but not limited to sole proximate cause), and

/ or exceptions in this case, please provide a short and plain statement of the facts Defendant

contends support each such defense, avoidance, theory of alternate causation and / or exception.

       ANSWER:

INTERROGATORY NO. 16:                 Please identify by case name, docket number, court and date

filed any proceeding(s) of any nature whatsoever (specifically including but not limited to civil,

adjudicatory, or arbitration) filed by you against your insurer(s) for reimbursement and/or coverage

dispute of any legal fees, costs, expenses and/or judgment(s) related to and/or arising from any

asbestos-related claim(s) or lawsuit(s) filed against you.

       ANSWER:

INTERROGATORY NO. 17:                 Please identify any and all policies of insurance which may

provide coverage for this Defendant, its executive officers, any predecessor or related companies,

against the claims asserted in Plaintiff’s complaint, specifically including but not limited to

Commercial General Liability (“CGL”) policies, Workers’ Compensation / Employers’ Liability

(“WC/EL”) policies, Excess policies, and Umbrella policies.

       ANSWER:



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INTERROGATORY NO. 18:                 Please state all facts in support of defendant’s contention, if

it so contends, that it was not foreseeable that asbestos-containing material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and recipients at issue (as defined

above) would be removed, replaced, and / or otherwise disturbed.

        ANSWER:

INTERROGATORY NO. 19:                 Please identify defendant’s employees and executive

officers with responsibility for the selection / specification of asbestos-containing materials in

friction material, brake pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or

clutch components, gaskets, gasket material, engines, axles, tractors, and/or trailers specified,

assembled, manufactured, sold, distributed, installed, removed, repaired, and/or brokered by

Defendant, any predecessor and/or related entity at any point in time prior to the end of the year

1982.

        ANSWER:

Dated: December 24, 2020                                 Respectfully Submitted,




                                              By:
                                                    SIMMONS HANLY CONROY LLC
                                                    Melissa Schopfer, admitted pro hac vice
                                                    Jean-Michel Lecointre, admitted pro hac vice
                                                    Michael K. Hibey, admitted pro hac vice
                                                    One Court Street
                                                    Alton, IL 62002
                                                    Telephone: 618-259-2222
                                                    Fax: 618-259-2251
                                                    mschopfer@simmonsfirm.com
                                                    jlecointre@simmonsfirm.com
                                                    mhibey@simmonsfirm.com

                                                         -AND-

                                                    THE CHEEK LAW FIRM LLC
                                                    LINDSEY A. CHEEK, Bar No. 34484
                                                    Jeanne L. St. Romain, Bar No. 36035
                                                    650 Poydras Street, Suite 2310
                                                    New Orleans, LA 70130
                                                    Telephone: 504-304-4333
                                                    Fax: 504-324-0629
                                                    LCheek@thecheeklawfirm.com
                                                    JStromain@thecheeklawfirm.com
                                                    asbestos@thecheeklawfirm.com
                                                    COUNSEL FOR PLAINTIFF




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               CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                    STATE OF LOUISIANA

NO. 2019-09716                                SECTION: 8                             DIVISION N

                                CAROLYN BRINDELL, ET AL.

                                             VERSUS

              CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC., ET AL.

FILED:                                        DEPUTY CLERK:

                 PLAINTIFF’S FIRST INTERROGATORIES
      TO DEFENDANT CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC.

TO DEFENDANT: CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC.

BY AND THROUGH ITS COUNSEL OF RECORD:
     John Hainkel, III, Angela Bowlin, James Brown, Jr., Magali Puente Martin, Kelsey
     Eagan, Kelly Long, Lacey McCoy, Roth Hainkel
     FRILOT LLC
     1100 Poydras Street, Suite 3700
     New Orleans, LA 70163
     jhainkel@frilot.com
     abowlin@frilot.com
     jbrown@frilot.com
     mpuentee@frilot.com
     keagan@frilot.com
     klong@frilot.com
     lmccoy@frilot.com
     rhainkel@frilot.com

       Plaintiff, by and through his undersigned counsel and pursuant to articles 1422, 1457 and

1458 of the Louisiana Code of Civil Procedure and other applicable rules and law, demands that

within thirty (30) days, Defendant shall answer the attached requests separately and fully in writing

under oath.

Dated: December 24, 2020                              Respectfully Submitted,




                                              By:
                                                    SIMMONS HANLY CONROY LLC
                                                    Melissa Schopfer, admitted pro hac vice
                                                    Jean-Michel Lecointre, admitted pro hac vice
                                                    Michael K. Hibey, admitted pro hac vice
                                                    One Court Street
                                                    Alton, IL 62002
                                                    Telephone: 618-259-2222
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                                                    mhibey@simmonsfirm.com


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                                                        -AND-

                                                    THE CHEEK LAW FIRM LLC
                                                    LINDSEY A. CHEEK, Bar No. 34484
                                                    Jeanne L. St. Romain, Bar No. 36035
                                                    650 Poydras Street, Suite 2310
                                                    New Orleans, LA 70130
                                                    Telephone: 504-304-4333
                                                    Fax: 504-324-0629
                                                    LCheek@thecheeklawfirm.com
                                                    JStromain@thecheeklawfirm.com
                                                    asbestos@thecheeklawfirm.com
                                                    COUNSEL FOR PLAINTIFF



                                     CERTIFICATE OF SERVICE

        I do hereby certify that on this 24 December 2020 I served a copy of the foregoing pleading

on counsel for all parties to this proceeding by facsimile, by electronic mail, by hand delivery or

by mailing the same by United States mail, properly addressed and first class postage prepaid.




                                     GENERAL INSTRUCTIONS

        With respect to all questions, all information is to be divulged which is within the

knowledge, possession or control of the corporation or company to whom these requests are

addressed, as well as the corporation or company's attorneys, investigators, agents, employees or

other representatives. If you cannot answer the following requests in full after exercising due

diligence to secure the full information to do so, then state and answer to the fullest extent possible,

specifying your inability to answer the remainder, stating whatever information or knowledge you

have concerning the unanswered portion and detailing what you did in attempting to acquire the

information.

        A.      Please produce all documents and tangible things as they are kept in the usual

course of business or organize and label them to correspond with the categories or numbered

requests in this set of discovery.

        B.      If any information or material is being withheld under any claim of privilege,

protection, or immunity, please state with specificity the particular privilege, protection, or



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immunity asserted.

        C.      If Defendant cannot produce requested information or material because it is not in

Defendant’s possession, custody, or control, please identify the information or material, the reason

the information or material is not in Defendant’s possession, custody, or control, and the entity

currently having possession, custody, or control over the information or material.

        D.      When providing a date, please provide the exact day, month, and year. If the exact

date is not known, please provide the best approximation of the date and clearly note that the date

is an approximation.

        E.      If responsive material is in electronic, magnetic, or digital form, Plaintiff

specifically requests production of such material. Plaintiff requests such material be provided on

CD-ROM.

        F.      In the event a proper and timely objection is filed as to any requested material,

please nevertheless respond to all portions of the request which do not fall within the scope of the

objection. For example, if a request is objected to on the grounds that it is too broad insofar as it

seeks documents covering years Defendant believes are not relevant to this litigation, please

nevertheless produce documents for all years which Defendant concedes are relevant.



                                   GENERAL DEFINITIONS

        A.      “Defendant,” as used herein, means the entity answering these discovery requests

and any of its merged, consolidated, or acquired predecessors, divisions, joint ventures,

subsidiaries, foreign subsidiaries, foreign subsidiaries of predecessors, parent companies, sister

companies. This definition includes present and former officers, directors, agents, employees, and

all other persons acting or purporting to act on behalf of Defendant, its predecessors, subsidiaries,

and/or affiliates.

                i.     “Predecessors” further means any entity, whether or not incorporated,
                       which had all or some of its assets purchased by Defendant or came to be
                       acquired by Defendant whether by merger, consolidation, or other means.

                ii.    “Subsidiaries” further means any entity, whether or not incorporated, which
                       is or was in any way owned or controlled, in whole or in part by Defendant
                       or its predecessors.

        B.      “Related company” as used herein means any entity in which the named defendant

has or had an interest and which does or has specified, assembled, manufactured, sold, distributed,

installed, removed, repaired, and/or brokered asbestos-containing material.



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       C.      “Asbestos-containing material” and/or “asbestos-containing product” as used

herein means raw or processed asbestos and any product which included any form of asbestos as

any part of its composition or ingredients including but not limited to friction material, brake

pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or clutch

components, gaskets, gasket material, engines, axles, tractors, and/or trailers; and/or,

equipment or machinery in or on which an asbestos-containing material as defined above was

incorporated, added, utilized or applied prior to being sold, distributed or installed by defendant.

This term shall also refer to equipment that was originally sold with asbestos-containing material,

and / or has specifications that require asbestos or an asbestos-containing material and equipment

whose manufacturer anticipates or should anticipate the use of asbestos or an asbestos-containing

material in its practical, foreseeable, and/or proper use.

       D.      “Documents”, as used herein, include, without limitation, books, records, notes,

letters, correspondence, memoranda, writings, invoices, purchase orders, contracts, sales ledgers,

recordings, journals or books of account, in possession or control of Defendant or Defendant's

attorneys, investigators, agents, or employees. Such reference to documents includes originals and

copies, microfilms and transcripts made, recorded, produced or reproduced by any means.

"Documents" also includes the content of any applicable computer database.

       E.      Where used with respect to documents, “identify” means to give the date, title,

origin, author and addressee of the document and the name, address, position or title of the person

who has custody of the document. Whenever identification is requested and Defendant is willing

to produce the documents voluntarily, Defendant may respond by attaching a copy of the

responsive document to the answers to these requests.

       F.      Where used with respect to a person, "identify" means to give the person's name,

employer, title or position with that employer, and business address and last known home address

if the person is no longer so employed. If the person identified is, or has been, an employee,

officer, director or agent of Defendant, also state the period of time during which he/she has been

employed by Defendant, and all positions, titles or jobs that person has held with the Defendant

and the years each position was held.

       G.      The terms, “trade organization” and “trade association,” mean any organization or

association of business, industrial, or governmental entities that were associated and/or met for the

purpose of achieving common goals, exchanging or disseminating information related to common



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needs or interests, and/or learning information or facts of interest to the various members of the

organization or association.

         H.    The terms, “plant” and “facility,” mean any location where materials are refined,

converted, chemically altered, changed, assembled, manufactured, constructed, or fabricated as

well as locations where products are fabricated, assembled, or manufactured or prepared for further

fabrication or assembly. This definition also includes office spaces, storage spaces, control rooms,

undeveloped land, and similar areas within the larger plant or facility.

         I.    The term, “manufacture,” means to fabricate, construct, assemble, prepare for

fabrication or assembly, or take any other action prior to completion of a product or material.

         J.    The terms, “medical department,” “safety department,” and “industrial hygiene

department,” mean an individual or a group of individuals working for Defendant, either directly

or in a contractual capacity, whose purpose was or is to provide guidance, assistance, or advice

concerning any aspect of medical health including, but not limited to, the safety of Defendant's

workers and the safety of individuals using or exposed to asbestos or asbestos-containing products.

         K.    The term, “hazards of asbestos,” means any potential or actual asbestos-related

injury, effect, damage, scarring, wound, impairment, or disability of any part of human or non-

human anatomy including, but not limited to, the lungs and associated tissue.

         L.    The term, “test,” includes, but is not limited to, studies of atmospheric dust samples,

studies of the concentration of asbestos in airborne test samples, studies of the lung conditions of

workers (by x-ray or other means), pulmonary function studies of workers, animal studies,

pathological studies, industrial hygiene studies, risk assessment studies, cost-benefit analyses, and

any other studies concerning health and safety.

         M.    The term, “communication,” means any transmission or exchange of information,

whether oral or written, and whether face to face, by telephone, mail, fax, personal delivery,

electronic means, or otherwise.

         N.    “Premises,” means:

               i.      Real property, as well as any structures or other improvements located on
                       the property; and,

               ii.     A ship or other floating vehicle, vessel, or structure.

         O.    As used herein, “locations and recipients at issue” if and where specifically used

means:

               i.      Port of New Orleans;


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               ii.     Puerto Rico Marine Management;
               iii.    Great Dane;
               iv.     Kelsey Hayes;
               v.      Lufkin;
               vi.     Strick;
               vii.    Utility Trailer; and / or,
               viii.   Wilson Trailer.

       P.      The terms, “abate” and “abatement,” mean any removal and/or cleanup of asbestos-

containing products on a premises.

       Q.      The term, “utilize,” when referring to asbestos-containing products and/or asbestos

job site(s) means to install, inspect, apply, maintain, repair, replace, or remove.

       R.      The definitions stated above shall also apply to other grammatical forms of the word

defined, such as singular and plural, masculine and feminine, and various verb tenses.

                                 FIRST INTERROGATORIES

INTERROGATORY NO. 1:                    Identify all sources of information relied upon in formulating

defendant’s responses to these interrogatories (providing a privilege log if necessary), including

records or documents reviewed, records or documents determined to have been destroyed,

document retention policies, persons providing information and/or overseeing the process, and the

person verifying the answers.

       ANSWER:

INTERROGATORY NO. 2:                    Please identify each and every product and/or material—

regardless of whether Defendant knows it contained asbestos—Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982.

       ANSWER:

INTERROGATORY NO. 3:                    For each product and / or material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982, please state whether Defendant knows

or has reason to believe said product and / or material contained asbestos. If so, for each asbestos-

containing material, please identify:

       a.      The trade name or brand name of the same;

       b.      The type, brand name and percentage of asbestos contained in the material,
               including any changes over time (and/or the elimination of asbestos in the material);


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       c.      Each and every source (including manufacturers and distributors) from which
               Defendant and/or any predecessor/related entity obtained each such material;

       d.      The date said product / material was placed on the market, and the inclusive dates
               of its manufacture, sale, and distribution;

       e.      A detailed description of said product / material, including a description of how and
               why it involved the use of asbestos or asbestos-containing products;

       f.      The date Defendant stopped manufacturing, marketing, selling, and/or distributing
               said product / material;

       g.      If applicable, the date said product / material was removed from the market and no
               longer sold or distributed and the reasons therefore;

       h.      The date, if ever, Defendant asbestos no longer utilized asbestos or asbestos-
               containing material in said product / material, and the reasons for no longer doing
               so;

       i.      Whether Defendant ever conducted any testing on asbestos-containing material to
               determine whether it posed any potential asbestos-related hazard to human or non-
               human health;

       j.      The plants or facilities where asbestos and /or asbestos-containing materials were
               manufactured, fabricated, and / or processed by Defendant;

       k.      Those likely to encounter said asbestos and / or asbestos-containing materials (such
               as mechanics); and,

       l.      A description of any hazard communications Defendant placed on asbestos-
               containing materials or its packaging, operating manuals, brochures, catalogs, or
               other related printed material. This description should include the precise language
               of any such hazard communication, the size of the hazard communication, the
               location on the asbestos-containing material or its packaging where the hazard
               communication was printed, and when the hazard communication was first placed
               on said asbestos-containing material.

       ANSWER:

INTERROGATORY NO. 4:                      Please identify any and all prior claim(s) alleging lung

diseases or death from lung disease, whether directly or indirectly attributed to asbestosis,

mesothelioma, lung cancer, or exposure to asbestos-containing material as defined above, alleging

exposure to asbestos-containing materials allegedly manufactured, sold, distributed, specified,

applied, and / or installed in whole or part by Defendant and / or any predecessor / related entity,

specifically including but not limited to those Defendant and/or any predecessor/related entity

applied, installed, removed and / or replaced in whole or part to/for/at any of the locations and

recipients at issue (as defined above).

       ANSWER:

INTERROGATORY NO. 5:                      Please identify each and every policy, procedure, step,

hazard communication, purported warning, and/or program undertaken, implemented, discussed


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and/or contemplated by Defendant and/or any predecessor/related entity intended to protect any

person or persons (including, but not limited to, employees, product end-users and/or by-standers)

in any way from exposure to asbestos, asbestos-containing materials and / or dust therefrom.

       ANSWER:

INTERROGATORY NO. 6:                  Please identify any and all tests of any kind (e.g., air

sampling, laboratory experiments, industrial hygiene surveys, fiber release studies, etc.)

concerning possible or potential health hazards involved in the use or manipulation of, or exposure

to, asbestos-containing materials or ingredients contained therein (including contaminants such as,

for example, tremolite or chrysotile asbestos in talc) conducted b Defendant, any predecessor or

related company, or any person or entity acting on behalf thereof including but not limited to any

insurance company.

       ANSWER:

INTERROGATORY NO. 7:                  Please identify any and all persons or entities that provided

industrial hygiene or similar services or information to, or for the benefit of, Defendant, at any

time from 1925 to date, including, but not limited to, employees of, or anyone retained by, any

predecessor or related company.

       ANSWER:

INTERROGATORY NO. 8:                  Please describe Defendant’s medical, safety, and industrial

hygiene programs from the Defendant’s inception through the current time, specifically including

but not limited to the date when said department / program was first established and identifying

persons associated with the department (including but not limited to directors, managers,

physicians, nurses, medical personnel, safety engineers, industrial hygienists, and safety

personnel).

       ANSWER:

INTERROGATORY NO. 9:                  Please describe when (approximating if necessary) any

officer, director, and / or employee of Defendant, any predecessor(s) or related company first had

knowledge, information, or belief that exposure to asbestos could have a detrimental effect on

health and how such person obtained such knowledge, information or belief.

       ANSWER:

INTERROGATORY NO. 10:                 Please identify any and all trade organizations, associations,

or other entities to which Defendant, any predecessor or any related company (including any



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officers, agents and/or employees thereof) has belonged or in which the same has participated since

1925, including dates of membership and/or participation and a description of each such officer,

agent and/or employee’s involvement with each such organization (e.g., general member, officer

or official of the organization, member of a committee or subcommittee, chair of any committee

or subcommittee, etc.).

       ANSWER:

INTERROGATORY NO. 11:                  Identify any and all periodicals—including but not limited

to scientific, medical and trade periodicals, and corporate newsletters/publications, bulletins, and

notices—that Defendant and/or any predecessor/related entity, employee or agent thereof

subscribed to, received, published, authored, or distributed from 1925 to the present and for each

periodical state the dates of such subscriptions, receipt, publication, authorship, or distribution.

       ANSWER:

INTERROGATORY NO. 12:                  Please identify each of Defendant’s employees, former

employees, or representatives who attended any proceeding, symposium, or conference of a

scientific, medical, or technical nature during which information relating to the hazards of asbestos

or nuisance dust in general was discussed, disseminated, or in any way published (e.g., the effects

of human or nonhuman exposure to asbestos, populations at risk, etc.). For each such person

identified in the response to this Interrogatory, please also list the proceeding, symposium, or

conference the person attended; provide the date and location of the proceeding, symposium, or

conference; provide the identity of the person within Defendant’s organization who received or

was designated to receive the attending person’s report of the information gathered at such

proceeding, symposium, or conference; and describe the manner in which such reports were made.

       ANSWER:

INTERROGATORY NO. 13:                  Please describe Defendant’s complete corporate history,

including its ownership, sale, acquisition, divestiture, and any mergers, acquisitions,

consolidations, or other similar events involving Defendant at any time during its history.

       ANSWER:

INTERROGATORY NO. 14:                  Please identify any and all communications, including but

not limited to investigations and / or citations, between defendant and OSHA or any other local,

state, or federal governmental agency for any matter related to asbestos and / or asbestos exposure.

       ANSWER:



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INTERROGATORY NO. 15:                 If Defendant has asserted any affirmative defenses,

avoidances, theories of alternate causation (including but not limited to sole proximate cause), and

/ or exceptions in this case, please provide a short and plain statement of the facts Defendant

contends support each such defense, avoidance, theory of alternate causation and / or exception.

        ANSWER:

INTERROGATORY NO. 16:                 Please identify by case name, docket number, court and date

filed any proceeding(s) of any nature whatsoever (specifically including but not limited to civil,

adjudicatory, or arbitration) filed by you against your insurer(s) for reimbursement and/or coverage

dispute of any legal fees, costs, expenses and/or judgment(s) related to and/or arising from any

asbestos-related claim(s) or lawsuit(s) filed against you.

        ANSWER:

INTERROGATORY NO. 17:                 Please identify any and all policies of insurance which may

provide coverage for this Defendant, its executive officers, any predecessor or related companies,

against the claims asserted in Plaintiff’s complaint, specifically including but not limited to

Commercial General Liability (“CGL”) policies, Workers’ Compensation / Employers’ Liability

(“WC/EL”) policies, Excess policies, and Umbrella policies.

        ANSWER:

INTERROGATORY NO. 18:                 Please state all facts in support of defendant’s contention, if

it so contends, that it was not foreseeable that asbestos-containing material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and recipients at issue (as defined

above) would be removed, replaced, and / or otherwise disturbed.

        ANSWER:

INTERROGATORY NO. 19:                 Please identify defendant’s employees and executive

officers with responsibility for the selection / specification of asbestos-containing materials in

friction material, brake pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or

clutch components, gaskets, gasket material, engines, axles, tractors, and/or trailers specified,

assembled, manufactured, sold, distributed, installed, removed, repaired, and/or brokered by

Defendant, any predecessor and/or related entity at any point in time prior to the end of the year

1982.

        ANSWER:



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Dated: December 24, 2020                    Respectfully Submitted,




                                  By:
                                        SIMMONS HANLY CONROY LLC
                                        Melissa Schopfer, admitted pro hac vice
                                        Jean-Michel Lecointre, admitted pro hac vice
                                        Michael K. Hibey, admitted pro hac vice
                                        One Court Street
                                        Alton, IL 62002
                                        Telephone: 618-259-2222
                                        Fax: 618-259-2251
                                        mschopfer@simmonsfirm.com
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                                        mhibey@simmonsfirm.com

                                            -AND-

                                        THE CHEEK LAW FIRM LLC
                                        LINDSEY A. CHEEK, Bar No. 34484
                                        Jeanne L. St. Romain, Bar No. 36035
                                        650 Poydras Street, Suite 2310
                                        New Orleans, LA 70130
                                        Telephone: 504-304-4333
                                        Fax: 504-324-0629
                                        LCheek@thecheeklawfirm.com
                                        JStromain@thecheeklawfirm.com
                                        asbestos@thecheeklawfirm.com
                                        COUNSEL FOR PLAINTIFF




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               CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                    STATE OF LOUISIANA

NO. 2019-09716                                SECTION: 8                             DIVISION N

                                CAROLYN BRINDELL, ET AL.

                                             VERSUS

              CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC., ET AL.

FILED:                                        DEPUTY CLERK:

                         PLAINTIFF’S FIRST INTERROGATORIES
                         TO DEFENDANT EATON CORPORATION

TO DEFENDANT: EATON CORPORATION

BY AND THROUGH ITS COUNSEL OF RECORD:
     Jeanette Riggins, Christopher Massenburg, B. Adam Hays, Meghan Senter, Vikram
     Bhatia, Amanda Deto
     MG+M Law Firm
     One Canal Place
     365 Canal Street, Suite 3000
     New Orleans, LA 70130
     jriggins@mgmlaw.com
     cmassenburg@mgmlaw.com
     ahays@mgmlaw.com,
     msenter@mgmlaw.com,
     vbhatia@mgmlaw.com,
     adeto@mgmlaw.com

       Plaintiff, by and through his undersigned counsel and pursuant to articles 1422, 1457 and

1458 of the Louisiana Code of Civil Procedure and other applicable rules and law, demands that

within thirty (30) days, Defendant shall answer the attached requests separately and fully in writing

under oath.

Dated: December 24, 2020                              Respectfully Submitted,




                                              By:
                                                    SIMMONS HANLY CONROY LLC
                                                    Melissa Schopfer, admitted pro hac vice
                                                    Jean-Michel Lecointre, admitted pro hac vice
                                                    Michael K. Hibey, admitted pro hac vice
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                                                    Alton, IL 62002
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                                                        -AND-

                                                    THE CHEEK LAW FIRM LLC
                                                    LINDSEY A. CHEEK, Bar No. 34484
                                                    Jeanne L. St. Romain, Bar No. 36035
                                                    650 Poydras Street, Suite 2310
                                                    New Orleans, LA 70130
                                                    Telephone: 504-304-4333
                                                    Fax: 504-324-0629
                                                    LCheek@thecheeklawfirm.com
                                                    JStromain@thecheeklawfirm.com
                                                    asbestos@thecheeklawfirm.com
                                                    COUNSEL FOR PLAINTIFF


                                     GENERAL INSTRUCTIONS

        With respect to all questions, all information is to be divulged which is within the

knowledge, possession or control of the corporation or company to whom these requests are

addressed, as well as the corporation or company's attorneys, investigators, agents, employees or

other representatives. If you cannot answer the following requests in full after exercising due

diligence to secure the full information to do so, then state and answer to the fullest extent possible,

specifying your inability to answer the remainder, stating whatever information or knowledge you

have concerning the unanswered portion and detailing what you did in attempting to acquire the

information.

        A.      Please produce all documents and tangible things as they are kept in the usual

course of business or organize and label them to correspond with the categories or numbered

requests in this set of discovery.

        B.      If any information or material is being withheld under any claim of privilege,

protection, or immunity, please state with specificity the particular privilege, protection, or

immunity asserted.

        C.      If Defendant cannot produce requested information or material because it is not in

Defendant’s possession, custody, or control, please identify the information or material, the reason

the information or material is not in Defendant’s possession, custody, or control, and the entity

currently having possession, custody, or control over the information or material.

        D.      When providing a date, please provide the exact day, month, and year. If the exact

date is not known, please provide the best approximation of the date and clearly note that the date

is an approximation.

        E.      If responsive material is in electronic, magnetic, or digital form, Plaintiff



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specifically requests production of such material. Plaintiff requests such material be provided on

CD-ROM.

        F.      In the event a proper and timely objection is filed as to any requested material,

please nevertheless respond to all portions of the request which do not fall within the scope of the

objection. For example, if a request is objected to on the grounds that it is too broad insofar as it

seeks documents covering years Defendant believes are not relevant to this litigation, please

nevertheless produce documents for all years which Defendant concedes are relevant.



                                   GENERAL DEFINITIONS

        A.      “Defendant,” as used herein, means the entity answering these discovery requests

and any of its merged, consolidated, or acquired predecessors, divisions, joint ventures,

subsidiaries, foreign subsidiaries, foreign subsidiaries of predecessors, parent companies, sister

companies. This definition includes present and former officers, directors, agents, employees, and

all other persons acting or purporting to act on behalf of Defendant, its predecessors, subsidiaries,

and/or affiliates.

                i.     “Predecessors” further means any entity, whether or not incorporated,
                       which had all or some of its assets purchased by Defendant or came to be
                       acquired by Defendant whether by merger, consolidation, or other means.

                ii.    “Subsidiaries” further means any entity, whether or not incorporated, which
                       is or was in any way owned or controlled, in whole or in part by Defendant
                       or its predecessors.

        B.      “Related company” as used herein means any entity in which the named defendant

has or had an interest and which does or has specified, assembled, manufactured, sold, distributed,

installed, removed, repaired, and/or brokered asbestos-containing material.

        C.      “Asbestos-containing material” and/or “asbestos-containing product” as used

herein means raw or processed asbestos and any product which included any form of asbestos as

any part of its composition or ingredients including but not limited to friction material, brake

pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or clutch

components, gaskets, gasket material, engines, axles, tractors, and/or trailers; and/or,

equipment or machinery in or on which an asbestos-containing material as defined above was

incorporated, added, utilized or applied prior to being sold, distributed or installed by defendant.

This term shall also refer to equipment that was originally sold with asbestos-containing material,

and / or has specifications that require asbestos or an asbestos-containing material and equipment



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whose manufacturer anticipates or should anticipate the use of asbestos or an asbestos-containing

material in its practical, foreseeable, and/or proper use.

       D.      “Documents”, as used herein, include, without limitation, books, records, notes,

letters, correspondence, memoranda, writings, invoices, purchase orders, contracts, sales ledgers,

recordings, journals or books of account, in possession or control of Defendant or Defendant's

attorneys, investigators, agents, or employees. Such reference to documents includes originals and

copies, microfilms and transcripts made, recorded, produced or reproduced by any means.

"Documents" also includes the content of any applicable computer database.

       E.      Where used with respect to documents, “identify” means to give the date, title,

origin, author and addressee of the document and the name, address, position or title of the person

who has custody of the document. Whenever identification is requested and Defendant is willing

to produce the documents voluntarily, Defendant may respond by attaching a copy of the

responsive document to the answers to these requests.

       F.      Where used with respect to a person, "identify" means to give the person's name,

employer, title or position with that employer, and business address and last known home address

if the person is no longer so employed. If the person identified is, or has been, an employee,

officer, director or agent of Defendant, also state the period of time during which he/she has been

employed by Defendant, and all positions, titles or jobs that person has held with the Defendant

and the years each position was held.

       G.      The terms, “trade organization” and “trade association,” mean any organization or

association of business, industrial, or governmental entities that were associated and/or met for the

purpose of achieving common goals, exchanging or disseminating information related to common

needs or interests, and/or learning information or facts of interest to the various members of the

organization or association.

       H.      The terms, “plant” and “facility,” mean any location where materials are refined,

converted, chemically altered, changed, assembled, manufactured, constructed, or fabricated as

well as locations where products are fabricated, assembled, or manufactured or prepared for further

fabrication or assembly. This definition also includes office spaces, storage spaces, control rooms,

undeveloped land, and similar areas within the larger plant or facility.

       I.      The term, “manufacture,” means to fabricate, construct, assemble, prepare for

fabrication or assembly, or take any other action prior to completion of a product or material.



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         J.    The terms, “medical department,” “safety department,” and “industrial hygiene

department,” mean an individual or a group of individuals working for Defendant, either directly

or in a contractual capacity, whose purpose was or is to provide guidance, assistance, or advice

concerning any aspect of medical health including, but not limited to, the safety of Defendant's

workers and the safety of individuals using or exposed to asbestos or asbestos-containing products.

         K.    The term, “hazards of asbestos,” means any potential or actual asbestos-related

injury, effect, damage, scarring, wound, impairment, or disability of any part of human or non-

human anatomy including, but not limited to, the lungs and associated tissue.

         L.    The term, “test,” includes, but is not limited to, studies of atmospheric dust samples,

studies of the concentration of asbestos in airborne test samples, studies of the lung conditions of

workers (by x-ray or other means), pulmonary function studies of workers, animal studies,

pathological studies, industrial hygiene studies, risk assessment studies, cost-benefit analyses, and

any other studies concerning health and safety.

         M.    The term, “communication,” means any transmission or exchange of information,

whether oral or written, and whether face to face, by telephone, mail, fax, personal delivery,

electronic means, or otherwise.

         N.    “Premises,” means:

               i.      Real property, as well as any structures or other improvements located on
                       the property; and,

               ii.     A ship or other floating vehicle, vessel, or structure.

         O.    As used herein, “locations and recipients at issue” if and where specifically used

means:

               i.      Port of New Orleans;
               ii.     Puerto Rico Marine Management;
               iii.    Great Dane;
               iv.     Kelsey Hayes;
               v.      Lufkin;
               vi.     Strick;
               vii.    Utility Trailer; and / or,
               viii.   Wilson Trailer.

         P.    The terms, “abate” and “abatement,” mean any removal and/or cleanup of asbestos-

containing products on a premises.

         Q.    The term, “utilize,” when referring to asbestos-containing products and/or asbestos

job site(s) means to install, inspect, apply, maintain, repair, replace, or remove.




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       R.      The definitions stated above shall also apply to other grammatical forms of the word

defined, such as singular and plural, masculine and feminine, and various verb tenses.

                                 FIRST INTERROGATORIES

INTERROGATORY NO. 1:                    Identify all sources of information relied upon in formulating

defendant’s responses to these interrogatories (providing a privilege log if necessary), including

records or documents reviewed, records or documents determined to have been destroyed,

document retention policies, persons providing information and/or overseeing the process, and the

person verifying the answers.

       ANSWER:

INTERROGATORY NO. 2:                    Please identify each and every product and/or material—

regardless of whether Defendant knows it contained asbestos—Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982.

       ANSWER:

INTERROGATORY NO. 3:                    For each product and / or material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982, please state whether Defendant knows

or has reason to believe said product and / or material contained asbestos. If so, for each asbestos-

containing material, please identify:

       a.      The trade name or brand name of the same;

       b.      The type, brand name and percentage of asbestos contained in the material,
               including any changes over time (and/or the elimination of asbestos in the material);

       c.      Each and every source (including manufacturers and distributors) from which
               Defendant and/or any predecessor/related entity obtained each such material;

       d.      The date said product / material was placed on the market, and the inclusive dates
               of its manufacture, sale, and distribution;

       e.      A detailed description of said product / material, including a description of how and
               why it involved the use of asbestos or asbestos-containing products;

       f.      The date Defendant stopped manufacturing, marketing, selling, and/or distributing
               said product / material;

       g.      If applicable, the date said product / material was removed from the market and no
               longer sold or distributed and the reasons therefore;



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       h.      The date, if ever, Defendant asbestos no longer utilized asbestos or asbestos-
               containing material in said product / material, and the reasons for no longer doing
               so;

       i.      Whether Defendant ever conducted any testing on asbestos-containing material to
               determine whether it posed any potential asbestos-related hazard to human or non-
               human health;

       j.      The plants or facilities where asbestos and /or asbestos-containing materials were
               manufactured, fabricated, and / or processed by Defendant;

       k.      Those likely to encounter said asbestos and / or asbestos-containing materials (such
               as mechanics); and,

       l.      A description of any hazard communications Defendant placed on asbestos-
               containing materials or its packaging, operating manuals, brochures, catalogs, or
               other related printed material. This description should include the precise language
               of any such hazard communication, the size of the hazard communication, the
               location on the asbestos-containing material or its packaging where the hazard
               communication was printed, and when the hazard communication was first placed
               on said asbestos-containing material.

       ANSWER:

INTERROGATORY NO. 4:                      Please identify any and all prior claim(s) alleging lung

diseases or death from lung disease, whether directly or indirectly attributed to asbestosis,

mesothelioma, lung cancer, or exposure to asbestos-containing material as defined above, alleging

exposure to asbestos-containing materials allegedly manufactured, sold, distributed, specified,

applied, and / or installed in whole or part by Defendant and / or any predecessor / related entity,

specifically including but not limited to those Defendant and/or any predecessor/related entity

applied, installed, removed and / or replaced in whole or part to/for/at any of the locations and

recipients at issue (as defined above).

       ANSWER:

INTERROGATORY NO. 5:                      Please identify each and every policy, procedure, step,

hazard communication, purported warning, and/or program undertaken, implemented, discussed

and/or contemplated by Defendant and/or any predecessor/related entity intended to protect any

person or persons (including, but not limited to, employees, product end-users and/or by-standers)

in any way from exposure to asbestos, asbestos-containing materials and / or dust therefrom.

       ANSWER:

INTERROGATORY NO. 6:                      Please identify any and all tests of any kind (e.g., air

sampling, laboratory experiments, industrial hygiene surveys, fiber release studies, etc.)

concerning possible or potential health hazards involved in the use or manipulation of, or exposure

to, asbestos-containing materials or ingredients contained therein (including contaminants such as,



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for example, tremolite or chrysotile asbestos in talc) conducted b Defendant, any predecessor or

related company, or any person or entity acting on behalf thereof including but not limited to any

insurance company.

       ANSWER:

INTERROGATORY NO. 7:                  Please identify any and all persons or entities that provided

industrial hygiene or similar services or information to, or for the benefit of, Defendant, at any

time from 1925 to date, including, but not limited to, employees of, or anyone retained by, any

predecessor or related company.

       ANSWER:

INTERROGATORY NO. 8:                  Please describe Defendant’s medical, safety, and industrial

hygiene programs from the Defendant’s inception through the current time, specifically including

but not limited to the date when said department / program was first established and identifying

persons associated with the department (including but not limited to directors, managers,

physicians, nurses, medical personnel, safety engineers, industrial hygienists, and safety

personnel).

       ANSWER:

INTERROGATORY NO. 9:                  Please describe when (approximating if necessary) any

officer, director, and / or employee of Defendant, any predecessor(s) or related company first had

knowledge, information, or belief that exposure to asbestos could have a detrimental effect on

health and how such person obtained such knowledge, information or belief.

       ANSWER:

INTERROGATORY NO. 10:                 Please identify any and all trade organizations, associations,

or other entities to which Defendant, any predecessor or any related company (including any

officers, agents and/or employees thereof) has belonged or in which the same has participated since

1925, including dates of membership and/or participation and a description of each such officer,

agent and/or employee’s involvement with each such organization (e.g., general member, officer

or official of the organization, member of a committee or subcommittee, chair of any committee

or subcommittee, etc.).

       ANSWER:

INTERROGATORY NO. 11:                 Identify any and all periodicals—including but not limited

to scientific, medical and trade periodicals, and corporate newsletters/publications, bulletins, and



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notices—that Defendant and/or any predecessor/related entity, employee or agent thereof

subscribed to, received, published, authored, or distributed from 1925 to the present and for each

periodical state the dates of such subscriptions, receipt, publication, authorship, or distribution.

       ANSWER:

INTERROGATORY NO. 12:                  Please identify each of Defendant’s employees, former

employees, or representatives who attended any proceeding, symposium, or conference of a

scientific, medical, or technical nature during which information relating to the hazards of asbestos

or nuisance dust in general was discussed, disseminated, or in any way published (e.g., the effects

of human or nonhuman exposure to asbestos, populations at risk, etc.). For each such person

identified in the response to this Interrogatory, please also list the proceeding, symposium, or

conference the person attended; provide the date and location of the proceeding, symposium, or

conference; provide the identity of the person within Defendant’s organization who received or

was designated to receive the attending person’s report of the information gathered at such

proceeding, symposium, or conference; and describe the manner in which such reports were made.

       ANSWER:

INTERROGATORY NO. 13:                  Please describe Defendant’s complete corporate history,

including its ownership, sale, acquisition, divestiture, and any mergers, acquisitions,

consolidations, or other similar events involving Defendant at any time during its history.

       ANSWER:

INTERROGATORY NO. 14:                  Please identify any and all communications, including but

not limited to investigations and / or citations, between defendant and OSHA or any other local,

state, or federal governmental agency for any matter related to asbestos and / or asbestos exposure.

       ANSWER:

INTERROGATORY NO. 15:                  If Defendant has asserted any affirmative defenses,

avoidances, theories of alternate causation (including but not limited to sole proximate cause), and

/ or exceptions in this case, please provide a short and plain statement of the facts Defendant

contends support each such defense, avoidance, theory of alternate causation and / or exception.

       ANSWER:

INTERROGATORY NO. 16:                  Please identify by case name, docket number, court and date

filed any proceeding(s) of any nature whatsoever (specifically including but not limited to civil,

adjudicatory, or arbitration) filed by you against your insurer(s) for reimbursement and/or coverage



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dispute of any legal fees, costs, expenses and/or judgment(s) related to and/or arising from any

asbestos-related claim(s) or lawsuit(s) filed against you.

        ANSWER:

INTERROGATORY NO. 17:                 Please identify any and all policies of insurance which may

provide coverage for this Defendant, its executive officers, any predecessor or related companies,

against the claims asserted in Plaintiff’s complaint, specifically including but not limited to

Commercial General Liability (“CGL”) policies, Workers’ Compensation / Employers’ Liability

(“WC/EL”) policies, Excess policies, and Umbrella policies.

        ANSWER:

INTERROGATORY NO. 18:                 Please state all facts in support of defendant’s contention, if

it so contends, that it was not foreseeable that asbestos-containing material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and recipients at issue (as defined

above) would be removed, replaced, and / or otherwise disturbed.

        ANSWER:

INTERROGATORY NO. 19:                 Please identify defendant’s employees and executive

officers with responsibility for the selection / specification of asbestos-containing materials in

friction material, brake pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or

clutch components, gaskets, gasket material, engines, axles, tractors, and/or trailers specified,

assembled, manufactured, sold, distributed, installed, removed, repaired, and/or brokered by

Defendant, any predecessor and/or related entity at any point in time prior to the end of the year

1982.

        ANSWER:

Dated: December 24, 2020                                 Respectfully Submitted,




                                              By:
                                                    SIMMONS HANLY CONROY LLC
                                                    Melissa Schopfer, admitted pro hac vice
                                                    Jean-Michel Lecointre, admitted pro hac vice
                                                    Michael K. Hibey, admitted pro hac vice
                                                    One Court Street
                                                    Alton, IL 62002
                                                    Telephone: 618-259-2222


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                                     Fax: 618-259-2251
                                     mschopfer@simmonsfirm.com
                                     jlecointre@simmonsfirm.com
                                     mhibey@simmonsfirm.com

                                          -AND-

                                    THE CHEEK LAW FIRM LLC
                                    LINDSEY A. CHEEK, Bar No. 34484
                                    Jeanne L. St. Romain, Bar No. 36035
                                    650 Poydras Street, Suite 2310
                                    New Orleans, LA 70130
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                                    Fax: 504-324-0629
                                    LCheek@thecheeklawfirm.com
                                    JStromain@thecheeklawfirm.com
                                    asbestos@thecheeklawfirm.com
                                    COUNSEL FOR PLAINTIFF




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               CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                    STATE OF LOUISIANA

NO. 2019-09716                                SECTION: 8                             DIVISION N

                                CAROLYN BRINDELL, ET AL.

                                             VERSUS

              CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC., ET AL.

FILED:                                        DEPUTY CLERK:

                PLAINTIFF’S FIRST INTERROGATORIES
   TO DEFENDANT CRA TRAILERS, INC. F/K/A GREAT DANE TRAILERS, INC.

TO DEFENDANT: CRA TRAILERS, INC. F/K/A GREAT DANE TRAILERS, INC.

BY AND THROUGH ITS COUNSEL OF RECORD:
     Christopher Massenburg, Jeanette Riggins, B. Adam Hays, Meghan Senter, Amanda Deto
     MG+M Law Firm
     One Canal Place
     365 Canal Street, Suite 3000
     New Orleans, LA 70130
     cmassenburg@mgmlaw.com,
     jriggins@mgmlaw.com
     ahays@mgmlaw.com
     msenter@mgmlaw.com
     adeto@mgmlaw.com

       Plaintiff, by and through his undersigned counsel and pursuant to articles 1422, 1457 and

1458 of the Louisiana Code of Civil Procedure and other applicable rules and law, demands that

within thirty (30) days, Defendant shall answer the attached requests separately and fully in writing

under oath.

Dated: December 24, 2020                              Respectfully Submitted,




                                              By:
                                                    SIMMONS HANLY CONROY LLC
                                                    Melissa Schopfer, admitted pro hac vice
                                                    Jean-Michel Lecointre, admitted pro hac vice
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                                                      -AND-



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                                                  THE CHEEK LAW FIRM LLC
                                                  LINDSEY A. CHEEK, Bar No. 34484
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                                                  JStromain@thecheeklawfirm.com
                                                  asbestos@thecheeklawfirm.com
                                                  COUNSEL FOR PLAINTIFF



                                CERTIFICATE OF SERVICE

       I do hereby certify that on this 24 December 2020 I served a copy of the foregoing pleading

on counsel for all parties to this proceeding by facsimile, by electronic mail, by hand delivery or

by mailing the same by United States mail, properly addressed and first class postage prepaid.




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                                     GENERAL INSTRUCTIONS

        With respect to all questions, all information is to be divulged which is within the

knowledge, possession or control of the corporation or company to whom these requests are

addressed, as well as the corporation or company's attorneys, investigators, agents, employees or

other representatives. If you cannot answer the following requests in full after exercising due

diligence to secure the full information to do so, then state and answer to the fullest extent possible,

specifying your inability to answer the remainder, stating whatever information or knowledge you

have concerning the unanswered portion and detailing what you did in attempting to acquire the

information.

        A.      Please produce all documents and tangible things as they are kept in the usual

course of business or organize and label them to correspond with the categories or numbered

requests in this set of discovery.

        B.      If any information or material is being withheld under any claim of privilege,

protection, or immunity, please state with specificity the particular privilege, protection, or

immunity asserted.

        C.      If Defendant cannot produce requested information or material because it is not in

Defendant’s possession, custody, or control, please identify the information or material, the reason

the information or material is not in Defendant’s possession, custody, or control, and the entity

currently having possession, custody, or control over the information or material.

        D.      When providing a date, please provide the exact day, month, and year. If the exact

date is not known, please provide the best approximation of the date and clearly note that the date

is an approximation.

        E.      If responsive material is in electronic, magnetic, or digital form, Plaintiff

specifically requests production of such material. Plaintiff requests such material be provided on

CD-ROM.

        F.      In the event a proper and timely objection is filed as to any requested material,

please nevertheless respond to all portions of the request which do not fall within the scope of the

objection. For example, if a request is objected to on the grounds that it is too broad insofar as it

seeks documents covering years Defendant believes are not relevant to this litigation, please

nevertheless produce documents for all years which Defendant concedes are relevant.




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                                   GENERAL DEFINITIONS

        A.      “Defendant,” as used herein, means the entity answering these discovery requests

and any of its merged, consolidated, or acquired predecessors, divisions, joint ventures,

subsidiaries, foreign subsidiaries, foreign subsidiaries of predecessors, parent companies, sister

companies. This definition includes present and former officers, directors, agents, employees, and

all other persons acting or purporting to act on behalf of Defendant, its predecessors, subsidiaries,

and/or affiliates.

                i.     “Predecessors” further means any entity, whether or not incorporated,
                       which had all or some of its assets purchased by Defendant or came to be
                       acquired by Defendant whether by merger, consolidation, or other means.

                ii.    “Subsidiaries” further means any entity, whether or not incorporated, which
                       is or was in any way owned or controlled, in whole or in part by Defendant
                       or its predecessors.

        B.      “Related company” as used herein means any entity in which the named defendant

has or had an interest and which does or has specified, assembled, manufactured, sold, distributed,

installed, removed, repaired, and/or brokered asbestos-containing material.

        C.      “Asbestos-containing material” and/or “asbestos-containing product” as used

herein means raw or processed asbestos and any product which included any form of asbestos as

any part of its composition or ingredients including but not limited to friction material, brake

pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or clutch

components, gaskets, gasket material, engines, axles, tractors, and/or trailers; and/or,

equipment or machinery in or on which an asbestos-containing material as defined above was

incorporated, added, utilized or applied prior to being sold, distributed or installed by defendant.

This term shall also refer to equipment that was originally sold with asbestos-containing material,

and / or has specifications that require asbestos or an asbestos-containing material and equipment

whose manufacturer anticipates or should anticipate the use of asbestos or an asbestos-containing

material in its practical, foreseeable, and/or proper use.

        D.      “Documents”, as used herein, include, without limitation, books, records, notes,

letters, correspondence, memoranda, writings, invoices, purchase orders, contracts, sales ledgers,

recordings, journals or books of account, in possession or control of Defendant or Defendant's

attorneys, investigators, agents, or employees. Such reference to documents includes originals and

copies, microfilms and transcripts made, recorded, produced or reproduced by any means.

"Documents" also includes the content of any applicable computer database.



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       E.      Where used with respect to documents, “identify” means to give the date, title,

origin, author and addressee of the document and the name, address, position or title of the person

who has custody of the document. Whenever identification is requested and Defendant is willing

to produce the documents voluntarily, Defendant may respond by attaching a copy of the

responsive document to the answers to these requests.

       F.      Where used with respect to a person, "identify" means to give the person's name,

employer, title or position with that employer, and business address and last known home address

if the person is no longer so employed. If the person identified is, or has been, an employee,

officer, director or agent of Defendant, also state the period of time during which he/she has been

employed by Defendant, and all positions, titles or jobs that person has held with the Defendant

and the years each position was held.

       G.      The terms, “trade organization” and “trade association,” mean any organization or

association of business, industrial, or governmental entities that were associated and/or met for the

purpose of achieving common goals, exchanging or disseminating information related to common

needs or interests, and/or learning information or facts of interest to the various members of the

organization or association.

       H.      The terms, “plant” and “facility,” mean any location where materials are refined,

converted, chemically altered, changed, assembled, manufactured, constructed, or fabricated as

well as locations where products are fabricated, assembled, or manufactured or prepared for further

fabrication or assembly. This definition also includes office spaces, storage spaces, control rooms,

undeveloped land, and similar areas within the larger plant or facility.

       I.      The term, “manufacture,” means to fabricate, construct, assemble, prepare for

fabrication or assembly, or take any other action prior to completion of a product or material.

       J.      The terms, “medical department,” “safety department,” and “industrial hygiene

department,” mean an individual or a group of individuals working for Defendant, either directly

or in a contractual capacity, whose purpose was or is to provide guidance, assistance, or advice

concerning any aspect of medical health including, but not limited to, the safety of Defendant's

workers and the safety of individuals using or exposed to asbestos or asbestos-containing products.

       K.      The term, “hazards of asbestos,” means any potential or actual asbestos-related

injury, effect, damage, scarring, wound, impairment, or disability of any part of human or non-

human anatomy including, but not limited to, the lungs and associated tissue.



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         L.    The term, “test,” includes, but is not limited to, studies of atmospheric dust samples,

studies of the concentration of asbestos in airborne test samples, studies of the lung conditions of

workers (by x-ray or other means), pulmonary function studies of workers, animal studies,

pathological studies, industrial hygiene studies, risk assessment studies, cost-benefit analyses, and

any other studies concerning health and safety.

         M.    The term, “communication,” means any transmission or exchange of information,

whether oral or written, and whether face to face, by telephone, mail, fax, personal delivery,

electronic means, or otherwise.

         N.    “Premises,” means:

               i.      Real property, as well as any structures or other improvements located on
                       the property; and,

               ii.     A ship or other floating vehicle, vessel, or structure.

         O.    As used herein, “locations and recipients at issue” if and where specifically used

means:

               i.      Port of New Orleans;
               ii.     Puerto Rico Marine Management;
               iii.    Great Dane;
               iv.     Kelsey Hayes;
               v.      Lufkin;
               vi.     Strick;
               vii.    Utility Trailer; and / or,
               viii.   Wilson Trailer.

         P.    The terms, “abate” and “abatement,” mean any removal and/or cleanup of asbestos-

containing products on a premises.

         Q.    The term, “utilize,” when referring to asbestos-containing products and/or asbestos

job site(s) means to install, inspect, apply, maintain, repair, replace, or remove.

         R.    The definitions stated above shall also apply to other grammatical forms of the word

defined, such as singular and plural, masculine and feminine, and various verb tenses.

                                  FIRST INTERROGATORIES

INTERROGATORY NO. 1:                   Identify all sources of information relied upon in formulating

defendant’s responses to these interrogatories (providing a privilege log if necessary), including

records or documents reviewed, records or documents determined to have been destroyed,

document retention policies, persons providing information and/or overseeing the process, and the

person verifying the answers.

         ANSWER:



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INTERROGATORY NO. 2:                    Please identify each and every product and/or material—

regardless of whether Defendant knows it contained asbestos—Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982.

       ANSWER:

INTERROGATORY NO. 3:                    For each product and / or material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982, please state whether Defendant knows

or has reason to believe said product and / or material contained asbestos. If so, for each asbestos-

containing material, please identify:

       a.      The trade name or brand name of the same;

       b.      The type, brand name and percentage of asbestos contained in the material,
               including any changes over time (and/or the elimination of asbestos in the material);

       c.      Each and every source (including manufacturers and distributors) from which
               Defendant and/or any predecessor/related entity obtained each such material;

       d.      The date said product / material was placed on the market, and the inclusive dates
               of its manufacture, sale, and distribution;

       e.      A detailed description of said product / material, including a description of how and
               why it involved the use of asbestos or asbestos-containing products;

       f.      The date Defendant stopped manufacturing, marketing, selling, and/or distributing
               said product / material;

       g.      If applicable, the date said product / material was removed from the market and no
               longer sold or distributed and the reasons therefore;

       h.      The date, if ever, Defendant asbestos no longer utilized asbestos or asbestos-
               containing material in said product / material, and the reasons for no longer doing
               so;

       i.      Whether Defendant ever conducted any testing on asbestos-containing material to
               determine whether it posed any potential asbestos-related hazard to human or non-
               human health;

       j.      The plants or facilities where asbestos and /or asbestos-containing materials were
               manufactured, fabricated, and / or processed by Defendant;

       k.      Those likely to encounter said asbestos and / or asbestos-containing materials (such
               as mechanics); and,

       l.      A description of any hazard communications Defendant placed on asbestos-
               containing materials or its packaging, operating manuals, brochures, catalogs, or
               other related printed material. This description should include the precise language


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               of any such hazard communication, the size of the hazard communication, the
               location on the asbestos-containing material or its packaging where the hazard
               communication was printed, and when the hazard communication was first placed
               on said asbestos-containing material.

       ANSWER:

INTERROGATORY NO. 4:                      Please identify any and all prior claim(s) alleging lung

diseases or death from lung disease, whether directly or indirectly attributed to asbestosis,

mesothelioma, lung cancer, or exposure to asbestos-containing material as defined above, alleging

exposure to asbestos-containing materials allegedly manufactured, sold, distributed, specified,

applied, and / or installed in whole or part by Defendant and / or any predecessor / related entity,

specifically including but not limited to those Defendant and/or any predecessor/related entity

applied, installed, removed and / or replaced in whole or part to/for/at any of the locations and

recipients at issue (as defined above).

       ANSWER:

INTERROGATORY NO. 5:                      Please identify each and every policy, procedure, step,

hazard communication, purported warning, and/or program undertaken, implemented, discussed

and/or contemplated by Defendant and/or any predecessor/related entity intended to protect any

person or persons (including, but not limited to, employees, product end-users and/or by-standers)

in any way from exposure to asbestos, asbestos-containing materials and / or dust therefrom.

       ANSWER:

INTERROGATORY NO. 6:                      Please identify any and all tests of any kind (e.g., air

sampling, laboratory experiments, industrial hygiene surveys, fiber release studies, etc.)

concerning possible or potential health hazards involved in the use or manipulation of, or exposure

to, asbestos-containing materials or ingredients contained therein (including contaminants such as,

for example, tremolite or chrysotile asbestos in talc) conducted b Defendant, any predecessor or

related company, or any person or entity acting on behalf thereof including but not limited to any

insurance company.

       ANSWER:

INTERROGATORY NO. 7:                      Please identify any and all persons or entities that provided

industrial hygiene or similar services or information to, or for the benefit of, Defendant, at any

time from 1925 to date, including, but not limited to, employees of, or anyone retained by, any

predecessor or related company.

       ANSWER:


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INTERROGATORY NO. 8:                   Please describe Defendant’s medical, safety, and industrial

hygiene programs from the Defendant’s inception through the current time, specifically including

but not limited to the date when said department / program was first established and identifying

persons associated with the department (including but not limited to directors, managers,

physicians, nurses, medical personnel, safety engineers, industrial hygienists, and safety

personnel).

       ANSWER:

INTERROGATORY NO. 9:                   Please describe when (approximating if necessary) any

officer, director, and / or employee of Defendant, any predecessor(s) or related company first had

knowledge, information, or belief that exposure to asbestos could have a detrimental effect on

health and how such person obtained such knowledge, information or belief.

       ANSWER:

INTERROGATORY NO. 10:                  Please identify any and all trade organizations, associations,

or other entities to which Defendant, any predecessor or any related company (including any

officers, agents and/or employees thereof) has belonged or in which the same has participated since

1925, including dates of membership and/or participation and a description of each such officer,

agent and/or employee’s involvement with each such organization (e.g., general member, officer

or official of the organization, member of a committee or subcommittee, chair of any committee

or subcommittee, etc.).

       ANSWER:

INTERROGATORY NO. 11:                  Identify any and all periodicals—including but not limited

to scientific, medical and trade periodicals, and corporate newsletters/publications, bulletins, and

notices—that Defendant and/or any predecessor/related entity, employee or agent thereof

subscribed to, received, published, authored, or distributed from 1925 to the present and for each

periodical state the dates of such subscriptions, receipt, publication, authorship, or distribution.

       ANSWER:

INTERROGATORY NO. 12:                  Please identify each of Defendant’s employees, former

employees, or representatives who attended any proceeding, symposium, or conference of a

scientific, medical, or technical nature during which information relating to the hazards of asbestos

or nuisance dust in general was discussed, disseminated, or in any way published (e.g., the effects

of human or nonhuman exposure to asbestos, populations at risk, etc.). For each such person


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identified in the response to this Interrogatory, please also list the proceeding, symposium, or

conference the person attended; provide the date and location of the proceeding, symposium, or

conference; provide the identity of the person within Defendant’s organization who received or

was designated to receive the attending person’s report of the information gathered at such

proceeding, symposium, or conference; and describe the manner in which such reports were made.

       ANSWER:

INTERROGATORY NO. 13:                 Please describe Defendant’s complete corporate history,

including its ownership, sale, acquisition, divestiture, and any mergers, acquisitions,

consolidations, or other similar events involving Defendant at any time during its history.

       ANSWER:

INTERROGATORY NO. 14:                 Please identify any and all communications, including but

not limited to investigations and / or citations, between defendant and OSHA or any other local,

state, or federal governmental agency for any matter related to asbestos and / or asbestos exposure.

       ANSWER:

INTERROGATORY NO. 15:                 If Defendant has asserted any affirmative defenses,

avoidances, theories of alternate causation (including but not limited to sole proximate cause), and

/ or exceptions in this case, please provide a short and plain statement of the facts Defendant

contends support each such defense, avoidance, theory of alternate causation and / or exception.

       ANSWER:

INTERROGATORY NO. 16:                 Please identify by case name, docket number, court and date

filed any proceeding(s) of any nature whatsoever (specifically including but not limited to civil,

adjudicatory, or arbitration) filed by you against your insurer(s) for reimbursement and/or coverage

dispute of any legal fees, costs, expenses and/or judgment(s) related to and/or arising from any

asbestos-related claim(s) or lawsuit(s) filed against you.

       ANSWER:

INTERROGATORY NO. 17:                 Please identify any and all policies of insurance which may

provide coverage for this Defendant, its executive officers, any predecessor or related companies,

against the claims asserted in Plaintiff’s complaint, specifically including but not limited to

Commercial General Liability (“CGL”) policies, Workers’ Compensation / Employers’ Liability

(“WC/EL”) policies, Excess policies, and Umbrella policies.

       ANSWER:



                                                - 10 -
   Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 306 of 565




INTERROGATORY NO. 18:                 Please state all facts in support of defendant’s contention, if

it so contends, that it was not foreseeable that asbestos-containing material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and recipients at issue (as defined

above) would be removed, replaced, and / or otherwise disturbed.

        ANSWER:

INTERROGATORY NO. 19:                 Please identify defendant’s employees and executive

officers with responsibility for the selection / specification of asbestos-containing materials in

friction material, brake pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or

clutch components, gaskets, gasket material, engines, axles, tractors, and/or trailers specified,

assembled, manufactured, sold, distributed, installed, removed, repaired, and/or brokered by

Defendant, any predecessor and/or related entity at any point in time prior to the end of the year

1982.

        ANSWER:

        Dated: December 24, 2020                                 Respectfully Submitted,     .




                                              By:
                                                         Melissa C. Schopfer, pro hac vice
                                                         Jean-Michel Lecointre, pro had vice
                                                         Michael K. Hibey, pro hac vice
                                                         Simmons Hanly Conroy LLC
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                                                         Email: jlecointre@simmonsfirm.com
                                                         Email: mhibey@simmonsfirm.com

                                                         -and-

                                                         THE CHEEK LAW FIRM
                                                         /s/ Lindsey A. Cheek
                                                         LINDSEY A. CHEEK, Bar No. 34484
                                                         Jeanne L. St. Romain, Bar No. 36035
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                                                         asbestos@thecheeklawfirm.com

                                                         COUNSEL FOR PLAINTIFF




                                                - 11 -
   Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 307 of 565




               CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                    STATE OF LOUISIANA

NO. 2019-09716                                SECTION: 8                             DIVISION N

                                CAROLYN BRINDELL, ET AL.

                                             VERSUS

              CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC., ET AL.

FILED:                                        DEPUTY CLERK:

                PLAINTIFF’S FIRST INTERROGATORIES
 TO DEFENDANT ZF ACTIVE SAFETY US INC. F/K/A KELSEY-HAYES COMPANY

TO DEFENDANT: SAFETY US INC. F/K/A KELSEY-HAYES COMPANY

BY AND THROUGH ITS COUNSEL OF RECORD:
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     DEUTSCH KERRIGAN LLP
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     bormsby@deutschkerrigan.com

       Plaintiff, by and through his undersigned counsel and pursuant to articles 1422, 1457 and

1458 of the Louisiana Code of Civil Procedure and other applicable rules and law, demands that

within thirty (30) days, Defendant shall answer the attached requests separately and fully in writing

under oath.

Dated: December 24, 2020                              Respectfully Submitted,




                                              By:
                                                    SIMMONS HANLY CONROY LLC
                                                    Melissa Schopfer, admitted pro hac vice
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                                                      -AND-

                                                    THE CHEEK LAW FIRM LLC
                                                    LINDSEY A. CHEEK, Bar No. 34484



                                                -1-
   Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 308 of 565




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                                                     COUNSEL FOR PLAINTIFF



                                     CERTIFICATE OF SERVICE

        I do hereby certify that on this 24 December 2020 I served a copy of the foregoing pleading

on counsel for all parties to this proceeding by facsimile, by electronic mail, by hand delivery or

by mailing the same by United States mail, properly addressed and first class postage prepaid.




                                     GENERAL INSTRUCTIONS

        With respect to all questions, all information is to be divulged which is within the

knowledge, possession or control of the corporation or company to whom these requests are

addressed, as well as the corporation or company's attorneys, investigators, agents, employees or

other representatives. If you cannot answer the following requests in full after exercising due

diligence to secure the full information to do so, then state and answer to the fullest extent possible,

specifying your inability to answer the remainder, stating whatever information or knowledge you

have concerning the unanswered portion and detailing what you did in attempting to acquire the

information.

        A.      Please produce all documents and tangible things as they are kept in the usual

course of business or organize and label them to correspond with the categories or numbered

requests in this set of discovery.

        B.      If any information or material is being withheld under any claim of privilege,

protection, or immunity, please state with specificity the particular privilege, protection, or

immunity asserted.

        C.      If Defendant cannot produce requested information or material because it is not in

Defendant’s possession, custody, or control, please identify the information or material, the reason



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the information or material is not in Defendant’s possession, custody, or control, and the entity

currently having possession, custody, or control over the information or material.

        D.      When providing a date, please provide the exact day, month, and year. If the exact

date is not known, please provide the best approximation of the date and clearly note that the date

is an approximation.

        E.      If responsive material is in electronic, magnetic, or digital form, Plaintiff

specifically requests production of such material. Plaintiff requests such material be provided on

CD-ROM.

        F.      In the event a proper and timely objection is filed as to any requested material,

please nevertheless respond to all portions of the request which do not fall within the scope of the

objection. For example, if a request is objected to on the grounds that it is too broad insofar as it

seeks documents covering years Defendant believes are not relevant to this litigation, please

nevertheless produce documents for all years which Defendant concedes are relevant.



                                   GENERAL DEFINITIONS

        A.      “Defendant,” as used herein, means the entity answering these discovery requests

and any of its merged, consolidated, or acquired predecessors, divisions, joint ventures,

subsidiaries, foreign subsidiaries, foreign subsidiaries of predecessors, parent companies, sister

companies. This definition includes present and former officers, directors, agents, employees, and

all other persons acting or purporting to act on behalf of Defendant, its predecessors, subsidiaries,

and/or affiliates.

                i.     “Predecessors” further means any entity, whether or not incorporated,
                       which had all or some of its assets purchased by Defendant or came to be
                       acquired by Defendant whether by merger, consolidation, or other means.

                ii.    “Subsidiaries” further means any entity, whether or not incorporated, which
                       is or was in any way owned or controlled, in whole or in part by Defendant
                       or its predecessors.

        B.      “Related company” as used herein means any entity in which the named defendant

has or had an interest and which does or has specified, assembled, manufactured, sold, distributed,

installed, removed, repaired, and/or brokered asbestos-containing material.

        C.      “Asbestos-containing material” and/or “asbestos-containing product” as used

herein means raw or processed asbestos and any product which included any form of asbestos as

any part of its composition or ingredients including but not limited to friction material, brake



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pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or clutch

components, gaskets, gasket material, engines, axles, tractors, and/or trailers; and/or,

equipment or machinery in or on which an asbestos-containing material as defined above was

incorporated, added, utilized or applied prior to being sold, distributed or installed by defendant.

This term shall also refer to equipment that was originally sold with asbestos-containing material,

and / or has specifications that require asbestos or an asbestos-containing material and equipment

whose manufacturer anticipates or should anticipate the use of asbestos or an asbestos-containing

material in its practical, foreseeable, and/or proper use.

       D.      “Documents”, as used herein, include, without limitation, books, records, notes,

letters, correspondence, memoranda, writings, invoices, purchase orders, contracts, sales ledgers,

recordings, journals or books of account, in possession or control of Defendant or Defendant's

attorneys, investigators, agents, or employees. Such reference to documents includes originals and

copies, microfilms and transcripts made, recorded, produced or reproduced by any means.

"Documents" also includes the content of any applicable computer database.

       E.      Where used with respect to documents, “identify” means to give the date, title,

origin, author and addressee of the document and the name, address, position or title of the person

who has custody of the document. Whenever identification is requested and Defendant is willing

to produce the documents voluntarily, Defendant may respond by attaching a copy of the

responsive document to the answers to these requests.

       F.      Where used with respect to a person, "identify" means to give the person's name,

employer, title or position with that employer, and business address and last known home address

if the person is no longer so employed. If the person identified is, or has been, an employee,

officer, director or agent of Defendant, also state the period of time during which he/she has been

employed by Defendant, and all positions, titles or jobs that person has held with the Defendant

and the years each position was held.

       G.      The terms, “trade organization” and “trade association,” mean any organization or

association of business, industrial, or governmental entities that were associated and/or met for the

purpose of achieving common goals, exchanging or disseminating information related to common

needs or interests, and/or learning information or facts of interest to the various members of the

organization or association.

       H.      The terms, “plant” and “facility,” mean any location where materials are refined,



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converted, chemically altered, changed, assembled, manufactured, constructed, or fabricated as

well as locations where products are fabricated, assembled, or manufactured or prepared for further

fabrication or assembly. This definition also includes office spaces, storage spaces, control rooms,

undeveloped land, and similar areas within the larger plant or facility.

         I.    The term, “manufacture,” means to fabricate, construct, assemble, prepare for

fabrication or assembly, or take any other action prior to completion of a product or material.

         J.    The terms, “medical department,” “safety department,” and “industrial hygiene

department,” mean an individual or a group of individuals working for Defendant, either directly

or in a contractual capacity, whose purpose was or is to provide guidance, assistance, or advice

concerning any aspect of medical health including, but not limited to, the safety of Defendant's

workers and the safety of individuals using or exposed to asbestos or asbestos-containing products.

         K.    The term, “hazards of asbestos,” means any potential or actual asbestos-related

injury, effect, damage, scarring, wound, impairment, or disability of any part of human or non-

human anatomy including, but not limited to, the lungs and associated tissue.

         L.    The term, “test,” includes, but is not limited to, studies of atmospheric dust samples,

studies of the concentration of asbestos in airborne test samples, studies of the lung conditions of

workers (by x-ray or other means), pulmonary function studies of workers, animal studies,

pathological studies, industrial hygiene studies, risk assessment studies, cost-benefit analyses, and

any other studies concerning health and safety.

         M.    The term, “communication,” means any transmission or exchange of information,

whether oral or written, and whether face to face, by telephone, mail, fax, personal delivery,

electronic means, or otherwise.

         N.    “Premises,” means:

               i.      Real property, as well as any structures or other improvements located on
                       the property; and,

               ii.     A ship or other floating vehicle, vessel, or structure.

         O.    As used herein, “locations and recipients at issue” if and where specifically used

means:

               i.      Port of New Orleans;
               ii.     Puerto Rico Marine Management;
               iii.    Great Dane;
               iv.     Kelsey Hayes;
               v.      Lufkin;
               vi.     Strick;
               vii.    Utility Trailer; and / or,


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               viii.   Wilson Trailer.

       P.      The terms, “abate” and “abatement,” mean any removal and/or cleanup of asbestos-

containing products on a premises.

       Q.      The term, “utilize,” when referring to asbestos-containing products and/or asbestos

job site(s) means to install, inspect, apply, maintain, repair, replace, or remove.

       R.      The definitions stated above shall also apply to other grammatical forms of the word

defined, such as singular and plural, masculine and feminine, and various verb tenses.

                                 FIRST INTERROGATORIES

INTERROGATORY NO. 1:                    Identify all sources of information relied upon in formulating

defendant’s responses to these interrogatories (providing a privilege log if necessary), including

records or documents reviewed, records or documents determined to have been destroyed,

document retention policies, persons providing information and/or overseeing the process, and the

person verifying the answers.

       ANSWER:

INTERROGATORY NO. 2:                    Please identify each and every product and/or material—

regardless of whether Defendant knows it contained asbestos—Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982.

       ANSWER:

INTERROGATORY NO. 3:                    For each product and / or material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982, please state whether Defendant knows

or has reason to believe said product and / or material contained asbestos. If so, for each asbestos-

containing material, please identify:

       a.      The trade name or brand name of the same;

       b.      The type, brand name and percentage of asbestos contained in the material,
               including any changes over time (and/or the elimination of asbestos in the material);

       c.      Each and every source (including manufacturers and distributors) from which
               Defendant and/or any predecessor/related entity obtained each such material;

       d.      The date said product / material was placed on the market, and the inclusive dates
               of its manufacture, sale, and distribution;


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       e.      A detailed description of said product / material, including a description of how and
               why it involved the use of asbestos or asbestos-containing products;

       f.      The date Defendant stopped manufacturing, marketing, selling, and/or distributing
               said product / material;

       g.      If applicable, the date said product / material was removed from the market and no
               longer sold or distributed and the reasons therefore;

       h.      The date, if ever, Defendant asbestos no longer utilized asbestos or asbestos-
               containing material in said product / material, and the reasons for no longer doing
               so;

       i.      Whether Defendant ever conducted any testing on asbestos-containing material to
               determine whether it posed any potential asbestos-related hazard to human or non-
               human health;

       j.      The plants or facilities where asbestos and /or asbestos-containing materials were
               manufactured, fabricated, and / or processed by Defendant;

       k.      Those likely to encounter said asbestos and / or asbestos-containing materials (such
               as mechanics); and,

       l.      A description of any hazard communications Defendant placed on asbestos-
               containing materials or its packaging, operating manuals, brochures, catalogs, or
               other related printed material. This description should include the precise language
               of any such hazard communication, the size of the hazard communication, the
               location on the asbestos-containing material or its packaging where the hazard
               communication was printed, and when the hazard communication was first placed
               on said asbestos-containing material.

       ANSWER:

INTERROGATORY NO. 4:                      Please identify any and all prior claim(s) alleging lung

diseases or death from lung disease, whether directly or indirectly attributed to asbestosis,

mesothelioma, lung cancer, or exposure to asbestos-containing material as defined above, alleging

exposure to asbestos-containing materials allegedly manufactured, sold, distributed, specified,

applied, and / or installed in whole or part by Defendant and / or any predecessor / related entity,

specifically including but not limited to those Defendant and/or any predecessor/related entity

applied, installed, removed and / or replaced in whole or part to/for/at any of the locations and

recipients at issue (as defined above).

       ANSWER:

INTERROGATORY NO. 5:                      Please identify each and every policy, procedure, step,

hazard communication, purported warning, and/or program undertaken, implemented, discussed

and/or contemplated by Defendant and/or any predecessor/related entity intended to protect any

person or persons (including, but not limited to, employees, product end-users and/or by-standers)

in any way from exposure to asbestos, asbestos-containing materials and / or dust therefrom.



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       ANSWER:

INTERROGATORY NO. 6:                  Please identify any and all tests of any kind (e.g., air

sampling, laboratory experiments, industrial hygiene surveys, fiber release studies, etc.)

concerning possible or potential health hazards involved in the use or manipulation of, or exposure

to, asbestos-containing materials or ingredients contained therein (including contaminants such as,

for example, tremolite or chrysotile asbestos in talc) conducted b Defendant, any predecessor or

related company, or any person or entity acting on behalf thereof including but not limited to any

insurance company.

       ANSWER:

INTERROGATORY NO. 7:                  Please identify any and all persons or entities that provided

industrial hygiene or similar services or information to, or for the benefit of, Defendant, at any

time from 1925 to date, including, but not limited to, employees of, or anyone retained by, any

predecessor or related company.

       ANSWER:

INTERROGATORY NO. 8:                  Please describe Defendant’s medical, safety, and industrial

hygiene programs from the Defendant’s inception through the current time, specifically including

but not limited to the date when said department / program was first established and identifying

persons associated with the department (including but not limited to directors, managers,

physicians, nurses, medical personnel, safety engineers, industrial hygienists, and safety

personnel).

       ANSWER:

INTERROGATORY NO. 9:                  Please describe when (approximating if necessary) any

officer, director, and / or employee of Defendant, any predecessor(s) or related company first had

knowledge, information, or belief that exposure to asbestos could have a detrimental effect on

health and how such person obtained such knowledge, information or belief.

       ANSWER:

INTERROGATORY NO. 10:                 Please identify any and all trade organizations, associations,

or other entities to which Defendant, any predecessor or any related company (including any

officers, agents and/or employees thereof) has belonged or in which the same has participated since

1925, including dates of membership and/or participation and a description of each such officer,

agent and/or employee’s involvement with each such organization (e.g., general member, officer



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or official of the organization, member of a committee or subcommittee, chair of any committee

or subcommittee, etc.).

       ANSWER:

INTERROGATORY NO. 11:                  Identify any and all periodicals—including but not limited

to scientific, medical and trade periodicals, and corporate newsletters/publications, bulletins, and

notices—that Defendant and/or any predecessor/related entity, employee or agent thereof

subscribed to, received, published, authored, or distributed from 1925 to the present and for each

periodical state the dates of such subscriptions, receipt, publication, authorship, or distribution.

       ANSWER:

INTERROGATORY NO. 12:                  Please identify each of Defendant’s employees, former

employees, or representatives who attended any proceeding, symposium, or conference of a

scientific, medical, or technical nature during which information relating to the hazards of asbestos

or nuisance dust in general was discussed, disseminated, or in any way published (e.g., the effects

of human or nonhuman exposure to asbestos, populations at risk, etc.). For each such person

identified in the response to this Interrogatory, please also list the proceeding, symposium, or

conference the person attended; provide the date and location of the proceeding, symposium, or

conference; provide the identity of the person within Defendant’s organization who received or

was designated to receive the attending person’s report of the information gathered at such

proceeding, symposium, or conference; and describe the manner in which such reports were made.

       ANSWER:

INTERROGATORY NO. 13:                  Please describe Defendant’s complete corporate history,

including its ownership, sale, acquisition, divestiture, and any mergers, acquisitions,

consolidations, or other similar events involving Defendant at any time during its history.

       ANSWER:

INTERROGATORY NO. 14:                  Please identify any and all communications, including but

not limited to investigations and / or citations, between defendant and OSHA or any other local,

state, or federal governmental agency for any matter related to asbestos and / or asbestos exposure.

       ANSWER:

INTERROGATORY NO. 15:                  If Defendant has asserted any affirmative defenses,

avoidances, theories of alternate causation (including but not limited to sole proximate cause), and

/ or exceptions in this case, please provide a short and plain statement of the facts Defendant



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contends support each such defense, avoidance, theory of alternate causation and / or exception.

        ANSWER:

INTERROGATORY NO. 16:                 Please identify by case name, docket number, court and date

filed any proceeding(s) of any nature whatsoever (specifically including but not limited to civil,

adjudicatory, or arbitration) filed by you against your insurer(s) for reimbursement and/or coverage

dispute of any legal fees, costs, expenses and/or judgment(s) related to and/or arising from any

asbestos-related claim(s) or lawsuit(s) filed against you.

        ANSWER:

INTERROGATORY NO. 17:                 Please identify any and all policies of insurance which may

provide coverage for this Defendant, its executive officers, any predecessor or related companies,

against the claims asserted in Plaintiff’s complaint, specifically including but not limited to

Commercial General Liability (“CGL”) policies, Workers’ Compensation / Employers’ Liability

(“WC/EL”) policies, Excess policies, and Umbrella policies.

        ANSWER:

INTERROGATORY NO. 18:                 Please state all facts in support of defendant’s contention, if

it so contends, that it was not foreseeable that asbestos-containing material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and recipients at issue (as defined

above) would be removed, replaced, and / or otherwise disturbed.

        ANSWER:

INTERROGATORY NO. 19:                 Please identify defendant’s employees and executive

officers with responsibility for the selection / specification of asbestos-containing materials in

friction material, brake pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or

clutch components, gaskets, gasket material, engines, axles, tractors, and/or trailers specified,

assembled, manufactured, sold, distributed, installed, removed, repaired, and/or brokered by

Defendant, any predecessor and/or related entity at any point in time prior to the end of the year

1982.

        ANSWER:

Dated: December 24, 2020                                 Respectfully Submitted,




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                                By:
                                      SIMMONS HANLY CONROY LLC
                                      Melissa Schopfer, admitted pro hac vice
                                      Jean-Michel Lecointre, admitted pro hac vice
                                      Michael K. Hibey, admitted pro hac vice
                                      One Court Street
                                      Alton, IL 62002
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                                      Fax: 618-259-2251
                                      mschopfer@simmonsfirm.com
                                      jlecointre@simmonsfirm.com
                                      mhibey@simmonsfirm.com

                                          -AND-

                                      THE CHEEK LAW FIRM LLC
                                      LINDSEY A. CHEEK, Bar No. 34484
                                      Jeanne L. St. Romain, Bar No. 36035
                                      650 Poydras Street, Suite 2310
                                      New Orleans, LA 70130
                                      Telephone: 504-304-4333
                                      Fax: 504-324-0629
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                                      asbestos@thecheeklawfirm.com
                                      COUNSEL FOR PLAINTIFF




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               CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                    STATE OF LOUISIANA

NO. 2019-09716                                SECTION: 8                             DIVISION N

                                CAROLYN BRINDELL, ET AL.

                                             VERSUS

              CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC., ET AL.

FILED:                                        DEPUTY CLERK:

                        PLAINTIFF’S FIRST INTERROGATORIES
                       TO DEFENDANT LUFKIN INDUSTRIES, LLC

TO DEFENDANT: LUFKIN INDUSTRIES, LLC

BY AND THROUGH ITS COUNSEL OF RECORD:
     Kaye Courington, Jamie Zanovec, Dawn Marullo, Jeffery Burg, Troy Bell
     COURINGTON, KIEFER, SOMMERS, MARULLO, AND MATHERNE, LLC.
     616 Girod Street, Suite 2105
     New Orleans, LA 70130
     kcourington@courington-law.com
     jzanovec@courington-law.com
     dmarullo@courington-law.com
     jburg@courington-law.com
     tbell@courington-law.com

       Plaintiff, by and through his undersigned counsel and pursuant to articles 1422, 1457 and

1458 of the Louisiana Code of Civil Procedure and other applicable rules and law, demands that

within thirty (30) days, Defendant shall answer the attached requests separately and fully in writing

under oath.

Dated: December 24, 2020                              Respectfully Submitted,




                                              By:
                                                    SIMMONS HANLY CONROY LLC
                                                    Melissa Schopfer, admitted pro hac vice
                                                    Jean-Michel Lecointre, admitted pro hac vice
                                                    Michael K. Hibey, admitted pro hac vice
                                                    One Court Street
                                                    Alton, IL 62002
                                                    Telephone: 618-259-2222
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                                                      -AND-

                                                    THE CHEEK LAW FIRM LLC


                                                -1-
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                                                     LINDSEY A. CHEEK, Bar No. 34484
                                                     Jeanne L. St. Romain, Bar No. 36035
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                                                     JStromain@thecheeklawfirm.com
                                                     asbestos@thecheeklawfirm.com
                                                     COUNSEL FOR PLAINTIFF



                                     CERTIFICATE OF SERVICE

        I do hereby certify that on this 24 December 2020 I served a copy of the foregoing pleading

on counsel for all parties to this proceeding by facsimile, by electronic mail, by hand delivery or

by mailing the same by United States mail, properly addressed and first class postage prepaid.




                                     GENERAL INSTRUCTIONS

        With respect to all questions, all information is to be divulged which is within the

knowledge, possession or control of the corporation or company to whom these requests are

addressed, as well as the corporation or company's attorneys, investigators, agents, employees or

other representatives. If you cannot answer the following requests in full after exercising due

diligence to secure the full information to do so, then state and answer to the fullest extent possible,

specifying your inability to answer the remainder, stating whatever information or knowledge you

have concerning the unanswered portion and detailing what you did in attempting to acquire the

information.

        A.      Please produce all documents and tangible things as they are kept in the usual

course of business or organize and label them to correspond with the categories or numbered

requests in this set of discovery.

        B.      If any information or material is being withheld under any claim of privilege,

protection, or immunity, please state with specificity the particular privilege, protection, or

immunity asserted.

        C.      If Defendant cannot produce requested information or material because it is not in




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Defendant’s possession, custody, or control, please identify the information or material, the reason

the information or material is not in Defendant’s possession, custody, or control, and the entity

currently having possession, custody, or control over the information or material.

        D.      When providing a date, please provide the exact day, month, and year. If the exact

date is not known, please provide the best approximation of the date and clearly note that the date

is an approximation.

        E.      If responsive material is in electronic, magnetic, or digital form, Plaintiff

specifically requests production of such material. Plaintiff requests such material be provided on

CD-ROM.

        F.      In the event a proper and timely objection is filed as to any requested material,

please nevertheless respond to all portions of the request which do not fall within the scope of the

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                                   GENERAL DEFINITIONS

        A.      “Defendant,” as used herein, means the entity answering these discovery requests

and any of its merged, consolidated, or acquired predecessors, divisions, joint ventures,

subsidiaries, foreign subsidiaries, foreign subsidiaries of predecessors, parent companies, sister

companies. This definition includes present and former officers, directors, agents, employees, and

all other persons acting or purporting to act on behalf of Defendant, its predecessors, subsidiaries,

and/or affiliates.

                i.     “Predecessors” further means any entity, whether or not incorporated,
                       which had all or some of its assets purchased by Defendant or came to be
                       acquired by Defendant whether by merger, consolidation, or other means.

                ii.    “Subsidiaries” further means any entity, whether or not incorporated, which
                       is or was in any way owned or controlled, in whole or in part by Defendant
                       or its predecessors.

        B.      “Related company” as used herein means any entity in which the named defendant

has or had an interest and which does or has specified, assembled, manufactured, sold, distributed,

installed, removed, repaired, and/or brokered asbestos-containing material.

        C.      “Asbestos-containing material” and/or “asbestos-containing product” as used

herein means raw or processed asbestos and any product which included any form of asbestos as



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any part of its composition or ingredients including but not limited to friction material, brake

pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or clutch

components, gaskets, gasket material, engines, axles, tractors, and/or trailers; and/or,

equipment or machinery in or on which an asbestos-containing material as defined above was

incorporated, added, utilized or applied prior to being sold, distributed or installed by defendant.

This term shall also refer to equipment that was originally sold with asbestos-containing material,

and / or has specifications that require asbestos or an asbestos-containing material and equipment

whose manufacturer anticipates or should anticipate the use of asbestos or an asbestos-containing

material in its practical, foreseeable, and/or proper use.

       D.      “Documents”, as used herein, include, without limitation, books, records, notes,

letters, correspondence, memoranda, writings, invoices, purchase orders, contracts, sales ledgers,

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attorneys, investigators, agents, or employees. Such reference to documents includes originals and

copies, microfilms and transcripts made, recorded, produced or reproduced by any means.

"Documents" also includes the content of any applicable computer database.

       E.      Where used with respect to documents, “identify” means to give the date, title,

origin, author and addressee of the document and the name, address, position or title of the person

who has custody of the document. Whenever identification is requested and Defendant is willing

to produce the documents voluntarily, Defendant may respond by attaching a copy of the

responsive document to the answers to these requests.

       F.      Where used with respect to a person, "identify" means to give the person's name,

employer, title or position with that employer, and business address and last known home address

if the person is no longer so employed. If the person identified is, or has been, an employee,

officer, director or agent of Defendant, also state the period of time during which he/she has been

employed by Defendant, and all positions, titles or jobs that person has held with the Defendant

and the years each position was held.

       G.      The terms, “trade organization” and “trade association,” mean any organization or

association of business, industrial, or governmental entities that were associated and/or met for the

purpose of achieving common goals, exchanging or disseminating information related to common

needs or interests, and/or learning information or facts of interest to the various members of the

organization or association.



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         H.    The terms, “plant” and “facility,” mean any location where materials are refined,

converted, chemically altered, changed, assembled, manufactured, constructed, or fabricated as

well as locations where products are fabricated, assembled, or manufactured or prepared for further

fabrication or assembly. This definition also includes office spaces, storage spaces, control rooms,

undeveloped land, and similar areas within the larger plant or facility.

         I.    The term, “manufacture,” means to fabricate, construct, assemble, prepare for

fabrication or assembly, or take any other action prior to completion of a product or material.

         J.    The terms, “medical department,” “safety department,” and “industrial hygiene

department,” mean an individual or a group of individuals working for Defendant, either directly

or in a contractual capacity, whose purpose was or is to provide guidance, assistance, or advice

concerning any aspect of medical health including, but not limited to, the safety of Defendant's

workers and the safety of individuals using or exposed to asbestos or asbestos-containing products.

         K.    The term, “hazards of asbestos,” means any potential or actual asbestos-related

injury, effect, damage, scarring, wound, impairment, or disability of any part of human or non-

human anatomy including, but not limited to, the lungs and associated tissue.

         L.    The term, “test,” includes, but is not limited to, studies of atmospheric dust samples,

studies of the concentration of asbestos in airborne test samples, studies of the lung conditions of

workers (by x-ray or other means), pulmonary function studies of workers, animal studies,

pathological studies, industrial hygiene studies, risk assessment studies, cost-benefit analyses, and

any other studies concerning health and safety.

         M.    The term, “communication,” means any transmission or exchange of information,

whether oral or written, and whether face to face, by telephone, mail, fax, personal delivery,

electronic means, or otherwise.

         N.    “Premises,” means:

               i.      Real property, as well as any structures or other improvements located on
                       the property; and,

               ii.     A ship or other floating vehicle, vessel, or structure.

         O.    As used herein, “locations and recipients at issue” if and where specifically used

means:

               i.      Port of New Orleans;
               ii.     Puerto Rico Marine Management;
               iii.    Great Dane;
               iv.     Kelsey Hayes;
               v.      Lufkin;


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   Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 323 of 565




               vi.     Strick;
               vii.    Utility Trailer; and / or,
               viii.   Wilson Trailer.

       P.      The terms, “abate” and “abatement,” mean any removal and/or cleanup of asbestos-

containing products on a premises.

       Q.      The term, “utilize,” when referring to asbestos-containing products and/or asbestos

job site(s) means to install, inspect, apply, maintain, repair, replace, or remove.

       R.      The definitions stated above shall also apply to other grammatical forms of the word

defined, such as singular and plural, masculine and feminine, and various verb tenses.

                                 FIRST INTERROGATORIES

INTERROGATORY NO. 1:                    Identify all sources of information relied upon in formulating

defendant’s responses to these interrogatories (providing a privilege log if necessary), including

records or documents reviewed, records or documents determined to have been destroyed,

document retention policies, persons providing information and/or overseeing the process, and the

person verifying the answers.

       ANSWER:

INTERROGATORY NO. 2:                    Please identify each and every product and/or material—

regardless of whether Defendant knows it contained asbestos—Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982.

       ANSWER:

INTERROGATORY NO. 3:                    For each product and / or material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982, please state whether Defendant knows

or has reason to believe said product and / or material contained asbestos. If so, for each asbestos-

containing material, please identify:

       a.      The trade name or brand name of the same;

       b.      The type, brand name and percentage of asbestos contained in the material,
               including any changes over time (and/or the elimination of asbestos in the material);

       c.      Each and every source (including manufacturers and distributors) from which
               Defendant and/or any predecessor/related entity obtained each such material;



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       d.      The date said product / material was placed on the market, and the inclusive dates
               of its manufacture, sale, and distribution;

       e.      A detailed description of said product / material, including a description of how and
               why it involved the use of asbestos or asbestos-containing products;

       f.      The date Defendant stopped manufacturing, marketing, selling, and/or distributing
               said product / material;

       g.      If applicable, the date said product / material was removed from the market and no
               longer sold or distributed and the reasons therefore;

       h.      The date, if ever, Defendant asbestos no longer utilized asbestos or asbestos-
               containing material in said product / material, and the reasons for no longer doing
               so;

       i.      Whether Defendant ever conducted any testing on asbestos-containing material to
               determine whether it posed any potential asbestos-related hazard to human or non-
               human health;

       j.      The plants or facilities where asbestos and /or asbestos-containing materials were
               manufactured, fabricated, and / or processed by Defendant;

       k.      Those likely to encounter said asbestos and / or asbestos-containing materials (such
               as mechanics); and,

       l.      A description of any hazard communications Defendant placed on asbestos-
               containing materials or its packaging, operating manuals, brochures, catalogs, or
               other related printed material. This description should include the precise language
               of any such hazard communication, the size of the hazard communication, the
               location on the asbestos-containing material or its packaging where the hazard
               communication was printed, and when the hazard communication was first placed
               on said asbestos-containing material.

       ANSWER:

INTERROGATORY NO. 4:                      Please identify any and all prior claim(s) alleging lung

diseases or death from lung disease, whether directly or indirectly attributed to asbestosis,

mesothelioma, lung cancer, or exposure to asbestos-containing material as defined above, alleging

exposure to asbestos-containing materials allegedly manufactured, sold, distributed, specified,

applied, and / or installed in whole or part by Defendant and / or any predecessor / related entity,

specifically including but not limited to those Defendant and/or any predecessor/related entity

applied, installed, removed and / or replaced in whole or part to/for/at any of the locations and

recipients at issue (as defined above).

       ANSWER:

INTERROGATORY NO. 5:                      Please identify each and every policy, procedure, step,

hazard communication, purported warning, and/or program undertaken, implemented, discussed

and/or contemplated by Defendant and/or any predecessor/related entity intended to protect any

person or persons (including, but not limited to, employees, product end-users and/or by-standers)



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in any way from exposure to asbestos, asbestos-containing materials and / or dust therefrom.

       ANSWER:

INTERROGATORY NO. 6:                  Please identify any and all tests of any kind (e.g., air

sampling, laboratory experiments, industrial hygiene surveys, fiber release studies, etc.)

concerning possible or potential health hazards involved in the use or manipulation of, or exposure

to, asbestos-containing materials or ingredients contained therein (including contaminants such as,

for example, tremolite or chrysotile asbestos in talc) conducted b Defendant, any predecessor or

related company, or any person or entity acting on behalf thereof including but not limited to any

insurance company.

       ANSWER:

INTERROGATORY NO. 7:                  Please identify any and all persons or entities that provided

industrial hygiene or similar services or information to, or for the benefit of, Defendant, at any

time from 1925 to date, including, but not limited to, employees of, or anyone retained by, any

predecessor or related company.

       ANSWER:

INTERROGATORY NO. 8:                  Please describe Defendant’s medical, safety, and industrial

hygiene programs from the Defendant’s inception through the current time, specifically including

but not limited to the date when said department / program was first established and identifying

persons associated with the department (including but not limited to directors, managers,

physicians, nurses, medical personnel, safety engineers, industrial hygienists, and safety

personnel).

       ANSWER:

INTERROGATORY NO. 9:                  Please describe when (approximating if necessary) any

officer, director, and / or employee of Defendant, any predecessor(s) or related company first had

knowledge, information, or belief that exposure to asbestos could have a detrimental effect on

health and how such person obtained such knowledge, information or belief.

       ANSWER:

INTERROGATORY NO. 10:                 Please identify any and all trade organizations, associations,

or other entities to which Defendant, any predecessor or any related company (including any

officers, agents and/or employees thereof) has belonged or in which the same has participated since

1925, including dates of membership and/or participation and a description of each such officer,



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agent and/or employee’s involvement with each such organization (e.g., general member, officer

or official of the organization, member of a committee or subcommittee, chair of any committee

or subcommittee, etc.).

       ANSWER:

INTERROGATORY NO. 11:                  Identify any and all periodicals—including but not limited

to scientific, medical and trade periodicals, and corporate newsletters/publications, bulletins, and

notices—that Defendant and/or any predecessor/related entity, employee or agent thereof

subscribed to, received, published, authored, or distributed from 1925 to the present and for each

periodical state the dates of such subscriptions, receipt, publication, authorship, or distribution.

       ANSWER:

INTERROGATORY NO. 12:                  Please identify each of Defendant’s employees, former

employees, or representatives who attended any proceeding, symposium, or conference of a

scientific, medical, or technical nature during which information relating to the hazards of asbestos

or nuisance dust in general was discussed, disseminated, or in any way published (e.g., the effects

of human or nonhuman exposure to asbestos, populations at risk, etc.). For each such person

identified in the response to this Interrogatory, please also list the proceeding, symposium, or

conference the person attended; provide the date and location of the proceeding, symposium, or

conference; provide the identity of the person within Defendant’s organization who received or

was designated to receive the attending person’s report of the information gathered at such

proceeding, symposium, or conference; and describe the manner in which such reports were made.

       ANSWER:

INTERROGATORY NO. 13:                  Please describe Defendant’s complete corporate history,

including its ownership, sale, acquisition, divestiture, and any mergers, acquisitions,

consolidations, or other similar events involving Defendant at any time during its history.

       ANSWER:

INTERROGATORY NO. 14:                  Please identify any and all communications, including but

not limited to investigations and / or citations, between defendant and OSHA or any other local,

state, or federal governmental agency for any matter related to asbestos and / or asbestos exposure.

       ANSWER:

INTERROGATORY NO. 15:                  If Defendant has asserted any affirmative defenses,

avoidances, theories of alternate causation (including but not limited to sole proximate cause), and



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/ or exceptions in this case, please provide a short and plain statement of the facts Defendant

contends support each such defense, avoidance, theory of alternate causation and / or exception.

        ANSWER:

INTERROGATORY NO. 16:                 Please identify by case name, docket number, court and date

filed any proceeding(s) of any nature whatsoever (specifically including but not limited to civil,

adjudicatory, or arbitration) filed by you against your insurer(s) for reimbursement and/or coverage

dispute of any legal fees, costs, expenses and/or judgment(s) related to and/or arising from any

asbestos-related claim(s) or lawsuit(s) filed against you.

        ANSWER:

INTERROGATORY NO. 17:                 Please identify any and all policies of insurance which may

provide coverage for this Defendant, its executive officers, any predecessor or related companies,

against the claims asserted in Plaintiff’s complaint, specifically including but not limited to

Commercial General Liability (“CGL”) policies, Workers’ Compensation / Employers’ Liability

(“WC/EL”) policies, Excess policies, and Umbrella policies.

        ANSWER:

INTERROGATORY NO. 18:                 Please state all facts in support of defendant’s contention, if

it so contends, that it was not foreseeable that asbestos-containing material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and recipients at issue (as defined

above) would be removed, replaced, and / or otherwise disturbed.

        ANSWER:

INTERROGATORY NO. 19:                 Please identify defendant’s employees and executive

officers with responsibility for the selection / specification of asbestos-containing materials in

friction material, brake pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or

clutch components, gaskets, gasket material, engines, axles, tractors, and/or trailers specified,

assembled, manufactured, sold, distributed, installed, removed, repaired, and/or brokered by

Defendant, any predecessor and/or related entity at any point in time prior to the end of the year

1982.

        ANSWER:

Dated: December 24, 2020                                 Respectfully Submitted,




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                                By:
                                      SIMMONS HANLY CONROY LLC
                                      Melissa Schopfer, admitted pro hac vice
                                      Jean-Michel Lecointre, admitted pro hac vice
                                      Michael K. Hibey, admitted pro hac vice
                                      One Court Street
                                      Alton, IL 62002
                                      Telephone: 618-259-2222
                                      Fax: 618-259-2251
                                      mschopfer@simmonsfirm.com
                                      jlecointre@simmonsfirm.com
                                      mhibey@simmonsfirm.com

                                          -AND-

                                      THE CHEEK LAW FIRM LLC
                                      LINDSEY A. CHEEK, Bar No. 34484
                                      Jeanne L. St. Romain, Bar No. 36035
                                      650 Poydras Street, Suite 2310
                                      New Orleans, LA 70130
                                      Telephone: 504-304-4333
                                      Fax: 504-324-0629
                                      LCheek@thecheeklawfirm.com
                                      JStromain@thecheeklawfirm.com
                                      asbestos@thecheeklawfirm.com
                                      COUNSEL FOR PLAINTIFF




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               CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                    STATE OF LOUISIANA

NO. 2019-09716                                SECTION: 8                             DIVISION N

                                CAROLYN BRINDELL, ET AL.

                                             VERSUS

              CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC., ET AL.

FILED:                                        DEPUTY CLERK:

                   PLAINTIFF’S FIRST INTERROGATORIES
         TO DEFENDANT UTILITY TRAILER MANUFACTURING COMPANY

TO DEFENDANT: UTILITY TRAILER MANUFACTURING COMPANY

BY AND THROUGH ITS COUNSEL OF RECORD:
     Joseph Hart, IV, Thomas Porteous, Daniel Oser
     PUGH, ACCARDO, HAAS, RADECKER & CAREY, LLC
     1100 Poydras Street, Suite 3300
     New Orleans, LA 70163
     jhart@pugh-law.com
     tporteous@pugh-law.com
     doser@pugh-law.com

       Plaintiff, by and through his undersigned counsel and pursuant to articles 1422, 1457 and

1458 of the Louisiana Code of Civil Procedure and other applicable rules and law, demands that

within thirty (30) days, Defendant shall answer the attached requests separately and fully in writing

under oath.

Dated: December 24, 2020                              Respectfully Submitted,




                                              By:
                                                    SIMMONS HANLY CONROY LLC
                                                    Melissa Schopfer, admitted pro hac vice
                                                    Jean-Michel Lecointre, admitted pro hac vice
                                                    Michael K. Hibey, admitted pro hac vice
                                                    One Court Street
                                                    Alton, IL 62002
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                                                    Fax: 618-259-2251
                                                    mschopfer@simmonsfirm.com
                                                    jlecointre@simmonsfirm.com
                                                    mhibey@simmonsfirm.com

                                                      -AND-

                                                    THE CHEEK LAW FIRM LLC
                                                    LINDSEY A. CHEEK, Bar No. 34484



                                                -1-
   Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 330 of 565




                                                     Jeanne L. St. Romain, Bar No. 36035
                                                     650 Poydras Street, Suite 2310
                                                     New Orleans, LA 70130
                                                     Telephone: 504-304-4333
                                                     Fax: 504-324-0629
                                                     LCheek@thecheeklawfirm.com
                                                     JStromain@thecheeklawfirm.com
                                                     asbestos@thecheeklawfirm.com
                                                     COUNSEL FOR PLAINTIFF



                                     CERTIFICATE OF SERVICE

        I do hereby certify that on this 24 December 2020 I served a copy of the foregoing pleading

on counsel for all parties to this proceeding by facsimile, by electronic mail, by hand delivery or

by mailing the same by United States mail, properly addressed and first class postage prepaid.




                                     GENERAL INSTRUCTIONS

        With respect to all questions, all information is to be divulged which is within the

knowledge, possession or control of the corporation or company to whom these requests are

addressed, as well as the corporation or company's attorneys, investigators, agents, employees or

other representatives. If you cannot answer the following requests in full after exercising due

diligence to secure the full information to do so, then state and answer to the fullest extent possible,

specifying your inability to answer the remainder, stating whatever information or knowledge you

have concerning the unanswered portion and detailing what you did in attempting to acquire the

information.

        A.      Please produce all documents and tangible things as they are kept in the usual

course of business or organize and label them to correspond with the categories or numbered

requests in this set of discovery.

        B.      If any information or material is being withheld under any claim of privilege,

protection, or immunity, please state with specificity the particular privilege, protection, or

immunity asserted.

        C.      If Defendant cannot produce requested information or material because it is not in

Defendant’s possession, custody, or control, please identify the information or material, the reason



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the information or material is not in Defendant’s possession, custody, or control, and the entity

currently having possession, custody, or control over the information or material.

        D.      When providing a date, please provide the exact day, month, and year. If the exact

date is not known, please provide the best approximation of the date and clearly note that the date

is an approximation.

        E.      If responsive material is in electronic, magnetic, or digital form, Plaintiff

specifically requests production of such material. Plaintiff requests such material be provided on

CD-ROM.

        F.      In the event a proper and timely objection is filed as to any requested material,

please nevertheless respond to all portions of the request which do not fall within the scope of the

objection. For example, if a request is objected to on the grounds that it is too broad insofar as it

seeks documents covering years Defendant believes are not relevant to this litigation, please

nevertheless produce documents for all years which Defendant concedes are relevant.



                                   GENERAL DEFINITIONS

        A.      “Defendant,” as used herein, means the entity answering these discovery requests

and any of its merged, consolidated, or acquired predecessors, divisions, joint ventures,

subsidiaries, foreign subsidiaries, foreign subsidiaries of predecessors, parent companies, sister

companies. This definition includes present and former officers, directors, agents, employees, and

all other persons acting or purporting to act on behalf of Defendant, its predecessors, subsidiaries,

and/or affiliates.

                i.     “Predecessors” further means any entity, whether or not incorporated,
                       which had all or some of its assets purchased by Defendant or came to be
                       acquired by Defendant whether by merger, consolidation, or other means.

                ii.    “Subsidiaries” further means any entity, whether or not incorporated, which
                       is or was in any way owned or controlled, in whole or in part by Defendant
                       or its predecessors.

        B.      “Related company” as used herein means any entity in which the named defendant

has or had an interest and which does or has specified, assembled, manufactured, sold, distributed,

installed, removed, repaired, and/or brokered asbestos-containing material.

        C.      “Asbestos-containing material” and/or “asbestos-containing product” as used

herein means raw or processed asbestos and any product which included any form of asbestos as

any part of its composition or ingredients including but not limited to friction material, brake



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pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or clutch

components, gaskets, gasket material, engines, axles, tractors, and/or trailers; and/or,

equipment or machinery in or on which an asbestos-containing material as defined above was

incorporated, added, utilized or applied prior to being sold, distributed or installed by defendant.

This term shall also refer to equipment that was originally sold with asbestos-containing material,

and / or has specifications that require asbestos or an asbestos-containing material and equipment

whose manufacturer anticipates or should anticipate the use of asbestos or an asbestos-containing

material in its practical, foreseeable, and/or proper use.

       D.      “Documents”, as used herein, include, without limitation, books, records, notes,

letters, correspondence, memoranda, writings, invoices, purchase orders, contracts, sales ledgers,

recordings, journals or books of account, in possession or control of Defendant or Defendant's

attorneys, investigators, agents, or employees. Such reference to documents includes originals and

copies, microfilms and transcripts made, recorded, produced or reproduced by any means.

"Documents" also includes the content of any applicable computer database.

       E.      Where used with respect to documents, “identify” means to give the date, title,

origin, author and addressee of the document and the name, address, position or title of the person

who has custody of the document. Whenever identification is requested and Defendant is willing

to produce the documents voluntarily, Defendant may respond by attaching a copy of the

responsive document to the answers to these requests.

       F.      Where used with respect to a person, "identify" means to give the person's name,

employer, title or position with that employer, and business address and last known home address

if the person is no longer so employed. If the person identified is, or has been, an employee,

officer, director or agent of Defendant, also state the period of time during which he/she has been

employed by Defendant, and all positions, titles or jobs that person has held with the Defendant

and the years each position was held.

       G.      The terms, “trade organization” and “trade association,” mean any organization or

association of business, industrial, or governmental entities that were associated and/or met for the

purpose of achieving common goals, exchanging or disseminating information related to common

needs or interests, and/or learning information or facts of interest to the various members of the

organization or association.

       H.      The terms, “plant” and “facility,” mean any location where materials are refined,



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converted, chemically altered, changed, assembled, manufactured, constructed, or fabricated as

well as locations where products are fabricated, assembled, or manufactured or prepared for further

fabrication or assembly. This definition also includes office spaces, storage spaces, control rooms,

undeveloped land, and similar areas within the larger plant or facility.

         I.    The term, “manufacture,” means to fabricate, construct, assemble, prepare for

fabrication or assembly, or take any other action prior to completion of a product or material.

         J.    The terms, “medical department,” “safety department,” and “industrial hygiene

department,” mean an individual or a group of individuals working for Defendant, either directly

or in a contractual capacity, whose purpose was or is to provide guidance, assistance, or advice

concerning any aspect of medical health including, but not limited to, the safety of Defendant's

workers and the safety of individuals using or exposed to asbestos or asbestos-containing products.

         K.    The term, “hazards of asbestos,” means any potential or actual asbestos-related

injury, effect, damage, scarring, wound, impairment, or disability of any part of human or non-

human anatomy including, but not limited to, the lungs and associated tissue.

         L.    The term, “test,” includes, but is not limited to, studies of atmospheric dust samples,

studies of the concentration of asbestos in airborne test samples, studies of the lung conditions of

workers (by x-ray or other means), pulmonary function studies of workers, animal studies,

pathological studies, industrial hygiene studies, risk assessment studies, cost-benefit analyses, and

any other studies concerning health and safety.

         M.    The term, “communication,” means any transmission or exchange of information,

whether oral or written, and whether face to face, by telephone, mail, fax, personal delivery,

electronic means, or otherwise.

         N.    “Premises,” means:

               i.      Real property, as well as any structures or other improvements located on
                       the property; and,

               ii.     A ship or other floating vehicle, vessel, or structure.

         O.    As used herein, “locations and recipients at issue” if and where specifically used

means:

               i.      Port of New Orleans;
               ii.     Puerto Rico Marine Management;
               iii.    Great Dane;
               iv.     Kelsey Hayes;
               v.      Lufkin;
               vi.     Strick;
               vii.    Utility Trailer; and / or,


                                                  -5-
   Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 334 of 565




               viii.   Wilson Trailer.

       P.      The terms, “abate” and “abatement,” mean any removal and/or cleanup of asbestos-

containing products on a premises.

       Q.      The term, “utilize,” when referring to asbestos-containing products and/or asbestos

job site(s) means to install, inspect, apply, maintain, repair, replace, or remove.

       R.      The definitions stated above shall also apply to other grammatical forms of the word

defined, such as singular and plural, masculine and feminine, and various verb tenses.

                                 FIRST INTERROGATORIES

INTERROGATORY NO. 1:                    Identify all sources of information relied upon in formulating

defendant’s responses to these interrogatories (providing a privilege log if necessary), including

records or documents reviewed, records or documents determined to have been destroyed,

document retention policies, persons providing information and/or overseeing the process, and the

person verifying the answers.

       ANSWER:

INTERROGATORY NO. 2:                    Please identify each and every product and/or material—

regardless of whether Defendant knows it contained asbestos—Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982.

       ANSWER:

INTERROGATORY NO. 3:                    For each product and / or material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982, please state whether Defendant knows

or has reason to believe said product and / or material contained asbestos. If so, for each asbestos-

containing material, please identify:

       a.      The trade name or brand name of the same;

       b.      The type, brand name and percentage of asbestos contained in the material,
               including any changes over time (and/or the elimination of asbestos in the material);

       c.      Each and every source (including manufacturers and distributors) from which
               Defendant and/or any predecessor/related entity obtained each such material;

       d.      The date said product / material was placed on the market, and the inclusive dates
               of its manufacture, sale, and distribution;


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       e.      A detailed description of said product / material, including a description of how and
               why it involved the use of asbestos or asbestos-containing products;

       f.      The date Defendant stopped manufacturing, marketing, selling, and/or distributing
               said product / material;

       g.      If applicable, the date said product / material was removed from the market and no
               longer sold or distributed and the reasons therefore;

       h.      The date, if ever, Defendant asbestos no longer utilized asbestos or asbestos-
               containing material in said product / material, and the reasons for no longer doing
               so;

       i.      Whether Defendant ever conducted any testing on asbestos-containing material to
               determine whether it posed any potential asbestos-related hazard to human or non-
               human health;

       j.      The plants or facilities where asbestos and /or asbestos-containing materials were
               manufactured, fabricated, and / or processed by Defendant;

       k.      Those likely to encounter said asbestos and / or asbestos-containing materials (such
               as mechanics); and,

       l.      A description of any hazard communications Defendant placed on asbestos-
               containing materials or its packaging, operating manuals, brochures, catalogs, or
               other related printed material. This description should include the precise language
               of any such hazard communication, the size of the hazard communication, the
               location on the asbestos-containing material or its packaging where the hazard
               communication was printed, and when the hazard communication was first placed
               on said asbestos-containing material.

       ANSWER:

INTERROGATORY NO. 4:                      Please identify any and all prior claim(s) alleging lung

diseases or death from lung disease, whether directly or indirectly attributed to asbestosis,

mesothelioma, lung cancer, or exposure to asbestos-containing material as defined above, alleging

exposure to asbestos-containing materials allegedly manufactured, sold, distributed, specified,

applied, and / or installed in whole or part by Defendant and / or any predecessor / related entity,

specifically including but not limited to those Defendant and/or any predecessor/related entity

applied, installed, removed and / or replaced in whole or part to/for/at any of the locations and

recipients at issue (as defined above).

       ANSWER:

INTERROGATORY NO. 5:                      Please identify each and every policy, procedure, step,

hazard communication, purported warning, and/or program undertaken, implemented, discussed

and/or contemplated by Defendant and/or any predecessor/related entity intended to protect any

person or persons (including, but not limited to, employees, product end-users and/or by-standers)

in any way from exposure to asbestos, asbestos-containing materials and / or dust therefrom.



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       ANSWER:

INTERROGATORY NO. 6:                  Please identify any and all tests of any kind (e.g., air

sampling, laboratory experiments, industrial hygiene surveys, fiber release studies, etc.)

concerning possible or potential health hazards involved in the use or manipulation of, or exposure

to, asbestos-containing materials or ingredients contained therein (including contaminants such as,

for example, tremolite or chrysotile asbestos in talc) conducted b Defendant, any predecessor or

related company, or any person or entity acting on behalf thereof including but not limited to any

insurance company.

       ANSWER:

INTERROGATORY NO. 7:                  Please identify any and all persons or entities that provided

industrial hygiene or similar services or information to, or for the benefit of, Defendant, at any

time from 1925 to date, including, but not limited to, employees of, or anyone retained by, any

predecessor or related company.

       ANSWER:

INTERROGATORY NO. 8:                  Please describe Defendant’s medical, safety, and industrial

hygiene programs from the Defendant’s inception through the current time, specifically including

but not limited to the date when said department / program was first established and identifying

persons associated with the department (including but not limited to directors, managers,

physicians, nurses, medical personnel, safety engineers, industrial hygienists, and safety

personnel).

       ANSWER:

INTERROGATORY NO. 9:                  Please describe when (approximating if necessary) any

officer, director, and / or employee of Defendant, any predecessor(s) or related company first had

knowledge, information, or belief that exposure to asbestos could have a detrimental effect on

health and how such person obtained such knowledge, information or belief.

       ANSWER:

INTERROGATORY NO. 10:                 Please identify any and all trade organizations, associations,

or other entities to which Defendant, any predecessor or any related company (including any

officers, agents and/or employees thereof) has belonged or in which the same has participated since

1925, including dates of membership and/or participation and a description of each such officer,

agent and/or employee’s involvement with each such organization (e.g., general member, officer



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or official of the organization, member of a committee or subcommittee, chair of any committee

or subcommittee, etc.).

       ANSWER:

INTERROGATORY NO. 11:                  Identify any and all periodicals—including but not limited

to scientific, medical and trade periodicals, and corporate newsletters/publications, bulletins, and

notices—that Defendant and/or any predecessor/related entity, employee or agent thereof

subscribed to, received, published, authored, or distributed from 1925 to the present and for each

periodical state the dates of such subscriptions, receipt, publication, authorship, or distribution.

       ANSWER:

INTERROGATORY NO. 12:                  Please identify each of Defendant’s employees, former

employees, or representatives who attended any proceeding, symposium, or conference of a

scientific, medical, or technical nature during which information relating to the hazards of asbestos

or nuisance dust in general was discussed, disseminated, or in any way published (e.g., the effects

of human or nonhuman exposure to asbestos, populations at risk, etc.). For each such person

identified in the response to this Interrogatory, please also list the proceeding, symposium, or

conference the person attended; provide the date and location of the proceeding, symposium, or

conference; provide the identity of the person within Defendant’s organization who received or

was designated to receive the attending person’s report of the information gathered at such

proceeding, symposium, or conference; and describe the manner in which such reports were made.

       ANSWER:

INTERROGATORY NO. 13:                  Please describe Defendant’s complete corporate history,

including its ownership, sale, acquisition, divestiture, and any mergers, acquisitions,

consolidations, or other similar events involving Defendant at any time during its history.

       ANSWER:

INTERROGATORY NO. 14:                  Please identify any and all communications, including but

not limited to investigations and / or citations, between defendant and OSHA or any other local,

state, or federal governmental agency for any matter related to asbestos and / or asbestos exposure.

       ANSWER:

INTERROGATORY NO. 15:                  If Defendant has asserted any affirmative defenses,

avoidances, theories of alternate causation (including but not limited to sole proximate cause), and

/ or exceptions in this case, please provide a short and plain statement of the facts Defendant



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contends support each such defense, avoidance, theory of alternate causation and / or exception.

        ANSWER:

INTERROGATORY NO. 16:                 Please identify by case name, docket number, court and date

filed any proceeding(s) of any nature whatsoever (specifically including but not limited to civil,

adjudicatory, or arbitration) filed by you against your insurer(s) for reimbursement and/or coverage

dispute of any legal fees, costs, expenses and/or judgment(s) related to and/or arising from any

asbestos-related claim(s) or lawsuit(s) filed against you.

        ANSWER:

INTERROGATORY NO. 17:                 Please identify any and all policies of insurance which may

provide coverage for this Defendant, its executive officers, any predecessor or related companies,

against the claims asserted in Plaintiff’s complaint, specifically including but not limited to

Commercial General Liability (“CGL”) policies, Workers’ Compensation / Employers’ Liability

(“WC/EL”) policies, Excess policies, and Umbrella policies.

        ANSWER:

INTERROGATORY NO. 18:                 Please state all facts in support of defendant’s contention, if

it so contends, that it was not foreseeable that asbestos-containing material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and recipients at issue (as defined

above) would be removed, replaced, and / or otherwise disturbed.

        ANSWER:

INTERROGATORY NO. 19:                 Please identify defendant’s employees and executive

officers with responsibility for the selection / specification of asbestos-containing materials in

friction material, brake pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or

clutch components, gaskets, gasket material, engines, axles, tractors, and/or trailers specified,

assembled, manufactured, sold, distributed, installed, removed, repaired, and/or brokered by

Defendant, any predecessor and/or related entity at any point in time prior to the end of the year

1982.

        ANSWER:

Dated: December 24, 2020                                 Respectfully Submitted,




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                                By:
                                      SIMMONS HANLY CONROY LLC
                                      Melissa Schopfer, admitted pro hac vice
                                      Jean-Michel Lecointre, admitted pro hac vice
                                      Michael K. Hibey, admitted pro hac vice
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                                      Telephone: 618-259-2222
                                      Fax: 618-259-2251
                                      mschopfer@simmonsfirm.com
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                                      mhibey@simmonsfirm.com

                                          -AND-

                                      THE CHEEK LAW FIRM LLC
                                      LINDSEY A. CHEEK, Bar No. 34484
                                      Jeanne L. St. Romain, Bar No. 36035
                                      650 Poydras Street, Suite 2310
                                      New Orleans, LA 70130
                                      Telephone: 504-304-4333
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                                      LCheek@thecheeklawfirm.com
                                      JStromain@thecheeklawfirm.com
                                      asbestos@thecheeklawfirm.com
                                      COUNSEL FOR PLAINTIFF




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               CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                    STATE OF LOUISIANA

NO. 2019-09716                                SECTION: 8                             DIVISION N

                                CAROLYN BRINDELL, ET AL.

                                             VERSUS

              CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC., ET AL.

FILED:                                        DEPUTY CLERK:

                       PLAINTIFF’S FIRST INTERROGATORIES
                     TO DEFENDANT WILSON TRAILER COMPANY

TO DEFENDANT: WILSON TRAILER COMPANY

BY AND THROUGH ITS COUNSEL OF RECORD:
     William Harrison, Jennifer Adams, Barbara Ormsby
     DEUTSCH KERRIGAN LLP
     755 Magazine Street
     New Orleans, LA 70130
     jadams@deutschkerrigan.com
     wharrison@deutschkerrigan.com
     bormsby@deutschkerrigan.com

       Plaintiff, by and through his undersigned counsel and pursuant to articles 1422, 1457 and

1458 of the Louisiana Code of Civil Procedure and other applicable rules and law, demands that

within thirty (30) days, Defendant shall answer the attached requests separately and fully in writing

under oath.

Dated: December 24, 2020                              Respectfully Submitted,        .




                                              By:
                                                      Melissa C. Schopfer, pro hac vice
                                                      Jean-Michel Lecointre, pro had vice
                                                      Michael K. Hibey, pro hac vice
                                                      Simmons Hanly Conroy LLC
                                                      1 Court Street
                                                      Alton, IL 62002
                                                      Tel: (618) 259-2222
                                                      Fax: (618) 259-2251
                                                      Email: mschopfer@simmonsfirm.com
                                                      Email: jlecointre@simmonsfirm.com
                                                      Email: mhibey@simmonsfirm.com

                                                      -and-

                                                      THE CHEEK LAW FIRM


                                                -1-
   Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 341 of 565




                                                     /s/ Lindsey A. Cheek
                                                     LINDSEY A. CHEEK, Bar No. 34484
                                                     Jeanne L. St. Romain, Bar No. 36035
                                                     650 Poydras Street, Suite 2310
                                                     New Orleans, LA 70130
                                                     Telephone: 504-304-4333
                                                     Fax: 504-324-0629
                                                     LCheek@thecheeklawfirm.com
                                                     JStromain@thecheeklawfirm.com
                                                     asbestos@thecheeklawfirm.com

                                CERTIFICATE OF SERVICE

       I do hereby certify that on this 24 December 2020 I served a copy of the foregoing pleading

on counsel for all parties to this proceeding by facsimile, by electronic mail, by hand delivery or

by mailing the same by United States mail, properly addressed and first class postage prepaid.




                                                     _______________________________
                                                                 Jean-Michel Lecointre




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                                     GENERAL INSTRUCTIONS

        With respect to all questions, all information is to be divulged which is within the

knowledge, possession or control of the corporation or company to whom these requests are

addressed, as well as the corporation or company's attorneys, investigators, agents, employees or

other representatives. If you cannot answer the following requests in full after exercising due

diligence to secure the full information to do so, then state and answer to the fullest extent possible,

specifying your inability to answer the remainder, stating whatever information or knowledge you

have concerning the unanswered portion and detailing what you did in attempting to acquire the

information.

        A.      Please produce all documents and tangible things as they are kept in the usual

course of business or organize and label them to correspond with the categories or numbered

requests in this set of discovery.

        B.      If any information or material is being withheld under any claim of privilege,

protection, or immunity, please state with specificity the particular privilege, protection, or

immunity asserted.

        C.      If Defendant cannot produce requested information or material because it is not in

Defendant’s possession, custody, or control, please identify the information or material, the reason

the information or material is not in Defendant’s possession, custody, or control, and the entity

currently having possession, custody, or control over the information or material.

        D.      When providing a date, please provide the exact day, month, and year. If the exact

date is not known, please provide the best approximation of the date and clearly note that the date

is an approximation.

        E.      If responsive material is in electronic, magnetic, or digital form, Plaintiff

specifically requests production of such material. Plaintiff requests such material be provided on

CD-ROM.

        F.      In the event a proper and timely objection is filed as to any requested material,

please nevertheless respond to all portions of the request which do not fall within the scope of the

objection. For example, if a request is objected to on the grounds that it is too broad insofar as it

seeks documents covering years Defendant believes are not relevant to this litigation, please

nevertheless produce documents for all years which Defendant concedes are relevant.




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                                   GENERAL DEFINITIONS

        A.      “Defendant,” as used herein, means the entity answering these discovery requests

and any of its merged, consolidated, or acquired predecessors, divisions, joint ventures,

subsidiaries, foreign subsidiaries, foreign subsidiaries of predecessors, parent companies, sister

companies. This definition includes present and former officers, directors, agents, employees, and

all other persons acting or purporting to act on behalf of Defendant, its predecessors, subsidiaries,

and/or affiliates.

                i.     “Predecessors” further means any entity, whether or not incorporated,
                       which had all or some of its assets purchased by Defendant or came to be
                       acquired by Defendant whether by merger, consolidation, or other means.

                ii.    “Subsidiaries” further means any entity, whether or not incorporated, which
                       is or was in any way owned or controlled, in whole or in part by Defendant
                       or its predecessors.

        B.      “Related company” as used herein means any entity in which the named defendant

has or had an interest and which does or has specified, assembled, manufactured, sold, distributed,

installed, removed, repaired, and/or brokered asbestos-containing material.

        C.      “Asbestos-containing material” and/or “asbestos-containing product” as used

herein means raw or processed asbestos and any product which included any form of asbestos as

any part of its composition or ingredients including but not limited to friction material, brake

pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or clutch

components, gaskets, gasket material, engines, axles, tractors, and/or trailers; and/or,

equipment or machinery in or on which an asbestos-containing material as defined above was

incorporated, added, utilized or applied prior to being sold, distributed or installed by defendant.

This term shall also refer to equipment that was originally sold with asbestos-containing material,

and / or has specifications that require asbestos or an asbestos-containing material and equipment

whose manufacturer anticipates or should anticipate the use of asbestos or an asbestos-containing

material in its practical, foreseeable, and/or proper use.

        D.      “Documents”, as used herein, include, without limitation, books, records, notes,

letters, correspondence, memoranda, writings, invoices, purchase orders, contracts, sales ledgers,

recordings, journals or books of account, in possession or control of Defendant or Defendant's

attorneys, investigators, agents, or employees. Such reference to documents includes originals and

copies, microfilms and transcripts made, recorded, produced or reproduced by any means.

"Documents" also includes the content of any applicable computer database.



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       E.      Where used with respect to documents, “identify” means to give the date, title,

origin, author and addressee of the document and the name, address, position or title of the person

who has custody of the document. Whenever identification is requested and Defendant is willing

to produce the documents voluntarily, Defendant may respond by attaching a copy of the

responsive document to the answers to these requests.

       F.      Where used with respect to a person, "identify" means to give the person's name,

employer, title or position with that employer, and business address and last known home address

if the person is no longer so employed. If the person identified is, or has been, an employee,

officer, director or agent of Defendant, also state the period of time during which he/she has been

employed by Defendant, and all positions, titles or jobs that person has held with the Defendant

and the years each position was held.

       G.      The terms, “trade organization” and “trade association,” mean any organization or

association of business, industrial, or governmental entities that were associated and/or met for the

purpose of achieving common goals, exchanging or disseminating information related to common

needs or interests, and/or learning information or facts of interest to the various members of the

organization or association.

       H.      The terms, “plant” and “facility,” mean any location where materials are refined,

converted, chemically altered, changed, assembled, manufactured, constructed, or fabricated as

well as locations where products are fabricated, assembled, or manufactured or prepared for further

fabrication or assembly. This definition also includes office spaces, storage spaces, control rooms,

undeveloped land, and similar areas within the larger plant or facility.

       I.      The term, “manufacture,” means to fabricate, construct, assemble, prepare for

fabrication or assembly, or take any other action prior to completion of a product or material.

       J.      The terms, “medical department,” “safety department,” and “industrial hygiene

department,” mean an individual or a group of individuals working for Defendant, either directly

or in a contractual capacity, whose purpose was or is to provide guidance, assistance, or advice

concerning any aspect of medical health including, but not limited to, the safety of Defendant's

workers and the safety of individuals using or exposed to asbestos or asbestos-containing products.

       K.      The term, “hazards of asbestos,” means any potential or actual asbestos-related

injury, effect, damage, scarring, wound, impairment, or disability of any part of human or non-

human anatomy including, but not limited to, the lungs and associated tissue.



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         L.    The term, “test,” includes, but is not limited to, studies of atmospheric dust samples,

studies of the concentration of asbestos in airborne test samples, studies of the lung conditions of

workers (by x-ray or other means), pulmonary function studies of workers, animal studies,

pathological studies, industrial hygiene studies, risk assessment studies, cost-benefit analyses, and

any other studies concerning health and safety.

         M.    The term, “communication,” means any transmission or exchange of information,

whether oral or written, and whether face to face, by telephone, mail, fax, personal delivery,

electronic means, or otherwise.

         N.    “Premises,” means:

               i.      Real property, as well as any structures or other improvements located on
                       the property; and,

               ii.     A ship or other floating vehicle, vessel, or structure.

         O.    As used herein, “locations and recipients at issue” if and where specifically used

means:

               i.      Port of New Orleans;
               ii.     Puerto Rico Marine Management;
               iii.    Great Dane;
               iv.     Kelsey Hayes;
               v.      Lufkin;
               vi.     Strick;
               vii.    Utility Trailer; and / or,
               viii.   Wilson Trailer.

         P.    The terms, “abate” and “abatement,” mean any removal and/or cleanup of asbestos-

containing products on a premises.

         Q.    The term, “utilize,” when referring to asbestos-containing products and/or asbestos

job site(s) means to install, inspect, apply, maintain, repair, replace, or remove.

         R.    The definitions stated above shall also apply to other grammatical forms of the word

defined, such as singular and plural, masculine and feminine, and various verb tenses.

                                  FIRST INTERROGATORIES

INTERROGATORY NO. 1:                   Identify all sources of information relied upon in formulating

defendant’s responses to these interrogatories (providing a privilege log if necessary), including

records or documents reviewed, records or documents determined to have been destroyed,

document retention policies, persons providing information and/or overseeing the process, and the

person verifying the answers.

         ANSWER:



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INTERROGATORY NO. 2:                    Please identify each and every product and/or material—

regardless of whether Defendant knows it contained asbestos—Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982.

       ANSWER:

INTERROGATORY NO. 3:                    For each product and / or material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and entities at issue (as defined

above), at any point in time prior to the end of the year 1982, please state whether Defendant knows

or has reason to believe said product and / or material contained asbestos. If so, for each asbestos-

containing material, please identify:

       a.      The trade name or brand name of the same;

       b.      The type, brand name and percentage of asbestos contained in the material,
               including any changes over time (and/or the elimination of asbestos in the material);

       c.      Each and every source (including manufacturers and distributors) from which
               Defendant and/or any predecessor/related entity obtained each such material;

       d.      The date said product / material was placed on the market, and the inclusive dates
               of its manufacture, sale, and distribution;

       e.      A detailed description of said product / material, including a description of how and
               why it involved the use of asbestos or asbestos-containing products;

       f.      The date Defendant stopped manufacturing, marketing, selling, and/or distributing
               said product / material;

       g.      If applicable, the date said product / material was removed from the market and no
               longer sold or distributed and the reasons therefore;

       h.      The date, if ever, Defendant asbestos no longer utilized asbestos or asbestos-
               containing material in said product / material, and the reasons for no longer doing
               so;

       i.      Whether Defendant ever conducted any testing on asbestos-containing material to
               determine whether it posed any potential asbestos-related hazard to human or non-
               human health;

       j.      The plants or facilities where asbestos and /or asbestos-containing materials were
               manufactured, fabricated, and / or processed by Defendant;

       k.      Those likely to encounter said asbestos and / or asbestos-containing materials (such
               as mechanics); and,

       l.      A description of any hazard communications Defendant placed on asbestos-
               containing materials or its packaging, operating manuals, brochures, catalogs, or
               other related printed material. This description should include the precise language


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               of any such hazard communication, the size of the hazard communication, the
               location on the asbestos-containing material or its packaging where the hazard
               communication was printed, and when the hazard communication was first placed
               on said asbestos-containing material.

       ANSWER:

INTERROGATORY NO. 4:                      Please identify any and all prior claim(s) alleging lung

diseases or death from lung disease, whether directly or indirectly attributed to asbestosis,

mesothelioma, lung cancer, or exposure to asbestos-containing material as defined above, alleging

exposure to asbestos-containing materials allegedly manufactured, sold, distributed, specified,

applied, and / or installed in whole or part by Defendant and / or any predecessor / related entity,

specifically including but not limited to those Defendant and/or any predecessor/related entity

applied, installed, removed and / or replaced in whole or part to/for/at any of the locations and

recipients at issue (as defined above).

       ANSWER:

INTERROGATORY NO. 5:                      Please identify each and every policy, procedure, step,

hazard communication, purported warning, and/or program undertaken, implemented, discussed

and/or contemplated by Defendant and/or any predecessor/related entity intended to protect any

person or persons (including, but not limited to, employees, product end-users and/or by-standers)

in any way from exposure to asbestos, asbestos-containing materials and / or dust therefrom.

       ANSWER:

INTERROGATORY NO. 6:                      Please identify any and all tests of any kind (e.g., air

sampling, laboratory experiments, industrial hygiene surveys, fiber release studies, etc.)

concerning possible or potential health hazards involved in the use or manipulation of, or exposure

to, asbestos-containing materials or ingredients contained therein (including contaminants such as,

for example, tremolite or chrysotile asbestos in talc) conducted b Defendant, any predecessor or

related company, or any person or entity acting on behalf thereof including but not limited to any

insurance company.

       ANSWER:

INTERROGATORY NO. 7:                      Please identify any and all persons or entities that provided

industrial hygiene or similar services or information to, or for the benefit of, Defendant, at any

time from 1925 to date, including, but not limited to, employees of, or anyone retained by, any

predecessor or related company.

       ANSWER:


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   Case 2:21-cv-00216-NJB-DMD Document 1-2 Filed 02/02/21 Page 348 of 565




INTERROGATORY NO. 8:                   Please describe Defendant’s medical, safety, and industrial

hygiene programs from the Defendant’s inception through the current time, specifically including

but not limited to the date when said department / program was first established and identifying

persons associated with the department (including but not limited to directors, managers,

physicians, nurses, medical personnel, safety engineers, industrial hygienists, and safety

personnel).

       ANSWER:

INTERROGATORY NO. 9:                   Please describe when (approximating if necessary) any

officer, director, and / or employee of Defendant, any predecessor(s) or related company first had

knowledge, information, or belief that exposure to asbestos could have a detrimental effect on

health and how such person obtained such knowledge, information or belief.

       ANSWER:

INTERROGATORY NO. 10:                  Please identify any and all trade organizations, associations,

or other entities to which Defendant, any predecessor or any related company (including any

officers, agents and/or employees thereof) has belonged or in which the same has participated since

1925, including dates of membership and/or participation and a description of each such officer,

agent and/or employee’s involvement with each such organization (e.g., general member, officer

or official of the organization, member of a committee or subcommittee, chair of any committee

or subcommittee, etc.).

       ANSWER:

INTERROGATORY NO. 11:                  Identify any and all periodicals—including but not limited

to scientific, medical and trade periodicals, and corporate newsletters/publications, bulletins, and

notices—that Defendant and/or any predecessor/related entity, employee or agent thereof

subscribed to, received, published, authored, or distributed from 1925 to the present and for each

periodical state the dates of such subscriptions, receipt, publication, authorship, or distribution.

       ANSWER:

INTERROGATORY NO. 12:                  Please identify each of Defendant’s employees, former

employees, or representatives who attended any proceeding, symposium, or conference of a

scientific, medical, or technical nature during which information relating to the hazards of asbestos

or nuisance dust in general was discussed, disseminated, or in any way published (e.g., the effects

of human or nonhuman exposure to asbestos, populations at risk, etc.). For each such person


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identified in the response to this Interrogatory, please also list the proceeding, symposium, or

conference the person attended; provide the date and location of the proceeding, symposium, or

conference; provide the identity of the person within Defendant’s organization who received or

was designated to receive the attending person’s report of the information gathered at such

proceeding, symposium, or conference; and describe the manner in which such reports were made.

       ANSWER:

INTERROGATORY NO. 13:                 Please describe Defendant’s complete corporate history,

including its ownership, sale, acquisition, divestiture, and any mergers, acquisitions,

consolidations, or other similar events involving Defendant at any time during its history.

       ANSWER:

INTERROGATORY NO. 14:                 Please identify any and all communications, including but

not limited to investigations and / or citations, between defendant and OSHA or any other local,

state, or federal governmental agency for any matter related to asbestos and / or asbestos exposure.

       ANSWER:

INTERROGATORY NO. 15:                 If Defendant has asserted any affirmative defenses,

avoidances, theories of alternate causation (including but not limited to sole proximate cause), and

/ or exceptions in this case, please provide a short and plain statement of the facts Defendant

contends support each such defense, avoidance, theory of alternate causation and / or exception.

       ANSWER:

INTERROGATORY NO. 16:                 Please identify by case name, docket number, court and date

filed any proceeding(s) of any nature whatsoever (specifically including but not limited to civil,

adjudicatory, or arbitration) filed by you against your insurer(s) for reimbursement and/or coverage

dispute of any legal fees, costs, expenses and/or judgment(s) related to and/or arising from any

asbestos-related claim(s) or lawsuit(s) filed against you.

       ANSWER:

INTERROGATORY NO. 17:                 Please identify any and all policies of insurance which may

provide coverage for this Defendant, its executive officers, any predecessor or related companies,

against the claims asserted in Plaintiff’s complaint, specifically including but not limited to

Commercial General Liability (“CGL”) policies, Workers’ Compensation / Employers’ Liability

(“WC/EL”) policies, Excess policies, and Umbrella policies.

       ANSWER:



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INTERROGATORY NO. 18:                 Please state all facts in support of defendant’s contention, if

it so contends, that it was not foreseeable that asbestos-containing material Defendant and/or any

predecessor/related entity manufactured, sold, distributed, specified, applied, installed, removed

and / or replaced in whole or part to/for/at any of the locations and recipients at issue (as defined

above) would be removed, replaced, and / or otherwise disturbed.

        ANSWER:

INTERROGATORY NO. 19:                 Please identify defendant’s employees and executive

officers with responsibility for the selection / specification of asbestos-containing materials in

friction material, brake pads, brake blocks, brake shoes, brake drums, brake discs, clutches and/or

clutch components, gaskets, gasket material, engines, axles, tractors, and/or trailers specified,

assembled, manufactured, sold, distributed, installed, removed, repaired, and/or brokered by

Defendant, any predecessor and/or related entity at any point in time prior to the end of the year

1982.

        ANSWER:

        Dated: December 24, 2020                                 Respectfully Submitted,     .




                                              By:
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              Expert Report of James R. Millette, Ph.D., D-IBFES

In the matter Carolyn Brindell (John Brindell, dec.), et al. v. Carlisle Industrial
Brake and Friction, Inc., et al., In Civil District court for the Parish of Orleans,
Louisiana. No. 2019-09716, Section 8, Division “N”

A. Introduction

   1. I was asked by the Law Offices of Simmons, Hanly, Conroy to prepare an
      expert report concerning my opinions about asbestos fiber release from
      work with friction products in the above listed case involving John Brindell.

B. Qualifications and Foundation

   2. I am an environmental scientist and Board certified in forensic engineering
      sciences specializing in environmental / industrial hygiene exposure /
      particle and material science since 1972, primarily using electron
      microscopy techniques.       Material science is used to analyze and
      determine the properties of different materials.

   3. I am currently a Senior Scientist at Millette Technical Consulting in Lilburn,
      GA. I hold a B.S. in Physics from the University of Dayton in Dayton, Ohio
      (1973); an M.En. in Environmental Science from Miami University in
      Oxford, Ohio (1975); and a Ph.D. in Environmental Science from the
      University of Cincinnati, School of Engineering in Cincinnati, Ohio (1983).

   4. My research includes 11 years as a research scientist at the U.S.
      Environmental Protection Agency Research Center in Cincinnati, Ohio, as
      well as 5 years at McCrone Environmental Services performing and
      supervising analysis of particulates and product constituent analysis by
      microscopic techniques. More than 60 of my publications have appeared
      in a number of journals including Scanning Electron Microscopy, Journal of
      the American Water Works Association, Environmental Health
      Perspectives, Archives of Environmental Contamination and Toxicology,
      Science of the Total Environment, Journal of Analytical Toxicology,
      Electron Microscopy, and The Microscope. I have written chapters and
      books on the subject of asbestos analysis1-3. Additionally, reports of my
      scientific work have been presented at numerous national and
      international meetings. My resume which includes a list of my publications
      is attached in Appendix A.

   5. I have testified in a number of court cases, both by deposition and at trial,
      concerning the matters of environmental science, microscopy of asbestos
      fibers, asbestos fiber release from asbestos-containing products and
      exposure to people from those releases. A list of the cases in which I have
      testified, either by deposition or at trial within the last four years, is

                                            1


                                                                                       EXHIBIT X
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     attached as Appendix B. My compensation rates are given in Appendix C.

  6. I have conducted extensive research and testing on asbestos content of
     products including but not limited to friction products.

  7. I have also conducted extensive research and testing on the potential for
     fiber release from the ordinary and intended uses and manipulation of
     asbestos products including but not limited to friction products. I have also
     reviewed some corporate documents, as well as various government
     reports, which discuss the fiber release from products including friction
     products.

C. Materials Reviewed

  8. I have reviewed the following case specific material and have relied upon
     this in formulating my opinions in this case:

      a.   Transcript of the deposition of Keith J. Poleto Vol. 1 – February 19, 2020
      b.   Transcript of the deposition of Keith J. Poleto Vol. 2 – February 20, 2019
      c.   Plaintiff‟s Responses to Master Interrogatories – December 20, 2019
      d.   John Brindell Exposure History (2 page summary)
      e.   Affidavit of Raymond Kain, April 19, 2020

  9. I also reviewed reports of studies done by MVA Scientific Consultants and the
     relevant published scientific literature concerning asbestos friction products. A
     list of materials that I have reviewed concerning asbestos-containing friction
     products can be found under the heading: Articles, Reports, Corporate Memos,
     etc. Copies of the asbestos-containing friction related documents can be
     supplied upon request.

D. John Brindell’s Exposure to Asbestos from Asbestos-Containing
Friction Products

  10. According to the information received, Mr. John Brindell worked for Puerto
      Rico Marine Management Inc.(PRMMI) in the Port of New Orleans
      between approximately 1976 and 1981. As described in the deposition of
      Keith Poleto, a co-worker of John Brindell‟s, John was the supervisor for
      Mr. Poleto, who started in 1979 as a mechanic doing maintenance for 18
      wheel trailers. Mr. Brindell did some teaching of Poleto on how to perform
      maintenance work on the semi-trailers. Poleto remembered that Mr.
      Brindell did help the mechanics when they were in a bind, but not too
      often.

  11. Trucks came into the terminal in New Orleans, and containers were
      transferred to ships that went directly to Puerto Rico. The terminal held
      about 3,000 trucks with trailers. There was a Front shop and a rear shop

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     and a mechanic shop for the yard trucks. Mr. Poleto‟s best estimate was
     that 1,000 trailers had brake work done each year at Puerto Rico Marine.

  12. The Front maintenance shop where Mr. Poleto worked contained 4 bays
      and each bay had 2 mechanics. Poleto did brake inspections and brake
      jobs on the tandem axle on the trailers. After brake inspection, 40-50% of
      the time you had to change the drum. There were 4 brake shoes per each
      axle.

  13. Poleto and other mechanics did brake jobs approximately 70-75% of their
      work. They all followed essentially the same procedures that included
      blowing brake systems off with an air hose. Mr. Poleto testified that it took
      30 seconds to a minute to blow out a single drum. The dust went on the
      ground, in air, all over. He also blew off new brakes before reassembling.
      Often, a couple of times a day, he would have to bevel the edges of the
      brake linings at 45 degrees with a grinder to get the pads to fit. Some days
      they would do 4 brake jobs in each bay, each a complete brake job, all 4
      wheels, both axles, 8 shoes. To do one complete axle took about an hour.
      The mechanics were responsible for cleaning up themselves. Mostly that
      involved sweeping.

  14. Because it was a closed in work area, Poleto said he believed everybody
      in that shop got „mega‟ exposed to brake dust, including Mr. Brindell, who
      was always in and out of the shop supervising. Poleto said, “Because not
      only what I'm doing, what the guy next to me is doing and the guy next to
      that and the guy next to that, so you was constantly in that dust.”

  15. According to the Poleto deposition, Mr. Brindell was often 4-5 feet away
      from Poleto while Poleto performed brake work including blowing off drums
      with 120 psi compressed air. Mr. Poleto also blew himself off with
      compressed air. Mr. Poleto had a fan in the bay that he positioned to blow
      on himself and sometimes tried to get it to blow the dust away from
      himself. Sometimes it blew away from Brindell; sometimes toward Brindell.

  16. Poleto recalled that he worked on Carlisle brake materials (most common)
      as well as Abex and Bendix. The brake linings that he worked with were as
      wide as a book – 8, 10 inches. They were about 4 times bigger than a car
      brake. The liner (pad) was ¾ to 1 inch thick. (According to Mr. Poleto,
      some people say pad, some people say liner. Same thing.)

  17. He recalled working on Eaton axles and some Rockwell, and Dayton
      axles. There were a lot of Fruehauf trailers, as well as some Strick, Great
      Dane, Utility, Wilson, Trailmobile, and Lufkin trailers that he recalled
      working on. Poleto said that removing brake shoes from Eaton axles (and
      those of other brands) was done the same way as brake jobs in general.
      Mr. Poleto said, “A brake job is a brake job no matter whose equipment

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     you are using. They are all the same.” He used the same tools and
     methods regardless of brand name.

  18. Brindell spent about 50% of time in his office. The majority of the other
      time was spent in the Front shop where Poleto worked. Although Puerto
      Rico Marine Management provided uniforms to shop employees, Mr.
      Brindell did not wear a uniform. He generally wore a white shirt, slacks and
      a tie when he was in the working bay areas. Brindell used to complain
      because Poleto and other mechanics used to get his white shirt dirty. He
      never wore a mask.


   E. Friction Products

  19. Friction materials such as brake linings and clutches often contained
      chrysotile asbestos as a component in the past. Using acid/base digestion
      procedures4-6, small amounts of amphibole asbestos (primarily tremolite)
      have also been found in brake products and a clutch (Table 1).

   F. Encapsulation and Releasable Fibers in Brakes and Clutches

  20. The question of whether or not all asbestos fibers are completely bound or
      encapsulated in friction material is one that I have studied by microscopy.
      A close examination of the surfaces of unused brakes and clutches
      showed that although most of the asbestos is indeed bound within a
      binder, uncoated asbestos fibers were present on the surface and on the
      edges that would be released as free fibers with mild abrasion. Additional
      work examining friction products from a number of manufacturers including
      Abex, Bendix and Fruehauf showed similar results. On the surface,
      asbestos fibers are uncoated and protruding from the friction product
      surface (For examples see Figures 2 and 5). The asbestos fibers are
      available to be released into the air upon rubbing or abrasion.

  21. It is well established that asbestos fibers released during brake servicing
      including blow-outs with compressed air, sanding, filing and grinding can
      cause high exposures7-23. Studies I conducted at MVA Scientific
      Consultants have shown that asbestos fibers are released into the
      breathing zone of the worker while sanding and filing brakes (Tables 2a,
      2b, and 2c). Sweeping up of brake dust also exposes the worker to
      asbestos fibers (Table 2b and 2c). Indirect exposure (in the proximity to
      others performing work) can result in asbestos exposures to the person
      who observes the work (bystander). In the absence of measured values at
      specific distances, the rule of thumb determined by Donovan, 201124, is
      useful for approximating exposures; namely: for bystanders in the range of
      1-5 feet from the person performing the work (source), airborne asbestos
      concentrations can be roughly approximated at 50% of the source

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     concentration; 35% at >5-10 feet, 10% for >10-30 feet, and less than 1%
     at distances greater than 30 feet.

  22. There is evidence that handling of boxes in which friction parts are shipped
      can expose a worker to asbestos fibers because the handling and shipping
      of new brakes can release asbestos fibers into the shipping boxes. I have
      personally tested the dust within a box containing brake components and
      found it to contain approximately 21 million asbestos fibersF-2.

  23. A letter from Rockwell International, Highway Brake Div., of October 26,
      1977 to Abex Corp25 complained about shipments of Abex brake linings
      from a Salisbury plant having excessive asbestos dust. The letter stated:
      “Our people indicated each box on this shipment contained approximately
      one cup of dust.”

  24. In an internal Ford memo (1 October 1984) from P.A. Brogan to Mr. E.C.
      Koops, Manager, Sterling Plant concerning an “Industrial Hygiene Survey
      of Asbestos Fiber Exposure at Conveyor Loading of Brake Assembly”26, it
      was stated that asbestos fibers were present on the cardboard packing
      separators when the brake shoes contain asbestos. Laboratory analysis of
      one sample of the box dust from another plant showed a level of 23%
      chrysotile asbestos. The memo concluded that, in light of present
      knowledge, the best control of asbestos is its eventual complete removal
      or absolute containment. The memo also recommended that all cardboard
      separators be returned to the supplier as soon as possible to prevent their
      reuse within the plant because now the cardboard is used for other
      purposes after the assemblies have been removed. The memo concluded
      that this practice potentially exposes others to asbestos fibers.

  25. Handling and shipping of new friction products can release asbestos fibers
      into the shipping boxes, and handling the boxes can expose a worker to
      asbestos fibers. Ford Company inter-office memos from the 1970s and
      1980s show concern for exposure to asbestos dust from clutches while
      they were handled. One 1978 analysis27 of the dust in prefabricated clutch
      assembly boxes found a level of asbestos of less than or equal to 1%
      while dust associated with clutches in another Ford facility (also 1978)
      showed a level of 3-5% chrysotile asbestos28. In 1979, an analysis of
      dust29-31 from clutch plates (discs) showed a level of 14-15% chrysotile
      asbestos.

  26. A 1978 study32 of an employee during clutch disc unpacking at a Ford
      facility revealed an exposure to the employee of a time-weighted average
      (TWA) level of 0.14 F/cc – in excess of then current corporate guidelines
      requiring medical monitoring. A 1979 Ford study33 showed breathing zone
      samples of one employee involved with clutch assembly to be at levels of
      0.04 - 0.5 F/cc with time-weighted averages (TWA) of 0.03 – 0.45 F/cc.

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     Another 1979 study34 at a different Ford facility showed that an employee
     who unpacked pressure plates and opened clutch plate boxes had
     exposure levels 0.05 - 0.3 F/cc with a time-weighted average (TWA) of
     0.14 F/cc. The same study found that a person who disposed of clutch
     boxes had a level of 0.18 F/cc.

  27. A Ford Inter-office Memo of October 24, 198335 reported that “It has been
      our experience that excess asbestos fibers can be present in air if clutches
      are carelessly packed at the supplier causing fiber shedding during transit,
      and employees throw the shipping boxes while unloading the clutches.
      This problem can be handled by insisting the supplier carefully package
      the clutches in clean boxes with a flypaper type lining of the box and
      between clutches.” A Ford Inter-office memo from 198236 reported that
      Raybestos was at that time supplying clutch plates wrapped in sticky paper
      to cut down on dust. The same memo of March 18, 198236 also stated that
      “This is Company policy when dealing with asbestos, a known carcinogen,
      in which no safe limit or threshold exposure is known and an employe (sic)
      exposure exceeds 0.1 f/cc… that the employee receives annual medical
      exams.”

  28. While it is theoretically possible, there is simply no conclusive scientific
      evidence that chrysotile converts to forsterite in brake wear to any great
      degree37-46. This is consistent with the 2005 statement of OSHA by Dan
      Crane39: “Contrary to many reports, the braking process does not „convert‟
      fibers to forsterite. This misconception is based on some unfounded
      speculation in several early reports which did not actually identify forsterite
      as a decomposition product in the brake shoe dust.” The concentration of
      asbestos in brake wear dust, in terms of asbestos fibers, has been
      reported to be as high as in the trillions of fibers per gram and is certainly
      in the millions or billions of asbestos fibers per gram F-50,47,48,49. In addition
      to the asbestos fibers in the brake wear dust, asbestos fibers protruding
      from the surfaces of brake linings contribute to the airborne concentration
      when the brake area is blown out with compressed air. These fibers may
      not have had any direct contact with the braking process. Although thermal
      degradation reduces some chrysotile asbestos to particles that are no
      longer fibers and some amorphous fibers may be produced, the airborne
      population of fibers are primarily chrysotile fibers without substantial
      alteration in morphology, chemical composition, or crystal structure.

   G. Re-suspension of Settled Asbestos Fibers

  29. It is my opinion that asbestos fibers are released into the air from handling
      asbestos-containing friction products and their boxes. Some of the fibers
      settle out on surfaces, including clothing. The asbestos fibers settling on
      clothing may be re-suspended into the air during handling and cleaning


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     activities, including blowing with compressed air, blowing with a fan, and
     sweeping.

  30. The US Environmental Protection Agency considers the resuspension of
      asbestos fibers to be one of the main sources of potential exposure. A
      discussion of the topic of resuspension of settled dust containing asbestos
      and data from the scientific literature on the subject can be found in a book
      I co-authored in 199450. I have personally studied the question of asbestos
      fiber release from contaminated clothing. In two MVA studies, I found that
      airborne asbestos fibers are released from asbestos-contaminated clothing
      while being handled and put into a container like a washing machineF-39,F-
      40,GP-1,GP-2
                  . The amount put into the air can be significantly above
      background. In the MVA studies, I found levels in the air between 0.3 and
      2 F/cc. A 1977 study51 of handling asbestos-contaminated clothing and
      putting them in a washing machine by Dr. Sawyer of Yale University
      showed a level of 0.4 F/cc, within the range that I found. A 1970 UK
      study52 showed that asbestos fibers could be released from a
      contaminated laboratory coat (0.5 – 2.4 F/cc). The study also showed that
      asbestos fibers were being resuspended during sweeping and brushing of
      settled dust containing asbestos (7 – 53 F/cc). Using a test chamber
      similar to what I used, a 1972 NIOSH study, in which asbestos-
      contaminated burlap bags were shaken, found significantly high levels of
      asbestos (over 100 F/cc) were released into the air53.

   H. Opinions about Mr. John Brindell’s Exposure to Asbestos from
      Friction Products

  31. Based upon my education, training and experience, as well as my review
      of the materials listed above, it is my expert opinion to a reasonable
      degree of scientific certainty that Mr. John Brindell‟s work with and being in
      the presence of others working with asbestos-containing brakes involving
      handling, beveling or grinding, blowing with compressed air and clean-up
      activities while at Puerto Rico Marine Management Inc., more likely than
      not exposed him to respirable asbestos fibers at levels significantly above
      ambient levels. He was also exposed to asbestos from the resuspension of
      dust that accumulated on his clothing and in the boxes in which the friction
      products were received. It is my opinion that Mr. John Brindell, when he
      was around others while they worked with asbestos friction products, was
      exposed to varying levels of asbestos fibers in his breathing zone during
      his work. These exposures varied from day to day at about 35% of the
      ranges described in Tables 2a, 2b, and 2c, depending on the specific
      activities which he was around while others performed their work.

   I. Basis of Opinions




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  32. My opinions are based on my education and experience as well as the
      research reports by MVA Scientific Consultants and other documents
      listed in this expert report and its Appendixes. All of my opinions are to a
      reasonable degree of scientific certainty unless otherwise stated. I reserve
      the right to supplement or amend my opinions if additional information is
      provided about this case.

  33. My opinions are all given to a reasonable degree of scientific certainty.
      They are all based on my education and experience as well as the
      research reports by MVA Scientific Consultants and other documents
      listed in this expert report. I reserve the right to supplement or amend my
      opinions if additional information is provided about this case.




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                                         11 January, 2021




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                   Information Cited and/or Considered
                   (Copies can be provided upon request)

MVA Reports related to Friction
F-1. MVA 1810 Fiber Release Ford, Bendix 01/29/97
F-2. MVA 5744 Fiber Release Friction Product Box 11/03/03
F-3. MVA 7040 Fiber Release During the Sanding of Brakes (Bendix), 09/26/08
F-4. MVA 7040 Ford&Delco Bulk 10/10/08
F-5. MVA 7040 Used Brake Bulk 10/09/08
F-6. MVA 7275 Honda Bulk 12/10/07
F-7. MVA 7293 Wizard Bulk 12/14/07
F-8. MVA 7293 Supplemental Wizard Bulk 02/19/08
F-9. MVA 7380 Ford Bulk 02/19/08
F-10. MVA 7380 Chrysler Bulk 02/19/08
F-11. MVA 7380 GM Bulk 02/19/08
F-12. MVA 7385 Western Auto for VW Bulk 02/06/08
F-13. MVA 7585 Mercedes Bulk 09/03/08
F-14. MVA 7620 Girling Bulk 11/19/08
F-15. MVA 7621 Bendix Bulk 09/16/09
F-16. MVA 7651 Girling Bulk 12/15/08
F-17. MVA 7746 Abex Bulk 02/11/09
F-18. MVA 7811 CraneClutch Bulk 03/30/09
F-19. MVA 7921 Release Beveling Carlisle Truck Brakes (Rev) 09/03/09
F-20. MVA 8041 Wizard Bulk 11/13/09
F-21. MVA 8219 Grizzly Bulk 10/22/10
F-22. MVA 8219 Release Grizzly Brake Shoes 11/09/10
F-23. MVA 8219 Bendix Bulk 10/22/10
F-24. MVA 8219 Report including Borg Warner “Borg & Beck” Clutch Plate Bulk
10/01/10
F-25. MVA 8219 Borg Warner Clutch Bulk 07/20/12
F-26. MVA 8322 Rayloc Bulk 04/13/10
F-27. MVA 8322 Carlisle Bulk 04/13/10
F-28. MVA 8348 Ford Truck Brake Bulk 06/29/10
F-29. MVA 8473 Release Caterpillar Brake Band 07/30/10
F-30. MVA 8473 Caterpillar Bulk 08/18/10
F-31. MVA 8680 GrandPro Brakes Bulk 01/26/11
F-32. MVA 8680 VW Bulk 01/26/11
F-33. MVA 8706 Dodge Truck Brakes Bulk 02/27/11
F-34. MVA 8706 Pronto Brakes Bulk 03/04/11
F-35. MVA 8706 Wagner Brakes 03/01/11 Rev1 Bulk 03/04/11
F-36. MVA 8706 Unknown Brake shoe Bulk 03/01/11
F-37. MVA 8746 Clark forklift brake Bulk 03/15/11

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F-38. MVA 8768 Toyota Truck Bulk 03/23/11
F-39. MVA 8872 Release Sanding Paver Brake and Resusp Washing 06/03/11
F-40. MVA 8872 Release Sanding Paver Brake & Resusp Wash Supplement
06/27/11
F-41. MVA 8979 VW Bulk 09/16/11
F-42. MVA 8979 VW Set 2 Bulk 11/03/11
F-43. MVA 9224 Bendix Bulk 05/11/12
F-44. MVA 9238 Tru Star Bulk 05/15/12
F-45. MVA 9314 CarQuest Bulk 09/06/12
F-46. MVA 9615 Ford Bendix Delco Bulk 03/22/13
F-47. MVA 9615 Delco Supplemental Bulk 04/04/13
F-48. MVA 9827 Release Brake Removal (1975 Toyota) 07/05/13
F-49. MVA 9827 Release Chamfering a Toyota Brake 07/05/13
F-50. MVA 9827 Release Brake Removal (1975 Toyota) Supplemental
08/16/2013
F-51. MVA 9867 Toyota 1 Bulk 12/10/13
F-52. MVA 9867 Toyota 2 Bulk 12/19/13
F-53. MVA10494 Release Sanding Ford (BX) Brakes 07/31/14
F-54. MVA 10494 Ford Brake Linings BX-PM-FE and BX-RY-RE Bulk 08/08/14.
F-55. MVA 10720 Truck Brake AIMCO Canada Bulk 02/13/15
F-56. MVA 11845 Mighty Brakes Bulk 07/07/17
F-57.MVA 10529 Examination of Fruehauf Heavy Duty Brake Linings for
Asbestos 07/31/14
F-58.MVA 10529 Examination of Fruehauf Heavy Duty Brake Linings for
Asbestos 08/15/14 (includes additional TEM data)
F-59. MVA 10653 Asbestos Analysis of Rayloc Disc Brakes10/28/14


MVA Reports Related to Resuspension and Wash
F-39. MVA 8872 Release Sanding Paver Brake and Resusp Washing 06/03/11
F-40. MVA 8872 Release Sanding Paver Brake & Resusp Wash Supplement
06/27/11
GP-1. MVA 6553 Glovebox Release Contaminated Clothing Piece 03/24/06.
GP-2. MVA 6553 Chamber Release Contaminated Clothing. 03/31/06.


Articles, Reports, Corporate Memos, etc.


   1.    Millette, J.R., “Asbestos Analysis Methods”, Chapter 2. In: Asbestos:
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         S.P. Hammar, Eds., CRC, Taylor & Francis, Boca Raton, Fl. pp:9-38,
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         Analysis. Lewis Publishers, Boca Raton, 1994.
   4.     J. Addison and L.S.T. Davies. ”Analysis of Amphibole Asbestos in
         Chrysotile and Other Minerals” Ann. Occup. Hyg. Vol. 34. No. 2. pp.
         159-175, 1990.
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   6.    ISO 22262-2
   7.    USEPA. Guidance for Preventing Asbestos Disease Among Auto
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   8.    USEPA. Controlling Brake Dust to Protect Your Health…What Every
         Auto Mechanic Should Know. EPA-560-OPTS-86-003 September
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         Table 1. Full Asbestos Content Results – Friction Products
                                                         PLM          TEM          TEM
                                                        Analysis     Analysis   Amphibole
                                                        Results      Results    Fibers per
                                                           %            %         gram
MVA#                Sample Information                 Chrysotile   Amphibole

(7040)-1810-G0922   Ford Brake SEC BX-DU-GF              50%        0.019%      240 million
                    Delco Brake Drum DELCO               50%        0.0004%     18 million
(7040)-4792-L1472   233 FE
7040-S0552          Bendix Brake Pads BDX 16,            50%        0.003%      12 million
7040-S0565AD        Bendix Brake Pads, BDX 16            50%        0.004%      21 million
7040-S0565EF        Unknown Brake Pads used             40-60%      0.0009%     15 million
7380-T0192          GM Brake Shoes                       25%        0.04%       330 million
7380-T0193a         Ford Brake Shoes Set 1               45%        0.01%       28 million
7380-T0193b         Ford Brake Shoes Set 2               40%        0.04%       730 million
7380- T0194         Chrysler Brake Shoes                 45%        0.004%      31 million
7621-T3145A         Bendix Brake                         30%        0.003%      17 million
7621-T3145B         Bendix Brake                         30%        0.009%      31 million
7746-U0030A         Abex Brake                           20%        0.00005%    540,000
7746-U0030B         Abex Brake                           20%        0.00015%    1 million
7921-U0912          Carlisle Brake lining               20-40%      0.0007%      10 million
8219-V1758          Bendix Brakes 175-71-8              30-50%      0.01%       239 million
8322-V0490          Carlisle Brake lining               30-40%         0.04%    480 million
                    Ford Truck Brake Lining, Tan                    0.001%      29 million
8348-V0582A         ME C3TA-2021-B                      40-50%
                    Ford Truck Brake Lining, Dark                   0.003%      21 million
                    Gray ME C3TA-2022-A
8348-V0582B         MVA8348 Rpt 06/29/10                45-55%
                    3” Brake, “Ford” label on top of                0.002%      23 million
9615- Y0094         lining (Exh TT18)                   25-45%
9615-Y0095          3” Brake, “Ford” label on top of                0.003%      16 million
                    lining, “Bendix-DO-ED” on side
                    (Exh TT19)                          25-45%
9615- Y0097         2 in Brake “NG-38-FE-                           0.03%       380 million
                    PR1_MD” on side of lining,
                    “Delco Moraine Made in USA”
                    stamped on shoe            40-60%
10494-Z1339B        Ford Brake Lining BX-PM-FE 25-35%   0.0005%       2 million
10494- Z1339C       Ford Brake Lining BX-RY-RE 25-35%   0.0006%       5 million
10529-Z1541-A       Fruehauf brake             20-40%   0.06%         340 million
10529-Z1541-E       Fruehauf brake             20-40%   0.04%         160 million
*PLM - Percent by volume, TEM – Percent by weight. Amphibole primarily
tremolite




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         Table 2a. Results of Friction Product Fiber Release Studies

Friction Activity                                    PCM* (F/cc)
Unboxing/Handling (Glovebag)F-2                     1.8
                     14
Dry Brush Cleaning                                  0.45
Dry Brush Cleaning8                                 0.1
Dry Brush Cleaning5                                 1.3-3.6
                                     16
Dry Brush Cleaning (with exhaust)                   0.09
Dry Brush/Rag Cleaning18                            0.61-0.81
                               18
Damp Brush/Rag Cleaning                             0.67-2.62
Water (Squirt Bottle) Cleaning18                    0.54
                F-48,F-49,F-50
Compressed Air                                      0.41
Compressed Air (Bystander)F-48,F-49,F-50            0.1
                13
Compressed Air                                      0.21-1.12 (0.68 TWA)
Compressed Air (By car/dust cloud)13                1.12-3.62 (1.25-2.55 TWA)
                14
Compressed Air                                      14.54
Compressed Air8                                     <0.1-8.2
Compressed Air (with exhaust)8                      <0.1-0.2
                                  16
Compressed Air (with exhaust)                       0.10
Compressed Air5                                     6.6-29.8
                            5
Compressed Air (5-10 ft)                            2.0-4.2
Compressed Air (10-20 ft)5                          0.4-4.8
                18
Compressed Air                                       0.14-15.00
Brake Cleaner/Compressed Air18                      0.25-0.68
Vacuuming, wiping, brushing, and/or compressed air14 0.03-0.18 TWA
Assembling of Brakes8                               <0.1-0.4
Dry Brushing8                                       0.1-4.5
Dry Brushing (with exhaust)16                       0.15
           8
Damp Cloth                                          1.1-3.3
Compressed Air (with exhaust)8                      0.2-3.0
                              16
Compressed Air (with exhaust)                       0.05
Compressed Air8                                     0.2-3.0
                                                  14
Vacuuming, wiping, brushing, and/or compressed air 0.05-1.68 TWA
Loosening Rivets from Brake Linings8                <0.1-1.6

*PCM (phase contrast microscopy) is a light microscope technique that counts
only the longer and thicker asbestos fibers (longer than 5 um and thicker than
0.25 um). PCM provides an index of asbestos exposure. Transmission electron
microscopy (TEM) can count all the asbestos fibers greater than 0.5 um in
length. Typically there are 5 to 100 times as many asbestos fibers counted by
TEM as by PCM.




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   Table 2b. Additional Results of Friction Product Fiber Release Studies

Friction Activity                                              PCM* (F/cc)
                F-1
Hand Sanding                                                   2.2
Hand SandingF-3                                                0.6-0.8
Hand SandingF-53                                               0.8
Power SandingF-3                                               0.9-1.0
Power Sanding16                                                0.13-0.29
Hand FilingF-1                                                 0.3
Hand Grinding (with exhaust)16                                 0.12
Machine Grinding (with exhaust)16                              0.06
Grinding Brake Drums8                                          0.5
Grinding Brake Disks8                                          <0.1-0.2
Hand Power GrindingF-1                                         8.5
Hand Filing (Chamfering Leading/Trailing Edges)13              <0.25
Rivet Operator14                                               3.41-4.47 TWA
Riveting16                                                     0.10
Punch Operator14                                               0.68-7.52 TWA
Punching Rivets into Brake Linings8                            0.1-3.5
Punching Rivets into Brake Linings5                            1.9-2.0
Rivet Removal with Hammer and PunchF-29                        0.17
Drilling Brake LiningF-29                                      0.24
Power Sanding with Compressed Air CleanupF-39,F-40             2.5-3.7
Grinding5                                                      1.7-7.0
Machine Grinding (Bench Grinder chamfer)F-22                   25
Machine Grinding (with exhaust)16                              0.39
Power Grinding (with exhaust)8                                 0.1-5.9
Power Grinding (Beveling)F-19                                  69-241
Power Grinding (Cutting)F-29                                   35-62
Power Grinding8                                                0.3-125
File Beveling8                                                 0.1-0.9
Beveling (grinding wheel or arcing machine)5                   23.7-72.0
Broom sweeping of area after sandingF-1                     1.7
                                      F-53
Broom sweeping of area after sanding                        2
Sweeping after grindingF-19                                 165
Sweeping floor of garage8                                   <0.1-1.7
Sweeping floor around grinder5                              3.6
Compressed Air after Hand FilingF-48                        <1.35-2.88
Compressed Air after Hand Filing (Bystander)F-49            6.98 (area)
Compressed Air after Rivet Removal and DrillingF-29         2.8-3.3
                                                    F-39,F-40
Clothes Handling for Laundering after Power Sanding            0.3 (area)

*PCM (phase contrast microscopy) is a light microscope technique that counts only the longer
and thicker asbestos fibers (longer than 5 um and thicker than 0.25 um). PCM provides an index
of asbestos exposure. Transmission electron microscopy (TEM) can count all the asbestos fibers
greater than 0.5 um in length. Typically there are 5 to 100 times as many asbestos fibers
counted by TEM as by PCM.




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      Table 2c. Results of MVA Friction Product Fiber Release Studies

Activity                                      Sample       PCM*          TEM
                                              Time
Hand Grinding Brake [F-1]                       2 min      8.5 F/cc      230 str/cc
Beveling of Carlisle Brake [F-19]               3 Min      69-81 F/cc    Over 1000
                                                                         str/cc
Sweeping of Brake Dust [F-1]                     5 Min     1.7 F/cc      28 str/cc
Sweeping Brake Beveling Dust [F-19]              5 Min     165 F/cc      Over 1000
                                                                         str/cc
Sweeping of Brake Dust [F-54]                   3 Min      2 F/cc
Bystander (5 ft) Brake work including           19 Min     0.5 F/cc
Compressed Air, Sweeping [F-54]


*PCM (phase contrast microscopy) is a light microscope technique that counts
only the longer and thicker asbestos fibers (longer than 5 um and thicker than
0.25 um). PCM provides an index of asbestos exposure. Transmission electron
microscopy (TEM) can count all the asbestos fibers greater than 0.5 um in
length. Typically there are 5 to 100 times as many asbestos fibers counted by
TEM as by PCM. (MVA 1810 Report 01/29/97 [F-1], MVA 7040 Report 09/26/08 [F-3], MVA
10494 Report 07/31/14 [F-54])




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                    Figure 1. Ford (Bendix) Brake Surface.




  Figure 2. Close-up of a Ford (Bendix) Brake surface showing asbestos fibers
                                  protruding.


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           Figure 3. Bendix brakes showing Bendix edge code (BX).




Figure 4. Carlisle Brake Linings including close-up of asbestos fibers protruding
                              from a Carlisle lining.




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                          Figure 5. Fruehauf Brake.




     Figure 6. Fruehauf Brake surface showing asbestos fibers protruding.




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 Figure 7 . Blowing out Brake Assembly From “Don‟t Blow It” Video41. Produced
     September, 1986 American Lung Association of Maryland, US EPA.




 Figure 8. Blowing out Brake Assembly From “Don‟t Blow It” Video41. Produced
     September, 1986 American Lung Association of Maryland, US EPA.




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               Figure 9. Hand Sanding of Brake (MVA 1810).




             Figure 10. Hand Sanding of Brake (MVA 10494).




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                            Appendix A
                               Resume




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                             Millette Technical Consulting, LLC

                            JAMES R. MILLETTE, Ph.D., D-IBFES

                                   Summary of Credentials


EDUCATION:
    B.S., Physics, University of Dayton, Dayton, Ohio, 1973
    M.En., Miami University, Oxford, Ohio, 1975
    Ph.D., University of Cincinnati, Ohio, 1983

WORK EXPERIENCE:
 Involved in environmental/occupational/forensic/particle and materials studies since 1972
 Present position: Senior Scientist, Millette Technical Consulting, Lilburn, GA.
 Previous work included 24 years with MVA Scientific Consultants, Duluth, GA, 11 years as a
  research scientist at the U.S. Environmental Protection Agency Research Center in Cincinnati,
  Ohio and 5 years at McCrone Environmental Services performing and supervising analysis of
  particles and products by microscopic techniques.

PUBLICATIONS:
      Over 140 publications have appeared in a number of peer-reviewed journals dealing with
microscopy, environmental and occupational particulate exposures, and analytical technique.
Two books and several book chapters have been published in the scientific literature.

PRESENTATIONS:
       Since 1973 results of scientific work have been presented at over 100 national and
international meetings.

OTHER:
 Served as chairman or co-chairman of technical sessions at numerous national meetings
 Chairman, Electron Microscope Facility at the USEPA Research Center, 1980-1985.
 Fellow of ASTM-International. Former Chair for ASTM Committee D22.07 Asbestos. Current
  Vice-Chair for D22-Air Quality. Co-Chair Johnson & ME Beard Conferences.
 Fellow of the American Academy of Forensic Scientists - Andrew H. Payne, Jr., Special
  Achievement Award. Feb 20, 2008.Chair: Engineering Sciences Section 2013
 Diplomate of the International Board of Forensic Engineering Sciences (D-IBFES) since 2014
 George W. Luciw Award of Excellence presented by ASTM International for exemplary
  organization, leadership and pursuit of technical excellence since 1986 in the organization of
  what has become a premier international scientific conference, The Johnson Conference.
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  October, 2018
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     B. Work Experience

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        Manager, Laboratory Operations and Electron Optics Group, McCrone
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        Physical Scientist, Health Effects Research Laboratory, U.S. Environmental
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        Graduate Teaching Assistant, Physics Department, Miami University, Oxford,
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        Student Researcher, NSF-SOS (Student Originated Studies) Grant, Hiram
        College, Hiram, Ohio, entitled "Pollution Studies of Cuyahoga, Chagrin, and
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        Summer 1973.

        Student Research Assistant, University of Dayton, Dayton, Ohio. U.S.
        Department of Interior Contract "Determination of Trace Metal Pollutants in Water
        Resources and Stream Sediments by X-Ray Fluorescence", 1972-1973,
        including summer 1972.

        Student Teaching Assistant, Physics Department, University of Dayton, Dayton,
        Ohio, 1971.


C.      Publications

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   Millette, J.R., “Asbestos Analysis Methods”, Chapter 2. In: Asbestos: Risk
   Assessment, Epidemiology, and Health Effects, R.F. Dodson and S.P. Hammar,
   Eds., 2nd Edition, CRC, Taylor&Francis, Boca Raton, Fl. pp:23-48, 2011.

   Kominsky J., Millette J. Evaluation of Asbestos in Dust on Surfaces by Micro-
   Vacuum and Wipe Sampling. J. ASTM International, 8(5):1-8. On-line:JAI 103477
   May 2011 Also published in ASTM STP 1533, pp 165-176, Eds: M. Brisson and
   K. Ashley. 2011

   Millette, J.R. Use of the ASTM Inter-Laboratory Studies (ILS) Program in
   Developing Precision Data for ASTM D5755 – Asbestos in Dust by Microvacuum
   Sampling. J. ASTM International, 8(8):1-5. On-line: JAI 103509. July 2011. Also
   published in ASTM STP 1533, pp 177-186, Eds: M. Brisson and K. Ashley. 2011

   Millette, J.R., Rook, H.L., and Compton, S. Application of ASTM Standard
   Practice D6602 in the Investigation of Outdoor Environmental Surface Particulate
   Including Darkening Agents. J. ASTM International, 8(9):1-14. On-line:
   JAI103523. August 2011. Also published in ASTM STP 1533, pp 249-269, Eds:
   M. Brisson and K. Ashley. 2011

   Chepaitis, P.S., Millette, JR, VanderWood, T.B., A Novel coal Fly Ash Sphere
   Reveals a Complete Understanding of Plerosphere Formation. Microscope
   59(4):175-180. 2011

   Millette, J.R., S. Compton, W.L. Turner, Jr., S.M. Hays, S. Kenoyer, W.B. Hill,
   and P.S. Chempaitis. Characterization of Coal Ash Including Fly Ash Particles.
   Microscope. 60(2): 73-84, 2012


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                                                                            Page 12
        Compton, S.P. and J.R. Millette. Airborne Asbestos Exposure from Gooch Fiber
        Use. Microscope. 60(4): 165-170, 2012

        Gordon, R.E., S. Fitzgerald, and JR Millette. Asbestos In Commercial Cosmetic
        Talcum Powder as a Cause of Mesothelioma in Women. International Journal of
        Occupational and Environmental Health, 20(4):318-332. 2014.

        Millette, J.R. and R.S. Brown. Environmental Forensic Microscopy. Chapter 13
        In: Introduction to Environmental Forensics, 3nd Ed., B. L. Murphy and R. D.
        Morrison, Eds., Academic Press, Elsevier, Amsterdam. pp:487-511. 2015.
        Published on-line Sept, 2014.

        Cannan, K., Cavness, B., et al., Managing Asbestos in Buildings: A Guide for
        Owners and Managers. A revision of the USEPA‟s 1985 Guidance for Controlling
        Asbestos-Containing Materials in Buildings, EPA 560/5-85-024 (Purple Book).
        The Environmental Information Association, Chevy Chase, MD. 2015

        Millette, J.R. Procedure for the Analysis of Talc for Asbestos. The Microscope,
        63(1): 11-20, 2015

        Millette, J.R. and S. Compton. Analysis of Vermiculite for Asbestos and
        Screening for Vermiculite from Libby, Montana. The Microscope 63(2):55-70,
        2015

        Millette, J.R., R.S. Brown, W.R. Boltin, and T.J. Hopen. Origins of Asbestos
        Product Identification. The Microscope 64(2):79-87, 2016

        Millette, JR., S. Compton, C. DePasquale, Microscopical Analyses of Asbestos-
        Cement Pipe and Board. The Microscope, 66(1):2-20. 2018

        Millette, JR., WM. Ewing, C. DePasquale, S. Compton, Asbestos-containing
        Materials Associated with Steam Locomotives and Railroad Equipment. The
        Microscope, 66(4):147-156. 2018

        Millette, J. R., S. Compton, C. DePasquale. Microscopical Analyses of Asbestos-
        containing Dental Tape. The Microscope, 67(3):99-109. 2019



D.      Awards

        Elected to Sigma Pi Sigma, Physics Honorary, 1972
        Elected to Society of Sigma Xi, Research Society, 1975
        Outstanding Performance Rating Civil Service, 1978, 1982,1983
        Publication nominated by Laboratory Director for USEPA-ORD's
         Scientific and Technological Achievement Award, 1979,1980,1981
        American Water Works Association Distribution Division Award
         for best published paper 1980
        Publication Award National Asbestos Council Journal 1991-1992
        STAR Publication Award, Risk Reduction Engineering Laboratory, USEPA, 1994
        Award of Excellence, The Environmental Information Association, Georgia

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         Chapter, 1995
        ASTM Award of Appreciation from Committee D-22 on Sampling and Analysis of
         Atmospheres for outstanding service to Subcommittee D22.07. October 2000
        American Academy of Forensic Scientists (AAFS) Engineering Sciences
          Section‟s Andrew H. Payne, Jr., Special Achievement Award. Feb 20, 2008
        Georgia Microscopical Society, Honorary Achievement Award for Dedication to
          the Education and Advancement of Microscopy. January 14, 2009
        ASTM-International Award of Appreciation from Committee D-22 on Sampling
          and Analysis of Atmospheres for exceptional effort in organizing a sucessful
          inaugural Michael Beard Conference. October 2010
        American Chemical Society Certificate of Appreciation for valuable contribution
          and dedicated service in the peer review of manuscripts submitted to ACS
          journals. December 2011
        ASTM-International Award of Merit and Honorary Title of Fellow, 2011
        American Academy of Forensic Sciences Award of Academy Fellow, 2012
        ASTM-International Award of Appreciation from Committee D-22 on Sampling
          and Analysis of Atmospheres for exceptional effort in organizing a sucessful
          Johnson Asbestos Conference. April 2012
        EIA – Snider Lifetime Achievement Award from Environmental Information
           Association, March 2013
        Board Certified as a Forensic Engineer by the International Board of Forensic
          Engineering Sciences, Feb. 2014.
        ASTM-Moyer D. Thomas Award for outstanding contributions to the science of air
          pollution measurement technology. 2014
        ASTM-George W. Luciw Award of Excellence for exemplary organization,
          leadership and pursuit of technical excellence since 1986 in the organization of
         what has become a premier international scientific conference, The Johnson
         Conference. October, 2018
        ASTM-Lifetime Achievement Award for many years of leadership as Chair and
          Vice-chair of Subcommittee D22.07 and as Technical Vice Chair of D22.
          October, 2018
        American Academy of Forensic Sciences-Chosen as the recipient of the
        Founders Award for the Engineering Section. 2019


E.      Selected Technical Presentations

        "Efficiency Calibration of an Energy Dispersive X-Ray Fluorescence System for
        Trace Metal Analysis", presented at the spring meeting of the Ohio Section of the
        American Physical Society, Wittenberg University, April 7, 1973. Abstract
        published in the Bulletin of the American Physical Society, 18:888, 1973.


        "Analysis of Asbestos Fibers in Water by Electron Microscopy", co-authors J. E.
        Poth and E. F. McFarren, presented at the spring meeting of the Ohio Section of
        the American Physical Society, Kent State University, May 10, 1975. Abstract
        published in the Bulletin of the American Physical Society, 20:890, 1975.

        "EDS of Waterborne Asbestos Fibers in TEM, SEM, AND STEM", co-author E. F.
        McFarren, presented at the Scanning Electron Microscopy Symposium
        Workshop on Technique for Particulate Matter Studies, IIT Research Institute,
        Toronto, Canada, April 1976.




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                                                       James R. Millette, Ph.D.
                                                                       Page 14
   "Monitoring Drinking Water for Asbestos by Electron Microscopy", presented at
   the Symposium on Electron Microscopy of Micro-Fibers, U. S. Food and Drug
   Administration. Pennsylvania State University, August 25, 1976.

   "Effects of Water on Asbestos-Cement Materials in Drinking Water Supplies",
   presented at the Scanning Electron Microscopy Symposium, SEM Inc., Chicago,
   IL, April 1979.

   "Concentration and Size of Asbestos in Water Supplies", at the Asbestos
   Workshop, NIEHS, DHEW, Washington, D.C., June 7-8, 1979.

   "Occurrence and Health Effects of Eroded Asbestos Fibers", at the Seminar for
   Corrosion Control in Water Distribution Systems, USEPA, Cincinnati, OH, May
   20-22, 1980.

   "Fate of Ingested Particles", presented at the Workshop on the Substitutes for
   Asbestos, Consumer Product Safety Commission, Washington, D.C., July 14-16,
   1980.

   "The Need to Control Asbestos Fibers in Potable Water Supply Systems",
   presented at the International Water Supply Conference, Noordivijkerhout, The
   Netherlands, August 30-September 1, 1980.

   "Particulates in Water Supplies", presented at the Clay and Clay Minerals Society
   Conference, Waco, TX, October 8-9, 1980.

   "Some Investigations of X-Ray Microanalysis for Biological Tissue", at the
   Electron Microscopy Society Meeting, Louisville, KY, February 6, 1982.

   "X-Ray Microanalysis of Mitochondrial Calcium Levels in Frozen Liver Tissue
   from Rats Exposed to Carbon Tetrachloride", poster presented at the 23rd
   Society of Toxicology Conference, March 12-16, 1984.

   "Evaluating the Conditions of Asbestos-Cement Pipe", paper number 152
   presented at Corrosion 84, an International Corrosion Forum sponsored by the
   National Association of Corrosion Engineers, New Orleans, LA, April 1984.

   "Measurement of Calcium Level Changes in Tissue in Response to Injury by
   Environmental Agents", at the Fed. of Amer. Soc. for Exp. Biology Meeting, St.
   Louis, MO, April 1984.

   "X-Ray Analysis of Freeze-Dried Sections" invited lecture at Cryo-Techniques in
   Electron Microscopy Symposium and Workshop, University of Iowa, Iowa City,
   IA, April 8-10, 1985.

   "Subcellular Ions by X-ray Microanalysis for Evidence of Hepatotoxicity", Electron
   Microscopy Society of America and Microbeam Analysis Society Joint Annual
   Meeting, Louisville, KY, August 5-9, 1985.

   "Use of TEM Analysis for Ambient and Clearance Sampling", University of
   Kentucky Symposium on Managing Asbestos in Buildings, Lexington, KY,
   October 23-25, 1985.

   "Laboratory Analysis", Asbestos Abatement in the Federal Government 1985
   Annual Symposium, Kansas City, MO, November 19-21, 1985.

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                                                                        Page 15
   "X-ray Microanalysis of Animal Cells", Miami University Zoology Department,
   Oxford, OH, November 29, 1985.

   "Analyzing for Asbestos in Environmental Samples", Department of Geology,
   Emory University, Atlanta, GA, February 6, 1986.

   "Transmission Electron Microscopy", National Asbestos Council, Baltimore, MD,
   February 20, 1986.

   "Laboratory Analysis", Western States Asbestos Abatement Conference and
   Exposition, Los Angeles, CA, March 7, 1986.

   "Electron Microscopy, Interpretation of Results", Asbestos Abatement Project
   Monitoring Course, Georgia Tech Research Institute, Atlanta, GA, March 26, 1986.

   "Asbestos Fibers in Water", Symposium on Innovative Techniques and Recent
   Developments in the Asbestos Abatement Industry, Georgia Tech Research
   Institute, Atlanta, GA, March 28, 1986.

   "Diagnostic Electron Microscopy in Environmental Sciences", Minnesota Electron
   Microscope Society Spring Symposium, St. Paul, MN, May 16, 1986.

   "An Overview of Asbestos Analytical Methods", American Industrial Hygiene
   Conference, Dallas, TX, May 23, 1986.

   "Experiences with Direct and Indirect Sample Preparation for TEM Analysis of
   Asbestos", 1986 ASTM Johnson Conference on Measurement Challenges of the
   80's: Indoor Air, Acid Rain and Asbestos, Johnson, VT, July 13-14, 1986.

   "Analysis of Asbestos in Environmental Samples by TEM" presented at the
   INTER/MICRO-86, International Microscopy Society, Chicago, IL, July 21-24, 1986.

   "Comparison of Sodium Hypochlorite Digestion and Low-Temperature Ashing
   Preparation Techniques for Lung Tissue Analysis by TEM" co-authored and
   presented at the Electron Microscope Society of America/Microbeam Analysis
   Society Annual Meeting; Albuquerque, NM, August 11-15, 1986.

   "Electron Microscopy Sampling, Analysis, and Interpretation" and "Field
   Applications of the EPA Guidelines for Post Abatement Air Monitoring" presented
   at the National Asbestos Council Meeting, New Orleans, LA, September 22-25,
   1986.

   "Laboratory Analysis, Bulk and Air Monitoring" presented at the Asbestos
   Abatement in the Federal Government, Kansas City, MO, November 19, 1986.

   "Overview of Asbestos Analytical Methods" presented at the Connecticut River
   Valley Section of American Industrial Hygiene Association, Hartford, CT, March 4,
   1987.

   "Air Sample Analysis II: Electron Microscopy", Asbestos Abatement Air
   Monitoring Course, Georgia Institute of Technology, Atlanta, GA, March 25,
   1987.

   "Analytical Tools for Identification of Asbestos Materials in Buildings", Co-
   authored with Richard L. Hatfield, presented at the American Society of Civil
   Engineers National Spring Convention, Atlantic City, NJ, April 27, 1987.
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   "Analyzing Asbestos Brake Dust", Asbestos Brake Maintenance Conference,
   Georgia Institute of Technology, Atlanta, GA, August 5, 1987.

   "Overview of AHERA Requirements", Advanced TEM Asbestos Analysis Course,
   Georgia Institute of Technology, Atlanta, GA, February 15, 1988.

   "Counting and Sizing Procedures", Advanced TEM Asbestos Analysis Course,
   Georgia Institute of Technology, Atlanta, GA, February 15, 1988.

   "Microscopy and AHERA", Northeastern Society of Electron Microscopy, JEOL,
   Inc., Peabody, MA, February 17, 1988.

   "Microscopy and the Asbestos Hazard Emergency Response Act", Inter/Micro,
   McCrone Research Institute, Chicago, IL, June 28, 1988.

   "Asbestos Fiber Counting Rules", ASTM Johnson Conference, Johnson, VT,
   July 12, 1988.

   "Transmission Electron Microscopy Asbestos Analysis Course", Georgia Institute
   of Technology, Atlanta, GA, June 6-17, 1988.

   "Polarized Light Microscopy Analysis of Tremolite/Actinolite in Vermiculite", National
   Asbestos Council Technical Conference, Boston, MA, September 21, 1988.

   "Some Comments on Settled Dust Sample Analysis by Transmission Electron
   Microscopy", National Asbestos Council Technical Conference, Boston, MA,
   September 22, 1988.

   "Practical Considerations in Designing a TEM Asbestos Laboratory", JEOL,
   Peabody, MA, September 23, 1988.

   TUTORIAL: "Analysis of Asbestos in Water and Other Liquids", Scanning
   Microscopy International, Salt Lake City, Utah, May 1, 1989.

   TUTORIAL: "Analysis of Asbestos in Air", Scanning Microscopy International,
   Salt Lake City, Utah, May 1, 1989.

   "TEM Asbestos Accreditation Seminar", Georgia Institute of Technology, Atlanta,
   GA, August 1-2, 1989.

   "Asbestos in Drinking Water", Water Quality Technical Conference, American
   Water Works Association, Philadelphia, PA, November 14, 1989.

   Professional Development Seminar on TEM X-Ray analysis, NAC Conference,
   San Antonio, TX, February 18, 1990.

   "Current Aspects of Surface Dust Collection and Analysis", NAC Conference,
   San Antonio, TX, February 19, 1990.

   "Recent Research on Fiber Release and Re-Entrainment of Asbestos Dust",
   NAC Conference, San Antonio, TX, February 29, 1990.

   "The Dust Dilemma", NAC Conference, Phoenix, AZ, September 11, 1990.


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                                                         James R. Millette, Ph.D.
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   "How Clean is Clean, The Laboratory Analyst's Point of View of Abatement
   Clearance", NAC Conference, Phoenix, AZ, September 11, 1990.

   "Sizes of Asbestos Fibers in Buildings", NAC Conference, New Orleans, LA,
   February 21, 1991.

   "Analytical Techniques for the Analysis of Lead in Buildings", The Envir. Inst.,
   Marietta, GA, April 22, 1991.

   "Asbestos Exposure During and Following Cable Installation in the Vicinity of
   Fireproofing", co-authored with W. M. Ewing, E. M. Clay, W. H. Spain, T. A.
   Dawson, J. Chesson, R. L. Hatfield, S. M. Hays, D. L. Keyes and W. E. Longo.
   Amer. Indust. Hygiene Conf., Salt Lake City, UT, May 22, 1991.

   "Settled Dust Collection Methods" and "Interpretation of Results", as Co-director
   of the Course, Settled Dust Sampling: Asbestos and Other Particulates, Georgia
   Institute of Technology, Atlanta, GA, August 12, 1991.

   "Can You Identify This Material?", Inter-Micro, Chicago, IL, August 22, 1991. Co-
   authored with E.J. Chatfield and R.J. Lee.

   "Overview of Techniques for Detecting Asbestos Fibers in Indoor Air and Settled
   Dust", American Public Health Association (APHA) Conference, Atlanta, GA,
   November 13, 1991.

   "Analysis of Low-Level Asbestos-Containing Bulk Building Materials by Polarized
   Light Microscopy and Transmission Electron Microscopy", Professional
   Development Seminar coordinated by J.A. Krewer, Environmental Management
   '92, April 6, 1992, Pittsburgh, PA.

   "Removal of Asbestos-Containing Roofing: Effects of Work Practices on
   Airborne Asbestos Levels", M.D. Cameron, D.L. Keyes, J.R. Millette,
   Environmental Management '92, April 7, 1992, Pittsburgh, PA.

   "Use of Observational Data and Experimental Studies in Developing Better
   Asbestos Operations and Maintenance Plans", S.M. Hays, J.R. Millette,
   Environmental Management '92, April 8, 1992, Pittsburgh, PA.

   An Overview of Monitoring Techniques for Asbestos in Settled Dust, ASTM
   Johnson Conference, July 15, 1992, Johnson, VT.

   “Asbestos in Settled Dust”, A Professional Development Course, EM '94, Envir.
   Inform. Assoc. Conf., March 13, 1994, San Diego, CA.

   “Lead Source Determination and Research Activities”. J.R. Millette, R.S. Brown,
   J.P. Bradley, EM '94, Envir. Inform. Assoc. Conf., March 15, 1994, San Diego, CA.

   “Dust Sampling and Analysis”, ASTM Standards for Asbestos Control,
   October 27-28, 1994, Atlanta, GA.

   “Contamination from Asbestos Dust”, Professional Development Seminar, The
   Environmental Information Association, November 17, 1994, Las Vegas, Nevada.

   ASTM Standards for Asbestos Control, American Society for Testing and
   Materials Course, Nov. 9-10, 1995, Atlanta, Georgia.

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        “Asbestos Dust Contamination”, Seminars, California Environmental Information
        Association, Nov. 16-17, 1995, Oakland and Long Beach, California.

        “Microscopical Examination of Indoor Dusts”, Microscopy & Microanalysis „98,
        Microscopy Society of America, July 15, 1998.

        “Use of Electron Microscopy in the Study of Indoor Air Quality (IAQ) Samples”,
        INTER/MICRO-98, Chicago, IL, August 13, 1998.

        “Environmental Forensic Microscopy”, with R. S. Brown, American Academy of
        Forensic Sciences, Chicago, IL Feb 20, 2003.

        “Characterization of Coal Ash”, InterMicro, Chicago, July 12, 2010.

        Additional presentations at InterMicro, ASTM Symposia and EIA each year to
        present.


F.      Professional Societies

        American Industrial Hygiene Association
        ASTM-International (American Society for Testing and Materials)
        Environmental Information Association
        American Academy of Forensic Scientists
        International Board of Forensic Engineering Sciences


G.      Participation in Scientific Conferences, Technical Committees

        "Sampling and Analysis of Asbestos in Settled Dusts" Workshop - USEPA, Risk
        Reduction Engineering Laboratory, Cincinnati, Ohio, July 11-14, 1989.

        Chairman of the Cincinnati EPA Environmental Research Center Electron
        Microscope Facility Committee.

        Member of the Sampling and Analytical Committee, National Asbestos Council.

        Member of the American Society for Testing and Materials (ASTM) D22.07,
        Sampling and Analysis of Atmospheres:Asbestos. Co-chair of the ASTM
        Michael E. Beard Asbestos Conference – San Antonio, January 2010.

        Member of the American Water Works Association Water Quality Division Ad
        Hoc Committee on Asbestos in Drinking Water and the Technical and
        Professional Council Committee on Particles in Water and Health Implications.

        Served as technical reviewer of papers submitted to a number of journals,
        including Scanning Electron Microscopy, Science, American Water Works
        Association, American Industrial Hygiene Association, NAC Journal.

        Member of the USEPA Asbestos Methodology Subcommittee.

        Member of Ambient Water Quality Criteria Document Review Panel for Asbestos, 1980.

        Co-chairman for the October 2, 1982 and June 2, 1984 meetings of the Electron
        Microscopy Society of the Ohio River Valley held at Miami University and
        USEPA.
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        Chairman and Organizer--Workshop on Ingested Asbestos--USEPA, Cincinnati,
        Ohio, October 13-14, 1982. Editor for Proceedings Published in Vol. 53 of
        Environmental Health Perspectives, 1983.

        Member ASTM Committee D-22 on Sampling and Analysis of Atmospheres.

        Chairman, American Water Works Association Standard Methods Joint Task
        Group #200Z on Asbestos in Water.

        Chairman, Asbestos Session, Inter/Micro - 88, Chicago, IL, June, 1988.

        Member EPA Asbestos Hazard Emergency Response Act (AHERA) Technical
        Panel developing TEM clearance procedure.


H.      Consultant Activities

        Testified as an expert witness in the Connecticut State Capitol at a hearing of the
        State of Connecticut Department of Health Services concerning the development
        of regulations governing the use of asbestos-cement pipe, September 16, 1980.

        Technical input into the USEPA Asbestos Methodology subcommittee as part of
        a team effort which resulted in the development of the USEPA Interim Procedure
        for Fibrous Asbestos, Transmission Electron Microscopy Method, the first step
        toward a standard USEPA method for analyzing asbestos in water.

        Technical assistance to the USEPA regions in the form of asbestos analyses has
        helped determine the extent of potential asbestos exposure to populations
        through their drinking water.

        Interviewed by "Maclean's" Canada's Weekly News magazine, July 21, 1986:
        "Health: A Battle to Rehabilitate Asbestos" pp. 39-41.

        Member Technical Working Group on Asbestos in Public and Commercial
        Buildings for the U.S. EPA Policy Dialogue Group, Washington, D.C.,
        September 12, 1989.

        Instructor for the Electron Microscopy Course on Asbestos given at the JEOL
        Training Center, Peabody, MA, August 17-21, 1987, May 2-6, 1988, July, 1989.

        Instructor for Georgia Tech "Asbestos Analysis by Electron Microscopy" course,
        1987-1988.

         Instructor for TEM Asbestos Analysis Course, McCrone Research Institute,
        1988-1989, 1999.

        Instructor for TEM Asbestos Analysis Course, MVA Scientific Consultants,
        1999-Present.

        Panel Member on the U.S. Environmental Protection Agency Workshop on
        Vermiculite Attic Insulation, February 17-18, 2004, Alexandria, VA.

        Expert Panel Member – US House of Representatives, Committee on Energy
        and Commerce, Subcommittee on Environment and Hazardous Materials,

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        Legislative Hearing on S.742 and Draft Legislation to Ban Asbestos in Products.
        2322 Rayburn House Office Building, February 28, 2008.

        Member of the organizing committee of the NIOSH sponsored workshop on
        EMPs organized by the National Academies of Science, Engineering, and
        Medicine scheduled for January 25 and 26, 2018, Washington, DC – postponed.


I.      Other Information

        Completed Contracts, Grants, and Interagency Agreements Course for EPA
        Project Officers given in cooperation with the Ohio State University, 1976, and a
        similar course given in 1983.

        Completed Course on Introduction to Supervision, U.S. Civil Service, 1979;
        Analytical Electron Microscopy, JEOL, Boston, 1979; Selection of Tests for
        Assessment of Hepatotoxicity, SOT, Atlanta, 1984. Sampling and Evaluating
        Airborne Asbestos Dust, NIOSH, Cincinnati, 1977.

        Board certified by the International Board of Forensic Engineering Sciences
        (IBFES), February 18, 2014. The IBFES is accredited by FSAB (Forensic
        Specialties Accreditation Board), an independent board which is sponsored by
        the NIJ (National Institute of Justice, U.S. Department of Justice).

        Peer-Reviewer for scientific journals such as Environmental Health Perspectives,
        Science, American Journal of Industrial Medicine, Journal of Occupational and
        Environmental Hygiene.

        Testified as an expert witness for the CT State Depart. of Health 1980 & US
        House of Representatives Subcommittee on Environment & Hazardous Materials
        – Feb 28, 2008.
        • Adjunct Professor, Department of Zoology, Miami University, Oxford, Ohio,
        1984-1985.
        • President, Electron Microscope Society of the Ohio River Valley, 1984-1985.
        • President, Georgia Microscopical Society, 1994-1996.
        • Testified as an Expert Witness on matters relating to microscopical analyses in
        court.
        • Co-Course Director, "Settled Dust Analysis," Georgia Tech Research Institute,
        1991-1992.
        • Lecturer for ASTM Technical & Professional Training Courses.




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                            Appendix B
                           List of Testimony




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                                Testimony of James R. Millette, Ph.D, D-IBFES
                                     In trial and at deposition last 5 years
Martha Dickerson (John Dickerson, dec) v. Georgia Pacific, LLC, et al. in State             01/19/16
Court Dekalb Co., Georgia. File No. 14A50080-1
Betty Garcia (Jorge Garcia, dec.) v. Automoco Corp., et al., Circuit Court Miami-           03/03/16
Dade Co., FL, Case No.: 08-40561 CA09
Billy Parrott v. Arvinmeritor, Inc., et al., Superior Court California, Co. of Los          03/24/16
Angeles, Case No. BC544152
Dorothy Keisker (Robert Keisker dec.) v. A.W Chesterton Co. et al., Circuit Court of        03/25/16
St. Louis City, MO, Case No. 1422-CC09759
Alicia Azzolini (Pedro Azzolini, dec.) v. Basco Drywall & Painting Co., etal.,              03/28/16
Superior Court, County of Alameda, CA Case: RG1471980
T. George Coulbourn et al. v. Air and Liquid Systems Corp., etal., US District Court        04/08/16
Arizona. Case 3:13-CV-08141-DGC
Willard Entwisle, etal v. ACandS, Inc., etal., Circuit Court for Baltimore City, MD         04/15/16
Case No. 24X15000104
Billy Parrott v. Arvinmeritor, Inc., et al., Superior Court California, Co. of Los          04/27/16
Angeles, Case No. BC544152 [Continuation of 03/24/16]
Ralph Vitale (part of Entwisle etal v. ACandS, Inc., etal., Circuit Court for Baltimore     05/20/16
City, MD Consol. Case No. 24X15000104) Vitale Case No. 24X14000545
William C. Bell v. Foster Wheeler Energy Corp., et al. US District court of the             07/07/16
Eastern District of Louisiana. No. 2:15-cv-06394
David Coletti (Nicole M. Theriault Coletti), etal. v. Advance Stores Co., Inc               08/26/16
(Advance Auto Parts, Inc.), etal., Superior Court Commonwealth of
Massachusetts, Middlesex. Civil Action No. 13-4487
Christopher Coates, et al., v. ACandS, Inc., et al.,Circuit Court for Baltimore City,       09/15/16
Consolidated Case No. 24X16000052
Christopher Coates Case No. 24X15000559
Nola H. Bristol v. Arvinmeritor, Inc., et., In the Circuit Court, 22nd Circuit (St. Louis   09/22/16
City), MO Case No. 1522-CC10413
William Mathieu (No. 15 L 755) and James Cucchiara (No. 15 L 1205) v. A.W.                  10/14/16
Chesterton Company, et al., In the 3rd Judicial Circuit Court Madison Co., IL
T. Nola H. Bristol v. Arvinmeritor, Inc., et., In the Circuit Court, 22nd Circuit (St.      11/1-2/16
Louis City), MO Case No. 1522-CC10413
Richard Arthur Hawk v. BNSF Railway in District Court of Harris Co., TX, 11th                11/3/16
Judicial Dist. Cause No. 2014-52886
T. Christopher Coates, et al., v. ACandS, Inc., et al.,Circuit Court for Baltimore City,    11/17/16
Consolidated Case No. 24X16000052
Christopher Coates Case No. 24X15000559
Jessica Blackford-Cleeton etal v.AK Steel Corp., et al. In 2nd Judicial Circuit Court,      12/06/16
Richland Co. IL. Case No. 15-L-17
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Jesse Frank Sheppard v. Mosaic Global Holdings, Inc., et al. In US District Court,        12/20/16
Eastern District of Louisiana. Civil Action No. 2:16-cv-02401
Barbara Wallace (No. 24X16000121) and Donald Watson (No. 24X16000108) v.                  02/02/17
ACandS, Inc., et al., In the Circuit Court for Baltimore City, Consolidation Trial Grp
No. 24X16000249
T. Richard Arthur Hawk v. BNSF Railway in District Court of Harris Co., TX, 11th          03/03/17
Judicial Dist. Cause No. 2014-52886
T. Kenneth W. Anderson et al.. V. AVCO Corp. et al.., Campbell Circuit Court, Div.        03/09/17
2, KY Case No. 12-CI-184
Ronald Kindred v. ACandS., et al., Case No 24X16000258 in Circuit Court for               03/14/17
Baltimore, MD. Part of Consolidated case Aubrey Baber, etal.,No. 24X16000355
Linda Granere and Deborah Mains vs. 84 Lumber Co., et al., 17 Judicial Circuit,           04/25/17
Broward Co., FL Case No. CACE-14-006459
Edgar Albright and Marcia Albright v. 3 M Co., et al., 17th Circuit Court, Broward,       08/11/17
Co. FL. Case CACE 16-015574
John Dunn and Charis Dunn v. American Honda Motor Co., Inc., et al., 11th Circuit         08/17/17
Court for Miami-Dade Co, FL Case No: 16-031773
Katherine Uyeno v. The Old OAHU Tug Service, Inc., et al., in the First Circuit           09/01/17
Court, State of Hawaii, Case CV CIVIL NO. 16-1-2006-10 (RAN).
Clayton Russell, Jr. et.al,. v. ACandS, Inc., et al., Circuit Court for Baltimore City,   09/07/17
Maryland, No. 24-X17-000015. In Consolidated Trial Group No 24-X-16-000498
(David Cartwright, et al.)
William C. Blosser and Marcia Blosser v. Ashcroft, Inc., et al., US District Court,       10/23/17
Western District of Washington at Tacoma. Case No. 3:17-CV-05243-BHS
Brian Keeney etal (Harley Keeney – dec.) v. A.W. Chesterton, Co., etal, Circuit           11/09/17
Court 22nd Judicial Circuit, Missouri (City of St Louis) Case No. 1522-CC1100 and
Leonard Mayo and Margaret Mayo v. A.W. Chesterton, Co., etal, Same Judicial
Circuit Court Case No. 1622-CC10835
Maria O’Neill (Eugene O’Neill, dec.) v. Vanderbilt Minerals, LLC et al., In the Circuit   11/28/17
Court of 11th Judicial Circuit, Miami-Dade Co., FL Case No 2016-017101-CA-01
Maria Rosenfield (Max Rosenfield, dec.) v. A.W. Chesterton Co., et al, In the Third       12/06/17
Judicial Circuit Court, Madison Co., Illinois
T. Jack Esvelt (Estate of Jane Esvelt, Deceased) vs CertainTeed Corporation, et al.       01/10/18
Superior Court, State Of Washington, County Of King. No. 16-2-15978-8 SEA
T. Steven Redfearn Stewart v. Albany International, Corp., etal. Court of Common          01/31/18
Pleas, County of York, South Carolina. Case No. 2013-CP-46-00368 - Case changed
to Stephen Edwards (Mr. Stewart's son) after Stewart’s death.
Nelcome Joseph Courville, Jr. v. Lamorak Insurance Co., et al., Civil District Court,     02/27/18
Parish of Orleans, LA. No 2017-1117, Div. “J”
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Gary Iben (Jill Iben Dec.) v. A.W. Chesterton Co. et al., 3rd Judicial Circuit, Madison    03/08/18
Co. IL. No.: 15 L 843
Tricia Davis and Andrew Berry (Patrick Berry, dec.) v. Gulf Coast Chemical Corp.,          03/22/18
Vanderbilt Minerals, LLC in Circuit Court of 17th Judicial Circuit, Broward Co., FL.
Case No. 15-005737
Joseph F. Brazan v. Lamorak Ins. Co. et.al., Civil District Court, Parish of Orleans,      04/05/18
LA. No 2017-9390, Div. “M”
Ronald Blake, et al., v. ACandS, Inc. et. al., In Circuit Court for Baltimore City, MD.    04/18/18
July 2018 Trial Group. Consolidated No. 24-17-000372 Blake Case No. 24-X-17-
000244
Gardner (Patricia Corbin) v. American International Industries, Inc., et al., in           05/30/18
Superior Court of New Jersey, Div. Middlesex Co. Docket No.:MID-L-5203-11(AS)
Callen L. Dempster v. Lamorak Ins. Co., etal. in Civil District Court, Parish of           06/08/18
Orleans, Louisiana No. 2018-2513, Div “C”, Section “10”
James Fiebiger and Bonnie Fiebiger v. A.W. Chesterton Co. etal., In the 22nd               06/15/18
Judicial Circuit Court of the City of St. Louis, MO Cause No.: 1722-CC10983 Div. 1
Allen Cain (Mary Cain, dec.) v. A.W. Chesterton Co., etal., Cause No. 1622-                06/25/18
CC10750 and Jimmy Hasty (Barbara Hasty, dec.) v. A.W. Chesterton Co., etal.,
Cause No. 1722-CC00403. both cases In 22nd Judicial Circuit Court of the City of St.
Louis, MO.
Sandra Plummer (Seth Brown, Dec.) v. Whip-Mix Corp. et al., in Superior Court,             07/17/18
J.D. of Fairfeild at Bridgeport, CT. No. FBT-CV-XX-XXXXXXX-S
John O'Daniel and Barbara O'Daniel v. Air & Liquid Systems Corp., et al. in the 3rd        07/24/18
Judicial Circuit Court of Madison Co., Illinois. Case No. 16-L-1782
John Dugger, Jr. et al., v. Union Carbide Corp. et al., In U.S. District Court, District   07/31/18
of Maryland, Civil Action No. 16-cv-03912-CCB
Joseph M. Chiacchieri, Sr. v. BorgWarner Morse Tec LLC, etal., In Circuit Court for        08/27/18
Prince George’s Co., MD Case No. CAL17-20905
Hazel Mertz (Clarence Mertz, dec.) vs. BWDAC Inc. (BWD Automotive Corp) et al.,            09/10/18
Superior court King Co. Washington No. 12-2-12415-0 SEA
Michael Reed and Deborah Reed v. A.O. Smith Corporation, et.al., In 22nd Judicial          09/11/18
Circuit Court, State of Missouri (City of St. Louis). Cause No. 1722-CC11161
Silverio (and Faye) Onorato v. Borg Warner Morse Tec Inc., et.al. In 11th Judicial         10/10/18
Circuit Court, Miami-Dade Co., FL Case No. 17-013703-CA (42)
Lakhota Harker v. A.W. Chesterton, Inc., et.al. (incl vs. Brake Parts Inc. LLC a/k/a       11/15/18
Brake Parts LLC f/k/a Brakes Parts Inc.) in 3rd Judicial Circuit Court, Madison Co., IL
Case No. 17-L-965
Roy Knight and Milva Knight v. Scapa Dryer Fabrics, Inc.,In the Superior Court of          12/21/18
Ware Co., Georgia, Civil Action No. 09-V-0799
T. Christopher Coates, et al., v. ACandS, Inc., et al.,Circuit Court for Baltimore City,   02/06/19
Consolidated Case No. 24X16000052
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Christopher Coates Case No. 24X15000559

Jeffrey Miller and Kim Miller v. 3M Company, et al., in the 3rd Judicial Circuit,       02/28/19
Madison Co., IL. Case No. 18-L-0420
Albert Manring and I. Juanita Manring v. 3M Company et al., in the 3rd Judicial         03/06/19
Circuit, Madison Co., IL. Case No. 17-L-1686
Charles R. Steib v. Lamorak Ins Co., et al., in District Court for the Parish of        03/14/19
Orleans, LA. Div “L-6”. Case No.2018-4189
Michael Charles Bell et. al. v. BorgWarner Tec, Inc. et al., Baltimore City Circuit     06/06/19
Court. Case No. 24X18000127
Charles Dale and Lana Dale vs. A.O. Smith Corp, et al., in the 3rd Judicial Circuit,    06/14/19
Madison Co., IL. Case No.18-L-1085
Arthur Putt, et al. v. A.O. CBS Corporation, et al. JCCP 4674                           07/16/19
[Los Angeles Superior Court Case No. 18STCV06912]
Nelcome Joseph Courville, Jr. v. Lamorak Insurance Co., et al., Civil District Court,   08/12/19
Parish of Orleans, LA. No 2017-1117, Div. “J” Supplemental to 02/27/18
T. Arthur Putt, et al. v. A.O. CBS Corporation, et al. JCCP 4674                        08/14/19
[Los Angeles Superior Court Case No. 18STCV06912]
Diane Shoemaker French (Bobby Shoemaker, dec) v. Bostik Inc, et al., In 17              08/19/19
Circuit Court, Broward Co., FL Case No. 17-017041 (27)
Margaret J. Jones (William Jones, dec) v. AW Chesterton Co., et al., in Circuit         08/20/19
Court of Crawford, Co., Arkansas, Case No. 17Civ-2017-527
Robert G. Clark and Alana Clark v Borg Warner Corp., et al. In the 11th Judicial        08/23/19
Circuit, Miami-Dade Co., FL Case No. 14-027985
Sandra Brown (Seth Brown, dec.) v State of Connecticut/University of Connecticut        08/26/19
Health Center in the 8th Dist. St of Connecticut Worker’s Compensation
Commission WCC file No. 601082427
Janet Finch (William M. Finch, dec.) v. BorgWarner Morse Tec LLC, et al., in Circuit    09/12/19
Court for Baltimore Co., MD. Case No: 24X18000279
Michael Charles Bell et. al. v. BorgWarner Tec, Inc. et al., Baltimore City Circuit     09/17/19
Court. Case No. 24X18000127 (video for trial)
Donald Coker and Marie Coker v. Union Carbide Corp., et al. In St. Lawrence Co.,        09/26/19
New York Index No.: 153254 (video for trial)
Gerald W. Wilson, et al. vs. ABB, Inc., et al.                                          10/18/19
Los Angeles Superior Court Case Nos. JCCP 4674/19STCV00653
Daniel J. Boullion v. Lamorak Ins. Co., et al., Civil Dist. Court, Parish of Orleans,   10/30/19
Louisiana, Div. “M”, Section “13”. Case No. 2018-12993
Johnny Pinkston and Sherry Pinkston v. Air & Liquid Systems Corp., et al., 17th         01/09/20
Judicial Circuit, Broward Co., FL. Case No. 19-012541 CA 27
Robert King and Queida King v. ABB, Inc. as successor in interest to Detroit            02/06/20
Electric Furnace, et al., In 13th Circuit Court, Hillsborough Co., Florida Case No.:
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CA-19002884

Reyna Carranza (Alberto dec.) v. 3M Co., et al., Los Angeles Superior Court No.            02/11/20
18STCV04130
Barbara Ingram (Samuel Ingram, dec.) v. American Honda Motor Co., Inc., et al.,            03/12/20
in Marion County, Indiana, Superior Court 12, Mass Tort Litigation Cause No.
49D12-1703-MI-010155
Ronald Greth and Lyn Greth v. ABS, Inc., et al., 17th Judicial Circuit, Broward Co.,       05/18/20
FL. Case No. 19-023152
James Rankin and Nanette Rankin v. A.W. Chesterton Co., et al., 22nd Judicial              05/19/20
Circuit Court for the City of St. Louis, MO
Michael and Cheryl Levand v. ABB, Inc., et al., in Los Angeles Superior Court Case         06/09/20
No.19STCV30594 (LAOSD ASBESTOS CASES JCCP Case No. 4674)
Victor B. Robinson, Sr. v. Bird, Inc., et al., in Circuit Court of Cook Co., IL No. 19 L   06/30/20
007058
L. Joseph Derouen v. Anco Insulations Inc., et al. in 19th District Court, Parish of       09/14/20
East Baton Rouge, Louisiana No. C-695843
Martin Jones v. Neo Fabrics, Inc. et al., Civil District Court for the Parish of           10/21/20
Orleans, Louisiana. Div/Sec: “J-15”, No.: 2019-11716
Carolyn Wassinger, etal v. Air & Liquid Systems Corp, et al. JCCP Case No. 4674,           10/30/20
LASC 19STCV1081
Charles Toney, Jr. and Patricia Toney v #M Company, et al., In the 17th Judicial           11/18/20
Circuit, Boward Co., FL Case No.: CACE-20-001331 (27)
Joseph A. Glos, et al., v. Akebono Brake Corporation, et al., in the Circuit Court         12/22/20
for Baltimore City, Case No. 24-x-20-000013
Dale M. Spurlin etal., v. Alfa Laval, etal., US District Court, Southern District of       01/06/21
California. Case No.: 3:19-CV-2049-BEN-AHG
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                            Appendix C
                            Compensation




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Compensation for James R. Millette is paid to Millette Technical Consulting, LLC
at the rate of $500 per hour for testimony either by deposition or at trial. The
same rate is charged for research and consulting.




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Report: ·    CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO.: 2019-09716 SECTION 8 DIVISION "N"
CAROLYN BRINDELL, et., al,
VERSUS
CARLISLE INDUSTRIAL BRAKE AND FRICTION INC., et., al.


                                  December 21, 2020


                      Marty Kanarek, Ph.D. M.P.H.
                               Professor
                       University of Wisconsin-Madison,
                   School of Medicine and Public Health
               And the Nelson Institute for Environmental Studies
                   610 N. Walnut Street, Madison WI 53726

          Mailing Address: 456 Virginia Terrace, Madison, WI 53726

Training, Background and Experience

I am Professor of Epidemiology in the Department of Population Health Sciences in the School
of Medicine and Public Health and in the Nelson Institute for Environmental Studies at the
University of Wisconsin-Madison. I received my Ph.D. in Epidemiology from the University of
California Berkeley, my M.P.H. in Environmental Health from the University of Minnesota and
my B.A. in Biology from Grinnell College. I worked at the U.S. Environmental Protection
Agency from 1972-78 before coming to the University of Wisconsin-Madison as an Assistant
Professor in 1978. I subsequently was promoted to Associate Professor in 1984 and Professor in
2000.
I have served as Director of the Graduate Program in Population Health and the Graduate
Program in Epidemiology and Vice Chair of the Department of Population Health Sciences in
the School of Medicine and Public Health for 7 years, and Chair of the Gaylord Nelson Institute
for Environmental Studies Major and Certificate for undergraduates for over 30 years. I have
taught introduction to epidemiology, advanced epidemiology, non-infectious disease
epidemiology, environmental health, and air pollution and human health and other courses to
thousands of junior and senior undergraduate students, graduate students, medical students and
physicians, and have mentored many Master’s degree and Doctoral students.
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                                                                                      EXHIBIT Y
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My research has included many aspects of environmental epidemiology, including childhood
lead poisoning prevention and subtle neurological and learning effects of lead at low and
moderate lead exposure levels, indoor and outdoor air pollution (including nitrogen dioxide,
formaldehyde and radon), PCB, dioxin and mercury contaminants from consumption of
contaminated fish, drinking water and cancer, environmental tracking and other studies of the
human health effects of pollution. I am well known in the field of environmental epidemiology
for my seminal studies in indoor air pollution, chlorination byproducts in drinking water and
cancer, and asbestos in drinking water and cancer.
I have been a consultant in epidemiology on the environmental and occupational disease effects
of asbestos, lead and other contaminants for the United States Environmental Protection Agency
(EPA), the International Agency for Research on Cancer (IARC), the Agency for Toxic
Substances and Disease Registry (ATSDR), and the National Institute for Environmental Health
Sciences (NIEHS).
I have authored four major publications on asbestos and mesothelioma:
Kanarek, M.S. Mesothelioma from chrysotile asbestos: update. Annals of Epidemiology 21:688-
697 (2011); Erratum: Annals of Epidemiology 22:377 (2012). (attached)
Kanarek, M.S. and Mandich MK. Peritoneal mesothelioma and asbestos: clarifying the
relationship by epidemiology. Epidemiology Open Access. 6:2 (2016).
http://dx.doi.org/10.4172/2161-1165.1000233 (attached)

Kanarek, M.S. and Anderson, HA. Mesothelioma from asbestos exposure in brake mechanics:
epidemiology in context. Epidemiology Open Access, 8:2 (2018). http://dx.doi.org/10.4172/2161-
1165.1000340 (attached)

Kanarek, MS, O’Brien Liegel, JC. Asbestos in talc and mesothelioma: review of the causality using
epidemiology. Medical Research Archives 8: issue 5, https://journals.ke-i.org/mra/article/view/2097
2020. (attached)

My opinions on mesothelioma and asbestos rely on these four publications and all the
references in these publications in addition to the references in this report.

My Curriculum Vitae (C.V.) is attached.
My Testimony History is attached.
Materials on Mr. Brindell Reviewed
     a.   Deposition of J. Keith Poleto Vol 1 +II, + Exhibits A, B, C, D
     b.   Affidavit of Raymond Kain
     c.   Brindell- Social Security Records
     d.   Brindell Exposure History
     e.   Responses to Master Interrogatories and Requests for Production of Documents
     f.   Pathology Report April 17, 2019 SE Louisiana Veterans HCS
     g.   Surgical Pathology Report Tulane Transplant Institute 5/20/2019

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Summary of Mr. Brindell’s Potential Exposure to Asbestos
Mr. John Brindell was diagnosed with pleural mesothelioma on May 15, 2019. He died on July
6, 2019.
Mr. Brindell worked as a supervisor responsible for a trailer mechanic shop 1976-1981. In the
trailer mechanic shop, mechanics constantly changed brakes on trailers in addition to other trailer
maintenance. Keith Poleto testified that Mr. Brindell was exposed to asbestos from brake work
almost every single day that they worked together 1979-1981. Mr. Brindell was regularly,
substantially and consistently exposed to asbestos from brake work 1976-1981. Mr. Brindell was
present when mechanics did brake work on the trailers where he was exposed to the dust from
their work.


Brake work exposed Mr. Brindell to airborne asbestos dust substantially, frequently,
consistently, regularly, and hundreds to thousands of times with each brand of brake, axle, or
trailer, all from the asbestos dust created by removing and installing the brakes equipment.
Regardless of brand of brake, axle, or trailer being maintained, asbestos dust was released during
brake removals because worn asbestos lining materials that had accumulated inside the brake
drums were blown out into the air with an air hose. Asbestos dust was also released during brake
installations because asbestos lining materials were beveled and ground prior to installation,
creating visible dust in the air. Trailer brake pads are at least four times larger than car brakes
pads. Mr. Brindell did not wear a mask when in the mechanic shop and he was often standing
within feet of these dusty work practices. Mr. Poleto saw Mr. Brindell exposed to asbestos dust
from brakes hundreds of times and from axles hundreds of times. Mr. Brindell as the supervisor
was exposed while supervising the mechanics.
Mr. Brindell at times, was required to perform additional duties, including but not limited to
container maintenance work, on board ships at the Port of New Orleans. While on board ships,
Mr. Brindell was present and exposed to asbestos from maintenance work and insulation repair
work performed on the ships.


Summary of the Epidemiology of Mesothelioma

It has been recognized that asbestos caused asbestosis as early as 1930. Merewether 1930. The
seminal publication associating mesothelioma of the pleura and peritoneum to exposure to
asbestos was written by Dr. J.C. Wagner in 1960. Wagner 1960. Over 50 years later, there is
overwhelming evidence that asbestos is responsible for this fatal cancer. Mesothelioma from
asbestos is the most definitive example of an environmental cause-effect cancer, involving a
quickly fatal disease that has a very long latent period. Due to the extensive occupational,
community and para-occupational exposures to asbestos, a worldwide epidemic of mesothelioma
has been reported. CDC 2009, Park 2011, Stayner 2013, Bang 2014.


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There are numerous epidemiological studies that have clearly linked all types of asbestos,
including crocidolite, amosite and chrysotile, to pleural and peritoneal mesothelioma. Kanarek
2011, Kanarek 2016, Kanarek 2018. The global magnitude of mesothelioma is estimated to be
38,900 in a group of 33 countries that report the disease. The actual number of cases is probably
much greater as one mesothelioma is missed in every four or five reported cases because of the
difficulty in establishing a pathologic diagnosis. Park 2011.
There is a long history of asbestos fibers being found in mesothelioma tissue. Kohyama 1991,
Heller 1999. It is the consensus of the medical and scientific community that there is no known
threshold of exposure below which mesothelioma will not occur. Hillerdal 1999, BTS statement
2001, Welch 2007. Multiple studies have shown that all levels of exposure to asbestos increase
the risk of mesothelioma. WHO 1998, ATSDR 2001, IARC 2012. Since there is no known
threshold, current regulatory levels for asbestos are capable of causing mesothelioma. Iwatsubo
1998. Indeed, brief or low exposures to asbestos are capable of causing
mesothelioma. Rodelsperger 2001, Singhal 2014. In fact, Lacourt (2014) found a four-fold
increased risk of mesothelioma at cumulative exposure levels less than 0.1 f/cc. Mesothelioma
incidence is proportional to cumulative asbestos exposure. Pinto 2013, Magnani 2013,
Collegium Ramazzini 2016 Intensity and duration of asbestos exposure are determinant of
mesothelioma risk. Magnani 2015, Ferrante 2020
The mainstream scientific community has concluded that there is no “safe’ level of exposure to
asbestos of any type and that “…an occupational history of brief or low-level exposure should be
considered sufficient for mesothelioma to be designated occupationally related” to asbestos.
Tossavianen 1997, Markowitz 2015, NTP 2016


Spontaneous mesothelioma and idiopathic mesothelioma
The concept of spontaneous disease causation without a cause is not been a valid concept in
modern medicine for over two thousand years and stems from antiquated lack of medical
knowledge in the era of 300 B.C Idiopathic means relating to or denoting any disease with
unknown cause. Mark 1991 in Massachusetts General Hospital and Strauchen 2011 at Mt. Sinai
examined autopsy specimens from 1883-1910 (Strauchen 2011) and 1896-1946 (Mark 1991) and
found no mesotheliomas concluding that mesothelioma was not a disease entity until asbestos
started to be used commercially and no cases occurred “idiopathically” or “spontaneously”
before there was an asbestos industry. LaCourt 2014 estimates the attributable risk (attributable
risk = how much of the disease rate is caused by a certain factor) of occupational asbestos
exposure and pleural mesothelioma for men as 83.1% and 41.7% for women. The non-
occupational attributable risk for asbestos and mesothelioma was 20.0% in men and 38.7% in
women. When considering all kinds of asbestos exposure, the attributable risk of asbestos in
causing mesothelioma was 87.3% in men and 64.8% in women LaCourt 2014. Spirtas 1994,
Rake 2009, Price 2009, Offermans 2014 and Marinaccio 2012 all document very similar
estimates, 85-88% in men and 23% to 65% in women. It is assumed by all these authors that
non-occupational asbestos exposure accounts for a large percentage of the risk in females.


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There are small numbers of mesotheliomas that are attributed to erionite in Turkey, fluor-edentite
in Sicily and rare cases after radiation for cancer therapy.
Considerable biological progress is being made on the biological mechanisms of mesothelioma
development in the last 20 years.

Sage 2018 gives a good summary:
        “As asbestos exposure is a primary cause of mesothelioma development, analysis of the
       molecular aberrations induced by these fibers is pertinent to the study of mesothelioma
       biology. The primary mechanism of asbestos-related carcinogenesis is chronic inflammation
       and ongoing generation of highly reactive oxygen species (ROS) that collide with cellular
       components, promote DNA mutation, and trigger transformation . Asbestos fibers also
       contain iron (II) ions (Fe2+) and can induce hemolysis to sequester Fe(II) from hemoglobin
       [24]; this is particularly important as, via the Fenton reaction, free Fe(II)
       disproportionatesH2O2 into hydroxyl radicals ( OH) that oxidize DNA, free nucleicacids,
       proteins, and lipids. This process is exacerbated by the release of cytokines, including
       tumornecrosis factor-_ (TNF-_) from macrophages and high mobility group box 1 (HMGB1)
       proteins from necrotic cells, amplifying the inflammatory response and increasing the
       number of cells under going oxidative damage. Oxidative DNA damage, if not properly
       repaired, is highly mutagenic and can trigger genomic instability, a primary enabling
       characteristic of cancer formation that is detectable by high-throughput techniques…” (Sage
       et al. 2018)

Attanoos 2018 tries to make a case that there are substantial numbers of cases of mesothelioma
that are “idiopathic” or in other words, are not caused by asbestos. There is no legitimate
biologic mechanism of mesothelioma carcinogenesis that describes it as spontaneous. “Genome-
sequencing data exclude the possibility of spontaneous tumors: a normal adult cell cannot
suddenly transform into a cancer cell.” Vogelstein 2015 Any mesothelioma where the specific
exposure to asbestos is not documented is sometimes called idiopathic, but modern science
makes it clear that the sentinel cause, asbestos, occurred some place in the person’s history, but
is not documented. In the Brindell case, asbestos exposures are clear, so the concepts of
spontaneous and idiopathic mesothelioma are irrelevant.
BAP1
BAP1 is one of many possible genetic factors that help explain why certain asbestos exposed individuals
develop mesotheliomas and others do not develop the disease. Betti 2017. There is some evidence that
patients with mesothelioma with mutations in the BAP1 repair gene may have increased survival time
after chemotherapy treatment. Baumann 2015, Hassan 2019. While BAP1 gene status may play a role in
susceptibility to mesothelioma in certain individuals, is definitely not the cause of mesothelioma. Xu
2014 (“our findings provide experimental support for the idea that BAP1mutation carriers may be highly
susceptible to malignant mesothelioma even at modest levels of asbestos exposure that would be
considerably less tumorigenic in the general population”); Napolitano 2016 (“Our findings suggest that
minimal exposure to carcinogenic fibers may significantly increase the risk of malignant mesothelioma in
genetically predisposed individuals carrying germline BAP1 mutations, possible via alterations of the
inflammatory response.”); Ohar 2016 (“the significantly higher incidence of BAP1 mutations observed in
MM [malignant mesothelioma] cases versus controls suggests that asbestos and genetic factors cooperate

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to enhance the onset of MM.”); Cheung 2017 (“These unbiased genetic findings in an experimental model
suggest that humans carrying a germline BAP1 mutation may likewise be predisposed to the carcinogenic
effects of asbestos fibers.”); Hassan 2019 (“An interaction between genotype and asbestos exposure on
mesothelioma risk has been demonstrated in mouse models and is consistent with the reported experience
of our patients.”); Gaudino 2020 (“The presence of inherited mutations affecting DNA repair and other
genes may further contribute to the process of carcinogenesis by increasing the susceptibility to
environmental carcinogens.”). The BAP1 mutation merely weakens the body’s defenses against
asbestos. The BAP1 gene is a “tumor suppressor,” normally fighting against any tumor initiation and
promotion caused by a carcinogen like asbestos. But when that gene is mutated, its tumor-suppression
function is compromised, rendering the person exposed to such a carcinogen more susceptible to
developing disease.
With very little support, Attanoos 2018 claims that in “substantially less than 1% of patients with
mesothelioma (when there is no external agent exposure), the mesothelioma will be induced by a specific
inherited genetic mutation; scientific evidence presently favors the role of BAP1.” There is no science
behind the idea of mesothelioma being caused by BAP1 without exposure to asbestos. As summarized by
Betti 2019 “genetic factors alone (without any exposure to asbestos or other mineral fibers) have never
been shown to induce MM.”

All types of asbestos can cause mesothelioma.
Asbestos has two main types, the serpentines (of which chrysotile is the most common) and the
amphiboles, which include crocidolite, amosite, tremolite, anthophyllite and
actinolite. Chrysotile asbestos has comprised 95% of world asbestos production, largely in the
past from Canada, but also from mines in several other countries around the world. IARC 2012,
Becklake 2007. There is general agreement among scientists and health agencies that exposure
to any type of asbestos (chrysotile or amphibole) can increase the likelihood of lung cancer,
mesothelioma, and nonmalignant lung and pleural disorders. Collegium Ramazzini 2010, Linton
2012, Stayner 2013, Pira 2017, Loomis 2019.
In 2004, Dr. Richard Lemen published a careful analysis using the widely accepted Hill
“Causation Model” to demonstrate that exposure to chrysotile asbestos is a cause of
mesothelioma. Lemen 2004a. In 2011, I examined the studies from all over the world
where exposure to chrysotile asbestos caused mesothelioma. Kanarek 2011. Since my
publication, the National Toxicology Program on Carcinogens, 12th edition (2011)
reiterated its’ previous conclusions from earlier editions that all forms of asbestos,
including chrysotile are associated with an increased risk of mesothelioma in humans.

In addition, in 2012, the International Agency on Research on Cancer published a new
Monograph on the Evaluation of Carcinogenic Risks to Humans, where they reached the
firm conclusion that all types of asbestos including chrysotile are causative for malignant
mesothelioma. IARC 2012. Also in 2012, nine major epidemiology professional
organizations issued a joint policy statement that described the science and the public
health consequences of exposure to all types of asbestos, including chrysotile, as being
causative for malignant mesothelioma. JPC-SE Position Statement on Asbestos 2012. In
2014 the World Health Organization (WHO) published a new summary document on
chrysotile asbestos concluding that it is a cause of mesothelioma around the world. WHO
2014.
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Epidemiology Research Methods in the Study of Asbestos Occupational Exposure and
Mesothelioma
There are a variety of different epidemiologic research study designs that have been utilized to
address the causation of occupational cancers:
1.       Case Reports/Case Series: Medical case reports of rare diseases or causes of death
historically have often alerted the occupational research community to investigate possible
causal factors. According to Checkoway 2004, "[case series reports are particularly informative
in situations where there are identified occurrences of very rare conditions for which there are
few, if any, established causal factors . . ." In those instances, even a small number of cases "can
sometimes be invoked as prima facie evidence of exposure to the putative causal agent."
Mesothelioma is one of the two diseases Checkoway 2004 uses as an example of this principle.
In fact, Wagner 1960, a case series from South Africa, has been widely regarded as sufficient to
causally tie asbestos to mesothelioma since mesothelioma had previously been such a rarely
reported disease and exposure to asbestos was present in every case. Ever since Wagner 1960,
mesothelioma has been considered a "sentinel" for asbestos exposure.
2.      Registries: Many countries have established registries to gather information about the
incidence of mesothelioma. Like a case series, these registries collect cases of mesothelioma as
well as some limited information regarding the occupation. Also like a case series, no
comparison is made to a control group.
3.      Proportionate Mortality Studies: Data on deaths collected by various government
entities on mortality in registries can be used to detect possible elevations in a specific cause of
death as compared to all causes of death in that group. A Proportionate Mortality Ratio (PMR) is
often calculated to compare the proportion of the deaths from one cause to all other causes of
death. A PMR measures only the relative frequency of a particular cause among all causes of
death and does not measure the risk of death from that specific cause. PMR studies are usually
an early attempt to explore an association epidemiologically because they can be completed
much more rapidly and with considerably less expenditure of resources than other analytic
epidemiologic studies.

Since a PMR is typically calculated using information on death certificates, there are two
significant limitations in interpreting its impact. First, the occupational information is limited to
that listed on the death certificate which is often the last occupation of the deceased. The
important occupational exposure to asbestos, on the other hand, may have occurred in an earlier
occupation in the person’s lifetime. Second, since the cause of death is based solely on that
listed on the death certificate; there are concerns about the completeness of the ascertainment of
death and the accuracy of the coding of the cause of death. PMR studies are considered
surveillance studies by epidemiologists.




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4.      Cohort Studies: This is the most rigorous of the epidemiologic study designs in
occupational epidemiology. A population of workers with documented exposure is enumerated
and followed for disease and mortality as compared to another occupational group, without the
exposure of interest, or the general population. These studies can either be done prospectively in
real-time or historically. Both prospective and historical cohort studies select workers based on
exposure and follow them through time for disease occurrence or death. A relative risk is
calculated by comparing the rate of disease in the exposed cohort to a non-exposed group or, in
the case of historical cohort studies, the general population.

Prospective cohort studies usually require considerable time and money and are rare in an
occupational setting. Such studies of asbestos exposed cohorts present a particular problem
because of the long latency of asbestos diseases. To capture the true occurrence of asbestos
diseases, a cohort with occupational exposure to asbestos would have to be followed for decades.
The studies of pipe fitters, insulators and spray insulators by researchers at Mount Sinai are well
known examples of a prospective cohort study in occupational epidemiology. Selikoff 1964,
Selikoff 1979, Ribak 1988, Selikoff 1991


5.      Case-Control Studies: Lacking the ability to follow exposure groups in a cohort study,
epidemiologists often rely on estimating relative risk by comparing reconstructed past exposure
histories of persons with the disease or cause of death of interest (cases) to persons free of that
disease or cause of death (controls). These retrospective case-control studies are not designed
with the intent of determining the risk of disease for any specific occupation. Instead, the
researchers work backwards from a collection of cases with the disease with the intent of
uncovering occupations or exposures that appear more frequently in the case group than the
comparison control group. Since all the data is gathered retrospectively, relative risk cannot be
directly calculated in case-control studies, but is estimated by a biostatistical measure called the
odds ratio.
These types of epidemiologic studies can be useful but often are prone to the possibility of
exposure misclassification, i.e., the exposure data is inaccurate for the cases, controls or both. In
the case of mesothelioma, exposure misclassification is likely because the exposure data is
reconstructed from the distant past. Given the short life expectancy of an individual diagnosed
with mesothelioma, the cases are often deceased at the time of the study and researchers have to
rely upon the memory of relatives or friends to reconstruct the deceased worker’s exposure.
Relying upon relatives and friends of mesothelioma victims for an occupational exposure history
as compared to interviews with live controls can lead to a differential bias in exposure
information (differential exposure misclassification). Pearce 2007. Non-differential exposure
misclassification can occur if both cases and controls lack precise ways of collecting information
about past exposures. Blair 2007. Both differential and non-differential exposure
misclassification can lead to finding false negative results in case-control studies of
mesothelioma and occupation.




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Potency Comparisons for Different Asbestos Fiber Types in Mesothelioma Causation
There have been many efforts at estimating relative asbestos fiber type potency for mesothelioma
using published occupational studies (Garabrant 2018, Berman 2008, Hodgson 2000, Hodgson
2010). I was a consultant epidemiologist to the EPA effort towards that same goal in 2007-
2008. As summarized by Silverstein 2009, the exercise of using statistical models to estimate
relative cancer potencies for different asbestos fiber types cannot overcome the limitations of the
exposure data in the published occupational studies. Of the roughly 30 occupational studies that
might be used in a potency comparison exposure estimation had problems including (Silverstein
2009):
     1. Microscopy (use of phase contrast microscopy- PCM) which undercounts smaller,
        thinner fibers; Differing microscopes in each study likely varied in fiber sizing and
        counting;
     2. Workers were exposed to a distribution of fiber sizes that is not captured in the historical
        exposure data;
     3. Lack of standard methods for the analysis of asbestos in various media resulting in not
        comparable measurements between studies;
     4. Use of area samples to estimate personal exposure to fibers likely resulted in
        underestimates or overestimates of the true exposures;
     5. Different time frames for measurements between studies—some measured real-time
        shifts, some used historical estimates of past conditions;
     6. Work histories were often imprecise or misclassified.
No amount of statistical modeling can overcome these deficiencies in the underlying exposure
data. Consequently the EPA abandoned the effort to calculate relative potencies for different
asbestos fiber types.
Wong 2020 analyzed the mesothelioma risk from different mixes of fiber types and sizes in a U.S. case-
control study. All fiber type mixes, including both amphiboles and chrysotile, and chrysotile alone, and
all sizes of fibers had significantly elevated odds ratios for mesothelioma.



Asbestos Exposure in Brake Mechanics

Chrysotile asbestos has been the predominant type used in brakes since the 1940’s in the United
States, Canada, Europe and Australia. Hickish - July 1968, Lemen 2004b. Typically, drum and
disc brakes contained between 35 to 60% asbestos. Lemen 2004b. Brake repair workers are
potentially exposed to asbestos during a number of procedures utilized during the removal of the
existing brakes and the installation of new brakes.
During the removal of the existing brakes, a common practice was the use of compressed air to
“blowout” the dust that had accumulated in the wheel well overtime during the braking process.
The major component of this brake dust is a particulate substance known as forsterite, a non-
fibrous magnesium silicate that is created by the transformation of chrysotile asbestos during the
heat and pressure of braking. Rohl 1976. Not all of the chrysotile asbestos, however, is
transformed. Researchers from General Motors Corporation, reported finding 90,000 unaltered
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chrysotile asbestos fibers in a nanogram of brake dust, the small fibers (less than 5 microns in
length) outnumbering the longer fibers (5 microns and greater) at a rate of 300 to 1. For every
gram of brake dust, this translates to the equivalent of 90 trillion short asbestos fibers and 300
billion long asbestos fibers. Lemen 2004b.
During the installation of the new brakes, brake repair workers would often manipulate the
surface through beveling, sanding and/or grinding to insure a proper fit. The manipulation of the
new brakes using these techniques does not result in the transformation of the chrysotile asbestos
into forsterite but rather liberates free floating chrysotile fibers into the worker’s environment.
Lemen 2004b.
The first published studies documenting the amount of asbestos generated from the repair and
replacement of brakes did not occur until 1970. Hickish 1970. Since that time, repeated
measurements of the dust generated from removing old brake linings and manipulating the new
brake linings prior to installation have confirmed the presence of significant levels of asbestos
fibers in the workplace. For example, Rohl (1976) measured fibers in dust samples from car
brake drums and found chrysotile in all samples. In addition, measurable concentrations of
asbestos were found up to 75 feet from where the compressed air was being used during the
blowout of this brake dust. Concentrations in the brake dust averaged 16 fibers/ml of
air. Lorimer (1976) measured mean fiber concentrations of 3.8 fibers/ml among New York City
brake repair workers.
In Finland, researchers found that the use of an air hose to clean out the brake dust before the
brakes were removed could create a cloud of visible dust leading to airborne concentrations of
8.2 f/cm3 in the immediate vicinity of where the work was being performed. They further found
that the grinding of brake linings prior to installation led to asbestos fiber counts as high as 125
fibers/ cm3. Kauppinen 1987.
Gustavsson (1990) conducted personal monitoring for asbestos during brake repair and
reconstruction modeling of previous exposures from working in bus garages as part of a study of
Swedish bus garage workers. The cumulative mean exposure was approximately 2.2 fibers per
milliliter and the maximum was 6.0 fibers per milliliter. These exposures are in the millions of
fibers per day in the bus garage workplace air.
Atkinson (2004) conducted an experiment to evaluate the potential of asbestos to be released
from the manipulation of brake components. Samples were collected from each brake
component by gently rinsing the exposed surface with water from a squeeze bottle. The wash
was then analyzed by analytical transmission electron microscopy (TEM) for chrysotile asbestos
fibrils, bundles, clusters and matrices. X-ray energy dispersive analysis and selected area
diffraction was used to confirm the presence of chrysotile asbestos. The samples contained from
44.7% to 76.1% chrysotile asbestos particulates with the mean length of fibrils being less than 4
microns, a size that can be taken deep into the respiratory system and thus pose a respiratory
hazard. Since the manipulation in this study was simple rinsing, and not the usual more
aggressive procedures used to prepare the brakes for installation, like beveling, grinding, and
sanding, the authors concluded that brake installation and repair would lead to release of large
numbers of chrysotile asbestos that posed a respiratory hazard to brake workers.


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Cely-Garcia (2012) conducted personal monitoring for asbestos in three brake repair shops in
Bogota Columbia. Standardized NIOSH methods were used to measure full shift (8-hour TWA)
and short term (30 min) exposures. Personal asbestos concentrations based on transmission
electron microscopy counts were “extremely high, ranging from 0.006 to 3.493 f cm-3 for 8-h
TWA and from 0.015 to 8.835 f cm-3 for 30 minute samples.” All asbestos fibers detected were
chrysotile. Cleaning and grinding facilities showed the highest counts.
Brake Debris: Are the Chrysotile Fibers Contaminated with Tremolite?
There are numerous articles debating the significance of finding non-commercial amphibole
tremolite asbestos fibers sometimes found among the chrysotile asbestos fibers in brake debris
and in the tissues of brake workers. Poland 2019, Liu 2018, Finkelstein 2015, Finkelstein 2012,
Marsh 2011, Marsh 2012, Egilman 2012, Egilman 2012b, Kakooei 2009, Paustenbach 2003,
Butnor 2003 Some articles claim that the tremolite must come from some source outside the
brakes (Roggli 2002b showed that talc could be a source of tremolite) or must come from the
worker’s other occupational exposures other than brake work. Other authors from the above
articles claim that even though the asbestos in brakes was chrysotile, it was contaminated with
tremolite or other amphiboles from the brake material. Given the large body of evidence that
some chrysotile mines are contaminated with tremolite, (Mossman 1990, Langer 1997,
McDonald 1997, Roggli 1993, Churg 1986 ) it is logical that brake chrysotile can also be
contaminated with tremolite, since the source chrysotile asbestos can be contaminated with
tremolite. A debate about whether chrysotile asbestos from brake work, or chrysotile asbestos
contaminated with tremolite causes mesothelioma in brake workers, is irrelevant given that both
asbestos types can be found in brake debris and brake workers and both cause mesothelioma.
Fiber Size and Shape
A significant portion of the chrysotile asbestos fibers generated during gasket and packing
and brake replacement are shorter than 5 microns, which at one time were considered to
be asbestos fibers not worth regulating. Regulations from the past were based on a
minimum fiber length of 5 microns and a ratio of length to width of greater or equal to 3
were based on the microscope limitations of using phase contrast microscopy (PCM)
before the modern availability of electron microscopy. Stayner 2008 A review by
Dodson (2003) describing the work of Dr. Frederick Pott, Dr. Frank and others makes it
clear that these small chrysotile small fibers are capable of carcinogenicity. Moreover, it
has been shown that these small chrysotile fibers migrate to the pleura from the lung and
that they can contribute to the development of mesothelioma. Davis 1988, Suzuki 2001,
Suzuki 2005. A comprehensive review of the literature on asbestos fiber size and toxicity
concluded that “…the toxicity of short asbestos fibers cannot be dismissed.” Boulanger
2014 Hamra 2014 and Hamra 2017 conducted statistical modeling of the
epidemiological toxicity of differing sizes and shapes of chrysotile fibers and concluded
that small fibers and thick chrysotile fibers can be carcinogenic. As discussed in the
potency section above, Wong 2020 analyzed the mesothelioma risk from different mixes
of fiber types and sizes in a U.S. case-control study. All fiber mixes including both
amphiboles, and chrysotile and chrysotile alone, and fibers longer and shorter than 4
microns had significantly elevated odds ratios for mesothelioma.


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Epidemiology Research Methods in the Study of Brake Mechanics and Mesothelioma
It is universally accepted that it takes a greater exposure to asbestos to cause asbestosis than the
amount needed to cause mesothelioma. Hillderdal 1999. Brake repair and clutch lining workers
have been diagnosed with both pleural plaques, Marcus (1987), Ameille (2012), and asbestosis,
McVittie (1965), Lorimer 1976, Coggon 1995, indications that their exposures to asbestos were
significant. Where there has been excess respiratory impairment, workers have definitely been
exposed to asbestos levels high enough to cause mesothelioma. Erdinc 2003. As a result of the
documented exposures to asbestos from friction materials in auto repair, Huncharek (1990)
reported a forecast of 20,000 deaths from asbestos-related cancers among auto mechanics during
the next 40 years in the United States.
Not all studies have reported excess mesotheliomas in auto mechanics or brake
workers. Epidemiologic research methods, however, have not been adequately applied to the
question of whether brake workers are at an increased risk of mesothelioma. In many of the
studies cited for the proposition that exposure to asbestos from brakes cannot cause
mesothelioma, there are issues of inadequate study design, methodological flaws, small study
size, lack of accurate work histories, using occupation as surrogate for exposure, difficulty of
mesothelioma diagnosis and other weaknesses. Egilman 2005, Welch 2007, Teschke 2016,
Vermuelen 2016 While there have been review articles, re-analyses of previous studies and
meta-analyses that conclude there is no hazard of mesothelioma from working with brakes, they
have all been financed by the automobile manufacturers and do not accurately reflect the
scientific and medical literature. Wong 2001, Goodman 2004, Laden 2004, Hessel 2004, Kelsh
2007, Garabrant 2016.
There are a variety of different epidemiologic research study designs that have been utilized to
address the causation of occupational cancers:
1.      Case Reports/Case Series:
There have been a number of published case reports and case series concerning mesothelioma in
brake repair workers, their family members and even their pets:
Newhouse (1965) studied a series of 83 patients from the London Hospital with a diagnosis of
confirmed mesothelioma. One male case worked in the manufacturing of brake linings.
Godwin (1968) describe a peritoneal mesothelioma in a 43 year old woman who had spent three
years weaving brake linings made of chrysotile asbestos.
Greenberg (1974) report mesothelioma in a motor mechanic.
In a study of 52 mesothelioma cases of females from New York State, Vianna (1978) found two
women whose husbands had exposure to brake linings, and another who was a textile worker and
whose husband was a brake lining worker. In a nested case-control study which included these
three women, the authors found that this pattern of exposure yielded an estimated relative risk of
10 with a 95% CI of 1.42 to 37.40.
Langer (1982) described the case of the case of a diffuse pleural mesothelioma in a brake repair
worker, a 55 year old male who had worked in the car, tire and car repair business since the age
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of 19. He routinely had done replacement of brake linings, and he had no other known source of
asbestos exposure history. The authors report their analysis of lung tissue showed the presence
of chrysotile fibers and no amphibole fibers by electron diffraction.
Cutler (1982) describes the case of a mesothelioma in a 12-year-old child who was exposed to
brake drum dust from work his father (“a heavy goods vehicle mechanic”) brought home.
In eighteen dogs with mesothelioma identified from veterinary hospital records, Glickman (1983)
identified two German shepherds whose owners were automobile mechanics, another German
shepherd who accompanied his owner to his auto body and used parts supply business, and a
mixed breed whose owner was involved in auto body repair.
Huncharek (1989) found a pleural mesothelioma in a 47 male whose only known exposure to
asbestos was a brake mechanic from age 30-41. That would be a latent period of 17 years.
Muscat (1991) described a case of mesothelioma is a woman married to an automobile
mechanic.
Rees (1999) identified a motor vehicle mechanic among 123 mesothelioma cases in South
Africa.
Maltoni (1999) describes “a case of pleural mesothelioma arising in the wife of a garage
mechanic professionally exposed to asbestos present in brakes and clutch discs.”
Burdorf (2003) describe the occupational background of mesothelioma cases collected by two
law firms. 5 of the cases are listed as car mechanic.
Okura (2009) reports on a 61-year-old man with mesothelioma who had worked “at a car repair
shop dealing with brakes and clutches from 1963 to 1970.”
Ruiz-Tirado (2011) describes an 88-year-old woman with peritoneal mesothelioma whose
husband worked in the automotive industry as a brake specialist.
2.    Registries: There have been registry studies from all over the world showing automotive
workers with mesotheliomas.

Malker (1985) conducted a systematic assessment of pleural mesothelioma occurrence in
Sweden from national population-based registries linking cancer incidence from 1961 to 1979
with 1960 census data. Based on finding of 16 cases of mesothelioma in the category of
mechanics and repairmen, the authors calculated a standard incidence ratio (SIR) of 2.4, more
than double the expected incidence. The authors, however, did not specify how many of those
cases occurred in automotive mechanics.
Neumann (2001) found 48 mesotheliomas in the German mesothelioma register 1987-1999
(1605 total mesotheliomas) that worked in the “automobile sector”. The mean age of these 48
cases was 57.8, with a mean latent period of 35.7 years.
Leigh (2002) studied the 6329 mesothelioma cases on the Australian National Mesothelioma
Registry 1945-2000. 77 of the cases had documented exposures to brake lining as an occupation,

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with 58 having brake lining work as their only occupational exposure to asbestos. Using this
data from the Australian mesothelioma registry, Dr. Douglas Henderson, an appointed expert for
the World Trade Organization, calculated that brake mechanics have approximately a 10-fold
increased risk of contracting mesothelioma as compared to the general population. Henderson
2001.
Roggli (2002) report on exposure histories of 1445 cases of mesothelioma obtained from
litigation files. 51 of these cases were listed in the category "automotive industry" which
included “auto mechanic, brake repair worker, brake line worker.” 24 of the 51 cases had this as
their sole occupation.
Goldberg (2005) studied the industry and occupation in the French National Mesothelioma
Surveillance Program (PNSM). 6.66% were in the “transportation and communication”
economic sector. In 2009, the PNSM listed 29 motor vehicle mechanics in the registry. PNSM
2007.
Pan (2005) studied mesothelioma cases from the California Cancer Registry. 46 of the cases
were classified occupationally as mechanics. There is no indication of how many, if any, of
these mechanics were involved in automotive repair.
Pukkala (2009) studied 45 (1961-2005) years of cancer incidence in the Nordic countries of
Denmark, Finland, Iceland, Norway and Sweden. There were 6017 pleura/peritoneal
mesotheliomas recorded in total. By occupational category, 85 were listed as transport workers,
and 851 as mechanics. Again, the authors did not indicate how many of the transport workers or
mechanics were involved with repairing automobiles or trucks.
Rolland (2010) conducted a case-control study of 462 pleural mesothelioma cases as compared
to 897 controls. 17 mesotheliomas occurred among motor vehicle mechanics as compared to 22
in the controls for an Odds Ratio of 1.50 (95% CI 0.76-2.95). In the category of repair of motor
vehicles and motorcycles, 19 mesotheliomas were found as compared to 29 in the controls for an
Odds Ratio of 1.20 (95% CI 0.65-2.24). While neither finding is statistically significant, they are
still suggestive of an association given the limitations of probable under-diagnosis of
mesothelioma and the high probability of exposure misclassification in both cases and the
controls, especially in relation to the lack of inclusion of multiple occupations.
3.     Proportionate Mortality Studies:

In a proportionate mortality study the proportionate mortality ratio (PMR) is calculated using
information on death certificates, there are two significant limitations in interpreting its
impact. First, the occupational information is limited to that listed on the death certificate which
is often the last occupation of the deceased. The important occupational exposure to asbestos, on
the other hand, may have occurred in an earlier occupation in the person’s lifetime. Second,
since the cause of death is based solely on that listed on the death certificate; there are concerns
about the completeness of the ascertainment of death and the accuracy of the coding of the cause
of death. For these reasons, Goodman (2004) declined to include the data from any of these
types of studies in their meta-analysis, as they were deemed “unreliable.” According to the
authors, they were cited solely for the sake of completeness.

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The British Health Safety Executive cautioned, “a PMR of 100 does not represent the
‘background’ risk for mesothelioma (the level that would be expected in the absence of all
asbestos exposure).” HSE 2001. Rather, according to the HSE, a hypothetical group of men
with no asbestos exposure would likely record a PMR of approximately 6. Since the HSE
calculated a PMR of 48.4 for automobile mechanics based upon 60 mesothelioma deaths,
multiple times higher than the hypothetically non-exposed group, the HSE's data should not be
interpreted as providing evidence that automobile mechanics are not at risk of developing
mesothelioma.

Coggon (1995) conducted a proportionate mortality analysis of occupation of deaths age 20-74
in England and Wales during 1979-1980 and 1982-90. 12 deaths were recorded for pleural
cancer (PMR 46) and 3 for peritoneal deaths (PMR 88) in motor mechanics. Interestingly, 2
deaths in motor mechanics from asbestosis were also recorded (PMR 80).

Hodgson (1997) utilizing data from the HSE’s mesothelioma register, reports that motor
mechanics have a PMR less than 100 without specifying the exact calculated PMR or the number
of cases included in that calculation.

Milham (2001) conducted a proportionate mortality analysis of deaths in Washington
State. Among automobile mechanic and repair workers, they found 7 pleural mesotheliomas
(PMR 75) and 2 peritoneal cases (PMR 53).

Roelofs (2013) coded occupations mesothelioma cases on the Massachusetts Cancer Registry
from 1988-2003. For comparison, 80,184 cancer cases were also coded for occupation and
industry and standard morbidity odds ratios (SMORs) were computed. Based on 10
mesothelioma cases, automobile mechanics had an SMOR of 2.1 (95% CI 1.1-4.0). In addition,
based on 11 mesothelioma cases, automotive repair and related services industry was assigned a
SMOR of 2.2 (95% CI 1.2-3.9).
Based upon their inherent limitations, it would not be reasonable to rely upon PMR studies like
Coggon (1995), Hodgson (1997), Milham (2001), and HSE (2001) to conclude that automobile
mechanics are not at risk for developing mesothelioma.

4.     Cohort Studies: A cohort study of a large workforce of auto workers such as Ford or
General Motor’s workers in the U.S. has not been done. Unlike the unionized insulation
workers studied by Selikoff, however, brake repair workers in gas stations and garages are not a
workforce amenable to systematic study because of the lack of a sufficient number of such
workers in a central location or union, and because of the intermittent and transient nature of the
occupation. As aptly described in Welch (2007):
       There have not been definitive epidemiology studies of brake mechanics because
       of the nature of the workforce. It is generally non-unionized, and spread out in
       car repair shops all over the world. Well-defined asbestos worker studies of
       insulators and asbestos textile manufacture have been in factories or highly
       unionized workforces where exposure is clearly documentable by the nature of
       their job or job title or industry. Exposure to asbestos from brakes can occur to
       automobile or truck mechanics anywhere in a vehicle repair shop and the workers

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       are highly transient and not documented. In fact, thousands if not millions of non-
       occupational amateur car repair-persons have been exposed while changing their
       brakes outside in alleys or on the street or in their own home garages.

In fact, there has not been any adequate prospective cohort studies conducted on a group
of brake repair workers.

There have been, however, been a number of historical cohort studies of workers in plants
manufacturing friction materials such as brakes and clutches:
Robinson (1975) reported the mortality patterns in a friction materials manufacturing plant of
3276 workers followed for mortality 1940-1975. 99% of the asbestos in the plant, which had
been operating since the early 1900’s was chrysotile with some small amounts of amosite and
crocidolite being used during the years of WWII. Mesotheliomas accounted for 4.3% of the
deaths. Table 7 lists 17 cases of mesothelioma, 5 pleural, 6 peritoneal, and 6 with site unstated.

Newhouse (1982) reported a mortality study of workers in a factory producing friction materials.
11 deaths were due to pleural mesothelioma. Even though the factory only used chrysotile except
during two well-defined periods (1929-33 and 1939-44) in well-defined areas of the factory
when crocidolite was used, the authors attributed none of the mesotheliomas to chrysotile
exposure. Newhouse (1989) extended this study by seven more years and found 3 additional
mesotheliomas for a total of 13. Of the three new cases, one was a grinder who was only
exposed to chrysotile asbestos. Another of the three worked at the factory when only chrysotile
was being used and died of a malignant right pleural effusion but a diagnosis of mesothelioma
could not be confirmed.
Finkelstein (1989) conducted a mortality study of 1657 employees at two Ontario automotive
parts factories that manufactured friction materials containing chrysotile asbestos. Elevations
were found for laryngeal and lung cancer. Two of the lung cancer cases were suspected to
actually be cases of pleural mesothelioma. The diagnosis of mesothelioma, however, could not
be confirmed in one of the cases because tissue specimens were lost and a definitive pathologic
diagnosis had not been render in the other although the pathology consultant to the Worker’s
Compensation Board reported that “the morphologic features of the specimen and the
distribution of the tumor at the time of surgery were fully consistent with mesothelioma.”
There have also been a handful of historical cohort studies of workers engaged in brake
repair work:

Rushton (1983) studied 8490 London bus transport maintenance workers, 2313 of which were
mechanics. Under the category of “Cancer of the lung and pleura,” there were 102 deaths but no
breakdown as to the number, if any, of pleural cancers. The authors emphasize that their study
inadequate to determine mortality patterns because both the number of men included and the
years of follow-up, a mean of 5.9 years, were inadequate.
Jarvholm (1988) reported one pleural mesothelioma in a cohort of 21,905 Swedish men who had
and occupational title of “mechanic” or an industry code of “car repair” as listed in the 1960
Swedish census. Without explanation, the authors state that the data indicates no increased risk
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of mesothelioma in car mechanics even though they were unable to calculate a risk ratio because
of the lack of information regarding the expected incidence of mesothelioma in the general
population.
Hansen (1989) conducted a study of 21,800 auto mechanics in Denmark and observed a case of
mesothelioma. Because no cases of mesothelioma were expected based upon the death rates of
the comparison population, the standardized mortality ratio (SMR) was essentially infinite
leading the author to conclude the population was at an increased risk of contracting the disease.
The author states “[a]sbestos exposure is known to occur during the replacement of brake
linings, and the single case of pleural mesothelioma is an indication that this exposure has not
been negligible.” Significantly, the population of auto mechanics studied was quite young with
nearly 93% of the man age 54 or younger at the end of the study’s ten-year follow-up. Given the
long latency period associated with mesothelioma, it is likely that this study underestimated the
risk in this population.
Gustavsson (1990) found two mesotheliomas among 696 workers in bus garages in Stockholm
Sweden. The authors speculated, however, that both might have been exposed to asbestos
during previous employments. The authors cautioned that no conclusions could be drawn
regarding risk estimates for any of the disease due to the limited size of the study group.
Merlo (2010) conducted an historical mortality study among bus drivers and bus maintenance
workers in Genoa, Italy. The authors observed 26 cases of pleural mesothelioma. When
compared to the entire Italian male population death statistics with an expected rate of
mesothelioma death of 7.08, the standardized mortality ratio (SMR) was 3.67 (95% CI of 2.50-
5.39). When, however, compared to the local Ligurian male expected mesothelioma death rate
of 25.6, no increased risk was detected.
5.      Case-Control Studies:
Exposure misclassification plagues most of the case-control studies cited for the proposition that
brake mechanics are not at risk for mesothelioma:
McDonald (1980) conducted a matched case-control study in North America and found 11
mesothelioma cases in the category of garage workers as compared to 12 in the control
group. Since, however, the category of garage workers is not limited to only those workers who
replaced brakes, there is a strong probability of non-differential exposure misclassification which
tends to underestimate any risk of producing a "false negative" finding. Blair 2007. A prior
McDonald study utilizing the more specific occupational category of "installation of brake
linings," on the other hand, found an increased risk of mesothelioma. McDonald 1970.
Teta (1983) studied 201 cases of mesothelioma from the Connecticut Tumor Registry. For the
category of “automobile repair and related service,” the authors calculated a relative risk of 0.65
(95% CI 0.08 to 5.53). The extremely wide confidence interval is a consequence of the limited
amount of cases in the study related to automobile repair - 6, a figure that included both cases
and controls. The authors acknowledged that a major difficulty in their non-interview
retrospective study relate to “the inadequacy of occupational histories” and the “potential for
misclassification of exposure status.” They further conceded that the “‘true’ magnitude of the
RR [relative risk] . . . is likely to be higher than [their] findings indicate.”
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Spirtas (1985), in preliminary results from evaluating 259 cases of mesothelioma, listed a
relative risk of 1.0 ( 95% CI 0.6 to 1.6) in the category of “brake lining installation or repair”
based upon next-of-kin telephone interviews. This “study,” however, is simply an abstract and
does not contain sufficient details to adequately evaluate its preliminary findings.
Spirtas (1994) was a published case-control study of malignant mesothelioma cases from the Los
Angeles County Cancer Surveillance Program, the New York State Cancer Registry, and 39
large Veterans Administration hospitals that was based upon information from telephone
interviews of next-of-kin. These interviews yielded 33 mesothelioma cases that had a reported
history of “Brake lining work or repair.” The authors did not calculate an odds ratio specific for
this exposure. Ten years later, Hessel (2004), after eliminating 5 cases, ascertained that all but
one of the remaining 28 mesothelioma cases with brake lining exposure had a history of asbestos
exposure as insulators or in shipbuilding.
Woitowitz (1994) reported on 16 mesothelioma cases that were classified as either “motor
vehicle mechanics” or “motor vehicle repair workers.” Without revealing any odds ratios, the
authors concluded that there was no evidence that “car mechanics are exposed to an increased
risk of mesothelioma even if they do brake repairs. . .” The difficulty of classifying exposure in
these types of studies is highlighted by the fact that only 6 of the 16 mesothelioma cases were
"definitively engaged in brake service."
Teschke (1997) studied 51 mesothelioma cases as compared to 154 population-based controls for
occupational histories and possible asbestos exposures. Vehicle mechanics had a relative risk of
0.8 (95% CI 0.2 to 2.3) based upon 6 cases and 20 controls. Individuals engaged in brake lining
installation or repair had an OR of 0.3 (95% CI 0 to 1.4) based upon 2 cases and 17
controls. The authors, however, recognized that this was an extremely small study and that the
grouping of occupations “was likely to result in non-differential misclassification.” In addition,
since one-third of the case group was based on next-of-kin interviews and only one-seventh of
the control, relative risk estimates for such exposures “would be expected to be biased downward
whenever there was a smaller proportion of next-of-kin interviews among controls.” Teschke
(2016) describes the difficulties in conducting epidemiology case-control studies to elucidate a
possible exposure-response relationship between asbestos from brakes as an auto mechanic by
classifying cases and controls by occupation. “Of course, it is impossible to study every
occupation-disease relationship. In addition, even where a job has been studied, the potential for
variable exposures within a job to dilute the relationship is probable for many jobs, and would
preclude a person with high exposures from having their occupational disease recognized, simply
because others in the same job were not similarly exposed. The question is whether the exposure
caused the disease. A job cannot cause disease, its exposure may…. In other words, the effects
of chrysotile are not properly assessed via the surrogate measures of exposure ‘vehicle
mechanic’ or “brake repair.’”
Agudo (2000) conducted a case-control study in Spain of mesothelioma. In a footnote, the
authors reveal that there were 3 cases of mesothelioma in the category of “Mechanics, motor
vehicle” as compared to 14 controls. The authors reported, however, that while all but one of the
controls were interviewed, 44% of the cases were deceased and information regarding exposure
came from the spouse, a son or daughter, another relative or a neighbor. The authors conceded
the possibility of “some degree of misclassification”.
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Welch (2005) conducted a case-control study of 40 cases of primary peritoneal mesothelioma
cases compared to controls. 8 of the cases had engaged in brake lining work compared to only 6
controls resulting in an excess risk.
Rake (2009) conducted a case-control study of 622 mesothelioma patients and 1420 population
controls. The authors reported an OR of 0.4 (95% CI 0.1 to 1.7) for “vehicle maintenance
involving work with brakes or gaskets without disclosing the number of cases or controls
involved in the work activity. Peto (2009), using the same data as Rake (2009) disclosed 18
motor mechanics with mesothelioma as compared to 54 controls resulting in an OR of 3.8 (95%
CI 1.9 to 7.8). After removing any mesothelioma case that also had potential exposure
elsewhere, the motor mechanic mesothelioma cases were reduced to 2 with 24 controls resulting
in an OR of 0.7 (95% CI 0.2 to 3.5).
Aguilar-Madrid (2010) conducted a case-control study of 119 malignant pleural mesothelioma
cases listed on the Mexican Institute of Social Security compared to 353 controls from the same
system. There were 8 mesothelioma cases in the economic activity of “Sale, maintenance and
repair of motor vehicles and motorcycles; retail sale of automotive fuel” as compared to only 5
controls. In the occupational category of “Mechanic, automobile,” however, there was only 1
mesothelioma case versus 4 controls. The authors recognized that the results of their study
depended on a hygienist to estimate exposure and that the hygienist could have introduced
nondifferential misclassification bias which always dilutes the strength of the association.


Issues in the Epidemiology of Brake Workers

Interpreting the existing epidemiologic studies to determine whether there is a link between
exposure from brake work and the subsequent development of mesothelioma is difficult for a
variety of reasons. First, for any study that relied upon disease information recorded on death
certificates prior to 1999, there is a general under-ascertainment of mesothelioma as the
underlying cause of death because of the lack of a specific International Classification of Disease
(ICD) code for mesothelioma. Wojcik 2014.

Second, proportionate mortality studies are not designed to answer the question of causation
from a specific occupation. Instead, these types of studies are, at best, a general surveillance
tool.

Third, few cohort studies of brake workers exist and those that have been conducted do not have
sufficient latency or population size to accurately assess the risk from a rare disease like
mesothelioma. No cohort studies of brake repair workers have been conducted in the United
States because these workers are not a cohesive, or unionized group that can be followed either
in real time or historically as has been done for asbestos insulators or textile manufacturing
workers.

Fourth, case-control studies that include brake workers have been plagued with exposure
misclassification in both the case and control groups which can lead to a bias toward a
null result or even a seeming “protective” effect of working with asbestos dust from
brakes. In studies involving mesothelioma, the cases are often deceased and exposure
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histories depend on information from living relatives or friends, whereas the exposure
histories are taken from living controls. The live controls are more likely to accurately
report brake work history, especially home garage or "shade tree" mechanic history as
compared to information gathered from the relatives of deceased cases. The issue of
misclassification is further highlighted by the lack of uniformity in how the case-control
studies categorize the occupation - McDonald (1970), brake lining installation; McDonald
(1980), garage worker; Teta (1983), automobile repair and related services; Woitowitz
(1994), motor vehicle mechanics/motor vehicle repair workers; Teschke (1997), vehicle
mechanics/brake lining installation and repair; Agudo (2000), mechanics - motor vehicles;
Welch (2005), tire or brakelining work; Rake (2009), vehicle maintenance involving work
with brakes or gaskets; Peto (2009), motor mechanics; and Aguilar-Madrid (2010),
automobile mechanics/sale, maintenance & repair of motor vehicles & motorcycles -
retail sale of automotive fuel. Using occupation as a surrogate for brake dust exposure
tends to bias all these case-control studies toward the null. Teschke 2016.

Finally, because of the rarity of the disease being studied, there is an overarching issue
applicable to all of these studies regarding the inadequate statistical power of these
various studies to detect an increased risk if it exists. The existing studies are all small
and thus not likely to detect a risk that would be detected in a larger study. Freeman
2012.

Limits of Meta-Analysis in the Epidemiology of Mesothelioma from Asbestos in
Brake Work

Meta-analysis was invented for clinical trials in medicine. DerSimonian 1986. The
motivation were instances of a series of identical clinical trials on a new treatment for a
disease where the sample size was too small to achieve statistical significance (lack of
statistical power). The small identical studies could be combined into a “meta” study to
have enough study subjects to achieve adequate statistical power and thus the null
hypothesis of no effect could be rejected and the new treatment could be adopted.
Cochran 1954.

That meta-analysis has been adopted for observational epidemiology studies is
controversial among epidemiologists, as it the techniques were not designed for studies
that are dissimilar. Shapiro 1994 Greenland 1994 As observed by Blair 1995 “… meta-
analysis may not be useful…when there is substantial confounding or other biases which
cannot be adjusted for in the analysis.”

There have been a series of meta-analyses that have sought to combine the epidemiology
studies that had any mention of automobile mechanics to reach a conclusion about
asbestos from brakes and mesothelioma. Wong 2001, Goodman 2004, Laden 2004, Kelsh
2007, Garabrant 2016 All of these suffer from the problem that they put the veneer
(Stroup 2000, Sheehan 2015) of meta-analysis on a group of observational studies that
were not designed to study the issue of brake mechanics and mesothelioma.



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We will discuss the Garabrant 2016 article as it is the culmination of the previous similar efforts
by Wong 2001, Goodman 2004, Laden 2004, Kelsh 2007. Garabrant’s meta-analysis is flawed
in that it takes 16 studies that were not designed to answer the question of asbestos brake
exposures and mesothelioma and uses the jargon of meta-analysis to reach an unwarranted
conclusion. A cohort or historical cohort epidemiology study of brake workers could have been
mounted by an auto company like Ford or other large automotive company, but was not done.
The case-control studies used by Garabrant 2016 are not bad science, but they were not designed
to find the answer concerning mesothelioma and brake repair. Garabrant 2016 included 16
studies and did a test of heterogeneity (p < .0001) which is an indicator that they are
incompatible studies. He then picked 5 “Tier one studies”: all case-control studies by his own
scoring system. Each of these 5 were the wrong kind of epidemiology observational studies as it
was impossible to correctly assess exposure to brake dust jobs in their case-control study design.
Invariably, since mesothelioma is a quickly fatal disease, the information on jobs and exposure
was gathered from surrogates from the case group as compared to the information on
occupational exposures gathered from the live controls. This is a systematic bias (error) in the
setup of these studies for assessing occupational exposure that leads to a misclassification of
exposure (controls will know about exposure more than the surrogates for the cases).
Unfortunately, in the existing case-control studies of brake workers, there is no measurement of
exposure and the job titles cover a whole range of auto repair activities. Job titles are all that is
available and they are not necessarily accurate as to exposure. Vermuelen 2016
Boyle 1992 conducted a study of the quality of responses to questions about past exposures to
occupation and other exposures in cases versus proxy respondents within a case-control study of
six types of cancer. Whereas for cigarettes and other exposures, proxies did well, whereas for
occupational exposure proxy responses were poor. Lerchen 1986 compared exposure
information gathered via surviving spouses of lung cancer cases as compared to the same
information on exposure gathered from the cases before their deaths. Exposures to cigarettes
were accurate from the spouses, where the data gathered from the spouses on occupational
exposures was poor. Thus, case-control studies have been successful in epidemiology when the
exposure history can be fairly obtained between the case and control groups. Thus, for cigarettes
Doll 1950, Wynder 1950, Levin 1950, and medical exposures Herbst 1971 for instance, the case-
control studies have been successful, as the measurement of past exposures is unbiased between
the case and control groups.
There are methodological flaws in each of Garabrant’s five Tier I studies studies:
1. McDonald 1980: the control group consisted of patients who had “pulmonary metastases were
present from a non-pulmonary malignant tumore”:---thus control group may have had members
who had mesothelioma or other asbestos induced malignancies, such as larynx cancer. This
would lead to a systematic bias toward the null. In addition the occupational status used was the
one 10 years prior to death---not the important exposure in mesothelioma where the latent period
is 15 years and usually much longer. All the above would lead to misclassification of exposure
bias that would bias to null. The results were that there were 11 garage workers in the cases, 12


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controls were “garage workers”.    This is a tiny flawed study if one is looking for brake work
exposure.
2. Teta 1983 Cases were from the Connecticut Tumor Registry. Occupational histories were
from death certificates and city directories. This is a serious flaw in the study as the death
certificate would have most often the last occupation of the deceased, not the most relevant
occupation. In addition, using City Directories to assess exposure is another huge flaw. The
results were 1 “exposed case, 5 “exposed’ controls. This is a tiny flawed study if one is looking
for brake work exposure.
3. Hessel 2004: This is not a study at all. It is a reanalysis of Spirtas 1994, removing all the
cases and who had possible exposures to asbestos in occupations other the brake work. Hessel
2004 reduced Spirtas 1994 33 cases and controls down to 1 case and 9 control “brake workers”.
4. Rake 2009 In this case control study of mesothelioma, the occupational history takers were not
blinded as to case and control status of subjects and thus this study is entirely flawed as to any
conclusions as to occupational exposures.
5. Teschke 1997: Teschke 2016 herself gives exposure misclassification and bias toward null as
reasons not to use her study to reach the conclusion Garabrant 2016 did.
Garabrant 2016 concludes:
“This meta-analysis of the epidemiologic studies provides evidence that motor vehicle
mechanics, including workers who were engaged in brake repair, are not at an increased risk of
mesothelioma.” This is a totally unwarranted conclusion as the studies were not designed to
answer that question.
Summary of Bystander and Household Mesothelioma
There have been multiple studies and reports of mesotheliomas resulting from household and
environmental exposure to asbestos (Newhouse 1965 Vianna 1978, Wolf 1987, Huncharek 1989,
Magnani 1993, Schneider 1996, Bourdes 2000, Bianchi 2004, Miller 2005, Ampleford 2007,
Ferrante 2007, Marinaccio 2015, D’Agostin 2018). The risk of mesothelioma is not confined to
people working directly with asbestos. Exposures from living with someone who works with
asbestos and brings it home on their clothes, doing the laundry of the work clothes increases the
risk of mesothelioma.

Bourdes 2000 conducted a meta-analysis of bystander exposure studies and mesothelioma. “The
relative risks (RRs) of pleural mesothelioma for household exposure ranged between 4.0 and
23.7, and the summary risk estimate was 8.1 (95% confidence interval [CI]: 5.3±12). For
neighborhood exposure, RRs ranged between 5.1 and 9.3 (with a single RR of 0.2) and the
summary estimate was 7.0 (95% CI: 4.7±11). “ (abstract)

There is clear evidence from these and other studies that an individual does not have to be
actually working with asbestos to be exposed to asbestos to cause mesothelioma. Individuals can
be exposed from a worksite via the air or via the clothes of the worker to be exposed at a level
sufficient to cause mesothelioma.
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Truck Terminal and Garage Manager Mesothelioma

Directly relating to Mr. Brindell’s mesothelioma and workplace environment, the Huncharek
1992 report from the data of Muscat 1991 reviews the occupations of 24 men and 19 women
with mesothelioma, with no self-reported asbestos related exposures, included a truck terminal
manager. In addition, the British Health and Safety Executive HSE (2001) found mesothelioma
in 6 garage managers and proprietors.
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Application of Hill Criteria
A widely accepted method for determining cause and effect for causation in epidemiology are
the guidelines that were originally suggested by Hill (1965) for evaluating the studies on
cigarette smoking and lung cancer and other diseases. These guidelines are not limited to just
formal epidemiological studies but rather incorporate and evaluate the totality of the science on a
given issue including cell biology, animal studies, and mechanistic studies. As Hill stated,
“[n]one of [his] nine viewpoints can bring indisputable evidence for or against the cause-and-
effect hypothesis and none can be required as a sine quo non.”
The most utilized modern list of viewpoints derived from Hill’s work are contained in the
textbook, Epidemiology, by Leon Gordis. Gordis 2009. They are:

a.      Temporal relationship
b.      Strength of the association
c.      Dose-response relationship
d.      Replication of the findings
e.      Biologic plausibility
f.      Consideration of alternate explanations
g.      Cessation of exposure
h.      Consistency with other knowledge
i.      Specificity of the association

a.      Temporal Relationship: This requires that the cause come before the effect. This
criterion is easily satisfied in the current context as the exposure to asbestos in brake dust occurs
many years, usually decades, before the diagnosis of the disease, mesothelioma.

b.      Strength of the Association: In epidemiology, strength of association is most often
measured by comparing the incidence of disease in the exposed divided by the non-exposed in a
cohort study. In the case of brake workers and mesothelioma, no adequate cohort studies have
been done, so there has not been any actual calculation of the relative risk. Likewise, most case-
control studies are plagued with exposure misclassification that leads to incorrect calculations of
the odds ratio estimate of relative risk.

c.    Dose-Response Relationship: There is clear evidence of asbestos dose-response in
mesothelioma causation. Iwatsubo (1998) did a rigorous assessment of occupational exposure to
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asbestos in 405 mesothelioma cases and 387 controls. The authors found “a clear dose-response
relation between cumulative asbestos exposure and pleural mesothelioma…” Examining data
from the French mesothelioma registry, Lacourt (2014) also found a clear dose-response
relationship between asbestos exposure and pleural mesothelioma. In fact, there are many
studies cited in IARC (2012) that show that every additional exposure to asbestos leads to a
greater risk of mesothelioma. Thus if a brake worker, was also exposed to asbestos from another
source, the asbestos in brake work would put the brake worker at heightened risk of
mesothelioma.

d.     Replication of Findings: The peer-reviewed published literature contains more than 400
mesothelioma cases that have occurred in workers, their families and their pets from exposure to
asbestos from the replacement of brakes in locations all over the globe.

e.     Biologic Plausibility: While the exact biologic mechanism explaining how
mesothelioma develops has not been definitively identified, there is abundant literature that
conclusively establishes the exposure to any form of asbestos can result in the formation of
mesothelioma. IARC 2012. There is also abundant literature that confirms that the process of
removing and replacing brakes can liberate substantial amounts of asbestos in the worker’s
environment. Accordingly, it is biologically plausible that such exposure can cause
mesothelioma.

f.      Consideration of Alternate Explanations: There are very few documented causes of
mesothelioma other than exposure to asbestos. The scientific literature contains a handful of
mesothelioma cases that were purportedly caused by the administration of therapeutic radiation.
In addition, exposure to erionite, a mineral found in Turkey and fluor-edentite in Sicily have
been linked with the development of mesothelioma. Neither of these would apply as an alternate
explanation for mesothelioma in brake mechanics. While there have been reports of “idiopathic”
or “spontaneous” mesotheliomas, this term has been reserved for those instances where there is
no discernable history of exposure to asbestos. Given the strong relationship between
mesothelioma and asbestos, it is likely that a significant portion of those cases that have been
labeled “idiopathic” are not cases where the asbestos exposure has not occurred but rather simply
could not be adequately documented. It is highly unlikely that the multitude of reported
mesothelioma cases in the medical literature (over 400) that have occurred in workers and their
family members from exposure to asbestos from brakes is due to chance alone.

g.      Cessation of Exposure: While many new and recent truck trailers were built with brakes
that did not contain asbestos, it still may be present in both old and replacement brakes. OSHA
2006 Given the potential for continued exposure to asbestos and because of the long latent
period associated with mesothelioma, whether or not the incidence of mesothelioma in truck
mechanics and supervisors will decrease will not be known for several decades.

h.      Consistency with other Knowledge: The published literature is replete with data
demonstrating that workers exposed to chrysotile asbestos from products that are not friction
products are at risk for developing mesothelioma. All asbestos types and exposures increase the
risk of mesothelioma. Moreover, there are studies of brake mechanics that document asbestosis
and/or pleural plaques that is also consistent with significant exposures to asbestos.
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i.      Specificity of the Association: This is the one criteria derived from Hill that is not useful
in environmental/occupational epidemiology. For instance, cigarette smoke causes multiple
diseases including lung cancer, emphysema, bladder cancer, heart disease and many other
diseases. Likewise asbestos causes malignant mesothelioma, lung cancer, other cancers,
asbestosis and pleural plaques.


Conclusion

There is sufficient evidence from the scientific literature, including epidemiology studies
of workers exposed to asbestos in many trades, that those in those trades are at an elevated
risk of death from malignant mesothelioma. Mr. John Brindell’s work history as a
supervisor of mechanics changing brakes on truck trailers was one of frequent exposure to
asbestos. In addition Mr. Brindell was exposed to asbestos from insulation on ships. All
types of asbestos are known to cause mesothelioma and there is no known safe level of
exposure and all doses are cumulative in increasing the risk of mesothelioma. While we
do not know the precise dose, the level of exposure to asbestos from Mr. Brindell’s
supervisory work with truck trailer mechanics would clearly cause substantial increased
risk for mesothelioma.


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               John Brindell, Jr. Asbestos Exposure Report of
                                Kenneth S. Garza, CIH, MS
        Carolyn Brindell, et al. vs. Carlisle Industrial Brake and
                                      Friction, Inc., et al.




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                                                                                               EXHIBIT Z
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                John Brindell, Jr. Asbestos Exposure Report of Kenneth S. Garza, CIH, MS
                Carolyn Brindell, et al. vs. Carlisle Industrial Brake and Friction, Inc., et al.
                         Civil District Court, Parish of Orleans, State of Louisiana
                                            Case No. 2019‐09716

1. Introduction

This report is based on a review of the case‐specific documentation, pertinent industrial hygiene
literature, and my qualifications, experience, and professional judgement as a Certified Industrial
Hygienist. My background education includes a B.S. Biology, minor Chemistry, an M.S. Environmental
Science and Management. I am certified by the American Board of Industrial Hygiene as a Certified
Industrial Hygienist (CIH). I am also a Texas Department of State Health Services (TDSHS) licensed
asbestos consultant for asbestos issues related to air monitoring, management planning, inspection and
abatement project design. I have conducted industrial hygiene related activities dealing with asbestos
hazards for 18 years.

Selected industrial hygiene, scientific, regulatory, and other documents which I considered are cited in
Appendix A. My curriculum vitae is in Appendix B. My expert testimony history is given in Appendix C. My
compensation is given in Appendix D. Deposition summary is located in Appendix E. I also rely on my
general knowledge in the topic areas, including our library of relevant publications. My opinions may be
supplemented or changed if new evidence/information is presented to me.

I am an expert in the field of industrial hygiene, regarding asbestos. I hold a Master of Science in
Environmental Science and Management and a Bachelor of Science in Biology with a Minor in Chemistry.
I am a Certified Industrial Hygienist (CIH), certified by the American Board of Industrial Hygiene (ABIH).
Examination and certification requirements include both formal education and professional industrial
hygiene experience such as possession of at least a four‐year bachelor’s degree in a field of science,
requiring at least 180 academic contact hours or 240 continuing education contact hours of industrial
hygiene course work with at least half of those hours in the areas of Fundamentals of Industrial Hygiene,
Toxicology, Measurements and Controls, and 2 hours of the ethics training or course work. Additionally, I
was required to demonstrate at least four years of industrial hygiene practice and at least two years of
the following occupational health stressors: chemical, physical, biological, ergonomics. As well as receive



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approval from an active CIH. The written CIH exam tested my knowledge of, and competency in, several
subject areas concerning workplace hazards. An industrial hygienist is a “professional qualified by
education, training, and experience to anticipate, recognize, evaluate and develop controls for
occupational health hazards … Certified Industrial Hygienist (CIH) means one certified in the
comprehensive practice of industrial hygiene by the American Board of Industrial Hygiene.” (OSHA 1994).
I am Licensed by the Texas Department of State Health Services (TDSHS) as an asbestos consultant
allowing for the inspection, management planning, air‐monitoring, and abatement of asbestos‐containing
materials. I am Licensed by the State of Florida Department of Business and Professional Regulation as an
asbestos consultant allowing for the same asbestos‐related consulting activities mentioned beforehand;
Training within these licenses includes Environmental Protection Agency (EPA) accreditation for
Inspector, Management Planner and Project [abatement] Design.

Regarding the hazards of asbestos as a consultant, or as an inspector prior to, I have: Conducted
numerous field assessments/surveys, which may involve worker interview and input, and including the
collection of thousands of environmental samples in the field, such as bulk samples, air samples, and
surface dust samples, which involves sample strategy planning therein; Conducted third party owner‐
representative services for numerous asbestos management planning activities, including response
actions, instructions, abatement design technical specifications, periodic surveillance recommendations
for the control of asbestos, operations and maintenance (O&M) program policies, compliance with
various asbestos regulations and standards, selected and fit tested for and trained on the appropriate use
of personal protection equipment, and the development of engineering controls and work practices for
asbestos‐related activities; Reviewed published/unpublished literature, and worker depositions regarding
asbestos exposure; Educated, trained, and experienced regarding the general development of standards
and regulations applicable to asbestos and the development of industrial hygiene knowledge, procedures
and technology over time; Educated, trained and experienced regarding with respect to fiber release of
various asbestos‐containing products and the relative fiber release capability and relative exposure to
asbestos fibers.

I prepared a report based upon my review of the evidence in this case, as well as my education, training,
knowledge, and experience in the field of Industrial Hygiene. My report is a summary of my opinions to‐
date concerning this case.



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The purpose of this report is to provide industrial hygiene opinions about 1) exposure and potential
exposure to airborne asbestos, 2) as well as specific exposures from various asbestos‐containing products
(Section 9). My review of case specific information includes: Video Deposition of Jonathan Keith Poleto,
Volume I, dated February 19, 2020; Video Deposition of Jonathan Keith Poleto, Volume II, dated February
20, 2020; and other case‐specific information.

Based on my review of the case‐specific information, this report will discuss the asbestos exposure of Mr.
John Brindell, Jr., personally or as a bystander, during the repair and maintenance of asbestos‐containing
trailers, axles, and friction materials, including the use of compressed air and grinders.

“Asbestos has been used in cement products, plaster, fireproof textiles, vinyl floor tiles, thermal and
acoustical insulation, and sprayed materials.” (USEPA, 1979) “Asbestos fibers do not have any detectable
odor or taste. They do not dissolve in water or evaporate and are resistant to heat, fire, chemical and
biological degradation. … As a result of its low cost and desirable properties such as heat and fire
resistance, wear and friction characteristics, tensile strength, heat, electrical and sound insulation,
adsorption capacity, and resistance to chemical and biological attack, asbestos has been used in a very
large number of applications and types of products.” (ATSDR, 2001) According to Hueper, 1942, “The
production of asbestos has risen enormously in recent years. It received this great impetus from its use in
the automobile industry. … Occupational contact with asbestos is present in many industries using
asbestos products. Asbestos is employed for a great variety of purposes, such as the manufacture of
incombustible and insulating materials (fire resistant clothes, blankets, theater curtains, sheets, ropes,
cords, twine, and threads), filter cloths, mill‐board, wall board, shingles, tiles, mortar (together with
cement and plaster of Paris for providing a fire‐proof wall lining), clinkers, gaskets, packing material of
pumps, insulating material of steam pipes, water pipes, boilers, and electric wires, brake lining, paper,
mattresses, adsorbent dyes (for manufacture of fire proof and acid proof stains), ingredient of rubber
products, and artificial wood.” (Hueper, 1942)


2. Industrial Hygiene

When referencing more contemporaneous industrial hygiene literature concerning exposure assessment
methodology, means, methods, and management; they are typically written in the idea of assessment for
a current exposure to some work hazard, and provide guidance for moving forward with addressing real‐



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time hazard management (e.g., assessing a current benzene exposure in a factory setting for the purpose
of managing that hazard going forward; or anticipating, recognizing, evaluating, and controlling).
However, these concepts and guidance can be useful for an industrial hygienist when assessing exposure
data in conjunction with work activities described, materials used, and work environmental settings that
occurred in the past, rather than a cumulative dose reconstruction. This report is not a lifetime
cumulative asbestos dose reconstruction (fiber‐years/cc), but rather an asbestos exposure assessment, in
which opinions of asbestos exposure significance and risk are made based on available data (quantitative
and/or qualitative), professional judgement, experience and training.

Historic asbestos exposures were mostly measured using an impinger, which gave results in million
particles per cubic foot of air (mppcf) or using phase contrast microscopy (PCM) to examine sampling
filters, which is an optical microscopy technique that gave results in fibers per cubic centimeter of air
(f/cm3). It should be noted that units “f/cc” or “f/cm3” (fibers per cubic centimeters) and “f/ml” (fibers
per milliliter), have the same quantitative meaning. The PCM method measures only fibers equal to or
longer than 5 micrometers, with an aspect ratio (length to width) of equal to or greater than 3 to 1. Short
fibers are not counted, and thin fibers are not even seen by the analyst because the optical scope cannot
resolve fiber widths less than 0.25 micrometers. The mppcf measurement gives no information about
fiber size, large or small, since it only provides a total numerical count of dust particles present. With
these historic data, and with contemporary PCM data, the total number of fibers present and the fiber
size distribution are not known. Transmission electron microscopy (TEM) is another and more current
method of analysis. This approach is appealing because it quantitatively measures only airborne asbestos
fibers and reports them in structures per cubic centimeter (s/cc). This method can also distinguish
between the different types of asbestos. Using historic data on average exposures or ranges of exposures
in a given operation or job to estimate exposures for an individual or a group must be done with these
limitations and/or capabilities in mind.

Asbestos exposures in any individual event are influenced by many variables which may be described
qualitatively (e.g., dustiness) or quantitatively (e.g., units of measurement per volume, f/cc). These
include, but are not limited to, the work being done, the particular method or work practice by which the
work is done, ventilation (mechanical or natural), air flow patterns and characteristics, atmospheric
conditions, types of asbestos‐containing products, amount of asbestos in the product used or disturbed,



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proximity to the work, duration of the work, duration of fiber settling times and time spent in an area
after work, and proximity of other co‐workers conducting the same or different asbestos‐related
activities. “Wide variations in concentration and receptor characteristic may exist, even within a single
scenario.” (DiNardi, 2003) Given these variables, it is logical that an individual’s exposure profile for a
certain work activity may have a broad range for any given time period or task, and certainly for a career.
Indeed, the fact that the average exposure for a particular trade, job or task may be low does not mean
that the exposure was low for every worker in that trade, job or task. Historic and contemporary asbestos
exposure data confirm this variability.

Instantaneous, real time measurements specific to asbestos exposure were not, and are not, done. An
asbestos air sample is an average of varying concentration over some period of time. This is true for
short‐term sampling as well as long‐term sampling. Within a sampling period, there can be peak asbestos
exposures which may not be observable in the overall average. For example, if an air sample is taken for
4 hours (240 minutes) and the reported result is 1.0 f/cm3 that number could represent 30 minutes at 5.0
f/cm3 (500% of the reported result) and 210 minutes at 0.4 f/cm3 (40% of the reported result).

For industrial hygiene purposes, the ranges of exposure from multiple sampling data points, which can be
represented through short‐term or long‐term sampling events, can be more useful in understanding the
potential magnitude of exposure than just the average of multiple samples. The full range of exposures
for a given workplace or task may not be known if both the highest and lowest concentrations were not
measured or considered. Even if the extremes were measured or considered, the data may be subject to
the limitations of the sampling methodology. Using the example above, the range would be 0.4 f/cm3 to
5.0 f/cm3 with an average of 2.7 f/cm3 (n=2).

Industrial hygiene studies will report data as exposure levels during the course of the sampling event
(short‐term) or as a time–weighted average (TWA). These are generally described as occupational
exposure levels (OEL’s) and can be regulatory (OSHA) or authoritative (e.g., NIOSH, AIHA, ACGIH).
Regulative and authoritative OEL’s for asbestos have existed for many decades. “For NIOSH RELs, ‘TWA’
indicates a time‐weighted average concentration for up to a 10‐hour workday during a 40‐hour
workweek. … TWA concentrations for OSHA PELs [permissible exposure limits] must not be exceeded
during any 8‐hour workshift of a 40‐hour workweek.” (NIOSH, 2007) “To meet the requirements of




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establishing the TWA concentrations, the sampling method and time periods should be chosen to
average out fluctuations that commonly occur in a day’s work. If there are wide fluctuations in
concentration, the long‐term samples should be supplemented by samples designed to catch the peaks
separately.” (Plog, 1996) For example, if a 30‐minute sampling event per a task occurs and a
concentration of 1.0 f/cm3 is reported and this event only occurs once in a workday, then the 8‐hour TWA
is 0.0625 f/cm3 (below the current PEL). If this event occurred twice in a workday, then the 8‐hour TWA is
0.125 f/cm3 (above the current PEL). If this event was consistent throughout an entire workday, then the
8‐hour TWA is 1.0 f/cm3 (above the current PEL and certainly the excursion limit). When comparing TWA‐
based data, a description of the activity, frequency and duration for a particular workday should be
considered. When comparing short term exposures data, a description of the activity and duration should
be considered.

Asbestos exposure assessment methodology is based on generally accepted, reliable, reproducible
industrial hygiene practices (e.g., means, methods, measurements, etc.), and professional industrial
hygiene judgement based on experience, training, and education. The variables in the workplace, to the
degree that they are reported, and limitations in the sampling methodology and work practice
methodology must be considered to prevent bias in interpretation of data from the industrial hygiene
literature. For the purposes of exposure assessment, industrial hygiene literature data or information
may be presented quantitatively, qualitatively, or both. Also, exposure data may be represented as short
term data, long‐term data, or both.

“Occupational Hygiene is the science and art ‘dedicated to the anticipation, recognition, evaluation, and
control of environmental factors arising in or from the workplace that may result in injury, illness,
impairment, or affect the well‐being of workers and members of the community’” (DiNardi, 2003). With
regard to anticipation, it is the “…expectation of potential health hazards.” For example, an Industrial
Hygienist can anticipate levels of worker exposure to asbestos for an activity based on professional
judgement and/or a review of previous relatable exposure levels for a given activity with a given
asbestos‐containing material; therefore recommending appropriate respiratory type with protection
factor, without collecting one air sample. With regard to recognition, it is the “acknowledgment of health
hazards in the work place”, understanding where those hazards come from and who those hazards
pertain to. For example, and industrial hygienist can recognize that certain cement pipe produced before



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a certain time period, more likely than not, contains asbestos and further recognizes that the act of
uncontrolled sawing, grinding, sanding, and the like, will most likely result in the release of asbestos
fibers; again, based on his/her professional judgement and/or a review of previous relatable exposure.
Regarding both anticipation and recognition, an industrial hygienist characterizes the nature of the
hazard, in this case asbestos, by understanding: the materials that contain asbestos; what the asbestos‐
containing material was used for; the historic understanding of work practice(s) related to these
asbestos‐containing materials; the exposure(s) associated with asbestos‐containing material work
practices; and human health implications due to work activity, and the potential risks associated with
asbestos exposure. Industrial hygiene literature includes information describing these aspects historically
and currently. These aspects can then be compared to what an individual or individuals may describe
about their work experience. (DiNardi, 2003)

With regard to evaluation, an industrial hygienist will characterize exposure concentrations and temporal
variability based on asbestos material type and work activity, more specifically. “Evaluation is the process
of examining an operation to determine the extent to which health hazards are present. Key skills
necessary for evaluation are observation and judgment as well as technical knowledge in science and
math. Both observation and judgment are developed and refined as a result of training and experience
and therefore utilize ‘art’ as well as science. The application of the occupational hygienist's experience is
used together with quantitative measurements, if available, to determine the magnitude of the stressors.
… The stressor measurements/estimates are then analyzed and tested for significance (e.g., determining
the importance and meaningfulness of the results). Judging significance can involve both subjective
decisions based on the occupational hygienist's experience as well as objective decisions based on
statistical analyses.” (DiNardi, 2003) “There is a wealth of health and safety information that should be
researched to help anticipate potential hazards in any work setting. Included in this search should be a
review of the known hazards associated with industrial processes or job classifications. An inventory can
then be made of previously identified hazards by category, and any relevant standards or guidelines can
be referenced.” (Plog, 1996) Quantitatively or qualitatively, when assessing an individual’s exposure to
asbestos, an industrial hygienist may rely on a worker’s contemporaneous workplace asbestos exposure
data, if this data exists; contemporaneous workplace asbestos exposure data for another worker or
workers with a similar job or work activity; current or historic, published or unpublished industrial




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hygiene literature describing similar work tasks or jobs (e.g., regulatory / recommendation publications,
journal studies, industry IH field studies); published or unpublished laboratory studies or simulations
studies. Again, this information is reviewed considering industrial hygiene methodology, general
acceptance, reliability, reproducibility of practices (e.g., means, methods, measurements…), and
professional industrial hygiene judgement based on experience, training, and education. Considering the
above IH information gives an industrial hygienist a magnitude range of exposure that is similar to what
may be described for an individual. Industrial hygienists use many techniques to assess exposure when
little or no data exist for a given situation or worker. Conclusions may be drawn from data in the
literature if conditions have sufficient similarity to the case of interest. Simulations can be reliable for
estimating exposure. These data sources can be used to establish a likely range of exposures and
probable average. For a given worker, however, the actual exposures at the extremes may be more or
less than studies and literature indicate. Industrial hygiene literature reporting asbestos exposures orders
of magnitude greater than background levels may describe these exposures as significant. General
conclusions about exposures of a given worker population may not be accurate for an individual worker.
(DiNardi, 2003) With regard to workplace controls, an industrial hygienist considers controls
implemented, if any. Such as substitution, engineering controls, administrative controls and personal
protective equipment (e.g., hierarchy of controls).

In general, an industrial hygienists’ decision about workplace exposure “…is based on a combination of
observations, interviews [information provided by workers], and measurement of … air contaminates
arising from the process or work operation and the effectiveness of control measures use.” (Plog, 1996)
My asbestos exposure assessment methodology includes having an understanding of the: expectation
and acknowledgement of the potential human health implications due to asbestos exposure as
represented in the industrial hygiene literature; nature of its use historically and currently;
characterization of asbestos hazard as reported in the industrial hygiene literature; understanding of
industry accepted and sound methodologies employed in the IH literature; similar work practices in the
IH literature involving asbestos‐containing materials resulting in asbestos exposure; the comparison of
similar work activity exposure in the IH literature to work activities described by an individual or
individual(s); likely exposure ranges expected; and effects of in‐place controls, if any.

In some cases, historical exposure data are limited in quantity and scope. It is unreasonable to assert that



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such historical data, simulation data, etc. can only be reliable for estimating exposures that match in
every detail the historical events, the simulations, etc. It is standard industrial hygiene practice to
consider, with appropriate care, all data which may have bearing on a worker’s exposure. If industrial
hygiene were limited to estimating exposures only where historical data existed as an exact match for the
situation under assessment, there would be no meaningful and practical way to predict average
exposures and/or ranges of exposures for the boundless variety of work places, work practices, and
products in commerce today and historically. Without exposure estimates (both retrospective and
prospective), health effects could not be related to workplace conditions, adequate exposure limits could
not be established, and epidemiology studies would have insufficient foundation related to
environmental conditions. This situation would preclude adequate worker protection and make workers
“canaries” like those birds used in coal mines in times past.


3. Regulations and Recommendations

According to the Memorandum on the Industrial Diseases of Silicosis and Asbestosis, in 1935, the
exposure to asbestos‐containing dust from various material types and guidance control are discussed.
The disease asbestosis was described as “a special type of fibrosis of the lung tissue. … Industries and
processes in which asbestosis occurs – Processes involving exposure to asbestos dust which are known to
give rise to asbestosis or in which the conditions are such as to be liable to produce disease, are the
breaking, crushing, disintegrating, opening and grinding of asbestos and the mixing or sieving of asbestos
or any admixture of asbestos, the manufacture of asbestos textiles, the making of insulating slabs or
sections and the making or repairing of insulating mattresses composed wholly or partly of asbestos, and
the sawing, grinding, and turning in the dry state of articles composed wholly or partly of asbestos such
as motor car brake, clutch linings, jointings, electric insulating materials and some types of electrodes.”
Regarding preventative asbestos dust exposure measures, the suppressions of dust is mentioned as the
“chief means of preventing the disease [asbestosis].” “The adoption of wet methods, effective enclosure
of dust‐producing machines, adoption of enclosed mechanical methods instead of hand conveyance and
dusty hand work generally, and application of exhaust draught at dust‐producing points.” (Great Britain
Home Office, 1935)

According to Dreessen, “A characteristic of asbestosis is the finding of asbestosis bodies in the lungs and




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in the sputum. … Above 5 million particles per cubic foot, numerous cases of well‐marked asbestosis
were found. It would seem that if the dust concentration in asbestos factories could be kept below 5
million particles (the engineering section of the report had shown how this may be accomplished), new
cases of asbestosis probably would not appear.” (Dreessen, 1938)

In 1943, The American Industrial Hygiene Association (AIHA) described “eight common types of disease
and methods for their prevention,” one of which was asbestosis, and the sources and jobs for potential
asbestos exposure in the work environment. They further recommended controls for dealing with this
hazard such as segregation of dusty work, special ventilation, respirators, and periodic medical
examinations. (AIHA, 1943) In relation to occupation and the environment, Hueper describes asbestos as
an observed cancer‐causing agent. “Asbestosis cancer of the lung is the most recent newcomer among
the occupational cancers of this organ” (Hueper, 1943). Asbestos was “known or suspected to cause
occupational cancer” in the work environment. (JAMA, 1944)

The American Conference of Governmental Industrial Hygienists (ACGIH) in 1946 published its
recommended exposure standard for asbestos. The standard was called a maximum allowable
concentration (MAC) and was set at 5 million particles per cubic foot (mppcf) as an 8‐hr TWA. (ACGIH
TLV, 1946‐1991) The ACGIH standard, which is now called the threshold limit value (TLV), has been
reduced many times since and is currently at 0.1 f/cc as an 8‐hr TWA. This measurement is specific to
fibers rather than all dust; however, the technique does not distinguish asbestos from non‐asbestos
fibers. The ACGIH definition of the TLV is “the time‐weighted average concentration for a conventional 8‐
hour workday and a 40‐hour work week, to which it is believed that nearly all workers may be repeatedly
exposed, day after day, without adverse effect.” {emphasis added} (ACGIH 2006) Of special note to the
user of ACGIH’s TLVs, “The values listed in this book are intended for use in the practice of industrial
hygiene as guidelines or recommendations to assist in the control of potential workplace health hazards
and for no other use. These values are not fine lines between safe and dangerous concentrations and
should not be used by anyone untrained in the discipline of industrial hygiene.” (ACGIH, 2009)

According to Stokinger, “There is still one group of substances for which some method should be devised
for establishing safe air standards ‐ the industrial cancerigens. … As a suggested method of approach, the
following is offered: To the level judged safe for other types of systemic injury add a safety factor for




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carcinogenicity. The magnitude of the safety factor is suggested to be from 100 to 500.” (Stokinger,
1956).

The adequacy of the ACGIH MAC, which remained at 5 mppcf through 1973, was called into question in
the literature in 1964 and 1965. (Marr, 1964) (Schall, 1965) In 1968, two published articles concluded
that the MAC was too high. (Leathart, 1963) (Balzer, Environment, 1968) (Balzer, Industrial Hygiene,
1968) Selikoff also comments on the inadequacy of this standard, historically (Selikoff, 1971)

Pre‐OSHA, some US states regulated asbestos in the work environment to varying degrees. In some
cases, it was simply listed as a potential occupational disease, and in others, a defined threshold limit
value assigned [5.0 mppcf] with recommended control practices for achievement in the work
environment. (California, 1943) (Wisconsin, 1947) (West Virginia, 1951) (Louisiana, 1952) (Texas, 1957)
(New Jersey, 1958) (Pennsylvania, 1969).

In 1971, the US Occupational Safety & Health Agency (OSHA) published its first asbestos regulation. “A 12
f/cc permissible exposure limit (PEL) was included in the initial promulgation on May 29, 1971. … In
response to a petition by the Industrial Union Department of the AFL‐CIO, OSHA issued an Emergency
Temporary Standard on asbestos on December 7, 1971, OSHA, which established a PEL to 5.0 f/cc as an
8‐hour time‐weighted average (TWA) and peak exposure level of 10.0 f/cc. In June 1972, OSHA
promulgated a new final standard that established an 8‐hour TWA PEL of 5 f/cc and a ceiling limit of 10
f/cc. These limits were intended primarily to protect employees against asbestosis, and it was hoped that
they would provide some incidental degree of protection against asbestos induced forms of cancer.
Effective July 1976, OSHA's 8‐hour TWA limit was reduced to 2 f/cc and this limit remained in effect up to
the effective date of the revised 1986 standards. (OSHA FR, 1994) On June 20, 1986, OSHA reduced the
PEL to 0.2 f/cc as an 8‐hour TWA and an Action Level of 0.1 f/cc. On September 14, 1988, OSHA
established an Excursion Limit of 1.0 f/cc for 30 minutes. Finally, on August 19, 1994, OHSA reduced the
PEL again to its present level of 0.1 f/cc as an 8‐hour TWA. (Martonik, 2001). Of note, Sawyer mentions
the inadequacy of the 1971 and 1976 standards, “[t]hese standards are under critical review. The
allowable levels were developed mainly for the prevention of asbestosis, not malignancy, and were based
upon a single study limited in both numbers and duration of observations. … There is evidence that
exposures estimated to be within the present standard may result in excess cancer deaths” (Sawyer,




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1977) “Unfortunately, constraints and demurrers noted in recommendations of standard‐setting
organisations are often blurred or omitted during their application to occupational problems, and
recommended threshold values for asbestos, considered for prevention of asbestosis, become ‘threshold
values for asbestos,’ despite the absence of data which would suggest that neoplasms would also be
prevented at such levels. The US Department of Labor standards promulgated in 1972 provide a level of 2
fibres/ml, to be reached after a delay of 4 years.” (Selikoff, 1971) “These limits [PEL’s and EL’s] were
intended primarily to protect employees against asbestosis, and it was hoped that they would provide
some incidental degree of protection against asbestos induced forms of cancer.” Even this current PEL is
not considered by OSHA to be fully protective and is still considered “a significant risk.” (OSHA FR, 1994)

In 1971, the US Environmental Protection Agency (USEPA) listed asbestos as a hazardous air pollutant.
The EPA recognizes the concept of friability relative to the exposure risk associated with in‐place
asbestos‐containing materials (ACMs). The agency’s regulations for demolition and renovation require
methods to control the release of fibers to the environment when ACMs to be disturbed are friable in‐
place and when ACMs which are not friable in‐place will be rendered friable by the intended disturbance.
ACM will release asbestos fibers into the air when it “has deteriorated or sustained physical injury such
that the internal structure (cohesion) of the material is inadequate or, if applicable, which has
delaminated such that its bond to the substrate (adhesion) is inadequate or which for any other reason
lacks fiber cohesion or adhesion qualities. Such damage or deterioration may be illustrated by the
separation of ACM into layers; separation of ACM from the substrate; flaking, blistering, or crumbling of
the ACM surface; water damage; significant or repeated water stains, scrapes, gouges, mars or other
signs of physical injury on the ACM.” (USEPA, How to Manage, 1996) {ACBM= asbestos‐containing
building material}

A regulatory summary is presented by Georgia Tech asbestos training courses. (Georgia Tech, 1995)
OSHA regulates all forms of asbestos minerals (chrysotile, amosite, etc.) in the same manner because all
types are known to cause disease, and the EPA also regulates all asbestos types in the same way.


4. Airborne Asbestos Hazard

The hazard of workplace dust, including asbestos, has been recognized since the 1930s, and engineering
controls, proper exhaust ventilation, and respirator protection were recommended. National Safety



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News, August 1933, The Mechanical Control of Occupational Diseases, David S. Beyer, states that “[w]hen
the subject of dust is mentioned most of us probably think of visible particles. In fact, much of the dust
removal work, even by companies specializing along this line in the past, has been directed at this form of
dust. Medical research has shown us, however, that dust that is most dangerous, through its deep
inhalation into the lungs, is so small that the individual particles are invisible and can only be seen by the
naked eye if they are gathered in a dense cloud, which may have the appearance of a gray fog. … In
general, the most reliable way to correct a dust hazard is to install exhaust equipment that will capture
the dust at the point where it is generated.” (Beyer, 1933)

TRANSACTIONS, 26th National Safety Congress, 1937: What Industrial Dusts Are Harmful? Why? Dr. R.R.
Sayers, states that “Dust Control. Engineering and medical control are the two most important factors in
combating the industrial dust hazard, and are to a large extent complementary. … Dust may be
entrapped at its source by suction devices and thus removed and collected … Generally speaking, the
exhaust ventilation method, where applicable, is to be preferred in controlling a dust hazard. …
Sometimes a dusty process can be completely enclosed in a sealed room or compartment. … A great deal
of attention has been given the subject of individual protection from dust, and there are many types of
respiratory protective devices now available. These are generally of two types: those which provide fresh
air from an uncontaminated source and those which rely upon a filtering medium for removing dust from
the air breathed. Where the use of such a device is indicated, only one of the types approved by the U.S.
Bureau of Mines should be used. As a rule, it may be said that masks, respirators, or other such
protective device should be used only where exposure to the dust is intermittent and brief, or where
some unusual conditions makes a more adequate dust control impracticable.” (Sayers, 1937) Bonsib
relays “[o]ne common‐sense answer is that any atmosphere in which dust is visible to the naked eye is
certainly too dusty to be breathed with safety by human beings, and the wise, farsighted, human
employer will immediately start to decrease the dust content in any atmosphere when dust is visible.
After he has eliminated visible dust, there may still be enough very small invisible dust to cause harm to
the health of those who breath it, but in any event if he has exerted sufficient well‐directed effort to
remove the visible dust it is certain that much of the smaller invisible, and probably most harmful dust
has also been removed.” (Bonsib, 1937) These general principals of controls for dust hazards in the
workplace are noted in other industrial hygiene literature. (Coburn, 1937)




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According to Merewether, “The majority of the particles, however, which get into and stay in the lungs
are much smaller in each case ‐ up to 5 microns in the case of silica and up to about 50 microns in the
case of asbestos. That is to say, that the dust particles which are invisible to the naked eye are the
important ones; this leads us to the practical point that if a silica or an asbestos process produces visible
dust in the air, then the invisible dust is certainly in dangerous concentrations.” (Merewether, 1938)

According to Cook, “In the case of the asbestos dust conditions, our evaluation of the exposure should be
based on the knowledge that the present toxic limit for asbestos is five million particles of dust per cubic
foot of air. This is a very small concentration, so small in fact that the condition may look good even to
the critical eye and still present an exposure greater than this low limit. … In the case of asbestos dust …
the toxic limit is so low that the only safe procedure is to have recourse to actual dust determinations.
This is especially important where the injurious condition is not immediately evident but requires years
to develop as in the case of asbestosis. … In conclusion it may be stated that in the evaluation of
occupational disease hazards in the field, much can be done in spotting conditions which are obviously
severe on mere observation of the condition. Where the condition presents some question as to the
severity of the exposure, then specialized methods should be utilized as a measure of the degree of the
hazard. … Where it is found necessary to institute air analyses or similar technical measurements, the
Divisions of Industrial Hygiene of most of the industrial states are available to manufacturers for study of
their conditions.” (Cook, 1942)

TRANSACTIONS, 32nd National Safety Congress, Volume II, 1943, The Control of Fumes in Shipyards,
William E. Lawrence, states that “[t]he use of water repellent asbestos insulation has recently replaced
some types of material formerly used in ship work. For protection against dust or possible asbestosis
from such material, it is recommended that both on ships and in shops, or where the materials is
prepared, it be dampened and that dust respirators be worn, also that special ventilation be provided.
Periodic medical examination of those exposed to such hazards is also necessary.” (Lawrence, 1943) The
control of asbestos dust is additionally mentioned by the Industrial Hygiene Foundation ‐ Industrial
Hygiene Digest Literature and News. “The control of asbestosis must be an engineering control because
there are no medical means to detect the disease until much harm has been done. Engineering control
consists of the two important principles: (1) Adequate exhaust, (2) Good housekeeping.” (Industrial
Hygiene Foundation, 1943)



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The 1951 Walsh‐Healy Act implemented regulation for the control of workplace hazards, including
asbestos dust, for U.S. Government‐related projects. In Section H, Environmental Conditions and
Personal Services, for gases, vapors, dusts, fumes and mists, details the following requirements: (a) guide
for allowable concentrations, including 5.0 mppcf for asbestos dust, (b) control measures, (c) personal
protective equipment, (d) respiratory protective devices, (e) and air cleaning equipment. (Walsh‐Healey
Act, 1951)

The hazards of exposure to asbestos‐containing products have been well documented in the scientific
literature. By the 1930s, asbestosis had been thoroughly documented in the industrial hygiene literature
(Merewether, 1930). In 1955, the link between asbestos exposure and lung cancer had been firmly
established in public health and industrial safety literature (Doll, 1955). In 1960, mesothelioma
occurrence was discussed in previous studies and observed in individuals exposed to asbestos in relation
to the mining industry. (Wagner, 1960) In 1965, the link between asbestos exposure and mesothelioma
had been firmly established in public health and industrial safety literature (Newhouse, 1965). This was
also conveyed by Hueper in 1965: “Since 1935 and increasing amount of epidemiologic, clinical and
pathological evidence, moreover, incriminates this health hazard [asbestos] as one of the environmental
sources of cancers of the lung … and more recently also of mesotheliomas of the pleura and the
peritoneum.” In this same document, “The numerous occupations and products associated with the
production and utilization of asbestos provide illustration of the wide scope of the industrial health
problem related to this mineral. … Asbestos rock mining, loading, shipping, crushing, milling, asbestos
spinning, weaving, mixing, cutting, pressing, molding, plastering, cementing, spraying of steel
construction, undercoating of automobiles, insulating pipes, etc., clothes, cloths, sheets, blankets,
curtains, brake linings, yarns, cords, ropes, twines, ribbons, artificial snow, filler in rubber goods, plastics
and roof coatings, filter cloths, filter pads, filter paper, artificial wood, tiles, shingles, cardboards, wall
boards, partitions, panels, paper, clutch facings, clapboard, pipe coverings, pipes, insulation blocks,
insulation jackets, gaskets, pump packings, electrical wire insulation, structural heat insulation, facings of
acoustical building materials, catalyst supports in sulfuric acid and production, putties.” (Hueper, 1965)

According to the EPA, “exposure levels below those allowed for asbestos workers, the risk of asbestosis is
negligible. Some scarring of lung tissue may appear on X‐rays after many years of low exposure, but no
impairment of respiratory function is likely to occur. However, the incidence of lung cancer and



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mesothelioma exceeds baseline rates even at very low exposure levels.” (USEPA, 1983) {emphasis added}
“Avoiding unnecessary exposure to asbestos is prudent.” (USEPA, Guidance for controlling, 1985) “While
lowering exposure lowers risk, there is no known level of exposure to asbestos below which health
effects do not occur. … Mesothelioma is a type of fatal cancer of the lining of the chest or abdominal
cavity. It can be caused by very low exposures to asbestos. This cancer has occurred among brake
mechanics their wives and their children.” (USEPA, Auto Mechanics, 1986)

“There are data that show that the lower the exposure, the lower the risk of developing cancer. Excessive
cancer risks have been demonstrated at all fiber concentrations studied to date. Evaluation of all
available human data provides no evidence for a threshold or for a ‘safe’ level of asbestos exposure.”
“This recommended standard of 100,000 fibers >5 µm in length/m3 is intended to (1) protect against the
noncarcinogenic effects of asbestos, (2) materially reduce the risk of asbestos‐induced cancer (only a ban
can assure protection against carcinogenic effects of asbestos) and (3) be measured by techniques that
are valid, reproducible, and available to industry and official agencies.” (NIOSH, 1976) "Excessive cancer
risks have been demonstrated at all fiber concentrations studied to date. Evaluation of all available
human data provides no evidence for a threshold or for a 'safe' level of asbestos exposure. … Studies of
duration of exposure suggest that even at very short exposures periods (1 day to 3 months) significant
disease can occur" (NIOSH, Workplace Exposure to Asbestos, 1980) In a 1991 joint EPA and National
Institute of Occupational Safety and Health (NIOSH) document, “NIOSH contends that there is no safe
airborne fiber concentration for asbestos. NIOSH therefore believes that any detectable concentration of
asbestos in the workplace warrants further evaluation and, if necessary, the implementation of measures
to reduce exposures.” (USEPA, Building Air, 1991) The U.S. Department of Health and Human
Service/NIOSH has found that "Mesothelioma has occurred following short term asbestos exposures of
only a few weeks, and can result from very low levels of exposure" (NIOSH, Report to Congress on
Worker's Home Contamination, 1995).

OSHA’s overview of asbestos hazard informs that their “Airborne levels of asbestos are never to
exceed legal worker exposure limits. There is no ‘safe’ level of asbestos exposure for any type of
asbestos fiber. Asbestos exposures as short in duration as a few days have caused mesothelioma in
humans. Every occupational exposure to asbestos can cause injury of disease; every occupational
exposure to asbestos contributes to the risk of getting an asbestos related disease.” (OSHA, 2018)



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“The Commission has noted that in the scientific literature there is general agreement that there is no
known threshold level below which exposure to respirable free‐form asbestos would be considered
safe.” (CPSC ‐ Ban on Consumer Patching Compounds ... Containing Respirable Free‐Form Asbestos, 16
CFR Ch. 11 § 1304.5, 1977, Ed. Source 42 FR 63362). “The results of numerous measurements indicate
that average concentrations of asbestos in ambient outdoor air are within the range of 10‐8– 10‐4 PCM
f/mL.” (ATSDR, 2001) There is no basis for accepting any workplace or non‐occupational exposure to
asbestos above ambient background as “safe.” The WHO concludes there is no threshold exposure level
below which exposure to asbestos dust would be free of hazard to health. (IPCS, WHO, 1998) (WHO,
2006) In a review from Dodson, “[t]he WHO stated that ‘[T]he human evidence has not demonstrated
that there is a threshold exposure level for lung cancer or mesothelioma, below which exposure to
asbestos dust would not be free of hazard to health.’ The International Programme for Chemical Safety
(IPCS) has reiterated this position.” (Dodson, 2006)

“Exposures as short as a month may result in disease many years later, because the inhaled dust
[asbestos], being mineral, tends to remain in the tissues." (Richmond, 1978) Edge states that “[m]alignant
mesothelioma may follow relatively low and sometimes brief exposure to asbestos dust.” (Edge, 1978)
"Mesothelioma may occur following relatively brief or low‐level exposures to asbestos, and most patients
lack the histologic features of asbestosis, which is generally associated with heavier exposures to
asbestos." Roggli notes from another study that found out of 144 mesothelioma patients, 6% of these
patients were exposed to asbestos for less than 3 months. (Roggli, 1995) "A significant excess of
mesothelioma was observed for levels of cumulative exposure that were probably far below the limits
adopted in most industrial countries during the 1980s." (Iwatsubo, 1998). "There is no evidence of a
threshold level below which there is no risk of mesothelioma. Low level exposures more often than not
contain peak concentrations which can be very high for short periods of time." (Hillerdal, 1999).

As noted above, OSHA does not consider the current PEL’s to be fully protective. “OSHA's risk assessment
also showed that reducing exposure to 0.1 f/cc would further reduce, but not eliminate, significant risk.”
(OSHA FR, 1994) “No safe limit or ‘threshold’ of exposure is known. Any exposure to asbestos carries
some risk to health, and people exposed to low levels of asbestos for a very brief period have later
contracted mesothelioma.” (USEPA, 1980) Various cancers, including mesothelioma, are known to be
caused by asbestos at very low lifetime doses. (USEPA Risk Assessment, 1986) (OSHA Risk Assessment,



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1986) (Iwatsubo, 1998) (Hillerdal, 1999) (Hodgson, 2000) (Rodelsperger, 2001) (Goldberg, 2005) (MSHA,
Federal Register, 2008) (Hodgson, 2010) (Lacourt, 2014) (Markowitz, 2015)

According to Agency for Toxic Substances and Disease Registry (ATSDR) in 2001, “[t]he results of
numerous measurements indicate that average concentrations of asbestos in ambient outdoor air are
within the range of 10‐8 [0.00000001] [to] 10‐4 [0.0001] PCM f/mL; levels in urban areas may be an order
of magnitude higher than those in rural areas. … Indoor air concentrations of asbestos ranged from
approximately 10‐5 [0.00001] to 10‐4 [0.0001] f/mL in a study of air concentrations measured in a total of
315 U.S. public and commercial facilities.”

For comparative purposes of background levels to an occupational exposure level above background,
consider an average background 1x10‐6 [0.000001] f/cc (1 f/m3) as compared to 1x10‐1 [0.1] f/cc (100,000
f/m3), using an average 20 m3/day of air breathed. Now consider a person breathing this background
level (1 f/m3) of asbestos 20 m3 a day for 365 days for 70 years (1 X 20 X 365 X 70 = 511,000 total fibers
breathed). Now consider a person breathing a level of (100,000 f/m3) for a one 24‐hour period (1000,000
X 20 = 2,000,000 total fibers breathed). This means a person exposed to one 24‐hours period to an
occupational exposure of 0.1 f/cc will breath in almost four times the amount of asbestos fibers as
compared to someone breathing in background levels of asbestos (0.000001 f/cc) for 70 years with no
occupational exposure to asbestos.

Again, this report is not meant to be a dose reconstruction. For example and perspective purposes only,
using the background lowest and highest (ambient) magnitude exposure range of 1x10‐8 (0.00000001) to
1x10‐4 (0.0001) fiber/mL, and a person’s lifetime of 70 years, a lifetime exposure dose to ambient
asbestos conditions, and no other asbestos exposure, a dose calculation magnitude range can be
determined: 1x10‐8 (0.00000001) fiber/mL X 70 years = 1x7‐7 (0.0000007) fiber‐year/mL; to 1x10‐4 (0.0001)
fiber/mL X 70 years = 1x7‐3 (0.007) fiber‐year/mL. The ATSDR further reports estimates of fiber‐year/mL
for the general population based on assumed exposure criteria for ambient outdoor air concentrations
(2x10‐6 PCM fiber/mL) and indoor air concentrations (3x10‐6 PCM fiber/mL): 20 m3/day of air breathed, 70
years of exposure, 10% of time outdoors as 0.000014 fiber‐year/mL; and 20 m3/day of air breathed, 70
years of exposure, 90% of time indoors as 0.00019 fiber‐year/mL. (ATSDR, 2001) Combining the 10%
outdoor with the 90% indoor lifetime dose yields a total lifetime dose of 0.000204 fiber‐year/mL




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(0.000014 fiber‐year/mL + 0.00019 fiber‐year/mL). (ATSDR, 2001) If we extrapolate further from these
ATSDR figures and compare someone exposed to 10 fibers/cc for only one work day and exposed to
background levels of asbestos for the rest of their life ((10 f/cc X 8 hrs. X 1 yr.) / 2000 hrs. = 0.04 fiber‐
year/mL); meaning for one day exposed to 10 f/cc, that person has approximately 196 times the level of
fiber‐year/mL as compared to someone only exposed to background levels of exposure for 70 years. A
study by McDonald states, “In most industrialized countries, the disease [mesothelioma] has increased
much more rapidly in males than females, reflecting the impact of occupational asbestos exposure 30‐40
yrs earlier. Backward extrapolation of these trends suggests that, before the diverging pattern began,
mortality was about 1‐2 per million population in both sexes.” (McDonald, 1996) According to Hillerdal,
“There might exist a background level of mesothelioma occurring in the absence of exposure ot [sic]
asbestos, but there is no proof of this and this ‘natural level’ is probably much lower than the 1‐
2/million/year which has been often cited.” (Hillerdal, 1999) Other authors have used this 1‐2 per million
estimate in their own reviews as well. (Iwatsubo, 1998) (Neumann, 2001) (Scherbakov, 2001) (Lemen,
2004)

From an industrial hygienist perspective, asbestos exposures above ambient background levels, as
reflected in the literature, is to be avoided and any such exposure may contribute to disease in some
individuals. The human respiratory system is not selective as to the source (product) of airborne asbestos
during inhalation; therefore, if there actually is a lifetime dose‐response relationship for some diseases,
any asbestos body burden added by significant exposure above ambient contributes to increased risk of
disease, regardless of the product types, manufacturers, worksites, or exposure averages. If no safe
threshold of exposure exists for some asbestos‐related conditions, such as mesothelioma, then the
conclusion is the same.


5. Asbestos‐containing Dust and Resuspension

“Older occupational studies measured dust exposure in units of million particles per cubic foot (mppcf).
This method did not distinguish fibrous from nonfibrous particles and used relatively low magnification,
so only the largest particles and fibers were detectable. When a more accurate value is not available, it
has been assumed that a concentration of 1 mppcf is equal to 3 PCM f/mL.” (ATSDR, 2001) Depending on
the percentage of asbestos in the product and the force imparted to it, resultant dust will contain varying




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levels of asbestos. If a dust cloud is visible to the unaided eye, then the airborne concentration is well
above 5 mppcf. (Dement Deposition, February 1998) Conversely, airborne asbestos concentrations can
be very high even if dust is not visible in the air. “Usually the dust concentration must be from 8‐10
million particles per cubic foot before its presence is visible in average lighting conditions.” (Union
Carbide, 1968) According to a review by Dodson et al., the point at which visible dust would have been
visible in mppcf ranged from 10 ‐ 40 depending on the work conditions at hand. (Dodson, 2006)
Therefore, at a point at which a person would have visibly seen asbestos‐containing dust arising from
activities with asbestos‐containing products (8 – 40 mppcf), one would have potentially been exposed to
24 f/cc to 120 f/cc.

The presence of visible dust released from an asbestos‐containing product represents an asbestos
exposure that is at least hundreds of times above highest background/ambient exposure levels
(background level being 0.0001 f/cc.) “The results of numerous measurements indicate that average
concentrations of asbestos in ambient outdoor air are within the range of 10‐8– 10‐4 PCM f/mL; levels in
urban areas may be an order of magnitude higher than those in rural areas.” (ATSDR, 2001) There is no
basis for accepting any workplace or non‐occupational exposure to asbestos above ambient background
as “safe.”

According to the USEPA, “The aerodynamic behavior of fibrous‐shaped aerosol particles is governed by
the interaction of opposing forces: a driving force such as is caused by gravitational acceleration, and the
viscous resistant of the gaseous medium within which the particle moves.” Asbestos fibers are very small
and possess aerodynamic qualities such that the fibers, once released to the air, may remain suspended
for hours, and hence remain in the breathing zone of workers and bystanders. “It is of interest to note
that for fibers whose diameter is of the order of 0.1μm, gravitational sedimentation occurs at the rate of
only a few centimeters per hour, even though their length may be as much as 100μm.” (USEPA, 1978)
The fibers may be carried by air currents to great distances from the original point of release. Fibers may
eventually settle onto surfaces in the work area (either near or far from the release point, depending on
air movement), and can be resuspended into the air when the surfaces onto which they settled are
disturbed. This repeatable process can lead to very high airborne asbestos exposures. (USEPA, 1978)
“Activities which disturb the debris or dust such as maintenance or custodial tasks are likely to re‐entrain
the asbestos, and this re‐entrainment may cause personal exposure to airborne asbestos.” (Millette and



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Hays, Settled Asbestos Dust, 1994) There are no regulated limits for asbestos in settled dust. The
potential for settled dust to create unacceptable exposures to airborne asbestos, however, is recognized
by both the U.S. EPA and the U.S. OSHA in their respective regulations, guidance documents, and
interpretations. As an example, “[d]o not dust with a brush … Do not dry sweep floors … Do not use an
ordinary vacuum to clean up asbestos debris.” (EPA, 1985) Asbestos is considered an inhalation hazard.
Asbestos structures which are airborne in the breathing zone can be inhaled. Important exposure sources
include the mining and milling of asbestos minerals, manufacture of asbestos‐containing products,
handling and shipping of those products, installation of ACMs, removal of ACMs, and disturbance of
ACMs during operations and maintenance activities. Asbestos fibers and structures in settled dust can
become airborne when the dust is disturbed and thereby pose an inhalation hazard. The resulting air
concentrations can be significant. One of the most important sources of exposure related to in‐place
ACMs is disturbance of asbestos‐containing settled dust.

The literature is flush with the hazard potential from asbestos dust. (National Safety Council, 1934‐1949)
(Bonsib, 1937) (Dreessen, 1938) (Fleischer, 1946) (Fischbein, 1949) (Doll, 1955) (Harries, 1968) (Lumley,
1971) (Sawyer, 1977) (USEPA, 1979) (Baldwin, 1982) (Keyes, 1991) (USEPA, Singer, 1992) (Keyes, 1992)
(Ewing, 1992) (Ewing, 1993) (Keyes, 1994) (Hatfield, 1997) (Dodson, 2006)


6. Bystander Exposure

“Bystander” is used in this report to mean any people who are in the vicinity of asbestos related work but
not actually themselves manipulating the asbestos‐containing products. These can be persons of other
construction trades, laborers, vendors, delivery people, equipment operators, industrial process
operators, managers, casual observers, etc. Exposure to airborne asbestos occurs to workers who repair,
remove, or otherwise disturb asbestos‐containing materials. Exposure also occurs to workers who clean‐
up asbestos debris and dust. While all of these activities are in progress, exposure to airborne fibers
occurs to other people (bystanders) in the immediate vicinity and in some circumstances to people
distant from the activities. People who were not directly involved in the manufacture, use, installation,
repair, and removal of asbestos‐containing products can be at risk. In the repair, renovation,
construction, power production and shipbuilding industries it is very common for multiple trades to be
working side by side, or in an overlapping manner. This is referred to loosely as sequencing. For example,




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with regard to installation of asbestos‐containing products, it would not be uncommon to see pipe fitters
working near pipe insulators; it also would not be uncommon for white collar workers to episodically
pass through this aforementioned area as a supervisor. In the course of a blue‐collar worker’s career it
would not be uncommon for him/her to be exposed to varying degrees of airborne asbestos fibers,
especially during the height of asbestos use, during the 1950’s, 1960’s, and early 1970’s. (ATSDR, 2001)
(Harries, 1968)

According to Selikoff et al., “A particular variety of environmental exposure may be of even greater
concern. Asbestos exposure in industry will not be limited to the particular craft that utilizes the material.
The floating fibers do not respect job classifications. Thus, for example, insulation workers undoubtedly
share their exposure with their workmates in other trades; intimate contact with asbestos is possible for
electricians, plumbers, sheet‐metal workers, steamfitters, laborers, carpenters, boiler makers, and
foremen; perhaps even the supervising architect should be included.” (Selikoff, 1964). “Asbestosis and
asbestos cancer hazards related to an inhalatory exposure to asbestos exists not only for asbestos
workers proper engaged in the direct and regular production, processing, handling, and using of
asbestos‐containing materials, but also for the large number of individuals who may sustain such
contacts on an incidental basis. Such persons may be employed permanently or temporarily in or near
operations where asbestos and asbestos products are produced or handled and where they inhale,
therefore, air polluted with asbestos dust (repairmen, maintenance men, engineers, mechanics,
laboratory technicians, office workers, medical personnel, truckers, railroad workers, yardmen,
construction workers, shipyard workers, automobile plant and garage employees, etc.” (Hueper, 1965)
According to Selikoff as it relates to the insulation industry, “Neoplasms have also been reported among
individuals indirectly exposed to asbestos insulation work, as carpenters, steam fitters, and other building
trade workers.” (Selikoff, 1965) Brody reiterated Selikoff’s bystander exposure concept in 1966; “The
dangers he said, extend to workers in ‘contiguous trades,’ such as other construction workers and their
families.” (Brody, 1966) “First impressions of the problem would suggest that only those men
continuously working with asbestos are at risk. In the dockyards these men would be the mattress
workers, laggers, sailmakers working with asbestos cloth, asbestos sprayers, and strippers, and storeman.
Experience has shown, and further consideration of the industry and processes should suggest, that
many other men have been at risk.” In this same 1968 study, asbestosis was discovered in other job




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classifications like electrical fitter, engineer, and welder. Harries “attempted to show that as an industry
the Navy uses large amounts of many different products containing asbestos in varied and difficult
working conditions. The work often gives rise to high dust concentrations and many people working near
the different processes may be exposed to the hazard. We know that men other than those working
directly with asbestos are contracting asbestosis.” (Harries, 1968) “Indirect occupational exposure: Much
of the evidence concerning disease associated with levels of exposure less than those usually
encountered in insulation work is derived from observations of asbestosis and mesothelioma among
workers indirectly exposed to asbestos. Such men are found in those trades which do not usually involve
working with asbestos materials, but in which work is sometimes required in the same general areas
where insulation is being applied or removed. Shipyards, construction sites, refineries and chemical
plants, and power sources (both conventional and atomic) are prominent examples. Many
mesotheliomas have been reported among current and former employees of shipyards. These individuals
had never been asbestos insulation workers; rather, they had worked as painters, steamfitters,
electricians, plumbers, carpenters, riggers, truckers, etc.” (Selikoff, 1971). “The population at risk includes
not only those engaged in the manufacture and use of asbestos products, but also bystanders and others
limited to neighborhood or familial exposures.” (Sawyer, 1977) Grandjean and Bach state, “Indirect
exposure may occur at work when adjacent workers are exposed to hazards originating from fellow
workers’ activities.” (Grandjean, 1986) “While most studies of asbestos and the development of human
disease have focused on individuals occupationally exposed, there is an increasing body of evidence that
non‐occupational exposure, usually called environmental or bystander exposure, can lead to the
development of asbestos‐related disease.” (Dodson, 2006)

The scientific literature reveals significant exposure to bystanders. (MDH, 1963) (Egan, 1970) (Harries,
1971) (Reitze, 1972) (Venable, 1974) (Haas, 1976) (Richmond, 1978) (Fischbein, 1979) (Kilburn, 1985)
(Lerman, 1990) (Keyes, 1991) (Lilienfeld, 1991) (Ewing, 1992) (Keyes, 1992) (McKinnery, 1992) (Ewing,
1993) (Keyes, 1994) (Millette, 1995) (Millette, 1996) (Hatfield, 1997) (Hatfield, 1998) (Hatfield, US
Gypsum Joint Compound, 1999) (Hatfield, Insulating Cement, 1999) (Hillerdal, 1999) (Gorman, 2004)
(Dodson, 2006) (Ewing, 2007) Exposure to bystanders can be as high as to people actually doing the work
with ACMs (asbestos‐containing materials). (Harries, 1971) (Reitze, 1972) (Keyes, 1992) (Great Britain,
1935)




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7. Take Home Exposures

Domestic asbestos exposures and resulting mesothelioma disease was reported in in 1965, “[t]he group
of nine, seven women, two men, whose relatives worked with asbestos, are of particular interest. The
most usual history was that of the wife who washed her husband’s dungarees or work clothes. … There
seems little doubt that the risk of mesothelioma may arise from both occupational and domestic
exposures to asbestos.” (Newhouse, 1965) The New York Times mentions that “Dr. Selikoff noted that
the dangers of exposure to asbestos dust were not limited to those who work directly with this
ubiquitous insulator and filler material. The dangers, he said, extend to workers in ‘contiguous trades,’
such as other construction workers and their families.” (Brody, 1966) Per discussion, mesothelioma
disease is mentioned in people with “no direct contact” with asbestos‐related work activities, washing
overalls worn during these activities (Harries, 1968) “Personal protection: While asbestos dust may be
harmful only when Inhaled, there are sound reasons to consider other appropriate personal protective
measures, including special clothing, gloves and foot coverings. Thus, mesothelioma has been reported
among individuals resident in the households of asbestos workers ("family cases of mesothelioma").
Employees of cleaning establishments handling asbestos‐contaminated clothing have also suffered such
disease. Personal protective measures will safeguard family contacts of asbestos insulation workers as
well as others possibly subject to similar chance contact. The US Department of Labor's regulations call
for special clothing when ceiling levels of 10 fibres/ml are exceeded, these to include whole body
clothing, head coverings and foot coverings. Two separate clothes lockers are also required, so isolated
"... as to prevent contamination of the employee's street clothes from his work clothes" (Selikoff, 1971).
As it pertains to recommendations after asbestos spraying activities, “In order to prevent asbestosis and
otherwise comply with good industrial hygiene practices, the following work practices should be
immediately set up: … sprayer operators should wear protective clothing which is disposable or which is
laundered separately in a manner so as not to prevent spread of breathable asbestos fibers to those
persons who handle the contaminated clothing.” (Newson, 1972). Regarding insulation removal during a
unit “turnaround” in the petroleum industry, “[t]here are a number of items concerning these jobs that I
feel deserve comment. Of first concern is the clothing contamination by asbestos dust which is almost
unavoidable in this scope of removal operations. Not only are we violating the existing regulations
concerning clothing by not providing such clothing and laundering it, but we are also failing to protect our




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employees and the families of our employees from asbestos exposure. The matter of protection of
contractor's employees is also worthy of consideration by our management” (Venable, 1974) Edge states,
“Malignant mesothelioma may follow relatively low and sometimes brief exposure to asbestos dust.”
(Edge, 1978) “The risk has been documented extensively for certain occupational exposures, and there
are reports that asbestos‐associated disease also occurs in household contacts of asbestos workers.”
(Richmond, 1978) Chen states that “[w]e report this case to emphasize the association of malignant
mesothelioma with a very limited exposure to asbestos.” (Chen, 1978) In 1979, Anderson comments on a
previous study from 1976 stating that “[a] source of home contamination in individual exposure was
postulated as resulting from dust adhering to shoes, hair, and work clothes brought home for laundering.
Change rooms and company laundered coveralls were not available at this plant.” This 1979 study also
notes that “[t]he observation that nearly one‐half of the wives examined had abnormal x‐rays is
consistent with the hypothesis that the wives would have been most heavily exposed because they were
responsible for the laundering of work clothes and resided in the household for the longest period of
time.” (Anderson, 1979) When speaking to the “inadequacy” of the 1976 PEL standard of 2 f/cc over an 8‐
hour TWA, NIOSH mentions “[r]egardless of the choice of a permissible exposure limit, the best
engineering controls and work practices should be instituted, and protective clothing and hygiene
facilities should be provided and their use required of all workers exposed to asbestos” (NIOSH, 1980).
Grandjean and Bach state, “Indirect exposure of household members may occur when hazardous
substances are carried home (e.g., in the clothing).” (Grandjean, 1986) “Families have also been exposed
to asbestos when workers were engaged in mining, shipbuilding, insulating (e.g., pipe laggers and railway
workers), maintenance and repair of boilers and vehicles, and asbestos removal operations.” (NIOSH,
1995) “The fibre concentration in domestic exposure might be as high as in occupational exposure.
Brushing clothes might give peaks of ≥100 fibres/ml. Ordinary vacuum cleaning is not effective in
removing asbestos fibres, which can remain for years in the house and be airborne again whenever
disturbed. Thus, domestic exposure is not low exposure.” (Hillerdal, 1999) According to ATSDR, “You can
bring asbestos home in the dust on your hands or clothes if you work in the mining or processing of
minerals that contain asbestos, in asbestos removal, or in buildings with damaged or deteriorating
asbestos.” (ATSDR, 2001) According to Goldberg, “Concern used to be focused on the occupational
environment, but it is now recognized that asbestos fibers are widely distributed in the general
environment. Persons can be exposed to asbestos in different non‐occupational circumstances: living



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with asbestos workers, with regular exposure to soiled work clothes brought home; environmental
exposure in the neighborhood of industrial sources (asbestos mines and mills, asbestos processing
plants); passive exposure in buildings containing asbestos.” (Goldberg, 2005) According to the U.S.
Department of Health and Human Services, “In the past, families of asbestos workers potentially were
exposed to high fiber levels from contaminated clothing brought home for laundering. People living in
households with asbestos workers were found to have significantly elevated lung burdens of asbestos,
often in the same range as found in individuals occupationally exposed to asbestos, such as shipyard
workers.” (USDHHS, 2011)

Regarding the resuspension of asbestos dust, the movement of a worker in a small unventilated room
while wearing a laboratory coat contaminated with Marinite dust resulted in airborne asbestos
concentrations ranging from 3.3 to 24.0 fibres/cm3 (n=3). (Carter, 1970) According to Sawyer in 1977, the
laundering of asbestos‐contaminated clothing used during asbestos removal work activities in which
various levels of dust control measures were utilized, produced a personal asbestos airborne level mean
of 0.4 f/cc (n=12), with the highest level recorded as 1.2 f/cc. Stationary monitoring during picking up
clothing, loading washer, and loading the dryer produced averages of 0.4 f/cc (n=4), 0.4 f/cc (n=5), and
0.0 (n=6), respectively. Sawyer further comments “[t]he laundry operation was closely monitored as an
analog of domiciliary exposure. The data presented show consistently low counts, and suggest that
exposure occurs as dry clothing is handled prior to washing. … If this quantitation of exposure is truly
representative, then domiciliary malignancies may be the result of low‐level exposure.” (Sawyer, 1977)

In a 1999 study airborne asbestos exposure from asbestos‐contaminated clothing was described. “One
set of asbestos containing Kaylo pipe covering was used for contaminating the clothing.” Another set of
clothing was placed 2 feet from the work area. The section of Kaylo pipe was “cut and broken to create
dust and debris” within a period of 10 minutes. Some of the dust and debris was observed to have landed
on the clothing and the worker also wiped their hands on the clothing. Afterwards, the study area was
decontaminated before the clothing handling and shaking activity. “The study of secondary exposure
from work clothes consisted of shaking and brushing off each of the four items of clothing (2 shirts, 2
pants). The shaking and brushing of each item lasted approximately one minute. After each item was
shaken, it was placed inside a washing machine.” This activity altogether lasted 8 minutes. Personal
airborne levels of exposure to asbestos were reported as 7.10 f/cc, 9.91 f/cc, 9.31 f/cc, and 8.57 f/cc;



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Area airborne levels of exposure to asbestos were reported as 9.11 f/cc and 2.06 f/cc. The level of
contamination on clothing was reported to be 204 thousand structures/cm2 and 1.0 million
structures/cm2. (Longo II, 1999) A similar study was conducted in which a piece of Unibestos pipe
covering was “cut and broken.” Each shakeout of each article of clothing lasted 1 minute, and the whole
process took 7 minutes. Also, airborne measurements were collected during the clothing contamination
period. Personal airborne levels of exposure to asbestos while contaminating work clothes were reported
as 161.32 f/cc and 134.79 f/cc; Area airborne levels of exposure to asbestos while contaminating work
clothes were reported as 7.34 f/cc and 23.78 f/cc. Personal airborne levels of exposure to asbestos while
shaking out contaminated work clothing were reported as 10.16 f/cc, 9.07 f/cc, 5.74 f/cc, and 6.90 f/cc;
Area airborne levels of exposure to asbestos were reported as <0.01 f/cc and 3.27 f/cc. The level of
contamination on clothing was reported to be 289 thousand structures/cm2 and 347 thousand
structures/cm2. (Longo III, 1999)

In 2000, asbestos exposure was measured while “hand brushing the dust off a shirt and pants” after an
electric wire brush gasket removal activity. This hand brushing activity lasted approximately 35 seconds.
During this brushing off activity, personal exposure levels ranged from 3.0 to 4.3 fibers/cc (n=4), while
areas samples ranged from 0.02 to 0.15 f/cc (n=4). (Hatfield, 2000)

In 2015, a study looked at the “potential for para‐occupational, domestic, or take‐home exposure from
asbestos‐contaminated work clothing.” Clothing was fitted onto dummies, put into a chamber, and
exposed for 6.5 hours to airborne concentrations of 11.4 f/cc (PCME). This clothing was then collected
and subjected to shaking activities. Grade 7T asbestos fibers were “aerosolized in the chamber using a
dust generation system … with fans running to assist in airborne mixing.” Mean 5‐minute and 15‐minute
concentrations (PCME) during active clothes handling and shake‐out were 3.15 f/cc (1.24 – 6.24 f/cc, n=3)
and 2.94 f/cc (1.17 – 5.05 f/cc; n=3), respectively. Airborne asbestos levels decreased post shaking
activities, 15 minutes later, by 55%. Of note, neither the clothing fabric type nor its age “appeared to
have a significant effect on the overall airborne chrysotile concentrations generated during clothes
handling.” (Sahmel, 2015) Of note, Grade 7 chrysotile asbestos is described as “a short (3 μm) fiber.”
(ATSDR, 2001)

These studies do not address other exposure concepts such as, asbestos dust accumulation over time,




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and re‐entrainment of asbestos dust from surfaces (e.g., potential cleanup of dust, other household
surface disturbances), asbestos cross‐contamination to other portions of a home (and subsequent
exposures) or other clothing, and other human to human contact beyond laundering activities (e.g., hugs,
transfer of dust to carpet or furniture), but rather focus on the exposure during and directly after
laundering activities.

This theme of household or familial asbestos exposure from asbestos contaminated work clothes is
described in several other instances. (Kober, 1924) (Gafafer, 1943) (Walsh‐Healey, 1951) (Selikoff, 1965)
(Kiviluoto, 1965) (OSHA, 1972) (Navratil, 1972) (Hinkle, 1973) (Anderson, 1976) (Haas, 1976) (Anderson,
1979) (Huncharek, 1989) (Lerman, 1990) (USEPA, 1990) (USDHH, 1995) (Bianchi, 2001) (Revell, 2002)
(Dodson, 2006) (Dodson, 2012) (Ewing, 2007) (Ferrante, 2007) (D'Agostin, 2017)


8. Fiber Type and Fiber Size

Fiber Type

According to Hueper, “Since, of the different types of asbestos, chrysotile represents approximately 95
per cent of the total asbestos produced, contact with this type of asbestos furnishes the chief cause of
asbestos pneumoconiosis and cancer in most countries, and especially in the U.S.A. which mainly
produces, imports, processes and used chrysotile. Contact with other types of asbestos, particularly
amosite and crocidolite, is of comparatively minor and regional importance for occupational reasons. …
The exposure data to be give apply, therefore, mainly, to chrysotile, although according to Lanza, all
three types elicit the same kinds of biologic reactions. (Hueper, 1965) ATSDR states, “All forms of
asbestos are hazardous, and all can cause cancer, but amphibole forms of asbestos are considered to be
somewhat more hazardous to health than chrysotile.”1 {emphasis added} (ATSDR, 2001) Some experts
contend that fiber type and length are extremely important with regard to potential exposure risk. In
discussions about fiber type, OSHA states, “After a comprehensive review of the evidence submitted
concerning the validity of the 1984 risk assessment, OSHA has determined that it will continue to rely on
the earlier analysis. The Agency believes that the studies used to derive risk estimates remain valid and
reliable, and that OSHA's decision to not separate fiber types for purposes of risk analysis is neither
scientifically nor regulatorily incorrect. There are at least three reasons for OSHA's decision not to
separate fiber types.



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“A.     First, OSHA believes that the evidence in the record supports similar potency for chrysotile and
amphiboles with regard to lung cancer and asbestosis. The evidence submitted in support of the claim
that chrysotile asbestos is less toxic than other asbestos fiber types is related primarily to mesothelioma.
This evidence is unpersuasive, and it provides an insufficient basis upon which to regulate that fiber type
less stringently.

“B.     Second, as stated in the 1986 asbestos standard, even if OSHA were to accept the premise (which
it does not), that chrysotile may present a lower cancer risk than other asbestos fiber types, occupational
exposure to chrysotile asbestos still presents a significant risk of disease at the revised PEL (See 51 FR
22649, 22652). In particular, asbestosis, the disabling and often fatal fibrosis of the deep portions of the
lung, is caused by exposure to all types of asbestos. The evidence on this is strong and no new
information has been presented to contradict this. As stated above, OSHA estimated asbestosis risks at
0.2 f/cc exposures as an unacceptably high 5 cases per 1000 workers. Thus, asbestosis risks alone justify
the regulation for chrysotile.

“C.     Third, the record shows that employees are likely to be exposed to mixed fiber types at most
construction and shipyard industry worksites most of the time. Assigning a higher PEL to chrysotile would
present the Agency and employers with analytical difficulties in separately monitoring exposures to
different fiber types. Thus, regulating different fiber types at differing levels, would require more
monitoring all the time and would produce limited benefits (51 FR 22682).” (OSHA, 1994)

As of 2018, OSHA reports that all asbestos fiber types can cause asbestos related disease. (OSHA, 2018) In
a letter from the WHO, it is clearly stated that “all types of asbestos cause asbestosis, mesothelioma, and
lung cancer.” (WHO, 2006). A scientific Panel appointed by the World Trade Organization found that "on
the basis of scientific evidence that 'no minimum threshold of level of exposure or duration of exposure
has been identified with regard to the risk of pathologies associated with chrysotile, except for
asbestosis.' The pathologies which the Panels identified as being associated with chrysotile are of very
serious nature, namely lung cancer and mesothelioma." (WTO, 2001) According to Dr. Richard Lemen,
“We are at a point in the history of asbestos usage where chrysotile is the predominant type asbestos
produced and consumed in the world today; it constituted about 98.5% of US consumption in 1992. … A
review of 92 consecutive cases of mesothelioma found that even while only 28.3% of the asbestos fiber




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type in the lung was chrysotile, it was the major fiber type identified in the mesothelial tissue itself. These
findings further suggest that lung burden analysis for determining fiber type in mesothelioma etiology
may not be appropriate and that determining predominate fiber type in the mesothelial tissue is the
more rational determinant.” (Lemen, 2001) Nicholson concludes, “From studies in the United States and
Great Britain, chrysotile has been shown to increase the risk of lung cancer and to produce mesothelioma
in exposed workers.” (Nicholson, 2001) Other literature express this notion. (Stayner, 1996) (Smith, 1996)
(Landrigan, 1999) (Tossavainen, 1999) (Kashansky, 2001) (Shcherbakov, 2001) (Everatt, 2007) (Loomis,
2009) (IARC, 2009) (Beddington, 2011) (Kanarek, 2011) (Markowitz, 2015)

Fiber Size

According to Dodson and his research, the regulated fiber size (≥ 5μm) “selection criteria were based on
‘practicality and theoretical considerations’ rather than having a target of a ‘more toxic’ population of
fibers.” (Dodson, 2006) Marr mentions that “researchers also considered fibers greater than 10 microns
the most harmful. This is not in agreement with recent studies in South Africa where authorities consider
fibers less than 5 microns the most harmful.” (Marr, 1964). According to Sawyer and his research, the
“counting of only those fibers 5μm or longer is inappropriate. Airborne fiber sizes range from hundreds of
microns to fibrils of submicron dimensions, and the size distribution of asbestos particles in human
tissues studied by electron microscopy is in most part less than 5 μm.” (Sawyer, 1977) “It is obvious that
most fibres are too small to be seen by optical microscopy. The Asbestos Standard adopted by the
Occupational Safety and Health Administration (OSHA) of the US Department of Labour is limited to
optical microscopy and neglects to count or control fibres less than 5 μm long. On the other hand,
accumulating evidence suggests that such small asbestos fibres may produce disease.” (Rohl, 1977).
According to NIOSH/OSHA, “[i]n recommending the primary use of light microscopy, the committee also
wants to stress the inability of this method to detect short asbestos fibers to which workers are exposed.
The toxicity of asbestos fibers shorter than the 5‐micrometer detection limit of light microscopy cannot
be dismissed on the basis of current scientific information.” (NIOSH, 1980) In a 2001 study, researchers
conducted fiber burden analysis in a series of individuals with mesothelioma who were 50 yr or less of
age at time of diagnosis. They concluded that “[s]horter fibres were more abundant than longer fibres,
and high concentrations of all fibre lengths tended to occur together.” (McDonald, 2001) “The data
presented argue that asbestos fibers od all lengths induce pathological responses and that caution should



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be exerted when attempting to exclude any population of inhaled fibers, based on their length, from
being contributors to the potential for development of asbestos ‐related diseases.” (Dodson, 2003)
Dodson additionally mentions that “inhaled asbestos fibers cause asbestos‐related disease and most
frequently consist of a mixture of asbestos types and sizes.” (Dodson, 2006) “We concluded that such
short, thin asbestos fibers should not be excluded from those contributing to the induction of human
malignant mesothelioma. The present study supports that chrysotile asbestos can induce human
malignant mesothelioma, since, in some of the mesothelioma cases, asbestos fibers detected in both the
lung and mesothelial tissues, or lung tissue alone or mesothelial tissues alone were exclusively chrysotile
fibers.” (Suzuki, 2001) Additionally, the majority of the fibers in the lung and the mesothelial tumor tissue
were less than 5μm in length. (Suzuki, 2002) Suzuki later states “that contrary to the Stanton hypothesis,
short, thin, asbestos fibers appear to contribute to the causation of human malignant mesothelioma.”
(Suzuki, 2005) Dodson states that “[t]he fact that short fibers (< 5μm) have been shown to produce toxic
effects in macrophages in vitro and to be fibrogenic tumorigenic in animals in vitro, and that they reach
the site of mesothelioma development support the inappropriateness of discounting their role in
asbestos‐related disease as has been done.” (Dodson, 2006) In 1980, NIOSH‐OSHA commented that,
“Chrysotile is as likely as crocidolite and other amphiboles to induce mesotheliomas after intrapleural
injections, and also as likely to induce lung neoplasms after inhalation exposures. Human occupational
exposures to all commercial asbestos fiber types, both individually and in various combinations, have
been associated with high rates of asbestosis, lung cancer, and mesothelioma.” (NIOSH‐OSHA, 1980)


9. Asbestos‐containing Friction Products

“Asbestos has‐been used in brake linings and other friction products since the turn of the century, when
metals, leather, and wood no longer were adequate. … The predominant type of asbestos used in brake
linings is chrysotile, a hydrated magnesium silicate. … Passenger car and light truck drum brake linings,
called segments, usually contain from 30 to 70 percent by weight of asbestos.” (ASME, 1987) “The
composition of automotive brake linings includes chrysotile asbestos fibre which comprises about 50% of
the friction material.” (Rohl, 1977) “Brake linings pose a potential hazard for asbestos exposure because
they contain 33‐73% asbestos.” (Lorimer, 1976) “Commercial friction materials used in the United States
for braking passenger cars and trucks contain an average composition of 50 percent chrysotile by
weight.” (Castleman, 1975) “Brake lining materials contain 40‐60 per cent of asbestos.” (Hickish, 1970)



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“Asbestos fiber composition ranges from 40 to 60 percent of the final product by weight.” (Anderson,
1982)

“Asbestos‐based disc brake pads, like drum brake linings, are molded products containing asbestos fiber,
fillers, additives, and resins. … Currently, asbestos only comprises 15 percent of the OEM for disc brake
pads; the balance of 85% is held by semi‐metallics.” (ICF, XIX. Disc Brake Pads (Light‐Medium Vehicles),
1989) {OEM=original equipment market} “Although non‐asbestos semi‐metallic pads have nearly always
been used for disc brakes for heavy vehicles in small proportions (Allied Automotive 1986, Carlisle 1986),
in the past, asbestos‐based pads were used to a greater extent. Asbestos disc brakes for heavy vehicles
are now apparently only used to replace worn asbestos pads in the aftermarket (ICF 1986a, ICF 1985,
Allied Automotive 1986, Carlisle 1986).” (ICF, XX. Disc Brake Pads (Heavy Vehicles), 1989) “Brake blocks
are brake linings used on the drum brakes of heavy vehicles ‐‐ heavy trucks, buses, and heavy off‐road
vehicles. … The heavy‐vehicle drum brake consists of two curved metal “shoes” to which brake blocks are
attached. … Asbestos‐based brake blocks contain approximately 1.16 lbs. of asbestos fiber per block on
average (ICF l986a).” (ICF, XXI. Brake Blocks, 1989) “Clutch facings are friction materials attached to both
sides of the steel disc in the clutch mechanism of manual‐transmission vehicles. Two metal pressure
plates flanking the disc are pressed against the clutch facings by springs when the clutch is engaged. This
pressure keeps the gears of the vehicle in position by means of a metal component that extends between
the disc and the gears. … Asbestos–based molded clutch facings currently produced contain
approximately 0.26 lbs. of asbestos fiber per piece.” (ICF, XXII. Clutch Facings, 1989)

“Asbestosis and asbestos cancer hazards related to an inhalatory exposure to asbestos exists not only for
asbestos workers proper engaged in the direct and regular production, processing, handling, and using of
asbestos‐containing materials, but also for the large number of individuals who may sustain such
contacts on an incidental basis. Such persons may be employed permanently or temporarily in or near
operations where asbestos and asbestos products are produced or handled and where they inhale,
therefore, air polluted with asbestos dust (repairmen, maintenance men, engineers, mechanics,
laboratory technicians, office workers, medical personnel, truckers, railroad workers, yardmen,
construction workers, shipyard workers, automobile plant and garage employees, etc.” (Hueper, 1965)




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According to a 1972 industrial hygiene study conducted by NIOSH, levels of asbestos exposure were
measured during brake repair and maintenance. Personal samples collected while “Blowing‐Off” front
and back brake drums ranged from 0.8 f/cc to 3.0 f/cc (n=4), with a “General Air” level reported as 0.6
f/cc. Personal samples collected during “Re‐Assembly” were 0.2 f/cc and 0.2 f/cc, with a “General Air”
level reported as 0.9 f/cc. (NIOSH, USPHS, 1972) Regarding brake repair and maintenance activities,
Roberts concludes in 1982, “[s]ince there is no known safe asbestos fiber exposure level, and clinical
evidence from a study of union vehicular maintenance workers reports that over 25% had evidence of x‐
ray abnormalities consistent with asbestosis, the prudent conclusion is that a potential health hazard
exists during the performance of brake maintenance operations. Therefore, appropriate control
measures for reducing fiber exposures, especially during brake assembly cleaning, should be instituted at
brake maintenance facilities.” (Roberts, 1982)

According to Rohl, “Investigators in the past have expressed doubt as to whether chrysotile fibres can
survive the high temperatures generated during braking (Lynch 1968, Hickish & Knight 1970, Hatch 1970).
Chrysotile is alleged to be subjected to temperatures in excess of 800°C, which would cause its thermal
transformation to forsterite or to an amorphous magnesium silicate phase. While 'hot spots' up to
1000°C may be attained (Carroll 1962), the heat distribution is nonuniform, and other processes, in
addition to thermal wear, contribute to degradation of brake linings. For example, abrasion and
macroshear may also cause physical breakdown (Burwell 1957, Mizutani et al. 1973). Accordingly, brake
lining disintegration by these mechanisms may liberate partially altered or even unaltered chrysotile
fibres.” (Rolh, 1977) A review by Lemen, discusses the deposition of asbestos fibers in brakes, and states,
“The US Public Health Service reported a study by Lynch [1968] of decomposition products from brake
linings. It found that a small fraction of asbestos fibers survived intact after normal brake use. While this
study indicated a small fraction of actual asbestos fiber is released during normal wear into the urban
atmosphere, it did not address the actual release of asbestos fiber during servicing and repair of the
actual brakes [Lynch, 1968].” Lemen continues, “The chemical composition of asbestos materials is
changed by the high heat generated during the braking process. Asbestos can begin to change at
temperatures around 600°C into its decomposition product, due to a loss of water, into a form of iron
magnesium silicate material, the end form which is known as forsterite, a non‐fibrous material. During
this decomposition of asbestos into forsterite not all fibers are changed and some remain as true




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asbestos fibers capable of causing disease.” “Studies conducted by General Motors’ researchers of brake
wear debris demonstrate that 90,000 asbestos fibers per ng remain in that dust [Williams and Muhlbaier,
1980]. Fibers less than 5 µm in length outnumber fibers greater than 5 µm in length by a ratio of 300:1.
This translates to approximately 300 billion asbestos fibers greater than 5 mm per g of wear debris and
90 trillion asbestos fibers less than 5 µm.” (Lemen, 2004).

According to a 1986 EPA document, “Millions of asbestos fibers can be released during brake pad and
clutch servicing. … Asbestos released into the air lingers around a garage long after a brake job is done
and can be breathed in by everyone inside a garage, including customers.” (USEPA, 1986) Concerning a
report on the "International Conference on Health Hazards of Asbestos,” “a total of 33 formal papers on
the harmful effects of asbestos exposure were represented by medical and physical scientist from all over
the world. … It is clearly evident that asbestos exposure is harmful not only to asbestos workers
themselves but its effects also extend to their family members. … Any exposure to asbestos is considered
dangerous.” (Rhee, 1978) Concerns about exposure to asbestos‐containing dust from automotive
maintenance and repair work can be found in the other literature. (Huncharek, 1989) “Asbestos is found
in motor vehicle brake materials throughout industry. Recognition of asbestos carcinogenic properties
has currently resulted in substitution of less toxic fibers for some brake materials. However, asbestos is
still used in a large number of brakes.” (Sheehy, 1987) According to a 1987 study discussing the feasibility
of asbestos in automobiles and trucks, authored by the American Society of Mechanical Engineers for the
EPA, “Suitable non‐asbestos materials are not available for all of these applications, and industry‐wide
substitution of non‐asbestos materials in all existing brake designs would require considerable
development. It is unrealistic to assume that all automakers will redesign all passenger car and truck
braking systems around disc brakes in order to utilize semimetallic materials. … Adequate non‐asbestos
friction material formulations presently are not available for all vehicle systems. However, at the present
rate of technical progress, most new passenger cars could be equipped with totally non‐asbestos
frictional systems by 1991, and most light trucks and heavy trucks with S‐cam brakes, by 1992.” (ASME,
1987)

In a review by Lemen, it was reported that “chrysotile asbestos was found in all dust samples taken from
car brake drums, with 2‐15% in each sample in both fiber and fibril forms, with average concentrations
from blowing the dust of 16 fibers/ml of air” with measurable concentrations found 75 feet away. In



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Lemen’s review, it is noted that “fiber concentrations of 3.8 fibers/ml among New York brake repair
workers” were found. Furthermore, “[g]rinding of the linings produced the most asbestos fiber release,
some as high as 125 fibers/cm3.” Lemen concludes, “A review of the published peer reviewed literature
reveals at least 165 cases of mesothelioma in end‐product users [mechanics] of friction products … and
that the results of the exposure studies, experimental studies, case reports, and findings from the
equivocal epidemiological studies by no means exonerate the brake mechanic from being susceptible to
a causal relationship between asbestos exposure and mesothelioma.” (Lemen, 2004)

In a Millette study dealing with asbestos‐containing brake shoes and brake disc pads manufactured by
Ford, during the sanding of brake shoes, asbestos fiber levels were 2.2 fibers/cc (PCM), 54.0 structures
per cubic centimeter (s/cc) (> 5µm, TEM); during the sweeping of dust and debris; asbestos fiber levels
were 1.7 fibers/cc (PCM), 12.0 s/cc (> 5µm, TEM); during filing of grooves, asbestos fiber levels were 0.3
fibers/cc (PCM), 6.7 s/cc (> 5µm, TEM); during the making of grooves in the disc pad for two minutes
with a power grinder, asbestos fiber levels were 8.5 fibers/cc (PCM), 231.0 s/cc (> 5µm, TEM). Millette
further concludes, “Sanding an asbestos‐containing brake shoe friction product with a coarse sandpaper
released high levels of asbestos fibers in the breathing zone of the sander. Sweeping the asbestos‐
containing dust and debris following sanding can release significant levels of asbestos fibers into the air
(over 1 f/cc). Filing grooves into a brake disc pad also releases asbestos fibers into the air in the vicinity of
the filer, but at a lower level than sanding. Using a power muffler grinder to cut the grooves in an
asbestos‐containing brake disc pad causes high levels of asbestos to be released.” (Millette, 1996) Rohl
states, “The composition of automotive brake linings includes chrysotile asbestos fibre which comprises
about 50% of the friction material.” In this paper, exposure ranges and means, reported in f/ml (PCM),
from friction products during automotive brake repair include blowing dust from brake drums at a
distance from 1 – 1.5 meters (m), in which the range was 6.6 to 24.9 f/ml with an average of 15.0 f/ml
(n=4); at a distance from 1.5 – 3 m, in which the range was 2.0 to 4.2 f/ml, with an average of 3.3 f/ml
(n=3); and at a distance from 3 – 6 m, in which the range was 0.3 to 4.8 f/ml with an average of 1.6 f/ml
(n=2). Background samples collected 5 minutes after air jet blowing at a distance of 3.6 – 16 m, revealed
a range from 0.1 f/ml to 0.2 f/ml with an average of 0.2 f/ml (n=2). Background samples collected 7‐14
minutes after “air jet blowing” at a distance of 19.6 – 22.6 m, revealed an average of 0.1 f/ml (n=2).
During truck brake repair, “renewing used linings by grinding” at a distance of 1 – 1.5 m, revealed a range




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of 1.7 to 7.0 f/ml with an average of 4.8 f/ml (n=10). Background samples taken during grinding used
linings at a distance of 3.3 m, the range was 1.2 to 1.7 f/ml with an average of 1.5 f/ml (n=2); at a
distance of 8.3 m, the range was 0.6 to 1.0 f/ml with an average of 0.8 f/ml (n=2); and at a distance of 20
m, the level was 0.2 f/ml. Samples collected during “bevelling new linings” revealed a range from 23.7 to
72.0 f/ml, with an average of 37.3 f/ml (n=4). At a distance 2.4 m away from “bevelling new linings”, a
level of 0.6 f/ml is reported; at a distance of 3.4 m away, a range from 0.3 – 0.5 f/ml and an average of
0.4 (n=2) is reported; and at a distance of 9.1 m away, a level of 0.3 f/ml is reported. (Rohl, 1977)

In a review to the EPA titled “Asbestos Dust Control in Brake Maintenance,” exposure levels, reported in
f/cc (PCM), from working with asbestos‐containing brake products are reported. The use of a compressed
air gun for several studies resulted in a range of 0.14 to 2.69 f/cc with a TWA of 0.03 f/cc and an average
peak level of 0.71 f/cc; a range of 0.91 to 15.0 f/cc with a TWA of 0.13 f/cc and an average peak level of
4.87 f/cc; a range of 6.6 to 29.8 f/cc with an average peak level of 16.00 f/cc; a level of 0.85 f/cc; a level of
0.33 f/cc with a TWA of 0.4 f/cc; and a range of 0.6 to 3.00 f/cc with an average peak level of 1.43 f/cc.
The use of a dry brush or rag for two studies resulted in a range of 0.61 to 0.81 f/cc with a TWA of 0.19
f/cc and an average peak level of 0.70 f/cc; and a range of 1.3 to 3.6 f/cc with an average peak level of 2.5
f/cc. The use of a damp brush or rag resulted in a range of 0.67 to 2.62 f/cc with a TWA of 0.25 f/cc and
an average peak level of 1.4 f/cc. The use of brake cleaner/compressed air resulted in a range of 0.25 to
0.68 f/cc with a TWA of 0.07 f/cc and an average peak level of 0.41 f/cc. (PEI Associates, 1985)

In another study, compressed air blown onto a wheel and brake assembly reported area levels at 3.17
and 2.48 f/cc (PCM), 5.39 and 11.75 (FIBERS> 5µm/cc, TEM), respectively. Personal samples ranged from
4.13 to 16.52 f/cc (PCM) (n=4) and <8.32 to 33.71 (FIBERS> 5µm/cc, TEM) (n=4), respectively. (Longo,
1998) In another similar report produced by Hatfield and Longo, they “conducted a study to determine
exposures to airborne asbestos fibers generated while performing compressed air blowout on a brake
assembly that contained non asbestos brake shoes, but contained residual asbestos contaminated brake
dust from the previous shoe friction material.” During the “1st Wheel Blowout” area samples ranged from
0.04 to 0.09 f/cc (PCM) (n=4), 1.32 to 3.98 (FIBERS> 5µm/cc, TEM) (n=4); while personal samples ranged
from 0.52 to 1.03 f/cc (PCM) (n=4), 6.71 to 6.77 (FIBERS> 5µm/cc, TEM) (n=4). During the “2nd Wheel
Blowout,” area samples ranged from 0.07 to 0.11 f/cc with one sample overloaded (PCM) (n=4) and
“None Detect” to 7.83 f/cc (FIBERS> 5µm/cc, TEM) (n=4); personal samples ranged from 0.56 to 1.72 f/cc



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(PCM) (n=4) and 6.77 to 40.63 (FIBERS> 5µm/cc, TEM) (n=4). Thirty minutes after compressed air use,
area samples ranged from 0.01 to 0.03 f/cc with one sample overloaded (PCM) (n=4) and 0.19 to 0.96
(FIBERS> 5µm/cc, TEM) (n=4). They concluded that “[d]uring this process, significant amounts of asbestos
fibers are released into the air.” (Hatfield, 2001)

According to Kakooei, asbestos fiber concentrations were evaluated “in the breathing zone of auto
mechanics between July 2008 and December 2008.” 60 breathing zone air samples were collected during
car and truck brake maintenance and replacement activities in 30 brake repair and replacement auto
shops (cars and trucks). “The main processes carried out during brake repair and replacement are
remove wheel and drum, clean and remove brake parts and install brakes and drum. In the brake repair
processes, accumulated brake dust must be cleaned away before the old pads and linings removed. …
This is often done with a small brush under inadequate engineering controls such as local exhaust
ventilation hoods. … If the old brake lining is still thick enough to be effective, the automotive mechanic
may use a bench grinder to restore the surface, or deglaze the linings of oil and dirt.” “The geometric
means of the personal monitoring fiber concentrations were 0.92 PCM f/ml [range of 0.116‐2.48 f/cc;
n=32] and 0.46 PCM f/ml [range of 0.117‐1.93 f/cc; n=28] respectively in car and passenger heavy truck
auto shops. … The results of the current study indicate that repair asbestos containing brake pads and
linings on cars and trucks has produced significant airborne asbestos.” (Kakooei, 2011) A Korean
study/review of asbestos hazards in many industries noted airborne asbestos exposure associated with
“Repair of auto‐vehicle brake lining” that ranged from 0.01 to 7.28 f/ml (n=63). (Choi, 2016)

In a study by Lorimer, the blowing out of brake drum dust from automobile brake assemblies resulted in
asbestos airborne concentrations in the breathing zone ranging from 6.6 to 29.4 fibers/cc (n=4) at a
distance of 3‐5 feet, 2.0 to 4.2 fibers/cc (n=3) at a distance of 5‐10 feet, and 0.4 to 4.8 fibers/cc (n=2) at a
distance of 10‐20 feet; “Background Sample” collected at varying distances (10‐75 feet) and at different
times post brake dust blowout (0‐14 minutes) ranged from 0.1 to 0.8 fibers/cc. Garage brake lining
maintenance work for trucks, including the renewal of used linings by grinding resulted in asbestos
airborne concentrations in the breathing zone ranging from 1.7 to 7.0 fibers/cc (n=10); “background
samples” ranged from 0.2 to 1.7 fibers/cc (n=5) with distances ranging from 10‐60 feet. The beveling of
new linings from trucks resulted in asbestos airborne concentrations in the breathing zone ranging from




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23.7 to 72.0 fibers/cc (n=5); “background samples” at distances from 8‐30 feet ranged from 0.3 to 0.6
fibers/cc (n=4). TEM analysis confirmed the presence of asbestos in airborne samples. (Lorimer, 1976)

According to meeting minutes for the Asbestos Study Committee, exposure to asbestos is mentioned as it
relates to brake maintenance activities, “In many drilling and grinding operations without dust collectors,
Committee members indicated that the 10 f/cc ceiling concentration has been exceeded … [regarding
recent asbestos exposure survey] indicated that during radius grinding and drilling of brake linings that
the airborne concentrations of asbestos fibers was in excess of the 10 fibers/cc ceiling value. … It is the
view of most Members of the Committee that the fibers/cc (TWA) is exceeded in many areas such as
inspection, drilling, and grinding where there is no adequate dust collection machinery. This could
happen in garages where subsequent drilling and grinding is often required and where there is no
adequate dust collection equipment.” (ASC, 1973)

The US EPA states that “[w]hen grinding is done to renew used brake block linings, concentrations of up
to seven million asbestos fibers per cubic meter can be released. Beveling new linings can release
concentrations of up to 72 million fibers and light grinding of new linings of up to 4.8 million fibers.”
Regarding clutch repair, “Significant exposure can also occur during clutch repair. Since a mechanic's
head is typically under the clutch assembly during clutch repair, asbestos often falls on a mechanic's face
and clothing.” (USEPA, 1986)

“Another potential source of asbestos release to air is from clutches and brakes on cars and trucks; a
wide range of air concentrations of asbestos fibers (0.004–16.0 f/mL) has been reported in numerous air
sampling studies of workplaces during maintenance and replacement of vehicle brakes (WHO 1998).”
(ATSDR, 2001) According to Hickish, atmosphere samples during car brake service by a car were 1.12 and
1.42 fibers/cm3; atmosphere samples during car brake service in a “dust cloud then by car” were 1.71 and
3.62 fibers/cm3; personal samples during brake services ranged from 0.21 to 1.12 (n=6); personal samples
during truck brake service during and after cleaning was 7.09 and 0.08 fibers/cm3, respectively; and
during clutch repair procedures during cleaning and after cleaning, personal asbestos airborne levels
were 2.25 and 0.11 fibers/cm3, respectively. (Hickish, 1970)

In a 2004 clutch sanding study, airborne asbestos concentrations were measured during the manual
“rough‐up” of a Borg Warner clutch friction surface with 80 grit sanding paper. The sanding occurred



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from 3.5 to 4.5 minutes and the clutch box was unused prior to this study. Personal air samples, through
PCM analysis, were reported to average 14.9 f/cc (n=3); areas samples were reported to range from 0.6
to 4.0 f/cc (n=4). “The sample of the clothing worn during the study showed a chrysotile contamination
level of 642 billion asbestos structures. The concentration of chrysotile fibers greater than or equal to 5.0
micrometers was 200 billion. … This level of asbestos contaminated dust can be classified as severe and
can be easily re‐entrained into the breathing zone of a mechanic when the clutch plate is removed for
the box.” (Longo, 2004) In a 2012 Millette study, Borg Warner clutches were assessed for asbestos
content and found to contain 30‐50% chrysotile asbestos, while additional TEM‐EDS analysis revealed the
presence of 0.032% tremolite asbestos fibers. (Millette, 2012)

In a 2014 study, airborne asbestos levels were collected in two transmission shops. In addition to longer
term personal air sampling, short term personal samples “were collected during the manipulation
activities of clutch facings, and during cleaning activities.” Area air samples were collected in the shops as
well. Air samples were analyzed through PCM and TEM. Both transmission repair shops used asbestos‐
containing clutch facings, but one shop (TRS1) sporadically used non‐asbestos containing clutch facings.
Ventilation systems were either not used or rarely used in both transmission shops, and both shops used
“manipulation equipment and material” such as Drills, countersinks, rivet machines, emery machines and
sandpaper. Some level of shop cleaning occurred during this study, including water or dry brushing or
broom. For the first transmission shop, reported as PCME, breathing zone levels of airborne asbestos
ranged from 0.010 to 0.107 f/cc as an 8‐hr TWA; the second shop reported a range from 0.024 to 0.195
f/cc as an 8‐hr TWA. Short term personal sample means between the two shops ranged from 0.065 to
0.603 f/cc (n=4); these means, per workers, ranged from 0.021 to 1.653 f/cc. Area air sampling during
clutch facing activities reported detectable airborne asbestos, and in one case, reported at 1.715 f/cc.
The authors conclude, “In this study, we identified that the working conditions and use of asbestos‐
containing transmission products expose transmission mechanics to asbestos concentrations that exceed
both the Colombian and OSHA standards. The potential consequences for health of these workers are of
great concern … the exposure concentrations found are high. Thus, this group of transmission mechanics
is at excess risk of developing asbestos‐related diseases. Furthermore, workers that do not manipulate
clutch facings may be exposed to high asbestos concentrations in the workplace.” (Salazar, 2014)




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Regarding clutch facings, “As fibers will undoubtedly continue to be knocked loose during the riveting
and other similarly abusing operations, it will be necessary to periodically clean the riveting machines and
work tables.” Several other control measures to reduce exposure to clutch friction dust in this
manufacturing setting are recommended: respirators, housekeeping to include vacuum cleaning of dust,
engineering controls, impermeable bags or containers for clutch friction dust waste, and medical
examinations. (National Loss Control, 1972)

According to meeting minutes for the Asbestos study Committee, exposure to asbestos is mentioned as it
relates to brake box asbestos‐containing dust, “Again the point was made that with undusted linings
from a manufacturer it is likely that customer inspection, or possibly opening of cartons, could show
airborne fiber concentrations in excess of 5 fibers/cc (TWA).” (ASC, 1973) Brake box asbestos‐containing
friction product dust, and its hazard is mentioned in several documents. (Rockwell, 1975) (Rockwell,
1977) (Rockwell, May 1983) (Rockwell, June 1983) (Brogan, 1984) In a 2004 study, free asbestos particles
were collected from the surface of unused asbestos‐containing brake materials and evaluated. This was
accomplished by gently rinsing asbestos‐containing brakes with pre‐filtered water and that was then
collected on filters for analysis. The author concluded that “any manipulation of new asbestos‐containing
brake components would be expected to yield free dust containing chrysotile asbestos of respirable size.”
(Atkinson, 2004) In a 2003 study clutch and brake friction material box dust was analyzed for asbestos
content. Three out of four of the brake friction materials were determined to be asbestos‐containing.
Dust samples were collected from surface of the box from the three asbestos‐containing brake material
boxes as well as the surface of the metal and friction components. Dust samples were collected from the
surface of the asbestos‐containing clutch material box as well as the surface of the clutch itself. The
asbestos content of dust in the boxes of identified asbestos‐containing friction material ranged from 15%
to 55%. The asbestos content in structures per box ranged from 2.2 billion to 641.9 billion. The author
concluded, “Each of the friction component boxes tested demonstrated severe asbestos contamination
in the dust. The chrysotile asbestos structures analyzed were primarily fibers and bundles with only 5 of
the structures classified as a matrix. “It is clear from this data, that the amount of asbestos contaminated
dust in each of the boxes tested was high enough to potentially cause any individual who opens these
boxes and removes the product to receive a significant peak exposure to airborne asbestos fibers.
Besides airborne asbestos structures, the handling of the contaminated products could also transfer




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asbestos structures onto the hands and work clothing of the individual. This transfer from box to hands
to clothing is another potential route of asbestos exposure to the person handling this product.” (MAS,
May 2003) The National Loss Control comments on this phenomenon from the manufacturing side at a
Borg‐Warner facility, “After thoroughly observing the operations associated with the manufacturing of
the completed clutches, it is felt that a significant amount of the total asbestos exposures is coming from
the loose fibers that are on the clutch facings. This idea is borne out somewhat by the exposure the
clutch facing inspector received while checking several pallets of facings (sample #1). While working in in
an area that is considerably cleaner than the general work table in the assembly area, he received an
exposure that is higher than most other employees’ exposures.” “Exposures in excess of the current
OSHA 8‐hour average limit were found at over half of the locations tested.” (National Loss Control, 1972)
A Korean study/review of asbestos hazards in many industries noted airborne asbestos exposure
associated with “Handling of auto‐vehicle brake lining” that ranged from 0.16 to 5.64 f/ml. (Choi, 2016)

In a 2008 study reporting the exposure to asbestos‐containing brake dust. Testing I: During brake pad
box handling, asbestos airborne concentrations, during a 15‐minute sampling period while handling 2, 4,
8, 12, 16, and 20 boxes, resulted in averages of 0.1, 0.123, 0.330, 0.438, 0.657, and 0.269 fibers/cc,
respectively. During brake shoe box handling, asbestos airborne concentrations, during a 15‐minute
sampling period while handling 2, 4, 8, 12, and 17 boxes, resulted in averages of 0.059, 0.075, 0.102,
0.113, and 0.150 fibers/cc, respectively. During brake pad box handling, asbestos airborne
concentrations, during a 30‐minute sampling period while handling 6, 20, and 36 boxes, resulted in
averages of 0.111, 0.374 fibers/cc, and “not applicable” respectively. During brake shoe box handling,
asbestos airborne concentrations, during a 30‐minute sampling period while handling 4 and 16 boxes,
resulted in averages of 0.044 and 0.064 fibers/cc, respectively. Testing II: During brake pad box handling,
asbestos airborne concentrations, during a 15‐minute sampling period while handling 4 and 16 boxes,
resulted in averages of 0.193 and 0.559 fibers/cc, respectively. During brake shoe box handling, asbestos
airborne concentrations, during a 15‐minute sampling period while handling 4 and 16 boxes, resulted in
averages of 0.60 and 0.167 fibers/cc, respectively. The cleanup of dust produced from handling boxes
(n=8) and the handling of asbestos‐contaminated clothes (n=4) resulted in average airborne
concentrations of 0.017 and 0.037 f/cc. During brake pad box handling, asbestos airborne concentrations,
during a 30‐minute sampling period while handling 4 and 16 boxes, resulted in averages of 0.104 and




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0.297 fibers/cc, respectively. During brake shoe box handling, asbestos airborne concentrations, during a
30‐minute sampling period while handling 4 and 16 boxes, resulted in averages of 0.040 and 0.167
fibers/cc, respectively. “Long‐term” sampling (100 minutes), during brake pad box handling, asbestos
airborne concentrations, while handling 4 and 16 boxes, resulted in averages of 0.044 and 0.180
fibers/cc, respectively. “Long‐term” sampling (100 minutes), during brake shoe box handling, asbestos
airborne concentrations, while handling 4 and 16 boxes, resulted in averages of 0.028 and 0.059
fibers/cc, respectively. The cleanup of dust produced from handling boxes during this “Long‐term” (n=1)
sampling period was 0.013 f/cc. (Madl, 2008) In a 2003 study that measured airborne asbestos
concentrations from opening 15 brake shoe boxes and handling on a work table, PCM area samples (7
feet from source) ranged from 0.04 to 0.18 f/cc (n=4); PCME results were 0.13 and 0.03 f/cc (n=2).
Personal samples ranged 0.27 to 0.67 f/cc (n=4); PCME results were 0.67 and 0.63 f/cc (n=2). (MAS,
October 2003)

A MVA study entitled, Examination of Asbestos Fiber Releasability from a Cobra Brakeshoe stated in its
results, “The brake pads were analyzed by polarized light microscopy (PLM) and found to contain
approximately 30% chrysotile asbestos. Chrysotile asbestos fibers were seen protruding from the sides
of the brake pads. … Asbestos fibers protrude and are available to be released from the brake pads upon
rubbing or abrasion. The adhesive samplers collected chrysotile fibers that were easily released from the
surfaces of the brake pads.” (Millette, 1994) Also, in another MVA study entitled, Examination of Railroad
Brakes stated in its results, “As received, the brakes were not friable. However, asbestos fibers protruded
from their surfaces and Samples U1846 through U1855 released asbestos‐containing dust when
handled.” (Millette, November 2009). Finally, in a MVA study entitled, Analysis for Amphibole in RR Brake
stated in its results, “TEM analysis found amphibole asbestos fibers in Sample U1853 (UP907252‐04) RR
Brake "Anchor.”” (Millette, December 2009) According to Internal Correspondence, Westinghouse Air
Brake Division, “Cobra Shoe Engineering and Johns‐Manville Research combined to run an elaborate
series of dynamometer tests during which all the wear dust from various types of braking cycles was
collected and analyzed. … The results of these tests show that almost all of the asbestos fiber is
decomposed during brake applications. Less than one percent of the original asbestos fiber in the shoe
remains as fiber in the wear dust and less than on tenth of that becomes airborne.” The study looked at
the wear during “1. Passenger car simulation 2. Commuter run simulation 3. Grade simulation 4. Heavy




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freight simulation.” The report then says, “In general, our conclusions can be stated as follows: 1. In
almost all cases less than 1.0 per cent of the original fiber in the formula remains as recognizable
chrysotile fiber in the wear dust. 2. In every instance less than 0.05 per cent of the original fiber remains
as recognizable in the fraction of the dust which is potentially airborne.” Finally, the report states, “These
results are in good agreement with the previous work on automotive brake linings. Furthermore, they
substantiate the hypothesis that the extreme heat and mechanical action of the breaking process is
sufficient to destroy almost all the fiber as it is exposed at the wearing surface.” (Farnsworth, 1976)

NIOSH, in 1975, warned of the hazards of working with motor vehicle brake and clutch assemblies.
(NIOSH, 1975) The literature is replete with asbestos exposure above background levels in the friction
products repair and maintenance industry and the manufacturing industry and/or methods for control.
(AIHA, 1958) (Hickish, 1968) (NIOSH, Abex, 1972) (NIOSH, 1972) (NATLSCO, Jan. 1973) (NATLSCO, June
1973) (Castleman, 1975) (Johnson, 1976) (Rohl, 1976) (NATLSCO, 1978) (Johnson, 1979) (USCG, 1979)
(Roberts, 1982) (Nicholson, 1984) (NATLSCO, 1986) (Cheng, 1986) (NATLSCO, 1988) (Moore, 1988) (Weir,
2001) (Paustenbach, 2003) (Lemen, 2004) (Dodson, 2006) (OSHA, 2006) (Sakai, 2006) (Boelter, 2007)
(Millette, 2010) (Millette, 2010) (Cely‐Garcia, 2012)


10. Conclusions

Based on the information detailed above and attached as appendices, I have been asked to evaluate Mr.
John Brindell, Jr.’s exposures to asbestos‐containing products. As to those exposures, I provide the
following opinions.

A.       Based on my review of the case‐specific information Mr. John Brindell, Jr. worked, personally
with or as a bystander, to trailers, axles and friction products manufactured/supplied by Carlisle, Abex,
Bendix, Eaton, Rockwell, Fruehauf, Great Dane, Strick, Utility, Wilson, Lufkin, and was exposed to
asbestos during the repair and maintenance of these products, including the use of compressed air and
grinders. Per all information reviewed for this case, based on my professional judgment, experience, and
training, Mr. Brindell, Jr. would have been subjected to the following ranges of exposure (magnitudes), in
f/cc, as expressed in scientific notation:




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                Material Type and Activity                      Personal (f/cc)        Bystander (f/cc)


     General Repair and Maintenance (Heavy Machinery)           1x10‐2 to 1x100         1x10‐2 to 1x100

                         Grinding                               1x10‐2 to 1x101         1x10‐1 to 1x101

                    Compressed Air Use                          1x10‐2 to 1x101         1x10‐2 to 1x101




B.       According to Section 9, and attached as appendices, based on industrial hygiene, scientific,
regulatory, and other documents, these products were asbestos‐containing.

C.       When these asbestos‐containing products were installed, removed, cut, manipulated, repaired,
or in any way disturbed, workers and bystanders were exposed to significant airborne concentrations of
asbestos. Significant contamination of clothing from asbestos occurs during the installation, removal,
cutting, manipulation, repairing, or in any way disturbing of an asbestos‐containing product.

D.       Significant exposure to asbestos is due to the installation, removal, cutting, manipulation,
repairing, or in any way disturbing of an asbestos‐containing product in such a manner that airborne
asbestos fiber concentration is released above background concentration. ATSDR reports asbestos
background as a range between 10‐8 to 10‐4 PCM f/ml.

E.       When the asbestos products were installed, removed, cut, manipulated, repaired, or in any way
disturbed, Mr. Brindell, Jr., while working with such products or as a bystander, was exposed to
significant airborne concentrations of asbestos for each type of product.

F.       Airborne asbestos does not settle quickly from the air and can easily become re‐entrained after it
does settle.

G.       Since the 1930’s, working with or around hazardous contaminants in the workplace, the need for
engineering controls, appropriate training, or appropriate respiratory protection was recommended.




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Asbestos was included among these workplace hazards. Good industrial hygiene practices would have
included warnings.

H.       I found no evidence of appropriate engineering controls, appropriate training, adequate
warnings, or appropriate respiratory protection during periods of significant exposure. The concepts of
engineering controls, appropriate training, and appropriate respiratory protective equipment, working in
concert, will reduce exposure to airborne asbestos.

I.       The dangers of exposure to asbestos‐containing products have been well documented in the
scientific literature. By the 1930s, asbestosis had been thoroughly documented in the industrial hygiene
literature (Merewether, 1930). In 1955, the link between asbestos exposure and lung cancer had been
firmly established in public health and industrial safety literature (Doll, 1955). In 1965, the link between
asbestos exposure and mesothelioma had been firmly established in public health and industrial safety
literature (Newhouse, 1965).

J.       Two case documents provided, “2020 04 29 Raymond Kain TSI and Eagle Affidavit” and “Brindell
Exposure History”, suggest potential exposure to thermal systems insulation aboard ship; however, more
information is required to render an opinion about asbestos exposure, if any, aboard ship in this case. My
opinions may be supplemented or changed if new evidence/information is presented to me.

I declare under penalty of perjury that the foregoing is true and correct.




Kenneth S. Garza, CIH, MS
VP Industrial Hygiene




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                            APPENDIX A




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“2019 12 20 Brindell - Responses to Master Rogs & RFP”

“2020 02 19 Poleto J. Keith Vol. 1 Exh. A”

“2020 02 19 Poleto J. Keith Vol. 1 Exh. B”

“2020 02 19 Poleto J. Keith Vol. 1 Exh. C”

“2020 02 19 Poleto J. Keith Vol. 1 Exh. D”

“2020 02 19 Poleto, J. Keith Vol. I”

“2020 02 20 Poleto, J. Keith Vol. II”

“2020 04 29 Raymond Kain TSI and Eagle Affidavit”

“Brindell - Social Security Records”

“Brindell Exposure History”




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                            APPENDIX B




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                                               KENNETH S. GARZA, CIH, MS
                                               Vice President, Industrial Hygiene

                                               GHP, Inc.
                                               11550 IH-10 West, Suite 234
                                               San Antonio, Texas 78230
                                               Phone – 210-824-5600
                                               Fax – 210-824-8420
                                               Cell – 210-392-1863
                                               E-mail – kgarza@ghp1.com; Web address – www.ghp1.com

EDUCATION:
Bachelor of Science in Biology, Minor in Chemistry, St. Mary’s University, San Antonio, 2001
Master of Science in the Environmental Science and Management, University of Texas at San Antonio, 2006

LICENSES AND CERTIFICATIONS:
Certified Industrial Hygienist, #10082; Texas Licensed Asbestos Consultant, #105702; Florida Licensed Asbestos
Consultant, #AX108; Texas Licensed Mold Assessment Consultant, #MAC0379

PROFESSIONAL SUMMARY:
Mr. Garza has over eighteen years of experience in various aspects of the environmental industry which include:

Conducted/Managed numerous inspections for the determination of asbestos-containing materials, and the
development of abatement protocols for the removal of asbestos-containing materials, asbestos dose reconstruction.

Conducted/Managed numerous microbial investigations with an emphasis on causation. In addition, he has
conducted/managed numerous visual inspections for the purpose of developing Microbial Remediation Plans, as well
as the composition of those plans. Conducted/Managed numerous remediation projects from the selection of the
contractor to the receipt of satisfactory post remediation samples and closeout reports. Conducted/Managed
Legionella sampling and evaluation.

Conducted/Managed classic Industrial Hygiene (IH) work for purpose of assessing potentially harmful agents to
occupants in the residential and occupational settings. These agents include, but are not limited to, formaldehyde,
xylene, respirable dust, carbon black (soot), fly-ash, volatile organic compounds (VOC’s), nicotine residue, pesticides,
inorganic acids, sodium hydroxide, trichloroethylene, chromic acid, and ammonia. Literature research related to
environmental and industrial hygiene issues.

Client Base: Healthcare, Hospitality and Insurance Industries; School Systems, Commercial and Residential Properties,
Law Firms.

MEMBERSHIPS:
Alamo Chapter, Air and Waste Management Association, 2004-2009, 2012
Texas Association of Health Care Facilities Management, 2007-2009
North Chamber of Commerce, San Antonio, 2009
American Industrial Hygiene Association, 2009-2021
American Board of Industrial Hygiene, 2012-2021

PUBLICATIONS:
Garza, Kenneth S. & Lannan, Robert. “Toxic Mold Litigation: Perspectives on Excessive Mold Growth in Hotels.” Hotel
Business Review, Best Practices in Hotel Management & Operations; December 8, 2019.

Garza, Kenneth S. “The Use of Blue Crocidolite in a ‘Salt Cake’ Plant.” The Official Newsletter of the Environmental
Information Association (EIA); Volume 11, Issue 3, May/June 2012.




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                            APPENDIX C




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                Testimony/Deposition Experience Since 2009 (Updated January 19, 2021) – Kenneth S. Garza

Client or Attorney
                                                               Where Case                                              GHP Project
         &             Case Number      Names of Parties                           Deposition            Trial
                                                                was Filed                                               Number
     Location
                                        Doctor’s Hospital    The United States
Law Offices of Pries    Civil Action    1997, L.P., et al.   District Court for
                                                                                        Yes              Yes
     & Roy,             No. 4:08-CV-        v. Beazley         the Southern                                             08214.00
                                                                                   July 1, 2009    February 17, 2010
       PLC.                03340         Insurance Co.,       District of Texas
                                                Inc.         Houston Division
                                         Roy Legget and        District Court,
Law Office of Simon                     Wanda Legget v.        Harris County,
                       Cause No. 2008                                                   Yes
     Eddins &                                Bondex             Texas, 11th                             None            07079.06
                          - 58697                                                 April 14, 2009
 Greenstone, LLP.                         International,           Judicial
                                            Inc., et al.           District
Law Offices of Paul                                               Eastern
                         Civil Action   Jessie Leonard v.                             Yes
        A.                                                       District of                            None            10307.00
                        No. MDL 875     AC&S, Inc., et al.                        March 8, 2011
    Weykamp                                                    Pennsylvania
Law Offices of Paul                      Charles King v.          Eastern
                         Civil Action                                                 Yes
        A.                               AMCHEM, Inc.,           District of                            None            10307.01
                        No. MDL 875                                               March 8, 2011
    Weykamp                                  et al.            Pennsylvania
                                          Jimmie Dale
Law Offices of Paul                                              Eastern
                         Civil Action       Davis v.                                  Yes
        A.                                                      District of                             None            10307.02
                        No. MDL 875      AMCHEM, Inc.,                            March 8, 2011
    Weykamp                                                    Pennsylvania
                                             et al.
                                                                Eastern
Law Offices of Paul                     Raymond Stevens        District of
                         Civil Action                                                 Yes
        A.                                v. AMCHEM,            Virginia,                               None            10307.03
                        No. MDL 875                                               March 8, 2011
    Weykamp                                Inc., et al.         Newport
                                                              News Division
Law Offices of Paul                                             Eastern
                         Civil Action   Robert Jacobs v.                              Yes
        A.                                                     District of                              None            10307.04
                        No. MDL 875     AC&S, Inc., et al.                        March 8, 2011
    Weykamp                                                   Pennsylvania
Law Offices of Paul                       Lawrence G.           Eastern
                         Civil Action                                                 Yes
        A.                                 Parham v.           District of                              None            10307.05
                        No. MDL 875                                               March 8, 2011
    Weykamp                             AC&S, Inc., et al.    Pennsylvania
Law Offices of Paul                     Phillip E. Holmes       Eastern
                         Civil Action                                                 Yes
        A.                              v. AC&S, Inc., et      District of                              None            10307.06
                        No. MDL 875                                               March 8, 2011
    Weykamp                                     al.           Pennsylvania


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               Testimony/Deposition Experience Since 2009 (Updated January 19, 2021) – Kenneth S. Garza



Client or Attorney
                                                                         Where Case                                                   GHP Project
         &              Case Number          Names of Parties                                    Deposition             Trial
                                                                          was Filed                                                    Number
     Location
                                                                         United States
                                               Anderson v.               District Court             Yes
Cascino Vaughan         MDL Docket
                                                 Bechtel                for the Eastern       December 12-13,          Pending         11266.01
  Law Offices           No. MDL 875
                                            Corporation, et al.            District of             2011
                                                                         Pennsylvania
                                             Donald Strefling,        The Superior Court
Morgan & Morgan,     C.A. No. 11C-02-034    Barbara Strefling v.        of the State of              Yes
                                                                                                                        None           10303.06
      LLC                    ASB              Advanced Auto          Delaware in and for        July 24, 2012
                                                 Parts, et al.        New Castle County
                                            Patricia D. Little, et      Circuit Court of
Morgan & Morgan,     Civil Action No. 03-                                                           Yes
                                              al. v. A.O. Smith        Kanawha County,                                  None           10303.07
      LLC                   C-9600                                                            January 15, 2013
                                            Corporation, et al.          West Virginia
                                            Ellen Thompson, et          Circuit Court of
Morgan & Morgan,     Civil Action No. 12-                                                           Yes
                                              al. v. A.O. Smith        Kanawha County,                                  None           10303.08
      LLC                 C-922 KAN                                                           January 15, 2013
                                            Corporation, et al.          West Virginia
                                                                      The Superior Court             Yes
                                             Raymon R. Uribes           of the State of      April 17, June 2-3,
 Waters, Kraus &                                                                                                         Yes
                     No. 112CV220636        and Elia B. Uribes v.    California in and for       7-8, 2013                             12294.02
      Paul                                                                                                         June 24-25, 2013
                                            3M Company, et al.       the County of Santa     Hearing – June 12-
                                                                             Clara                13, 2013
                                                                       Superior Court of
                                            Michael Sherman v.            the State of
 Waters, Kraus &      Case No. BC 481                                                                Yes
                                            BASF Catalyst LLC,         California for the                               None           12294.04
      Paul                  282                                                              August 23, 29, 2013
                                                  et al.                 County of Los
                                                                            Angeles
                                                                       Superior Court of
                                             John J. Depree v.
 Waters, Kraus &         Case No.                                         the State of             Yes
                                            BASF Catalysts LLC.,                                                       Pending         12294.05
      Paul              RG12659674                                     California for the     October 4, 2013
                                                   et al.
                                                                     County of Alameda
                                            David Lloyd Snavely        Superior Court of
Morgan & Morgan,      Case No. 2012 CA                                                             Yes
                                            v. 3M Company, et            the District of                               Pending         13030.12
      LLC                005489 A                                                            November 21, 2013
                                                     al.                   Columbia


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Client or Attorney
                                                                      Where Case                                                   GHP Project
         &              Case Number         Names of Parties                                  Deposition             Trial
                                                                       was Filed                                                    Number
     Location
                                              Jones v. The          District Court,
Chandler McNulty,      Cause No. 2013-                                                           Yes
                                            Goodyear Tire &       Harris County, MDL                                Pending         13170.00
       LLP               13447-MDL                                                         December 10, 2013
                                            Rubber Co. et al.       Asbestos Court
                                             Richard Martin
Morgan & Morgan,      Case No. 24-X-12-      Czapp, et al. v.     In the Circuit Court            Yes
                                                                                                                    Pending         10303.11
      LLC                  000433           AC&R Insulation        of Baltimore City        January 21, 2014
                                                Co., et al.
                                                                    Superior Court of
                                           Mavis G. Manuel v.           the State of
 Waters, Kraus &                                                                                 Yes
                      Case No. JCCP4674    BASF Catalysts, LLC,     California, For the                             Pending         12294.00
      Paul                                                                                   March 3, 2014
                                                 et al.                County of Los
                                                                          Angeles
                                                                    Superior Court in
                                           Nader Kordestani,
                      No. BC519273, No.                                 the State of              Yes
Weitz & Luxenberg                             et al. v. 3M                                                           None           13220.01
                          JCCP4674                                  California, County     March 24-25, 2014
                                            Company, et al.
                                                                      of Los Angeles
                                           Byron Nelson, et al.    In the Circuit Court
                                              v. Air & Liquid           of the Third               Yes
 Dubose Law Firm      Case No. 13-L-1767                                                                             None           12345.06
                                            Systems Corp., et         Judicial, Circuit      April 10, 2014
                                                     al.          Madison County, IL.
                                                                  In the Circuit Court,
                                            James C. Miller v.
   Gori Julian &                                                       Third Judicial             Yes
                      Case No. 12-L-1291   Alcatel-Lucent USA,                                                       None           14034.00
  Associates, P.C.                                                   Circuit, Madison        June 25, 2014
                                                Inc., et al.
                                                                      County, Illinois
                                                                  19th Judicial District
                                            Freddie Loden v.
                                                                  Court for the Parish           Yes
The Lanier Law Firm      No. 617926          The McCarthy                                                           Pending         14033.00
                                                                       of East Baton       September 5, 2014
                                           Corporation, et al.
                                                                    Rouge, State of LA
                                            Robert Adams v.         Superior Court of                                 Yes
                                                                                                 Yes
                          Case No.             Asbestos                 the State of                           November 25, 2014
Weitz & Luxenberg                                                                           October 27, 31,                         13220.04
                         RG14718404           Corporation           California, For the                          & December 1,
                                                                                                2014
                                             Limited, et al.      County of Alameda                                  2014


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Client or Attorney
                                                                        Where Case                                               GHP Project
         &              Case Number           Names of Parties                                Deposition           Trial
                                                                         was Filed                                                Number
     Location
                                              Howard & Joann           United States
                      Case No. 2:14-CV-       Utech v. Asbestos       District Court,             Yes               Yes
Weitz & Luxenberg                                                                                                                 13220.07
                        04977-R-PJW          Corporation Ltd., et    Central District of     April 3, 2015    February 9, 2017
                                                     al.                California
  Law Office of
                                                                    In the Circuit Court
     Simon,                                   Patsy R. Arbaugh,
                      Civil Action No. 14-                              of Kanawha               Yes
  Greenstone,                                    et al. v. 3M                                                      None           14293.16
                          C-1371 KAN                                   County, West          June 3, 2015
Panatier, Bartlett,                            Company, et al.
                                                                          Virginia
       PC.
                                                                       In the Superior
                                                Shirley Espino
                                                                     Court of the State
                          Case No.           (SUC/WD; Alfred) v.                                  Yes
Weitz & Luxenberg                                                   of California in and                           None           13220.08
                         RG13664264              BorgWarner                                  June 15, 2015
                                                                     for the County of
                                              Corporation, et al.
                                                                           Alameda
                                              Linda Vellucci and     Supreme Court of
Karst & Van Oiste,                              Estate of John        the State of New            Yes
                        190201/2012                                                                                None           13189.19
       LLP.                                    Vellucci v. Borg-       York, county of       June 25, 2015
                                                Warner Corp.              New York
                                                                     Supreme Court of
                                             Walter Miller v. ATK                                                   Yes
Karst & Van Oiste,                                                    the State of New            Yes
                        190087/2014           Launch Systems                                                   September 17,      13189.18
       LLP.                                                            York, county of       June 25, 2015
                                                   Group                                                           2015
                                                                          New York
                                                                       Virginia: In the
Patten, Wornom,                              Earl W. Chapman v.
                        Case No. CL14-                              Circuit Court for the         Yes
    Hatten &                                 John Crane Inc., et                                                   None           12272.04
                          01383P-03                                    City of Newport       July 21, 2015
Diamonstein, L.C.                                     al.
                                                                             News
                                                                     Civil District Court
                                              Jerry Cambre v.
                                                                      for the Parish of          Yes
Martzell & Bickford   Case No. 13-8497       Huntington Ingalls,                                                  Pending         08139.35
                                                                      Orleans, State of     October 6, 2015
                                                 Inc., et al.
                                                                          Louisiana




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Client or Attorney
                                                                       Where Case                                                GHP Project
         &               Case Number         Names of Parties                                  Deposition           Trial
                                                                        was Filed                                                 Number
     Location
                                                                    Superior Court of
                                              Farid Malek v.            the State of                                 Yes
                                                                                                  Yes
Weitz & Luxenberg      Case No. BC580695    Blackmer Pump, et      California in and for                        January 26-27,    13220.12
                                                                                            November 10, 2015
                                                    al.             the County of Los                               2016
                                                                          Angeles
                                            Patrick Hickey and
                                                                    Superior Court of
Karst & Van Oiste,     Case 14-2-08075-1     Vickie Hickey vs.                                    Yes
                                                                     Washington for                                Pending        13189.16
       LLP                    SEA           American Biltrite,                               January 4, 2016
                                                                      King County
                                                Inc.; et al.
                                                                    Superior Court of
                                            Jackie S. Hammond,
                                                                       the State of
Karst & Van Oiste,                           et al., v. Asbestos                                  Yes                 Yes
                       Case No. BC516879                                California                                                13189.14
       LLP                                      Corporation                                 February 16, 2016   April 18, 2016
                                                                    For the County of
                                               Limited, et al.
                                                                       Los Angeles
                                               Leroy Henry v.
                                                                    Civil District Court
                                              Cooper/T. Smith
                                                                    for Parish of New             Yes              Pending
Martzell & Bickford      No. 13-12146            Stevedoring                                                                      08139.41
                                                                     Orleans, State of       March 10, 2016
                                             Company, Inc., et
                                                                         Louisiana
                                                      al.
                                             Frank S. Romano,
                                            Sr. and Lynne Rome      Civil District Court
  Scheuermann &                                                                                   Yes
                                                  Romano v.             of Parish of                                 Yes
Jones, LLC; Martzell   Case No. 2014-8969                                                   February 22, 2016                     15210.01
                                             Metropolitan Life            Orleans,                              March 18, 2016
    & Bickford                                                                              & March 14, 2016
                                                  Insurance         State of Louisiana
                                              Company, et al.
                                                                     Circuit Court of
                                             Wanda Evers v.
                                                                   Third Judicial Circuit           Yes
Bailey Peavy Bailey    Case No. 13 L 1445    A.W. Chesterton                                                       Pending        15338.05
                                                                    Madison County,            April 9, 2016
                                             Company, et al.
                                                                          Illinois
                                             Robert E. Ludlow,
Morgan & Morgan,           Case No.                                In the Circuit Court           Yes
                                              Sr., and vs. 3M                                                      Pending        10303.14
      LLC                24X15000796                                for Baltimore City        May 16, 2016
                                              Company, et al.




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Client or Attorney
                                                                       Where Case                                        GHP Project
         &               Case Number         Names of Parties                                 Deposition        Trial
                                                                        was Filed                                         Number
     Location
                                              Barbara Falgout       Civil District Court
Martzell, Bickford &                        Matherne, et al., v.     for the Parish of           Yes
                       Case No. 14-11125                                                                       Pending    08139.50
 Centola, A.P.C.                             Huntington Ingalls      Orleans, State of       June 1, 2016
                                            Incorporated, et al.          Louisiana
                                                                   19 Judicial District
                                                                      th
                                               Dorthy Monk
                                                                   Court for the Parish
   Heard Robins         Docket No. 629,      Standley, et al. v.                                 Yes
                                                                       of East Baton                             No       15174.03
    Cloud, LLP               539             Continental Can                                 June 6, 2016
                                                                      Rouge, State of
                                              Company, et al.
                                                                          Louisiana
                                                                    Superior Court of
                                                                                                  Yes
  Simmons Hanly        Case Nos. JCCP4647   Louis Lowell et al.,         the State of
                                                                                            July 19, 2016 &    Pending    12320.13
    Conroy L.L.P           BC602346          v. ABB INC., et al.    California, County
                                                                                            August 1, 2016
                                                                      of Los Angeles
                                            Timothy Boyd, et al.
                                                                   24th Judicial District
                                             v. Burmaster Land
Martzell, Bickford &                                               Court for the Parish           Yes
                       Docket No. 740-833       Development                                                    Pending    08139.52
 Centola, A.P.C.                                                    of Jefferson, State      July 27, 2016
                                             Company, LLC, et
                                                                        of Louisiana
                                                     al.
                                              Michelle Talbot      Civil District Court
Martzell, Bickford &   Case No. 2015-2883         Rogers v.         for the Parish of            Yes
                                                                                                               Pending    08139.51
 Centola, A.P.C.        C/W 2015-00877       Huntington Ingalls     Orleans, State of       August 15, 2016
                                            Incorporated, et al.        Louisiana
                                                                   Civil District Court           Yes
                                            Thomas H. Hayden,
  Dean, Omar &                                                      for the Parish of       August 17, 19, &
                       Case No. 2015-3732       et al. v. 3M                                                   Pending    15182.03
  Branham, LLP                                                      Orleans, State of        September 12,
                                              Company, et al.
                                                                        Louisiana                2016
                                                                     United District
                                            Richard Shaw, et al.
Karst & Von Oiste,     Case No. 1:14-CV-                              Court for the              Yes
                                             v. Warren Pumps                                                   Pending    13189.22
       LLP                13000-RGS                                     District of         August 18, 2016
                                                 LLC, et al.
                                                                     Massachusetts




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Client or Attorney
                                                                         Where Case                                                 GHP Project
         &                Case Number        Names of Parties                                   Deposition            Trial
                                                                          was Filed                                                  Number
     Location
                                               Thomas John
   Law Office of
                                             Prezioso, et al. v.     11th Judicial District
Simon, Greenstone,       Case No. 2014-                                                            Yes
                                               Cyprus Amax             Court of Harris                               Pending         14293.21
 Panatier, Bartlett,         53830                                                            August 22, 2016
                                            Minerals Company,          County, Texas
        PC.
                                                   et al.
                                                                        United District
                        Case No. 2:16-CV-   David W. Colletti v.                                   Yes
Landry & Swarr, LLC                                                     Court Eastern                                Pending         15368.02
                             00308            Bendix, et al.                                  August 23, 2016
                                                                     District of Louisiana
                                             Robert Jean Oddo
                                                                     Civil District Court,          Yes
Martzell, Bickford &                            Sr. v. Taylor-
                       Case No. 2014-4295                            Parish of Orleans,        September 15,         Pending         08139.39
 Centola, A.P.C.                            Seidenbach, Inc., et
                                                                     State of Louisiana            2016
                                                      al.
                                             Water J. Hotard v.
                                                                     Civil District Court,          Yes
Martzell, Bickford &     Case No. 2000-          A.P. Green
                                                                     Parish of Orleans,        September 16,           No            08139.38
 Centola, A.P.C.             14332           Industries, Inc., et
                                                                     State of Louisiana            2016
                                                      al.
                                                                     Central Civil West
                                                                      LAOST Asbestos
                                              Melvin Jones v.                                       Yes
                            Case No.                                 Cases Court of the                                Yes
Weitz & Luxenberg                           Borg Warner Morse                                  September 20,                         13220.13
                       JCCP4674/BC615188                               County of Los                             October 26, 2016
                                                 TEC, et al.                                       2016
                                                                      Angeles, State of
                                                                         California
   Law Office of
                                            Bryan V. Holman, et      11th Judicial District         Yes
Simon, Greenstone,       Case No. 2011-
                                            al. v. Alcoa, Inc., et     Court of Harris        September 23 &         Pending         07079.61
 Panatier, Bartlett,       27191-ASB
                                                      al.              County, Texas          October 21, 2016
        PC.
                                                                      Circuit Court of
                                            Gregory Guerrero,
                                                                       Third Judicial
Bailey Peavy Bailey                         et al. v. American                                     Yes
                        Case No. 14-L-676                                 Circuit                                    Pending         15338.06
Cowan Heckaman                                    Optical                                     October 3, 2016
                                                                      Madison County,
                                            Corporation, et al.
                                                                          Illinois




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Client or Attorney
                                                                         Where Case                                         GHP Project
         &                Case Number        Names of Parties                                    Deposition        Trial
                                                                          was Filed                                          Number
     Location
                                                Judy Wayne
                                                                     11th Judicial District
                                             Peabody/Ryan, et                                       Yes
 DuBose Law Firm       Case No. D140327-C                              Court of Harris                            Pending    12345.17
                                             al. v. Able Supply                                October 6, 2016
                                                                        County, Texas
                                              Company, et al.
                                                Gerald David         Circuit Court of the
  Simmons Hanly                              Green/Nahoko v.             Third Judicial              Yes
                       Case No. 15-L-1288                                                                         Pending    12320.18
    Conroy L.L.P                             A.W. Chesterton           Circuit Madison         October 24, 2016
                                              Company, et al.           County, Illinois
                                                                      Circuit Court State
                                            William Ferrell Jr.,
  Valles Law Firm        Case No. 1522-                              of Missouri Twenty-           Yes
                                            et al. v AEDC Public                                                  Pending    16018.01
        PLLC                CC10653                                     second Judicial       November 2, 2016
                                            Affairs, et. al
                                                                            Circuit
   Law Office of                                                         District Court
                                            Richard A. Hawk v.                                      Yes
Simon, Greenstone,       Case No. 2014-                              17th Judicial District                       Pending
                                               BNSF Railway                                     November 9 &                 14293.33
 Panatier, Bartlett,         52886                                     Tarrant County,
                                             Company, et al.                                  February 17, 2016
        PC                                                                   Texas
                                            Yolanda Sample, et       Circuit Court of the
 Black Law Group,        Case No. 1422-                                                             Yes
                                              al. v. American          City of St. Louis                          Pending    16108.01
       PLLC                 CC09407                                                           November 11, 2016
                                             Biltrite, Inc. et.al.      State Missouri
                                                                      Circuit Court Third
                                            Carol Cote, et al. v.
  Simmons Hanly                                                         Judicial Circuit            Yes
                        Case No. 15-L-513    A.W. Chesterton                                                      Pending    12320.19
    Conroy, LLC                                                        Madison County         November 14, 2016
                                             Company, et al.
                                                                            Illinois
                                             Susan Highfill v.        Circuit Court State
                         Case No. 1522-          Allied              of Missouri Twenty-            Yes
  Simmons Hanly                                                                                                   Pending    12320.19
                            CC01036         Manufacturing Co,           second Judicial       November 14, 2016
    Conroy, LLC
                                                  et al.                    Circuit
                                                                         Court of the
                                            Sebastian Paterniti,      Common Pleas for
  Dean, Omar and       Case No. 2016-CP-     et al. v. Asbestos        the Fifth Judicial           Yes
                                                                                                                  Pending    15182.05
   Branham, LLP              00849          Corporation LTD, et             Circuit           November 16, 2016
                                                      al.            County of Richland,
                                                                        South Carolina


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Client or Attorney
                                                                      Where Case                                             GHP Project
         &               Case Number        Names of Parties                                  Deposition          Trial
                                                                       was Filed                                              Number
     Location
                                            Don L. Thomison
   Law Office of                                                      11th Judicial
                                              and Angela
Simon, Greenstone,     Cause No. CC-14-                             District Court of           Yes
                                           Thomison v. Borg-                                                    Pending       14293.36
 Panatier, Bartlett,       01246-A                                   Harris County,        December 8, 2016
                                           Warner Morses Tec
        PC                                                                Texas
                                                  Inc.
   Law Office of                                                      11th Judicial
                                             Garland Dale
Simon, Greenstone,     Cause No. 2014-                              District Court of            Yes
                                           Pepper v. ABB, Inc.                                                  Pending       07079.84
 Panatier, Bartlett,       02782                                     Harris County,        December 14, 2016
                                                 et al.
        PC                                                                Texas
   Law Office of                                                      11th Judicial
                                            Martin Banda v.
Simon, Greenstone,     Cause No. 2013-                              District Court of            Yes
                                           DAP Products, Inc.,                                                  Pending       14293.42
 Panatier, Bartlett,       69551                                     Harris County,         January 3, 2017
                                                 et al.
        PC                                                                Texas
                                             Vincent Otten v.     Circuit Court for the
  Simmons Hanly                              A.W. Chesterton       State of Missouri             Yes
                       No. 1622-CC00071                                                                        No, settled    12320.15
    Conroy, LLC                             Company, Inc., et       Twenty-Second           January 9, 2017
                                                     al.             Judicial Circuit
                                           Clarence P. Gallien,    Civil District Court
Martzell, Bickford &   Docket No. 2015-      Jr. v. Huntington      for the Parish of             Yes
                                                                                                                Pending       08139.56
 Centola, A.P.C.            31636           Ingalls Industries,     Orleans State of        January 13, 2017
                                                 Inc., et al.           Louisiana
                                               Robert Elmer
   Law Office of
                                              McCartney and       11th Judicial District
Simon, Greenstone,     Cause No. CC-14-                                                           Yes
                                           Roberta McCartney        Court of Harris                             Pending       14293.23
 Panatier, Bartlett,       05593-B                                                          January 19, 2017
                                           v. ASCO Valve, Inc.       County, Texas
        PC
                                                    et al.
   Law Office of                                                   Superior Court of
                                            Leon Holman v.
Simon, Greenstone,     C.A. No. N14C-02-                              the State of                Yes
                                            Armstrong Int’l,                                                    Pending       14293.27
 Panatier, Bartlett,        152 ASB                               Delaware in and for       January 31, 2017
                                               Inc., et al.
        PC                                                        New Castle County
                                           Raymond Greenhill
The Law Offices of
                           Case No.         v. ACands, Inc., et     Circuit Court for             Yes
Peter G. Angelos,                                                                                               Pending       14248.05
                         24X15000318       al. [Case Affected:       Baltimore City         February 1, 2017
      P.C.
                                            Concetta Schatz]


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                Testimony/Deposition Experience Since 2009 (Updated January 19, 2021) – Kenneth S. Garza

Client or Attorney
                                                                        Where Case                                                   GHP Project
         &                Case Number         Names of Parties                                  Deposition             Trial
                                                                         was Filed                                                    Number
     Location
                                                                     Circuit Court Third
                                             Nellie Taylor…Alton
  Valles Law Firm                                                       Judicial Circuit           Yes
                          No. 14-L-1505        Taylor v. 4520                                                        Pending          16018.04
        PLLC                                                           Madison County,       February 6, 2017
                                              Corp., Inc, et al.
                                                                             Illinois
                                                                       District Court of
   Law Office of
                                             Billy H. Dickson v.     Harris County, 11th
Simon, Greenstone,      Cause No. 2012-                                                            Yes
                                             Guard-Line, Inc., et     Judicial District in                           Pending          07079.64
 Panatier, Bartlett,        38123                                                            February 17, 2017
                                                      al.           the District Court of
        PC
                                                                        Dallas County
                                                                      Superior Court of
                                             Arlin Anderson vs.
                                                                          the State of
                                                 Air & Liquid                                      Yes                  Yes
Weitz & Luxenberg      Case No. BC635249                               California for the                                             13220.15
                                                   Systems                                    March 28, 2017     April 26-27, 2017
                                                                        County of Los
                                             Corporation, et al.
                                                                            Angeles
                                             David Lamar Taylor       Court of Common
                                              vs. 3M Company            Pleas: State of
                                                                                                    Yes
 Dean, Omar and        C/A No. 2016-CP-40-    f/k/a Minnesota         South Carolina for
                                                                                             March 31 & May 4,       Pending          15182.07
  Branham, LLP               06351               Mining and            the Fifth Judicial
                                                                                                   2017
                                             Manufacturing, et         Circuit County of
                                                     al.                    Richland
                                                                      Civil District Court
Martzell, Bickford &                                                   for the Parish of            Yes
                          No. 16-3579           James Becnel                                                         Pending          08139.53
 Centola, A.P.C.                                                       Orleans State of        April 4, 2017
                                                                           Louisiana
                                                                    State of Missouri in
                                             Terrance Hardaway
                         Case No. 1622-                              the Twenty Second              Yes
  SWMK Law, LLC                               vs. 84 Lumber, et                                                      Pending          14078.05
                            CC09651                                      Judicial Court        April 7 , 2017
                                                      al.
                                                                      St. Louis Missouri
   Law Office of                                                    In the United States
Simon, Greenstone,                            Patrica Carroll vs.       District Court,            Yes
                       Case No. 15 CV 373                                                                            Pending          14293.58
 Panatier, Bartlett,                           ABB, Inc., et al.     Western District of       May 25, 2017
        PC                                                                 Wisconsin




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Client or Attorney
                                                                     Where Case                                                GHP Project
         &              Case Number        Names of Parties                                Deposition          Trial
                                                                      was Filed                                                 Number
     Location
                                           Rudolph Narcisse       Civil District Court
Martzell, Bickford &                        vs. Huntington          for the Parish of         Yes
                       No. 2014-3195                                                                         Pending            08139.58
 Centola, A.P.C.                                 Ingalls           Orleans, State of      June 9, 2017
                                          Incorporated, et al.          Louisiana
                                                                  The Superior Court
                                                                     of the State of
 Dean, Omar and        Case No. 16-2-     Philip Carl Unick vs.                               Yes
                                                                  Washington in and                          Pending            15182.11
  Branham, LLP          18554-1 SEA       3M Company, et al.                             June 22, 2017
                                                                   for the County of
                                                                           King
                                                                     United States
                                          Dale Jolly/Edward
                                                                   District Court for
 Dean, Omar and        Civil Action No.   McSwain vs. Air &                                    Yes
                                                                      the Western                            Pending        15182.06; 15182.13
  Branham, LLP          1:15-CV-130        Liquid Systems                                 July 6, 2017
                                                                    District of North
                                          Corporation, et al.
                                                                         Carolina
                                           Elizabeth Gailyne      Civil District Court
                                          Sutherland vs. Alma       for the Parish of          Yes
 Dubose Law Firm       No. 2013-2388                                                                         Pending            12345.08
                                           Plantation, LLC, et     Orleans, State of      July 14, 2017
                                                   al.                  Louisiana
                                            Arthur Thomas
   Law Office of                           Ward, Deceased,         District Court of
Simon, Greenstone,     Cause No. 2015-      and Virginia Sue        Harris County,             Yes
                                                                                                             Pending            14293.37
 Panatier, Bartlett,       60651           Ward vs. Ashcraft       Texas, Asbestos        July 31, 2017
        PC                                 Company, Inc., et         MDL Court
                                                   al.
                                                                  Superior Court of
                                          Nader Kordestani
                                                                     the State of
                        Case No. JCCP        and Sherry                                       Yes              Yes
Weitz & Luxenberg                                                 California for the                                            13220.01
                       4674/BC519273      Kordestani vs. 3M                              March 21, 2014   August 10, 2017
                                                                    County of Los
                                           Company, et al.
                                                                       Angeles




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Client or Attorney
                                                                       Where Case                                      GHP Project
         &                Case Number         Names of Parties                               Deposition       Trial
                                                                        was Filed                                       Number
     Location
                                                Daniel Ahnert,
                                                                       United States
                                                Deceased, and
                                                                     District Court for
 Cascino Vaughan       Case No. 10-CV-156-    Beverly Ahnert vs.                                Yes
                                                                    the Eastern District                     Pending    11266.55
   Law Offices         PP, 13-CV-1456-CNC         Employers                                August 11, 2017
                                                                       of Wisconsin,
                                             Insurance Company
                                                                    Milwaukee Division
                                               of Wausau, et al.
   Law Office of                                                     District Court of
                                             Walter R. Clements
Simon, Greenstone,      Cause No. CC-14-                               Harris County,           Yes
                                               et al. vs. Asco                                               Pending    14293.28
 Panatier, Bartlett,        02693-B                                 Texas, 11th Judicial   August 16, 2017
                                              Valve, Inc., et al.
        PC                                                                District
   Law Office of                                                     District Court of
                                             Kenneth E. Phipps,
Simon, Greenstone,      Cause No. 2016-                                Harris County,           Yes
                                               et al. vs. CBS                                                Pending    14293.51
 Panatier, Bartlett,      02488-ABS                                 Texas, 11th Judicial   August 17, 2017
                                             Corporation, et al.
        PC                                                                District
                                                                    Circuit Court, Third
                                             Bernard Kunes vs.
   Gori Julian &                                                      Judicial Circuit,         Yes
                        Case No. 16-L-286       A.O. Smith                                                   Pending    14034.03
  Associates, P.C.                                                   Madison County,       August 24, 2017
                                             Corporation, et al.
                                                                           Illinois
                                              D. Maria Schmidt,
                                               for the Estate of
                                                                       State of New
                                                Donald August
 Black Law Group,      Case No. D-101-CV-                           Mexico, County of           Yes
                                                 Guarienti vs.                                               Pending    16108.02
       PLLC               2016-00479                                  Santa Fe, First      August 31, 2017
                                               Bradbury Stamm
                                                                     Judicial District
                                              Construction Inc.,
                                                      et al.
                                             Chester Depowski,
                                               Jr., Deceased vs.
                                                    Ameron
                                                                      State of Illinois,
                                                 International
                                                                    Circuit Court of the        Yes
  Simmons Hanly        Case No. 16-L-0745     Corporation, et al.
                                                                       Third Judicial      September 11,     Pending    12320.25
    Conroy, LLC        Case No. 17-L-0121    Albert Marinelli and
                                                                     Circuit, Madison          2017
                                               Gail Marinelli vs.
                                                                          County
                                                    Ameron
                                                 International
                                              Corporation, et al.

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Client or Attorney
                                                                        Where Case                                         GHP Project
         &               Case Number         Names of Parties                                   Deposition        Trial
                                                                         was Filed                                          Number
     Location
                                              David Cartwright,
The Law Offices of                           Clayton V. Russell,      Circuit Court for             Yes
                           Case No.
Peter G. Angelos,                           Jr., Deceased, et al.,    Baltimore City,          September 13,     Pending    14248.08
                         24X17000015
      P.C.                                    vs. AC ANDS, Inc.,         Maryland                  2017
                                                     et al.
                                                 Marion Dean
   Law Office of                                                      District Court of
                                                Jordan, Jr., vs.                                    Yes
Simon, Greenstone,      Cause No. 2016-                                Harris County,
                                                  Armstrong                                    September 27,     Pending    14293.46
 Panatier, Bartlett,      15523-ASB                                  Texas, 11th Judicial
                                             International, Inc.,                                  2017
        PC                                                                 District
                                                     et al.
                                             Michael Bateman,
                                                                     Circuit Court of the
                                            as Surviving Heir of
                                                                       City of St. Louis,
                        Case No.: 1522-        James Bateman,                                      Yes
 SWMW Law, LLC                                                        State of Missouri,                         Pending    14078.09
                           CC09967             Deceased vs. 84                                October 3, 2017
                                                                       Twenty-Second
                                             Lumber Company,
                                                                        Judicial Court
                                                     et al.
                                            Philip Lavelle, et al.      In the Superior
Jacobs & Crumplar,     C.A. No. N16C-03-                                                            Yes
                                             v. The Ford Motor        Court of the State                         Pending    16348.02
       P.A.                   079                                                             October 23, 2017
                                               Company, et al.            of Delaware
                                                                      Civil District Court
                                             Wayne Bourgeois                                        Yes
Martzell, Bickford &   Case No. 2106-9604                              for the Parish of
                                              vs. Huntington                                   November 1-2,     Pending    08139.54
 Centola, A.P.C.         c/w 2107-2187                                 Orleans, State of
                                             Ingalls Inc., et al.                                  2017
                                                                           Louisiana
   Law Office of                            Virginia Sue Ward,       In the District Court
Simon, Greenstone,      Cause No. 2015-     et al. vs. Ashcraft        of Harris County,           Yes
                                                                                                                 Pending    14293.37
 Panatier, Bartlett,        60651           Company, Inc., et          Texas, Asbestos       November 10, 2017
        PC                                           al.                   MDL Court
                                                                      Civil District Court
                                            Cheryl Bergeron vs.
Martzell, Bickford &     Case No. 2017-                                for the Parish of           Yes
                                            Huntington Ingalls,                                                  Pending    08139.60
 Centola, A.P.C.             03460                                     Orleans, State of     November 20, 2017
                                                Inc., et al.
                                                                           Louisiana




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Client or Attorney
                                                                        Where Case                                           GHP Project
         &               Case Number         Names of Parties                                    Deposition         Trial
                                                                         was Filed                                            Number
     Location
                                                                    In the Circuit Court,
                                                                      State of Missouri,
  Valles Law Firm        Case No. 1722-     Alan Moore, et al.                                      Yes
                                                                       Twenty-Second                               Pending    16018.06
        PLLC                CC00708         vs. ABB, Inc., et al.                             November 21, 2017
                                                                     Judicial Court (City
                                                                          of St. Louis)
                                                                    In the United States
                                            James Michael Hess                                      Yes
 Dean, Omar and        Case No. 1:15-cv-                              District Court for
                                                  vs. CBS                                     November 27, 2017    Pending    15182.09
  Branham, LLP              00936                                    the Middle District
                                             Corporation, et al.                                 May 1, 2019
                                                                      of North Carolina
                                             Carl Rhymer and        In the Circuit Court,
   Gori Julian &                            Donna Rhymer, et             Third Judicial             Yes
                       Case No. 16-L-1456                                                                          Pending    14034.06
  Associates, P.C.                           al. vs. A.O. Smith        Circuit, Madison       November 28, 2017
                                            Corporation, et al.         County, Illinois
                                                                      State of Illinois, In
                                            Charles Holland vs.
                                                                     the Circuit Court of
  Simmons Hanly                               Illinois Central                                      Yes
                       Case No. 17-L-851                              the Third Judicial                           Pending    12320.26
    Conroy, LLC                             Railroad Company,                                 December 15, 2017
                                                                       Circuit, Madison
                                                    et al.
                                                                            County
                                            Elvie Corsey, et al.    16th Judicial District
Martzell, Bickford &                            vs. Morton             Court, Parish of              Yes
                       Case No. 129-719                                                                            Pending    08139.59
 Centola, A.P.C.                            International, LLC,         Iberia, State of       January 11, 2018
                                                    et al.                 Louisiana
                                              Elizabeth Ann                                           Yes
                                                                    In the Circuit Court
                        Cause No. 16AO-       Comer vs. CBS                                   April 20 & May 10,
Baron & Budd, P.C.                                                   of Jasper County,                             Pending    13315.03
                           CC00095          Corporation, etc.,                                2017, January 12,
                                                                          Missouri
                                                    et al.                                           2018
                                                                    State of Wisconsin,               Yes
                                             John Brezonick vs.
 Cascino Vaughan        Case No. 12-CV-                                Circuit Court            May 5, 2017,
                                            A.W. Chesterton, et                                                    Pending    13087.00
   Law Offices              13189                                       Branch 11,             January 17-18,
                                                    al.
                                                                    Milwaukee County           2018 (Hearing)




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Client or Attorney
                                                                          Where Case                                         GHP Project
         &               Case Number         Names of Parties                                     Deposition        Trial
                                                                           was Filed                                          Number
     Location
                                            Madeline Royal, et
                                                                      Civil District Court,
Martzell, Bickford &                         al. vs. Northrup                                         Yes
                       Case No. 06-14390                              Parish of Orleans,                           Pending    08139.62
 Centola, A.P.C.                            Grumman Systems                                     January 31, 2018
                                                                      State of Louisiana
                                               Corp., et al.
                                                                       In the Circuit Court
                                            Christopher Nelson,
                                                                         of Cook County,
  Valles Law Firm        Case No. 17-L-       et al., vs. A. O.                                       Yes
                                                                          Illinois, County                         Pending    16018.05
        PLLC                003354          Smith Corporation,                                  February 8, 2018
                                                                        Department, Law
                                                   et al.
                                                                               Division
   Law Office of                                                     United States District
                                            Clark Collins, et al.,
Simon, Greenstone,       Civil Action No.                                Court, Southern              Yes
                                              vs. Kraft Foods                                                      Pending    07079.66
 Panatier, Bartlett,     4:17-cv-00561                                   District of Texas,     February 9, 2018
                                             Group, Inc., et al.
        PC                                                              Houston Division
                                                                       In the Circuit Court
                                            Gary Iben, et al., vs.
  Simmons Hanly                                                       of the Third Judicial          Yes
                        Case No. 26 L 843    A.W. Chesterton                                                       Pending    12320.28
    Conroy, LLC                                                          Circuit, Madison       March 16, 2018
                                             Company, et al.
                                                                          County, Illinois
                                             Franklin Delenor         In the United States
 Dean, Omar and         File No. 1:16-CV-     Finch, et al., vs.      District Court for the         Yes
                                                                                                                   Pending    15182.14
  Branham, LLP                01077         BASF Catalysts, LLC,        Middle District of      March 30, 2018
                                                   et al.                 North Carolina
                                                                     Civil District Court for
                                             Jacob Burg Adams        the Parish of Orleans,
                                                                                                       Yes
The Lanier Law Firm    Case No. 2016-2376   vs. A.W. Chesterton        State of Louisiana,                         Pending    14033.05
                                                                                                 April 20, 2018
                                                  Co., et al.          Section: 5, Division
                                                                                   “B”
                                            Kathy Jennings, et        In the Circuit Court,
  Simmons Hanly                                al., vs. A.W.          Third Judicial Circuit,          Yes
                       Case No. 16-L-1724                                                                          Pending    12320.29
    Conroy, LLC                                Chesterton               Madison County,          April 30, 2018
                                             Company, et al.                    Illinois
                                                                     Superior Court of the
Weitz & Luxenberg                           Dominic Vilardo v.       State of California for         Yes
                       Case No. BC681335                                                                           Pending    13220.17
       P.C.                                  ABB Inc., et al.           the County of Los        May 24, 2018
                                                                               Angeles


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Client or Attorney
                                                                         Where Case                                      GHP Project
         &               Case Number        Names of Parties                                    Deposition      Trial
                                                                          was Filed                                       Number
     Location
                                                                        State of South
                                                                      Carolina, Court of
                                              Jerry Howard
                                                                       Common Pleas,
 Dean, Omar and        Case No. 2017-CP-   Crawford, et al., vs.                                   Yes
                                                                          County of                            Pending    15182.21
  Branham, LLP             42-04429             Celeanese                                      May 30, 2018
                                                                         Spartanburg,
                                           Corporation, et al.
                                                                       Seventh Judicial
                                                                            Circuit
Bailey Peavy Bailey                        David Kaplan, et al.
                       Case No. PC-2017-                             State of Rhode Island         Yes
Cowan Heckaman                               vs. A.O. Smith                                                    Pending    15338.10
                             1721                                       Superior Court         June 8, 2018
       PLLC                                   Corp., et al.
                                                Jerry Lee
   Law Office of                                                      In The District Court
                       Cause No. 2015-     Brimberry, at al. vs.                                    Yes
Simon, Greenstone,                                                   of Harris County, 11th                    Pending    14293.48
                           25111            Anco Insulations,                                  June 11, 2018
    Panatier PC                                                           Judicial Court
                                               Inc., et al.
   Law Office of
                                           Martha May Lee, et
Simon, Greenstone,                                                   15th Judicial District
                                            al., vs. American
    Panatier PC                                                        Court, Parish of             Yes
                       Case No. 95-783        Supply Co. of                                                    Pending    08139.57
         &                                                           Vermilion, State of       June 13, 2018
                                           Morgan City, Inc.,
Martzell, Bickford &                                                       Louisiana
                                                   et al.
  Centola, A.P.C.
                                                                      In the Circuit Court,
                                           Allen Cain, et al., vs.      State of Missouri,
  Simmons Hanly        Cause No. 1622-                                                              Yes
                                             A.W. Chesterton             Twenty-Second                         Pending    12320.33
    Conroy, LLC           CC10750                                                              June 20, 2018
                                             Company, et al.         Judicial Court (City of
                                                                             St. Louis)
                                                                      In the Circuit Court,
                                           Jimmy D. Hasty, Sr.,
                                                                        State of Missouri,
  Simmons Hanly        Cause No. 1722-        et al., vs. A.W.                                      Yes
                                                                         Twenty-Second                         Pending    12320.34
    Conroy, LLC           CC00403              Chesterton                                      June 20, 2018
                                                                     Judicial Court (City of
                                             Company, et al.
                                                                             St. Louis)
                                            James Fiebiger, et         In the Circuit Court
  Simmons Hanly        Cause No. 1722-         al., vs. A.W.            for the City of St.         Yes
                                                                                                               Pending    12320.27
    Conroy, LLC           CC10983              Chesterton                 Louis, Twenty-       June 21, 2018
                                             Company, et al.             Second Judicial

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Client or Attorney
                                                                           Where Case                                            GHP Project
         &               Case Number          Names of Parties                                    Deposition         Trial
                                                                            was Filed                                             Number
     Location
                                                                         Court, State of
                                                                           Missouri


                                             Susan H. Schaberg,       In the Circuit Court,
  Simmons Hanly                                et al., vs. A.W.       Third Judicial Circuit,         Yes
                       Case No. 16-L-0393                                                                          Pending        12320.35
    Conroy, LLC                                  Chesteron              Madison County,          June 21, 2018
                                              Company, et al.                 Illinois
                                                                      In the Circuit Court,
                                              Billy McIntosh, et       State of Missouri,
                        Cause No. 1722-                                                               Yes
 SWMW Law, LLC                                 al., vs. Advance          Twenty-Second                             Pending        14078.11
                           CC03797                                                               June 22, 2018
                                              Auto Parts, et al.      Judicial District (City
                                                                           of St. Louis)
                                                                      In the Circuit Court,
                                               Laura Hummel,
                                                                       State of Missouri,
                        Cause No. 1722-      Chad Huff, et al., vs.                                   Yes
 SWMW Law, LLC                                                           Twenty-Second                             Pending        14078.12
                           CC101915          4520 Corp., Inc., et                                June 22, 2018
                                                                      Judicial District (City
                                                     al.
                                                                           of St. Louis)
                                              Walter Pesina, et       In the District Court
   Law Office of                                                                                                      Yes
                        Cause No. 2015-        al., vs. Airwell-        of Harris County,             Yes
Simon, Greenstone,                                                                                               September 25,    14293.50
                          57614-ASB            Fedders North           Texas, 11th Judicial      July 5, 2018
    Panatier PC                                                                                                      2018
                                             America, Inc., et al.           District
                                              Moses Powell vs.
                                              Cooper/T. Smith         Civil District Court for
Martzell, Bickford &    Case No. 2017-                                                                Yes
                                                Stevedoring           the Parish of Orleans,                       Pending        08139.63
 Centola, A.P.C.            11412                                                                July 23, 2018
                                              Company, Inc., et         State of Louisiana
                                                       al.
                                                                       In the District Court
   Law Office of                             Johnny Ray Crober,
                        Cause No. 2013-                                  of Harris County,            Yes
Simon, Greenstone,                            et al., vs. AK Steel                                                 Pending        14293.32
                            34778                                       Texas, 11th Judicial     July 27, 2018
    Panatier PC                                  Corp., et al.
                                                                              District
The Law Offices of                            John C. Dugger, et      In the United States
                       Civil No.: 1:16-cv-                                                            Yes
Peter G. Angelos,                            al., vs. A&L Systems     District Court for the                       Pending        14248.09
                          03912-CCB                                                              July 30, 2018
      P.C.                                    Corporation, et al.     District of Maryland

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Client or Attorney
                                                                        Where Case                                                   GHP Project
         &              Case Number         Names of Parties                                    Deposition            Trial
                                                                         was Filed                                                    Number
     Location
                                             Michael Gary
   Law Office of                                                    In the Iowa District
                           Law No.         Pringle, et al., vs.                                     Yes
Simon, Greenstone,                                                    Court for Scott                               Pending           14293.74
                         LACE128117        Afton Pumps, Inc.,                                  July 31, 2018
    Panatier PC                                                           County
                                                 et al.
                                                                    In the Circuit Court
                                               Ruth Ann
                                                                    of the County of St.
 Dean, Omar and       Cause No.: 16SL-     Borrowman, et al.,                                      Yes
                                                                    Louis, Twenty-first                             Pending           15182.12
  Branham, LLP           CC04705            vs. Certainteed                                   August 24, 2018
                                                                   Judicial Circuit, State
                                           Corporation, et al.
                                                                         of Missouri
                                           Dalton J. Cantrelle      In the Circuit Court
  Simmons Hanly                            Sr., et al., vs. A.W.    of the Third Judicial          Yes
                      Case No.: 17-L-220                                                                            Pending           12320.31
    Conroy, LLC                                Chesterton             Circuit, Madison        August 27, 2018
                                            Company, et al.            County, Illinois
                                           Kelly Donaghey, et      In the District Court
 Dean, Omar and       Case No, CJ-2016-                                                            Yes
                                           al., vs. Continental    of Pontotoc County,                              Pending           15182.20
  Branham, LLP              208                                                               August 31, 2018
                                           Motors, Inc., et al.     State of Oklahoma
                                           Mary Lea Kennedy,         In the Circuit Court
                                                                                                   Yes
                       Case No. 1622-      Robert Hare, et al.,        of the Twenty-
 SWMW Law, LLC                                                                                September 10,     Yes, April 5, 2019    14078.13
                          CC10186           vs. Advance Auto           Second Judicial
                                                                                                  2018
                                             Parts, Inc., et al.   Circuit (St. Louis City)
                                                                    In the District Court
                                           Steve Brents, et al.,                                   Yes
                       Cause No. 2013-                                of Harris County,
The Lanier Law Firm                           vs. AO Smith                                    September 13,         Pending           14033.06
                         43263 ASB                                   Texas, 11th Judicial
                                           Corporation, et al.                                    2018
                                                                           District
                                                                    In the Circuit Court,
                                            Michael Reed, et                                       Yes
  Simmons Hanly        Cause No. 1722-                                State of Missouri,
                                           al., vs. A.O. Smith                                September 17,         Pending           12320.36
    Conroy, LLC           CC11161                                      Twenty-Second
                                           Corporation, et al.                                    2018
                                                                        Judicial Circuit
                                                                     In the Circuit Court
   Law Office of                             Cleon Nolan
                      Case No. 60CV-14-                               of Pulaski County,           Yes
Simon, Greenstone,                         Edwards, et al., vs.                                                     Pending           14293.72
                            424                                    Arkansas, Thirteenth       October 8, 2018
    Panatier PC                             ABB, Inc., et al.
                                                                           Division



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Client or Attorney
                                                                        Where Case                                                   GHP Project
         &               Case Number         Names of Parties                                   Deposition             Trial
                                                                         was Filed                                                    Number
     Location
                                                                       In the District
   Law Office of                             Axel Cockrill vs.              Court
                        Cause No. 2015-                                                             Yes
Simon, Greenstone,                               Bechtel            11th Judicial District                           Pending          14293.40
                          18629-ASB                                                           October 15, 2018
    Panatier PC                              Alcoa, Inc., et al.      Harris County,
                                                                           Texas
                                                Hubert Lee
                                                                       In the District
                                             Shepard, et al., vs.
                        Cause No. 2018-                               Court of Harris               Yes
Baron & Budd, P.C.                                Ameron                                                             Pending          13315.04
                          04835-ASB                                 County, Texas, 11th       October 17, 2018
                                            International Corp.,
                                                                      Judicial District
                                                   et al.
                                               Bonnie Lou
                                                                       In the District
   Law Office of                              Mayfield, John
                        Cause No. 2016-                               Court of Harris               Yes
Simon, Greenstone,                            Rash, et al., vs.                                                      Pending          14293.47
                          13659-ASB                                 County, Texas, 11th       October 19, 2018
    Panatier PC                              American Biltrite
                                                                      Judicial District
                                                Inc., et al.
                                                                       Superior Court
                                            Houshang Sabetian,      State of California,            Yes
Weitz & Luxenberg                             et al., vs. Air &        County of Los          October 23, 2018         Yes
                       Case No. BC699945                                                                                              13220.18
       P.C.                                   Liquid Systems        Angeles, Unlimited       November 16, 2018   February 22, 2019
                                             Corporation, et al.    Jurisdiction, Spring     December 18, 2018
                                                                    Street Courthouse
                                            Anthony J. Licciardi,    Civil District Court
  Maune Raichle
                                               III vs. Taylor-        for the Parish of             Yes
 Hartley French &      Case No. 2017-8981                                                                            Pending          18176.01
                                            Seidenbach, Inc., et    New Orleans, State        October 30, 2018
    Mudd, LLC
                                                      al.               of Louisiana
                                                                     Civil District Court
                                              John Bolden vs.         for the Parish of
Martzell, Bickford &                                                                              Yes
                       Case No. 2014-4958    Huntington Ingalls       Orleans, State of                              Pending          08139.64
 Centola, A.P.C.                                                                             November 6, 2018
                                            Incorporated, et al.    Louisiana, Section:
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                                                                       In the District
                                           Dale Hale, et al., vs.
                       Cause No. 2018-                                Court of Harris              Yes
Baron & Budd, P.C.                            Western Pulp                                                         Pending       13315.06
                         35837-ASB                                  County, Texas, 11th      November 19, 2018
                                           Products Co., et al.
                                                                      Judicial District
                                            Earl J. Gisclair, Sr.
                                                                    Civil District Court,
                      Case Number 2015-      vs. Huntington                                        Yes
Ron Austin Law, LLC                                                 Parish of Orleans,                             Pending       18208.01
                            08422                  Ingalls                                   November 28, 2018
                                                                    State of Louisiana
                                           Incorporated, et al.
                                           Steven Ebel, special     In the Circuit Court
 Cascino Vaughan       Case No. 16-CV-      administrator vs.           of Milwaukee               Yes
                                                                                                                   Pending       13087.06
   Law Offices              1390           Sprinkmann Sons &          County, State of       November 29, 2018
                                            Grunau Company                Wisconsin
                                                                     Superior Court of
                                            Alex Williams vs.
Weitz & Luxenberg         Case No.                                       the State of             Yes
                                           Dana Companies, et                                                      Pending       13220.20
       P.C.              RG17886625                                   California for the     December 6, 2018
                                                  al.
                                                                    County of Alameda
                                                                     Superior Court of
                                                                         the State of
Weitz & Luxenberg                          Ervan Groves, et al.                                    Yes                Yes
                      Case No. BC696433                               California for the                                         13220.21
       P.C.                                vs. ABB, Inc., et al.                             December 13, 2018   April 3, 2019
                                                                        County of Los
                                                                           Angeles
                                                                        In the District
   Law Office of                             Thurman Lee
                                                                    Court of Oklahoma               Yes
Simon, Greenstone,     No. CJ-2015-5853      Hester vs. Alfa                                                       Pending       14293.82
                                                                      County, State of        January 15, 2019
    Panatier PC                               Laval, et al.
                                                                          Oklahoma
                                                                    In the Circuit Court,
                                           Ronald Parks, et al.
  Simmons Hanly         Case No. 2018L                                  Third Judicial              Yes
                                             vs. A.O. Smith                                                        Pending       12320.39
    Conroy, LLC            000705                                     Circuit, Madison        January 18. 2019
                                           Corporation, et al.
                                                                       County, Illinois
                                           Martin F. Boyer, et      In the Circuit Court,
                                           al. vs. 3M Co. (f/k/a     State of Missouri,
                      Case No. 1822-CC00                                                            Yes
The Lanier Law Firm                        Minnesota, Mining           Twenty-Second                               Pending       14033.08
                             321                                                              January 25, 2019
                                            & Manufacturing         Judicial Circuit (City
                                                 Co.), et al.            of St. Louis)
   Law Office of                            Peggy Madren, et
                       Case No. CJ-2017-                               In the District             Yes
Simon, Greenstone,                           al. vs. Montello,                                                     Pending       14293.57
                             107                                      Court of Caddo         February 14, 2019
    Panatier PC                                  Inc., et al.

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                                                                      County, State of
                                                                          Oklahoma
                                                                        In the United
                                                                       States District
                                               Linda Fulton
   Law Office of                                                        Court for the
                        File No. 1:16-CV-   Southern, et al. vs.                                  Yes
Simon, Greenstone,                                                   Middle District of                         Pending   14293.80
                              00953         Alcatel-Lucent USA                              February 15, 2019
    Panatier PC                                                        North Carolina,
                                                Inc., et al.
                                                                         Greensboro
                                                                           Division
                                                                    In the Circuit Court,
                                             Albert Manring, et
  Simmons Hanly                                                         Third Judicial           Yes
                       Case No. 17-L-1686   al. vs. 3M Company,                                                 Pending   12320.37
    Conroy, LLC                                                       Circuit, Madison       March 4, 2019
                                                     et al.
                                                                       County, Illinois
                                             Theresa Robinson        Civil District Court
Martzell, Bickford &                          vs. Huntington          for the Parish of           Yes
                       Case No. 2018-9726                                                                       Pending   08139.65
 Centola, A.P.C.                                   Ingalls            Orleans, State of      March 18, 2019
                                            Incorporated, et al.          Louisiana
                                              Brennan James             In the District
 Dean, Omar and        Case No. CJ-2016-     Atkeson, et al. vs.     Court of Pontotoc            Yes
                                                                                                                Pending   15182.23
  Branham, LLP                57               Union Carbide          County, State of       March 29, 2019
                                             Corporation, et al.          Oklahoma
                                                                     Civil District Court
                                             Irma Hannegan vs.
Martzell, Bickford &     Case No. 2017-                               for the Parish of            Yes
                                            PPG Industries, Inc.,                                               Pending   08139.66
 Centola, A.P.C.             11205                                    Orleans, State of       April 2, 2019
                                                   et al.
                                                                          Louisiana
                                                                     Civil District Court
                                            Thomas Borne vs.
Martzell, Bickford &     Case No. 2017-                               for the Parish of            Yes
                                            Huntington Ingalls,                                                 Pending   08139.67
 Centola, A.P.C.             10551                                    Orleans, State of      April 23, 2019
                                                Inc., et al.
                                                                          Louisiana
                                             Kevin W. Willhelm,
                                                                      In the District
                                             Larry Joe Floyd, et
                        Cause No. 2007-                             Court, 11th Judicial         Yes
Nemeroff Law Firm                              al. vs. American                                                 Pending   18006.02
                          30131-ASB                                   District, Harris        May 6, 2019
                                             Honda Motor Co.,
                                                                      County, Texas
                                                   Inc., et al.
                                            Apostolos Agrios, et
Weitz & Luxenberg      LASC CASE NO. BC                              Superior Court of             Yes
                                            al. vs. 3M Company,                                                 Pending   13220.24
       P.C.                 715172                                     the State of           June 10, 2019
                                                      et al.


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                                                                  California, County
                                                                    of Los Angeles
                                          Richard McClendon,        In the District
                     Case No. CJ-2018-      et al. vs. Chevron      Court of Creek               Yes
Dubose Law Firm                                                                                              Pending   12345.24
                          00026             Phillips Chemical      County, State of         June 11, 2019
                                          Company, LP, et al.         Oklahoma
                                             Janet Hutchins,
                                                                   In the Superior
                                            Charles Requa, et
Karst & Von Oiste,   No. 17-2-13898-3-                            Court of the State             Yes
                                              al. vs. Atlantic                                               Pending   13189.29
       LLP                  SEA                                   of Washington for         June 14, 2019
                                          Richfield Company,
                                                                     King County
                                                    et al.
                                                Tom Jimmy
                                                                     First Judicial
                                           Montoya, et al. vs.
                                                                    District Court,
Black Law Group,     No. D-101-CV-2018-          American                                        Yes
                                                                  County of Santa Fe,                        Pending   16108.04
      PLLC                 01675                Equipment                                   June 20, 2019
                                                                     State of New
                                           Manufacturing, et
                                                                        Mexico
                                                     al.
                                            Carol Scott, et al.
                                                                  In the Circuit Court,
                                               (James Scott
 Simmons Hanly                                                        Third Judicial            Yes
                       No. 18-L-1220       deceased) vs. A.O.                                                Pending   12320.47
   Conroy, LLC                                                      Circuit, Madison       August 5, 2019
                                          Smith Corporation,
                                                                     County, Illinois
                                                    et al
The Law Offices of                        Walter L. Akehurst,
                         Case No.                                 In the Circuit Court          Yes
Peter G. Angelos,                          et al., vs. ACandS,                                               Pending   14248.11
                       24X18000231                                 for Baltimore City      August 8, 2019
      P.C.                                      INC., et al.
                                          Dennis M. Jeter vs.     Civil District Court
 Simmons Hanly                                    Ameron           for the Parish of            Yes
                       No. 2019-2167                                                                         Pending   12320.42
   Conroy, LLC                                International        Orleans, State of       August 9, 2019
                                           Corporation, et al.         Louisiana
                                           Robert Suter, et al.
                                                                  In the Circuit Court,
                                          vs. 4520 Corp., Inc.,
                                                                   State of Missouri,
                       Case No. 1822-         Successor-In-                                     Yes
SWMW Law, LLC                                                       Twenty-Second                            Pending   14078.15
                          CC03511               Interest to                                August 12, 2019
                                                                  Judicial Circuit (City
                                           Benjamin F. Shaw
                                                                      of St. Louis)
                                             Company, et al.




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                                           Lakeisha Rucker
                                                                   In the District
   Law Office of                           Wilson, Gregory
                      Cause No. 2013-                               Court, Harris               Yes
Simon, Greenstone,                       Brian Wilson, et al.                                                  Pending   07079.76
                        66124-ASB                                County, Texas 11th        August 22, 2019
    Panatier PC                           vs. Dow Chemical
                                                                  Judicial District
                                           Company, et al.
                                         Paul Konapelsky, et        In the District
   Law Office of
                      Cause No. CC19-         al. vs. Kaiser       Court of Harris              Yes
Simon, Greenstone,                                                                                             Pending   14293.86
                         00662-C         Gypsum Company,         County, Texas, 11th       August 27, 2019
    Panatier PC
                                               Inc., et al.        Judicial District
                                         Richard Tyler, et al.    Superior Court of
                                             (Robert Tyler           the State of
Weitz & Luxenberg                                                                               Yes
                     Case No. BC89137        deceased) vs.        California for the                           Pending   13320.19
       P.C.                                                                                August 29, 2019
                                         Algoma Hardwoods,          County of Los
                                               Inc., et al.            Angeles
                                          Dovie Klein, et al.
                                            (Charles Klein
                                          deceased) vs. CBS
                                          Corporation, f/k/a        In the District
                      Cause No. 2015-         Viacom, Inc.         Court of Harris              Yes
Baron & Budd, P.C.                                                                                             Pending   13315.09
                        43126-ASB           (successor-by-       County, Texas, 11th      September 6, 2019
                                               merger to           Judicial District
                                            Westinghouse
                                                 Electric
                                         Corporation), et al.
                                                                  Superior Court of
                                           Ruby Kaylor vs.           the State of
Weitz & Luxenberg                                                                                Yes
                     Case No. BC712874      Aurora Pump           California for the                           Pending   13220.25
       P.C.                                                                               September 13, 2019
                                           Company, et al.,         County of Los
                                                                       Angeles
                                          Carole Bergeman,       In the Circuit Court
                                            et al. (Robert        State of Missouri,
                      Cause No. 1722-                                                            Yes
 SWMW Law, LLC                               Bergeman              Twenty-Second                               Pending   14078.16
                         CC11037                                                          September 30, 2019
                                          deceased) vs. Bird     Judicial Circuit (City
                                          Corporation, et al.        of St. Louis)
                                                                  Superior Court of
                                          Robert Skelton, et
Weitz & Luxenberg       Case No.                                     the State of               Yes
                                         al. (Wanda Skelton                                                    Pending   13220.26
       P.C.            RG17868697                                 California for the       October 1, 2019
                                         deceased) vs. Allied
                                                                 County of Alameda

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                                               Fluid Products
                                                 Corp., et al.
                                            Dennis Peltier, et al.   Civil District Court,
  Gori Julian &                                                                                   Yes
                     Case No. 20180290      vs. 3M Company, et       Parish of Lafayette,                       Pending   14034.08
 Associates, P.C.                                                                            October 3, 2019
                                                       al.            State of Louisiana
                                             Mary Prezioso, et
                                                 al. (Thomas           In the District
   Law Office of
                      Cause No. 2019-       Prezioso deceased)        Court of Harris             Yes
Simon, Greenstone,                                                                                              Pending   14293.21
                        15985-ASB             vs. Cyprus Amax        County, Texas 11th      October 7, 2019
    Panatier PC
                                            Minerals Company,         Judicial District
                                                      et al.
                                                                        United States
                                                                        District Court,
                                                                     Middle District of
                     Civil Action No. 18-   James T. McAllister,
 Simmons Hanly                                                         Louisiana, 19th            Yes
                       361 / Case No.        Jr. vs. McDermott,                                                 Pending   12320.32
   Conroy, LLC                                                         Judicial District     October 8, 2019
                           C665093                Inc., et al.
                                                                       Court, Parish of
                                                                     East Baton Rouge,
                                                                     State of Louisiana
                                                                     Superior Court of
                                                                         the State of
 Simmons Hanly           Case No.           Gerald Wilson, et al.                                  Yes
                                                                      California for the                        Pending   12320.48
   Conroy, LLC         19STCV00653           vs. ABB, Inc., et al.                           October 21, 2019
                                                                        County of Los
                                                                           Angeles
                                                                     In the Circuit Court,
                                            Joseph Carneghi vs.
 Simmons Hanly                                                           Third Judicial            Yes
                     Case No. 19 L 117          A.O. Smith                                                      Pending   12320.44
   Conroy, LLC                                                         Circuit, Madison      October 28, 2019
                                             Corporation, et al.
                                                                        County, Illinois

                                                                     In the Circuit Court,
                                            Donald Field, et al.
 Simmons Hanly                                                           Third Judicial            Yes
                     Case No. 19 L 401        vs. A.O. Smith                                                    Pending   12320.50
   Conroy, LLC                                                         Circuit, Madison      October 28, 2019
                                            Corporation, et al.
                                                                        County, Illinois
                                            Deanna Gatson, et        In the Circuit Court,
 Simmons Hanly        Cause No. 1822-                                                              Yes
                                             al. (Grant Hilburn       State of Missouri,                        Pending   12320.41
   Conroy, LLC           CC10568                                                             October 31, 2019
                                            deceased) vs. A.W.         Twenty-Second


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                                                Chesterton         Judicial Circuit (City
                                              Company, et al.          of St. Louis)
                                                                      United States
                                            Nancy Effinger, et
                                                                     District Court,
   Law Office of                            al. (James Effinger
                      File No. 1:15-CV-                             Middle District of           Yes
Simon, Greenstone,                          deceased) vs. Air &                                                 Pending   14293.91
                      00448-WO-JLW                                   North Carolina,        November 4, 2019
    Panatier PC                               Liquid Systems
                                                                       Greensboro
                                            Corporation, et al.
                                                                         Division
                                                                      In the United
                                                                      States District
   Law Office of       Civil Action No.     Larry Woolard, et         Court for the
                                                                                                 Yes
Simon, Greenstone,   1:18-CV-00410-LCB-       al. vs. Carrier       Middle District of                          Pending   14293.90
                                                                                            November 4, 2019
    Panatier PC               LPA           Corporation, et al.      North Carolina,
                                                                       Greensboro
                                                                         Division
The Law Offices of                           John Huber, et al.
                     Consolidated Case                             In the Circuit Court           Yes
Peter G. Angelos,                            vs. Union Carbide                                                  Pending   14248.13
                     No. 24X19000010                                for Baltimore City      November 22, 2019
      P.C.                                   Corporation, et al.
The Law Offices of                           John Huber, et al.
                     Consolidated Case                             In the Circuit Court           Yes
Peter G. Angelos,                            vs. Union Carbide                                                  Pending   14248.14
                     No. 24X19000010                                for Baltimore City      November 22, 2019
      P.C.                                   Corporation, et al.
The Law Offices of                           John Huber, et al.
                     Consolidated Case                             In the Circuit Court           Yes
Peter G. Angelos,                            vs. Union Carbide                                                  Pending   14248.15
                     No. 24X19000010                                for Baltimore City      November 22, 2019
      P.C.                                   Corporation, et al.
                                            Elizabeth Stoner, et
                                                                      In the District
   Law Office of                            al. (Gregory Stoner
                      Cause No. 2019-                                Court of Harris              Yes
Simon, Greenstone,                          deceased) vs. Kaiser                                                Pending   14293.83
                        28496-ASB                                  County, Texas, 11th      December 12, 2019
    Panatier PC                             Gypsum Company,
                                                                     Judicial District
                                                    Inc.
                                              Amanda Brooke
                                                                      In the United
                                                Hailey, et al.
The Law Offices of                                                    States District
                     Civil Action No. DKC    (Charles Shockley                                     Yes
Peter G. Angelos,                                                     Court for the                             Pending   14248.12
                            18-2590           deceased) vs. Air                              January 15, 2020
      P.C.                                                              District of
                                            and Liquid Systems
                                                                        Maryland
                                             Corporation, et al.




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                                          Joyce DuQuette, et
   Law Office of                               al. (Thomas        In the Circuit Court
                                                                                                 Yes
Simon, Greenstone,   Case No. 16 L 5625         DuQuette            of Cook County,                            Pending   14293.99
                                                                                           January 17, 2020
    Panatier PC                           deceased) vs. ALFA             Illinois
                                            Laval, Inc., et al.
                                          Booker W. Holmes         Civil District Court,
                                                                                                 Yes
 Cheek Law Firm      Case No. 2018-8518    vs. Albert Bossier,     Parish of Orleans,                          Pending   19407.02
                                                                                           January 24, 2020
                                                 Jr., et al.       State of Louisiana
                                                                  In the Circuit Court.
                                          Patrick L. Barron Sr.
 Simmons Hanly                                                        Third Judicial             Yes
                     Case No. 19-L-0975   vs. A.W. Chesterton                                                  Pending   12320.54
   Conroy, LLC                                                      Circuit, Madison       January 28, 2020
                                            Company, et al.
                                                                     County, Illinois
                                          Johnny Pinkston, et
                                                                  In the Circuit Court
                                           al. vs. Air & Liquid
                                                                   of the 17th Judicial
 Simmons Hanly                                   Systems                                         Yes
                     Case No. 19-012541                             Circuit in and for                         Pending   12320.52
   Conroy, LLC                                Corporation,                                 February 4, 2020
                                                                   Broward County,
                                             Buffalo Pumps
                                                                         Florida
                                             Division, et al.
                                          Sharon Whitehead,
                                                                    In the United
                                               et al. (James
                                                                    States District
 Dean, Omar and       C/A No. 1:18-CV-          Whitehead                                        Yes
                                                                     Court for the                             Pending   15182.26
  Branham, LLP             00091          deceased) vs. Air &                              February 7, 2020
                                                                   Middle District of
                                             Liquid Systems
                                                                    North Carolina
                                               Corp., et al.
                                                                   Civil District Court
                                           Judith Lunn vs.
                       Case No. 2019-                               for the Parish of            Yes
Nemeroff Law Firm                             McCarty                                                          Pending   18006.03
                           04640                                    Orleans, State of      February 20, 2020
                                          Corporation, et al.
                                                                        Louisiana
                                            Lee Hunt, et al.          First Judicial
                                            (Valerio Lucero          District Court,
 Black Law Group,    Case No. D-101-CV-                                                          Yes
                                          deceased) vs. Public    County of Santa Fe,                          Pending   16108.05
       PLLC             2018-00408                                                         February 24, 2020
                                          Service Company of          State of New
                                           New Mexico, et al.            Mexico
                                                                    Superior Court –
                                          Barbara Franklin vs.
Weitz & Luxenberg        Case No.                                 State of California,           Yes
                                               Blue Bird                                                       Pending   13220.32
       P.C.            19STCV36610                                   County of Los         February 26, 2020
                                           Corporation, et al.
                                                                         Angeles


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                                                 Henry Pete vs.        Civil District Court
  Simmons Hanly                               Boland Marine and         for the Parish of             Yes                   Yes
                       Case No. 19-10545                                                                                                 12320.53
    Conroy, LLC                                  Manufacturing          Orleans, State of       February 28, 2020     October 20, 2020
                                              Company, LLC, et al.          Louisiana
                                                 Donna L. Hunt
                                                                         In the District
                                                   (Jerry Hunt
                        Cause No. 2018-                                Court, 11th Judicial           Yes
Waters & Kraus, LLP                           deceased), et al. vs.                                                       Pending        12294.09
                          51048-ASB                                      District, Harris         March 4, 2020
                                                   Certainteed
                                                                         County, Texas
                                               Corporation, et al.
                                                Larry Thibodeaux       19th Judicial District
                                                 vs. BP America,       Court for the Parish
  Napoli Shkolnik                                                                                       Yes
                       Case No. C681782        F/K/A Standard Oil          of East Baton                                  Pending        16094.03
      PLLC                                                                                        April 29, 2020
                                                 Indiana, A/K/A           Rouge, State of
                                                  Amoco, et al.              Louisiana
                                                                        Civil District Court            Yes
Martzell, Bickford &    Case No. 20219-        Karen Soulet vs.
                                                                         for the Parish of         June 5, 2020           Pending        08139.69
 Centola, A.P.C.             12389            Lou-Con, Inc., et al.
                                                                              Orleans           Cont. June 10, 2020
                                              Edward J. Ruffin, Jr.    18th Judicial District
                                                                                                       Yes
Baron & Budd, P.C.      Case No. 79251            vs. Entergy          Court for the Parish                               Pending        13315.16
                                                                                                  June 11, 2020
                                              Louisiana, LLC, et al.        of Iberville
                                              Rebecca Armstrong,          In the Court of
  Simmons Hanly                                  et al. vs. A.W.         Common Pleas,                  Yes
                        Case No. 911322                                                                                   Pending        12320.49
    Conroy, LLC                                Chesterton Co., et       Cuyahoga County,           July 1, 2020
                                                        al.                     Ohio
                                                Shirley Leonard
                                                                        In the Court of
   Law Office of                               (Norman Leonard
                                                                        Common Pleas,                 Yes
Simon, Greenstone,      Case No. 834506       deceased), et al. vs.                                                       Pending        14293.73
                                                                       Cuyahoga County,          August 10, 2020
    Panatier PC                                Arvinmeritor, Inc.,
                                                                             Ohio
                                                      et al.
                                               Jennifer E. Knight
Martzell, Bickford &                                                     United States
                                                (Wayne Knight
 Centola, A.P.C.       Civil Action No. 18-                              District Court,              Yes                                08139.70
                                              deceased), et al. vs.                                                       Pending
         &                     9421                                    Eastern District of       August 25, 2020                         14034.14
                                               Huntington Ingalls
The Gori Law Firm                                                          Louisiana
                                              Incorporated, et al.
                                               Brent Deaville vs.
  Simmons Hanly          Case No. 2020-                                Civil District Court           Yes
                                               Anco Insulations,                                                          Pending        12320.57
    Conroy, LLC              00881                                      for the Parish of        August 31, 2020
                                                   Inc., et al.


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                Testimony/Deposition Experience Since 2009 (Updated January 19, 2021) – Kenneth S. Garza

                                                                       Orleans State of
                                                                            Louisiana
                                                                     In the Circuit Court
                                            John Pietrzyk, et al.
  Simmons Hanly                                                          Third Judicial             Yes
                       Case No. 19-L-1513   vs. A.W. Chesterton                                                   Pending   12320.55
    Conroy, LLC                                                         Circuit Madison      September 10, 2020
                                              Company, et al.
                                                                      County, Louisiana
                                                                       Fifteenth Judicial
                                            Mary Bordelon vs.          District Court for
Martzell, Bickford &                                                                                Yes
                       Case No. 2016-2795   Atlantic Richfield            the Parish of                           Pending   08139.68
 Centola, A.P.C.                                                                             September 18, 2020
                                             Company, et al.          Lafayette, State of
                                                                            Louisiana
  Maune Raichle                             Charles A. Homolka,      In the Circuit Court
                        Case No. 2020 L                                                             Yes
 Hartley French &                           et al. vs. Crane Co.,      of Cook County,                            Pending   18176.02
                            001867                                                           September 22, 2020
    Mudd, LLC                                       et al.                   Illinois
                                            Clarence Wilson, Sr.
                                                                     Civil District Court
                                            vs. Cooper/T. Smith
Martzell, Bickford &                                                  for the Parish of            Yes
                       Case No. 2020-813         Stevedoring                                                      Pending   08139.73
 Centola, A.P.C.                                                      Orleans, State of       October 5, 2020
                                             Company, Inc., et
                                                                          Louisiana
                                                      al.
                                            Carolyn Wassinger,
                                                                      Superior Court of
                                               et al. vs. Air &
                                                                         the State of              Yes
  Simmons Hanly            Case No.            Liquid Systems
                                                                      California for the     October 28, 2020     Pending   12320.56
    Conroy, LLC          19STCV10781            Corporation,
                                                                        County of Los        November 3, 2020
                                               Buffalo Pumps
                                                                           Angeles
                                               Division, et al.
                                             Leonardo Juardo             In the District
                        Cause No. 2017-        Hernandez vs.            Court of Harris            Yes
 Robins Cloud LLP                                                                                                 Pending   15174.09
                            16080            Austin Industries,       County, Texas 11th     November 10, 2020
                                                  Inc., et al.          Judicial District
                                                                     In the Circuit Court
                                              Charles Sidney         of the Seventeenth
  Simmons Hanly        Case No. CACE-20-                                                           Yes
                                            Toney, Jr., et al. vs.     Judicial Circuit in                        Pending   12320.59
    Conroy, LLC             001331                                                           November 17, 2020
                                            3M Company, et al.         and for Broward
                                                                        County, Florida
                                                                         United States
    Shrader &           Civil Action No.:    Ila Frentz (James                                     Yes
                                                                         District Court,                          Pending   15128.07
  Associates, LLP        4:18-cv-04229      LaFrentz deceased),                              November 19, 2020
                                                                     Southern District of


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              Testimony/Deposition Experience Since 2009 (Updated January 19, 2021) – Kenneth S. Garza

                                            et al. vs. 3M         Texas, Houston
                                          Company, et al.            Division
                                         Antoine Semien, et
                                                                 Civil District Court
                                             al. vs. PPG                                     Yes
The Gori Law Firm   Case No. 2019-2514                            for the Parish of                        Pending   14034.15
                                         Industries, Inc., et                           December 1, 2020
                                                                       Orleans
                                                  al.
                                                                   In the District
                                         Dario Talamantes,
                                                                    Court, Harris
                     Cause No. 2017-     Jr., et al. vs. Exxon                                Yes
Robins Cloud LLP                                                   County, Texas                           Pending   15174.10
                       53674-ASB         Mobil Corporation,                             January 19, 2021
                                                                   Asbestos MDL
                                                 et al.
                                                                        Court




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                            APPENDIX D




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          GHP LITIGATION HOURLY RATE SCHEDULE
                                        December 10, 2019


Technical Support                                                                $65.00 per hour

Support Services                                                                 $75.00 per hour

Project Coordinator 1                                                          $100.00 per hour

IH Tech                                                                          $90.00 per hour

CADD with Operator or Arch Tech                                                $100.00 per hour

Industrial Hygienist or Construction Administrator                             $100.00 per hour

Architectural or Engineering Graduate                                          $115.00 per hour

Sr Industrial Hygienist                                                        $115.00 per hour

Registered Architect / Engineer                                                $125.00 per hour

Associate Project Manager                                                      $125.00 per hour

Project Coordinator 3                                                          $150.00 per hour

Project Manager                                                                $165.00 per hour

Sr Project Manager                                                             $200.00 per hour

Senior Manager / Certified Industrial Hygienist (CIH)                          $250.00 per hour

Principal Architect / Engineer / CIH                                           $400.00 per hour


            Reimbursement for project-related expenses at cost times 1.20 multiplier.


                  Payment due within thirty (30) days of receipt of invoice.
            Interest on accounts over thirty (30) days past due is 1.5% per month.
                             Rates are effective Jan 1, 2019 (revised July 2019)
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                            APPENDIX E




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Background


Mr. Jonathan Keith Poleto was born on February 25, 1958 and lives at 114 Oak Court, Westwego, Louisiana
at the time of deposition (Vol I, Pg. 10).


Mr. Poleto worked with Mr. John Brindell, “I’ve been knowing him most of my life mainly from work. He
was my supervisor” (Vol I, Pg. 11, 82). “Before I worked for him, I knew him from before that. ’77 maybe.
… It’s a round guess. That’s when I graduated, so it was around that time. … We used to hunt together”;
neither he nor Mr. Brindell ever reloaded their own shotgun shells (Vol I, Pg. 82-83, 200; Vol II, Pg. 238).


Puerto Rican Marine Management, PRMMI (October 1979-1996)


Mr. Poleto worked for Puerto Rican Marine Management, PRMMI, beginning in October 1979 until he
retired in 1996 in “maintenance for the 18 wheel trailers for the company”; he was hired on as a mechanic
(Vol I, Pg. 11-12, 81-82, 97; Vol II, Pg. 218). It is estimated that Mr. Poleto and Mr. Brindell worked together
from 1979 to 1981 (Vol II, Pg. 286). Mr. Brindell was his supervisor over the entire maintenance
department and was already working there when he began; he does not know when Mr. Brindell stopped
working, “Not exactly. I’d say six to eight years after I started. Probably closer to eight years. I’m not sure”
(Vol I, Pg. 12, 84-85, 91, 95, 130, 195; Vol II, Pg. 218). “I don’t know what else he did. He did paperwork
and he would hound us”; he does not know who was responsible for ordering parts for the maintenance
department (Vol I, Pg. 96, 113, 195).


He recalls the company “was a – sea containers and cargo trailers that came off the rail or the highway,
they came into our terminal. We did all maintenance on them. They went onto a ship and went directly
to Puerto Rico. That’s how the people in Puerto Rico got their goods, food, and whatnot. … It’s a shipping
industry. We ship sea containers and road trailers directly to Puerto Rico” (Vol I, Pg. 12, 93, 136).


The main shop was located at the Port of New Orleans on France Road and the corporate office was across
the street from the main shop; Mr. Brindell’s office was in the “shop where we were. … It had a door, but
I don’t know if he closed it or not. It was always open. … I would say it was probably half a day he would
– office work, half the day he would be in the shop” (Vol I, Pg. 89-91, 104, 195; Vol II, Pg. 218-220, 231-
232, 243, 281-282, 301). “Four hours out of the day is about the time he spent in the shop, and he would

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go periodically here or there to each bay, talk to the guys, shoot the bull. … He didn’t like being in an
office” (Vol II, Pg. 299, 301). Mr. Brindell worked mostly “8 to 5” but he would sometimes stay during
overtime, “It was kind of like voluntary for him to be there. He stayed sometimes, sometimes he didn’t”
(Vol I, Pg. 140).


Mr. Poleto did not have any prior experience performing maintenance work prior to being hired and
“learned there”; Mr. Brindell taught him “sometimes … The repair work. The brakes, do them correctly.
The landing gear that supported the front of the trailer, how to do it correctly” (Vol I, Pg. 97-98).


Mr. Poleto recalls performing his work “[i]nside the terminal, it was a big cement yard that would
accommodate 3,000 trailers maybe. And we had a front shop and a rear shop and a mechanic shop for
the yard trucks. We had yard trucks. We had a shop next to us for that. Our shop was a suspension shop
for all the underneath of the trailer: The wheels, brakes, axles, landing gear, lights. That was our
responsibility. … The back shop did the structure to the boxes themself. … [The yard shop h]andled all the
yard equipment. It was mostly the motors and stuff like that, you know, for the trucks and the forklifts”
(Vol I, Pg. 13; Vol II, Pg. 219-220).


Mr. Poleto worked in the “front shop in charge of the suspensions and everything on the units. That’s
what our shop was responsible for. It was a four-bay shop. You had four bays. Each bay had two
mechanics. … Mr. Brindell was responsible for all the shops, but he was mainly in our shop. Our shop was
like the hub. … He was in charge of all of them, but he mainly stayed in the front shop because that’s
where – the head shop. We had the parts department there. It was next to the mechanic shop, all that,
so forth” (Vol I, Pg. 14-16, 99-102, 105-106, 113, 115, 130, 195; Vol II, Pg. 281).


Mr. Poleto does not know who owned the building he worked in, “I assume Puerto Rican Marine unless
they were leasing it. I don’t know” (Vol II, Pg. 221). He does not know that the Port of New Orleans had
anything to do with the trailers, brake pads, or equipment used in the building, “I don’t know anything
about that” (Vol II, Pg. 221).


There were “some fans” for ventilation in the front shop, “A couple. … No, no, just the one next to where
you are working will blow on you”; the fans were “portable on a stand. You put them wherever you
working, aim it on you to cool you off. … [T]hey didn’t move. You had to face it where you wanted it to go.
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… I wanted the fan to blow on me and a lot of times, it would blow the dust away” (Vol I, Pg. 105, 167; Vol
II, Pg. 243-245).


Mr. Poleto does not recall there being any pipes, or insulated pipes, running through the shop (Vol II, Pg.
239-240).


Mr. Poleto worked as a mechanic performing “brake jobs. We didn’t do the tires, we had separate people
did tires. We did brake jobs, suspensions, springs, axles, brake boosters, wiring, lights, and the landing
gear, the dolly wheels that raise the front of the trailer” (Vol I, Pg. 14, 115; Vol II, Pg. 281). He estimates
brake work was “70, 75 percent of the time. That was the most common work we did” (Vol II, Pg. 281).


Mr. Poleto worked ten-hour days, 6am to 5pm, Monday through Friday, “Sometimes you work – well, we
work the weekends mainly on the ship. That’s when they load and off-load the ship. We had to be there
for breakdowns” (Vol I, Pg. 26, 139-140).


Mr. Poleto recalls there was a cleaning crew that came in after hours to clean the shop “[o]nce in a while.
… Not very often. Maybe twice a year. We were responsible for cleaning it ourselves. … Mostly swept”
(Vol II, Pg. 241-242). He recalls using a product called “FLOOR-DRY” that was used when “you had an oil
spill”; he does not recall using any products that would keep the dust down when sweeping (Vol II, Pg.
242).


        Brake Work


Mr. Poleto describes the types of brake work he performed, “Well, we would inspect all the units in the
yard and if they needed brakes, they would be written up for brakes. And then you bring them through
the shop and you perform brake jobs. Sometimes you change the pads, the shoes, sometimes the drums
needed replacing, sometimes you had to change – I mean, we did everything. … Each – each axle is – there
is tandem axle on a trailer: A front axle, a rear axle. Each axle had two, four, six, eight brake shoes, four
per axle, four per each axle. … The axle is what the wheels mount onto that rolls down the road. … And
then you had the brake liners and the cam that made them operate and the brake drum and the hub and
wheels. Two wheels per side, so eight wheels on two axles” (Vol I, Pg. 17-18).


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There were eight brake shoes on a trailer, four on each side and two per hub; they were held in place by
an “anchor pin that hold them on the front side and the cam was on the backside. And they had rollers
that attached to the shoe itself that when the air booster was applied from the truck pulling it, the booster
would push the cam, the cam would turn and would push the roller pins out and make the brakes touch
the drum and stop the trailer” (Vol I, Pg. 18-19).


He recalls the following brand names of brake shoes and brake linings: “Mostly Carlisle, some Abex. …
We had some Bendix. Carlisle was the most popular, most common” (Vol I, Pg. 19, 29-30).


Regarding brands or manufacturers of axles, he recalls, “Majority of the axles were Eaton, you had some
Rockwells” (Vol I, Pg. 19). The axles were stored in the trailer next to the shop and most of them “came
bare. You had to put everything on them” (Vol I, Pg. 116).


He recalls the trailers were manufactured by many different companies: “Fruehauf, Strick, Great Dane,
Utility. … There was probably 15, 18 different ones. … We had Wilson. … Lufkin. … We had some Fontaine.
… Hyundai. … Travis Body & Trailer. … Vanguard”; he does not know who owned the trailers (Vol I, Pg. 19-
20, 50, 117-119, 171; Vol II, Pg. 225-226, 236-238, 248, 271, 273, 287-290). He does not know the
maintenance or ownership history of any particular trailer prior to him working on it (Vol I, Pg. 199, 201-
202; Vol II, Pg. 258, 275-276, 295).


Mr. Poleto describes a typical brake job: “The units in the shop, you would have to jack up both axles, put
a jack stand, four jack stands to support every wheel. Then you would take each wheel off with a master
nut in the center, you take the oil bath cap off, take the master nut off. The whole hub assembly with the
brake drum and the two wheels would pull off with a dolly, a special dolly you took them off. Then once
you had that off, there was the worn brake shoes and sometimes worn or cracked drums. So then we
would blow all that stuff off, blow all that out to get it to where we could inspect it and see what needed
to be done” (Vol I, Pg. 20).


He used an air hose to blow “[a]ll the dust so you can read the numbers and see what’s going on”; the
dust went “[o]n the ground, in the air, all over. … Yeah. It was a dust cloud. You could blow it out your
nose for a half hour afterwards. … [The dust came from t]he brake shoes, probably. Yeah, had to be” (Vol
I, Pg. 20-21, 28, 137, 163-164). He believes Mr. Brindell was exposed to the dust that was blown out from
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the air hose “[b]ecause that shop was all closed in. Had four walls – I mean, they had walls all around, they
had a roof that came down. Only thing that opened was the garage doors and he was constantly walking
the floor and that dust was always in the air. Everybody in that shop got mega exposed” (Vol I, Pg. 28-29,
173). He recalls Mr. Brindell would have been about 4-5 feet away from him while he was blowing off
drums or hubs; he knew where he was because “I would turn around and talk to him while I’m doing my
work” (Vol I, Pg. 172, 174).


No one instructed him on how to use compressed air to blow out the brake drums, “You are a mechanic.
It’s self taught” (Vol I, Pg. 157). Although the trucks traveled on roads and on ships, Mr. Poleto believes
the dust that was blown out was “mostly from the brakes”; he does not know what the dust was
comprised of and never tested the dust (Vol I, Pg. 137, 178-179, 196; Vol II, Pg. 253). The dust was “mostly
from the brake shoes disintegrating over time. … They had some dirt and dust on them, yeah” (Vol II, Pg.
253).


Once the dust was blown out, he would be able to inspect the brake drum to determine if it needed to be
replaced, “You would unbolt the drum from the hub, throw it out and get a new drum, put it on, blow
everything off real good, get it all nice and clean before you reassemble everything. … Yeah, we remove
all the shoes. … Blow it all off, wire brush it real good with a wire brush and blow it all off again, put the
new shoes on and grease all the grease fittings” (Vol I, Pg. 22, 152, 168). He used the wire brush “on the
end of the axle where the brake shoes attached to the spindle. … You had to wire brush that because
some of the grease would come from the – the hub and they make the brake dust stick to it. You’d have
to wire brush it all off and then blow it” (Vol I, Pg. 168-169).


Mr. Poleto recalls using the compressed air to blow the dust off of himself and was never told by anyone
not to do that, “No. That’s the easiest way to clean” (Vol I, Pg. 164).


Although he did not wear a dust mask while using the compressed air to blow off the brakes, he recalls he
would sometimes use a “shop rag and cover your face, yeah, sometimes when it was really bad because
after you did it, you’d go to the bathroom and blow your nose and gag and spit all that stuff out”; he used
“[l]ittle red rags that they supplied to you. The uniform company gives them to the shop. … They’re tough”
(Vol I, Pg. 165-166). He would sometimes hold his breath while blowing off the brakes, it took around 30

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seconds to a minute to blow out a single drum and the dust would dissipate within a “minute or two” (Vol
I, Pg. 166-167).


He would sometimes have to “grind bevels on the corners” of the new brake shoes to get them to fit on
the drum, “The pads on the brake shoe. … You bevel the edges because they were like this thick and they
come around like this both sides, and they were totally the same thickness all the way through. So with a
brand new drum was thick. To get it back on, it would hit and it wouldn’t let you go on, so you would bevel
the edges where they came to the end. You 45 degree the edge with a grinder and then the drum would
go right back on” (Vol I, Pg. 23, 152-153, 169). The grinding of the new shoe created dust, “Plenty more
dust. … Big dust cloud” (Vol I, Pg. 24). He did not always have to grind the materials to make them fit,
“[s]ometimes” they fit, and he did not have to grind them; he estimates this happened “[p]robably 50/50”
(Vol I, Pg. 152-153, 169, 182-183). “Sometimes. Depends how old the drum was. Some – if it would be a
old drum, it would be – you know, still be real thick. Then you’d have to” (Vol I, Pg. 169). Grinding a new
brake pad would take about 15 minutes; he does not recall having to saw or cut into any new brake
materials (Vol I, Pg. 154-155).


Mr. Poleto recalls using his own tools and had a handheld grinder that “stayed in my tool box at work”;
he was provided with grinders if he needed one (Vol I, Pg. 154). He recalls using Dewalt and Makita electric
grinders (Vol I, Pg. 154).


The work was scheduled by week so they would have all brake jobs in one week and work with a partner
mechanic to get them done, “you could probably do four a day. … Four – four units and doing complete
brake job, all four wheels, both axles, eight shoes”; the work required two people “to do everything. A lot
of times the pins that held the shoe in themself, you have to heat them up to get them up. They freeze
inside. Yeah, took two people to do all that” (Vol I, Pg. 24-25, 36; Vol II, Pg. 282-283).


In a year’s time, Mr. Poleto and his partner estimates doing a “[t]housand” brake jobs and Mr. Brindell
was there supervising, “That was Sergeant Carter. He was behind your back watching you. He was
supervisor, so he went through, constantly went through the shop each day, make sure everybody was
doing their, their work, getting their work out” (Vol I, Pg. 26-27, 36, 106, 198). Mr. Poleto recalls
performing as much as 4 brake jobs a workday (Vol. I, Pg. 25). He does not know the exact number of

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times Mr. Brindell was present while he was performing a brake job, “I don’t have an exact number or no
times that he was present. … How I’m going to have an exact number? … I didn’t count how many times
he came in the shop”; “I’m sure he was present, but I can’t give you an amount of time” (Vol I, Pg. 203-
204, 206-208; Vol II, Pg. 231-232). Mr. Brindell would help with the brake jobs occasionally, “If we got in
a bind maybe, but not too often. He was mostly supervisor, just watching, make sure you were getting
your work out” (Vol I, Pg. 27).


He recalls going to the “parts room” to get brake pads and would request “X for Y truck and what was
available to use”; he did not request any specific brand of brake pads, “No, I didn’t do that. I went and
told them I needed brakes for this particular unit, this particular axle” (Vol I, Pg. 146).


Mr. Poleto recalls the trailers went “all over. They went on the roads here. They went to the rail yard.
From the rail yard, they put them on a train. They wind up in California. Put them on a ship. They go on a
ship, they go to Puerto Rico. They don’t usually leave the island but, I mean, they go all over” (Vol I, Pg.
179). Regarding whether he ever did a “repeat brake job on a particular trailer”, he recalls, “It’s – it’s –
it’s not too often, but sometimes you do. If you painted something a certain way on it or something, you
would remember it”; he does not specifically recall performing this repeat work on a Utility brand trailer
(Vol I, Pg. 179).


                    Carlisle Brakes


Mr. Poleto worked with Carlisle brand of brake shoes, “that was the most popular one” and he knew they
were Carlisle brakes because the name was “stamped on the shoe or if they came in a box, it was on the
box. … Carlisle brake parts” (Vol I, Pg. 29-30, 40, 140-142, 147-148). “When they came in a box, sometimes
they come in bulk, but you always knew because on the liner it is that digital electronic markings in there.
It was wrote in there” (Vol I, Pg. 40, 141-142, 147-148). There were two brake pads in a box, “Enough for
one wheel” (Vol I, Pg. 149). A brand new box of Carlisle brake pads were not dusty; he does not recall
seeing any information or documents that the brake pads contained asbestos and he does not know when
they stopped using asbestos in the brake material, “I don’t know when it happened. … I know the newer
ones don’t have it anymore, but I don’t know when it happened” (Vol I, Pg. 150-151, 171, 187).



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He recalls Carlisle brakes were being used in 1979 when he started work and in 1981 around the time Mr.
Brindell left (Vol I, Pg. 143). The Carlisle brakes were delivered by truck; he does not recall any names on
the trucks or the companies that operated the trucks (Vol I, Pg. 144).


He does not recall a specific size of the brakes, “I don’t know if they had a size. By telling them what axle
you had, they knew what brakes went on it. … Oh, it is wide as this book, eight inches, ten inches. And a
radius about like this, so from here to here radius because the drum itself was this big (indicating). … It’s
not like a car. I mean, it is big. … Four times bigger than a car” (Vol I, Pg. 30-31).


He describes the Carlisle brake: “You had a metal component went around like this and there was a C on
this end where it rolled on the cam pins, and there was a round circle on this end where the holding pin
held it to the axle. And it was two pieces of metal two inches wide next to each other that came around
like this, a flat piece of metal went over it and the shoes were riveted to the metal, the pads, the … the
liner (indicating). Three quarters of an inch to an inch” (Vol I, Pg. 31-32).


Mr. Poleto believes the pads contained asbestos, “I’m sure they did back in the day, yeah”; no one at
PRMMI told him they contained asbestos, he heard about it on tv, “All what you see on the television
today” (Vol I, Pg. 32, 122).


Mr. Poleto removed Carlisle brakes from Eaton axles while at PRMMI in the same manner as previously
described, “All the brakes pretty much use the same tools. … An impact – air impact wrench. Half-inch air
impact wrench, sockets. … A pin pusher, which is the big C-shaped clamp with a big threaded rod in the
middle. And if the pins wasn’t frozen, you could put it on the pin that secured the brake shoe to the axle
and it would push it out. But a lot of times from being on the ships with the saltwater, they would freeze
up and you would have to heat them up real good with a torch, get them red hot and then push them
out” (Vol I, Pg. 32-33).


He was not always able to identify an “old, used piece of brake material as Carlisle” but recalls
“[s]ometimes if it wasn’t damaged too bad, you’d have – you’d have part of the writing left on it and you
can tell that way”; he specifically recalls removing old Carlisle brake material but cannot recall specifically
seeing Mr. Brindell there watching or supervising that work, “It’s hard to say” (Vol I, Pg. 155, 157). He
estimates removing old Carlisle brake material “[t]wenty-five percent of the time” and knew it was Carlisle
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because he “[c]ould still see the name and most – most Rockwell axles and Eaton axles had Carlisle on
them. … From the manufacturer. … When you buy a unit, everything is together. … We didn’t buy it that
way, but that’s how it was put together when it was new. … Whenever they buy a trailer, you buy a trailer
new. … Everything is on it. … Most of them had Carlisle brakes on them” (Vol I, Pg. 156-157).


Before using any of these tools, he used an air hose and “blew everything off and took the snap pins out”;
this created a “[l]ot of dust” and Mr. Brindell was in the area when this occurred, “He was always in and
out of the shop, yes. We were blowing them off with 120 pounds of pressure if you need to know that.
The air, that’s what the air pressure was set at” (Vol I, Pg. 34).


After removing the old brakes, he installed new Carlisle brakes in the same manner as previously
described, “Like I told you before, we had to bevel the edges, grind the edges down when we changed to
put new drums. It was too tight a fit” (Vol I, Pg. 35). The grinding caused “[p]lenty of dust that he could
see, and he recalls Mr. Brindell was there, “I am sure he got into some of the dust” (Vol I, Pg. 35-36).


He recalls being “[a]lmost constantly” in and around dusty conditions from blowing out Carlisle brakes,
“Ten times a day. … Because not only what I’m doing, what the guy next to me is doing and the guy next
to that and the guy next to that, so you was constantly in that dust” (Vol I, Pg. 37-38). He was in dusty
conditions from grinding and beveling the Carlisle brakes a “[c]ouple times a day. … Talking about a whole
year. Hard to say. Five hundred times, is that fair if I said a thousand on brake jobs? Because we didn’t
grind every one” (Vol I, Pg. 38).


Regarding Mr. Brindell’s exposure to the dusty conditions, he recalls, “Well, if we worked an 8-hour day,
I would say he would be in the shop probably close to four of those hours. He was constantly patrolling.
… If we did a thousand brake jobs, he would be – well, he wasn’t in there the whole time, so say 4 or 500.
… Per year” (Vol I, Pg. 39-40).


Mr. Poleto does not recall seeing Mr. Brindell handle, remove, or install a Carlisle brake pad, “I didn’t see
him” (Vol I, Pg. 141). He does not believe Mr. Brindell handled the ordering of any parts; he does not know
where the parts came from, “I’m a mechanic. I have no idea what went on in the office” (Vol I, Pg. 143-
144).


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                 Abex Brakes


Mr. Poleto recalls working with Abex brakes “some” and the process was the same as previously
described, “Everything the same. … All brake jobs, everything the same way. … We use an air hose on all
brake jobs”; the same dusty conditions were created, he could see the dust, and Mr. Brindell was present
(Vol I, Pg. 41-44; Vol II, Pg. 258-259, 261). In a year, he estimates the same amount of time that Mr. Brindell
was exposed to the dust, “What I told you before, 4 or 500. Use that for a reference. … I know he used to
complain because we used to get his white shirt dirty” (Vol I, Pg. 44, 158-159).


He had to grind and bevel the pads in the same manner as previously described and the conditions were
dusty, he could see the dust, and Mr. Brindell was present during those times, the same as previously
described (Vol I, Pg. 45-46; Vol II, Pg. 261).


The old brake shoes were “full of dust and – yeah. Nasty, yeah”; the brand name of the old brakes that
were removed was not always visible, “You can’t see them all the time. Sometimes you can. … We usually
didn’t pay attention to that. We took them off and discarded them” (Vol II, Pg. 261-262).


He knew the brake was Abex because “[a]ll the brake pads had some kind of stamping on them as to who
made them. Might be a sticker, it might be engraved in the pad itself” (Vol I, Pg. 42; Vol II, Pg. 259-260).


He does not know if the word “asbestos” was on Abex packaging, “I didn’t read it. I didn’t read the print
on the box. … I don’t know if it was on there or not. I didn’t read it” (Vol II, Pg. 262).


He does not specifically recall Mr. Brindell personally handling, installing, or removing an Abex product, “I
didn’t see him with my eyes. … Not with my eyes” (Vol II, Pg. 258-259, 261).


                 Bendix Brakes


Mr. Poleto recalls working with Bendix brakes in the same manner as previously described (Vol I, Pg. 46).




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                    Eaton Axles


Mr. Poleto worked with Eaton axles and knew they were Eaton because “[t]here was a football-shaped
tag on every axle right in the middle, told you who made them. … Either said Eaton or Rockwell” (Vol I, Pg.
47; Vol II, Pg. 265, 268). He describes that attached to the axle were the “brakes, the hub assembly, and
the wheels” (Vol I, Pg. 48). He does not know if the brakes on the Eaton axles were Eaton brakes, “No, I
couldn’t say if they were or not. Not a lot of markings on old brakes. All that gets worn off” (Vol I, Pg. 48;
Vol II, Pg. 265).


The brake shoes on Eaton axles were removed in the same manner as previously described, “The same
way we did all the other – everything was done the same way. Heat them up if they frozen, use the pin-
driving tool. … A brake job is a brake job no matter whose equipment you are using. They are all the same”
(Vol I, Pg. 49).


He does not know how long an Eaton axle was on a trailer before he worked on it and he does not know
the maintenance history (Vol II, Pg. 265-266).


                    Rockwell Axles


Mr. Poleto worked with Rockwell axles in the same manner as previously described, “No difference. No
difference” (Vol I, Pg. 50). He recalls there was a difference between Rockwell and Eaton axles, “Well, they
each took a different shoe. One shoe would have a notch in the back. It was offset a little bit. … The Eaton
axle had an offset. The Rockwell axle was smooth on the shoe itself. It is something that you wouldn’t
notice because a lot of times you got the wrong shoe from the parts department, you go put it on and
then the drum won’t go on because it’s the wrong one. It was a half-inch difference on the diameter. That
was the only difference they had between the two” (Vol I, Pg. 50).


                    Trailers


Mr. Poleto worked on several trailers and knew which trailer it was because the name was written “across
the front. They all had identification labels on them. Great Dane had, you know, everybody had their own
logo” (Vol I, Pg. 50-51, 57-58, 60-61, 64, 75).

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On Fruehauf trailers, he worked on “[a]ll suspension underneath with brakes, brake jobs, landing gear,
electrical wiring and lights, any welding the trailer, any cracks or anything” (Vol I, Pg. 51, 115, 188, 190-
191; Vol II, Pg. 254-255). The brake jobs were performed in the same manner as previously described with
the same tools (Vol I, Pg. 51-52). He had to use the air hose on the brakes and had to grind and bevel the
brakes which created dusty conditions, he could see the dust and Mr. Brindell was present during this
work (Vol I, Pg. 52-54). He recalls working specifically on the Fruehauf trailers but not “that many. It wasn’t
as many Fruehauf trailers as some of the other things. … There was just numerous different kinds of
trailers” (Vol I, Pg. 55). He recalls the “Fruehaufs were the more common. We worked on a lot of
Fruehaufs. … Fruehauf seemed like the most popular ones” (Vol II, Pg. 255). In one year, he estimates
working on about a thousand trailers that would come through the shop, “Yeah, that’s just in my bay. And
you got three other bays, so I am not vouching for what those people had” (Vol I, Pg. 55-56). He estimates
performing about 400 brake jobs a year on the Fruehauf trailers and recalls the conditions were “[d]usty”
and Mr. Brindell was present “[a] lot of times” (Vol I, Pg. 57). He does not know if there was a “repeat
brake job” specifically on a Fruehauf trailer (Vol II, Pg. 257).


Mr. Poleto recalls working on Strick trailers, doing the same type of work as previously described (Vol I,
Pg. 57-58; Vol II, Pg. 246, 295-296). There was “[p]lenty dust when using the air hose from “[b[lowing off
the brakes and the brake drum” and “[m]ore dust” when he had to grind and bevel the brake pads (Vol I,
Pg. 58-59). He estimates being in those dusty conditions about 400 hundred times a year, “If there was a
thousand units total, I will say about 400 were probably Strick, 400 were probably Fruehauf” (Vol I, Pg.
60). Mr. Brindell was around for this work the same as previously described (Vol I, Pg. 60; Vol II, Pg. 296).
Mr. Poleto has a specific recollection of working on a Strick trailer performing a brake job while Mr.
Brindell was present, “Yeah. He was making fun of the name”; he does not recall when this occurred or
what part of the brake job process he was in when Mr. Brindell was present (Vol II, Pg. 296-297). He does
not know the maintenance history of any of the Strick trailers and does not recall working on a brand new
one (Vol II, Pg. 246-247).


He recalls working on Utility trailers “at times” doing the same type of work as previously described,
“Same thing I did with all the other brake jobs. Use the same tools, take them off, blow them off, clean it
up, put new stuff on it”; there was dust in the air (Vol I, Pg. 61-62). He would grind and bevel the edges of
the new brake pads to install, as previously described, and there was dust that Mr. Brindell was around
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(Vol I, Pg. 63). He estimates working on the Utility trailers in those dusty conditions about 200 times (Vol
I, Pg. 64).


Mr. Poleto recalls working on Great Dane trailers doing the same type of work as previously described,
“The same as all the rest. Brake jobs” (Vol I, Pg. 64-65, 67; Vol II, Pg. 271-272, 277, 295). The conditions
when working on the trailers was dusty, the same as previously described and Mr. Brindell was present
“[p]eriodically” (Vol I, Pg. 65-70; Vol II, Pg. 278-279). He estimates working on the Great Dane trailers
about 100 times (Vol I, Pg. 68-69). Regarding the old brake parts that he removed, he recalls, “Sometimes
you would see them and you would see the writing on it, sometimes you wouldn’t. … Carlisle most of the
time. … That was the most common” (Vol II, Pg. 277-278).


He recalls working on Wilson trailers doing the same type of work as previously described, “Yes, the same
as all the rest” (Vol I, Pg. 70-71; Vol II, Pg. 248-249). There was dust in the air and Mr. Brindell was present
(Vol I, Pg. 71-73). He estimates Mr. Brindell was present while he was working on Wilson trailers about
100 times (Vol I, Pg. 73-74; Vol II, Pg. 249). He does not know if there was a “repeat brake job” specifically
on a Wilson trailer, “I couldn’t answer that question” (Vol II, Pg. 254).


Mr. Poleto recalls working on Lufkin trailers doing the same type of work as previously described; he never
saw any paperwork regarding the ownership or lease of Lufkin trailers (Vol I, Pg. 75-76; Vol II, Pg. 225-
227). The Lufkin trailers were “older trailers”, and he believes there was asbestos “from the wheels now
that I know it was in the brakes” (Vol II, Pg. 228). The conditions were dusty when he was working on the
trailers, the same as previously described and Mr. Brindell was present “at times” (Vol I, Pg. 77-78). He
estimates Mr. Brindell was present while he was working on Lufkin trailers about 100 times; he never
“personally” saw Mr. Brindell work on a Lufkin trailer (Vol I, Pg. 78; Vol II, Pg. 227, 230). He recalls
performing “some welding” work on the Lufkin trailers but does not know how often he performed that
work (Vol II, Pg. 228-229). He recalls the axles on the Lufkin trailers were “[p]robably Eaton” because
“Eaton was one of the most popular” (Vol II, Pg. 230). He does not recall the manufacturer of the brake
pads he removed, but he installed Carlisle brake pads because “[t]hat’s who we used mostly” (Vol II, Pg.
230-231).




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        Health and Safety


Mr. Poleto does not recall there being a safety department or anyone that worked there that was
responsible for safety; he was not provided any safety training prior to working there (Vol I, Pg. 96-97).
He recalls attending safety meetings “[e]very once in a while. … Mr. Brindell would run some of them.
Sometimes shop foreman would do it” (Vol I, Pg. 120, 184). He recalls the topics that were discussed,
“OSHA type things, picking your air lines up off the floor, don’t leave them stretched out because OSHA
would get – they don’t like any lines across the floor that you can trip on. Stuff like that. Basic safety
things” (Vol I, Pg. 120). Mr. Poleto is familiar with OSHA but did not have knowledge of any regulations in
the early 1970s regarding the hazards of asbestos, “I didn’t know”; he was never provided with any
training materials about working with or around asbestos (Vol I, Pg. 106-107, 121).


Mr. Poleto did not wear a mask while in the shop, “Well, they didn’t supply a mask when I first started
there because for the first say five or six years I was there, we were working strictly for – directly for the
Puerto Rican government. Then after about the fifth year, the union came in and took us and once we
went union, they were a lot more conscious of safety and stuff, so then you got masks and ear protection
and all that once they came in”; he does not recall seeing Mr. Brindell wearing a mask while in the shop,
“No, he never had a mask on” (Vol I, Pg. 41, 79-80, 111, 121, 137-138). He does not recall the brand names
or manufacturers of any of the dust masks that were provided later (Vol I, Pg. 145).


He does not recall seeing any warnings on the boxes from Carlisle, or any brake brands, about the hazards
of asbestos, “Not back in those early days, early years, no. … We didn’t learn about that until later on”;
“They may have been on there. We took the boxes off and put the brakes on. We didn’t pay attention to
it. … I don’t know if they were on there or not. … I opened the box, got my parts, put them on, did my job”
(Vol I, Pg. 40-41, 78-79, 148-149, 159, 161).


He does not recall seeing the word “asbestos” or “metallic” on any brake shoe, box, or bag, “I can’t say I
saw that because I didn’t read it”; he believes the metallic brake shoes were “the tougher ones that eat
the drums up” (Vol I, Pg. 187; Vol II, Pg. 257-258).


He does not recall seeing any warnings about the hazards of asbestos on any of the trailers or axles he
worked on (Vol I, Pg. 79).
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He recalls the company issued uniforms for the mechanics from a service, “Cintas. … I took mine off at
work. … Most people wore them home, but I took mine off”; there was a locker room and the employees
had lockers, but Mr. Brindell did not have a locker in the locker room or in his office and he did not wear
a uniform, “White shirt, slacks, and a tie. Sometimes a coat” (Vol I, Pg. 108-110, 158).


Mr. Poleto first became aware of the potential hazards of asbestos “[w]hen I started seeing it on the
television probably. … I don’t remember anybody saying anything when we were working” (Vol I, Pg. 152,
187; Vol II, Pg. 235-236). He does not know for sure that he worked with anything that contained asbestos,
“At that time I did not know. … No, I don’t. I just know what I see that asbestos was everywhere. … On the
television. They’re always talking about the bad asbestos, how bad it was. … That [ads run by plaintiff
attorneys] and some of the educational shows that show you all about how they make things. … How it’s
made, National Geographic stuff” (Vol II, Pg. 235-236).


He was never told by anyone at PRMMI to wear a mask while grinding brake materials or that not wearing
a dust mask could be hazardous to his health (Vol I, Pg. 153). He was never provided with any documents
related to friction materials or work practice guides (Vol I, Pg. 162).


He expects PRMMI to have provided safety materials or devices and did not expect the Port of New
Orleans to provide those materials, “I don’t think it was up to the port” (Vol II, Pg. 223). He has no
information that the Port of New Orleans “used or handled any asbestos-containing products or
materials” (Vol II, Pg. 224).




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